        Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3444 Page 1 of 734




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            12
            13                       UNITED STATES DISTRICT COURT
            14                    SOUTHERN DISTRICT OF CALIFORNIA
            15
            16 BORREGO COMMUNITY HEALTH                  Case No. 3:22-cv-01056-AJB-AGS
               FOUNDATION, a California nonprofit
            17 public benefit corporation;               Hon. Anthony J. Battaglia
            18              Plaintiff,
            19                                           FIRST AMENDED COMPLAINT
                      vs.
            20
                 KAREN HEBETS, an individual;
                 MIKIA WALLIS, an individual;            Trial Date:       None Set
            21
                 DIANA THOMPSON, f/k/a DIANA
            22   TRONCOSO, an individual;
                 HARRY ILSLEY, an individual;
            23   DENNIS NOURSE, an individual;
                 MIKE HICKOK, an individual;
            24   CHUCK KIMBALL, an individual;
                 PREMIER HEALTHCARE
            25   MANAGEMENT, INC., a California
            26   Corporation; SUMMIT HEALTHCARE
                 MANAGEMENT, INC., a California
            27   Corporation; DARYL PRIEST, an
                 individual; NICHOLAS PRIEST, an
            28   individual; TRAVIS LYON, an

7275860.1                                    FIRST AMENDED COMPLAINT
        Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3445 Page 2 of 734




             1 individual; HUSAM E. ALDAIRI,
               D.D.S., an individual; ALDAIRI DDS,
             2 INC., a California corporation; AYED
               HAWATMEH, D.D.S., an individual;
             3 HAWATMEH DENTAL GROUP, P.C.,
               a California Corporation; ALBORZ
             4 MEHDIZADEH, D.D.S., an individual;
             5 ALBORZ MEHDIZADEH, INC., a
               California Corporation; JILBERT
             6 BAKRAMIAN, D.D.S., an individual;
               MOHAMMED ALTEKREETI, D.D.S.,
             7 an individual; MAGALY VELASQUEZ,
               D.D.S., an individual; MAGALY M.
             8 VELASQUEZ DDS PROFESSIONAL
               DENTAL CORP., a California
             9 Corporation; ARAM ARAKELYAN,
               D.D.S., an individual; NEW
            10 MILLENNIUM DENTAL GROUP OF
            11 ARAM    ARAKELYAN, INC., a
               California Corporation; MICHAEL
            12 HOANG, D.M.D., an individual;
               WALEED STEPHAN, D.D.S., an
            13 individual; W.A. STEPHAN, A
               DENTAL CORPORATION,
            14 a California Corporation; SANTIAGO
               ROJO, D.D.S., an individual;
            15 SANTIAGO A. ROJO, D.D.S., INC., a
               California Corporation; MARCELO
            16 TOLEDO, D.D.S., an individual;
               MARCELO TOLEDO, D.D.S., INC., a
            17 California corporation; MARLENE
            18 THOMPSON, D.D.S., an individual;
               MARLENE THOMPSON, D.D.S., INC.,
            19 a California Corporation; DOUGLAS
               NESS, D.D.S., an individual; NESS
            20 DENTAL CORPORATION, a California
               Corporation; GEORGE JARED, D.D.S.,
            21 an individual; GEORGE JARED, D.D.S.,
               INC., a California corporation; JAMES
            22 HEBETS, an individual; THE HEBETS
               COMPANY, a Missouri Corporation;
            23 KBH HEALTHCARE CONSULTING,
            24 LLC and DOES 1-250, inclusive.
            25              Defendants.

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7275860.1                                 FIRST AMENDED COMPLAINT
        Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3446 Page 3 of 734




             1                                        TABLE OF CONTENTS
                                                                                                                                Page
             2
             3 I.      INTRODUCTION/SUMMARY ....................................................................... 7
             4 II.     JURISDICTION AND VENUE........................................................................ 8
             5 III.    CAST OF CHARACTERS ............................................................................... 9
             6         A.      BORREGO COMMUNITY HEALTH FOUNDATION ....................... 9
             7         B.      FORMER BORREGO INSIDERS ....................................................... 10
             8         C.      PREMIER, PRIESTS AND OTHER PRIEST-RELATED
                               ENTITIES ............................................................................................. 12
             9
                       D.      DEFENDANT DENTISTS ................................................................... 13
            10
                       E.      JAMES HEBETS AND HIS COMPANIES ........................................ 17
            11
                       F.      OTHERS ............................................................................................... 18
            12
                       G.      ALTER EGO AND DOE ALLEGATIONS ......................................... 19
            13
                 IV.   RULE 9(b) REQUIREMENTS ....................................................................... 21
            14
                 V.    THE SCHEMES THAT DAMAGED BORREGO HEALTH ....................... 22
            15
                       A.      The Scheme to Form and Sell Entities Formed by Borrego
            16                 Insiders to Borrego Health (the “Borrego MSO/IPA Scheme”)........... 22
            17         B.      The Scheme to Contract with Premier Allowing Premier to Get
                               Paid Tens of Millions of Dollars to Purportedly Provide
            18                 “Management Services” It Was Not Capable of Providing (the
                               “Premier Scheme”) ............................................................................... 24
            19
                               i.       The Contract Dental Program is Formed.................................... 24
            20
                               ii.      Hebets Proposes an MSO Idea, Which Is Rejected by
            21                          Borrego Health............................................................................ 25
            22                 iii.     The Borrego Health Insiders Enter Into a Management
                                        Services Agreement on Borrego Health’s Behalf Anyway ........ 28
            23
                               iv.      The Damages Suffered by Borrego Health Due to the
            24                          Premier Scheme .......................................................................... 39
            25         C.      Certain Contract Dentists Submitted Fraudulent Bills with the
                               Knowledge and Support of Premier and the Borrego Insiders (the
            26                 “Fraudulent Dental Billing Scheme”) ................................................... 42
            27                 i.       Husam E. Aldairi, D.D.S. ........................................................... 47
            28                 ii.      Ayed Hawatmeh, D.D.S. ............................................................ 53

                                                                          3
7275860.1                                               FIRST AMENDED COMPLAINT
        Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3447 Page 4 of 734




             1                                   TABLE OF CONTENTS
                                                                                                                            Page
             2
             3            iii.     Alborz Mehdizadeh, D.D.S. ....................................................... 57
             4            iv.      Magaly M. Velasquez, D.D.S. .................................................... 60
             5            v.       Aram Arakelyan, D.D.S.............................................................. 64
             6            vi.      Michael Hoang, D.M.D. ............................................................. 66
             7            vii.     Waleed Stephan, D.D.S. ............................................................. 68
             8            viii. Santiago Rojo, D.D.S.................................................................. 69
             9            ix.      Mohammed Al Tekreeti, D.D.S.................................................. 71
            10            x.       Jilbert Bakramian, D.D.S. ........................................................... 72
            11            xi.      Marcelo Toledo, D.D.S. .............................................................. 75
            12            xii.     Marlene Thompson, D.D.S. ........................................................ 78
            13            xiii. Douglas Ness, D.D.S. ................................................................. 81
            14            xiv.     George Jared, D.D.S. .................................................................. 83
            15       D.   Since Premier Was Unable and Unwilling To, a Program
                          Integrity Process is Implemented by Borrego Health ........................... 85
            16
                     E.   Premier and the Borrego Insiders Coverup Fraudulent Billing
            17            (the “Coverup Scheme”) ....................................................................... 89
            18       F.   The Borrego Insiders Entered into Leases with Daryl Priest-
                          Owed Entities for Above Market Rents and Terms Many Times
            19            the Market Amount (the “Priest Leases Scheme”) ............................... 97
            20       G.   The Borrego Insiders Paid Themselves Above-Market
                          Compensation and Granted Themselves Improper Benefits and
            21            Covered It Up (the “Compensation/Benefits Scheme”) ..................... 106
            22       H.   The Borrego Insiders Used Nepotism and Cronyism to Funnel
                          Money to their Friends and Family (the “Nepotism and
            23            Cronyism Scheme”) ............................................................................ 109
            24       I.   The Borrego Insiders Tried To Purchase a Country Club to
                          Personally Benefit Themselves (the “De Anza Country Club
            25            Scheme”) ............................................................................................. 111
            26       J.   The Borrego Insiders Attempted to Pay Bruce Hebets a $5
                          Million Payout (the “Payout Scheme”)............................................... 113
            27
                     K.   The Borrego Insiders Funneled Money to Bruce Hebets’ Brother,
            28            Jim Hebets, and Jim Hebets’ Firm (the “Jim Hebets Scheme“) ......... 116

                                                                     4
7275860.1                                           FIRST AMENDED COMPLAINT
        Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3448 Page 5 of 734




             1                                          TABLE OF CONTENTS
                                                                                                                                Page
             2
             3           L.      Borrego Insider Chuck Kimball Leased a Barn to Borrego Health
                                 (the “Julian Barn Scheme”)................................................................. 120
             4
                         M.      Borrego Insider Dennis Nourse Sold Property to Borrego Health
             5                   to be Developed by Priest (the “Property Development Scheme”) .... 123
             6           N.      Bruce Hebets and Karen Hebets Create a Sham “Consulting”
                                 Company and Contract with Premier To Obtain Payments From
             7                   Premier for the Various Schemes Which Benefited the Premier
                                 Defendants (the “KBH Healthcare Consulting Scheme”) .................. 126
             8
                 VI.     CLEANING HOUSE .................................................................................... 130
             9
                 VII. CHAPTER 11 BANKRUPTCY.................................................................... 132
            10
                 VIII. THE RICO ENTERPRISE ............................................................................ 133
            11
                         B.      Facts Common To RICO Cause of Action ......................................... 136
            12
                         C.      Racketeering Activity Distinct from Enterprise ................................. 138
            13
                         D.      RICO Liability .................................................................................... 139
            14
                         E.      Issuance of Constructive Trusts .......................................................... 145
            15
            16
            17
            18
            19
            20
            21
            22
            23
            24
            25
            26
            27
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7275860.1                                                 FIRST AMENDED COMPLAINT
        Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3449 Page 6 of 734




             1                         APPENDIX OF EXHIBITS
             2   EXHIBIT PAGES                        DESCRIPTION
             3     A     191-200 PHCM Management Agreement dated (Effective Date
                                 “ED” 3/1/16)
             4
                   B     201-203 PHCM Amendment No. 1 to Management Agreement
             5                   (ED 12/22/16)
             6     C     204-206 PHCM Amendment No. 2 to Management Agreement
                                 (ED 7/1/17)
             7     D     207-223 Summit Healthcare Management Contract (ED 9/8/17)
             8     E     224-252 Aldairi Agreement (ED 5/27/16)
             9      F    253-283 Aldairi DDS, Inc. Agreement (ED 5/29/18)
            10     G     284-311 Hawatmeh Dental Group Agreement (ED 10/18/17)
                   H     312-340 Alborz Mehdizadeh, Inc. Agreement (ED 9/28/16)
            11
                    I    341-373 Long Beach Care Dental, Inc. Agreement (ED 12/11/18)
            12
                    J    374-402 Velasquez Agreement (ED 11/5/14)
            13     K     403-430 Arakelyan Agreement (ED 11/17/16)
            14     L     431-461 Arakelyan DDS. Inc. Agreement (ED 11/29/18)
            15     M     462-524 Arakelyan DDS. Inc. Agreements (ED 11/29/18)
            16     N     525-555 Hoang Agreement (ED 11/28/18)
                   O     556-584 W.A Stephan Agreement (ED 10/1/16)
            17
                    P    585-612 Rojo D.D.S., Inc. Agreement (ED 3/29/17)
            18
                   Q     613-644 Toledo D.D.S., Inc. Agreement (ED 6/16/15)
            19     R     645-675 Thompson, D.D.S., Inc. Agreement (ED 4/18/13)
            20      S    676-704 Ness Dental Agreement (ED 5/2/16)
            21     T     705-734 Jared, D.D.S. Agreement (ED 4/19/16)
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7275860.1                                 FIRST AMENDED COMPLAINT
        Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3450 Page 7 of 734




             1         Plaintiff Borrego Community Health Foundation (“Borrego Health”), hereby
             2 complains and alleges as follows:
             3 I.      INTRODUCTION/SUMMARY
             4         1.    Borrego Health is a California nonprofit public benefit corporation
             5 operating a Federally Qualified Health Center (also known as a FQHC). Borrego
             6 Health provides primary and related healthcare services to historically underserved
             7 areas of San Diego, Riverside, and—until recently—San Bernadino counties.
             8         2.    While Borrego Health was attempting to complete its mission of
             9 providing healthcare to underserved communities, certain individuals and entities,
            10 both inside and outside of Borrego Health, siphoned off money from Borrego Health
            11 that should have benefitted to the community it serves. The schemes of those
            12 various individuals and entities are set forth in detail below. The schemes include
            13 selling useless assets to Borrego Health at inflated prices, entering into one-sided
            14 agreements with Borrego Health to its detriment, committing and/or covering up
            15 healthcare fraud though improper billing of dental services, entering into leases with
            16 Borrego Health that were many times fair market rates and terms, paying themselves
            17 above-market salaries and benefits, hiring friends and family members to work for
            18 Borrego Health and paying them above-market salaries, and attempting to use
            19 Borrego Health to purchase a country club. Those same individuals and entities
            20 worked tirelessly to cover up their misdeeds, and, until recently, were successful is
            21 doing so.
            22         3.    The insiders were motivated by various forms of personal benefit.
            23 First, they used the excessive revenue generated by the schemes to set over-market
            24 salaries for themselves and create other forms of compensation, such as automotive
            25 benefits, retirement benefits, and free healthcare goods and services from Borrego
            26 Health. Second, they used the excessive services and attendant revenue from Medi-
            27 Cal to justify employing friends and family members at Borrego Health, also at
            28 inflated salaries. Third, on information and belief, the insiders allowed the outsiders

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7275860.1                                      FIRST AMENDED COMPLAINT
        Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3451 Page 8 of 734




             1 to participate in the fleecing of Borrego Health in exchange for kickbacks and/or
             2 other benefits to the insiders. For instance, Bruce Hebets and Karen Hebets set up a
             3 sham “consulting” company which entered into a sham agreement which paid them
             4 $2 million of funds that had been previously stolen from Borrego Health. Each and
             5 every one of the Defendants received one or more improper benefits and/or
             6 payments as a result of the schemes described below, and was incentivized to act in
             7 furtherance of those schemes, actively seek to conceal those schemes and/or
             8 breached their duties to prevent or stop those schemes.
             9        4.     The false and fraudulent billing of dental services has resulted in
            10 Borrego Health’s suspension by California’s Medicaid Program, Medi-Cal. The
            11 state and federal government are also investigating Borrego Health for tax issues, its
            12 non-profit status, among many other things, due to these schemes.
            13        5.     Fortunately, Borrego Health, through a newly constituted Board of
            14 Trustees, has spent considerable time and effort trying to discover and unravel the
            15 prior bad conduct to rehabilitate Borrego Health and ensure Borrego Health’s
            16 viability and compliance going forward.
            17        6.     However, Borrego Health has been severely damaged and this action
            18 seeks to illuminate the various schemes, to seek financial compensation to recoup
            19 funds wrongly siphoned away from Borrego Health, and to hold the wrongdoers
            20 responsible for their actions.
            21 II.    JURISDICTION AND VENUE
            22        7.     Venue is proper in this District pursuant to 31 USC section 3732(a) and
            23 28 USC section 1391(c). During the relevant time period, a substantial portion of
            24 the events complained of that give rise to Borrego Health’s claims occurred in this
            25 District.
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7275860.1                                       FIRST AMENDED COMPLAINT
        Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3452 Page 9 of 734
                                             735



             1 III.    CAST OF CHARACTERS
             2         A.    BORREGO COMMUNITY HEALTH FOUNDATION
             3         8.    Plaintiff Borrego Community Health Foundation (“Borrego Health”), is
             4 a nonprofit 501(c)(3) Federally Qualified Health Center (“FQHC”). Borrego Health
             5 provides high quality, comprehensive, compassionate primary health care to the
             6 people in their communities, regardless of their ability to pay, by partnering with
             7 licensed medical professionals across Southern California. Borrego Health operates
             8 33 clinics, primarily in underserved desert and inland communities throughout San
             9 Diego, Riverside, and—until recently—San Bernardino counties. Borrego Health
            10 provides essential services in Family Practice, Pediatrics, OB/GYN, Internal
            11 Medicine, Podiatry, Dermatology, Cardiology, HIV/Hepatitis C and Covid-19
            12 related testing and vaccinations to over 200,000 patients, most of whom cannot
            13 obtain affordable comprehensive primary care from other sources. During the
            14 recent pandemic, Borrego Health tested tens of thousands of Californians for Covid-
            15 19 infections, and vaccinated tens of thousands of people against Covid-19.
            16 Borrego Health’s continued operation is in the public interest and, despite the harm
            17 it has suffered and the way it has been manipulated by its former executives and
            18 trustees, it delivers quality health care to people who need it.
            19         9.    Much of the services Borrego Health provides to the community is
            20 funded by grants, including without limitation grants from the U.S. Health
            21 Resources and Services Administration (“HRSA”). Borrego Health received its first
            22 HRSA grant in 2003.
            23         10.   Following the initial HRSA grant in 2003, Borrego Health experienced
            24 massive growth, expanding its services to what they are today, inclusive of dental,
            25 mental health and chiropractic services. The majority of these services are provided
            26 through Borrego Health’s internal programs, including brick-and-mortar medical
            27 and dental clinics and mobile units. Borrego Health also operates a contract medical
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7275860.1                                       FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3453 Page 10 of 734
                                             735



             1 program in which it contracts with private practice providers to serve members of
             2 the community.
             3        11.     As a non-profit public benefit corporation, Borrego Health does not
             4 have individual shareholders, but rather is operated by a Board of Trustees, all of
             5 whom currently serve on a volunteer basis.
             6        B.      FORMER BORREGO INSIDERS
             7        12.     Bruce Hebets was a longtime resident of San Diego County and had
             8 been a Sergeant with the San Diego Harbor Police Department prior to becoming
             9 CEO of Borrego Health Foundation in or around 2004. Bruce Hebets served as
            10 Borrego Health’s CEO beginning in 2004 until his retirement in September 2018.
            11 Following a decline in Bruce Hebets’ health, Borrego Health’s Executive/Finance
            12 Committee – with Bruce Hebets’ approval – appointed the then Chief Legal Officer,
            13 Mikia Wallis, as President of Borrego Health in December 2017, and later as interim
            14 CEO following Bruce Hebets’ decision to take an extended medical leave, effective
            15 June 28, 2018. Following Bruce Hebets’ retirement, effective September 1, 2018,
            16 Mikia Wallis was appointed to the position of Borrego Health’s CEO. Bruce Hebets
            17 passed away in January 2019. In light of his death and the settlement of his estate,
            18 Bruce Hebets is not named as a defendant in this action though he would have been,
            19 if possible.
            20        13.     Defendant Karen Hebets is an individual with her place of residence in
            21 Borrego Springs, California. Karen Hebets was the Vice President of Business
            22 Services at Borrego Health. Karen Hebets was also the wife of Bruce Hebets.
            23        14.     Defendant KBH Healthcare Consulting, LLC was a California Limited
            24 Liability Company with its principal place of business in Borrego Springs,
            25 California. Bruce Hebets and Karen Hebets were its only members, sharing a 50-50
            26 interest.
            27        15.     Defendant Mikia Wallis, Esq. is an individual with her place of
            28 residence in Julian, California. Mikia Wallis is an attorney. She graduated from the

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7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3454 Page 11 of 734
                                             735



             1 University of San Diego School of Law, and was admitted to the California Bar on
             2 or about June 1, 2007. Mikia Wallis was Chief Legal Officer of Borrego Health,
             3 and was named interim CEO in June 2018 and CEO in September 2018. Mikia
             4 Wallis was also on Borrego Health’s Board of Trustees until October 2, 2020.
             5 Mikia Wallis was placed on administrative leave from Borrego Health on October 9,
             6 2020, and terminated by Borrego Health on December 15, 2020.
             7        16.   Defendant Diana Thompson, formerly Diana Troncoso, is an individual
             8 with her place of residence in San Diego County, California. Diana Thompson was
             9 Borrego Health’s Chief Financial Officer from March 2013, and was terminated as
            10 of March 2021. One of Diana Thompson’s children is married to one of Bruce
            11 Hebets’ and Karen Hebets’ child, and she shares one or more grandchildren with
            12 Bruce Hebets and Karen Hebets.
            13        17.   Defendant Harry Ilsley is an individual with his place of residence in
            14 Sheridan, Wyoming. Harry Ilsley also owns or owned a house in Borrego Springs
            15 (near the De Anza Country Club golf course). Harry Ilsley was a member of
            16 Borrego Health’s Board of Trustees and was the Chair of the Board until 2017. He
            17 was also on the Board’s Executive/Finance Committee.
            18        18.   Defendant Dennis Nourse in an individual with his place of residence
            19 in Cedarburg, Wisconsin. Dennis Nourse was a former administrator of Borrego
            20 Health, and later hired Bruce Hebets to be CEO. Dennis Nourse was a member of
            21 Borrego Health’s Board of Trustees from mid-2012 until his resignation, and was a
            22 member of the Board’s Executive/Finance Committee.
            23        19.   Defendant Mike Hickok in an individual with his place of residence in
            24 Borrego Springs, California (near the De Anza Country Club golf course). Mike
            25 Hickok was a member of Borrego Health’s Board of Trustees, and was a member of
            26 the Board’s Executive/Finance Committee.
            27        20.   Defendant Chuck Kimball an individual with his place of residence in
            28 Julian, California. Chuck Kimball was a member of Borrego Health’s Board of

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7275860.1                                     FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3455 Page 12 of 734
                                             735



             1 Trustees starting in approximately 2011, and was the Chair of the Board from 2017
             2 to mid-2019 and Secretary from 2019 until his removal. Chuck Kimball was also a
             3 member of the Board’s Executive/Finance Committee.
             4        21.    Karen Hebets, Mikia Wallis, Diana Thompson, Harry Ilsley, Dennis
             5 Nourse, Mike Hickok, and Chuck Kimball are collectively referred to as “Borrego
             6 Insiders.” A subset of Borrego Insiders who served as members of the Borrego
             7 Health Board of Trustee are Harry Ilsley, Dennis Nourse, Mike Hickok, and Chuck
             8 Kimball, collectively referred to herein as “Board Insiders.”
             9        22.    While some may have described themselves as volunteers, each of the
            10 Board Insiders was compensated for his service on the Board, including with free
            11 medical care and other benefits. Moreover, the Board Insiders are being sued not
            12 only for their negligent acts and omissions, but their intentional misconduct,
            13 including fraud, and their breaches of their fiduciary duties to Borrego Health.
            14        C.     PREMIER, PRIESTS AND OTHER PRIEST-RELATED
            15               ENTITIES
            16        23.    Defendant Premier Healthcare Management, Inc. (“Premier”) is a
            17 California corporation with its principal place of business in El Cajon, California.
            18        24.    Defendant Summit Healthcare Management, Inc. (“Summit”) was a
            19 California corporation with its principal place of business in El Cajon, California.
            20 Summit merged with Premier in 2019.
            21        25.    Defendant Daryl Priest in an individual with his place of residence in
            22 El Cajon, California. Daryl Priest is the owner of Premier. Prior to starting Premier
            23 Daryl Priest had no material healthcare experience.
            24        26.    Defendant Nicholas (“Nick”) Priest, Esq. in an individual with his
            25 place of residence in San Diego, California. Nick Priest was the Chief Executive
            26 Officer of Premier. Nick Priest is the son of Daryl Priest. Nick Priest is also an
            27 attorney. He graduated from California Western School of Law and was admitted to
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                                                          12
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3456 Page 13 of 734
                                             735



             1 the California Bar on or about June 21, 2016. Prior to working at Premier Nick
             2 Priest had no material healthcare experience.
             3         27.   Defendant Travis Lyon in an individual with his place of residence in
             4 Alpine, California. Travis Lyon was the President and Chief Operating Officer of
             5 Premier. He is also currently the President of Real Estate Operations at Priest
             6 Development Corporation.
             7         28.   Premier, Summit, Daryl Priest, Nick Priest and Travis Lyon are
             8 collectively referred to herein as the “Premier Defendants.”
             9         D.    DEFENDANT DENTISTS
            10         29.   Defendant Husam E. Aldairi, D.D.S. is a licensed dentist in California
            11 with whom Borrego Health partnered through its contract dental program. Dr.
            12 Aldairi, both individually and through his company Defendant Aldairi DDS, Inc.,
            13 operated several private dental practices, including 40/30 Dental Inc., located at
            14 6175 El Cajon Blvd., San Diego, CA 92215 and 40/30 Dental 2, located at 1166
            15 East Main Street, El Cajon, CA 92021. Husam Aldairi resides in San Diego County.
            16 Aldairi DDS, Inc., is a California corporation with its principal place of business in
            17 El Cajon, California.
            18         30.   Defendant Ayed Hawatmeh, D.D.S. is a licensed dentist in California
            19 with whom Borrego Health partnered through its contract dental program. Dr.
            20 Hawatmeh, both individually and through his company Defendant Hawatmeh
            21 Dental Group, P.C., operated several private dental practices, including Bravo
            22 Dental Group of Corona located at 1185 Magnolia Avenue #K & #L, Corona, CA
            23 92879, and White Smile Dental, located at 3495 East Concours Street, Suite A,
            24 Corona, CA 91764. Ayed Hawatmeh resides in San Bernardino County. Hawatmeh
            25 Dental Group, P.C. is a California corporation, with its principal place of business in
            26 Ontario, California.
            27         31.   Defendant Alborz Mehdizadeh, D.D.S. is a licensed dentist in
            28 California with whom Borrego Health partnered through its contract dental program.

                                                           13
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3457 Page 14 of 734
                                             735



             1 Dr. Mehdizadeh, both individually and through his company Defendant Alborz
             2 Mehdizadeh, Inc., operated several private dental practices, located at 15080 7th
             3 Street, Suite 7, Victorville, CA 92395 and 286 N. San Jacinto Street, Hemet, CA
             4 92543. Alborz Mehdizadeh resides in San Bernardino County in Victorville,
             5 California. Alborz Mehdizadeh, Inc., is a California corporation with its principal
             6 place of business in Long Beach, California.
             7        32.    Defendant Jilbert Bakramian, D.D.S. is a licensed dentist in California
             8 with whom Borrego Health partnered through its contract dental program. He
             9 operated as a sub-provider (i.e., though an arrangement with Dr. Aram Arakelyan
            10 but without a direct agreement with Borrego Health). Jilbert Bakramian resides in
            11 Glendale, California.
            12        33.    Defendant Mohammed Al Tekreeti, D.D.S. is a licensed dentist in
            13 California with whom Borrego Health partnered through its contract dental program.
            14 He operated as a sub-provider under Dr. Husam Aldairi. Mohammed Al Tekreeti
            15 resides in San Diego, California.
            16        34.    Defendant Magaly Velasquez, D.D.S. is a licensed dentist in California
            17 with whom Borrego Health partnered through its contract dental program. Dr.
            18 Velasquez, both individually and through her company, Defendant Magaly M.
            19 Velasquez DDS Professional Dental Corp., operated a private dental practice, called
            20 U-First Dental Care, located at 9130 Foothill Blvd., Rancho Cucamonga, CA 91730.
            21 Magaly Velasquez resides in Rancho Cucamonga, California. Magaly M.
            22 Velasquez DDS Professional Dental is a California corporation with its principal
            23 place of business in Rancho Cucamonga, California.
            24        35.    Defendant Aram Arakelyan, D.D.S. is a licensed dentist in California
            25 with whom Borrego Health partnered through its contract dental program. Dr.
            26 Arakelyan, both individually and through his company, Defendant New Millennium
            27 Dental Group Of Aram Arakelyan, Inc., operated several private dental practices,
            28 including practices located at 19523 E. Cypress Street, Covina, CA 91724 and

                                                          14
7275860.1                                     FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3458 Page 15 of 734
                                             735



             1 10917 Paramount Blvd., Downey, CA 90241. Aram Arakelyan resides in Rancho
             2 Cucamonga, California. New Millennium Dental Group Of Aram Arakelyan, Inc. is
             3 a California corporation with its principal place of business in Rancho Cucamonga,
             4 California.
             5        36.    Defendant Michael Hoang, D.M.D. is a licensed dentist in California
             6 with whom Borrego Health partnered through its contract dental program. He
             7 operated a private dental practice, located at 13672 Hawthorne Blvd., Hawthorne,
             8 CA 90250. Michael Hoang resides in Long Beach, California.
             9        37.    Defendant Waleed Stephan, D.D.S. is a licensed dentist in California
            10 with whom Borrego Health partnered through its contract dental program. Dr.
            11 Stephan, both individually and through his company, Defendant W.A. Stephan, a
            12 Dental Corporation, operated a private dental practice, called Stephan Family
            13 Dental, located at 860 Jamacha Road, Suite 201, El Cajon, CA 92019. Waleed
            14 Stephan resides in El Cajon, California. W.A. Stephan, a Dental Corporation is a
            15 California corporation with its principal place of business in San Diego, California.
            16        38.    Defendant Santiago Rojo, D.D.S. is a licensed dentist in California with
            17 whom Borrego Health partnered through its contract dental program. Dr. Rojo, both
            18 individually and through his company Defendant Santiago A. Rojo, D.D.S., Inc.,
            19 operated a private dental practice, called Family Dentistry Inc., located at 22435
            20 Alessandro Blvd., Suite 106, Moreno Valley, CA 92553. Santiago Rojo resides in
            21 Orlando, Florida. Santiago A. Rojo, D.D.S., Inc., is a California corporation with its
            22 principal place of business in Moreno Valley, California.
            23        39.    Defendant Marcelo Toledo, D.D.S. is a licensed dentist in California
            24 with whom Borrego Health partnered through its contract dental program. Dr.
            25 Toledo, both individually and through his company Defendant Marcelo Toledo
            26 D.D.S., Inc., operated private dental practices located at 1701 Palm Canyon Drive,
            27 Palm Springs, CA 92262 and 326 N. Riverside Avenue, Rialto, CA 92376. Marcelo
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7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3459 Page 16 of 734
                                             735



             1 Toledo resides in Grand Terrace, California. Marcelo Toledo, D.D.S., Inc., is a
             2 California corporation with its principal place of business in Rialto, California.
             3         40.   Defendant Marlene Thompson, D.D.S. is a licensed dentist in
             4 California with whom Borrego Health partnered through its contract dental program.
             5 Dr. Thompson, both individually and through her company Defendant Marlene M.
             6 Thompson, D.D.S., Inc., operated a private dental practice located at 988 El Norte
             7 Parkway, Escondido, CA 92026. Marlene Thompson resides in Temecula,
             8 California. Marlene Thompson, D.D.S., Inc., is a California corporation with its
             9 principal place of business in Escondido, California.
            10         41.   Defendant Douglas Ness, D.D.S. is a licensed dentist in California with
            11 whom Borrego Health partnered through its contract dental program. Dr. Ness, both
            12 individually and through his company Defendant Ness Dental Corporation, operated
            13 a private dental practice, Crown Dental Group, located at 2405 Transportation
            14 Avenue, National City, CA 91950. Douglas Ness resides in Bonita, California.
            15 Ness Dental Corporation is a California corporation with its principal place of
            16 business in National City, California.
            17         42.   Defendant George Jared, D.D.S. is a licensed dentist in California with
            18 whom Borrego Health partnered through its contract dental program. Dr. Jared,
            19 both individually and through his company Defendant George C. Jared, D.D.S., Inc.,
            20 operated a private dental practice, East County Family Dental, located at 13465
            21 Camino Canada Road, Suite 110-A, El Cajon, CA 92021. George Jared resides in
            22 San Diego, California. George Jared, D.D.S., Inc., is a California corporation with
            23 its principal place of business in El Cajon, California.
            24         43.   Other dentists formerly contracted with Borrego Health may have also
            25 engaged in actions and omissions that constitute a breach or breaches of their
            26 contracts with Borrego Health and/or make material misrepresentations to Borrego
            27 Health. However, the names and identities of those dentists are currently unknown
            28 to Borrego Health, and are therefore sued here as Does 1-100. They are unknown,

                                                           16
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3460 Page 17 of 734
                                             735



             1 in part, because Borrego Health does not currently have access to their medical
             2 records, patient charts, scheduling information, and other business records to
             3 evaluate their care and documentation of services that Borrego Health billed as a
             4 result of invoices from the dentists. Borrego Health intends to seek discovery of
             5 such information to evaluate other partner dentists and their sub-providers.
             6        44.    Husam E. Aldairi, D.D.S., Aldairi DDS, Inc., Ayed Hawatmeh, D.D.S.,
             7 Hawatmeh Dental Group, P.C., Alborz Mehdizadeh, D.D.S., Alborz Mehdizadeh,
             8 Inc., Jilbert Bakramian, D.D.S., Mohammed Al Tekreeti, D.D.S., Magaly
             9 Velasquez, D.D.S., Magaly M. Velasquez DDS, Professional Dental Corp., Aram
            10 Arakelyan, D.D.S., New Millennium Dental Group of Aram Arakelyan, Inc.,
            11 Michael Hoang, DMD, Waleed Stephan, D.D.S., W.A. Stephan, a Dental
            12 Corporation, Santiago Rojo, D.D.S., Santiago A. Rojo, D.D.S., Inc., Marcelo
            13 Toledo, D.D.S., Marcelo Toledo, D.D.S., Inc., Marlene M. Thompson, D.D.S.,
            14 Marlene Thompson, D.D.S., Inc., Douglas Ness, D.D.S., Ness Dental Corporation,
            15 George Jared, D.D.S. and George C. Jared, D.D.S., Inc. and Does 1-100 are
            16 collectively referred to herein as the “Dentist Defendants.”
            17        E.     JAMES HEBETS AND HIS COMPANIES
            18        45.    Defendant James “Jim” Hebets in an individual with his place of
            19 residence in Scottsdale, Arizona. Jim Hebets is Bruce Hebets’ brother.
            20        46.    Defendant The Hebets Company is a Missouri Corporation with its
            21 principal place of business in Phoenix, Arizona. Jim Hebets is President and
            22 Founder of The Hebets Company, and has or had an ownership interest in The
            23 Hebets Company. The Hebets Company provides accounting and consulting
            24 services and hold themselves out as experts in executive compensation to healthcare
            25 providers, including other FQHCs, in California and San Diego County. The Hebets
            26 Company is a subsidiary of NFP Corp. NFP is a network of independent financial
            27 advisors that includes over 175 firms in 41 states and Puerto Rico, specializing in
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7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3461 Page 18 of 734
                                             735



             1 life insurance and wealth transfer, corporate and executive benefits, and provides
             2 services across the state of California and San Diego County.
             3         F.    OTHERS
             4         47.   Julian Medical Foundation is a California nonprofit corporation, with
             5 its principal place of business in Julian, California.
             6         48.   Timothy Martinez, D.D.S. graduated from the Harvard School of
             7 Dental Medicine in 1986 with a concentration in Health Care Administration.
             8 Throughout his 30 year career, he has had extensive experience in FQHC dental
             9 programs, state dental Medicaid administration, private practice, and academic
            10 positions at the Associate Dean level. Prior to joining Borrego Health, Dr. Martinez
            11 served as the Associate Dean for Community Partnerships and Access to Care for
            12 two dental schools, Western University of Health Sciences and the University of
            13 New England, and before that, he served as the Massachusetts Medicaid Dental
            14 Director as well as the Dental Director for three large FQHCs in the greater Boston
            15 area, including the first FQHC in the nation Geiger-Gibson Community Health
            16 Center, Boston Health Care for the Homeless, and the South End Community Health
            17 Center. Timothy Martinez spearheaded the Program Integrity unit for Borrego
            18 Health, designed to detect and address potential false or fraudulent billing.
            19         49.   Maura Tuso, D.D.S. was a licensed dentist in California. She lost her
            20 license and was suspended by Medi-Cal. Despite this, she provided services for
            21 various dentists that were contracted with Borrego Health. She has since provided
            22 documents, evidence, and statements that she observed and engaged in fraudulent
            23 practices at the direction of Defendants Husam Aldairi, Mohammed Al Tekreeti,
            24 Marlene Thompson, Douglas Ness, and George Jared.
            25         50.   Dr. Alfredo Ratniewski is the former Chief Medical Officer of Borrego
            26 Health.
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7275860.1                                       FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3462 Page 19 of 734
                                             735



             1         G.    ALTER EGO AND DOE ALLEGATIONS
             2         51.   Borrego Health is informed and believes that at all relevant times each
             3 of the Premier Defendants was the agent and employee of each of the remaining
             4 Premier Defendants, and in doing the things hereinafter alleged was acting within
             5 the course and scope of such agency and employment. The Premier Defendants
             6 operated in such a way as to make their individual identities indistinguishable, and
             7 therefore are mere alter-egos of one another. The acts and omissions of the Premier
             8 Defendants were done in concert with one another in furtherance of their common
             9 design and agreement to accomplish a particular result, namely extracting money
            10 from Borrego Health. Moreover, the Premier Defendants aided and abetted each
            11 other in accomplishing the acts and omissions alleged herein. (See Restatement
            12 (SECOND) of Torts §876 (1979)). The Premier Defendants, and each of them, fail
            13 to recognize the uniqueness and independence of each other. At all times relevant
            14 hereto, there was a such a unity of interest and ownership between the Premier
            15 Defendants such that the individual distinctions between them had ceased and that
            16 the facts as alleged herein are such that an adherence to the fiction of the separate
            17 existence of the Premier Defendants would, under the particular circumstances
            18 alleged herein, sanction a fraud and/or promote injustice.
            19         52.   Borrego Health is informed and believes that at all relevant times Jim
            20 Hebets and the Hebets Company were the agent and employee of each other, and in
            21 doing the things hereinafter alleged were acting within the course and scope of such
            22 agency and employment. Jim Hebets and The Hebets Company operated in such a
            23 way as to make their individual identities indistinguishable, and therefore are mere
            24 alter-egos of one another. The acts and omissions of the Jim Hebets and The Hebets
            25 Company were done in concert with one another in furtherance of their common
            26 design and agreement to accomplish a particular result, namely extracting money
            27 from Borrego Health. Moreover, Jim Hebets and The Hebets Company aided and
            28 abetted each other in accomplishing the acts and omissions alleged herein. (See

                                                           19
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3463 Page 20 of 734
                                             735



             1 Restatement (SECOND) of Torts §876 (1979)). Jim Hebets and The Hebets
             2 Company, and each of them, fail to recognize the uniqueness and independence of
             3 each other. At all times relevant hereto, there was a such a unity of interest and
             4 ownership between Jim Hebets and The Hebets Company such that the individual
             5 distinctions between them had ceased and that the facts as alleged herein are such
             6 that an adherence to the fiction of their separate existence would, under the
             7 particular circumstances alleged herein, sanction a fraud and/or promote injustice.
             8         53.    Borrego Health is informed and believes that at all relevant times each
             9 of the individual defendant dentists and their affiliated defendant professional
            10 corporation(s) were the agent and employee of each other, and in doing the things
            11 hereinafter alleged were acting within the course and scope of such agency and
            12 employment. The individual dentists and their affiliated professional corporation(s)
            13 operated in such a way as to make their individual identities indistinguishable, and
            14 therefore are mere alter-egos of one another. The acts and omissions of the
            15 individual dentists and their affiliated professional corporation(s) were done in
            16 concert with one another in furtherance of their common design and agreement to
            17 accomplish a particular result, namely extracting money from Borrego Health.
            18 Moreover, the individual dentists and their affiliated professional corporation(s)
            19 aided and abetted each other in accomplishing the acts and omissions alleged herein.
            20 (See Restatement (SECOND) of Torts §876 (1979)). The individual dentists and
            21 their affiliated professional corporation(s), and each of them, fail to recognize the
            22 uniqueness and independence of each other. At all times relevant hereto, there was
            23 a such a unity of interest and ownership between the individual dentists and their
            24 affiliated professional corporation(s) such that the individual distinctions between
            25 them had ceased and that the facts as alleged herein are such that an adherence to the
            26 fiction of the separate existence of the individual dentists and their affiliated
            27 professional corporation(s) would, under the particular circumstances alleged herein,
            28 sanction a fraud and/or promote injustice. However, Borrego Health pleads in the

                                                            20
7275860.1                                       FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3464 Page 21 of 734
                                             735



             1 alternative that the individual dentists and their affiliated professional corporation(s)
             2 may not have been agents of one another for purposes of the interference causes of
             3 action set forth below.
             4         54.    Borrego Health is ignorant of the true names and capacities of those
             5 defendants sued herein as DOES 101 through 250, and for that reason has sued such
             6 defendants by fictitious names. Borrego Health will seek leave of the Court to
             7 amend this Complaint to identify said defendants when their identities are
             8 ascertained.
             9 IV.     RULE 9(b) REQUIREMENTS
            10         55.    Several of Borrego Health’s claims are subject to Federal Rules of Civil
            11 Procedure Rule 9(b). Federal Rules of Civil Procedure Rule 9(b) states, “In alleging
            12 fraud or mistake, a party must state with particularity the circumstances constituting
            13 fraud or mistake. Malice, intent, knowledge, and other conditions of a person’s mind
            14 may be alleged generally.” Fed. R. Civ. P. 9(b). Notably, “[u]nder Ninth Circuit law,
            15 a pleading is sufficient for purposes of Rule 9(b) if it identifies the circumstances
            16 constituting fraud so that the defendant can prepare an adequate answer. While
            17 conclusory allegations will not suffice, statements which provide the time, place and
            18 nature of the alleged fraudulent activities will.” Zatkin v. Primuth, 551 F.Supp. 39,
            19 42 (S.D. Cal. 1982) (citing Bosse v. Crowell, Collier and MacMillan, 565 F.2d 602,
            20 611 (9th Cir.1977); Walling v. Beverly Enterprises, 476 F.2d 393, 397 (9th
            21 Cir.1973)). For claims subject to Rule 9(b), the complaint must include “the who,
            22 what, when, where, and the how of the misconduct charged.” Aton Center, Inc. v.
            23 Northwest Administrators, Inc., No. 21CV1843-L-MSB, 2022 WL 4229307 *4
            24 (Sept. 13, 2022 S.D. Cal.) (quoting Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097,
            25 1106 (9th Cir. 2003)). Importantly, however, a plaintiff need not plead every
            26 instance of fraud in order to “plead with particularity.” Any assertion that only
            27 offering a sampling of alleged misconduct does not comply with Rule 9(b) is
            28 “unsupported by law.” Satmodo, LLC v. Whenever Communications, No. 17-CV-

                                                           21
7275860.1                                       FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3465 Page 22 of 734
                                             735



             1 0192, 2017 WL 637132 *2 (Dec. 8, 2017 S.D.C.A.). “The Ninth Circuit has stated
             2 Rule 9(b)’s particularity requirement can be met through use of sampling.”
             3 Satmodo, LLC v. Whenever Communications, No. 17-CV-0192, 2017 WL 637132
             4 *2 (Dec. 8, 2017 S.D.C.A.) (citing Edeid ex rel. U.S. v. Lungwitz, 616 F.3d 993,
             5 998-99 (9th Cir. 2010). “Although it is not mandatory that [Plaintiff] provide
             6 representative examples, such examples would go a long way in providing the
             7 necessary particularity under Rule 9(b).” Satmodo, LLC v. Whenever
             8 Communications, No. 17-CV-0192, 2017 WL 637132 *2 (Dec. 8, 2017 S.D.C.A.)
             9 (quoting Frazier ex rel. U.S. v. Iasis Healthcare Corp., 392 Fed.Appx. 535, 537 (9th
            10 Cir. 2010)). The below allegations and representative examples provide the “who,
            11 what, when, where, and how” of the alleged misconduct to put all Defendants on
            12 proper notice and is therefore sufficiently pled under Rule 9(b).
            13 V.     THE SCHEMES THAT DAMAGED BORREGO HEALTH
            14        A.     The Scheme to Form and Sell Entities Formed by Borrego Insiders
            15               to Borrego Health (the “Borrego MSO/IPA Scheme”)
            16        56.    One of the earliest discovered schemes concocted by the Borrego
            17 Insiders to the detriment of Borrego Health is the formation of Borrego Management
            18 Services Organization, LLC (“Borrego MSO”) and Borrego Independent Physicians
            19 Association, A Professional Medical Corporation (“Borrego IPA”), and the sale of
            20 those entities to Borrego Health.
            21        57.    While CEO of Borrego Health, Bruce Hebets devised a scheme to have
            22 Borrego Health incur unnecessary costs by providing physician services and
            23 administrative services to Borrego Health through companies that he and other
            24 Borrego Insiders would create and control. This allowed the Borrego Insiders to
            25 improperly profit from those companies at the expense of Borrego Health.
            26        58.    Both Borrego MSO and Borrego IPA were formed on or about July 19,
            27 2010 through the assistance of Mikia Wallis, in-house counsel at Borrego Health.
            28 Mikia Wallis provided this service without charge to Borrego MSO or Borrego IPA,

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7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3466 Page 23 of 734
                                             735



             1 using Borrego Health resources to benefit some of the Borrego Insiders. Borrego
             2 MSO and Borrego IPA were potential referral sources for Medi-Cal beneficiaries.
             3 Mikia Wallis was listed as the agent for service of process for both entities.
             4        59.    As Bruce Hebets and other Borrego Insiders were not medical
             5 professionals, their ownership in Borrego IPA, which was a professional medical
             6 corporation, was constrained. Thus, other friends, cronies, and referral sources
             7 became investors, including Dr. Alfredo Ratniewski and his daughter. Dr. Alfredo
             8 Ratniewski was motivated to cooperate, in part, by the Borrego Insiders’ decision to
             9 overcompensate him as Borrego Health’s Chief Medical Officer and to
            10 overcompensate his family members who also worked at Borrego Health.
            11        60.    Borrego MSO, on the other hand, is a lay entity, which was supposed to
            12 manage the Borrego IPA practice. Bruce Hebets was sophisticated enough to try to
            13 avoid scrutiny of the obvious conflict problems by keeping his name away from
            14 Borrego MSO. Instead, Karen Hebets (Bruce Hebets’ wife) was a shareholder, and
            15 was named as Borrego MSO’s Chief Executive Officer. Karen Hebets had no
            16 experience managing an IPA and was not qualified to do so.
            17        61.    Through Borrego MSO’s purported “management” services, Borrego
            18 MSO could charge Borrego IPA for unnecessary services, and funnel the funds to
            19 Karen Hebets and other Borrego Insiders.
            20        62.    Borrego MSO and Borrego IPA were then contracted with Borrego
            21 Health to provide physician and administrative services to Borrego Health.
            22 However, these services were already being provided without the unnecessary
            23 expense of contracting with outside companies. Tellingly, Borrego MSO and
            24 Borrego IPA did not do business with any other healthcare providers, only Borrego
            25 Health.
            26        63.    Eventually, a plan was developed by Bruce Hebets and other Borrego
            27 Insiders for Borrego Health to buy Borrego MSO and Borrego IPA. The entities
            28 had no valuable assets to sell to Borrego Health. The transaction was a sham

                                                          23
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3467 Page 24 of 734
                                             735



             1 transaction meant to obscure the self-dealing of Bruce Hebets and other Borrego
             2 Insiders. Mikia Wallis facilitated the transaction, which was culminated with a
             3 November 1, 2012 purchase agreement whereby Borrego Health paid $2,000,000 to
             4 acquire Borrego MSO and Borrego IPA.
             5         64.   On information and belief, the plan was to take some of that money and
             6 pay it to the investors of Borrego IPA. Thus, all of the investors at Borrego MSO
             7 and Borrego IPA would profit at the expense of Borrego Health.
             8         65.   On information and belief, the Borrego Insiders were compensated for
             9 this access and control through kickbacks or other payments or remuneration.
            10         B.    The Scheme to Contract with Premier Allowing Premier to Get
            11               Paid Tens of Millions of Dollars to Purportedly Provide
            12               “Management Services” It Was Not Capable of Providing (the
            13               “Premier Scheme”)
            14               i.     The Contract Dental Program is Formed
            15         66.   Borrego Health began a contract dental program in 2014. In general,
            16 the Medi-Cal program recognizes the value of a FQHC expanding the availability of
            17 its services, so it allows FQHCs to enter into contracts with private practice
            18 healthcare professionals to provide services to the FQHC’s members.
            19         67.   In general, “contract dental” describes the arrangement where Borrego
            20 Health expanded its service area by entering into contracts with individual dentists
            21 and/or their practices. Under those contracts, the contracted dentists agreed to
            22 provide certain dental services to eligible patients of Borrego Health. Those
            23 services would then be billed to Medi-Cal by Borrego Health. Borrego Health, in
            24 turn, pays the dentist a fee for the dental services rendered.
            25         68.   Importantly, the fees that Borrego Health paid to the dentists were far
            26 greater than what the dentists would have been paid if they had billed Medi-Cal for
            27 the services directly. Therefore, the dentists were motivated to contract with
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7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3468 Page 25 of 734
                                             735



             1 Borrego Health. As a result, some dentists were taking their existing patients and
             2 converting them to “Borrego Health patients.”
             3        69.    The contract dental program expanded so quickly because Medi-Cal
             4 paid Borrego Health based a fixed rate for each service that Borrego Health (or its
             5 contracted dentists) provided. The billing is known as “encounter” billing, and each
             6 “encounter” or visit Borrego Health (or its contracted dentists) has with a patient is
             7 reimbursed the fixed fee amount based on Borrego Health’s historic costs.
             8        70.    If the dentists were not contracted with Borrego Health and provided
             9 dental services to a Medi-Cal beneficiary, then the dentist would be paid under the
            10 Medi-Cal fee schedule, a per service billing method, that is described by many
            11 dentists as very low.
            12        71.    The fixed fee, encounter-based payment was high relative to the costs
            13 of providing dental services. This allowed Borrego Health to pay the contracted
            14 dentists more than what Medi-Cal would have paid to the dentist directly under the
            15 Medi-Cal fee schedule, and still retain a handsome profit.
            16        72.    In each instance Borrego Health was billing Medi-Cal for the services
            17 that the contract dentist billed Borrego Health.
            18        73.    Borrego initially managed the contract dental program on its own.
            19        74.    By fall 2015, Borrego Health’s contract dental program comprised
            20 approximately 20 to 25 percent of Borrego Health’s total revenue.
            21               ii.   Hebets Proposes an MSO Idea, Which Is Rejected by
            22                     Borrego Health
            23        75.    Sometime in 2015, Bruce Hebets, possibly due to his experience with
            24 Borrego MSO and Borrego IPA, identified a significant business opportunity for an
            25 outside organization to provide management services for dental programs in
            26 FQHCs. Specifically, he proposed the idea of Borrego Health contracting with a
            27 MSO to provide management services for its contract dental program.
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7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3469 Page 26 of 734
                                             735



             1         76.   Bruce Hebets originally proposed that he would own 100 percent of the
             2 MSO, then sell 90-95 percent of it to Daryl Priest and/or others. This would have
             3 resulted in a large, direct payment by Daryl Priest and/or others to Bruce Hebets,
             4 and then ongoing payments by Borrego Health to Bruce Hebets through the MSO
             5 due to Bruce Hebets’ retained ownership of 5-10 percent.
             6         77.   During an Executive/Finance Committee meeting on August 27, 2015,
             7 Bruce Hebets discussed his proposal to form an MSO that would contract with
             8 Borrego Health to provide management services for the contract dental program.
             9 Borrego Insiders Harry Ilsley, Dennis Nourse, and Mike Hickok were present at this
            10 meeting, along with Mikia Wallis and Diana Thompson. These Borrego Insiders
            11 supported the proposal. However, Mikia Wallis identified the risk of Bruce Hebets
            12 staring a competing company.
            13         78.   On September 22, 2015, in an email to Mikia Wallis, outside counsel
            14 for Borrego Health warned that any potential MSO arrangement involving Bruce
            15 Hebets implicated conflict-of-interest laws, would have to be an arms-length
            16 transaction and that any compensation paid to Bruce Hebets under the deal must be
            17 at the fair market value. As detailed below, this advice was later ignored.
            18         79.   The discussion of the MSO proposal carried over into the next meeting
            19 of the Executive/Finance Committee meeting that took place on September 24,
            20 2015. The minutes from the meeting clearly document the attempt by Bruce Hebets,
            21 Mikia Wallis and Diana Thompson to convince the Executive/Finance Committee
            22 that Bruce Hebets’ proposal was a good idea despite the conflict of interest issue
            23 being identified.
            24         80.   For example, the Executive/Finance Committee members were told
            25 how no other company could provide this type of novel management services to
            26 FQHCs specific to their contract dental program needs. The Executive/Finance
            27 Committee also discussed how Borrego Health could be a part-owner of the MSO.
            28 Ultimately, the discussion was tabled for presentation to the entire Board at its

                                                          26
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3470 Page 27 of 734
                                             735



             1 October meeting, pending an analysis by outside counsel regarding Bruce Hebets’
             2 clear conflict of interest issue.
             3           81.   On October 21, 2015, Bruce Hebets arranged a phone call with Diana
             4 Thompson, Mikia Wallis, and Dennis Nourse. Upon information and belief, the
             5 nature of this call was to further discuss the proposed MSO.
             6           82.   Ultimately, on or about October 29, 2015, the full Borrego Health
             7 Board rejected Bruce Hebets’ proposal to enter into an arrangement with a MSO in
             8 which he held ownership interest as a result of the inherent conflict of interest.1
             9 Some Board members who were present at that meeting recall that the Board went
            10 as far as rejecting wholesale the idea that Borrego Health use an MSO to manage the
            11 contract dental program, regardless of who owned or operated it. The non-Borrego
            12 Insider Board members believed the issue was settled; the MSO would not go
            13 forward. The Borrego Health Board did not approve moving forward with a MSO
            14 at all.
            15           83.   Outside counsel for Borrego Health attended the next meeting of the
            16 full Borrego Health board. The Board took no action while they were in the
            17 meeting. On or about December 11, 2015, Mikia Wallis told outside counsel that
            18 “the Finance Committee” was reviewing the issue and she would get back to the
            19 lawyers. Mikia Wallis told outside counsel that the issue was put off until the next
            20 Board meeting on December 17, 2015. Outside counsel was prepared to attend that
            21 meeting. However, on December 16, 2015, Mikia Wallis called one of the outside
            22 lawyers and said something to the effect of “it appears we will not need you after
            23 all.”
            24
            25
            26   1
                This experience of the full Board rejecting his proposal likely influences
            27 subsequent actions by Bruce Hebets and others to avoid taking issues to the Board
            28 again and instead reach deals among Bruce Hebets and the Borrego Insiders.

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7275860.1                                          FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3471 Page 28 of 734
                                             735



             1        84.    On December 26, 2015, one of the outside counsel lawyers sent an
             2 email to Mikia Wallis asking if she needed anything more on the MSO issue. Mikia
             3 Wallis falsely said that the Borrego Health decided not to move forward with the
             4 MSO plan. In fact, the MSO plan was going forward, albeit in a modified form.
             5               iii.   The Borrego Health Insiders Enter Into a Management
             6                      Services Agreement on Borrego Health’s Behalf Anyway
             7        85.    Notwithstanding the full Board’s rejection of the very idea of an MSO
             8 and unbeknownst to Borrego Health, on March 1, 2016, Bruce Hebets and Premier
             9 executed a Management Services Agreement for Borrego Health’s contract dental
            10 program (“Dental MSA”). None of the Borrego Insiders ever brought the Dental
            11 MSA to Borrego Health’s full Board for consideration or approval. Instead, the
            12 Borrego Insiders negotiated the terms of the arrangement with Premier and Mikia
            13 Wallis drafted the Dental MSA. The Borrego Insiders then proceeded to enter into
            14 the agreement on Borrego Health’s behalf, without any notice whatsoever to the full
            15 Board (whom they knew had already rejected the proposal). A true and correct copy
            16 of the Dental MSA is attached hereto as Exhibit A.
            17        86.    The existence of the Dental MSA was kept concealed by the Borrego
            18 Insiders. In 2016, the person in charge of the contract dental program was Cynthia
            19 Preciado. Cynthia Preciado was in charge of developing a team to manually scrub
            20 dental claims. When the program became too large for her staff, Cynthia Preciado
            21 began developing a relationship with a vendor that would charge a total of $500,000
            22 to develop and implement a process for scrubbing and submitting contract dental
            23 claims.
            24        87.    Cynthia Preciado had this plan in motion and had even traveled to Utah
            25 to meet with the vendor to develop the process. Then, in February 2016, she got a
            26 call from Bruce Hebets who told her that, effective immediately, she was no longer
            27 in charge of the contract dental program. She drove to the office to speak with
            28 Bruce Hebets and Diana Thompson, but both refused to discuss the matter with her.

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7275860.1                                     FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3472 Page 29 of 734
                                             735



             1 Only later was Cynthia Preciado informed of the arrangement with Daryl Priest.
             2 She was instructed to hand everything over to Daryl Priest’s son, Nick Priest, who
             3 was running Premier.
             4         88.   What followed was essentially a “hostile takeover” of contract dental,
             5 spearheaded by Travis Lyon. Cynthia Preciado was not included in any
             6 conversations, but was told to hand over all relevant documents. Cynthia Preciado’s
             7 access to the ShareDrive (the system which allowed her and her team to review
             8 claims) was terminated. All of Cynthia Preciado’s team was fired.
             9         89.    Even before the execution of the Dental MSA on March 1, 2016, there
            10 were ongoing discussions between the Board Insiders, Bruce Hebets, and the
            11 Premier Defendants in order to ensure the Dental MSA moved forward. Indeed,
            12 Cynthia Preciado documented her concerns in emails. On February 11, 2016 (weeks
            13 before the Dental MSA was signed) Cynthia Preciado e-mailed Bruce Hebets
            14 expressing her concerns. She stated:
            15         “…there has been comments made that Daryl [Priest] and Travis [Lyon] are
            16         highly integrated with upper management and the Board of Directors
                       interpreted as a measure of intimidation. There is a tone of ‘better than you.’”
            17
            18         90.   Cynthia Preciado expressed her concerns later on to both Bruce Hebets
            19 and the other Borrego Insiders, but her concerns were promptly disregarded and
            20 concealed by the Borrego Insiders whenever such concerns were raised.
            21         91.   Just as they kept Cynthia Preciado in the dark, Bruce Hebets and the
            22 Borrego Insiders never informed the entire Borrego Health Board of the Dental
            23 MSA, meaning that the Premier Defendants were highly integrated with the Borrego
            24 Insiders long before the Dental MSA was even signed.
            25         92.   Pursuant to the terms of the Dental MSA, Borrego Health was to pay
            26 Premier $5 per participating patient visit to any contract dentist for the first 8,000
            27 visits, then $25 per participating patient visit thereafter. In return, Premier agreed to
            28 provide the services to Borrego Health, including without limitation provider

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7275860.1                                       FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3473 Page 30 of 734
                                             735



             1 contracting (marketing and negotiating) and relations, claims management and
             2 processing (including “scrubbing” the contract dental claims for documentation
             3 errors or inconsistencies and ensuring claims are in such a format as Borrego Health
             4 may bill and submit to DHCS), management information system, quality
             5 management, patient management, reporting, and other general administrative
             6 services.
             7        93.   The Dental MSA underwent two amendments – Amendment 1 and
             8 Amendment 2. The Premier Defendants were able to manipulate and control
             9 Borrego Health to such a degree that there were able to take what was an already
            10 unreasonable, one-sided agreement and amend it to make it even more unreasonable
            11 and one-sided, without offering anything in return. The first Amendment was
            12 effective on or about December 22, 2016 (“Amendment 1”) and the second on or
            13 about July 1, 2017 (“Amendment 2”). A true and correct copy of Amendment 1 is
            14 attached herein as Exhibit B. A true and correct copy of Amendment 2 is attached
            15 herein as Exhibit C.
            16        94.   Amendment 1 of the Dental MSA was signed again by Bruce Hebets
            17 and Daryl Priest. Amendment 1 amended the term of the Dental MSA to extend for
            18 the five year period beginning January 1, 2017, subject to an automatic renewal of
            19 five years. Amendment 1 also removed provision 3.B. from the Dental MSA which
            20 permitted Borrego Health to terminate the Dental MSA without cause. Amendment
            21 1 was completely one-sided to the benefit of Premier, and Borrego Health received
            22 no additional consideration. The Borrego Insiders negotiated the terms of
            23 Amendment 1 to the Dental MSA, Mikia Wallis drafted it, and the Borrego Insiders
            24 entered into Amendment 1 to the Dental MSA on Borrego Health’s behalf, without
            25 any notice whatsoever to the full Board.
            26        95.   Amendment 2 of the Dental MSA was signed by Mikia Wallis as
            27 “Executive Vice President” of Borrego and Daryl Priest. Amendment 2 to the
            28 Dental MSA changed the compensation provisions of the original Dental MSA. As

                                                          30
7275860.1                                     FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3474 Page 31 of 734
                                             735



             1 a result, Amendment 2 obligated Borrego Health to pay Premier $25 per visit,
             2 starting at the first visit rather than the previous term of $5 per visit for the first
             3 8,000 visits. Amendment 2 did not obligate Premier to perform any additional
             4 services in exchange for increasing their payment fivefold. In essence, Amendment
             5 2 conferred a benefit (worth $160,000) to Premier without any corresponding
             6 consideration to Borrego Health. Again, Amendment 2 was completely one-sided to
             7 the benefit of Premier, and Borrego Health received no additional consideration.
             8 The lack of consideration and other reasons makes Amendment 2 unenforceable,
             9 and the Premier Defendants must return the overpaid funds. The Borrego Insiders
            10 negotiated the terms of Amendment 2 to the Dental IPA, Mikia Wallis drafted it,
            11 and the Borrego Insiders entered into Amendment 2 to the Dental IPA on Borrego
            12 Health’s behalf, without any notice whatsoever to the full Board.
            13         96.    The Dental MSA and Amendments should have been provided to the
            14 Board for review and approval, but that was avoided by the Borrego Insiders.
            15         97.    On September 8, 2017, Bruce Hebets and Daryl Priest entered into
            16 another Management Services Agreement – this time for Borrego’s Contract
            17 Medical Program (“Medical MSA”). Another of Daryl Priest’s companies, Summit
            18 Healthcare Management, Inc. (which has subsequently been merged into Premier),
            19 agreed to provide services similar to Premier’s obligations under the Dental MSA.
            20 The terms of the Medical MSA required Borrego Health to pay $25 per patient visit
            21 to Summit in exchange for the management services provided. The Borrego
            22 Insiders negotiated the terms of the arrangement with Premier, Mikia Wallis drafted
            23 the agreement and the Borrego Insiders entered into the agreement on Borrego
            24 Health’s behalf, without any notice whatsoever to the full Board. A true and correct
            25 copy of the Medical MSA is attached herein as Exhibit D.
            26         98.    As part of both the Dental MSA and Medical MSA, Premier and
            27 Summit, through Daryl Priest, represented that they had the skill and experience
            28 necessary to fulfill their obligations under the Dental MSA and Medical MSA.

                                                             31
7275860.1                                        FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3475 Page 32 of 734
                                             735



             1 Specifically, among other things, they represented they had skilled clinical providers
             2 to review and evaluate the claims.
             3         99.   As part of the Dental MSA and corresponding Amendments, Premier
             4 Defendants represented to Borrego Health that it was qualified and competent to
             5 provide necessary administrative and management services for a FQHC. The
             6 Premier Defendants further represented they would comply with all guidelines, laws
             7 and regulations governing transactions and security of electronic health records and
             8 other patient information. The Premier Defendants further represented they would
             9 both maintain and allow auditing of all bills generated which related to dental
            10 services provided under any agreement between Borrego Health and a contract
            11 dental provider.
            12         100. Exhibit “A” to the Dental MSA further outlines that Premier
            13 Defendants represented that they would market and negotiate new contract dental
            14 agreements for the benefit of Borrego Health, provide ongoing education and
            15 training to contract dental service providers and their staff, and address contract
            16 dental service provider eligibility and claims inquiries. The Premier Defendants
            17 represented, among other things: (1) that they would obtain information from the
            18 contract dental providers to insure Borrego Health had all information that was
            19 required in order to properly and correctly bill Medi-Cal for such claims, (2) that
            20 they would monitor the claims, bills and payments to dentists to the benefit of
            21 Borrego Health to ensure compliance with all applicable statutes, regulations and
            22 laws, (3) that they would provide ongoing education to contracted dental providers
            23 to ensure compliance with Borrego Health policies and procedures, (4) regarding
            24 patient eligibility, that they would actively track whether or not the services
            25 rendered were eligible for reimbursement for each participating patient, and (5) that
            26 they would, for the benefit of Borrego Health, perform both short and long-term
            27 financial and strategic planning, and manage Borrego Health’s relationship with
            28 applicable regulatory agencies.

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7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3476 Page 33 of 734
                                             735



             1        101. As part of the Medical MSA, the Premier Defendants represented they
             2 would comply with all guidelines, laws and regulations governing transactions and
             3 security of electronic health records and patient information. Premier Defendants
             4 further represented that they would provide any and all necessary staff, information
             5 systems, and support services needed to perform the services outlined in the Medical
             6 MSA. The Premier Defendants represented, among other things: (1) that they would
             7 provide ongoing education to contracted providers to ensure compliance with
             8 Borrego Health policies and procedures, (2) that they would obtain information from
             9 contracted providers necessary for Borrego Health to properly bill for such claims,
            10 (3) that they would monitor claims, billing and payment for contracted providers to
            11 ensure Borrego Health’s billing practices were compliance with applicable law, (4)
            12 as part of monitoring claims, that they would validate the eligibility and
            13 completeness of the claims submitted, and (5) that they would assist Borrego Health
            14 in verifying the credentials of healthcare providers requesting to partner with
            15 Borrego Health.
            16        102. The Premier Defendants did not perform the obligations set forth in the
            17 Dental MSA and Medical MSA. Rather, once the Dental MSA and Amendments
            18 were executed, the Premier Defendants trained dentists how to maximize their
            19 revenue at the expense of Borrego Health, which also increased Premier’s revenue
            20 because Premier received $25 per claim. The Premier Defendants represented that
            21 they were reviewing and scrubbing dental claims for accuracy, however, as outlined
            22 herein, thousands of unsubstantiated, duplicate and/or fraudulent claims were paid to
            23 dentists. For each of these claims, Premier wrongfully received payment. Further
            24 details of Premier Defendants’ conduct and breaches are alleged below.
            25        103. Bruce Hebets and the Borrego Insiders knew that $25 per claim was an
            26 unreasonably high price. Before the Dental MSA was signed, Cynthia Preciado told
            27 them that $5 per claim would be reasonable.
            28

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7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3477 Page 34 of 734
                                             735



             1        104. At the time the Premier Defendants made these representations, they
             2 knew they lacked the knowledge, experience and skill to do these things, and that
             3 they would not be able to fulfill these promises. Accordingly, the Premier
             4 Defendants did not intend to perform these promises.
             5        105. At the time the Premier Defendants made these representations, they
             6 knew these representations were false or had no reasonable grounds for believing
             7 the representations to be true.
             8        106. Payment to the dentists was typically initiated within 24 hours of
             9 receiving a bill from the dentists, and well before any payment had been made by
            10 Medi-Cal. Further, the payments from Borrego Health to the dentists were not
            11 recouped by Premier if Medi-Cal never paid Borrego Health.The Borrego Insiders
            12 Concealed the Premier Scheme from Borrego Health
            13        107. The Borrego Insiders concealed the Dental MSA, along with
            14 Amendment 1 and Amendment 2 thereto, and the Medical MSA from the full
            15 Borrego Health Board. In fact, in August 2017, when the Borrego Insiders met to
            16 discuss expanding Borrego Health’s relationship with Premier (or another Daryl
            17 Priest entity) to manage Borrego Health’s nascent contract medical program, the
            18 Borrego Insiders (in a recorded conversation) acknowledge that they intentionally
            19 kept the 2016 Dental MSA from the full Board and that they intended to do the same
            20 with any future arrangement (which turned out to the Medical MSA).
            21        108. At a meeting of Borrego Insiders on August 31, 2017, Chuck Kimball
            22 asked with respect to the contemplated Medical MSA with the Premier Defendants,
            23 “…can we just do that in the Executive Committee [i.e. Borrego Insiders only],
            24 because I can think of a couple of people that are going to object to that.” Indeed,
            25 the Board had already rejected prior efforts for a dental MSO. Because the Borrego
            26 Insiders knew that non-Borrego Insiders would object, the Borrego Insiders
            27 ultimately chose to conceal it from the rest of Borrego Health. After Chuck Kimball
            28 asked his question, the following discussion took place (emphasis added):

                                                           34
7275860.1                                        FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3478 Page 35 of 734
                                             735



             1      BRUCE HEBETS: I guess the way I would answer that is, does this
                    Committee want me to take this to the Board? Or does it feel comfortable
             2      enough without it?
             3      MIKE HICKOK: Take what specifically?
             4
                    CHUCK KIMBALL: The idea?
             5
                    BRUCE HEBETS: The idea of working with Daryl on the contract.
             6
                    CHUCK KIMBALL: I think they should be advised about it. I don't know if
             7      it's a up or down, we do it or don't do it. But I think --
             8      BRUCE HEBETS: It could be handled however this Committee wants. I can
             9      take this to the Board as an up-or-down decision, or just an advisement -- by
                    the way, we are doing this.
            10
                    CHUCK KIMBALL: I'm wondering if we can get away with doing --
            11      literally, get away with not explaining the details, but saying we are now
                    moving forward on adding Contract Medical to the Contract Dental load that
            12      we have, and it should be a great deal and all that sort of thing. If you don't
            13      have to go into details, and nobody says, "Well, who's going to run it?"

            14      BRUCE HEBETS: That's fine.
            15      CHUCK KIMBALL: Then, are we in trouble there with (indiscernible) at all?
                    An idea?
            16
                    MIKIA WALLIS: No. I believe that's already part of the strategic plan, so I
            17      don't know if that report even needs approval. But just as a, you know,
            18      operational FYI.

            19      CHUCK KIMBALL: An operational FYI is probably -- then I think there
                    wouldn't be any problem presenting it. I think, in my mind, but Dennis and
            20      Mike?
            21      MIKE HICKOK: I don't think the Board approved Daryl in the first place.
            22      CHUCK KIMBALL: I think you're right.
            23      MIKE HICKOK: I don't recall ever being asked. I mean, we discussed it.
            24
                    CHUCK KIMBALL: I think that was a slam dunk thing. It just happened,
            25      didn't it?
            26      DENNIS NOURSE: I think what was discussed was, was it going to be your
                    participation.
            27
                    [OVERLAPPING SPEAKERS]
            28

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7275860.1                                   FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3479 Page 36 of 734
                                             735



             1      DENNIS NOURSE: It might come as a surprise to some to know that Daryl is
                    out there doing this. That was never a part of the vote. And neither should be
             2      Contract Medical.
             3      BRUCE HEBETS: The opportunity I put together -- trust me, I really wish
             4      that I had a piece of it, or that I received some kind of commission on it.
             5      MIKE HICKOK: Don't we all.
             6      BRUCE HEBETS: Because this is going to be off the (indiscernible) -- is still
                    the only MSO that exists in the country doing this.
             7
                    DENNIS NOURSE: Can we make that a conditional approval by the --
             8
             9      [OVERLAPPING SPEAKERS]

            10      CHUCK KIMBALL: I was thinking, we are going to retire, like you and I.
                    We could retire and draw a little salary.
            11
                    MIKIA WALLIS: None of this goes in the minutes.
            12
                    [OVERLAPPING SPEAKERS]
            13
                    BRUCE HEBETS: If you were to analyze (indiscernible), he's at like $14- or
            14      $15 million a year revenue.
            15
                    HARRY ILSLEY: Chuck?
            16
                    CHUCK KIMBALL: Yeah?
            17
                    HARRY ILSLEY: As I remember, and Bruce, you can correct me if I'm
            18      wrong, but when we first talked about, regarding Daryl, we got approval
                    through the Executive Committee only. We did not take that to the Board.
            19
            20      CHUCK KIMBALL: I believe you're right.

            21      HARRY ILSLEY: That's the same with Contract Dental. That was not
                    approved by the Board. That was approved by the Executive Committee. So, I
            22      don't think you need to take this matter to the Board. I think the Executive
                    Committee can approve it and go from there on it.
            23
                    MIKE HICKOK: And Harry, I agree with you; it wouldn't be an up or down
            24      decision to the Board, but how about just advising them that this is going to
            25      be another program?
            26      HARRY ILSLEY: And that's what we did before. We just advised them what
                    we had done.
            27
            28

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7275860.1                                   FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3480 Page 37 of 734
                                             735



             1        109. Ultimately, the Borrego Insiders determined that Bruce Hebets would
             2 “share with the board [his] thoughts of going into contract medical, and just leave it
             3 at that.” And ultimately, the Borrego Insiders only told the full Board that they were
             4 expanding into “contract medical.” The Borrego Insiders continued to conceal that
             5 there was a third party involved.
             6        110. At the August 30, 2017 Borrego Health Board meeting, the minutes
             7 reflect that “Borrego Health will be pursuing a contract medical program,” along
             8 with the notation “Information only.”
             9        111. Beyond intentionally omitting information about the Dental MSA and
            10 Medical MSA from the full Borrego Health Board, the Borrego Insiders also
            11 implemented several internal mechanisms to conceal the Premier Scheme. One
            12 example of this is seen through Diana Thompson and Karen Hebets’ significant
            13 violations of the nepotism policy (see the below “Nepotism and Cronyism
            14 Scheme”). Diana Thompson and Karen Hebets hired several family members to
            15 place in the billing and accounting department at Borrego Health. These family
            16 members did not have any prior experience in the healthcare industry, let alone
            17 FQHC experience. Karen Hebets and Diana Thompson then created a training
            18 protocol, in which the two “trained” their family members how to review the EOBs
            19 and claims submissions for errors and duplications. As a direct result of Karen
            20 Hebets’ and Diana Thompson’s training, their family members allowed thousands of
            21 duplicate claims to be improperly processed.
            22        112. When non-familial employees requested to receive more broad
            23 departmental trainings, Diana Thompson instead ensured that employees were only
            24 trained for isolated projects. This allowed the process of reviewing the fraudulent
            25 claims to be insulated and hidden from Borrego Health as a whole.
            26        113. Further, prior to 2020, Mikia Wallis ensured that the details included in
            27 Board and Executive Committee meeting minutes were kept to a minimum. After
            28 these meetings, Mikia Wallis would request her assistant send her the draft minutes

                                                          37
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3481 Page 38 of 734
                                             735



             1 so she could redline, edit, amend and delete information. That way, any subsequent
             2 requests for minutes would not reveal any details about what was discussed as it
             3 related to the alleged Schemes. For example, during the August 31, 2017 Executive
             4 Committee meeting, the Borrego Insiders were discussing the ongoing agreement
             5 with Daryl Priest and Premier. During the discussion, Mikia Wallis stated: “None of
             6 this goes in the minutes.”
             7        114. On January 20, 2017, Travis Lyon told employees in Borrego Health’s
             8 finance department that any communication regarding the Dental MSA needed to
             9 solely be directed to Travis Lyon. This was to conceal from other Borrego Health
            10 employees what total monthly revenue Premier was receiving as a result of the
            11 Dental MSA.
            12        115. Mike Hickok would present monthly financial reports at each Board
            13 meeting. At its highest, the compensation paid to Premier was $20 million in fiscal
            14 year 2019. During fiscal year 2020, Borrego Health paid $18.15 million to Premier.
            15 However, despite Premier being Borrego Health’s highest paid vendor, Mike
            16 Hickok failed to mention the arrangement in his reports.
            17        116. During the January 31, 2019 Executive Committee meeting, Mike
            18 Hickok admitted to Chuck Kimball that the Borrego Insiders had been keeping the
            19 full Borrego Health Board “out of the loop” (his words) as it pertained to Borrego
            20 Health’s growth and the contract dental program.
            21        117. It was not until the summer of 2020 that Borrego Health Board
            22 members other than the Borrego Insiders became aware of the arrangement.
            23        118. By email on or about July 23, 2020, Borrego Insider Mike Hickok
            24 admitted, “As long as I have been on the board our dealings with them [Premier]
            25 have been secretive mysterious and above all off limits to board members.” Mike
            26 Hickok’s email went on to report the basic terms of the Dental MSA and Medical
            27 MSA (along with the total fees paid to Premier the prior year), demonstrating that he
            28 was familiar with the arrangement and its terms. The email also admitted that,

                                                         38
7275860.1                                     FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3482 Page 39 of 734
                                             735



             1 among other things, the Dental MSA and Medical MSA were never approved by the
             2 full Borrego Health Board, were never put out for competitive bidding, and were
             3 never reported on 990 forms. Mike Hickok also stated that the arrangement with
             4 Premier “was hardly the extent of [Borrego Health’s] involvement with the
             5 principals of Premier Healthcare” and that “no board member has ever seen the
             6 agreement or any other financial documents relating to this entity.” Mike Hickok
             7 did not explain why, since he knew about these arrangements, he had never raised
             8 them prior to this time. Mike Hickok acknowledged “I have a fiduciary
             9 responsibility…” and that “each and every Board member can potentially be held
            10 accountable legally and financially for allowing an improper (and perhaps illegal)
            11 relationship to continue.”
            12        119. It is clear that the Borrego Insiders were using contract dental as a
            13 source of money to fund their own enrichment. And others were in on this Scheme.
            14 When Jim Hebets (who was not employed by Borrego Health) was approached
            15 about possible cuts to the above-market, lucrative 162B plans the he sold to Borrego
            16 Health (alleged below), Jim Hebets responded on August 1, 2018, “Are you really
            17 sure that the board will actually want to cut these benefits given the good news
            18 about Contract Dental.”
            19        120. Further, at a September 24, 2020 Finance Committee Meeting, the
            20 Dental MSA was discussed. Trustee Keenan Freeman indicated that billing software
            21 companies usually charge between $3-6 per claim, and that $25 per claim was
            22 outside of fair market value. Diana Thompson reassured Keenan Freeman that when
            23 the Dental MSA was entered into, several other vendors quoted 10%-12% of total
            24 revenue, which equated to approximately $25 per claim.
            25               iv.   The Damages Suffered by Borrego Health Due to the
            26                     Premier Scheme
            27        121. Following the discovery of the Dental MSA and Medical MSA and the
            28 relationship with Premier by the full Borrego Health Board, Borrego Health retained

                                                          39
7275860.1                                     FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3483 Page 40 of 734
                                             735



             1 a valuation expert to determine the maximum fair market value of the services
             2 Premier provided to Borrego Health, if those services were valuable at all.
             3        122. The valuation, conducted by BKD, determined that the fair market
             4 value of the contract dental services Premier was supposed to perform totaled $19
             5 million over the term of the Dental MSA (at that point). However, Borrego Health
             6 paid over $60 million for those services, meaning the Borrego Health overpaid by at
             7 least $40 million. The fair market value of the contract medical services was
             8 $145,000 over the term of the Medical MSA (at that point). Borrego Health paid
             9 over $383,000 for those services, meaning the Borrego Health overpaid by over
            10 double, or around $238,000. Moreover, neither of these valuations take into account
            11 the various breaches of contract set forth herein, which would reduce the value of
            12 the services.
            13        123. The Dental MSA provides, in pertinent part, that Premier shall “defend,
            14 indemnify and hold Borrego Health free and harmless from any obligations, costs,
            15 claims, judgments, attorney’s fees, or attachments arising from Premier’s negligence
            16 in the performance of the services contemplated under this Agreement.” (See
            17 Exhibit A, Section 6.) The Medical MSA states that Summit (now Premier) “shall
            18 defend, indemnify and hold Borrego Health, its officers, employees and agents
            19 harmless from and against any and all liability, loss, expense (including reasonable
            20 attorney’s fees) or claims for injury or damages arising out of the performance of
            21 this Agreement.” (See Exhibit D, Section 8.)
            22        124. Borrego Health provided notice of Premier’s indemnification
            23 obligation, but Premier has not provided any financial support.
            24        125. Separate and distinct from Premier’s contractual duty to indemnify
            25 Borrego Health, Premier is also obligated to indemnify Borrego Health under equity
            26 principles, if either agreement were not enforceable. “Equitable indemnity applies
            27 in cases in which one party pays a debt for which another is primarily liable and
            28 which in equity and good conscience should have been paid by the latter

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7275860.1                                     FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3484 Page 41 of 734
                                             735



             1 party.” United Services Auto. Ass’n v. Alaska Ins. Co. (2001) 94 Cal. App. 4th 638,
             2 644-645 (emphasis added); see also Prince v. Pacific Gas & Elec. Co. (2009) 45
             3 Cal. 4th 1151, 1163. As such, even if Premier were not contractually bound to
             4 indemnify Borrego Health, it still owes Borrego Health a duty of indemnification.
             5 See Crawford v. Weather Shield Mfg., Inc. (2008) 44 Cal. 4th 541, 551
             6 (“[C]ontractual promise to ‘defend’ another against specified claims clearly
             7 connotes an obligation of active responsibility, from the outset, for the promisee’s
             8 defense against such claims. The duty promised is to render, or fund, the service of
             9 providing a defense on the promisee’s behalf—a duty that necessarily arises as soon
            10 as such claims are made against the promisee, and may continue until they have
            11 been resolved.” [emphasis added]); Civil Code § 2778. As such, Premier is under
            12 an obligation to cover the expense of Borrego Health’s defense against any claims
            13 subject to the Dental MSA and Medical MSA.
            14        126. On information and belief, the Borrego Insiders were compensated for
            15 this access and control through kickbacks or other payments or remuneration. As
            16 Bruce Hebets stated at an August 31, 2017 meeting of the Borrego Insiders, “we’ve
            17 already made Daryl rich, but Daryl has made us richer.”
            18        127. In addition, when the fraud related to the contract dental program was
            19 uncovered, both the contract dental and in-house dental programs were treated as
            20 fraudulent by the Department of Health Care Services and payments were
            21 suspended in amount to be proven at trial. Under the payment suspension, Borrego
            22 Health has not been paid for the in-house dental services since the suspension was
            23 implemented in November 2020.
            24        128. In addition, Borrego Health was also forced to hire an independent
            25 monitor pursuant to the terms of the November 2020 partial Medi-Cal suspension.
            26 These monitors have cost Borrego Health $2.7 million thus far.
            27        129. In addition, Borrego Health has also been forced to close both its
            28 Riverside and Barstow clinics.

                                                          41
7275860.1                                       FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3485 Page 42 of 734
                                             735



             1        130. In addition, Borrego Health has also been forced to incur significant
             2 legal and consulting fees, in an amount to be proven at trial.
             3        131. In addition, Borrego Health has also lost a significant numbers of staff,
             4 and continues to have difficulty retaining employees.
             5        C.     Certain Contract Dentists Submitted Fraudulent Bills with the
             6               Knowledge and Support of Premier and the Borrego Insiders (the
             7               “Fraudulent Dental Billing Scheme”)
             8        132. Based on both Medi-Cal and Borrego Health’s billing and payment
             9 structure, some of the dentists were also motivated to provide as many services to
            10 Borrego Health patients as possible, in some instances even where the services were
            11 not medically unnecessary. Even more egregious, some dentists split services that
            12 could have been done in one encounter to multiple encounters so that they could
            13 collect multiple times. More egregious than that, some dentists provided multiple
            14 services during a single encounter, but billed the services as multiple encounters.
            15 Finally, most egregious of all, some dentists billed for services they never provided.
            16        133. Unbeknownst to Borrego Health, certain contract dentists and dental
            17 practices, Premier and the Borrego Insiders schemed to maximize their profits at the
            18 expense of the Medi-Cal program and Borrego Health. Since the dentists were paid
            19 on a “per encounter” basis, certain contract dentists, with the knowledge and support
            20 of Premier and the Borrego Insiders, among other things (1) provided services were
            21 not medically unnecessary, (2) split services that could have been done in one
            22 encounter to multiple encounters so that they could collect multiple times, (3)
            23 provided multiple services during a single encounter, but billed the services as
            24 multiple encounters, and/or (4) billed for services they never provided. This scheme
            25 is detailed below.
            26        134. As part of the Dental MSA, Premier, through the Premier Defendants,
            27 were involved in the engagement and outreach of new dental providers for the
            28 contract dental program. Once the Premier Defendants found potential contract

                                                          42
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3486 Page 43 of 734
                                             735



             1 dental providers, the Premier Defendants provided the dentists with a copy of their
             2 original Contract Dental Agreement. The Premier Defendants then reviewed the
             3 terms and conditions of the agreements with the dentists, including reviewing and
             4 explaining the addendums which addressed the billing and payment structure under
             5 Medi-Cal. (See i.e. Ex. L, Addendum E.) The Premier Defendants did this for all
             6 Dental Defendants with the exception of Velasquez and Thompson.
             7         135. Under the Dental MSA, Premier was also responsible for training the
             8 Dental Defendants on how to properly submit their claims to Premier for payment.
             9 Premier employee, Maria Elena Fernandez, and Travis Lyon provided training to the
            10 Dental Defendants. The Borrego Insiders were also involved in ensuring Premier
            11 Defendants trained the contract dental providers in a way to maximize profits from
            12 the schemes. For example, on February 20, 2018, Karen Hebets and Travis Lyon
            13 had an afternoon phone call to discuss training protocols.
            14         136. Under the Dental MSA, Premier was responsible for claims monitoring,
            15 which involved review of claims received by contract dental providers to ensure that
            16 claims were compliant with federal and state regulation prior to submission to
            17 Borrego Health for final submission to Medi-Cal for payment. Prior to the Program
            18 Integrity implementation (discussed below), Borrego Insider Karen Hebets had
            19 responsibility for billing audits and identifying billing discrepancies.
            20         137. Under the Dental MSA, Premier was also responsible for implementing
            21 quality management measures to address patient grievances, audit and survey
            22 contract dental providers and provide Borrego Health with the findings of such
            23 surveys and audits, and provide education and training to contract dental providers
            24 who did not meet the requirements under the quality measures implemented.
            25         138. The Premier Defendants completely abdicated their responsibilities
            26 under the Dental MSA, because effective performance would have undermined the
            27 scheme to facilitate contract dentists overbilling Borrego Health for services. The
            28 Premier Defendants understood that the more claims that were submitted benefitted

                                                           43
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3487 Page 44 of 734
                                             735



             1 the Premier Defendants, because Premier was compensated by Borrego Health
             2 based on the volume of claims.
             3          139. While it is true that the Premier Defendants were derelict in their
             4 duties, their conduct went much further. The Premier Defendants actively supported
             5 the fraud described below. On information and belief, the Premier Defendants
             6 coached dentists on how to fraudulently bill Borrego Health, including coaching
             7 them on “claim splitting” and fraudulently billing for non-covered bridges.
             8          140. Dentists were paid on a per-encounter basis, so in the event that a
             9 dentist performed multiple procedures in one encounter, they were still paid for one
            10 encounter. The Premier Defendants coached dentists to split these claims, i.e., bill
            11 one encounter on the day it occurred and the next day, so that the dentist could get
            12 paid for both. This is a fraud on Borrego Health and on the government. It is clear
            13 from the following paragraphs that the dentists took this practice to the extreme,
            14 sometimes billing for dozens of patient visits for one patient in a single month.
            15          141. Another way the Dentist Defendants, supported by the Premier
            16 Defendants and Borrego Insiders, submitted false and fraudulent bills was through
            17 improper billing for bridges. Dental bridges literally bridge a gap for a missing
            18 tooth. A connected bridge covers both sides of the teeth next to the missing tooth to
            19 hold a false tooth in the missing spot. A bridge is generally not covered by Medi-
            20 Cal. To avoid this non-coverage, on information and belief, the Premier Defendants
            21 coached dentists to bill for three crowns – one for missing tooth and one for each
            22 tooth beside it – instead of billing for a bridge, and to bill three separate encounters.
            23 In this way, rather than billing for one non-covered service (and one visit), the
            24 dentist falsely documented three covered services and fraudulently billed for all
            25 three.
            26          142. Premier routinely approved of services that could not have possibly
            27 occurred. Dentists were required to upload a progress note and an x-ray for Borrego
            28 Health to pay the dentists for certain claims. Borrego Health has also identified

                                                            44
7275860.1                                       FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3488 Page 45 of 734
                                             735



             1 dozens of examples in which x-rays clearly demonstrate that the claimed service
             2 could not have occurred (e.g., because the x-ray submitted to Premier shows that the
             3 tooth supposedly receiving the service is no longer in the mouth of the patient), yet
             4 employees from Premier still signed their names to approve the services.
             5        143. After the Premier Defendants received the claims from the Dental
             6 Defendants, they would e-mail the bills to Diana Thompson, Karen Hebets, Julian
             7 Thompson, and other family members Borrego Insiders hired to Borrego Health’s
             8 finance department. Premier would electronically submit the Dental Defendants’
             9 claims to Borrego Health then e-mail its invoices for the claims it processed. This
            10 occurred on a monthly basis. For example, on December 10, 2019, Travis Lyon e-
            11 mailed Diana Thompson with Premier’s November 2019 invoice. The invoice
            12 included a total of 79,217 claims. Of those claims, Aldairi billed 2,190 claims,
            13 which was nearly ten times higher than the average claims billed by other contract
            14 dental providers that month. To put this further into perspective, Aldairi would have
            15 needed to see over 115 patients every business day that month to reach that total.
            16 During that same month, Stephan billed for 1,195 claims, over five times the
            17 average claims billed by other contract dental providers that month. The Premier
            18 Defendants did not flag these billing practices as suspicious to Borrego Health.
            19 Rather, Premier Defendants pushed these claims forward, represented it reviewed
            20 the claims to confirm they were legitimate and had the required supporting
            21 documentation, and demanded $25 per claim they allegedly reviewed. And despite
            22 these clear outliers, once the invoices were sent to Diana Thompson, she did not
            23 take any action to bring attention to these discrepancies, instead pushing them
            24 through Borrego Health’s finance department for her step-son Julian Thompson to
            25 process Premier’s payment. Julian Thompson then mailed Premier a check for
            26 $1,980,425.00. Additionally, the greater number of claims, the more staff Borrego
            27 Health’s finance department would need to keep the scheme concealed, allowing
            28

                                                          45
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3489 Page 46 of 734
                                             735



             1 Diana Thompson more opportunities to hire more of her family for positions in
             2 which they lacked the qualifications.
             3        144. In another example, on January 20, 2020, Travis Lyon e-mailed Diana
             4 Thompson with Premier’s invoice for the December 2019 claims, which totaled
             5 58,437 contract dental claims. In the December 2019 invoice, a single office run by
             6 Aldairi submitted 1,680 claims alone, over ten times the average number of claims
             7 of the other dental providers. Another dentist, Stephan, billed 1,062 claims during
             8 that one month for one of his offices, over six times the average number of claims
             9 submitted by the other contract dental providers. The Premier Defendants did not
            10 flag these billing practices as suspicious to Borrego Health. Rather, the Premier
            11 Defendants pushed these claims forward, represented it reviewed the claims to
            12 confirm they were legitimate and had the required supporting documentation, and
            13 demanded $25 per claim they allegedly reviewed. And despite these clear outliers,
            14 once the invoices were sent to Diana Thompson, she did not take any action to bring
            15 attention to these discrepancies, instead pushing them through Borrego Health’s
            16 finance department for her step-son to process Premier’s payment and mail Premier
            17 a check for $1,460,925.00. Additionally, the greater number of claims, the more
            18 staff Borrego Health’s finance department would need to keep the scheme
            19 concealed, allowing Diana Thompson more opportunities to hire more of her family
            20 for positions in which they lacked the qualifications.
            21        145. In another example, on March 16, 2020, Travis Lyon e-mailed Diana
            22 Thompson with Premier’s invoice for the February 2020 claims, which totaled
            23 67,928 contract dental claims. In the February 2020 invoice, a single office run by
            24 Aldairi submitted 2,042 claims alone, over ten times the average number of claims
            25 of the other dental providers. Another dentist, Arakelyan, billed 1,072 claims during
            26 that one month for one of his offices, over five times the average number of claims
            27 submitted by the other contract dental providers. Another dentist, Stephan, billed
            28 1,291 claims during that one month for one of his offices, over six times the average

                                                          46
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3490 Page 47 of 734
                                             735



             1 number of claims submitted by the other contract dental providers. The Premier
             2 Defendants did not flag these billing practices as suspicious to Borrego Health.
             3 Rather, Premier pushed these claims forward, represented it reviewed the claims to
             4 confirm they were legitimate and had the required supporting documentation, and
             5 demanded $25 per claim they allegedly reviewed. And despite these clear outliers,
             6 once the invoices were sent to Diana Thompson, she did not take any action to bring
             7 attention to these discrepancies, instead pushing them through Borrego Health’s
             8 finance department for her step-son to process Premier’s payment and mail Premier
             9 a check for $1,698,200.00. Additionally, the greater number of claims, the more
            10 staff Borrego Health’s finance department would need to keep the scheme
            11 concealed, allowing Diana Thompson more opportunities to hire more of her family
            12 for positions in which they lacked the qualifications.
            13               i.    Husam E. Aldairi, D.D.S.
            14        146. On or about May 27, 2016 and May 29, 2018, Husam Aldairi, D.D.S.,
            15 both individually and through his company Aldairi DDS, Inc. (collectively,
            16 “Aldairi”) entered into written dental services agreements (the “Aldairi
            17 Agreements”) whereby Aldairi agreed to provide primary dental services to
            18 participating Borrego Health patients, and Borrego Health agreed to pay Aldairi for
            19 those services. Husam Aldairi is the sole officer and director of Husam Aldairi,
            20 D.D.S. Husam Aldairi also operates as the Chief Executive Officer, Secretary and
            21 Chief Financial officer of Husam Aldairi, D.D.S. Husam Aldairi is also the agent for
            22 service of process for Husam Aldairi, D.D.S. Husam Aldairi maintains complete
            23 ownership, management and control of Husam Aldairi, D.D.S. As such, while the
            24 parties to the Aldairi Agreements are Borrego Health and Husam Aldairi, D.D.S.,
            25 Husam Aldairi, as the alter ego and/or sole owner of Husam Aldairi, D.D.S. and as
            26 signatory of the Aldairi Agreements, is capable of being held personally liable under
            27 the Aldairi Agreements. (See i.e. Irey v. Len (1961) 191 Cal. App. 2d 13.) A true
            28 and correct copy of the 2016 Aldairi Agreement is attached herein as Exhibit E, and

                                                          47
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3491 Page 48 of 734
                                             735



             1 a true and correct copy of the 2018 Aldairi Agreement is attached herein as Exhibit
             2 F.
             3        147. As a participant in Borrego Health’s contract dental program, Aldairi
             4 was involved in Borrego Health’s operations by providing dental services to
             5 Borrego Health patients.
             6        148. Among other things, the Aldairi Agreements required that Aldairi
             7 practice dentistry in accordance with all Federal, State and local laws, regulations,
             8 and generally accepted principles applicable to the practice of dentistry, and to
             9 prepare, establish, and maintain administrative records, financial records, records
            10 pertaining to patient diagnosis and treatment, and information pertaining to the
            11 services provided.
            12        149. Aldairi submitted false and fraudulent bills and made other statements
            13 which Aldairi knew to be false or had no reasonable grounds for believing their
            14 representations were true, which also constitute a breach of the Aldairi
            15 Agreement. A non-exhaustive list of examples is set forth below. The below
            16 examples are demonstrative of a larger pattern and practice of fraudulent and/or
            17 unlawful conduct.
            18        150. On May 21, 2020, the Executive Officer of the Dental Board of
            19 California (the “Dental Board”), Karen M. Fischer, issued an Accusation against
            20 Husam Aldairi alleging Husam Aldairi, dating back to December 2016, committed
            21 gross negligence, “repeated acts of professional negligence,” and failed to properly
            22 document patient treatment, surgical procedures, diagnosis, and clinical findings.
            23 The Accusation sought to revoke or suspend Husam Aldairi’s dentist license to
            24 practice in California.
            25        151. On May 25, 2021, the Dental Board and Husam Aldairi agreed to a
            26 Stipulated Settlement and Disciplinary Order in which Husam Aldairi “voluntarily,
            27 knowingly, and intelligently waive[d] and [gave] up” his legal rights, including a
            28 right to hearing on the charges and allegation. Under the order, Husam Aldairi’s

                                                          48
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3492 Page 49 of 734
                                             735



             1 dental license to practice in California was revoked, but the revocation was stayed
             2 pending a two-year probationary period. The Dental Board adopted the order,
             3 effective June 24, 2021.
             4        152. Husam Aldairi never informed Borrego Health of the ongoing Dental
             5 Board investigation on his license or the issued Accusation.
             6        153. Husam Aldairi’s failure to inform Borrego Health of the ongoing
             7 Dental Board investigation on his license or the issued Accusation, made the First
             8 Agreement subject to suspension until the Dental Board issued its final
             9 determination on April 29, 2021.
            10        154. Husam Aldairi’s failure to inform Borrego Health of the ongoing
            11 Dental Board investigation on his license or the issued Accusation, made the Second
            12 Agreement subject to suspension until the Dental Board issued its final
            13 determination on April 29, 2021.
            14        155. In September 2020, Borrego Health conducted a compliance re-audit of
            15 Husam Aldairi. Husam Aldairi had failed his prior audit with Borrego Health, but
            16 Borrego Health provided Husam Aldairi another opportunity to obtain compliance
            17 with Borrego Health’s policies. Borrego Health even offered Husam Aldairi one-
            18 on-one compliance trainings. For the September 2020 audit, out of the sampled
            19 dental record documents pulled for his private practice at the San Diego location,
            20 none of them met the documentation requirements under the Aldairi Agreements
            21 and Borrego Health’s policies for contract dental providers. Out of the sampled
            22 dental record documents pulled for Aldairi DDS, Inc. at the El Cajon location, only
            23 three out of 30 claims met the documentation requirements under the Aldairi
            24 Agreements and Borrego Health’s policies for contract dental providers.
            25        156. The results of Borrego Health’s audit from September 2020 of Husam
            26 Aldairi indicated that Husam Aldairi had clearly violated the terms of the Aldairi
            27 Agreements by his actions, including but not limited to: (1) billing excessive patient
            28 visits, including falsifying appointment schedules; (2) failing to maintain adequate

                                                          49
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3493 Page 50 of 734
                                             735



             1 documentation to support billing; (3) falsification of medical records; (4) performing
             2 services that lacked medical necessity; (5) providing services that fell below the
             3 standard of care; (6) providing excessive services; and (7) generating inaccurate
             4 billing records, including billing for services not rendered, upcoding, inappropriately
             5 splitting services, and billing for services rendered by another provider and/or
             6 providers not enrolled in Medi-Cal.
             7         157. For example, patient charts with Husam Aldairi demonstrated in
             8 multiple instances that patients presented to his office on several consecutive days to
             9 receive dental services, however, patient scheduling did not support such frequent
            10 visits. In some instances, patient charts would have notes for services rendered on
            11 days in which Husam Aldairi’s offices were closed.2 Program Integrity calculated a
            12 65% rate of potentially falsely billed appointments (meaning no face-to-face
            13 encounter). As an example, the audit found that there were notes written and
            14 procedures billed by Husam Aldairi indicating that a face-to-face visit occurred on
            15 dates when the office was closed for the Thanksgiving holiday.
            16         158. Further examples include: (1) on or about June 2020, a patient in which
            17 Husam Aldairi billed Borrego Health for telehealth and emergency dental services
            18 completely absent from the patient’s chart; (2) on or about July 2019, Husam
            19 Aldairi’s office billed Borrego for several crowns when x-rays demonstrated a
            20 bridge had been placed on the patient; (3) on or about May 2019, Husam Aldairi
            21 billed Borrego Health for a partial denture which was never prepared; and (4) on or
            22
            23   2
                   To protect patient private health information (“PHI”) as well as personally
            24   identifiable information (“PII”), the names of the patients in the examples
                 throughout the complaint will not be included. The specific information, including
            25   names, dates of service, and all other information, are already available to the
            26   Dentist Defendants, as they maintain custody of the patient charts. Borrego Health
                 alleges that each claim referenced throughout this FAC represents a specific claim
            27   the dentist submitted to Borrego Health. Borrego Health can produce the specific
            28   information for each alleged claim to the Dentist Defendants.

                                                          50
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3494 Page 51 of 734
                                             735



             1 about February 2020, Husam Aldairi billed Borrego Health as though a patient’s
             2 root canal was completed over the course of several visits, when x-rays
             3 demonstrated it was completed in one visit. Dr. Aldairi billed Borrego for patient
             4 visits that either did not occur or that were provided by providers that were not
             5 disclosed to or credentialed by Borrego Health. One example of extreme excess
             6 billing occurred on July 22, 2019. Dr. Aldairi billed Borrego Health for 147 patient
             7 visits that he claimed occurred that day.
             8         159. In October 2019, Dr. Aldairi billed 15 different encounters for a single
             9 patient, despite the fact that there are only 23 business days in October. In May
            10 2020, Dr. Aldairi billed 16 different encounters to a single patient, despite only
            11 having 21 business days in that month. Further, in June 2020, one of Dr. Aldairi’s
            12 subproviders billed 18 different encounters during the month of June 2020. That
            13 same subprovider then billed 34 different encounters for a single patient from the
            14 time period of May 2020 to June 2020. Again, Premier did not flag these bills and
            15 took no steps to counsel or discipline this dentist.
            16         160. Review of Aldairi’s claims data indicates he carried out his excessive
            17 visits scheme to great effect. Aldairi billed for more than five visits for the same
            18 patient in a seven day period 6,340 times between February 2017 and January 2021.
            19 It would be unusual for an individual ever to require dental service every weekday
            20 for an entire week. However, during the approximately five year span, Aldairi
            21 represented that he had that unusual occurrence happen 6,340 times. During that
            22 same period, he billed for twelve or more visits in a 30-day period for the same
            23 patient more than 3,837 times.
            24         161. Aldairi submitted these claims to the Premier Defendants seeking
            25 payment. The Premier Defendants, under the Dental MSA, were obligated to
            26 perform their due diligence in reviewing the claims for accuracy and ensuring
            27 supporting documentation was submitted alongside the claims. The Premier
            28 Defendants allowed these excessive, unsubstantiated, and duplicative claims to be

                                                           51
7275860.1                                       FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3495 Page 52 of 734
                                             735



             1 submitted to Borrego Health for processing and payment, because Premier received
             2 $25 per claim submitted to Borrego Health. Further, once the claims had reached
             3 Borrego Health, Karen Hebets and Diana Thompson had trained their family
             4 members not to flag these claims as potentially fraudulent.
             5         162. Further, at the beginning of the COVID-19 pandemic, when most
             6 dental offices were closed or working at near-zero capacity, Aldairi’s office
             7 continued to be hyper-productive. To do this, Aldairi increased his billing of
             8 teledentistry (D9995) and emergency visits (D9430). However, Borrego Health’s
             9 recent review of the charts indicated that these visit types were not documented in
            10 the progress notes for the patients, calling into question whether they actually
            11 occurred.
            12         163. In addition to the above, Aldairi hired Maura Tuso in September 2017
            13 to work as a dentist at his dental practice. Dr. Tuso was employed by Dr. Aldairi
            14 from September 2017 to January 2018. During the time Dr. Tuso worked for
            15 Aldairi, Dr. Tuso was suspended from providing dental services to Medi-Cal
            16 patients. Aldairi was aware that Dr. Tuso was suspended at the time Aldairi hired
            17 Dr. Tuso. Nevertheless, Aldairi allowed Dr. Tuso to see Borrego Health patients
            18 and bill Borrego Health for the services Dr. Tuso provided to Medi-Cal patients.
            19         164. Aldairi also hired other dental providers, in addition to Dr. Tuso, who
            20 lacked California dental licenses to provide dental services to Borrego Health
            21 patients. Upon information and belief, Aldairi billed Borrego Health for the services
            22 that unlicensed dental providers provided to Medi-Cal patients.
            23         165. As a result of Aldairi’s conduct, Borrego Health paid Aldairi and/or for
            24 services which were not rendered, that were provided by other physicians, and/or
            25 services which were provided during a period of time where the parties’ agreements
            26 would have otherwise been suspended or terminated.
            27         166. As alleged above, the Premier Defendants and the Borrego Insiders
            28 worked diligently to ensure that Aldairi’s fraudulent practices could continue,

                                                          52
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3496 Page 53 of 734
                                             735



             1 preventing every effort by Program Integrity to terminate Aldairi, even going as far
             2 as only allowing Travis Lyon to speak directly to Aldairi.
             3               ii.   Ayed Hawatmeh, D.D.S.
             4        167. On or about October 18, 2017, Ayed Hawatmeh, D.D.S., both
             5 individually and through his company Hawatmeh Dental Group, P.C. (collectively
             6 “Hawatmeh”) entered into a written dental services agreement (the “Hawatmeh
             7 Agreement”) whereby Hawatmeh agreed to provide primary dental services to
             8 participating Borrego Health patients, and Borrego Health agreed to pay Hawatmeh
             9 for those services. Ayed Hawatmeh is the sole officer, Chief Executive Officer, and
            10 the agent for service of process for Hawatmeh Dental Group, P.C. As such, while
            11 the parties to the Hawatmeh Agreement are Borrego Health and Hawatmeh Dental
            12 Group, P.C., Ayed Hawatmeh, as the alter ego and/or sole owner of Hawatmeh
            13 Dental Group, P.C. and as signatory of the Hawatmeh Agreement, is capable of
            14 being held personally liable under the Hawatmeh Agreement. (See i.e. Irey v. Len
            15 (1961) 191 Cal. App. 2d 13.)
            16        168. A true and correct copy of the Hawatmeh Agreement is attached herein
            17 as Exhibit G.
            18        169. As a participant in Borrego Health’s contract dental program,
            19 Hawatmeh was involved in Borrego Health’s operations by providing dental
            20 services to Borrego Health patients.
            21        170. Among other things, the Hawatmeh Agreement required that
            22 Hawatmeh practice dentistry in accordance with all Federal, State and local laws,
            23 regulations, and generally accepted principles applicable the practice of dentistry,
            24 and to prepare, establish, and maintain administrative records, financial records,
            25 records pertaining to patient diagnosis and treatment, and information pertaining to
            26 the services provided.
            27        171. Hawatmeh submitted false and fraudulent bills and made other
            28 statements which Hawatmeh knew to be false or had no reasonable grounds for

                                                          53
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3497 Page 54 of 734
                                             735



             1 believing their representations were true, which also constitute a breach of the
             2 Hawatmeh Agreement. A non-exhaustive list of examples is set forth below. The
             3 below examples are demonstrative of a larger pattern and practice of fraudulent
             4 and/or unlawful conduct.
             5         172. Hawatmeh routinely employed the scheme, described above, whereby
             6 he would bill for several crowns instead of a single, non-covered bridge. For
             7 example, on or about February 2018, Hawatmeh billed Borrego Health for several
             8 crowns were placed over the course of several days when documentation indicated a
             9 single bridge was used.
            10         173. Hawatmeh also billed for services that the x-rays he submitted to
            11 Premier to get his claim approved clearly demonstrate could not have possibly
            12 occurred. For example, on or about May and June of 2018, Hawatmeh billed
            13 Borrego Health for services performed on a tooth the patient no longer had at the
            14 time of service. Hawatmeh billed Borrego Health for a visit on February 22, 2018
            15 for preparing a tooth for a crown, which requires shaving down the tooth. However,
            16 x-rays of that patient from May 2017 clearly demonstrate that tooth had an implant
            17 in that spot, meaning there was no natural tooth for Hawatmeh to prepare to receive
            18 a crown. (See, supra, n. 2).
            19         174. In late 2018, Borrego Health became concerned that Hawatmeh was
            20 billing for excessive visits when it identified that he had billed for 26 visits for one
            21 patient in one month. Borrego Health put a hold on paying Hawatmeh’s invoices.
            22         175. On November 26, 2018, Dr. Hawatmeh confirmed via email that a
            23 biller in his office was responsible for “billing discrepancies.” On November 29,
            24 2018, Dr. Hawatmeh sent an email to Premier staff identifying dozens of visits for
            25 20 patients that were improperly billed.
            26         176. That same day, Mr. Lyon emailed Dr. Martinez an excel file with
            27 patient visits for which Hawatmeh billed, which stated:
            28

                                                            54
7275860.1                                       FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3498 Page 55 of 734
                                             735



             1         “In just a quick cursory review of one of the patients (REDACTED) I can see
             2         that there are a handful of claims that were billed to Borrego, that do not exist
             3         in the patient chart. It looks like the 2952 visits were fabricated and some of
             4         the visits where multiple teeth were surgically extracted, they were billed as
             5         showing they happened in multiple visits.”
             6         177. Despite knowing of these improper visits, on November 30, 2018,
             7 Travis Lyon emailed Dr. Martinez and Dr. Venugopal that the billing issue was
             8 “isolated,” argued Hawatmeh should be allowed to self-audit, and encouraged
             9 Program Integrity to only audit three additional charts.
            10         178. The Premier Defendants allowed these excessive, unsubstantiated, and
            11 duplicative claims to be submitted to Borrego Health for processing and payment,
            12 because Premier received $25 per claim submitted to Borrego Health. Further, once
            13 the claims had reached Borrego Health, Karen Hebets and Diana Thompson had
            14 trained their family members not to flag these claims as potentially fraudulent.
            15         179. Program Integrity then sought to terminate Hawatmeh’s provider
            16 contract, but this effort was stopped by Travis Lyon and the Premier Defendants. On
            17 December 7, 2018, the Premier Defendants pushed back on immediately terminating
            18 Hawatmeh’s provider contract under the pretext that such a move would complicate
            19 the ongoing Program Integrity audit. Premier’s lawyer, Erin Minelli, advised
            20 Borrego Health against terminating Hawatmeh and told Borrego Health to pay
            21 outstanding invoices.
            22         180. The same week, Travis Lyon sent an email to Dr. Martinez with a list
            23 of Hawatmeh’s patients who received six or more crowns. Travis Lyon used this
            24 example of gross over-utilization to justify continuing to pay Hawatmeh, claiming:
            25 “If we can continue to keep Dr. Hawatmeh’s cooperation I believe we can facilitate
            26 an audit of all the patient charts in this list….” and that “We believe it is critical to
            27 encourage continued cooperation with Dr. Hawatmeh to facilitate continued audits
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7275860.1                                        FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3499 Page 56 of 734
                                             735



             1 and investigations necessary to determine the extent of Borrego’s potential
             2 liability.”
             3        181. Travis Lyon continued to put pressure on Program Integrity to release
             4 the hold on Hawatmeh’s invoices. On December 10, 2018, Mr. Lyon emailed Dr.
             5 Martinez acknowledging that there are “phantom claims” and “potential over-
             6 utilization” in the set of invoices, but that Borrego Health should go ahead and pay
             7 half of the invoices. On December 11, 2018, Karen Hebets sent an email, copying
             8 Diana Thompson, instructing staff to pay Hawatmeh. Diana Thompson then
             9 emailed Travis Lyon to assure him Hawatmeh’s check was forthcoming. Travis
            10 Lyon responded that he “just spoke with Hawatmeh” and asks that the checks be
            11 sent FedEx overnight rather than via courier.
            12        182. Ultimately, Program Integrity completed a full-file review of each of
            13 Dr. Hawatmeh’s offices. The results of this audit lead to Program Integrity
            14 recommending his termination. Hawatmeh was terminated from the contract dental
            15 program on September 17, 2019. The significant delay in terminating Hawatmeh
            16 (and the harm caused during that period) is attributable to the Premier Defendants
            17 and Borrego Insiders, who prolonged Hawatmeh’s tenure so that they (and
            18 Hawatmeh) could continue to benefit from his fraudulent billing.
            19        183. Subsequent review of Hawatmeh’s billing patterns demonstrate the
            20 extent of his excessive billing, which was of course confirmed through the 2019
            21 audit of his patient charts. During his time billing to Borrego Health, Hawatmeh
            22 billed for twelve or more visits for the same patient in a 30-day period more than
            23 6,500 times. He billed five or more visits for the same patient in a 7-day period
            24 more than 6,600 times. It would be unusual for an individual ever to require dental
            25 services every weekday for an entire week. However, during the approximately five
            26 year span, Hawatmeh represented that he had that unusual occurrence happen over
            27 6,600 times.
            28

                                                          56
7275860.1                                     FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3500 Page 57 of 734
                                             735



             1               iii.   Alborz Mehdizadeh, D.D.S.
             2         184. On September 28, 2016 and December 11, 2018, Alborz Mehdizadeh,
             3 both individually and through his company Alborz Mehdizadeh, Inc. (collectively,
             4 “Mehdizadeh”) entered into written dental services agreements (the “Mehdizadeh
             5 Agreements”) whereby Mehdizadeh agreed to provide primary dental services to
             6 participating Borrego Health patients, and Borrego Health agreed to pay
             7 Mehdizadeh for those services. Alborz Mehdizadeh is the sole officer and director
             8 of Alborz Mehdizadeh, Inc. Alborz Mehdizadeh also operates as the Chief
             9 Executive Officer, Secretary and Chief Financial officer of Alborz Mehdizadeh, Inc.
            10 Alborz Mehdizadeh is also the agent for service of process for Alborz Mehdizadeh,
            11 Inc. Alborz Mehdizadeh maintains complete ownership, management and control of
            12 Alborz Mehdizadeh, Inc. As such, while the parties to the original Mehdizadeh
            13 Agreement are Borrego Health and Alborz Mehdizadeh, Inc., Alborz Mehdizadeh,
            14 as the alter ego and/or sole owner of Alborz Mehdizadeh, Inc. and as signatory of
            15 the Mehdizadeh Agreements, is capable of being held personally liable under the
            16 Mehdizadeh Agreements. (See i.e. Irey v. Len (1961) 191 Cal. App. 2d 13.)
            17         185. A true and correct copy of the 2016 Mehdizadeh Agreement is attached
            18 herein as Exhibit H, and a true and correct copy of the 2018 Mehdizadeh Agreement
            19 is attached herein as Exhibit I.
            20         186. As a participant in Borrego Health’s Contract Dental program,
            21 Mehdizadeh was involved in Borrego Health’s operations by providing dental
            22 services to Borrego Health patients.
            23         187. Among other things, the Mehdizadeh Agreements required that
            24 Mehdizadeh practice dentistry in accordance with all Federal, State and local laws,
            25 regulations, and generally accepted principles applicable to the practice of dentistry,
            26 and prepare, establish, and maintain administrative records, financial records,
            27 records pertaining to patient diagnosis and treatment, and information pertaining to
            28 the services provided.

                                                            57
7275860.1                                         FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3501 Page 58 of 734
                                             735



             1         188. Mehdizadeh submitted false and fraudulent bills and made other
             2 statements which Mehdizadeh knew to be false or had no reasonable grounds for
             3 believing their representations were true, which also constitute a breach of the
             4 Mehdizadeh Agreements. A non-exhaustive list of examples is set forth below. The
             5 below examples are demonstrative of a larger pattern and practice of fraudulent
             6 and/or unlawful conduct.
             7         189. Dr. Mehdizadeh billed Borrego Health for patient visits that either did
             8 not occur or that were provided by a providers that were not disclosed to or
             9 credentialed by Borrego Health. For example, he billed for 146 patient visits he
            10 claimed to have performed on Saturday, November 16, 2019.
            11         190. From the period of October 23, 2018 to February 5, 2019, Dr.
            12 Mehdizadeh purportedly performed—and billed for—29 surgical extractions on one
            13 patient. There are two methods for extractions: simple extraction (pull the tooth) or
            14 surgical extractions (cut the gum). At the outset, it is unlikely a patient would ever
            15 need 29 surgical extractions (as opposed to simple extractions). Further, even if this
            16 were the case, this would never occur in 29 different sittings. For surgical
            17 extractions, the area around the extraction site is numb and the gum is cut open to
            18 allow for the extraction. The standard practice when surgically extracting several
            19 teeth is to numb and extract several teeth within the same quadrant. Instead, Dr.
            20 Mehdizadeh’s billing practices indicate one patient came in for 29 surgical
            21 extractions over a six month period. If these extractions occurred at all, one can
            22 only hope that this is a fraudulent billing practice, rather than grotesquely
            23 substandard care to subject a patient to this treatment.
            24         191. This was not an isolated incident. Mehdizadeh’s billing records showed
            25 that he regularly billed contiguous dates of service (i.e., multiple days in a row) for
            26 surgical extractions. These are either fraudulent claim-splitting or substandard care,
            27 either of which would make the claims unpayable.
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                                                           58
7275860.1                                       FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3502 Page 59 of 734
                                             735



             1         192. Dr. Mehdizadeh further submitted duplicate bills in order to receive
             2 reimbursement for the same services multiple times. For example:
             3             On April 2, 2018, Patient 1 received dental services under Dental Code
             4               D2392 for tooth number 14, which involves adding a resin based
             5               composite to the tooth. Dr. Mehdizadeh submitted bills for this service
             6               on both April 26, 2018 and May 1, 2018. Premier Defendants reviewed
             7               and approved both claims submitted.
             8             On April 4, 2018, Patient 1 also received dental services under Dental
             9               Code D2391 for tooth number 18, which involves adding a resin based
            10               composite to the tooth. Dr. Mehdizadeh submitted bills for this service
            11               on both April 26, 2018 and May 1, 2018. Premier Defendants reviewed
            12               and approved both claims submitted.
            13             On October 31, 2018, Patient 2 received dental services under Dental
            14               Code D2392 for tooth number 15, which involves adding a resin based
            15               composite to the tooth. Dr. Mehdizadeh submitted bills for this service
            16               on both November 8, 2018 and November 30, 2018. Premier
            17               Defendants reviewed and approved both claims submitted.
            18         193. On August 11, 2018, Patient 3 received dental services under Dental
            19 Code D2391 for tooth number 29, which involves adding a resin based composite to
            20 the tooth. Dr. Mehdizadeh submitted bills for this service on both August 14, 2018
            21 and April 18, 2019. Premier Defendants reviewed and approved both claims
            22 submitted. On February 24, 2020, Borrego Health conducted a re-audit of Dr.
            23 Medizadeh. Upon arrival, Borrego Health’s auditor, Dr. Elias Koutros, requested a
            24 sample of specific patient charts. Dr. Mehdizadeh’s office informed the auditor that
            25 some charts were unavailable because they were taken out of the office. Of the
            26 charts available, the charts included exact photocopies from periodontal charting in
            27 multiple patient charts. Periodontal charting includes six measurements per tooth.
            28 It is it nearly impossible that multiple patients would have six exactly identical

                                                           59
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3503 Page 60 of 734
                                             735



             1 measurements for all of their teeth. Dr. Koutros indicated to Dr. Medizadeh that he
             2 believed the photocopies constituted fraudulent charting given the lack of change in
             3 status. Dr. Medizadeh did not deny Dr. Koutros’ allegations, and instead informed
             4 Dr. Koutros that he wanted the audit to go well, so the charting was prepared with
             5 that in mind.
             6        194. Review of Mehdizadeh’s claims data indicates he carried out his
             7 excessive visits scheme to great effect. Mehdizadeh billed for more than five visits
             8 for the same patient in a seven day period 4,091 times between February 2017 and
             9 January 2021. It would be unusual for an individual ever to require dental service
            10 every weekday for an entire week. However, during the approximately five year
            11 span, Mehdizahdeh represented that he had that unusual occurrence happen over
            12 4,000 times. During that same period, he billed for twelve or more visits for the
            13 same patient in a 30-day period more than 5,902 times.
            14        195. Medizadeh submitted these claims and others to the Premier
            15 Defendants seeking payment. The Premier Defendants, under the Dental MSA,
            16 were obligated to perform their due diligence in reviewing the claims for accuracy
            17 and ensuring supporting documentation was submitted alongside the claims. The
            18 Premier Defendants allowed these excessive, unsubstantiated, and duplicative
            19 claims to be submitted to Borrego Health for processing and payment, because
            20 Premier received $25 per claim submitted to Borrego Health. Further, once the
            21 claims had reached Borrego Health, Karen Hebets and Diana Thompson had trained
            22 their family members not to flag these claims as potentially fraudulent.
            23                 iv.   Magaly M. Velasquez, D.D.S.
            24        196. On or about November 5, 2014, Magaly M. Velasquez, both
            25 individually and through her company Magaly M. Velasquez DDS, Professional
            26 Dental Corp. (collectively, “Velasquez”) entered into a written dental services
            27 agreement (the “Velasquez Agreement”) whereby Velasquez agreed to provide
            28 primary dental services to participating Borrego Health patients, and Borrego Health

                                                          60
7275860.1                                     FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3504 Page 61 of 734
                                             735



             1 agreed to pay Velasquez for those services. Magaly Velasquez is the sole officer and
             2 director of Magaly M. Velasquez DDS, Professional Dental Corp. Magaly
             3 Velasquez also operates as the Chief Executive Officer, Secretary and Chief
             4 Financial officer of Magaly M. Velasquez DDS, Professional Dental Corp. Magaly
             5 Velasquez is also the agent for service of process for Magaly M. Velasquez DDS,
             6 Professional Dental Corp. Magaly Velasquez maintains complete ownership,
             7 management and control of Magaly M. Velasquez DDS, Professional Dental Corp.
             8 As such, while the parties to the Velasquez Agreement are Borrego Health and
             9 Magaly M. Velasquez DDS, Professional Dental Corp., Magaly Velasquez, as the
            10 alter ego and/or sole owner of Magaly M. Velasquez DDS, Professional Dental
            11 Corp., and as signatory of the Velasquez Agreement, is capable of being held
            12 personally liable under the Velasquez Agreement. (See i.e. Irey v. Len (1961) 191
            13 Cal. App. 2d 13.)
            14         197. A true and correct copy of the Velasquez Agreement is attached herein
            15 as Exhibit J.
            16         198. As a participant in Borrego Health’s contract dental program,
            17 Velasquez was involved in Borrego Health’s operations by providing dental services
            18 to Borrego Health patients.
            19         199. Among other things, the Velasquez Agreement required that Velasquez
            20 practice dentistry in accordance with all Federal, State and local laws, regulations,
            21 and generally accepted principles applicable to the practice of dentistry, and prepare,
            22 establish, and maintain administrative records, financial records, records pertaining
            23 to patient diagnosis and treatment, and information pertaining to the services
            24 provided.
            25         200. Velasquez submitted false and fraudulent bills and made other
            26 statements which Velasquez knew to be false or had no reasonable grounds for
            27 believing their representations were true, which also constitute a breach of the
            28 Velasquez Agreement. A non-exhaustive list of examples is set forth below. The

                                                           61
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3505 Page 62 of 734
                                             735



             1 below examples are demonstrative of a larger pattern and practice of fraudulent
             2 and/or unlawful conduct.
             3        201. As part of Borrego Health’s efforts to clean house, it conducted an
             4 audit to evaluate the duplicate claims submitted by Velasquez. The audit found 150
             5 claims were duplicative. For example:
             6            On April 20, 2019, Patient 4 received dental services under Dental
             7              Code D2392 for tooth number 21, which involves adding a resin based
             8              composite to the tooth. Dr. Velasquez submitted bills for this service
             9              on both April 26, 2019 and April 27, 2019. Premier Defendants
            10              reviewed and approved both claims submitted.
            11            On May 28, 2019, Patient 4 also received dental services under Dental
            12              Codes D0220, D0270, and D2751 for teeth numbers 12, 13, and 14.
            13              D0220 is one of the billing codes for initial x-rays, D0270 is the billing
            14              code for single films, and D2751 is the billing code intended for
            15              porcelain crowns. Dr. Velasquez submitted bills for these services on
            16              June 3, 2019 and June 27, 2019. Premier Defendants reviewed and
            17              approved both claims submitted.
            18            On September 17, 2018, Patient 5 received dental services under Dental
            19              Code D2391 for tooth number 21, which involves adding a resin based
            20              composite to the tooth. Dr. Velasquez submitted bills for this service
            21              on both September 18, 2018 and October 10, 2018. Premier
            22              Defendants reviewed and approved both claims submitted.
            23            On July 11, 2018, Patient 6 received dental services under Dental
            24              Codes D2391 and D2392 for tooth number 4, which involves adding a
            25              resin based composite to the tooth. Dr. Velasquez submitted bills for
            26              this service on both July 16, 2018 and July 27, 2018. Premier
            27              Defendants reviewed and approved both claims submitted.
            28

                                                         62
7275860.1                                     FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3506 Page 63 of 734
                                             735



             1             On January 31, 2019, Patient 7 received dental services under Dental
             2               Codes D2391 and D2392 for tooth number 5, which involves adding a
             3               resin based composite to the tooth. Dr. Velasquez submitted bills for
             4               this service twice on February 4, 2019. Premier Defendants reviewed
             5               and approved both claims submitted.
             6             In May 2019, Dr. Velasquez billed Borrego Health as though Patient 8
             7               received dental services 26 days in the month, despite there only being
             8               22 business days in May 2019. Dr. Velasquez then billed Borrego
             9               Health for 22 visits in June 2019 for that same patient, totaling 48 visits
            10               for the same patient over a two month period.
            11        202. Review of Velasquez’s claims data indicates she carried out the
            12 excessive visits scheme to great effect. Velasquez billed for more than five visits
            13 for the same patient in a seven day period 4,552 times between February 2017 and
            14 January 2021. It would be unusual for an individual ever to require dental service
            15 every weekday for an entire week. However, during the approximately five year
            16 span, Velasquez represented that he had that unusual occurrence happen 4,552
            17 times. During that same period, she billed for twelve or more visits for the same
            18 patient in a 30-day period more than 2,656 times.
            19        203. Velasquez then submitted these claims and others to the Premier
            20 Defendants seeking payment. The Premier Defendants, under the Dental MSA,
            21 were obligated to perform their due diligence in reviewing the claims for accuracy
            22 and ensuring supporting documentation was submitted alongside the claims. The
            23 Premier Defendants allowed these excessive, unsubstantiated, and duplicative
            24 claims to be submitted to Borrego Health for processing and payment, because
            25 Premier received $25 per claim submitted to Borrego Health. Further, once the
            26 claims had reached Borrego Health, Karen Hebets and Diana Thompson had trained
            27 their family members not to flag these claims as potentially fraudulent.
            28

                                                           63
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3507 Page 64 of 734
                                             735



             1               v.     Aram Arakelyan, D.D.S.
             2         204. On November 17, 2016, November 18, 2018, and November 29, 2018,
             3 Aram Arakelyan, both individually and through his company New Millennium
             4 Dental Group of Aram Arakelyan, Inc. (collectively, “Arakelyan”), entered into
             5 written dental services agreements (the “Arakelyan Agreements”) whereby
             6 Arakelyan agreed to provide primary dental services to participating Borrego Health
             7 patients, and Borrego Health agreed to pay Arakelyan for those services. A true and
             8 correct copy of the 2016 Arakelyan Agreement is attached herein as Exhibit K. A
             9 true and correct copy of the November 18, 2018 Arakelyan Agreement is attached
            10 herein as Exhibit L. A true and correct copy of the November 29, 2018 Arakelyan
            11 Agreements are attached herein as Exhibit M.
            12         205. Aram Arakelyanis the sole officer and director of New Millennium
            13 Dental Group. Aram Arakelyan also operates as the Chief Executive Officer,
            14 Secretary and Chief Financial officer of New Millennium Dental Group. Aram
            15 Arakelyan is also the agent for service of process of New Millennium Dental Group.
            16 Aram Arakelyan maintains complete ownership, management and control of New
            17 Millennium Dental Group.
            18         206. As a participant in Borrego Health’s contract dental program,
            19 Arakelyan was involved in Borrego Health’s operations by providing dental services
            20 to Borrego Health patients.
            21         207. Among other things, the Arakelyan Agreements required that
            22 Arakelyan practice dentistry in accordance with all Federal, State and local laws,
            23 regulations, and generally accepted principles applicable to the practice of dentistry,
            24 and prepare, establish, and maintain administrative records, financial records,
            25 records pertaining to patient diagnosis and treatment, and information pertaining to
            26 the services provided.
            27         208. Arakelyan submitted false and fraudulent bills and made other
            28 statements which Arakelyan knew to be false or had no reasonable grounds for

                                                           64
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3508 Page 65 of 734
                                             735



             1 believing their representations were true, which also constitute a breach of the
             2 Arakelyan Agreements. A non-exhaustive list of examples is set forth below. The
             3 below examples are demonstrative of a larger pattern and practice of fraudulent
             4 and/or unlawful conduct. For example, (1) on or about January 2019, Dr.
             5 Arakelyan’s office billed Borrego Health for a filling on a tooth which x-rays noted
             6 the patient did not have at the time of service; (2) on or about July 2019, Dr.
             7 Arakelyan’s office billed Borrego Health for a root canal performed on a tooth
             8 which x-rays noted the patient did not have at the time of service; and (3) on or
             9 about March 2019, Dr. Arakelyan’s office fraudulently submitted multiple claims to
            10 Borrego Health for multiple crowns when the supporting documentation attached to
            11 the claim indicated the patient actually received a singular bridge.
            12        209. In November 2019, Dr. Arakelyan billed 18 different encounters for a
            13 single patient, despite the fact that there are only 20 business days in November,
            14 meaning the bills showed this patient came in for dental services nearly every day in
            15 November. Even more shocking, the dentist also billed for 11 additional encounters
            16 in August 2019, 13 in September 2019, 13 in October 2019 and—for good
            17 measure—three in December 2019, for a total of 58 separate encounters in the
            18 course of five months. Premier did not flag these bills and took no steps to counsel
            19 or discipline this dentist. As a result of Premier Defendants’ failings, Borrego
            20 Health’s Program Integrity program conducted its own audit into Dr. Arakelyan’s
            21 billing practices. When these egregious billing practices were discovered, Dr.
            22 Arakelyan informed Borrego Health’s auditor that it was Premier Defendants who
            23 told him to bill in this manner.
            24        210. In January 2020, Dr. Venugopal attempted to conduct an on-site audit
            25 of Arakelyan’s office. However, upon arrival, Dr. Venugopal was denied access to
            26 the office. Premier’s attorney later called Dr. Venugopal and indicated that audits
            27 needed to go through Premier and that surprise audits were not allowed by law. Dr.
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                                                            65
7275860.1                                         FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3509 Page 66 of 734
                                             735



             1 Venugopal informed Mikia Wallis of this issue, and Mikia Wallis did not challenge
             2 Premier’s false position. This allowed egregious billing practices to continue.
             3          211. In February 2020, one of Dr. Arakelyan’s subproviders billed 16
             4 different encounters for a single patient, despite the fact that there were only 19
             5 business days in February 2020, meaning the bills showed this patient came in for
             6 dental services almost every day in February 2020. Premier did not flag these bills
             7 and took no steps to counsel or discipline this dentist.
             8          212. Premier and the Borrego insiders worked diligently to ensure that
             9 Arakelyan’s fraudulent practices could continue to fund their scheme, preventing
            10 every effort by Program Integrity to terminate him, even going as far as only
            11 allowing Travis Lyon to speak directly to Arakelyan.
            12          213. Review of Arakelyan’s claims data indicates he carried out his
            13 excessive visits scheme to great effect. Arakelyan billed for more than five visits
            14 for the same patient in a seven day period 8,919 times between February 2017 and
            15 January 2021, which is more than any other provider. It would be unusual for an
            16 individual ever to require dental service every weekday for an entire week.
            17 However, during the approximately five year span, Arakelyan represented that he
            18 had that unusual occurrence happen 8,919 times. During that same period, he billed
            19 for twelve or more visits for the same patient in a 30-day period more than 5,988
            20 times.
            21                vi.   Michael Hoang, D.M.D.
            22          214. On or about November 28, 2018, Michael Hoang, D.M.D. entered into
            23 a written dental services agreement (the “Hoang Agreement”) whereby Hoang
            24 agreed to provide primary dental services to participating Borrego Health patients,
            25 and Borrego Health agreed to pay Hoang for those services. A true and correct copy
            26 of the Hoang Agreement is attached herein as Exhibit N.
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                                                           66
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3510 Page 67 of 734
                                             735



             1        215. As a participant in Borrego Health’s contract dental program, Hoang
             2 was involved in Borrego Health’s operations by providing dental services to
             3 Borrego Health patients.
             4        216. Among other things, the Hoang Agreement required that Hoang
             5 practice dentistry in accordance with all Federal, State and local laws, regulations,
             6 and generally accepted principles applicable the practice of dentistry, and to
             7 prepare, establish, and maintain administrative records, financial records, records
             8 pertaining to patient diagnosis and treatment, and information pertaining to the
             9 services provided.
            10        217. Hoang submitted false and fraudulent bills and made other statements
            11 which Hoang knew to be false or had no reasonable grounds for believing their
            12 representations were true, which also constitute a breach of the Hoang Agreement.
            13 Upon information and belief, Hoang’s conduct alleged herein is demonstrative of a
            14 larger pattern and practice of fraudulent and/or unlawful conduct.
            15        218. Hoang then submitted these claims to the Premier Defendants seeking
            16 payment. The Premier Defendants, under the Dental MSA, were obligated to
            17 perform their due diligence in reviewing the claims for accuracy and ensuring
            18 supporting documentation was submitted alongside the claims. The Premier
            19 Defendants allowed these fraudulent claims to be submitted to Borrego Health for
            20 processing and payment, because Premier received $25 per claim submitted to
            21 Borrego Health. Further, once the claims had reached Borrego Health, Karen
            22 Hebets and Diana Thompson had trained their family members not to flag these
            23 claims as potentially fraudulent.
            24        219. Borrego Health removed Dr. Hoang from its contract dental program in
            25 2019 because he was billing the same claims both to Borrego Health and straight to
            26 Denti-Cal. Dr. Hoang was terminated from Borrego Health’s contract dental
            27 program in July 2019.
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                                                          67
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3511 Page 68 of 734
                                             735



             1               vii.   Waleed Stephan, D.D.S.
             2         220. On October 1, 2016, Waleed Stephan, both individually and through
             3 his company W.A. Stephan, A Dental Corporation (collectively, “Stephan”), entered
             4 into a written dental services agreement (the “Stephan Agreement”) whereby
             5 Stephan agreed to provide primary dental services to participating Borrego Health
             6 patients, and Borrego Health agreed to pay Stephan for those services. Waleed
             7 Stephan is the sole director and Chief Executive Officer of W.A. Stephan, A Dental
             8 Corporation. Waleed Stephan maintains complete ownership and control of W.A.
             9 Stephan, A Dental Corporation. As such, while the parties to the Stephan Agreement
            10 are Borrego Health and W.A. Stephan, A Dental Corporation, Waleed Stephan, as
            11 the alter ego and/or sole owner of W.A. Stephan, A Dental Corporation, and as
            12 signatory of the Stephan Agreement, is capable of being held personally liable under
            13 the Stephan Agreement. (See i.e. Irey v. Len (1961) 191 Cal. App. 2d 13.) A true
            14 and correct copy of the Stephan Agreement is attached herein as Exhibit O.
            15         221. As a participant in Borrego Health’s contract dental program, Stephan
            16 was involved in Borrego Health’s operations by providing dental services to
            17 Borrego Health patients.
            18         222. Among other things, the Stephan Agreement required that Stephan
            19 practice dentistry in accordance with all Federal, State and local laws, regulations,
            20 and generally accepted principles applicable to the practice of dentistry, and prepare,
            21 establish, and maintain administrative records, financial records, records pertaining
            22 to patient diagnosis and treatment, and information pertaining to the services
            23 provided.
            24         223. Stephan submitted false and fraudulent bills and made other statements
            25 which Stephan knew to be false or had no reasonable grounds for believing their
            26 representations were true, which also constitute a breach of the Stephan
            27 Agreement. A non-exhaustive list of examples is set forth below. The below
            28 examples are demonstrative of a larger pattern and practice of fraudulent and/or

                                                           68
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3512 Page 69 of 734
                                             735



             1 unlawful conduct. For example, on August 13, 2019, Dr. Stephan billed Borrego
             2 Health for crowns on teeth numbers 12, 13 and 14 over the course of multiple days.
             3 However, the patient care plan documents that a singular bridge was put in place
             4 during the course of one appointment.
             5        224. Stephan also fraudulently represented that he purchased porcelain
             6 crowns for patients, when in fact, he made ceramic crowns himself in his own
             7 office. Program Integrity staff became suspicious when Dr. Stephan was able to
             8 place crowns in only a day or two, when the lab that Dr. Stephan documented he
             9 was using had a much slower turnaround. Program Integrity called the lab that Dr.
            10 Stephan documented he was using, and that lab confirmed that it would take 14 days
            11 to make a crown. On further investigation, it was determined that, rather than
            12 purchasing the crowns, Dr. Stephan was making them himself out of ceramic with a
            13 CEREC machine. To hide his scheme, he was falsifying documentation to say that
            14 he purchased porcelain crowns from a lab.
            15        225. Stephan then submitted these claims and others to the Premier
            16 Defendants seeking payment. The Premier Defendants, under the Dental MSA,
            17 were obligated to perform their due diligence in reviewing the claims for accuracy
            18 and ensuring supporting documentation was submitted alongside the claims. The
            19 Premier Defendants allowed these claims to be submitted to Borrego Health for
            20 processing and payment, because Premier received $25 per claim submitted to
            21 Borrego Health. Further, once the claims had reached Borrego Health, Karen
            22 Hebets and Diana Thompson had trained their family members not to flag these
            23 claims as potentially fraudulent.
            24               viii. Santiago Rojo, D.D.S.
            25        226. On March 29, 2017, Santiago Rojo, both individually and through his
            26 company Santiago A. Rojo, D.D.S., Inc. (collectively, “Rojo”), entered into a
            27 written dental services agreement (the “Rojo Agreement”) whereby Rojo agreed to
            28 provide primary dental services to participating Borrego Health patients, and

                                                         69
7275860.1                                     FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3513 Page 70 of 734
                                             735



             1 Borrego Health agreed to pay Rojo for those services. Santiago Rojo is the sole
             2 officer and director of Santiago A. Rojo, D.D.S., Inc. Santiago Rojo also operates as
             3 the Chief Executive Officer, Secretary and Chief Financial officer of Santiago A.
             4 Rojo, D.D.S., Inc. Santiago Rojo maintains complete ownership, management and
             5 control of Santiago A. Rojo, D.D.S., Inc. As such, while the parties to the Rojo
             6 Agreement are Borrego Health and Santiago A. Rojo, D.D.S., Inc., Santiago Rojo,
             7 as the alter ego and/or sole owner of Santiago A. Rojo, D.D.S., Inc., and as
             8 signatory of the Rojo Agreement, is capable of being held personally liable under
             9 the Rojo Agreement. (See i.e. Irey v. Len (1961) 191 Cal. App. 2d 13.) A true and
            10 correct copy of the Rojo Agreement is attached herein as Exhibit P.
            11        227. As a participant in Borrego Health’s contract dental program, Rojo was
            12 involved in Borrego Health’s operations by providing dental services to Borrego
            13 Health patients.
            14        228. Among other things, the Rojo Agreement required that Rojo practice
            15 dentistry in accordance with all Federal, State and local laws, regulations, and
            16 generally accepted principles applicable to the practice of dentistry, and prepare,
            17 establish, and maintain administrative records, financial records, records pertaining
            18 to patient diagnosis and treatment, and information pertaining to the services
            19 provided.
            20        229. Rojo submitted false and fraudulent bills and made other statements
            21 which Rojo knew to be false or had no reasonable grounds for believing their
            22 representations were true, which also constitute a breach of the Rojo Agreement. A
            23 non-exhaustive list of examples is set forth below. The below examples are
            24 demonstrative of a larger pattern and practice of fraudulent and/or unlawful conduct.
            25        230. Dr. Rojo billed for visits in California even though he was living in
            26 Florida and could not supervise subproviders or directly provide care. For example,
            27 on November 11, 2020, a representative from Borrego Health was onsite at Dr.
            28 Rojo’s office for an audit. On that date, Dr. Rojo’s staff indicated that Dr. Rojo was

                                                          70
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3514 Page 71 of 734
                                             735



             1 in Florida and had been in Florida for almost the entire year of 2020. Nonetheless,
             2 Dr. Rojo submitted claims for services performed in California throughout 2020.
             3 Most egregiously, Dr. Rojo subsequently billed for patient visits that he claimed
             4 were performed in California on November 11, 2020, a date on which a Borrego
             5 employee had physically been in his office and confirmed he was not there.
             6        231. Rather than performing the services himself and completing the
             7 documentation, Dr. Rojo regularly had his office manager entering and signing off
             8 on patient claims. Dr. Rojo’s patient charts were also largely duplicative, even
             9 going so far as to contain duplicate notes regarding patients’ response to anesthesia.
            10               ix.   Mohammed Al Tekreeti, D.D.S.
            11        232. On or about August 7, 2017, Hussam Aldairi requested to employ an
            12 additional dentist, Mohammed Al Tekreeti, to provide primary dental services to
            13 Borrego Health patients. Aldairi represented that Al Tekreeti would be under
            14 Aldairi’s supervision and that Al Tekreeti would act in accordance with the Aldairi
            15 Agreements. Aldairi hired Al Tekreeti shortly after Aldairi’s request to Borrego
            16 Health.
            17        233. As a sub-provider in Borrego Health’s contract dental program, Al
            18 Tekreeti was involved in Borrego Health’s operations by providing dental services
            19 to Borrego Health patients.
            20        234. Al Tekreeti submitted false and fraudulent bills and made other
            21 statements which Al Tekreeti knew to be false or had no reasonable grounds for
            22 believing their representations were true, which also constitute a breach of the
            23 Aldairi Agreements. A non-exhaustive list of examples is set forth herein. The
            24 below examples are demonstrative of a larger pattern and practice of fraudulent
            25 and/or unlawful conduct. For example, on or about May 2019, Dr. Al Tekreeti
            26 billed Borrego Health for a partial denture for teeth which supporting documentation
            27 indicated were never prepared for dentures.
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                                                          71
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3515 Page 72 of 734
                                             735



             1          235. Like Dr. Aldairi, Dr. Al Tekreeti billed Borrego for patient visits that
             2 either did not occur or that were provided by a providers that were not disclosed to
             3 or credentialed by Borrego Health. For example, Dr. Al Tekreeti billed for 135
             4 patient visits that he claimed he performed on Tuesday, June 25, 2019.
             5          236. Review of Al Tekreeti’s claims data indicates he carried out his
             6 excessive visits scheme to great effect. Al Tekreeti billed for more than five visits
             7 for the same patient in a seven day period 576 times between February 2017 and
             8 January 2021, which is more than any other provider. It would be unusual for an
             9 individual ever to require dental service every weekday for an entire week.
            10 However, during the approximately five year span, Al Tekreeti represented that he
            11 had that unusual occurrence happen 576 times. During that same period, he billed
            12 for twelve or more visits for the same patient in a 30-day period more than 1,169
            13 times.
            14          237. Al Tekreeti then submitted these claims and others to the Premier
            15 Defendants seeking payment. The Premier Defendants, under the Dental MSA,
            16 were obligated to perform their due diligence in reviewing the claims for accuracy
            17 and ensuring supporting documentation was submitted alongside the claims. The
            18 Premier Defendants allowed these excessive, unsubstantiated, and duplicative
            19 claims to be submitted to Borrego Health for processing and payment, because
            20 Premier received $25 per claim submitted to Borrego Health. Further, once the
            21 claims had reached Borrego Health, Karen Hebets and Diana Thompson had trained
            22 their family members not to flag these claims as potentially fraudulent.
            23                x.     Jilbert Bakramian, D.D.S.
            24          238. On or about February 5, 2018, Aram Arakelyan requested to employ an
            25 additional dentist, Jilbert Bakramian, to provide primary dental services to Borrego
            26 Health patients. Arakelyan represented that Bakramian would be under Arakelyan’s
            27 supervision and that Bakramian would act in accordance with the Arakelyan
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                                                            72
7275860.1                                       FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3516 Page 73 of 734
                                             735



             1 Agreements. Arakelyan hired Bakramian shortly after Arakelyan’s request to
             2 Borrego Health.
             3        239. As a sub-provider in Borrego Health’s contract dental program,
             4 Bakramian was involved in Borrego Health’s operations by providing dental
             5 services to Borrego Health patients.
             6        240. Bakramian submitted false and fraudulent bills and made other
             7 statements which Bakramian knew to be false or had no reasonable grounds for
             8 believing their representations were true, which also constitute a breach of the
             9 Arakelyan Agreements. A non-exhaustive list of examples is set forth herein. The
            10 below examples are demonstrative of a larger pattern and practice of fraudulent
            11 and/or unlawful conduct. For example, (1) on or about January 2019, Dr.
            12 Bakramian billed Borrego Health for a filling on a tooth which x-rays noted that the
            13 patient did not have at the time of service; (2) on or about July 2019, Dr. Bakramian
            14 billed Borrego Health for a root canal performed on a tooth which x-rays noted that
            15 the patient did not have at the time of service; (3) on or about March 2019, Dr.
            16 Bakramian billed Borrego Health for multiple crowns when the patient actually
            17 received a singular bridge, and (4) on or about May 31, 2019 and June 14, 2019, Dr.
            18 Bakramian billed for preparing a tooth for a crown, which requires shaving down
            19 the tooth when x-rays clearly demonstrate that tooth had an implant in that spot,
            20 meaning there was no natural tooth for Bakramian to prepare to receive a crown.
            21        241. The Premier Defendants allowed Bakramian’s fraudulent practices to
            22 continue. Obviously improper claims were regularly approved. For example, to
            23 approve a crown, a Premier reviewer was required to affirmatively review the x-ray
            24 and progress notes and click, “Reviewer approved,” and Premier’s software
            25 maintains a log of which reviewer approved claims and when. On January 20, 2020,
            26 Premier reviewer J.D. approved a crown for a patient on tooth #30, when the x-rays
            27 submitted to Premier clearly showed that the tooth already had an implant with a
            28 restoration. Worse still, on January 28, 2020, Premier reviewer S.N. approved the

                                                          73
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3517 Page 74 of 734
                                             735



             1 same claim a second time (same code, same date of service, same tooth #30). Both
             2 times, Premier looked the other way in furtherance of its scheme.
             3          242. From July 2019 to August 2019, Dr. Bakramian billed 29 different
             4 encounters for a single patient out of the 43 business days during that period.
             5 Again, Premier did not flag these bills and took no steps to counsel or discipline this
             6 dentist.
             7          243. Dr. Bakramian regularly billed for more visits in a day than is humanly
             8 possible, leading to the conclusion that these visits were either not performed or
             9 were performed by unknown and uncredentialed persons. For example, he billed for
            10 111 patient visits he claimed he performed on July 16, 2019.
            11          244. Bakramian’s excessive visits were a pattern, not an isolated incident.
            12 Bakramian billed for more than five visits for the same patient in a seven day period
            13 3,470 times between February 2017 and January 2021. It would be unusual for an
            14 individual ever to require dental service every weekday for an entire week.
            15 However, during the approximately five year span, Bakramian represented that he
            16 had that unusual occurrence happen 3,470 times. During that same period, he billed
            17 for twelve or more visits in a 30-day period for the same patient more than 4,538
            18 times.
            19          245. Bakramian then submitted these claims and others to the Premier
            20 Defendants seeking payment. The Premier Defendants, under the Dental MSA,
            21 were obligated to perform their due diligence in reviewing the claims for accuracy
            22 and ensuring supporting documentation was submitted alongside the claims. The
            23 Premier Defendants allowed these excessive, unsubstantiated, and duplicative
            24 claims to be submitted to Borrego Health for processing and payment, because
            25 Premier received $25 per claim submitted to Borrego Health. Further, once the
            26 claims had reached Borrego Health, Karen Hebets and Diana Thompson had trained
            27 their family members not to flag these claims as potentially fraudulent.
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                                                           74
7275860.1                                       FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3518 Page 75 of 734
                                             735



             1               xi.    Marcelo Toledo, D.D.S.
             2         246. On June 16, 2015, Marcelo Toledo, both individually and through his
             3 company Marcelo Toledo, D.D.S., Inc. (collectively, “Toledo”), entered into a
             4 written dental services agreement (the “Toledo Agreement”) whereby Toledo agreed
             5 to provide primary dental services to participating Borrego Health patients, and
             6 Borrego Health agreed to pay Toledo for those services. Marcelo Toledo is the sole
             7 officer and director of Marcelo Toledo, D.D.S., Inc. Marcelo Toledo also operates as
             8 the Chief Executive Officer, Secretary and Chief Financial officer of Marcelo
             9 Toledo, D.D.S., Inc. Marcelo Toledo maintains complete ownership, management
            10 and control of Marcelo Toledo, D.D.S., Inc. As such, while the parties to the Toledo
            11 Agreement are Borrego Health and Marcelo Toledo, D.D.S., Inc., Marcelo Toledo,
            12 as the alter ego and/or sole owner of Marcelo Toledo, D.D.S., Inc., and as signatory
            13 of the Toledo Agreement, is capable of being held personally liable under the
            14 Toledo Agreement. (See i.e. Irey v. Len (1961) 191 Cal. App. 2d 13.) A true and
            15 correct copy of the Toledo Agreement is attached herein as Exhibit Q.
            16         247. As a participant in Borrego Health’s contract dental program, Toledo
            17 was involved in Borrego Health’s operations by providing dental services to
            18 Borrego Health patients.
            19         248. Among other things, the Toledo Agreement required that Toledo
            20 practice dentistry in accordance with all Federal, State and local laws, regulations,
            21 and generally accepted principles applicable to the practice of dentistry, and prepare,
            22 establish, and maintain administrative records, financial records, records pertaining
            23 to patient diagnosis and treatment, and information pertaining to the services
            24 provided.
            25         249. Toledo submitted false and fraudulent bills and made other statements
            26 which Toledo knew to be false or had no reasonable grounds for believing their
            27 representations were true, which also constitute a breach of the Toledo
            28 Agreement. A non-exhaustive list of examples is set forth below. The below

                                                           75
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3519 Page 76 of 734
                                             735



             1 examples are demonstrative of a larger pattern and practice of fraudulent and/or
             2 unlawful conduct.
             3           250. For example, (1) on or about July 2018, Dr. Toledo billed for services
             4 rendered to a patient during one scheduled visit as though they occurred over the
             5 court of four visits, (2) on or about June 2018, Dr. Toledo performed restoration on
             6 eight teeth which x-rays demonstrated was not medically necessary, (3) on or about
             7 July and August 2018, Dr. Toledo billed for tooth restoration services rendered
             8 during single visits as though they were performed over multiple visits, (4) on or
             9 about November and December 2018, Dr. Toledo billed for fillings on teeth where
            10 the patient already had existing fillings, and (5) billing in excess of 20 patient visits
            11 a day, including billing Borrego Health for 97 patient visits that he claimed occurred
            12 that day. Toledo also regularly engaged in the “claim splitting“ scheme. For
            13 example, on August 20, 2018, Dr. Toledo charted and billed for a tooth restoration
            14 on tooth 19. In submitting the claim, Toledo submitted old x-rays dated July 23,
            15 2018 and August 13, 2018. Those x-rays indicate the restoration of both tooth 18
            16 and tooth 19 had already been completed prior to the August 20, 2018 claim
            17 submission. The x-ray from August 20, 2018 also demonstrates that no further
            18 restoration occurred during that patient visit. Despite this, the claims were billed as
            19 two separate visits. For the same patient, Dr. Toledo billed for identical services
            20 rendered to four different teeth. The patient schedule indicates the patient was not
            21 seen on all the days billed between November 7, 2019 and November 13, 2018,
            22           251. For visits in July 2018 for the same patient, the treatment notes are a
            23 obviously copied and pasted, including identical blood pressure readings, because
            24 the patient had only one visit on July 16, 2018, but it was billed as four separate
            25 visits.
            26           252. For visits in October 2018, again there are five identical blood pressure
            27 readings documented in a row. These visits involved a surface restorations for
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                                                             76
7275860.1                                        FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3520 Page 77 of 734
                                             735



             1 adjacent teeth, but were billed separately even though they should have been done
             2 together.
             3          253. In another instance, there were restorations on eight separate teeth, and
             4 each was billed separately, but there is no imaging to support the need for the
             5 restorations. In such a situation, the dentist is required to secure supplemental
             6 documentation to demonstrate medical necessity.
             7          254. On or about August 20, 2018, Toledo charted and billed for services
             8 provided on tooth 19. X-rays dated July 23 and August 13, 2018 were provided to
             9 support the restoration, but the x-rays show that there was a restoration already done
            10 by August 13. There is no evidence of further restoration or any restoration on
            11 August 20. All the work was completed on August 7, but split into two separate
            12 dates of billing.
            13          255. For one patient with dates of service November 7-13, 2018, there are
            14 four identical notes with only the tooth number changed, and the schedule does not
            15 show the patient was seen (only that the patient was on the schedule). This is
            16 another example of claim splitting and false billing.
            17          256. For another patient, there is no evidence that the fillings for teeth 4 and
            18 5 were done as billed on November 4 and 14, 2018, respectively. The pre-procedure
            19 x-ray shows existing fillings and is dated October 18, 2018. The post-procedure x-
            20 rays dated December 13, 2018 does not show any change to the fillings for teeth 4
            21 and 5.
            22          257. Toledo’s excessive visits were a pattern, not an isolated incident.
            23 Toledo billed for more than five visits for the same patient in a seven day period 582
            24 times between February 2017 and January 2021. It would be unusual for an
            25 individual ever to require dental service every weekday for an entire week.
            26 However, during the approximately five year span, Toledo represented that he had
            27 that unusual occurrence happen 582 times. During that same period, he billed for
            28 twelve or more visits in a 30-day period for the same patient more than 410 times.

                                                            77
7275860.1                                       FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3521 Page 78 of 734
                                             735



             1        258. Toledo then submitted these claims and others to the Premier
             2 Defendants seeking payment. The Premier Defendants, under the Dental MSA,
             3 were obligated to perform their due diligence in reviewing the claims for accuracy
             4 and ensuring supporting documentation was submitted alongside the claims. The
             5 Premier Defendants allowed these excessive, unsubstantiated, and duplicative
             6 claims to be submitted to Borrego Health for processing and payment, because
             7 Premier received $25 per claim submitted to Borrego Health. Further, once the
             8 claims had reached Borrego Health, Karen Hebets and Diana Thompson had trained
             9 their family members not to flag these claims as potentially fraudulent.
            10               xii.   Marlene Thompson, D.D.S.
            11        259. On or about April 18, 2013, Marlene M. Thompson, D.D.S., both
            12 individually and through her company Marlene M. Thompson, D.D.S., Inc.
            13 (collectively, “Thompson”) entered into a written dental services agreement (the
            14 “Thompson Agreement”) whereby Thompson agreed to provide primary dental
            15 services to participating Borrego Health patients, and Borrego Health agreed to pay
            16 Thompson for those services. Marlene Thompson is the sole officer and director of
            17 Marlene M. Thompson, D.D.S., Inc. Marlene Thompson also operates as the Chief
            18 Executive Officer, Secretary and Chief Financial officer of Marlene M. Thompson,
            19 D.D.S., Inc. Marlene Thompson is also the designated agent for service of process
            20 for Marlene M. Thompson, D.D.S., Inc. Marlene Thompson maintains complete
            21 ownership, management and control of Marlene M. Thompson, D.D.S., Inc. As
            22 such, while the parties to the Thompson Agreement are Borrego Health and Marlene
            23 M. Thompson, D.D.S., Inc., Marlene Thompson, as the alter ego and/or sole owner
            24 of Marlene M. Thompson, D.D.S., Inc., and as signatory of the Thompson
            25 Agreement, Marlene Thompson is capable of being held personally liable under the
            26 Thompson Agreement. (See i.e. Irey v. Len (1961) 191 Cal. App. 2d 13.) A true and
            27 correct copy of the Thompson Agreement is attached herein as Exhibit R.
            28

                                                          78
7275860.1                                     FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3522 Page 79 of 734
                                             735



             1        260. As a participant in Borrego Health’s contract dental program,
             2 Thompson was involved in Borrego Health’s operations by providing dental
             3 services to Borrego Health patients.
             4        261. Among other things, the Thompson Agreement required that
             5 Thompson practice dentistry in accordance with all Federal, State and local laws,
             6 regulations, and generally accepted principles applicable the practice of dentistry,
             7 and to prepare, establish, and maintain administrative records, financial records,
             8 records pertaining to patient diagnosis and treatment, and information pertaining to
             9 the services provided.Thompson submitted false and fraudulent bills and made other
            10 statements which Thompson knew to be false or had no reasonable grounds for
            11 believing their representations were true, which also constitute a breach of the
            12 Thompson Agreement. A non-exhaustive list of examples is set forth below. The
            13 below examples demonstrate a larger pattern and practice of fraudulent and/or
            14 unlawful conduct. For example:
            15             After Dr. Tuso left Dr. Aldairi’s office, Thompson hired Maura Tuso to
            16               work as a dentist in her Escondido dental practice. During the time Dr.
            17               Tuso worked for Thompson, Dr. Tuso was suspended from
            18               participating in Medi-Cal in any capacity. When Thompson hired Dr.
            19               Tuso, the generally accepted practice for employers receiving federal
            20               and state healthcare funds was to check the suspended and ineligible
            21               provider lists prior to hiring employees. Thompson failed to check the
            22               suspended and ineligible provider lists for Dr. Tuso before hiring her.
            23               Thompson then allowed Dr. Tuso to provide dental services to Borrego
            24               and Medi-Cal patients. As a suspended provider, all the treatment
            25               provided by Dr. Tuso was not subject to payment by Borrego or Medi-
            26               Cal. (See Welf. & Institutions Code section 14043.61; see also 22
            27               C.C.R. section 51303.) On October 12, 2018, Thompson placed a
            28               patient on the schedule who received services the day prior. Thompson

                                                          79
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3523 Page 80 of 734
                                             735



             1               did this to make it appear that the services rendered were spread out
             2               over several days, when in fact the patient only received services on
             3               June 23, 2018.
             4             On July 5, 2018, Dr. Tuso provided two fillings to a patient, but was
             5               asked to leave the dates blank in her charts. The patient chart was then
             6               filled in to show the services rendered occurred over the course of two
             7               visits instead of one.
             8             On July 10, 2018, Dr. Tuso provided dental services to a Borrego
             9               Health patient, but was asked to leave the dates blank in her charts.
            10               The patient chart was then filled in to show the services rendered
            11               occurred over the course of two visits instead of one. The second visit
            12               was documented on a day Dr. Tuso was not staffed to work at
            13               Thompson’s office. Despite this, the second visit in the patient chart
            14               indicates she provided the patient with services that day.
            15         262. To avoid detection, Thompson submitted bills for Dr. Tuso’s services
            16 in her own name. In other words, Thompson submitted claims to Borrego Health for
            17 services she did not perform. Further, Thompson submitted claims to Borrego
            18 Health for services performed by a suspended provider. Borrego Health then paid
            19 Thompson for services Thompson should not have been paid for. Thompson,
            20 through her conduct and misrepresentations, led Borrego Health to improperly
            21 submit claims to Medi-Cal which were not subject to reimbursement.
            22         263. Thompson also instructed Dr. Tuso and other dentists in her office to
            23 perform as many services as possible in one visit, then leave the dates on the patient
            24 charts blank to allow for the services to be billed over multiple days (as alleged in
            25 the above examples.
            26         264. The above mentioned conduct ties directly into the greater Fraudulent
            27 Dental Billing Scheme, as Thompson was submitting fraudulent bills for all services
            28 rendered by Dr. Tuso.

                                                           80
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3524 Page 81 of 734
                                             735



             1               xiii. Douglas Ness, D.D.S.
             2        265. On or about May 2, 2016, Douglas Ness, D.D.S., both individually and
             3 through his company Ness Dental Corporation (collectively, “Ness”) entered into a
             4 written dental services agreement (the “Ness Agreement”) whereby Ness agreed to
             5 provide primary dental services to participating Borrego Health patients, and
             6 Borrego Health agreed to pay Ness for those services. Doug Ness is the sole officer
             7 and director of Ness Dental Corporation. Doug Ness also operates as the Chief
             8 Executive Officer, Secretary and Chief Financial officer of the Ness Dental
             9 Corporation. Doug Ness is also the designated agent for service of process for the
            10 Ness Dental Corporation. Doug Ness maintains complete ownership, management
            11 and control of Ness Dental Corporation. As such, while the parties to the Ness
            12 Agreement are Borrego Health and Ness Dental Corporation, Doug Ness, as the
            13 alter ego and/or sole owner of the Ness Dental Corporation, and as signatory of the
            14 Ness Agreement, Ness is capable of being held personally liable under the Ness
            15 Agreement. (See i.e. Irey v. Len (1961) 191 Cal. App. 2d 13.) A true and correct
            16 copy of the Ness Agreement is attached herein as Exhibit S.
            17        266. As a participant in Borrego Health’s contract dental program, Ness was
            18 involved in Borrego Health’s operations by providing dental services to Borrego
            19 Health patients.
            20        267. Among other things, the Ness Agreement required that Ness practice
            21 dentistry in accordance with all Federal, State and local laws, regulations, and
            22 generally accepted principles applicable the practice of dentistry, and to prepare,
            23 establish, and maintain administrative records, financial records, records pertaining
            24 to patient diagnosis and treatment, and information pertaining to the services
            25 provided.
            26        268. Ness submitted false and fraudulent bills and made other statements
            27 which Ness knew to be false or had no reasonable grounds for believing their
            28 representations were true, which also constitute a breach of the Ness Agreement.

                                                          81
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3525 Page 82 of 734
                                             735



             1 The alleged conduct is demonstrative of a larger pattern and practice of fraudulent
             2 and/or unlawful conduct.
             3         269. In 2018, Ness hired Maura Tuso to work as a dentist at Ness’ dental
             4 office, Crown Dental Group. During the time Dr. Tuso worked for Ness, Dr. Tuso
             5 was suspended from participating in Medi-Cal in any capacity. When submitting her
             6 new hire paperwork to Ness, Dr. Tuso told Ness that she was on the suspended
             7 provider list. In spite of this, Ness allowed Dr. Tuso to continue to work for him and
             8 to provide dental services to Borrego and Medi-Cal patients. As a suspended
             9 provider, the treatment and services provided by Dr. Tuso was not subject to
            10 payment by Borrego Health or Medi-Cal. (See Welf. & Institutions Code section
            11 14043.61; see also 22 C.C.R. section 51303.)
            12         270. To avoid detection, Ness submitted bills for Dr. Tuso’s services in his
            13 own name. In other words, Ness submitted claims to Borrego Health for services he
            14 did not perform. Further, Ness submitted claims to Borrego Health for services
            15 performed by a suspended provider. Borrego Health then paid Ness for services
            16 Ness should not have been paid for. Ness, through his conduct and
            17 misrepresentations, led Borrego Health to improperly submit claims to Medi-Cal
            18 which were not subject to reimbursement. Ness also instructed Dr. Tuso and other
            19 dentists in his office to perform as many services as possible in one visit, then leave
            20 the dates on the patient charts blank to allow for the services to be billed over
            21 multiple days.
            22         271. Ness also hired other dental providers, in addition to Dr. Tuso, who
            23 lacked California dental licenses to provide dental services to Borrego Health
            24 patients. These hires included a husband and wife pair. These individuals were not
            25 licensed to practice dentistry in California and performed services on Borrego
            26 Health patients. Upon information and belief, Ness billed Borrego Health for these
            27 services in the same manner Ness did for Dr. Tuso. The above mentioned conduct
            28 ties directly into the greater Fraudulent Dental Billing Scheme, as Ness was

                                                           82
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3526 Page 83 of 734
                                             735



             1 submitting fraudulent bills for all services rendered by Dr. Tuso and the other
             2 unlicensed dental providers that were employed by Ness.
             3               xiv.   George Jared, D.D.S.
             4        272. On or On or about April 19, 2016, George C. Jared, D.D.S., both
             5 individually and through his company George C. Jared, D.D.S., Inc. (collectively,
             6 “Jared”) entered into a written dental services agreement (the “Jared Agreement”)
             7 whereby Jared agreed to provide primary dental services to participating Borrego
             8 Health patients, and Borrego Health agreed to pay Jared for those services. George
             9 Jared is the Chief Executive Officer and sole director of George C. Jared, D.D.S.
            10 Inc. As such, while the parties to the Jared Agreement are Borrego Health and
            11 George C. Jared, D.D.S., Inc., George Jared, as the alter ego and/or sole owner of
            12 George C. Jared, D.D.S., Inc., and as signatory of the Jared Agreement, Jared is
            13 capable of being held personally liable under the Jared Agreement. (See i.e. Irey v.
            14 Len (1961) 191 Cal. App. 2d 13.) A true and correct copy of the Jared Agreement is
            15 attached herein as Exhibit T.
            16        273. As a participant in Borrego Health’s contract dental program, Jared was
            17 involved in Borrego Health’s operations by providing dental services to Borrego
            18 Health patients.
            19        274. Among other things, the Jared Agreement required that Jared practice
            20 dentistry in accordance with all Federal, State and local laws, regulations, and
            21 generally accepted principles applicable the practice of dentistry, and to prepare,
            22 establish, and maintain administrative records, financial records, records pertaining
            23 to patient diagnosis and treatment, and information pertaining to the services
            24 provided.
            25        275. Jared submitted false and fraudulent bills and made other statements
            26 which Jared knew to be false or had no reasonable grounds for believing their
            27 representations were true, which also constitute a breach of the Jared
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                                                          83
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3527 Page 84 of 734
                                             735



             1 Agreement. Upon information and belief, the alleged conduct is demonstrative of a
             2 larger pattern and practice of fraudulent and/or unlawful conduct.
             3         276. Jared hired Maura Tuso to work as a dentist at his dental practice.
             4 During the time Dr. Tuso worked for Jared, Dr. Tuso was suspended from
             5 participating in Medi-Cal in any capacity. When Jared hired Dr. Tuso, the generally
             6 accepted practice for employers receiving federal and state healthcare funds was to
             7 check the suspended and ineligible provider lists prior to hiring employees. Jared
             8 failed to check the suspended and ineligible provider lists for Dr. Tuso before hiring
             9 her. Jared then allowed Dr. Tuso to provide dental services to Borrego and Medi-Cal
            10 patients. As a suspended provider, all the treatment provided by Dr. Tuso was not
            11 subject to payment by Borrego or Medi-Cal. (See Welf. & Institutions Code section
            12 14043.61; see also 22 C.C.R. section 51303.)
            13         277.
            14         278. Jared also hired other dental providers, in addition to Dr. Tuso, who
            15 lacked California dental licenses to provide dental services to Borrego Health
            16 patients. Upon information and belief, Jared billed Borrego Health for the services
            17 that unlicensed dental providers provided to Medi-Cal patients.
            18         279. To avoid detection, Jared submitted bills for Dr. Tuso’s services in his
            19 own name. In other words, Jared submitted claims to Borrego Health for services he
            20 did not perform. Further, Jared submitted claims to Borrego Health for services
            21 performed by a suspended provider. Borrego Health then paid Jared for services
            22 Jared should not have been paid for. Jared, through his conduct and
            23 misrepresentations, led Borrego Health to improperly submit claims to Medi-Cal
            24 which were not subject to reimbursement.
            25         280. Jared also instructed Dr. Tuso and other dentists in his office to perform
            26 as many services as possible in one visit, then leave the dates on the patient charts
            27 blank to allow for the services to be billed over multiple days.
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                                                           84
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3528 Page 85 of 734
                                             735



             1        281. The above mentioned conduct ties directly into the greater Fraudulent
             2 Dental Billing Scheme, as Jared was submitting fraudulent bills for all services
             3 rendered by Dr. Tuso.
             4        D.     Since Premier Was Unable and Unwilling To, a Program Integrity
             5               Process is Implemented by Borrego Health
             6        282. Despite its promises to do so, its representations that it could do so, and
             7 its concealment of the fact that it could not do so, Premier completely lacked the
             8 ability to appropriately conduct claims monitoring.
             9        283. In fact, it was not until 2019 that Premier hired its first and only
            10 employee with any clinical experience whatsoever. At that point, Premier hired a
            11 2016 dental graduate, Nicholas Tapp, D.D.S. Unsurprisingly, Nicholas Tapp was
            12 related to other employees at Premier. Nicholas Tapp did not even receive his
            13 dental license until October 2017. Indeed, staff from Borrego Health were largely
            14 responsible for training Nicholas Tapp due his lack of knowledge and experience.
            15        284. Even after hiring Nicholas Tapp, Premier continuously failed to
            16 properly review the contract dental claims. For example, and without limitation,
            17 Premier approved claims (and caused Borrego Health to pay for claims (1) where no
            18 supporting documentation was provided, (2) for services performed on teeth
            19 which—based on x-rays submitted with the claims—were no longer in the patients’
            20 mouth, (3) which were duplicate (i.e. same claims, submitted multiple times), and
            21 (4) that were facially and obviously not legitimate.
            22        285. For example, in February 2020, one dentist billed 18 different
            23 encounters for a single patient, despite the fact that there were only 19 business days
            24 in February 2020, meaning the bills showed this patient came in for dental services
            25 all but one business day in February 2020. Premier did not flag these bills and took
            26 no steps to counsel or discipline this dentist. Between June 2020 and July 2020, one
            27 dentist billed 30 different encounters for a single patient, meaning the bills showed
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                                                          85
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3529 Page 86 of 734
                                             735



             1 this patient came in for dental services every other day during that time period.
             2 Premier did not flag these bills and took no steps to counsel or discipline this dentist.
             3         286. As a result, Borrego Health was forced to hire its own employees and
             4 develop a Program Integrity program to review and audit contract dental claims and
             5 providers, tasks which Premier Defendants were supposed to perform under the
             6 Dental MSA.
             7         287. In May 2017, Borrego Health hired Timothy Martinez, D.D.S. to be its
             8 Chief Dental Officer. In this role, Dr. Timothy Martinez was tasked with
             9 developing a “Program Integrity” team for Borrego Health’s contract dental
            10 program and providing practice management oversight for its in-house dental
            11 programs. To assist in these efforts, Borrego Health and Dr. Martinez hired Nithya
            12 Venugopal, DDS, in January 2018 as Borrego Health’s Dental Director of Program
            13 Integrity.
            14         288. Among other things, Dr. Timothy Martinez and Dr. Nithya Venugopal
            15 were tasked to create a system that would identify patterns on the “back-end” of
            16 claims submission (i.e. after the claims had been submitted). Specifically, Dr.
            17 Timothy Martinez and Dr. Nithya Venugopal were supposed to identify: (1)
            18 utilization of non-covered services; (2) overutilization of services; (3) incomplete,
            19 substandard, unnecessary treatment rendered by providers; and (4) billing
            20 discrepancies. The team also sought to develop and implement necessary steps to
            21 correct and prevent such issues.
            22         289. On May 5, 2017, the Program Integrity team set up initial evidence-
            23 based key references and questions for the new program integrity unit. The key
            24 references and questions were based on the National Medicaid Guidelines the
            25 Deputy Inspector General for Evaluation and Inspections May 15, 2015 report
            26 authored by Suzanne Murrin, titled: “QUESTIONABLE BILLING FOR
            27 MEDICAID PEDIATRIC DENTAL SERVICES IN CALIFORNIA.” The Murrin
            28 report reviewed claims submitted by dentists in California to DHCS and found that

                                                           86
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3530 Page 87 of 734
                                             735



             1 approximately 8% of the dental providers were billing outliers in terms of CDT
             2 codes billed, and of those identified outliers, only approximately 1.8% (or six out of
             3 329 dentists) were disciplined by the California Dental Board for failing to meet
             4 quality of care standards. Dr. Timothy Martinez used the Murrin report and its
             5 findings, as well as guidance from the 2017 National Medicaid and CHIP Oral
             6 Health Symposium (as organized by the Medicaid, Medicare, CHIP Services Dental
             7 Association), for reference when developing Borrego Health’s internal compliance
             8 metrics. Critically, at the time, there was no other guidance, data or reports setting
             9 out proper or improper billing and documentation protocols in the state for FQHCs
            10 contracting with private dental offices.
            11        290. The Program Integrity efforts began with a utilization review system
            12 which developed an algorithm for analyzing and sorting out outliers, particularly by
            13 focusing on high-billing providers among the contract dentists. As the Program
            14 Integrity team’s utilization review and claims data analytics capabilities became
            15 more robust and sophisticated, the team was soon able to also review for over-
            16 utilization of high-cost codes/services (dental providers with a standard deviation of
            17 one or more from the mean as far as individual high-cost codes, such as crowns and
            18 surgical extractions), percentage of preventive services and under-utilization of
            19 preventive services, as well as billing discrepancies, and lack of medical necessity.
            20 Over time, the Program Integrity team also developed a mechanism to view visit
            21 count and examine excessive visits.
            22        291. Additionally, around mid-2019, the Program Integrity team built in
            23 certain parameters, referred to as the “enhanced review” parameters, to identify
            24 problematic claims during the claims monitoring process, in large part after
            25 recognition that Premier was not properly vetting claims during the claims
            26 monitoring process, despite Premier’s contractual obligation to do so.
            27        292. Once the utilization review analysis was conducted, the Program
            28 Integrity team would conduct site visits and chart reviews to directly assess

                                                           87
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3531 Page 88 of 734
                                             735



             1 compliance and suspected fraud, waste, and/or abuse among any dental practices
             2 and providers identified as outliers within the contract dental network (meaning
             3 providers who were one or more above the standard deviation in the different
             4 categories being reviewed).
             5        293. Specifically, Dr. Nithya Venugopal would receive a report and conduct
             6 a closer examination of any outlier practices or providers. Then, Dr. Nithya
             7 Venugopal would work with Borrego Health’s utilization management analyst to
             8 pull around ten to 15 charts from patients based on excessive patients visits and/or
             9 CDT code criteria under question for these providers.
            10        294. Next, a member of the Program Integrity team would collect
            11 information from the patient records regarding visits and services during an actual
            12 on-site visit, including supportive documentation such as radiographs, charts, and
            13 schedules. The peer review process was designed to be objective through the use of
            14 a template peer review worksheet examining specific criteria.
            15        295. Based on the results of these findings, the Program Integrity team
            16 members would conduct comprehensive records review and assess compliance with
            17 Program Integrity rubric, consistent with the Medi-Cal Dental Provider Handbook.
            18        296. Following the chart reviews and site audits, the Program Integrity team
            19 would develop provider report cards and issue a “corrective action plan” to any
            20 provider whose practice was identified as deficient across certain criteria. These
            21 plans would detail exactly what deficiencies were identified and how a provider was
            22 required to correct and improve his or her practice. The Program Integrity team
            23 aimed to conduct re-audits of providers who had been issued a corrective action plan
            24 within 90 days to confirm whether or not the provider had corrected identified
            25 deficiencies by again obtaining records from the provider and assessing compliance
            26 under the same rubric.
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                                                          88
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3532 Page 89 of 734
                                             735



             1         297. Any follow-up action by the team depended on the results of these peer
             2 review and compliance audits. For example, if the score improved, then the
             3 provider would be audited on an annual basis thereafter.
             4         298. Alternatively, if the score worsened, Dr. Timothy Martinez or Dr.
             5 Nithya Venugopal would escalate the matter to Borrego Health’s Chief Compliance
             6 Officer, Gabriela Alvarado, and Mikia Wallis for determination of further action, up
             7 to and including termination of Borrego Health’s agreement with the dentist.
             8         299. Additionally, where the Program Integrity team found evidence
             9 suggesting potential provider fraud, waste, and/or abuse, Dr. Timothy Martinez
            10 would meet with Gabriela Alvarado to discuss possible recoupment and recovery of
            11 funds, notification to DHCS and other state authorities, and submission of a claims
            12 inquiry form to DHCS to request an adjustment for either an underpayment or
            13 overpayment of claims.
            14         300. The Program Integrity team, once it came online and established
            15 processes after Dr. Timothy Martinez’s arrival in 2017, reviewed back-end claims
            16 and identified outliers and other billing discrepancies.
            17         E.    Premier and the Borrego Insiders Coverup Fraudulent Billing (the
            18               “Coverup Scheme”)
            19         301. The Borrego Insiders and the Premier Defendants were aware of the
            20 conduct and had received complaints and information, but did nothing to stop the
            21 practice. Instead, the Premier Defendants worked with Borrego Insiders, including
            22 without limitation Mikia Wallis, Diana Thompson, and Karen Hebets to stop further
            23 inquiries and protect the dentists from both detection and/or consequences. As
            24 stated herein, the Premier Defendants were incentivized to allow providers to bill as
            25 many claims as possible, since Premier was paid on a per claim basis. The Premier
            26 Defendants were further incentivized to cover up for fraudulently billing dentists
            27 (including—and especially—the most egregious dentists), since those were the
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                                                          89
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3533 Page 90 of 734
                                             735



             1 dentists that submitted the highest number of claims and directly increased the
             2 amount that Premier was paid.
             3         302. The Borrego Insiders were incentivized to cover up for the fraudulently
             4 billing dentist since those billings allowed the other Schemes discussed herein to
             5 take place and/or resulted in kickback payments to the Borrego Insiders. For
             6 example, as an alleged above, Diana Thompson and Karen Hebets hired several
             7 family members to place in the billing and accounting department at Borrego
             8 Health. These family members were trained to ignore errors and duplications in the
             9 claims submitted by the Dental Defendants through the Premier Defendants. .
            10         303. The Premier Defendants and the Borrego Insiders used a number of
            11 different methods to cover up for fraudulently billing dentists, including without
            12 limitation the Dentist Defendants, as outlined below, including without limitation
            13 interference with audits, failing and refusing to reverse false/fraudulent claims,
            14 refusal to take action, general avoidance and unavailability and undue pressure.
            15         304. The Premier Defendants, supported by the Borrego Insiders, would not
            16 permit Program Integrity audits to be random. It required Program Integrity to
            17 provide advance notice to dentists, so that the dentists could be more prepared and
            18 take steps to avoid detection of problems by the Program Integrity team.
            19         305. While typically the Program Integrity team would book any compliance
            20 review appointments with contract dental providers through one of Premier’s
            21 administrative staff, for reasons unknown to Borrego Health, any appointments with
            22 Husam Aldairi and Aram Arakelyan (both identified by the Program Integrity team
            23 as high-billing providers for certain costly services) were required to be set up by
            24 Travis Lyon personally.
            25         306. Occasionally, the Program Integrity team would identify claims that
            26 were falsely or fraudulently billed, and should have been reversed (i.e. the dentists
            27 should have refunded the money they received from Borrego Health, and Premier
            28 should have returned or credited the per visit fee back to Borrego Health).

                                                           90
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3534 Page 91 of 734
                                             735



             1 However, the Premier Defendants and Borrego Insiders, including without
             2 limitation Karen Hebets and Diana Thompson, would not follow through on claims
             3 reversals.
             4         307. On several occasions, based on suspicious or outright fraudulent claims
             5 activity, Borrego Health’s Program Integrity team would recommend and/or request
             6 that a contract dental provider have their provider contract with Borrego Health
             7 terminated. The Premier Defendants and Borrego Insiders would regularly support
             8 the contract dental providers over Borrego Health and override decisions made by
             9 Borrego Health, and would refuse to take action against fraudulently billing
            10 providers.
            11         308.   On several occasions in 2019, during Program Integrity’s
            12 communications with contract dentists, Dr. Venugopal and Dr. Koutros were
            13 informed by contract dental providers that the Premier Defendants told dentists that
            14 if they did not bill for specific conditions, regardless of the patients’ true health
            15 status. Program Integrity was also informed that the Premier Defendants were
            16 training and/or encouraging contract dental providers to split the claims up in certain
            17 manners, asserting that if the contract dental providers did not bill for specific
            18 conditions over multiple days, that the contract dental provider would not receive
            19 payment from Borrego Health. When Program Integrity brought these concerns to
            20 Travis Lyon, he denied the assertions and reassured Program Integrity that re-
            21 training would take place to address confusion from the contract dental providers.
            22 After this, the Premier Defendants became more proactive in taking steps to conceal
            23 their schemes, working alongside Borrego Insiders Diana Thompson and Karen
            24 Hebets to ensure duplicative claims would continue to be submitted for billing.
            25         309. Both Dr. Timothy Martinez and Dr. Nithya Venugopal reported that,
            26 whenever they raised issues about Premier to Mikia Wallis, they would immediately
            27 receive a call or email from Travis Lyon or Nick Priest. Clearly, Mikia Wallis was
            28 sharing their internal concerns directly with the Premier Defendants. More often

                                                            91
7275860.1                                       FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3535 Page 92 of 734
                                             735



             1 than not, however, neither Premier nor Mikia Wallis actually addressed the
             2 underlying issue Dr. Timothy Martinez or Dr. Nithya Venugopal identified with
             3 Premier.
             4         310. Mikia Wallis made herself generally unavailable for meetings with the
             5 Program Integrity team. At most, Program Integrity staff were only allowed to
             6 block 15-minute intervals with her. As stated by Dr. Venugopal, “[Mikia Wallis]
             7 knew what we were doing but hated what we were finding.”
             8         311. Program Integrity team members repeatedly raised issues about certain
             9 high-billing providers who they identified as committing “suspect fraud” to Mikia
            10 Wallis and Borrego Health’s former Chief Compliance Officer, but usually no
            11 action was ever taken against providers, who would remain eligible to continue
            12 providing and billing for improper services rendered to Borrego Health’s patients.
            13         312. Mikia Wallis would routinely push back or throw up barriers whenever
            14 they tried to implement some sort of final audit process for the contract dental
            15 providers. There was also an ongoing push-and-pull in terms of adding new
            16 contract dental providers to Borrego Health’s network between the Program
            17 Integrity team and credentialing committee on one side and Premier and Mikia
            18 Wallis on the other. There were a number of instances where Travis Lyon,
            19 supported by Mikia Wallis, attempted to ram a number of new contract dental
            20 providers through Borrego Health’s credentialing process, despite Dr. Timothy
            21 Martinez’s insistence that the providers needed to be thoroughly vetted before
            22 approving them.
            23         313. Mikia Wallis defended contract dental providers unreasonably, even
            24 after Program Integrity team members informed her of these providers’ documented
            25 history of problematic billing practices and poor quality. Mikia Wallis herself
            26 reported that she encouraged staff to treat contract dental providers as part of
            27 Borrego Health’s internal workforce and “to the extent that we feel the dentists have
            28 high quality of care, we need to defend them.”

                                                           92
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3536 Page 93 of 734
                                             735



             1         314.   At the June 2017 Credentialing Committee, Dr. Timothy Martinez
             2 noted and the minutes reflected that Bruce Hebets, along with Premier’s Travis
             3 Lyon and Nick Priest, all personally attended the meeting. Usually, credentialing
             4 committees are autonomous bodies free from inadvertent pressure of having
             5 administration involvement.
             6         315. There are numerous, specific examples of the Premier Defendants and
             7 Borrego Insiders working to cover up for fraudulently billing dentists. A few of
             8 these examples are outlined below.
             9         316. On April 12, 2017, Dr. Timothy Martinez emailed Travis Lyon to note
            10 his concerns with the contract dental program as a result of the HMS/CMS audit
            11 findings: “I can start to review with you and your team the three most common
            12 pitfalls that Borrego was cited for: EXCESSIVE VISITS, INSUFFICIENT
            13 DOCUMENTATION, NOT MEDICALLY NECESSARY. We can start with
            14 catching “EXCESSIVE VISIT” at the time the claim (called a superbill) is scanned
            15 by the private dental offices and entered into your data banks.” Thus, the Premier
            16 Defendants were aware of issues with excessive visit billing, yet did nothing to
            17 detect or prevent such billing, despite their contractual obligation to do so.
            18         317. Dr. Venugopal noted that dentists as a rule could not be terminated for
            19 Program Integrity issues alone. To terminate a dentist, Dr. Venugopal and Dr.
            20 Martinez would have to also raise a quality or credentialing issue. Even this,
            21 though, was insufficient to terminate certain “untouchable” dentists, including Dr.
            22 Aldairi, Dr. Arakelyan, Dr. Mehdizadeh and Dr. Hawatmeh (all of whom Program
            23 Integrity identified as outlier providers).
            24         318. In February 2018, some of the Program Integrity team met with the
            25 Premier Defendants to review the newly developed contract dental patient forms,
            26 which had been created to ensure consistent and accurate documentation across
            27 providers. Though these were Borrego Health forms, Travis Lyon nevertheless
            28

                                                             93
7275860.1                                       FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3537 Page 94 of 734
                                             735



             1 retained final say on how and when they were communicated to the contract dental
             2 providers – if ever.
             3         319. Husam Aldairi received “Provider Compliance Reports” on June 14,
             4 2018 and September 13, 2018 following a series of audits conducted by the Program
             5 Integrity team during which he received scores of zero (the lowest possible score) in
             6 the following categories: proper documentation, eligible provider (meaning that the
             7 provider’s signature on the claims matches the dental superbill and clinical progress
             8 notes as required by the Medi-Cal Dental Provider Hand-book), and medically
             9 necessary (meaning that the documentation supports the level of services rendered).
            10 To address the clear deficiencies identified in the June 2018 audit, the Program
            11 Integrity team also put together a corrective action plan listing out each deficiency
            12 in detail and providing actionable steps Husam Aldairi was requested to take to
            13 correct the issues. Husam Aldairi received the corrective action plan and returned a
            14 signed copy acknowledging it to the Program Integrity team but never actually
            15 worked on improving. Husam Aldairi also failed multiple peer review audits
            16 conducted by Program Integrity team members on March 31 and July 25, 2019, and
            17 most recently on August 31, 2020. The Premier Defendants and the Borrego
            18 Insiders, including Mikia Wallis, refused to terminate Husam Aldairi.
            19         320. When Husam Aldairi was up for re-credentialing, Dr. Timothy
            20 Martinez recommended against re-credentialing Husam Aldairi but he was
            21 overruled by the Premier Defendants and Borrego Insiders, including without
            22 limitation Travis Lyon and Mikia Wallis. Despite the poor performance, the
            23 Premier Defendants and Borrego Insiders submitted a “special license” to HRSA to
            24 allow Husam Aldairi to have a satellite intermittent dental clinic with Borrego
            25 Health (in space owned by another Daryl Priest entity that Borrego Health leased).
            26 Husam Aldairi was not actually terminated until the Board Insiders were no longer
            27 involved in the matter.
            28

                                                           94
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3538 Page 95 of 734
                                             735



             1        321.    In both July and September 2018, Dr. Timothy Martinez notified
             2 Mikia Wallis in her capacity as Borrego Health’s Chief Legal Officer about the
             3 results of the Program Integrity team’s first analytics ran on the contract dentists,
             4 including those identified as outliers within the program. Mikia Wallis did not do
             5 anything to address the outliers.
             6        322. Mikia Wallis was informed of billing issues with Dr. Tina Cho. For
             7 example, Dr. Martinez emailed Mikia Wallis on July 2, 2019 acknowledging
             8 “aberrant billing behavior” and attaching a document titled, “tina cho.docx,” which
             9 included examples of problematic claims. However, on October 6, 2020, Mikia
            10 Wallis sent a letter to Special Agent Supervisor Craig Eastep which (falsely) stated
            11 that Borrego Health had no knowledge of potential billing discrepancies for services
            12 provided by Dr. Tina Cho.
            13        323. On October 12, 2019, a member of the Program Integrity team
            14 instructed that Borrego Health will deny claims for issues that he considers to be
            15 “black and white issues.” Travis Lyon responded, “Is Koutros and Venugopal
            16 aware that Ms. Wallis does not want us to use the Denti-Cal regulations as a reason
            17 to deny claims?”
            18        324. In March 2019, dentist Maura Tuso called Borrego Health’s
            19 compliance hotline. She left a message indicating that she wanted to report fraud.
            20 Dr. Timothy Martinez facilitated a telephone conference to respond to Maura Tuso,
            21 which took place on March 18, 2019. Travis Lyon joined Dr. Timothy Martinez on
            22 the call.
            23        325. Maura Tuso alleged that there was fraud occurring, including
            24 manipulating charts. Dr. Timothy Martinez asked Maura Tuso to email any details.
            25 When these allegations were reported to Mikia Wallis, Mikia Wallis stated that
            26 Maura Tuso had lost her license and was not credible, and to cease any further
            27 investigation. Shockingly, despite knowledge that Maura Tuso had lost her license
            28 (and, thus, was suspended from Medi-Cal) and using this information in an attempt

                                                           95
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3539 Page 96 of 734
                                             735



             1 to discredit her, the Premier Defendants and Borrego Insiders did nothing to prevent
             2 Maura Tuso from continuing to provide services through other contract dentists (and
             3 billing for them) or to remedy prior improper bills where Mauro Tuso provided
             4 services.
             5          326. On January 27, 2020, a member of the Program Integrity team
             6 conducted a surprise compliance audit of Dr. Aram Arakelyan. Dr. Aram Arakelyan
             7 refused to allow staff to audit the charts and called Travis Lyon to intervene. This
             8 resulted in a meeting with Mikia Wallis, Travis Lyon, and Dr. Timothy Martinez,
             9 and a subsequent meeting with Premier’s counsel.
            10          327. Following this meeting, on March 2, 2020, counsel for Premier
            11 informed a member of the Program Integrity team over the phone that such surprise
            12 audits of the contract dental providers were unlawful and that all audits required
            13 written notice to contract dental providers at least five days before any audit. This is
            14 false.
            15          328. Borrego Health requested and harangued Premier repeatedly to activate
            16 a “Prior Authorization” requirement, which required outlier providers and practices
            17 to obtain prior authorization from Borrego Health before performing certain high-
            18 cost services. In a meeting on May 21, 2020, the Program Integrity team was told
            19 by Travis Lyon that he promised it would be turned on by June 1, 2020. It was
            20 never activated.
            21          329. In a quality meeting on June 16, 2020, Dr. Venugopal told Travis Lyon
            22 that individual dentists were billing bridges as single unit crowns, and directed him
            23 to send a communication to providers that this practice must stop. Travis Lyon
            24 refused.
            25          330. As late as September 2020, when questioned about the accusation from
            26 the California Dental Board against Husam Aldairi, Mikia Wallis continued to
            27 defend him. She asserted that an external reviewer said Husam Aldairi’s care was
            28 “exquisite” and that he was a “QI [Quality Improvement] success story.” This

                                                           96
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3540 Page 97 of 734
                                             735



             1 directly contradicts what Program Integrity and credentialing staff reported to Mikia
             2 Wallis regarding the poor quality of care by Husam Aldairi.
             3         331. On October 7, 2020, Dr. Nithya Venugopal presented audit findings
             4 regarding Husam Aldairi to Mikia Wallis, Dr. Timothy Martinez, Dr. Edgar Bulloch
             5 (Borrego Health’s former CMO and CEO), and Mark Connelly (Borrego Health’s
             6 Chief Operations Officer). The presentation focused on the fact that Husam Aldairi
             7 had most likely falsely billed for excessive visits, in particular where no face-to-face
             8 encounter occurred, and improperly documented or falsified records, and finally
             9 often provided services below the standard of care or that lacked medical necessity.
            10 Within the first ten minutes of the presentation, Mikia Wallis walked out.
            11         332. Borrego Health requested that Premier run a report on 2020 claims and
            12 identify any duplicates. In September 2020, Premier provided a report identifying
            13 over 600 claims that were duplicated, meaning they were billed by Premier on
            14 behalf of the dentists multiple times. Borrego Health was not aware of the
            15 duplication at the time it paid the invoices of both the dentists and Premier for the
            16 duplicate claims. Despite notice of the duplication the Premier Defendants and the
            17 Borrego Insiders did not reverse the claims, and the dentists did not repay the
            18 claims. Although this report was only for 2020, Borrego Health is informed and
            19 believes that the same issues would exist in years prior to 2020.
            20         333. As a result, Borrego Health was forced to pay both Premier and several
            21 contract dental providers for services which should not have been paid or for
            22 services which were never rendered.
            23         334. On information and belief, the Borrego Insiders were compensated for
            24 this access and control through kickbacks or other payments or remuneration.
            25         F.    The Borrego Insiders Entered into Leases with Daryl Priest-Owed
            26               Entities for Above Market Rents and Terms Many Times the
            27               Market Amount (the “Priest Leases Scheme”)
            28

                                                           97
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3541 Page 98 of 734
                                             735



             1        335. Borrego Health only owns two of its facilities. Therefore, Borrego
             2 Health must otherwise procure real property for its facilities. This is accomplished
             3 by going to into the marketplace and securing facility leases in Southern California.
             4 The resulting leases should be from an arm’s length transaction at market prices, and
             5 the leases should be submitted to the Borrego Health Board of Trustees for approval.
             6 Borrego Health’s facility leases must be: (1) entered into for a lawful purpose; (2)
             7 sought competitively, and subjected to a diligent market value analysis; and (3) to
             8 the extent reasonably possible, for no more than fair market rent and reasonable
             9 duration. The leases must also include reasonable terms under which the FQHC can
            10 terminate the lease.
            11        336. Yet, the next scheme involved Borrego Health leasing certain real
            12 property from the Premier Defendants or entities related to the Premier Defendants
            13 at rents and terms that were well above market. Borrego Health was victimized by
            14 three grossly over-priced, 30-plus-year term facility leases engineered by the
            15 Borrego Insiders and the Premier Defendants or entities related to the Premier
            16 Defendants. The total combined full-term price of these three leases is over $100
            17 million dollars. As detailed below, these leases were never subject to due diligence
            18 and were executed by the Borrego Insiders, without submitting them to the full
            19 Board for analysis, review, and informed consent and approval. Once in place, the
            20 leases were concealed from the full Borrego Health Board. The reason for hiding
            21 them from the full Board is clear: recent independent appraisals by CBRE show the
            22 total combined lease prices are $58 million over fair market rent.
            23        337. The leases at issue that are above fair market rent, without good cause,
            24 and without the fully informed consent of the Board, are per se unlawful ab initio,
            25 because, inter alia, they are entered into for an unlawful purpose, namely to defraud
            26 Borrego Health for millions of dollars, while at the same time exposing Borrego
            27 Health to regulatory sanctions and related adverse financial and tax consequences.
            28

                                                          98
7275860.1                                      FIRST AMENDED COMPLAINT
       Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3542 Page 99 of 734
                                             735



             1         338. Promenade Square, LLC (“Promenade”) is a California limited liability
             2 company whose primary place of business is in El Cajon, California. Promenade is
             3 engaged in the commercial real estate business. Borrego Health is informed and
             4 believes that Promenade’s sole member and manager is Daryl Priest. Promenade is
             5 the owner and lessor of the structures and appurtenances located at 133 and 155
             6 West Main Street, El Cajon, County of San Diego, California, of which Borrego
             7 Health is the lessee (“Promenade Lease”).
             8         339. DRP Holdings, LLC (“DRP”) is a California limited liability company
             9 whose primary place of business is in El Cajon, California. DRP is engaged in the
            10 commercial real estate business. Plaintiff is informed and believes that DRP’s sole
            11 member and manager is Daryl Priest. DRP is the owner and lessor of the structures
            12 and appurtenances located at 590 North D Street, City of San Bernardino, County of
            13 San Bernardino, California, of which Borrego Health is the lessee (“DRP Lease”).
            14         340. Inland Valley Investments, LLC (“Inland Valley”) is a California
            15 limited liability company whose primary place of business is in El Cajon, California.
            16 Inland Valley is engaged in the commercial real estate business. Plaintiff is
            17 informed and believes that Inland Valley’s sole member and manager is Daryl
            18 Priest. By way of assignment from DRP, Inland Valley is now the lessor of the
            19 structures and appurtenances located at 750 East Main Street, City of Barstow,
            20 County of San Bernardino, California, of which Borrego Health is the lessee
            21 (“Inland Valley Lease”). The Borrego Insiders and Premier Defendants decided to
            22 have Borrego Health sign the lease for the Barstow facility before the facility even
            23 existed. On information and belief, the Premier Defendants then presented the over-
            24 market lease to a federally insured lending institution to help obtain financing for
            25 the facility (making Borrego Health in essence a participant in the development and
            26 financing of the Barstow facility). As further demonstration of the
            27 interconnectedness of this Scheme, Travis Lyon, who was the CEO of Premier (a
            28 healthcare company), was the broker for the construction loan in connection with

                                                           99
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3543 Page 100 of 734
                                            735



             1 the Barstow deal and personally collected signatures from Bruce Hebets and Diana
             2 Thompson (then, Troncoso).
             3         341. For the sake of brevity, and because Borrego Health is informed and
             4 believes that Daryl Priest is the sole owner, member, and manager of Promenade,
             5 DRP, and Inland Valley: (a) Promenade, DRP, and Inland Valley are also referred
             6 to collectively as the “Priest LLCs”; and (b) the three leases Borrego Health entered
             7 into with the Priest LLCs are referred to collectively as the “Priest Leases.”
             8         342. Daryl Priest (who owns the three Priest LLCs), Travis Lyon and the
             9 Borrego Insiders worked together to devise a scheme under which Borrego Health
            10 was a conduit of federal healthcare funds to pay for the overpriced Priest Leases.
            11 Daryl Priest, Travis Lyons and the Borrego Insiders worked together to make
            12 management and operational decisions at Borrego Health to allow the Priest Leases
            13 to be entered and to remain in operation undisclosed to Borrego Health’s full board.
            14         343. Daryl Priest is an experienced owner and lessor of commercial
            15 properties. Travis Lyon is an experienced commercial real estate development and
            16 management executive. Daryl Priest and Travis Lyon, on behalf of Promenade,
            17 DRP, and Inland Valley, must each present their commercial leases to banks
            18 providing them with mortgages and other funding related to their leased properties.
            19 Daryl Priest and Travis Lyon, on behalf of Promenade, DRP, and Inland Valley,
            20 must perform due diligence regarding their lessees, before entering into a 30+ year
            21 lease that will be reviewed by lenders providing millions of dollars of financing to
            22 Promenade, DRP, and Inland Valley. Daryl Priest and Travis Lyon are therefore
            23 presumed to know Borrego Health’s business, including that it is a non-profit health
            24 care provider doing business with federally-funded health programs. Daryl Priest
            25 and Travis Lyon are presumed to know fair market rent, that the stated rent in the
            26 Priest Leases is over fair market rent, and that the lease terms of 30+ years are far
            27 beyond fair market lease terms (especially in the absence of terms allowing Borrego
            28 Health to terminate the lease on reasonable notice). Under these facts and

                                                          100
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3544 Page 101 of 734
                                            735



             1 circumstances, Daryl Priest and Travis Lyon, on behalf of Promenade, DRP, and
             2 Inland Valley, are charged with knowledge that they were each entering into an
             3 over-fair market rent lease with a non-profit FQHC.
             4         344. Mikia Wallis and the Borrego Insiders knew or should have known that
             5 the Priest Leases were well above market rents and terms.
             6         345. Mikia Wallis and the Borrego Insiders knew or should have known that
             7 the Priest Leases would need to be approved by the full Board of Trustees.
             8         346. With minimum due diligence, the over-fair market rent price and
             9 excessive duration of the Promenade Lease, DRP Lease, and Inland Valley Lease,
            10 combined with the absence of any term allowing Borrego Health to terminate a lease
            11 prior to their respective lease terms, would have been readily apparent.
            12         347. No rational, informed Board of Trustees for a non-profit FQHC would
            13 have, or could have, lawfully approved the Promenade Lease, DRP Lease, or Inland
            14 Valley Lease for, inter alia, the following reasons:
            15               a.     The lease terms are unconscionable, and would result in the
            16 diversion of millions of “over-fair market rent” dollars of federal health program
            17 money to the Priest-owned entities;
            18               b.     The Promenade Lease calls for payment of nearly $40,000 per
            19 month over fair market rent, or more than $15,000,000 over fair market rent over the
            20 33-year life of the lease;
            21               c.     The DRP Lease calls for payment of nearly $39,000 per month
            22 over fair market rent, or approximately $14,000,000 over fair market rent over the
            23 30-year life of the lease;
            24               d.     The Inland Valley Lease calls for payment of more than $80,000
            25 per month over fair market rent, or approximately $29,000,000 above fair market
            26 rent over the 30-year life of the lease;
            27               e.     Approximately 90% of the revenue received by Borrego Health is
            28 paid by government funded health programs (Medi-Cal and Medicare), and therefore

                                                          101
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3545 Page 102 of 734
                                            735



             1 if the Priest Leases are enforceable, the vast majority of the over-fair market rent
             2 dollars paid could be government health program money;
             3               f.     The over-fair market rent facility lease payments expose Borrego
             4 Health to reductions in the allowed reimbursements paid Borrego Health in prior
             5 years; and
             6               g.     The close relationship between the Borrego Insiders and Daryl
             7 Priest and Travis Lyon (and, by extension, the Priest-owned LLCs) exposes the non-
             8 profit FQHC to adverse federal and state tax consequences. The fact that the rent
             9 money would inure to insiders meant Borrego Health could be found to be failing in
            10 its obligations to ensure that its assets were being used predominantly for charitable
            11 purposes, exposing it to possible revocation of its 501(c)(3) status.
            12         348. If enforceable, the Priest Leases would have siphoned $58 million in
            13 over-fair market rent money from Borrego Health over the life of the leases. Two of
            14 the leases (Inland Valley Lease in Barstow and DRP Lease in San Bernardino) have
            15 been terminated. The Promenade Lease in El Cajon remains in operation with
            16 Borrego Health paying twice fair market rent under protest, with permission of the
            17 DHCS monitor overseeing Borrego Health’s operations since late 2020. Without
            18 judicial intervention on the Promenade Square lease, and without recovery of the
            19 $11.8 million in overpaid rent to date, the actions of the Borrego Insiders and a
            20 handful of Priest entities will continue to present an immediate threat to disable an
            21 essential provider of primary healthcare services to underserved inland communities
            22 in San Diego, San Bernardino, and Riverside Counties.
            23         349. The Priest Leases were concealed from the full Borrego Health Board.
            24 Mikia Wallis and the Borrego Insiders knew what was contained in regular reports
            25 to the full Borrego Health board, and more importantly, what was not. The Borrego
            26 Insiders knew that financial reports presented to the full board did not include or
            27 otherwise call out the individual facility rents in a way that might suggest that they
            28 were over market or had unreasonably long lease terms. Financial reports to the full

                                                          102
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3546 Page 103 of 734
                                            735



             1 Borrego Health Board include only the aggregate rents paid on all facilities. The
             2 Borrego Insiders knew that Borrego Health’s personnel would make monthly rent
             3 payments as requested, without questioning the reasonableness of those monthly
             4 rent payments. Thus, unless the Priest Leases themselves were presented to the full
             5 Board of Trustees for vetting and approval, there was absolutely no way that
             6 Borrego Health would be put on notice of any potential financial or other injury
             7 associated with, or caused in whole or in part by over-market leases.
             8         350. The Borrego Insiders knew that full Board of Borrego Health would
             9 review only those contracts presented to them, and that they would never have
            10 reason to see the Priest LLC leases unless the Borrego Insiders managing the
            11 relationship with Priest LLCs decided to present the leases. Thus, unless disclosed
            12 by the Borrego Insiders, there was no way that Borrego Health would be put on
            13 notice of the terms of the three subject leases, or that the Borrego Insiders were
            14 working with Daryl Priest, Travis Lyon, and, through them, the three Priest LLC to
            15 make all management and operations decisions pertaining to the over-market leases
            16 for Borrego Health, and in a manner contrary to Borrego Health’s financial and
            17 compliance interests. The fact of injury from the leases and from the defendants’
            18 participation in Borrego Health’s facilities procurement and operations and therefore
            19 could not be discovered.
            20         351. The Borrego Insiders’ continued concealment of the leases from
            21 Borrego Health was a separate breach of fiduciary duty and/or duty of care in
            22 furtherance of the scheme to steal money from Borrego Health every time a monthly
            23 rent check was mailed to Borrego Health.
            24         352. The Priest Leases Scheme victimized Borrego Health in at least three
            25 ways:
            26               a.     Exposure to State Suspensions and Federal Disqualification: In
            27 California, government funded health program funds flow to FQHCs under the
            28 oversight of the California Department of Health Care Services (“DHCS”). DHCS

                                                          103
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3547 Page 104 of 734
                                            735



             1 is empowered to suspend all reimbursement for the provision of health care services
             2 to Medi-Cal members in accordance with, inter alia, Welfare and Institutions Code
             3 section 14107.11 and Title 42 of the Code of Federal Regulations section 455.23.
             4 Further, HRSA/Bureau of Primary Health Care (“BPHC”) monitors FQHCs and can
             5 suspend and/or disqualify Borrego Health from the FQHC program, including, inter
             6 alia, an action by HRSA requiring Borrego Health to cease all activities in the
             7 program pending corrective action (45 CFR 75.375) and possible suspension under
             8 HHS regulations (2 CFR Part 376, 45 CFR 75.2). DHCS is presently allowing
             9 Borrego Health to continue operations under the guidance, oversight, and direction
            10 of a DHCS-appointed independent monitor.
            11               b.     Reimbursement rate adjustments: The cost of owning, renting,
            12 maintaining, and upgrading clinic facilities is a substantial cost center for FQHCs
            13 providing primary health care services. As such, CMS recognizes the fair market
            14 value of facility costs reasonably incurred and truthfully reported by FQHCs in
            15 determining the reimbursement rates to be paid clinics operated by the FQHC. Cost
            16 reporting in excess of fair market value inflates the FQHC’s mandatory cost reports
            17 required under title 42 of the United States Code section 1395g, and exposes
            18 Borrego Health to an order that it retroactively amend its cost reports, potentially
            19 leading to a reduction in reimbursement rates paid by federally funded health
            20 programs.
            21               c.     Non-profit 501(c)(3) tax status: Contract payments to
            22 disqualified persons in excess of fair market values (or other unlawful diversion of a
            23 non-profit entity’s revenue to falsely disguise profits as operating expenses) can
            24 result in tax liability and/or loss of non-profit tax exemption status at both the federal
            25 and state levels. (See, e.g., Internal Revenue Code sections 4958(c)(1) and
            26 4958(f)(1) and related Treasury Department Regulations in section 53.4958-3.)
            27         353. The concealment of the Priest Leases Scheme detailed above and of the
            28 fact of injury resulting therefrom worked to perfection until it came to light in late

                                                           104
7275860.1                                       FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3548 Page 105 of 734
                                            735



             1 2020. At that time, following October 2020 raids by state and federal law
             2 enforcement authorities, DHCS suspended payment of federal funds to Borrego
             3 Health in conjunction with an investigation unrelated to the Priest Leases. In the
             4 course of the investigation, numerous contracts were reviewed, including the Priest
             5 Leases.
             6        354. Independent certified commercial real estate appraisers made the
             7 following findings: (a) on the Promenade Lease (El Cajon location), Borrego
             8 Health was paying $39,104.75 a month above fair market rent, or $469,257 above
             9 fair market rent per year; (b) on the DRP Lease (San Bernardino location), Borrego
            10 Health was paying $38,405.95 a month above fair market rent, or $460,871.40
            11 above fair market rent per year; and (c) on the Inland Valley Lease (Barstow
            12 location), Borrego Health was paying $80,025.25 a month above fair market rent, or
            13 $960,303 above fair market rent per year. Additionally, the lease terms of 30 to 33
            14 years on the Priest Leases is unreasonably over market as well. A reasonable fair
            15 market term for these commercial leases is three to five years.
            16        355. In order to remain in operation, Borrego Health signed an agreement
            17 with DHCS in February 2021 under which an independent monitor selected by
            18 DHCS would institute a robust corporate integrity and compliance program at
            19 Borrego Health. As is relevant here, DHCS’ monitor directed Borrego Health to:
            20 (1) stop paying above fair market rent on the Priest Leases; and (2) take action to
            21 address over-fair market rent payments, excessive 30-year lease terms, and the
            22 failure to include lease provisions under which Borrego Health may terminate the
            23 leases.
            24        356. In response, the Priest LLCs acted in unison. The Priest LLCs
            25 demanded that Borrego Health continue to make over-fair market rent payments
            26 under the Priest Leases. In a May 25, 2021 email, the Priest LLCs threatened that
            27 Borrego Health’s failure to pay the demanded rent on any one of the Priest Leases
            28

                                                          105
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3549 Page 106 of 734
                                            735



             1 will result in immediate eviction proceedings as to all three locations that are the
             2 subject of the Priest Leases.
             3         357. The Priest Leases are the subject of a related litigation pending as Case
             4 3:21-cv-04117-L-AGS, entitled Borrego Community Health Foundation v. Inland
             5 Valley Investments, LLC, et al.
             6         358. Because Borrego Health had no constructive or inquiry notice of the
             7 fact of injury throughout the eight-year life of the Priest Leases Scheme, Borrego
             8 Health’s right to recover money stolen by defendants extends back to the
             9 commencement of each lease. The accrual date applicable to RICO claims under
            10 the discovery rule (and to all other causes of action pled herein) is at the earliest
            11 October 2020, and Borrego Health may sue to recover for the entire eight years of
            12 losses.
            13         359. On information and belief, the Borrego Insiders were compensated for
            14 this access and control through kickbacks or other payments or remuneration.
            15         G.     The Borrego Insiders Paid Themselves Above-Market
            16                Compensation and Granted Themselves Improper Benefits and
            17                Covered It Up (the “Compensation/Benefits Scheme”)
            18         360. Bruce Hebets received a high salary from Borrego Health. For
            19 instance, in 2016, Bruce Hebets received more than $383,000 in salary, plus over
            20 $126,000 in “bonus,” in addition to a “car allowance” of $1,000 per month and a
            21 “cell allowance” of $350 per month. In 2017, Bruce Hebets received more than
            22 $529,000 in salary, plus over $87,000 in “bonus,” in addition to the car and cell
            23 allowance. The decision to increase Bruce Hebets’ salary in 2017 was made by
            24 Harry Ilsley, Dennis Nourse, and Mike Hickok without conducting any
            25 compensation study to determine what a fair market salary would be for a FQHC.
            26 The three Borrego Insiders then represented to the full Borrego Health Board that
            27 this salary was fair market and was in line with other comparable FQHCs (which
            28 would later be refuted when an actual compensation study was conducted). In 2018

                                                           106
7275860.1                                       FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3550 Page 107 of 734
                                            735



             1 (partial year), Bruce Hebets received more than $467,000 in salary, plus over
             2 $321,000 in “bonus,” in addition to the car and cell allowance.
             3        361. Karen Hebets also received a high salary from Borrego Health. For
             4 instance, in 2016, Karen Hebets received more than $227,000 in salary, plus over
             5 $40,000 in “bonus”. In 2017, Karen Hebets received more than $228,000 in salary,
             6 plus over $51,000 in “bonus”. In 2018 and 2019, Karen Hebets received more than
             7 $228,000 in salary, plus over $41,000 in “bonus”. In 2020, these salaries were
             8 reduced to more than $205,000 with a bonus of over $10,000.
             9        362. Diana Thompson, formerly Diana Troncoso, also received a high salary
            10 from Borrego Health. For instance, in 2017, Diana Thompson was paid nearly
            11 $338,000.
            12        363. Mikia Wallis also received a high salary from Borrego Health. For
            13 instance, in 2017, Mikia Wallis was paid over $440,000.
            14        364. The Borrego Insiders then proceeded to disguise their above-market
            15 salary and benefits by using improper evaluations. For instance, the Borrego
            16 Insiders used Jim Hebets and his companies to create a bogus evaluation of the
            17 compensation packages, concluding—unsurprisingly—that they were appropriate.
            18        365. One Borrego Insider even stated that the executives kept their base
            19 salary low but took additional payments as “bonuses” and received other benefits
            20 “to avoid scrutiny.”
            21        366. The Board Insiders also received compensation and other improper
            22 benefits. In July 2015, Bruce Hebets inquired from counsel whether or not a FQHC
            23 can pay or compensate board members, but counsel informed him that payments
            24 were prohibited, other than very narrow exceptions. Nevertheless, the Board
            25 Insiders received remuneration and benefits from Borrego Health, and were
            26 therefore effectively compensated by Borrego Health and incentivized to keep these
            27 Schemes going.
            28

                                                        107
7275860.1                                     FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3551 Page 108 of 734
                                            735



             1        367. For instance, the Board Insiders received free access to Borrego Health
             2 programs, benefits, prescription drugs and even hearing aids.
             3        368. An email from Mike Hickok dated August 31, 2020, confirmed the
             4 practice of improper remuneration and benefits to Board Insiders:
             5        This policy has existed since Borrego Health was founded. I asked about this
                      once myself (I currently get my pharmacy prescriptions as a perk) and was
             6        told this was an acceptable practice. My understanding is staff and families
             7        get the same perk plus no charge for medical and dental care. As far as the
                      missive that the cost of these items should be put back into the healthcare of
             8        the community is almost too laughable to be taken seriously in view of the
                      tens of millions of dollars we waste with double paying Providers or paying
             9        them for doing little to no work or paying firms like Premier Healthcare
                      millions of dollars that in-house staff could do and much less expensively or
            10        the many (probably most) real estate leases that we pay exorbitantly over
            11        market rent and for well in excess of typical lease terms. I've been trying to
                      call attention to these issues for years and gotten nowhere until the Borrego
            12        Sun stared to expose them. Alan Kuehn has been blowing the whistle for
                      years about medicare fraud in the contract dental practice and the only thing
            13        that this board chose to do regarding him was blackball him as a board
            14        member because he was threatening to Makia and Tim Martinez and the
                      ongoing scam with Premier Healthcare.
            15
                      So now calling attention to Trustees getting a perk of free pharmacy as some
            16        sort of impropriety is (on second thought) not almost laughable it takes the
                      cake ….
            17
            18        369. Later, as discussed below, when this arrangement was revealed, the
            19 Borrego Health Board ended the practice. However, in a September 2, 2020 e-mail
            20 between Mikia Wallis and the 2020 Board of Directors, it was clear that Mikia
            21 Wallis had never looked into the legality of such a practice during her tenure at
            22 Borrego Health. Further, none of the Board Insiders evaluated whether it was
            23 consistent with the by-laws or HRSA guidelines to allow such a practice.
            24        370. In 2019, Compensation Resources, Inc. (“CRI”) was retained by
            25 Borrego Health to review and analyze the compensation of 15 Borrego Health
            26 executives. CRI issued its report on or about July 19, 2019. In sum, of the 15
            27 executives reviewed, the CRI report concluded that the “Total Compensation
            28 Package (TCP) for eleven (11) of the Borrego officers is currently above the high

                                                         108
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3552 Page 109 of 734
                                            735



             1 end of their respective Market Ranges of Reasonableness.” In early 2020, a second
             2 CRI analysis was conducted for the other employees of Borrego Health, which also
             3 found excessive salaries.
             4        371. Mikia Wallis and the Borrego Insiders failed to raise the issues of
             5 nepotism, cronyism and above-market compensation to the full Borrego Health
             6 Board, and took steps to conceal the issues. When asked by the full Borrego Health
             7 Board to investigate and report on the compensation, Mikia Wallis’ submitted
             8 multiple reports which lacked the necessary information to make any appropriate
             9 decisions.
            10        372. For instance, in one version of Mikia Wallis’ report she used the
            11 salaries that had recently been reduced by an “equitable” adjustment, effectively
            12 attempting to conceal the past problems.
            13        On top of that, Bruce Hebets and Jim Hebets schemed to create a 162B
            14        Executive Bonus Plan that would pay Bruce Hebets and others additional
            15        compensation (a tax-free payment of $5,000 per month) while also siphoning
            16        millions to Jim Hebets’ insurance company.
            17        373. On information and belief, the Borrego Insiders were compensated for
            18 this access and control through kickbacks or other payments or remuneration.
            19        H.     The Borrego Insiders Used Nepotism and Cronyism to Funnel
            20               Money to their Friends and Family (the “Nepotism and Cronyism
            21               Scheme”)
            22        374. Bruce Hebets and Karen Hebets hired their family members to work at
            23 Borrego Health. The nepotistic hires benefited The Hebets family, so that they were
            24 encouraged to keep the above-described Schemes operating. This included Bruce
            25 and Karen’s daughter Tiffany Hebets (Collections Clerk, paid approximately
            26 $46,700/year and daughter Amanda Troncoso (Lead Billing Internal Auditor, base
            27 salary $49,920/year). Amanda Troncoso is also the daughter-in-law of Diana
            28 Thompson.

                                                          109
7275860.1                                     FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3553 Page 110 of 734
                                            735



             1        375. Mikia Wallis created a position for her husband, Jeremy Noble, at
             2 Borrego Health. Jeremy Noble was hired to be Director of Site Facility Compliance
             3 for Borrego Health in exchange for an annual base salary of $120,000, despite the
             4 fact that he lacked the skills needed for the position. Jeremy Noble was later
             5 arrested and charged with illegal firearms possession. Borrego Health is informed
             6 and believes that the criminal case (Case No. SCN420059) is ongoing.
             7        376. Diana Thompson hired her family members to work in Borrego
             8 Health’s billing department and elsewhere. The nepotistic hires benefited Diana
             9 Thompson and her family, so that she was encouraged to keep the above-described
            10 schemes operating. Moreover, by populating her department with family members,
            11 it effectively eliminated any meaningful oversight. These family members included:
            12 (1) her brother Jose Alfredo Villafana, IT Technician (base salary $45,760/year); (2)
            13 her brother Luis Troncoso, Facilities Maintenance Worker 3 (base salary:
            14 $57,200/year); (3) her sister Breanda Troncoso, Biller 2 (base salary $40,352/year);
            15 (4) her step-son Julian Thompson, Accounting Clerk 1 (base salary $45,739/year);
            16 (5) her step-son Jordan Thompson, Biller 2 (base salary $35,360); and (6) her
            17 daughter-in-law Amanda Troncoso, Lead Billing Internal Auditor (base salary
            18 $49,920/year). Borrego Health even hired Diana Thompson’s father to provide
            19 gardening services for Borrego Health.
            20        377. By hiring family members, as well as individuals that lacked
            21 experience in the healthcare industry and FQHC space, Borrego Insiders were able
            22 to conceal Schemes and the funds being funneled between and amongst the
            23 Defendants. As already alleged herein, Diana Thompson and Karen Hebets trained
            24 their family members in the accounting department on how to review and process
            25 claims. While this task was supposed to be performed by the Premier Defendants,
            26 they failed to do so. As a result, the Dental Defendants provided incorrect and
            27 fraudulent claims to Premier, who then submitted the claims to Borrego Health. The
            28 Borrego Insiders’ family members failed to recognize the issues with the claims due

                                                         110
7275860.1                                     FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3554 Page 111 of 734
                                            735



             1 to inexperience and the deceptive training provided by Karen Hebets and Diana
             2 Thompson.
             3        378. On information and belief, the Borrego Insiders were compensated for
             4 this access and control through kickbacks or other payments or remuneration.
             5        I.     The Borrego Insiders Tried To Purchase a Country Club to
             6               Personally Benefit Themselves (the “De Anza Country Club
             7               Scheme”)
             8        379. The October 2017 Executive/Finance Committee meeting was
             9 recorded. In that meeting, the Board Insiders and staff attendees (including Bruce
            10 Hebets, Mikia Wallis, and Diana Thompson) discussed a proposal to purchase the
            11 De Anza Country Club located in Borrego Springs. According to the meeting
            12 discussions: (1) the country club was not performing well economically and was
            13 contemplating selling its assets or filing for bankruptcy, (2) some Borrego Insiders
            14 own or owned homes nearby whose property values would face decline, and (3)
            15 some Borrego Insiders were creditors of the country club through a limited liability
            16 company.
            17        380. Three of the four Board Insiders (Mike Hickok, Dennis Nourse, and
            18 Harry Ilsley) were members and nearby homeowners at De Anza Country Club
            19 during a period when the club was ﬁnancially distressed and looking for a purchaser.
            20 Mike Hickok was on the De Anza Board of Trustees and headed a committee at De
            21 Anza to arrange a purchaser for the country club.
            22        381. Mike Hickok mentioned that he wanted Borrego Health to buy the club
            23 so that Borrego Health would pay membership fees and subsequently offer “free”
            24 membership and free golf course access to the medical and dental providers Borrego
            25 Health partnered with. Hickok admitted that most Borrego Health employees would
            26 not want this service, but that it made sense for Borrego Health to buy the country
            27 club since there was a “fire sale.”
            28

                                                         111
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3555 Page 112 of 734
                                            735



             1         382. Borrego Insiders decided not to present the plan to purchase the country
             2 club to the full Borrego Health Board. Specifically, Chuck Kimball indicated
             3 several times during the meeting that if the issue were presented to the full Borrego
             4 Health Board, the Board would “f**k it up.” (Explicative removed.) Kimball went
             5 on to state that the purpose of the Executive Committee was to make decisions
             6 without consulting the full Borrego Health Board.
             7         383. Following the October 2017 meeting, Borrego Health made a formal
             8 oﬀer to purchase the country club, including paying earnest money on the deal. As
             9 usual, the Borrego Insiders did not take the De Anza transaction to the full Board for
            10 its review or approval.
            11         384. Borrego Insiders sent a letter of intent and a “good-faith deposit” to De
            12 Anza, without the knowledge or approval of the full Board. It was only after De
            13 Anza shared the letter with its shareholders that this scheme was discovered by
            14 others.
            15         385. In fact, in the recorded October 2017 Executive/Finance Committee
            16 meeting, the Borrego Insiders explicitly acknowledge that members of the full
            17 Board would disapprove of such a purchase. Borrego Health does not know why
            18 the Borrego Insiders wanted a FQHC—i.e., a healthcare provider for underserved
            19 communities—to purchase a country club, though Borrego Health suspects that
            20 some or all of those individuals would personally benefit from such a transaction, at
            21 the expense of Borrego Health.
            22         386. By email dated November 18, 2017, outside counsel for Borrego
            23 Health advised Mikia Wallis that there were potentially “severe consequences” to
            24 Borrego Health from the proposed transaction, outlining some of the major potential
            25 issues.
            26         387. The Borrego Insiders continued to pursue this deal into 2018, even after
            27 telling the full Board that it was “dead,” and to hide that fact from the full Board.
            28 Diana Thompson stated, in an Executive Committee meeting in 2018, “when we left

                                                           112
7275860.1                                       FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3556 Page 113 of 734
                                            735



             1 the last meeting with the board, the full board, we said or the executive committee,
             2 we said, we’re not going to pursue this. We do have the obligation to notify them
             3 that we’re discussing this.”
             4         388. The Borrego Insiders acknowledged that they were interested parties.
             5 At one point, in a 2018 Executive Committee meeting, Harry Ilsley said, “But do we
             6 really -- the three of you have got to recuse yourself from voting. That you have
             7 ownership in the LLC, you have homes that may be devalued if De Anza goes
             8 away.” It is not clear which three individuals or what LLC he was referencing.
             9         389. The Borrego Insiders actively sought to conceal this proposed
            10 transaction, with one Borrego Insider stating at a 2018 Executive Committee
            11 meeting, “someone has offered to partner with us but the details are totally
            12 unknown. I personally don’t want that information to leak out anywhere, but it’s in
            13 the community already, I suppose, and you may hear about it and I don’t want to
            14 have you have to call me to find out what’s going on, okay?”
            15         390. It appears that Mike Hickok and Harry Illsley were unable to obtain a
            16 written favorable vote from a majority of the equity members at the De Anza club.
            17 Therefore, despite the Borrego Insider’s efforts, the deal did not move forward, and
            18 de Anza returned the earnest money.
            19         J.    The Borrego Insiders Attempted to Pay Bruce Hebets a $5 Million
            20               Payout (the “Payout Scheme”)
            21         391. In or about March 2018, Bruce Hebets suffered from a worsening
            22 illness and decided to step down from his position as CEO. Without putting it on
            23 the agenda, the Borrego Insiders proposed a $5 million payout for Bruce Hebets as
            24 part of a “transition agreement.” Around that time, the idea was first presented to
            25 the full Board of Trustees. At that time it was first presented to the full Board, an
            26 agreement had already been created, which was drafted by Mikia Wallis.
            27         392. Mikia Wallis drafted the agreement at Bruce Hebets’ request. Mikia
            28 Wallis did not advise Borrego Health to get separate counsel with respect to the

                                                          113
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3557 Page 114 of 734
                                            735



             1 agreement, and told a Borrego Health Board member on or about April 5, 2018 that
             2 she “represented no one” in the transaction, despite that fact that she was Borrego
             3 Health’s Chief Legal Officer and would shortly become Borrego Health’s CEO.
             4 The Board member encouraged Mikia Wallis to do her own research about to whom
             5 she owes a duty of loyalty as general counsel for Borrego Health. Mikia Wallis
             6 argued that she was not required to represent the best interests of the organization
             7 (which is wrong), that she did not represent anyone with respect to this transaction,
             8 and that there was nothing wrong with having drafted the contract for Bruce Hebets.
             9        393. Despite her protestations to the Board, Mikia Wallis was aware of her
            10 conflict. At one Executive Committee meeting in 2018, Mikia Wallis discussed
            11 presenting a proposed agreement to the full Board. She said, “My concern is, I don't
            12 know that’s best coming from me, considering the inherent conflict of interest.”
            13        394. The Borrego Insiders did not do any diligence or get an independent
            14 analysis with respect to a proper amount for a buyout under the circumstances. Two
            15 other Board members, who were not Board Insiders, objected to the payout, stated
            16 that additional diligence was required and asked for the vote to be delayed to allow
            17 for additional evaluation.
            18        395. During the discussion of the transition agreement, the Borrego Insiders
            19 argued that the extremely high buyout was appropriate due to the fact that Bruce
            20 Hebets had not received retirement benefits. However, this was false as Bruce
            21 Hebets had a 162B plan. (The existence of the 162B plan was concealed by the
            22 Borrego Insiders, including from the auditor retained to evaluate the appropriate
            23 amount of Bruce Hebets’ payout.)
            24        396. The vote on the “transition agreement” and buyout was postponed to a
            25 later meeting.
            26        397. At the April 5, 2018 Borrego Health Board meeting, the issue was
            27 discussed. The Borrego Insiders brought a man named Frank Church, who was
            28 supposedly an “independent auditor,” to appear by phone in the meeting. Frank

                                                          114
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3558 Page 115 of 734
                                            735



             1 Church did not appear to have any expertise or knowledge regarding the
             2 reasonableness of the payout.
             3        398. On July 13, 2018, Chuck Kimball e-mailed Mikia Wallis and Diana
             4 Thompson, stating that Bruce Hebets indicated that he would retire, but wanted to
             5 remain on payroll at a “reduced rate” for 5 years at a rate from his $500,000 annual
             6 salary. Chuck Kimball proceeded to state that after Bruce Hebets retired, Mikia
             7 Wallis and the Board Insiders would be completely in charge of Borrego Health.
             8        399. Later, still needing an independent evaluation of the payout amount, at
             9 the insistence of the non-Borrego Insider Board Trustees, Borrego Health retained
            10 FW Cook to conduct an evaluation. FW Cook employee Marty Katz provided the
            11 results. After reviewing salaries and payouts for other CEOs, FW Cook concluded
            12 that an appropriate payout would be $2 million, not the $5 million that Bruce Hebets
            13 and Mikia Wallis proposed. The analysis was provided without knowledge of the
            14 162B plan and benefits, and was therefore fundamentally flawed.
            15        400. During the valuation process, Chuck Kimball and Mikia Wallis
            16 exchanged several e-mails, including an e-mail on September 27, 2018 which
            17 indicates an intent to exclude non-Borrego Insiders from Bruce Hebets’ retirement
            18 negotiations.
            19        401. After this valuation occurred, Chuck Kimball proposed offering an
            20 accelerated payment structure to ensure Bruce Hebets received the full amount
            21 before his passing. During these e-mail exchanges with Mikia Wallis, Chuck
            22 Kimball admitted that the Borrego Insiders were making decisions about Borrego
            23 Health which involved “dodging the law.”
            24        402. This $2 million payout amount was eventually agreed to by the full
            25 Borrego Health Board and Bruce Hebets.
            26        403. Months after the $2 million payout had already been completed,
            27 Borrego Health once again consulted with FW cook about the propriety of the 162B
            28 plan. At that time, Marty Katz explained that he was told by Mikia Wallis that

                                                         115
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3559 Page 116 of 734
                                            735



             1 payments made to a 162B plan for Bruce Hebets’ benefits were performance-based
             2 bonuses, which was false. In actuality, this was a part of Bruce Hebets’ regular
             3 compensation. Marty Katz told a Borrego Health Board member that if he had
             4 known this information, the payout amount would have been lower.
             5        404. The Borrego Insiders also attempted to conceal the impropriety of the
             6 generous 162B plan offered to some Borrego Insiders. In spring or summer 2019,
             7 certain Borrego Health Board Trustees asked Mikia Wallis to evaluate the current
             8 162B plan and, if necessary, find alternative plans. Mikia Wallis invited an
             9 individual to address the issue with the full Borrego Health board. The individual
            10 identified himself as “Jim” without providing a last name. He proceeded to praise
            11 the 162B plan. It was only when a non-Borrego Insider Board member asked for his
            12 last name did Jim disclose that he was, in fact, Jim Hebets.
            13        405. Minutes from a meeting of Borrego Insiders from June 12, 2020
            14 indicate that Borrego Health received a 20% remittance payment penalty from the
            15 IRS as a result of the Board Insider’s decision to pay Bruce Hebets an excess of $1
            16 million in 2018.
            17        406. On information and belief, the Borrego Insiders were compensated for
            18 this access and control through kickbacks or other payments or remuneration.
            19        K.     The Borrego Insiders Funneled Money to Bruce Hebets’ Brother,
            20               Jim Hebets, and Jim Hebets’ Firm (the “Jim Hebets Scheme“)
            21        407. The Borrego Insiders entered into an arrangements, on behalf of
            22 Borrego Health, with Jim Hebets and/or companies owned or controlled by Jim
            23 Hebets, The Hebets Company, funneling additional Borrego Health funds to
            24 Borrego Insider cronies and family members.
            25        408. For instance, the Borrego Insiders collaborated to have Jim Hebets
            26 and/or his companies review and approve sham, inflated salaries for Borrego Health
            27 executives, including the Borrego Insiders.
            28

                                                         116
7275860.1                                     FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3560 Page 117 of 734
                                            735



             1        409. Jim Hebets directed the review and approval process through The
             2 Hebets Company. However, when the sham fair market value analyses were
             3 presented to the Borrego Health Board, Jim Hebets ensured that his name was
             4 removed by the masthead and documents were carefully drafted to avoid reference
             5 to Jim Hebets and to conceal his involvement and obvious conflict of interest, even
             6 neglecting to mention his last name when introducing himself.
             7        410. Jim Hebets’ firm, The Hebets Company, is located in Phoenix,
             8 Arizona. On the website (www.hebetsco.com), he boasts of specializing in FQHCs
             9 and creating ways to increase executive compensation/benefits beyond what is
            10 specified in IRS code for qualified 403(b) or 457(b) plans.
            11        411. The Hebets Company’s current website makes it perfectly clear that
            12 their agenda is to maximize executive compensation:
            13        Today’s competitive labor market makes it increasingly difficult for
                      businesses to hire and retain highly skilled employees. The Hebets
            14        Company’s Executive Compensation and Supplemental Fringe Benefits
            15        division assists these enterprises in designing and implementing innovative
                      compensation and benefit programs for purposes of recruiting and rewarding
            16        those key executives who are instrumental to the profitability of the company.
                      Legislative changes over the years have repeatedly reduced the qualified plan
            17        benefits that can be allocated to this select group of highly compensated
                      employees resulting in “reverse discrimination”. But there are many
            18        worthwhile solutions.
            19
            20        412. Jim Hebets’ firm also boasts that it provides “Estate planning for the
            21 ‘exceptionally wealthy,’” a seeming mismatch for Borrego as a non-profit, but
            22 perhaps exactly what Bruce Hebets sought and why Jim Hebets was involved.
            23        413. Bruce Hebets, Diana Thompson, and Mikia Wallis also schemed with
            24 The Hebets Company to increase executive compensation through contributions
            25 through automatic “bonuses” that were paid to 162B plans. These automatic
            26 bonuses paid to many Borrego Insiders, including Bruce Hebets, Diana Thompson,
            27 Mikia Wallis, and Karen Hebets.
            28

                                                         117
7275860.1                                     FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3561 Page 118 of 734
                                            735



             1        414. Though the 162B plans appeared at first glance to be life insurance
             2 plans, they were never intended as such but were instead a strategy to pay above
             3 market to insiders without added scrutiny or tax liability. Bruce Hebets and Karen
             4 Hebets worked directly with the Vice President and General Manager of The Hebets
             5 Company to “borrow” from their 162B accounts and transfer the funds from their
             6 respective 162B plans into their checking account.
             7        415. These were significant payments. As of 2015, Bruce Hebets was
             8 receiving $3,500 per month for his 162B plan, and by 2017, he was receiving $5,000
             9 per month. These amounts were free of taxes, as on top of these payments, Borrego
            10 Health was also paying a tax true up. As a result of this scheme, Bruce Hebets,
            11 Karen Hebets, and other Borrego Insiders got tax free bonuses every month, which
            12 they subsequently cashed out.
            13        416. Even after the loans, the value of these plans was substantial. As of
            14 July 9, 2018, Bruce Hebets’ 162B life insurance value was $1,236,000. It appears
            15 this approximate value was paid out to Bruce Hebets’ estate at the time of his death
            16 after a long illness in January 2019.
            17        417. Jim Hebets and The Hebets Company actively attempted to persuade
            18 Borrego Health to continue to use the 162B plans through The Hebets Company.
            19 For example, in July 2019, Jim Hebets e-mailed Mikia Wallis explaining the nature
            20 of the 162B program and the benefits of the plan. During these discussions, Jim
            21 Hebets made several misrepresentations. For example, Jim Hebets represented that
            22 the 162B would not subject Borrego Health to tax penalties. However, as alleged
            23 herein by way of example, the 162B plan in fact subjected Borrego Health to a tax
            24 penalty due to Bruce Hebets total compensation exceeding $1 million.
            25        418. These 162B plan payments also created a windfall for Jim Hebets and
            26 The Hebets Company, which sold and managed the plan. As of July 2020, Borrego
            27 Health was paying $240,000 per month for the 162B plans. This is immensely
            28 disproportionate.

                                                         118
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3562 Page 119 of 734
                                            735



             1        419. For scale, Borrego Health paid in full for a bridge life insurance policy
             2 that would allow staff losing their 162B plan benefit to retain up to two-times their
             3 salary, up to $500,000, in group term life insurance until they could select their own
             4 insurance at their own cost via annual open enrollment. The cost of that plan was
             5 $15,420 per month.
             6        420. The Borrego Insiders, Jim Hebets, and The Hebets Company knew that
             7 the Borrego Health Board members would rely on the compensation analyses and
             8 would have no other resource to question them. Thus, the compensation analyses
             9 were presented to the Board of Trustees for vetting and approval, but there was no
            10 way that Borrego Health would be put on notice of Jim Hebets’ and his company’s
            11 involvement or of any potential financial or other injury associated with, or caused
            12 in whole or in part by the flawed compensation analyses. Nor would the Board have
            13 any access to facts that might put them on inquiry notice that the Borrego Insiders,
            14 Jim Hebets, and The Hebets Company were working together to siphon funds from
            15 Borrego Health.
            16        421. There is little doubt that Borrego Health has only begun to scratch the
            17 surface of Jim Hebets’ involvement in these Schemes. Jim Hebets met repeatedly
            18 alone and away from the Borrego Health offices with Bruce Hebets and Daryl
            19 Priest. Because Jim Hebets lived in Arizona, he would have had to travel for these
            20 in-person meetings with Daryl Priest. For example, Jim Hebets, Bruce Hebets, Jim
            21 Hebets’ son, and Daryl Priest met at Coasterra Mexican Restaurant in San Diego on
            22 March 18, 2016. On February 27, 2018, they met in the lobby of Loews Resort in
            23 Coronado.
            24        422. On information and belief, the Borrego Insiders were compensated for
            25 this access and control through kickbacks or other payments or remuneration. For
            26 example, each time Bruce Hebets would give Jim Hebets access to his contacts at
            27 other FQHCs, Jim Hebets executed a “Compensation Split Arrangement between
            28 The Hebets Company and Bruce Hebets” that falsely listed Bruce Hebets as the

                                                         119
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3563 Page 120 of 734
                                            735



             1 “Insurance Agent” and paid Bruce 10% of the proceeds. Jim Hebets and Bruce
             2 Hebets executed such arrangements after Jim Hebets made sales to Rural Health
             3 Care, Inc., San Ysidro Health Center, Tony Weber (CEO of Golden Valley Health
             4 Centers), and Francisco Castellon (CEO of Omni Family Health). It is likely that
             5 discovery will uncover similar arrangements in which the money Jim Hebets
             6 siphoned off from Borrego Health would make it back to Bruce Hebets and/or
             7 Defendants.
             8         L.     Borrego Insider Chuck Kimball Leased a Barn to Borrego Health
             9                (the “Julian Barn Scheme”)
            10         423. Julian Medical Foundation, Inc. is a 501(c)(3) organization. Its stated
            11 mission is “To foster the presence and availability of high quality health and
            12 medical care within the Julian area including being the owner of a rural health clinic
            13 in Julian and the promotion and sponsorship of activities addressing community-
            14 wide issues of health and safety.”
            15         424. Julian Medical Foundation sought out property in Julian, California and
            16 solicited Bruce Hebets to operate a clinic in Julian. Chuck Kimball led the efforts
            17 while he was Vice President of Julian Medical Foundation.
            18         425. Bruce Hebets and Chuck Kimball were acquaintances prior to their
            19 relationship at Borrego Health.
            20         426. Chuck Kimball repeatedly emailed Bruce Hebets starting in April 2009
            21 regarding acquiring a barn to serve as a site for a future clinic operated by Borrego
            22 Health in Julian. The target property identified by Chuck Kimball was a horse barn
            23 and surrounding land located at 2717 A Street in Julian, California (the “Horse
            24 Barn”).
            25         427. Chuck Kimball saw an opportunity to benefit the Julian Medical
            26 Foundation to the detriment of Borrego Health. Julian Medical Foundation could
            27 acquire the property, but it was not in a position to utilize it, finance it without
            28 subsidization, or develop it. Chuck Kimball wanted Borrego Health to subsidize the

                                                            120
7275860.1                                       FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3564 Page 121 of 734
                                            735



             1 acquisition and development of the property and insulate Julian Medical Foundation
             2 from any risk from acquiring the property.
             3        428. Thus, Julian Medical Foundation would acquire a property that was not
             4 useable in its current state, but Borrego Health would bear the risk of the acquisition
             5 by paying all costs of acquisition and ongoing financing to Julian Medical
             6 Foundation, including incurring liability for any mortgages secured by Julian
             7 Medical Foundation.
             8        429. In July and August 2009, Chuck Kimball began a fundraising drive for
             9 Julian Medical Foundation to acquire a property in Julian for a medical clinic.
            10        430. Even before Julian Medical Foundation was able to acquire the Horse
            11 Barn, Chuck Kimball coordinated the drafting of a lease between the Horse Barn
            12 owners and Borrego Health.
            13        431. Later, Chuck Kimball proposed that Julian Medical Foundation lease
            14 the Horse Barn to Borrego Health with Julian Medical Foundation as the landlord.
            15        432. Borrego Health agreed to lease the Horse Barn without even
            16 considering whether there was a market for the services should the Horse Barn be
            17 remodeled to accommodate a new clinic. Instead, market analyses were conducted
            18 years later with the Horse Barn remaining unused by Borrego Health.
            19        433. In October 2010, Borrego Health entered into an agreement with Julian
            20 Medical Foundation and Chuck Kimball to lease the Horse Barn. The lease terms
            21 were one-sided and the product of Julian Medical Foundation and Chuck Kimball
            22 exerting control over Borrego Health.
            23        434. The leased space was not necessary and the Horse Barn was unneeded
            24 and unusable.
            25        435. Initially, there was no specific lease amount specified. Instead, it was
            26 set at whatever expenses Julian Medical Foundation had to own the property. As a
            27 result of the ambiguity of the monthly rent, the Borrego Insiders and Julian Medical
            28

                                                          121
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3565 Page 122 of 734
                                            735



             1 Foundation could manipulate the amount of rent for Borrego Health to pay to the
             2 Julian Medical Foundation.
             3        436. The Horse Barn was unusable by Borrego Health, but it paid the full
             4 rent to Julian Medical Foundation and then subleased the Horse Barn back to the
             5 original owners at a significant loss to Borrego Health, only reinforcing that the fair
             6 market rent for the Horse Barn was far less than Borrego Health was paying.
             7        437. The Borrego Insiders and Julian Medical Foundation were all aware
             8 that Borrego Health had no use for a barn and no intention to utilize it. Yet, they set
             9 the term of the lease at 20 years in duration, with no termination clause for Borrego
            10 Health, not even if the property was never developed into a medical clinic. If the
            11 lease were to be terminated or abandoned, Borrego Health agreed to pay off all
            12 mortgages on the Horse Barn.
            13        438. Later, by First Amendment to the lease dated November 7, 2013,
            14 Borrego Health agreed to Julian Medical Foundation’s demand to increase the rent
            15 from at least $6,284 per month to $7,179, despite no additional consideration being
            16 offered by Julian Medical Foundation and Chuck Kimball. The only justification
            17 was increased costs incurred by Julian Medical Foundation due to a property tax
            18 increase.
            19        439. Ultimately, the Horse Barn lease was so unsustainable that Borrego
            20 Health had to negotiate with Chuck Kimball to release Borrego Health from the
            21 lease, but that did not occur until 2022. At that point, Chuck Kimball was aware of
            22 government scrutiny.
            23        440. Neither Chuck Kimball nor the Julian Medical Foundation has returned
            24 or forgiven any rent for the Horse Barn.
            25        441. The Borrego Insiders knew that Borrego Health Board members would
            26 review only those contracts presented to them, and that they would never have
            27 reason to see The Horse Barn lease unless it was presented to them. Thus, unless
            28 the Horse Barn lease itself was presented to the Board for vetting and approval,

                                                          122
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3566 Page 123 of 734
                                            735



             1 there was absolutely no way that Borrego Health would be put on notice of any
             2 potential financial or other injury associated with, or caused in whole or in part by
             3 over-market leases. Nor would the Board have any access to facts that might put
             4 them on inquiry notice that the Borrego Insiders were working together to siphon
             5 funds from Borrego Health.
             6         442. On information and belief, the Borrego Insiders were compensated for
             7 this access and control through kickbacks or other payments or remuneration.
             8         M.    Borrego Insider Dennis Nourse Sold Property to Borrego Health to
             9               be Developed by Priest (the “Property Development Scheme”)
            10         443. Bruce Hebets and Dennis Nourse were friends prior to their
            11 relationship at Borrego Health.
            12         444. Dennis Nourse owned commercial property located on Palm Canyon
            13 Drive in Borrego, Springs with Assessor Parcel Number (“APN”) 198-010-23-00
            14 (“Palm Canyon Parcel”), which fronts on Palm Canyon Drive just west of Country
            15 Club Road.
            16         445. Dennis Nourse saw an opportunity to benefit himself by facilitating a
            17 sale the Palm Canyon Parcel and involving Borrego Health.
            18         446. Dennis Nourse approached Bruce Hebets to discuss a sale. Bruce
            19 Hebets saw an opportunity to involve Daryl Priest to develop the property, who he
            20 had familiarity with after two other clinic leases.
            21         447. Dennis Nourse, Bruce Hebets, and Daryl Priest collaborated so that
            22 Daryl Priest would acquire the commercially worthless parcel from Dennis Nourse,
            23 and then have it developed by Daryl Priest and his affiliated companies. Once it
            24 was developed, the property would then be leased to Borrego Health at
            25 commercially unreasonable terms.
            26         448. Thus, the scheme was hatched whereby Dennis Nourse would be
            27 overpaid for the Palm Canyon Parcel, half of which was undevelopable foothills.
            28 Daryl Priest and his entities would overpay, but make up any loss by overcharging

                                                          123
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3567 Page 124 of 734
                                            735



             1 Borrego Health for development and the lease of the property. The Borrego Insiders
             2 would sacrifice Borrego Health’s interests could further ingratiate himself with
             3 Daryl Priest and to keep Dennis Nourse cooperative on the Executive/Finance
             4 Committee and to buy off Dennis Nourse as a future collaborator.
             5         449. Daryl Priest, though a wholly owned subsidiary created to purchase the
             6 Palm Canyon Parcel, Inland Development, LLC, entered into a contract with Dennis
             7 Nourse for the purchase.
             8         450. Contemporaneously, Bruce Hebets negotiated lease terms with Daryl
             9 Priest that were disadvantageous to Borrego Health.
            10         451. Dennis Nourse and Bruce Hebets brought the proposal to the
            11 Executive/Finance Committee, which was controlled by Borrego Insiders, including
            12 Dennis Nourse.
            13         452. Bruce Hebets and Mikia Wallis knew that such a business arrangement
            14 blatantly involved conflicts of interests. As a result, Bruce Hebets directed Mikia
            15 Wallis to perform an analysis demonstrating how the transaction could proceed with
            16 Dennis Nourse recusing himself from a vote.
            17         453. Rather than conduct an impartial and independent analysis, Mikia
            18 Wallis endeavored to perform an outcome-oriented and flawed “analysis” that
            19 would give the Executive/Finance Committee poor legal advice that the arrangement
            20 was acceptable, at the expense of Borrego Health.
            21         454. Mikia Wallis brought the cursory analysis supporting the transaction to
            22 Bruce Hebets to ask him if she “was on the right track.” Thus, she was not
            23 exercising proper independence as Borrego Health’s attorney, and was instead being
            24 controlled and directed by and agreeing to be nothing more than an instrument of
            25 Bruce Hebets.
            26         455. Mikia Wallis completed her internal analysis to the satisfaction of
            27 Bruce Hebets, and then sent it to outside counsel, who did not practice in the area of
            28 real estate transactions or conflict of interests issues for review and approval. With

                                                          124
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3568 Page 125 of 734
                                            735



             1 minor modification, outside counsel approved the analysis, and the matter was
             2 brought to the Executive/Finance Committee for approval.
             3        456. The Board Insiders approved the proposed transaction with little
             4 questioning or scrutiny, including agreeing to the one-sided lease terms that Bruce
             5 Hebets had negotiated with Daryl Priest.
             6        457. Daryl Priest then immediately negotiated a lease with Borrego Health
             7 (the “Nourse Parcel Lease”), even though there was no land yet acquired by Daryl
             8 Priest and no structure to lease.
             9        458. The lease terms were not commercially reasonable, and included an
            10 agreement that Borrego Health would start paying full rent after Daryl Priest secured
            11 approved building plans, even though no one realistically expected to be able to
            12 occupy a finished structure for more than a year later.
            13        459. In other words, Borrego Health would be paying full rent for no
            14 property and still paying for much of the construction costs with no building to even
            15 use.
            16        460. The development of the land, however, still had to go through the local
            17 government approval process, including its design review committee. At the design
            18 review committee, the development was met with resistance.
            19        461. Rather than counter the resistance, Daryl Priest sought to modify the
            20 terms of the deal to further his interests and make Borrego Health’s position even
            21 less desirable.
            22        462. Daryl Priest proposed that Borrego Health purchase the Palm Canyon
            23 Parcel directly from Dennis Nourse, and that Daryl Priest would then develop the
            24 property under contract with Borrego Health.
            25        463. Thus it was agreed that the purchase agreement negotiated by Daryl
            26 Priest would be assigned to Borrego Health. Borrego Health would return Daryl
            27 Priest’s earnest money, and Borrego Health would pay $400,000 Dennis Nourse to
            28 purchase the Palm Canyon Parcel.

                                                          125
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3569 Page 126 of 734
                                            735



             1           464. This time, Bruce Hebets and Dennis Nourse decided not to go back to
             2 the full Borrego Health Board of Trustees or even the Board Insiders.
             3           465. Instead, Bruce Hebets and Denis Nourse brought Borrego Insider Harry
             4 Ilsley into the fold. Harry Ilsley knew that the Board should have been involved,
             5 but agreed to work with Bruce Hebets and Denis Nourse to get the deal closed.
             6           466. Harry Ilsley, Dennis Nourse, and Bruce Hebets knew that Borrego
             7 Health Board members would review only those contracts presented to them, and
             8 that they would never have reason to see acquisition documents unless he or Bruce
             9 Hebets presented them. Thus, unless the deal documents were presented to the
            10 Board of Trustees for vetting and approval, they would not know of any potential
            11 financial or other injury associated with, or caused in whole or in part by the real
            12 property transaction. Nor would the Board have any access to facts that might put
            13 them on inquiry notice that Harry Ilsley, Bruce Hebets, and Dennis Nourse were
            14 working together to siphon funds from Borrego Health to Dennis Nourse and Daryl
            15 Priest.
            16           467. As usual, Bruce Hebets and Mikia Wallis facilitated and directed the
            17 actions necessary to execute the deal documents without knowledge of Borrego
            18 Health’s full Board.
            19           468. On information and belief, the Borrego Insiders were compensated for
            20 this access and control through kickbacks or other payments or remuneration.
            21           N.    Bruce Hebets and Karen Hebets Create a Sham “Consulting”
            22                 Company and Contract with Premier To Obtain Payments From
            23                 Premier for the Various Schemes Which Benefited the Premier
            24                 Defendants (the “KBH Healthcare Consulting Scheme”)
            25           469. As discussed herein, various schemes were implemented which
            26 benefited Premier and the Premier Defendants which were hatched with the
            27 participation of support of the Borrego Insiders, including without limitation Bruce
            28

                                                          126
7275860.1                                       FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3570 Page 127 of 734
                                            735



             1 Hebets and Karen Hebets. This fact begs the question: what was in it for Bruce
             2 Hebets and Karen Hebets?
             3        470. Although Borrego Health alleges on information and belief that the
             4 Borrego Insiders were compensated for their participation in the various schemes
             5 through kickbacks or other payments or remuneration, the KBH Healthcare
             6 Consulting Scheme is one example which Borrego Health has recently discovered.
             7        471. KBH Healthcare Consulting was created in February 2017. The
             8 business address listed with the California Secretary of State is 3283 Broken Arrow
             9 Road, Borrego Springs, California 92004. At the time, this address is also listed as
            10 the home address for Bruce Hebets and Karen Hebets.
            11        472. The Operating Agreement for KBH Healthcare Consulting was drafted
            12 by Mikia Wallis and the Articles of Incorporation for KBH Healthcare Consulting
            13 were created and filed by Mikia Wallis, at the same time she was Chief Legal
            14 Officer for Borrego Health. The Operating Agreement states that Bruce Hebets and
            15 Karen Hebets will each of 50 percent ownership, and each will contribute $500 of
            16 capital.
            17        473.   On or about February 1, 2017, KBH Healthcare Consulting entered
            18 into a written contract with Premier entitled “Consulting Agreement” (the
            19 KBH/Premier Contract”). The “services” that KBH Healthcare Consulting agreed
            20 to provide pertained to OMNI Family Health, which Premier apparently wanted to
            21 contract with to manage their dental services. KBH Healthcare Consulting was
            22 supposed to “assist [Premier] in the procurement of a management contract
            23 regarding management of dental services with OMNI Family Health,” to “consult on
            24 a weekly basis on the current status of the management agreement between
            25 [Premier] and OMNI Family Health,” to “advise and assist [Premier] with
            26 compliance of regulations relating to the operation of FQHCs as to dental
            27 services,” to “advice [sic] [Premier] on changes to laws and regulations relating to
            28

                                                         127
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3571 Page 128 of 734
                                            735



             1 FQHC,” and to “advise and assist [Premier] as to best practices related to
             2 management of dental services for a FQHC.”
             3        474. Under the KBH/Premier Contract, KBH Healthcare was to be paid a
             4 retainer of $200,000 and 5 percent of the “adjusted net income” from amounts
             5 received from Premier’s contract with OMNI Family Health. Notably, other than
             6 describing the type of services that may be provided, the Premier/KBH Contract
             7 Amendment does not have any requirements that KBH Helathcare Consultant spend
             8 any minimum number of hours, accomplish any minimum number of tasks or have
             9 any preconditions to payment of $2 million whatsoever.
            10        475. Bruce Hebets and Karen Hebets sent the signed KBH/Premier Contract
            11 to Daryl Priest on February 10, 2017. By email the same day, Bruce Hebets sent an
            12 email to Daryl Priest which read, “Here is the signed contract what time can I get
            13 the check” [sic].
            14        476. Apparently, Premier never was able to contract with OMNI, so the
            15 sham contract designed to funnel money from Premier and the Premier Defendants
            16 to Bruce Hebets and Karen Hebets failed to work as intended. Undeterred, the
            17 Scheme was modified.
            18        477.   In May 2017, the Premier/KBH Contract was amended (the
            19 “Premier/KBH Contract Amendment”). The Premier/KBH Contract Amendment
            20 stated that the “services” KBH Healthcare Consulting was to provide was to assist
            21 Premier in the “procurement of management services agreements regarding
            22 management of dental services with FQHC’s in the State of California and in other
            23 states,” “to consult on a weekly basis on the current status of the management
            24 services agreement between [Premier] and any FQHC,” to “advise and assist
            25 [Premier] with compliance matters,” and “to advice [sic] [Premier] on changes to
            26 laws and regulations relating to the operation of FQHC,” and “to advise and assist
            27 [Premier] as to the best practices related to management of dental services for a
            28 FQHC.”

                                                         128
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3572 Page 129 of 734
                                            735



             1        478. The Premier/KBH Contract Amendment noted that a $200,000 retainer
             2 had already been paid to KBH Healthcare Consultants (owed 50-50 by Bruce Hebets
             3 and Karen Hebets). The Premier/KBH Contract Amendment also required Premier
             4 to pay KBH Healthcare Consultants (owed 50-50 by Bruce Hebets and Karen
             5 Hebets) the sums of $75,000 per month for a term of 24 months (i.e. a total of $2
             6 million). Notably, other than describing the type of services that may be provided,
             7 the Premier/KBH Contract Amendment does not have any requirements that KBH
             8 Healthcare Consultant spend any minimum number of hours, accomplish any
             9 minimum number of tasks or have any preconditions to payment of $2 million
            10 whatsoever.
            11        479. KBH Healthcare Consulting had a bank account with Chase, including
            12 a debit card.
            13        480. On or about February 13, 2017, a deposit of $200,000 was made to that
            14 account, which corresponds to the retainer amount due under the KBH/Premier
            15 Contract.
            16        481. On or about August 23, 2017, the debit card was used to obtain cash
            17 advances at Barona Resort and Casino for over $5,000.
            18        482. Between August 26 and September 1, 2017. the debit card was used to
            19 obtain cash advances at Barona Resort and Casino for over $20,000.
            20        483. On or about September 20, 2017, the debit card was used to obtain cash
            21 advances at Barona Resort and Casino for over $5,000. The following day, attempts
            22 were made to withdraw money in excess of $5,000.
            23        484. Between October 11 and 12, 2017, the debit card was used to obtain
            24 cash advances at Barona Resort and Casino for over $9,000. On October 12, 2017,
            25 two attempts to withdraw $1,000 each were declined.
            26        485. On or about June 8, 2019, the debit card was used to obtain cash
            27 advances at Barona Resort and Casino for over $4,000.
            28

                                                        129
7275860.1                                     FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3573 Page 130 of 734
                                            735



             1 VI.    CLEANING HOUSE
             2        486. After Bruce Hebets’ death, the Borrego Health board found themselves
             3 picking up the pieces of a highly disorganized organization. Since that time, the
             4 current Board (all of whom serve on a volunteer basis) has undertaken monumental
             5 efforts to identify and correct a number of issues in the organization. Some of those
             6 efforts are set forth below.
             7        487. All of the Board Insiders have resigned or have removed been from the
             8 Borrego Health Board, including most recently the removal of Mike Hickok
             9 (Treasurer) and Chuck Kimball (Secretary) on October 2, 2020. Ten new and
            10 diverse members were also added to the board between 2019 and 2020 and the
            11 Board was expanded to 13 members.
            12        488. The Board also began the process of a governance overhaul, including
            13 compiling a governance policy and making updates to Borrego Health’s Bylaws and
            14 other key policies (through the progress was slow due to actions of both Chuck
            15 Kimball and Mikia Wallis, who blocked a number of reform efforts before their
            16 removals).
            17        489. The Board retained outside counsel to complete governance overhaul,
            18 including Bylaws and policies, and develop Committees with clear committee
            19 charters.
            20        490. A Board Policy Manual consisting of updated organization Bylaws and
            21 key governance policies was compiled by Board members and presented in April
            22 2019. The electronic Board Policy Book was officially adopted by the Board in
            23 June 2020.
            24        491. Current Board members are now required to complete a 3.5-hour Board
            25 training by Compensation Resources, Inc. and NACH, and Borrego Health has
            26 developed materials for on-boarding new Board members. Board members are also
            27 required to complete 3 hours of on-line trainings and Borrego Health has offered
            28 additional NACH Board Governance Training to Board members.

                                                         130
7275860.1                                     FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3574 Page 131 of 734
                                            735



             1         492. Borrego Health created and staffed the position of Governance
             2 Manager to assist the Board and committees in producing clear Board minutes,
             3 agendas, and helping to keep Board committees on track.
             4         493. Borrego Health retained Compensation Resources Inc. (“CRI”) to
             5 analyze executive officer compensation and benefits and complete an Executive
             6 Compensation study (July 2019) and expanded CRI contract to look at total
             7 compensation system-wide (2020). CRI also conducted Board training on
             8 governance with a focus on Board responsibility for oversight with respect to
             9 compensation (2019).
            10         494. In 2019, Borrego Health retained another company to review retirement
            11 benefits and develop new retirement plan. The new company also will assist
            12 Borrego Health in developing more equitable total compensation plan, including
            13 performance bonus structure.
            14         495. Borrego Health also created new mechanisms to prevent improper
            15 arrangements, including overhauling the delegation of authority and procurement
            16 policies, creating the Board Audit Committee (2019), hiring new auditors (2020),
            17 and conducting a detailed review of IRS Form 990 (2019).
            18         496. Mikia Wallis was removed as CEO on October 8, 2020. All other staff
            19 in any way implicated by DHCS or DOJ to be involved in misconduct have been
            20 removed. The entire executive leadership team was replaced.
            21         497. In October 2020, Borrego Health closed its contract dental program and
            22 replaced staff employed within the program who had been identified by DOJ and
            23 DHCS.
            24         498. Borrego Health terminated its relationship with Priest-related entities,
            25 terminating its leases at the Barstow and D Street locations, seeking amendment in
            26 Federal Court of its lease at the El Cajon site, and terminating its contracts with
            27 Premier.
            28

                                                          131
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3575 Page 132 of 734
                                            735



             1         499. Borrego Health invested significantly in its compliance program.
             2 Borrego Health established a Compliance Department led by an experienced Chief
             3 Compliance Officer, and staffed the department to include a Director of
             4 Compliance, Director of Program Integrity, Compliance Auditor and Compliance
             5 Analyst. At the Board level, Borrego Health created the Audit and Compliance
             6 Committee in January 2022, which hears detailed monthly compliance reports.
             7         500. Borrego Health also created a Compliance Program Manual and
             8 Compliance Hotline to assist with effectively identifying and resolving compliance
             9 concerns. Borrego Health instituted a series of compliance trainings, including
            10 monthly staff compliance education, bimonthly billing and coding compliance
            11 trainings (instituted April 2022), code of conduct training, compliance team site
            12 visits (instituted January 2022), and executive training on fraud and abuse topics.
            13         501. Borrego Health engaged external auditing services from to evaluate its
            14 current claims, identify areas for improvement, and train staff and providers on
            15 those issues.
            16         502. Borrego Health has also invested in internal fraud prevention efforts
            17 aimed at individuals. Borrego Health retained a compensation review company to
            18 review executive compensation, with the result of review leading to executive
            19 compensation reform. Borrego Health also implemented new conflict of interest
            20 policies, a restrictive employment of relatives policy, and has limited the Board’s
            21 delegated authority to Borrego Health staff.
            22         503. Borrego Health has also implemented efforts to increase transparency
            23 of financials. Borrego Health has ensured that management reports are now
            24 available at the clinic level and are incorporated into Board reports available to the
            25 full board and has instituted a provider dashboard to monitor financial metrics.
            26 VII. CHAPTER 11 BANKRUPTCY
            27         504. Borrego Health filed for bankruptcy under Chapter 11 of the
            28 Bankruptcy Code on September 12, 2022 in the Southern District of California.

                                                          132
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3576 Page 133 of 734
                                            735



             1         505. The bankruptcy filing was necessary because of a lack of liquidity.
             2         506. The most significant financial exposure was related to obligations to
             3 DHCS, as a result of the “Premier Scheme” and the “Fraudulent Dental Billing
             4 Scheme.” However, all of the Schemes described herein had a material financial
             5 impact of either increasing liabilities or decreasing revenue or both.
             6         507. For example, the manipulation of Borrego Health to invest in an
             7 unnecessary 162B plan diverted funds from operations to an unnecessary benefits
             8 plan that provided financial benefits for Jim Hebets, The Hebets Company and
             9 Bruce Hebets to the detriment of Borrego Health.
            10         508. Had the Defendants not taken advantage of Borrego Health as
            11 described herein, Borrego Health would not have the liquidity issues it is currently
            12 experiencing.
            13         509. Borrego Health also would not have been subjected to oversight by an
            14 expensive monitor or been subject to a payment suspension by DHCS, including the
            15 ongoing dental payment suspension, which is causing it not to be paid for in-house
            16 dental services.
            17         510. Uncompensated in-house dental services are resulting in a loss of
            18 approximately $350,000 per month of revenue.
            19 VIII. THE RICO ENTERPRISE
            20         511. “The elements of a civil RICO claim are simple enough: (1) conduct
            21 (2) of an enterprise (3) through a pattern (4) of racketeering activity (known as
            22 ‘predicate acts’) (5) causing injury to the plaintiff's ‘business or property.’”
            23 Grimmett v. Brown, 75 F.3d 506, 510 (9th Cir. 1996) (citing 18 U.S.C. §§ 1964(c),
            24 1962(c); Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 496 (1985)).
            25         512. For the purpose of additional clarity and for the convenience of
            26 Defendants and the Court, below is further detail of the RICO allegation which is
            27 pled with particularity in conformity with FRCP Rule 9(b).
            28

                                                           133
7275860.1                                       FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3577 Page 134 of 734
                                            735



             1         513. Conduct: “To satisfy the ‘conduct’ element of a Section 1962(c)
             2 claim, a plaintiff must allege facts that the defendant had ‘some part in directing [the
             3 enterprise's] affairs.’ LD v. United Behavioral Health, 508 F. Supp.3d 583, 602
             4 (N.D.C.A. 2020) (citing Walter v. Dravson, 538 F.3d 1244, 1249 (9th Cir. 2008)).
             5 Notably, “Relevant considerations to whether this element is met include whether
             6 the defendant ‘occup[ies] a position in the chain of command ... through which the
             7 affairs of the enterprise are conducted,’ whether it ‘knowingly implement[ed] [the]
             8 decisions of upper management,’ and whether its ‘participation was vital to the
             9 mission's success.’” LD v. United Behavioral Health, 508 F. Supp.3d 583, 602
            10 (N.D.C.A. 2020) (citing Walter v. Dravson, 538 F.3d 1244, 1249 (9th Cir. 2008)).
            11 “In the Ninth Circuit, to assess whether a defendant had a sufficient role in operation
            12 or management to meet the standard of § 1962(c) [and Reves], courts consider
            13 whether the defendant (1) gave or took directions; (2) occupied a position in the
            14 ‘chain of command’ through which the affairs of the enterprise are conducted; (3)
            15 knowingly implemented decisions of upper management; or (4) was indispensable
            16 to achievement of the enterprise's goal in that the defendant's position is ‘vital’ to
            17 the mission's success.” Ketayi v. Health Enrollment Group, 516 F. Supp.3d 1092,
            18 1136 (S.D.C.A, 2021) (quoting Tatung Co., Ltd. v. Hsu, No. SA-CV-13-1743, 2015
            19 WL 11072178, at *20 (C.D. Cal. Apr. 23, 2015) (quoting Walter v. Drayson, 538
            20 F.3d 1244, 1249 (9th Cir. 2008)) (citations omitted)).
            21         514. Of an Enterprise: “The definition of ‘enterprise’ in the text of RICO is
            22 fairly straightforward. In its entirety, the definition is as follows: ‘ “enterprise”
            23 includes any individual, partnership, corporation, association, or other legal entity,
            24 and any union or group of individuals associated in fact although not a legal
            25 entity.’” Odom v. Microsoft Corp., 486 F.3d 541, 548 (9th Cir. 2007) (citing 18
            26 U.S.C. § 1961(4)). “As is evident from the text, this definition is not very
            27 demanding. A single ‘individual’ is an enterprise under RICO. Similarly, a single
            28 ‘partnership,’ a single ‘corporation,’ a single ‘association,’ and a single ‘other legal

                                                            134
7275860.1                                        FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3578 Page 135 of 734
                                            735



             1 entity’ are all enterprises.” Odom v. Microsoft Corp., 486 F.3d 541, 548 (9th Cir.
             2 2007). In Odom v. Microsoft Corp., the Ninth Circuit explained, “We take this
             3 opportunity to join the circuits that hold that an associated-in-fact enterprise under
             4 RICO does not require any particular organizational structure, separate or otherwise.
             5 Odom v. Microsoft Corp., 486 F.3d 541, 551 (9th Cir. 2007) (citation and internal
             6 quotation marks omitted). The Odom Court turned to the Supreme Court decision in
             7 the United States v. Turkette, to note the criteria for an associated-in-fact enterprise,
             8 “The Supreme Court in Turkette articulated the criteria for an associated-in-fact
             9 enterprise under RICO. According to the Court, an associated-in-fact enterprise is ‘a
            10 group of persons associated together for a common purpose of engaging in a course
            11 of conduct.’ To establish the existence of such an enterprise, a plaintiff must provide
            12 both ‘evidence of an ongoing organization, formal or informal,’ and ‘evidence that
            13 the various associates function as a continuing unit.’” Odom v. Microsoft Corp., 486
            14 F.3d 541, 552 (9th Cir. 2007) (citation and internal quotation marks omitted).
            15         515. Through a Pattern: The Supreme Court in H.J. Inc. v. Northwestern
            16 Bell Telephone Co. settled the long held debate of what constituted a “pattern” for
            17 RICO. The Court held, “To establish a RICO pattern it must also be shown that the
            18 predicates themselves amount to, or that they otherwise constitute a threat of,
            19 continuing racketeering activity.” H.J. Inc. v. Northwestern Bell Telephone Co., 492
            20 U.S. 229, 240 (1989). The Court continued, continuity is, “ … centrally a temporal
            21 concept – and particularly so in the RICO context, where what must be continuous,
            22 RICO's predicate acts or offenses, and the relationship these predicates must bear
            23 one to another, are distinct requirements.” H.J. Inc. v. Northwestern Bell Telephone
            24 Co., 492 U.S. 229, 241 (1989). Importantly, “A RICO pattern may surely be
            25 established if the related predicates themselves involve a distinct threat of long-term
            26 racketeering activity, either implicit or explicit.” H.J. Inc. v. Northwestern Bell
            27 Telephone Co., 492 U.S. 229, 241 (1989).
            28

                                                           135
7275860.1                                       FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3579 Page 136 of 734
                                            735



             1         516. Racketeering / Predicate Acts: Predicate acts, “… involve conduct
             2 that is ‘chargeable’ or ‘indictable,’ and ‘offense[s]’ that are ‘punishable,’ under
             3 various criminal statutes. As defined in the statute, racketeering activity consists not
             4 of acts for which the defendant has been convicted, but of acts for which he could
             5 be.” Sedima, S.P.R.L. v. Imrex Co., Inc., 473 U.S. 479, 488 (1985) (citing
             6 § 1961(1)).
             7         517. Causing Injury: “Where the plaintiff alleges each element of the
             8 violation, the compensable injury necessarily is the harm caused by predicate acts
             9 sufficiently related to constitute a pattern, for the essence of the violation is the
            10 commission of those acts in connection with the conduct of an enterprise. Those acts
            11 are, when committed in the circumstances delineated in § 1962(c), “an activity
            12 which RICO was designed to deter.” Any recoverable damages occurring by reason
            13 of a violation of § 1962(c) will flow from the commission of the predicate acts.”
            14 Sedima, S.P.R.L. v. Imrex Co., Inc., 473 U.S. 479, 497 (1985). Importantly, “RICO
            15 is to be read broadly. This is the lesson not only of Congress' self-consciously
            16 expansive language and overall approach, but also of its express admonition that
            17 RICO is to ‘be liberally construed to effectuate its remedial purposes.’ The statute's
            18 ‘remedial purposes’ are nowhere more evident than in the provision of a private
            19 action for those injured by racketeering activity.” (citation and internal quotation
            20 marks omitted). Sedima, S.P.R.L. v. Imrex Co., Inc., 473 U.S. 479, 497-98 (1985).
            21         B.    Facts Common To RICO Cause of Action
            22         518. The “Enterprise” is Borrego Health, a non-profit corporation in good
            23 standing, which the Defendants secretly commandeered for their own criminal
            24 purposes. Bruce Hebets’ death in 2019 does not alter the fact of his participation (as
            25 a Borrego Health insider) with Defendants in the operation and management of
            26 Borrego Health, as described below. If Bruce Hebets were alive, he would be
            27 named as a defendant herein.
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                                                            136
7275860.1                                       FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3580 Page 137 of 734
                                            735



             1         519. Borrego Health is a FQHC engaged in interstate commerce, with a
             2 mission to provide high quality, comprehensive, compassionate primary healthcare
             3 to people in their communities, regardless of their ability to pay. Borrego Health
             4 operated over 20 clinics, and continues to operate more than a dozen, primarily in
             5 underserved desert and inland communities throughout San Diego, Riverside, and
             6 San Bernardino counties. Borrego Health provides essential services in Family
             7 Practice, Pediatrics, OB/GYN, Internal Medicine, Podiatry, Dermatology,
             8 Cardiology, and HIV/Hepatitis C, most of whom cannot obtain affordable
             9 comprehensive primary care from other sources. During the recent pandemic,
            10 Borrego Health has tested tens of thousands of Californians for Covid-19 infection
            11 and has vaccinated tens of thousands of people for Covid-19. Borrego Health’s
            12 continued operation is in the public interest.
            13         520. Although all of the Defendants named in this action are defendants in
            14 the RICO cause of action, Daryl Priest, Nick Priest, Travis Lyon, Premier, Summit,
            15 Jim Hebets, The Hebets Company, The Julian Medical Foundation, and Husam
            16 Aldairi, D.D.S., Aram Arakelyan, D.D.S., Ayed Hawatmeh, D.D.S., Magaly
            17 Velasquez, D.D.S., Marcelo Toledo, D.D.S., Michael Hoang, D.M.D., Santiago
            18 Rojo, D.D.S., Waleed Stephan, D.D.S., Mohammed Al Tekreeti, D.D.S., Jilbert
            19 Bakramian, D.D.S., Marlene Thompson, D.D.S., George Jared, D.D.S., Douglas
            20 Ness, D.D.S., and Alborz Mehdizadeh, D.D.S., and DOES 1-250, are “Outsiders” to
            21 Borrego Health.
            22         521. The Defendants are associated with the Enterprise in that they were
            23 either (1) Borrego Health executives or Board members, (2) the Enterprise’s
            24 landlords, (3) contracted dental providers, or (4) other outside vendors.
            25         522. The Defendants are entities and individuals separate from the
            26 Enterprise, and none of the Defendants is alleged to be the Enterprise, or its
            27 members.
            28

                                                          137
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3581 Page 138 of 734
                                            735



             1         523. Borrego Health is both the RICO enterprise and the victim. Borrego
             2 Health has lost tens of millions of dollars as a result of the Defendants’ fraudulent
             3 conduct and suffered other damages, including without limitation an inability to be
             4 paid by Medi-Cal for in-house dental services, an inability to provide contract dental
             5 services, and an exposure for repayment to the Medi-Cal program for claims that
             6 were caused to be submitted by defendants and contract dentists that were not
             7 payable.
             8         524. The unlawful acts described herein were devised, directed and
             9 maintained by the Defendants who had control over, participated in, and/or took part
            10 in Borrego Health’s operations and management.
            11         C.     Racketeering Activity Distinct from Enterprise
            12         525. The pattern of racketeering described herein is separate and distinct
            13 from the Enterprise, due to both the relationship between the activities of the
            14 Enterprise and the pattern of racketeering activity, and how the racketeering activity
            15 differs from the usual daily activities of the enterprise is as follows:
            16         526. Borrego Health, the Enterprise, is engaged in interstate commerce
            17 acting as a FQHC. It acquires good and products from across the country, including
            18 medical supplies. It utilizes the internet and United States banking system to
            19 facilitate its operations, including using electronic billing to bill and receive
            20 payment from Medi-Cal. Borrego Health also regularly uses mail to pay vendors
            21 and acquire good and products, including medical supplies and medications.
            22         527. Defendants worked together to perpetrate a number of schemes to steal
            23 money from the Enterprise paid to the Enterprise by state and federal payers
            24 utilizing primarily state and federal funds paid by Medi-Cal. The schemes that
            25 Borrego Health in currently aware of are described above as the “Borrego MSO/IPA
            26 Scheme”, the “Premier Scheme”, “Fraudulent Dental Billing Scheme”, the
            27 “Coverup Scheme”, the “Priest Leases Scheme”, the “Compensation/Benefits
            28 Scheme”, the “Nepotism and Cronyism Scheme”, the “De Anza Country Club

                                                           138
7275860.1                                       FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3582 Page 139 of 734
                                            735



             1 Scheme”, the “Payout Scheme”, the “Jim Hebets Scheme”, the “Julian Barn
             2 Scheme,” the “Property Development Scheme” and the “KBH Healthcare
             3 Consulting Scheme.”
             4        528. Each of these Schemes was contrary to the ordinary and regular
             5 operations and management of Borrego Health, and involved Outsider Defendants
             6 effectively taking over the management and operations of Borrego Health in
             7 furtherance of these Schemes.
             8        529. The primary mission of Borrego Health, as a FQHC, is the provision of
             9 healthcare to under-served communities. All efforts of Borrego Health are to be
            10 directed at the efficient accomplishment of this mission.
            11        D.     RICO Liability
            12        530. 18 USC §§1962 (c) and (d): As detailed herein, Defendants’ conduct is
            13 unlawful under 18 U.S.C. 1962(c), and is also unlawful as a conspiracy under 18
            14 U.S.C. § 1962(d).
            15        531. 18 USC § 1341 (Mail Fraud): The purpose of the “Borrego MSO/IPA
            16 Scheme”, the “Premier Scheme”, “Fraudulent Dental Billing Scheme”, the
            17 “Coverup Scheme”, the “Priest Leases Scheme”, the “Compensation/Benefits
            18 Scheme”, the “Nepotism and Cronyism Scheme”, the “De Anza Country Club
            19 Scheme”, the “Payout Scheme”, the “Jim Hebets Scheme”, the “Julian Barn
            20 Scheme”, the “Property Development Scheme” and the KBH Healthcare Consulting
            21 Scheme was to effectively steal money from Borrego Health.
            22        532. In the manner detailed above, Defendants participated in devising
            23 and/or intending to devise the Schemes to perform the fraudulent acts described
            24 herein.
            25        533. The Schemes could not work without the use of the United States Mail,
            26 which was used for the purpose of executing the Schemes.
            27        534. Among other things and without limitation, the mail and e-mail was
            28 used to send correspondence and payments under the Premier Scheme, to send bills

                                                         139
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3583 Page 140 of 734
                                            735



             1 and payments for the Fraudulent Dental Billing Scheme, to send rent checks under
             2 the Priest Leases Scheme, and to send rent checks under the Julian Barn Scheme.
             3        535. Each individual mailing was an individual act essential to the success
             4 of the scheme (and therefore material) and constitutes a separate loss the victim
             5 suffered as of the date of mailing. This constitutes hundreds of predicate acts under
             6 18 USC 1341 (Mail Fraud).
             7        536. 18 USC § 1343 (Wire Fraud): The purpose of the “Borrego MSO/IPA
             8 Scheme”, the “Premier Scheme”, “Fraudulent Dental Billing Scheme”, the
             9 “Coverup Scheme”, the “Priest Leases Scheme”, the “Compensation/Benefits
            10 Scheme”, the “Nepotism and Cronyism Scheme”, the “De Anza Country Club
            11 Scheme”, the “Payout Scheme”, the “Jim Hebets Scheme”, the “Julian Barn
            12 Scheme”, the “Property Development Scheme” and the KBH Healthcare Consulting
            13 Scheme was to effectively steal money from Borrego Health.
            14        537. In the manned detailed above, Defendants participated in devising
            15 and/or intending to devise the Schemes to perform the fraudulent acts described
            16 herein, and to use the interstate electronic transmission of documents for the purpose
            17 of executing, or attempting to execute, the Schemes. The Schemes were used to
            18 steal funds from a federally funded and regulated FQHC, which in turn would result
            19 in the inflation of reimbursement rates the Federal Government would pay to the
            20 FQHC (Borrego Health) for thousands of patient encounters, as follows:
            21        538. Borrego Health is largely funded by state and federal health care dollars
            22 (primarily Medi-Cal), administered by and through the California Department of
            23 Healthcare Services. Borrego Health must account for its lawful operating
            24 expenditures every year to the Center for Medicare and Medicaid Services (CMS), a
            25 federal agency within the United States department of Health and Human Services.
            26        539. The amount of funds stolen through the Schemes described herein are
            27 accounted for and included as facilities operating expenses reported to CMS. These
            28 stolen funds would not be reported as individual line items on an annual CMD cost

                                                         140
7275860.1                                     FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3584 Page 141 of 734
                                            735



             1 report. Rather, the stolen funds would then be melded into and combined and
             2 aggregated with all other facilities operating costs of over 20 Southern California
             3 clinics operated by Borrego Health, and then reported as an unidentified part of
             4 Borrego Health’s annual cost reports submitted to CMS.
             5          540. In turn, the United States uses Borrego Health’s annual cost reports to
             6 CMS in calculating the proper level of federal health care funding (or
             7 “reimbursement rates”) to direct to Borrego Health. Thus, inflated CMS cost
             8 reports, unless detected, inevitably result in increases in federally funded
             9 reimbursement rates for a FQHC such as Borrego Health. This has the effect of
            10 compounding the crime by causing to federal government to cover some or all of the
            11 cost of the crime by way of increased reimbursement rates paid Borrego Health
            12 based on inflated expenses incurred by Borrego Health as a result of the Schemes.
            13          541. In addition, false or fraudulent bills were submitted electronically to
            14 Medi-Cal (and Borrego Health) under the Fraudulent Dental Services Scheme.
            15          542. The unlawful Schemes described above, including the electronic
            16 communications described above, constitutes predicate acts under 18 USC §1343
            17 (Wire Fraud) that are a material part of the Schemes that Borrego Health could not
            18 avoid.
            19          543. Racketeering activity as described in 18 USC § 1961(1)(B), as an act
            20 indictable under 18 USC § 1957 (engaging in monetary transactions in property
            21 derived from specified unlawful activity that includes Federal healthcare offenses).
            22 In addition to Mail Fraud and Wire Fraud, the Schemes constitute a pattern of
            23 racketeering activity as described in 18 USC § 1961(1)(B), as acts indictable under
            24 18 USC § 1957 (“Engaging in monetary transactions in property derived from
            25 specified unlawful activity”).
            26          544. “Specified unlawful activity” is, in turn, defined in 18 USC § 1956 as
            27 including “any act or activity constituting an offense involving a ‘Federal health
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                                                           141
7275860.1                                       FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3585 Page 142 of 734
                                            735



             1 care offense.’” 18 USC § 24 defines “Federal health care offense” as including “a
             2 violation of, or a criminal conspiracy to violate” any of the statutes set forth herein.
             3         545. 18 USC § 669 (Theft or embezzlement in connection with health care):
             4 Whoever knowingly and willfully embezzles, steals, or otherwise without authority
             5 converts to the use of any person other than the rightful owner, or intentionally
             6 misapplies any of the moneys, funds, securities, premiums, credits, property, or
             7 other assets of a health care benefit program, shall be fined under this title or
             8 imprisoned not more than 10 years, or both. “Health care benefit program” means
             9 any public or private plan or contract, affecting commerce, under which any medical
            10 benefit, item, or service is provided to any individual, and includes any individual or
            11 entity who is providing a medical benefit, item, or service for which payment may
            12 be made under the plan or contract. The Schemes described herein are the means by
            13 which Defendants, and each of them, stole and converted to their own use public
            14 healthcare benefits paid Borrego Health by state and federal agencies at a time
            15 Borrego Health was the rightful owner of those funds. In addition, in this particular
            16 statute, Borrego Health itself qualifies under the broad definition of “health care
            17 benefit program.” Borrego Health is an “entity who is providing a medical benefit,
            18 item, or service for which payment may be made under the plan or contract.” The
            19 theft and from Borrego Health exceeds $20,000,000.
            20         546. 18 USC § 1347 (Health care fraud): Whoever knowingly and willfully
            21 executes, or attempts to execute, a scheme or artifice (1) to defraud any healthcare
            22 benefit program; or (2) to obtain, by means of false or fraudulent pretenses,
            23 representations, or promises, any of the money or property owned by, or under the
            24 custody or control of, any healthcare benefit program, in connection with the
            25 delivery of or payment for healthcare benefits, items, or services, shall be fined
            26 under this title or imprisoned not more than 10 years, or both. Here, by the Schemes
            27 described herein, Defendants, and each of them, defrauded Borrego Health and
            28 obtained money and/or property owned by and/or under the custody or control of

                                                           142
7275860.1                                       FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3586 Page 143 of 734
                                            735



             1 Borrego Health. These Schemes were substantial factor in and direct cause of the
             2 theft of funds under the custody and control of Borrego Health. The Schemes were a
             3 substantial factor in and direct cause of the theft of more than $20,000,000 of funds
             4 under the custody and control of Borrego Health and Medi-Cal.
             5        547. 18 USC § 1001 (False Statements or entries generally): Section 1001 is
             6 violated if someone knowingly or willfully conceals or covers up by any trick,
             7 scheme or device a material fact, which act is within the jurisdiction of a department
             8 or agency of the United States. Here, Defendants were involved in the Schemes
             9 that, as described herein, meet the elements of section 1001, in that the Defendants
            10 “knowingly or willfully conceal or cover up by any trick, scheme or device a
            11 material fact.” The Schemes were used, in part, to steal funds from a federally
            12 funded and regulated FQHC.
            13        548. Other federal healthcare offenses: In addition, the facts alleged herein
            14 also amount to “federal healthcare offenses” under the following statutes: 18 USC
            15 § 371 (“Conspiracy to commit offense or to defraud United States”); 18 USC §1035
            16 (“False statements relating to health care matters”); 18 USC §1035 (“False
            17 statements relating to health care matters”); 18 USC § 287 (“False, fictitious or
            18 fraudulent claims”); 18 USC §1349 (“Attempt and conspiracy”).
            19        549. The specific contracts entered into in furtherance of the scheme to steal
            20 money from Borrego Health are the: Borrego MSO, Borrego IPA, Dental MSA,
            21 Medical MSA, Aldairi Agreements, Hawatmeh Agreement, Mehdizadeh
            22 Agreements, Velasquez Agreement, Arakelyan Agreements, Hoang Agreement,
            23 Stephan Agreement, Rojo Agreement, Toledo Agreement, Thompson Agreement,
            24 Ness Agreement, Jared Agreement, Nourse Parcel Lease, CRI Contract, Julian Barn
            25 Lease, transition agreement, KHB/Premier Contract and Amendment and Priest
            26 Leases.
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                                                         143
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3587 Page 144 of 734
                                            735



             1        550. The Schemes were concealed by Defendants and most did not come to
             2 light until, at the earliest, October 2020 during a government investigation. But for
             3 that unrelated investigation, the Schemes may have remained undiscovered.
             4        551. Because Borrego Health plaintiff had no constructive or inquiry notice
             5 of the fact of injury throughout the life of the Schemes, its right to recover money
             6 stolen by Defendants extends back to the commencement of each of the Schemes.
             7        552. Four Year RICO “Reach Back:” Even if the Schemes were
             8 somehow communicated to persons who would ordinarily provide that information
             9 to the Borrego Health Board, it is still entitled to recover funds stolen under the
            10 Schemes going back four years prior to the filing of the complaint, since each lease
            11 payment constitutes a separate wrongful act.
            12        553. Borrego Health, the United States, and the State of California are
            13 victims of the Schemes here. Borrego Health was victimized by the amount of
            14 money stolen. The Federal Government is a victim to the extent the inflated
            15 expenses incurred by Borrego Health as a result of the Schemes were included on
            16 annual cost reports to CMS (described above) that resulted in increased
            17 reimbursement rates, and therefore additional federal funds being improperly paid
            18 Borrego Health. The Federal Government may have also been harmed if it provided
            19 federal matching dollars for any duplicative, unnecessary and unsupported dental
            20 services paid by Medi-Cal.
            21        554. The State of California is a victim to the extent to the extent the inflated
            22 expenses incurred by Borrego Health as a result of the Schemes were included on
            23 annual cost reports to CMS (described above) that resulted in increased
            24 reimbursement rates, and therefore causing additional state Medicaid funds being
            25 improperly paid Borrego Health. The State of California may have also been
            26 harmed if it paid Borrego Health for any duplicative, unnecessary and unsupported
            27 dental services.
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                                                          144
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3588 Page 145 of 734
                                            735



             1         555. The predicate acts described above relate to each other as part of a
             2 common plan. The predicate acts are a part of a common plan to steal money from
             3 Borrego Health. Each act is related as to its purpose, results, participants, victims
             4 and method of commission. The predicates form a closed-end series of related
             5 predicates extending over a substantial period.
             6         556. The facts described herein also demonstrate the existence of a
             7 conspiracy between Defendants. (18 USC § 1962(d).)
             8         557.   By way of their knowing participation in the scheme, each of the
             9 Defendants is a culpable person for purposes of 18 U.S.C. § 1964.
            10         558. But for the Schemes detailed above, Borrego Health would not have
            11 entered into improper and above-market leases and other transactions, would have
            12 had a compliant and properly billed contract dental program, would not have
            13 attempted to buy a country club, etc. Accordingly, Borrego Health has been
            14 damaged by the Schemes in an amount to be proven at trial.
            15         559. Accordingly, Borrego Health is entitled to damages in an amount to be
            16 proven at trial, trebled pursuant to statute, together with reasonable attorneys’ fees
            17 and costs, and interest.
            18         E.     Issuance of Constructive Trusts
            19         560. As outlined in detail herein, Borrego Health provided payment to
            20 various Defendants. Those Defendants committed wrongful acts to receive money
            21 that they were not entitled to.
            22         561. Borrego Health has a right to the money wrongfully taken by
            23 Defendants.
            24         562. As such, Borrego Health seeks to have any and all funds wrongfully
            25 paid to Defendants placed in a constructive trust.
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                                                          145
7275860.1                                        FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3589 Page 146 of 734
                                            735



             1                              FIRST CAUSE OF ACTION
             2                 (Violations under the Racketeer Influenced and Corrupt
             3                               Organizations (“RICO”) Act)
             4                                  Against All Defendants
             5         563. Borrego Health reincorporates each of the above paragraphs as though
             6 fully set forth herein. This is due to the fact that Borrego Health believes that each
             7 and every one of the actions and omissions described above are part of the same,
             8 far-reaching and widespread racketeering enterprise designed and carried out to steal
             9 money from Borrego Health and funnel that money, directly or indirectly, to the
            10 Defendants. However, in the alternative, any one of or any combination of the
            11 above-listed Schemes would be sufficient to state a claim against the Defendants
            12 alleged to be involved in that Scheme or those Schemes.
            13         564. As set forth herein, Defendants improperly engaged in a pattern of
            14 prohibited racketeering activity.
            15         565. As set forth herein, Defendants conduct gives rise to a cause of action
            16 for violation of RICO, and that unlawful conduct was the proximate cause of the
            17 Borrego Health’s injury.
            18                            SECOND CAUSE OF ACTION
            19                                     (Breach of Contract)
            20                                       Against Premier
            21         566. Borrego Health reincorporates paragraphs 1 through 54, 66 through
            22 334, inclusive, as though fully set forth herein.
            23         567. Borrego Health and Premier entered into the Dental MSA, including
            24 amendments thereto, and the Medical MSA.
            25         568. Borrego Health did all, or substantially all, of the significant things that
            26 the Dental MSA and Medical MSA required it to do, or was excused from doing so,
            27         569. As set forth herein, Premier breached the Dental MSA and Medical
            28 MSA.

                                                           146
7275860.1                                       FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3590 Page 147 of 734
                                            735



             1         570. As a result of Premier’s breaches of the MSAs, Borrego Health was
             2 damaged in an amount to be proven at trial. Premier’s failures to fulfill its
             3 obligations was a substantial factor in causing Borrego Health’s harm.
             4                              THIRD CAUSE OF ACTION
             5                                    (Breach of Contract)
             6                 Against Husam Aldairi, D.D.S. and Aldairi D.D.S., Inc.
             7         571. Borrego Health reincorporates paragraphs 1 through 54, 132 through
             8 145, 146 through 166, inclusive, as though fully set forth herein.
             9         572. Borrego Health, Husam Aldairi, D.D.S. and Aldairi D.D.S., Inc.
            10 entered into the Aldairi Agreements.
            11         573. Borrego Health did all, or substantially all, of the significant things that
            12 the Aldairi Agreements required or Borrego Health was excused from doing so.
            13         574. Aldairi violated the terms of the Aldairi Agreements through their
            14 conduct, including but not limited to: (1) billing excessive patient visits; (2) failing
            15 to maintain adequate documentation to support billing; (3) falsification of medical
            16 records; (4) performing services that lacked medical necessity; (5) providing
            17 services that fell below the standard of care; (6) providing excessive services; and
            18 (7) generating inaccurate billing records, including billing for services not rendered,
            19 including billing for services performed on teeth which the patients no longer had at
            20 the time of service, upcoding, and inappropriately splitting services.
            21         575. As a result of Aldairi’s conduct, Borrego Health was damaged in an
            22 amount to be proven at trial.
            23                            FOURTH CAUSE OF ACTION
            24                                    (Breach of Contract)
            25          Against Ayed Hawatmeh, D.D.S. and Hawatmeh Dental Group, P.C.
            26         576. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            27 145, 167 through 183, inclusive, as though fully set forth herein.
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                                                           147
7275860.1                                       FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3591 Page 148 of 734
                                            735



             1         577. Borrego Health, Ayed Hawatmeh, D.D.S. and Hawatmeh Dental
             2 Group, P.C. entered into the Hawatmeh Agreements.
             3         578. Borrego Health did all, or substantially all, of the significant things that
             4 the Hawatmeh Agreements required or Borrego Health was excused from doing so.
             5         579. Hawatmeh violated the terms of the Hawatmeh Agreements through
             6 their conduct, including but not limited to: (1) billing excessive patient visits; (2)
             7 failing to maintain adequate documentation to support billing; (3) falsification of
             8 medical records; (4) performing services that lacked medical necessity; (5)
             9 providing services that fell below the standard of care; (6) providing excessive
            10 services; and (7) generating inaccurate billing records, including billing for services
            11 not rendered, including billing for services performed on teeth which the patients no
            12 longer had at the time of service, upcoding, and inappropriately splitting services.
            13         580. As a result of Hawatmeh’s conduct, Borrego Health was damaged in an
            14 amount to be proven at trial.
            15                              FIFTH CAUSE OF ACTION
            16                                    (Breach of Contract)
            17            Against Alborz Mehdizadeh, D.D.S. and Alborz Mehdizadeh, Inc.
            18         581. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            19 145, 184 through 195, inclusive, as though fully set forth herein.
            20         582. Borrego Health, Alborz Mehdizadeh, D.D.S. and Alborz Mehdizadeh,
            21 Inc. entered into the Mehdizadeh Agreements.
            22         583. Borrego Health did all, or substantially all, of the significant things that
            23 the Mehdizadeh Agreements required or Borrego Health was excused from doing
            24 so.
            25         584. Mehdizadeh violated the terms of the Mehdizadeh Agreements through
            26 their conduct, including but not limited to: (1) billing excessive patient visits; (2)
            27 failing to maintain adequate documentation to support billing; (3) falsification of
            28 medical records; (4) performing services that lacked medical necessity; (5)

                                                           148
7275860.1                                       FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3592 Page 149 of 734
                                            735



             1 providing services that fell below the standard of care; (6) providing excessive
             2 services; and (7) generating inaccurate billing records, including billing for services
             3 not rendered, including billing for services performed on teeth the patients no longer
             4 had at the time of service, upcoding, and inappropriately splitting services.
             5         585. As a result of Mehdizadeh’s conduct, Borrego Health was damaged in
             6 an amount to be proven at trial.
             7                              SIXTH CAUSE OF ACTION
             8                                    (Breach of Contract)
             9    Against Magaly Velasquez, D.D.S. and Magaly M. Velasquez DDS, Professional
            10                                        Dental Corp.
            11         586. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            12 145, 196 through 203, inclusive, as though fully set forth herein.
            13         587. Borrego Health, Magaly Velasquez, D.D.S. and Magaly M. Velasquez
            14 DDS, Professional Dental Corp. entered into the Velasquez Agreement.
            15         588. Borrego Health did all, or substantially all, of the significant things that
            16 the Velasquez Agreement required or Borrego Health was excused from doing so.
            17         589. Velasquez violated the terms of the Velasquez Agreement through their
            18 conduct, including but not limited to: (1) billing excessive patient visits; (2) failing
            19 to maintain adequate documentation to support billing; (3) falsification of medical
            20 records; (4) performing services that lacked medical necessity; (5) providing
            21 services that fell below the standard of care; (6) providing excessive services; and
            22 (7) generating inaccurate billing records, including billing for services not rendered,
            23 including billing for services performed on teeth the patients no longer had at the
            24 time of service, upcoding, and inappropriately splitting services.
            25         590. As a result of Velasquez’s conduct, Borrego Health was damaged in an
            26 amount to be proven at trial.
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                                                           149
7275860.1                                       FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3593 Page 150 of 734
                                            735



             1                            SEVENTH CAUSE OF ACTION
             2                                    (Breach of Contract)
             3     Against Aram Arakelyan, D.D.S. and New Millennium Dental Group of Aram
             4                                      Arakelyan, Inc.
             5         591. Borrego Health reincorporates paragraphs 1 through 54, 132 through
             6 145, 204 through 213, inclusive, as though fully set forth herein.
             7         592. Borrego Health, Aram Arakelyan, D.D.S. and New Millennium Dental
             8 Group of Aram Arakelyan, Inc. entered into the Arakelyan Agreements.
             9         593. Borrego Health did all, or substantially all, of the significant things that
            10 the Arakelyan Agreements required or Borrego Health was excused from doing so.
            11         594. Arakelyan violated the terms of the Arakelyan Agreements through
            12 their conduct, including but not limited to: (1) billing excessive patient visits; (2)
            13 failing to maintain adequate documentation to support billing; (3) falsification of
            14 medical records; (4) performing services that lacked medical necessity; (5)
            15 providing services that fell below the standard of care; (6) providing excessive
            16 services; and (7) generating inaccurate billing records, including billing for services
            17 not rendered, including billing for services performed on teeth the patients no longer
            18 had at the time of service, upcoding, and inappropriately splitting services.
            19         595. As a result of Arakelyan’s conduct, Borrego Health was damaged in an
            20 amount to be proven at trial.
            21                             EIGHTH CAUSE OF ACTION
            22                                    (Breach of Contract)
            23                             Against Michael Hoang, D.M.D.
            24         596. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            25 145, 214 through 219, inclusive, as though fully set forth herein.
            26         597. Borrego Health and Michael Hoang, D.M.D. entered into the Hoang
            27 Agreement.
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                                                           150
7275860.1                                       FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3594 Page 151 of 734
                                            735



             1         598. Borrego Health did all, or substantially all, of the significant things that
             2 the Hoang Agreement required or Borrego Health was excused from doing so.
             3         599. Hoang violated the terms of the Hoang Agreement through his conduct,
             4 including but not limited to: (1) billing excessive patient visits; (2) failing to
             5 maintain adequate documentation to support billing; (3) falsification of medical
             6 records; (4) performing services that lacked medical necessity; (5) providing
             7 services that fell below the standard of care; (6) providing excessive services; and
             8 (7) generating inaccurate billing records, including billing for services not rendered,
             9 including billing for services performed on teeth the patients no longer had at the
            10 time of service, upcoding, and inappropriately splitting services.
            11         600. As a result of Hoang’s conduct, Borrego Health was damaged in an
            12 amount to be proven at trial.
            13                              NINTH CAUSE OF ACTION
            14                                    (Breach of Contract)
            15        Against Waleed Stephan, D.D.S. and W.A. Stephan, a Dental Corporation
            16         601. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            17 145, 220 through 225, inclusive, as though fully set forth herein.
            18         602. Borrego Health, Waleed Stephan, D.D.S. and W.A. Stephan, a Dental
            19 Corporation entered into the Stephan Agreement.
            20         603. Borrego Health did all, or substantially all, of the significant things that
            21 the Stephan Agreement required or Borrego Health was excused from doing so.
            22         604. Stephan violated the terms of the Stephan Agreement through their
            23 conduct, including but not limited to: (1) billing excessive patient visits; (2) failing
            24 to maintain adequate documentation to support billing; (3) falsification of medical
            25 records; (4) performing services that lacked medical necessity; (5) providing
            26 services that fell below the standard of care; (6) providing excessive services; and
            27 (7) generating inaccurate billing records, including billing for services not rendered,
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                                                            151
7275860.1                                       FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3595 Page 152 of 734
                                            735



             1 including billing for services performed on teeth the patients no longer had at the
             2 time of service, upcoding, and inappropriately splitting services.
             3         605. As a result of Stephan’s conduct, Borrego Health was damaged in an
             4 amount to be proven at trial.
             5                              TENTH CAUSE OF ACTION
             6                                    (Breach of Contract)
             7            Against Santiago Rojo, D.D.S. and Santiago A. Rojo, D.D.S., Inc.
             8         606. Borrego Health reincorporates paragraphs 1 through 54, 132 through
             9 145, 226 through 231, inclusive, as though fully set forth herein.
            10         607. Borrego Health, Santiago Rojo, D.D.S. and Santiago A. Rojo, D.D.S.,
            11 Inc. entered into the Rojo Agreement.
            12         608. Borrego Health did all, or substantially all, of the significant things that
            13 the Rojo Agreement required or Borrego Health was excused from doing so.
            14         609. Rojo violated the terms of the Rojo Agreement through their conduct,
            15 including but not limited to: (1) billing excessive patient visits; (2) failing to
            16 maintain adequate documentation to support billing; (3) falsification of medical
            17 records; (4) performing services that lacked medical necessity; (5) providing
            18 services that fell below the standard of care; (6) providing excessive services; and
            19 (7) generating inaccurate billing records, including billing for services not rendered,
            20 including billing for services performed on teeth the patients no longer had at the
            21 time of service, upcoding, and inappropriately splitting services.
            22         610. As a result of Rojo’s conduct, Borrego Health was damaged in an
            23 amount to be proven at trial.
            24                           ELEVENTH CAUSE OF ACTION
            25                                    (Breach of Contract)
            26            Against Marcelo Toledo, D.D.S. and Marcelo Toledo, D.D.S., Inc.
            27         611. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            28 145, 246 through 258, inclusive, as though fully set forth herein.

                                                            152
7275860.1                                       FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3596 Page 153 of 734
                                            735



             1         612. Borrego Health, Marcelo Toledo, D.D.S. and Marcelo Toledo, D.D.S.,
             2 Inc. entered into the Toledo Agreement.
             3         613. Borrego Health did all, or substantially all, of the significant things that
             4 the Toledo Agreement required or Borrego Health was excused from doing so.
             5         614. Toledo violated the terms of the Toledo Agreement through their
             6 conduct, including but not limited to: (1) billing excessive patient visits; (2) failing
             7 to maintain adequate documentation to support billing; (3) falsification of medical
             8 records; (4) performing services that lacked medical necessity; (5) providing
             9 services that fell below the standard of care; (6) providing excessive services; and
            10 (7) generating inaccurate billing records, including billing for services not rendered,
            11 including billing for services performed on teeth the patients no longer had at the
            12 time of service, upcoding, and inappropriately splitting services.
            13         615. As a result of Toledo’s conduct, Borrego Health was damaged in an
            14 amount to be proven at trial.
            15                           TWELFTH CAUSE OF ACTION
            16                                   (Breach of Contract)
            17    Against Marlene M. Thompson, D.D.S. and Marlene M. Thompson, D.D.S., Inc.
            18         616. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            19 145, 259 through 264, inclusive, as though fully set forth herein.
            20         617. Borrego Health, Marlene Thompson, D.D.S. and Marlene Thompson,
            21 D.D.S., Inc. entered into the Thompson Agreement.
            22         618. Borrego Health did all, or substantially all, of the significant things that
            23 the Thompson Agreement required or Borrego Health was excused from doing so.
            24         619. Thompson violated the terms of the Thompson Agreement through
            25 their conduct, including but not limited to, generating inaccurate billing records,
            26 including billing for services not rendered, and billing for services performed by
            27 unlicensed and suspected dental providers.
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                                                           153
7275860.1                                       FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3597 Page 154 of 734
                                            735



             1         620. As a result of Thompson’s conduct, Borrego Health was damaged in an
             2 amount to be proven at trial.
             3                         THIRTEENTH CAUSE OF ACTION
             4                                   (Breach of Contract)
             5               Against Douglas Ness, D.D.S. and Ness Dental Corporation
             6         621. Borrego Health reincorporates paragraphs 1 through 54, 132 through
             7 145, 265 through 271, inclusive, as though fully set forth herein.
             8         622. Borrego Health, Douglas Ness, D.D.S. and Ness Dental Corporation
             9 entered into the Ness Agreement.
            10         623. Borrego Health did all, or substantially all, of the significant things that
            11 the Ness Agreement required or Borrego Health was excused from doing so.
            12         624. Ness violated the terms of the Ness Agreement through their conduct,
            13 including but not limited to, generating inaccurate billing records, including billing
            14 for services performed by unlicensed and suspected dental providers.
            15         625. As a result of Ness’s conduct, Borrego Health was damaged in an
            16 amount to be proven at trial.
            17                        FOURTEENTH CAUSE OF ACTION
            18                                   (Breach of Contract)
            19           Against George C. Jared, D.D.S. and George C. Jared, D.D.S., Inc.
            20         626. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            21 145, 272 through 281, inclusive, as though fully set forth herein.
            22         627. Borrego Health, George Jared, D.D.S. and George Jared, D.D.S., Inc.
            23 entered into the Jared Agreement.
            24         628. Borrego Health did all, or substantially all, of the significant things that
            25 the Jared Agreement required or Borrego Health was excused from doing so.
            26         629. Jared violated the terms of the Jared Agreement through their conduct,
            27 including but not limited to, generating inaccurate billing records, including billing
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                                                           154
7275860.1                                       FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3598 Page 155 of 734
                                            735



             1 for services not rendered, and billing for services performed by unlicensed and
             2 suspected dental providers.
             3        630. As a result of Jared’s conduct, Borrego Health was damaged in an
             4 amount to be proven at trial.
             5                          FIFTEENTH CAUSE OF ACTION
             6                             (Intentional Misrepresentation)
             7                               Against Premier Defendants
             8        631. Borrego Health reincorporates paragraphs 1 through 54, 66 through
             9 334, inclusive, as though fully set forth herein.
            10        632. The Premier Defendants represented to Borrego Health that they were
            11 qualified and capable of reviewing, “scrubbing,” and processing contract dental
            12 claims on Borrego Health’s behalf. The Premier Defendants further represented
            13 they had qualified and experienced staff to develop their own quality management
            14 team to oversee Borrego Health’s contract dental program.
            15        633. The Premier Defendants’ representations were false at the time they
            16 were made. At the time Borrego Health entered into the Dental MSA with Premier,
            17 Premier lacked any clinical staff to properly review claims and develop a quality
            18 management system. Upon information and belief, The Premier Defendants knew
            19 their representations were false at the time they were made, or that the
            20 representations where made recklessly without regard for their truth.
            21        634. Borrego Health reasonably relied on the Premier Defendants’
            22 representations, believing it was capable of evaluating contract dental program
            23 claims for necessity and accuracy.
            24        635. Borrego Health’s reliance on the Premier Defendants’ representation
            25 regarding their qualifications and representations that they would properly review
            26 and process the claims was a substantial factor in causing Borrego Health’s harm.
            27        636. As a direct and proximate result, Borrego Health was harmed in an
            28 amount to be proven at trial.

                                                          155
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3599 Page 156 of 734
                                            735



             1                         SIXTEENTH CAUSE OF ACTION
             2                             (Intentional Misrepresentation)
             3                  Against Husam Aldairi, D.D.S. and Aldairi DDS, Inc.
             4        637. Borrego Health reincorporates paragraphs 1 through 54, 132 through
             5 145, 146 through 166, inclusive, as though fully set forth herein.
             6        638. In part, Aldairi misrepresented to Borrego Health that they would
             7 practice dentistry in accordance with all Federal, State and local laws, regulations,
             8 and generally accepted principles applicable the practice of dentistry, hire qualified
             9 and licensed dental professionals to provide dental services to Borrego Health
            10 patients, and prepare, establish, and maintain administrative records, financial
            11 records, records pertaining to patient diagnosis and treatment, and information
            12 pertaining to the services provided. Aldairi also represented they would submit
            13 accurate claims information to Borrego Health for reimbursement.
            14        639. Aldairi’s representations were false at the time they were made. Upon
            15 information and belief, Aldairi knew the representations were false at the time they
            16 were made, or that the representations where made recklessly without regard for
            17 their truth.
            18        640. As set forth herein, Aldairi made various misrepresentations, including
            19 without limitation the misrepresentations made in connection with the Aldairi
            20 Agreements and the false and fraudulent bills submitted by Aldairi (and any related
            21 communication) to Borrego Health.
            22        641. Borrego Health reasonably relied on Aldairi’s representations.
            23        642. As a direct and proximate result, Borrego Health was harmed in an
            24 amount to be proven at trial.
            25                       SEVENTEENTH CAUSE OF ACTION
            26                             (Intentional Misrepresentation)
            27          Against Ayed Hawatmeh, D.D.S. and Hawatmeh Dental Group, P.C.
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                                                          156
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3600 Page 157 of 734
                                            735



             1        643. Borrego Health reincorporates paragraphs 1 through 54, 132 through
             2 145, 167 through 183, inclusive, as though fully set forth herein.
             3        644. In part, Hawatmeh misrepresented to Borrego Health that they would
             4 practice dentistry in accordance with all Federal, State and local laws, regulations,
             5 and generally accepted principles applicable the practice of dentistry, hire qualified
             6 and licensed dental professionals to provide dental services to Borrego Health
             7 patients, and prepare, establish, and maintain administrative records, financial
             8 records, records pertaining to patient diagnosis and treatment, and information
             9 pertaining to the services provided. Hawatmeh also represented they would submit
            10 accurate claims information to Borrego Health for reimbursement.
            11        645. Hawatmeh’s representations were false at the time they were made.
            12 Upon information and belief, Ayed Hawatmeh, D.D.S. and Hawatmeh Dental
            13 Group, P.C. knew the representations were false at the time they were made, or that
            14 the representations where made recklessly without regard for their truth.
            15        646. As set forth herein, Hawatmeh made various misrepresentations,
            16 including without limitation the misrepresentations made in connection with the
            17 Hawatmeh Agreement and the false and fraudulent bills submitted by Hawatmeh
            18 (and any related communication) to Borrego Health.
            19        647. Borrego Health reasonably relied on Hawatmeh’s representations.
            20        648. As a direct and proximate result, Borrego Health was harmed in an
            21 amount to be proven at trial.
            22                        EIGHTEENTH CAUSE OF ACTION
            23                             (Intentional Misrepresentation)
            24           Against Alborz Mehdizadeh, D.D.S. and Alborz Mehdizadeh, Inc.
            25        649. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            26 145, 184 through 195, inclusive, as though fully set forth herein.
            27        650. In part, Alborz Mehdizadeh misrepresented to Borrego Health that they
            28 would practice dentistry in accordance with all Federal, State and local laws,

                                                          157
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3601 Page 158 of 734
                                            735



             1 regulations, and generally accepted principles applicable the practice of dentistry,
             2 hire qualified and licensed dental professionals to provide dental services to Borrego
             3 Health patients, and prepare, establish, and maintain administrative records,
             4 financial records, records pertaining to patient diagnosis and treatment, and
             5 information pertaining to the services provided. Mehdizadeh also represented they
             6 would submit accurate claims information to Borrego Health for reimbursement.
             7         651. Mehdizadeh’s representations were false at the time they were made.
             8 Upon information and belief, Mehdizadeh knew the representations were false at the
             9 time they were made, or that the representations where made recklessly without
            10 regard for their truth.
            11         652. As set forth herein, Aldairi made various misrepresentations, including
            12 without limitation the misrepresentations made in connection with the Mehdizadeh
            13 Agreement and the false and fraudulent bills submitted by Mehdizadeh (and any
            14 related communication) to Borrego Health.
            15         653. Borrego Health reasonably relied on Mehdizadeh’S representations.
            16         654. As a direct and proximate result, Borrego Health was harmed in an
            17 amount to be proven at trial.
            18                           NINETEENTH CAUSE OF ACTION
            19                             (Intentional Misrepresentation)
            20    Against Magaly Velasquez D.D.S. and Magaly M. Velasquez DDS, Professional
            21                                       Dental Corp.
            22         655. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            23 145, 196 through 203, inclusive, as though fully set forth herein.
            24         656. In part, Velasquez misrepresented to Borrego Health that they would
            25 practice dentistry in accordance with all Federal, State and local laws, regulations,
            26 and generally accepted principles applicable the practice of dentistry, hire qualified
            27 and licensed dental professionals to provide dental services to Borrego Health
            28 patients, and prepare, establish, and maintain administrative records, financial

                                                          158
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3602 Page 159 of 734
                                            735



             1 records, records pertaining to patient diagnosis and treatment, and information
             2 pertaining to the services provided. Velasquez also represented they would submit
             3 accurate claims information to Borrego Health for reimbursement.
             4         657. Velasquez’s representations were false at the time they were made.
             5 Upon information and belief, Velasquez knew the representations were false at the
             6 time they were made, or that the representations where made recklessly without
             7 regard for their truth.
             8         658. As set forth herein, Velasquez made various misrepresentations,
             9 including without limitation the misrepresentations made in connection with the
            10 Velasquez Agreement and the false and fraudulent bills submitted by Velasquez
            11 (and any related communication) to Borrego Health.
            12         659. Borrego Health reasonably relied on Velasquez’s representations.
            13         660. As a direct and proximate result, Borrego Health was harmed in an
            14 amount to be proven at trial.
            15                           TWENTIETH CAUSE OF ACTION
            16                             (Intentional Misrepresentation)
            17     Against Aram Arakelyan, D.D.S. and New Millennium Dental Group of Aram
            18                                     Arakelyan, Inc.
            19         661. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            20 145, 204 through 213, inclusive, as though fully set forth herein.
            21         662. In part, Arakelyan misrepresented to Borrego Health that he would
            22 practice dentistry in accordance with all Federal, State and local laws, regulations,
            23 and generally accepted principles applicable the practice of dentistry, hire qualified
            24 and licensed dental professionals to provide dental services to Borrego Health
            25 patients, and prepare, establish, and maintain administrative records, financial
            26 records, records pertaining to patient diagnosis and treatment, and information
            27 pertaining to the services provided. Arakelyan also represented they would submit
            28 accurate claims information to Borrego Health for reimbursement.

                                                          159
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3603 Page 160 of 734
                                            735



             1        663. Arakelyan representations were false at the time they were made. Upon
             2 information and belief, Arakelyan knew the representations were false at the time
             3 they were made, or that the representations where made recklessly without regard
             4 for their truth.
             5        664. As set forth herein, Arakelyan made various misrepresentations,
             6 including without limitation the misrepresentations made in connection with the
             7 Arakelyan Agreements and the false and fraudulent bills submitted by Arakelyan
             8 (and any related communication) to Borrego Health.
             9        665. Borrego Health reasonably relied on Arakelyan’s representations.
            10        666. As a direct and proximate result, Borrego Health was harmed in an
            11 amount to be proven at trial.
            12                       TWENTY-FIRST CAUSE OF ACTION
            13                             (Intentional Misrepresentation)
            14                            Against Michael Hoang, D.M.D.
            15        667. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            16 145, 214 through 219, inclusive, as though fully set forth herein.
            17        668. In part, Michael Hoang, D.M.D. misrepresented to Borrego Health that
            18 he would practice dentistry in accordance with all Federal, State and local laws,
            19 regulations, and generally accepted principles applicable the practice of dentistry,
            20 hire qualified and licensed dental professionals to provide dental services to Borrego
            21 Health patients, and prepare, establish, and maintain administrative records,
            22 financial records, records pertaining to patient diagnosis and treatment, and
            23 information pertaining to the services provided. Hoang also represented they would
            24 submit accurate claims information to Borrego Health for reimbursement.
            25        669. Michael Hoang, D.M.D.’s representations were false at the time they
            26 were made. Upon information and belief, Michael Hoang, D.M.D. knew the
            27 representations were false at the time they were made, or that the representations
            28 where made recklessly without regard for their truth.

                                                          160
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3604 Page 161 of 734
                                            735



             1         670. As set forth herein, Hoang made various misrepresentations, including
             2 without limitation the misrepresentations made in connection with the Hoang
             3 Agreement and the false and fraudulent bills submitted by Hoang (and any related
             4 communication) to Borrego Health.
             5         671. Borrego Health reasonably relied on Michael Hoang, D.M.D.’s
             6 representations.
             7         672. As a direct and proximate result, Borrego Health was harmed in an
             8 amount to be proven at trial.
             9                      TWENTY-SECOND CAUSE OF ACTION
            10                             (Intentional Misrepresentation)
            11       Against Waleed Stephan, D.D.S. and W.A. Stephan, a Dental Corporation
            12         673. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            13 145, 220 through 225, inclusive, as though fully set forth herein.
            14         674. In part, Stephan misrepresented to Borrego Health that they would
            15 practice dentistry in accordance with all Federal, State and local laws, regulations,
            16 and generally accepted principles applicable the practice of dentistry, hire qualified
            17 and licensed dental professionals to provide dental services to Borrego Health
            18 patients, and prepare, establish, and maintain administrative records, financial
            19 records, records pertaining to patient diagnosis and treatment, and information
            20 pertaining to the services provided. Stephan also represented they would submit
            21 accurate claims information to Borrego Health for reimbursement.
            22         675. Stephan’s representations were false at the time they were made. Upon
            23 information and belief, Stephan knew the representations were false at the time they
            24 were made, or that the representations where made recklessly without regard for
            25 their truth.
            26         676. As set forth herein, Stephan made various misrepresentations, including
            27 without limitation the misrepresentations made in connection with the Stephan
            28

                                                          161
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3605 Page 162 of 734
                                            735



             1 Agreement and the false and fraudulent bills submitted by Stephan (and any related
             2 communication) to Borrego Health.
             3         677. Borrego Health reasonably relied on Stephan’s representations.
             4         678. As a direct and proximate result, Borrego Health was harmed in an
             5 amount to be proven at trial.
             6                         TWENTY-THIRD CAUSE OF ACTION
             7                               (Intentional Misrepresentation)
             8                Against Santiago Rojo, D.D.S. and Santiago Rojo, D.D.S., Inc.
             9         679. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            10 145, 226 through 231, inclusive, as though fully set forth herein.
            11         680. In part, Rojo misrepresented to Borrego Health that they would practice
            12 dentistry in accordance with all Federal, State and local laws, regulations, and
            13 generally accepted principles applicable the practice of dentistry, hire qualified and
            14 licensed dental professionals to provide dental services to Borrego Health patients,
            15 and prepare, establish, and maintain administrative records, financial records,
            16 records pertaining to patient diagnosis and treatment, and information pertaining to
            17 the services provided. Rojo also represented they would submit accurate claims
            18 information to Borrego Health for reimbursement.
            19         681. Rojo’s representations were false at the time they were made. Upon
            20 information and belief, Rojo knew the representations were false at the time they
            21 were made, or that the representations where made recklessly without regard for
            22 their truth.
            23         682. As set forth herein, Rojo made various misrepresentations, including
            24 without limitation the misrepresentations made in connection with the Rojo
            25 Agreement and the false and fraudulent bills submitted by Rojo (and any related
            26 communication) to Borrego Health.
            27         683. Borrego Health reasonably relied on Rojo’s representations.
            28

                                                           162
7275860.1                                        FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3606 Page 163 of 734
                                            735



             1         684. As a direct and proximate result, Borrego Health was harmed in an
             2 amount to be proven at trial.
             3                     TWENTY-FOURTH CAUSE OF ACTION
             4                             (Intentional Misrepresentation)
             5           Against Marcelo Toledo, D.D.S. and Marcelo Toledo, D.D.S., Inc.
             6         685. Borrego Health reincorporates paragraphs 1 through 54, 132 through
             7 145, 246 through 258, inclusive, as though fully set forth herein.
             8         686. In part, Toledo misrepresented to Borrego Health that they would
             9 practice dentistry in accordance with all Federal, State and local laws, regulations,
            10 and generally accepted principles applicable the practice of dentistry, hire qualified
            11 and licensed dental professionals to provide dental services to Borrego Health
            12 patients, and prepare, establish, and maintain administrative records, financial
            13 records, records pertaining to patient diagnosis and treatment, and information
            14 pertaining to the services provided. Toledo also represented they would submit
            15 accurate claims information to Borrego Health for reimbursement.
            16         687. Toledo’s representations were false at the time they were made. Upon
            17 information and belief, Toledo knew the representations were false at the time they
            18 were made, or that the representations where made recklessly without regard for
            19 their truth.
            20         688. As set forth herein, Toledo made various misrepresentations, including
            21 without limitation the misrepresentations made in connection with the Toledo
            22 Agreement and the false and fraudulent bills submitted by Toledo (and any related
            23 communication) to Borrego Health.
            24         689. Borrego Health reasonably relied on Toledo’s representations.
            25         690. As a direct and proximate result, Borrego Health was harmed in an
            26 amount to be proven at trial.
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                                                          163
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3607 Page 164 of 734
                                            735



             1                       TWENTY-FIFTH CAUSE OF ACTION
             2                             (Intentional Misrepresentation)
             3    Against Marlene M. Thompson, D.D.S. and Marlene M. Thompson, D.D.S., Inc.
             4         691. Borrego Health reincorporates paragraphs 1 through 54, 132 through
             5 145, 259 through 264, inclusive, as though fully set forth herein.
             6         692. In part, Thompson misrepresented to Borrego Health that they would
             7 practice dentistry in accordance with all Federal, State and local laws, regulations,
             8 and generally accepted principles applicable the practice of dentistry, hire qualified
             9 and licensed dental professionals to provide dental services to Borrego Health
            10 patients, and prepare, establish, and maintain administrative records, financial
            11 records, records pertaining to patient diagnosis and treatment, and information
            12 pertaining to the services provided. Thompson also represented they would submit
            13 accurate claims information to Borrego Health for reimbursement.
            14         693. Thompson’s representations were false at the time they were made.
            15 Upon information and belief, Thompson knew the representations were false at the
            16 time they were made, or that the representations where made recklessly without
            17 regard for their truth.
            18         694. Borrego Health reasonably relied on Thompson’s representations.
            19         695. As a direct and proximate result, Borrego Health was harmed in an
            20 amount to be proven at trial.
            21                       TWENTY-SIXTH CAUSE OF ACTION
            22                             (Intentional Misrepresentation)
            23               Against Douglas Ness, D.D.S. and Ness Dental Corporation
            24         696. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            25 145, 265 through 271, inclusive, as though fully set forth herein.
            26         697. In part, Ness misrepresented to Borrego Health that they would practice
            27 dentistry in accordance with all Federal, State and local laws, regulations, and
            28 generally accepted principles applicable the practice of dentistry, hire qualified and

                                                          164
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3608 Page 165 of 734
                                            735



             1 licensed dental professionals to provide dental services to Borrego Health patients,
             2 and prepare, establish, and maintain administrative records, financial records,
             3 records pertaining to patient diagnosis and treatment, and information pertaining to
             4 the services provided. Ness also represented they would submit accurate claims
             5 information to Borrego Health for reimbursement.
             6         698. Ness’ representations were false at the time they were made. Upon
             7 information and belief, Ness knew the representations were false at the time they
             8 were made, or that the representations where made recklessly without regard for
             9 their truth.
            10         699. Borrego Health reasonably relied on Ness’ representations.
            11         700. As a direct and proximate result, Borrego Health was harmed in an
            12 amount to be proven at trial.
            13                     TWENTY-SEVENTH CAUSE OF ACTION
            14                             (Intentional Misrepresentation)
            15           Against George C. Jared, D.D.S. and George C. Jared, D.D.S., Inc.
            16         701. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            17 145, 272 through 281, inclusive, as though fully set forth herein.
            18         702. In part, Jared misrepresented to Borrego Health that they would
            19 practice dentistry in accordance with all Federal, State and local laws, regulations,
            20 and generally accepted principles applicable the practice of dentistry, hire qualified
            21 and licensed dental professionals to provide dental services to Borrego Health
            22 patients, and prepare, establish, and maintain administrative records, financial
            23 records, records pertaining to patient diagnosis and treatment, and information
            24 pertaining to the services provided. Jared also represented they would submit
            25 accurate claims information to Borrego Health for reimbursement.
            26         703. Jared’s representations were false at the time they were made. Upon
            27 information and belief, Jared knew the representations were false at the time they
            28

                                                          165
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3609 Page 166 of 734
                                            735



             1 were made, or that the representations where made recklessly without regard for
             2 their truth.
             3         704. Borrego Health reasonably relied on Jared’s representations.
             4         705. As a direct and proximate result, Borrego Health was harmed in an
             5 amount to be proven at trial.
             6                      TWENTY-EIGHTH CAUSE OF ACTION
             7                              (Negligent Misrepresentation)
             8                               Against Premier Defendants
             9         706. Borrego Health reincorporates paragraphs 1 through 54, 66 through
            10 334, inclusive, as though fully set forth herein.
            11         707. The Premier Defendants represented to Borrego Health that it was
            12 qualified and capable of reviewing, “scrubbing,” and processing contract dental
            13 claims on Borrego Health’s behalf. The Premier Defendants further represented that
            14 Premier had qualified and experienced staff to develop its own quality management
            15 team to oversee Borrego Health’s contract dental program.
            16         708. The Premier Defendants had no reasonable grounds for believing their
            17 representations were true at the time they were made. At the time Borrego Health
            18 entered into the MSAs with Premier, Premier lacked any clinical staff to properly
            19 review claims and develop a quality management system.
            20         709. The Premier Defendants intended for Borrego Health to rely on its
            21 representations to persuade Borrego Health to retain Premier’s services.
            22         710. Borrego Health reasonably relied on the Premier Defendants’
            23 representations, believing Premier was capable of evaluating contract dental
            24 program claims for necessity and accuracy.
            25         711. Borrego Health’s reliance on the Premier Defendants’ representation
            26 regarding their qualifications and representations that they would properly review
            27 and process the claims was a substantial factor in causing Borrego Health harm.
            28

                                                          166
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3610 Page 167 of 734
                                            735



             1        712. As a direct and proximate result, Borrego Health was harmed in an
             2 amount to be proven at trial.
             3                      TWENTY-NINTH CAUSE OF ACTION
             4                             (Negligent Misrepresentation)
             5                 Against Husam Aldairi, D.D.S. and Aldairi DDS, Inc.
             6        713. Borrego Health reincorporates paragraphs 1 through 54, 132 through
             7 145, 146 through 166, inclusive, as though fully set forth herein.
             8        714. As outlined above, Aldairi made several representations to Borrego
             9 Health regarding the scope and nature of the services they would provide to Borrego
            10 Health patients. Aldairi also represented to Borrego Health that the claims submitted
            11 for reimbursement would be accurate and for services performed by a dental
            12 provider eligible to serve Medi-Cal patients.
            13        715. As set forth herein, Aldairi made various misrepresentations, including
            14 without limitation the misrepresentations made in connection with the Aldairi
            15 Agreements and the false and fraudulent bills submitted by Aldairi (and any related
            16 communication) to Borrego Health.
            17        716. Aldairi had no reasonable grounds for believing their representations
            18 were true at the time they were made.
            19        717. Aldairi intended for Borrego Health to rely on their representations to
            20 persuade Borrego Health to continue to contract with Husam Aldairi, D.D.S. and
            21 Aldairi DDS, Inc.
            22        718. Borrego Health reasonably relied on Aldairi’s representations.
            23        719. As a result of relying on Aldairi’s representations, Borrego Health
            24 submitted claims to Medi-Cal that were not supportable and paid Aldairi for services
            25 that should not have been paid.
            26        720. Borrego Health’s reliance on Aldairi’s representations was a substantial
            27 factor in causing Borrego Health harm.
            28

                                                         167
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3611 Page 168 of 734
                                            735



             1                         THIRTIETH CAUSE OF ACTION
             2                             (Negligent Misrepresentation)
             3          Against Ayed Hawatmeh, D.D.S. and Hawatmeh Dental Group, P.C.
             4        721. Borrego Health reincorporates paragraphs 1 through 54, 132 through
             5 145, 167 through 183, inclusive, as though fully set forth herein.
             6        722. As outlined above, Hawatmeh made several representations to Borrego
             7 Health regarding the scope and nature of the services they would provide to Borrego
             8 Health patients. Hawatmeh also represented to Borrego Health that the claims
             9 submitted for reimbursement would be accurate.
            10        723. As set forth herein, Hawatmeh made various misrepresentations,
            11 including without limitation the misrepresentations made in connection with the
            12 Hawatmeh Agreement and the false and fraudulent bills submitted by Hawatmeh
            13 (and any related communication) to Borrego Health.
            14        724. Hawatmeh had no reasonable grounds for believing their
            15 representations were true at the time they were made.
            16        725. Hawatmeh intended for Borrego Health to rely on their representations
            17 to persuade Borrego Health to continue to contract with Hawatmeh.
            18        726. Borrego Health reasonably relied on Hawatmeh’s representations.
            19        727. As a result of relying on Hawatmeh’s representations, Borrego Health
            20 submitted claims to Medi-Cal that were not supportable and paid Hawatmeh for
            21 services that should not have been paid.
            22        728. Borrego Health’s reliance on Hawatmeh’s representations was a
            23 substantial factor in causing Borrego Health harm.
            24                       THIRTY-FIRST CAUSE OF ACTION
            25                             (Negligent Misrepresentation)
            26           Against Alborz Mehdizadeh, D.D.S. and Alborz Mehdizadeh, Inc.
            27        729. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            28 145, 184 through 195, inclusive, as though fully set forth herein.

                                                          168
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3612 Page 169 of 734
                                            735



             1        730. As outlined above, Mehdizadeh made several representations to
             2 Borrego Health regarding the scope and nature of the services they would provide to
             3 Borrego Health patients. Mehdizadeh also represented to Borrego Health that the
             4 claims submitted for reimbursement would be accurate.
             5        731. As set forth herein, Mehdizadeh made various misrepresentations,
             6 including without limitation the misrepresentations made in connection with the
             7 Mehdizadeh Agreement and the false and fraudulent bills submitted by Mehdizadeh
             8 (and any related communication) to Borrego Health.
             9        732. Mehdizadeh had no reasonable grounds for believing their
            10 representations were true at the time they were made.
            11        733. Mehdizadeh intended for Borrego Health to rely on their
            12 representations to persuade Borrego Health to continue to contract with
            13 Mehdizadeh.
            14        734. Borrego Health reasonably relied on Mehdizadeh’s representations.
            15        735. As a result of relying on Mehdizadeh’s representations, Borrego Health
            16 submitted claims to Medi-Cal that were not supportable and paid MehdizadeH for
            17 services that should not have been paid.
            18        736. Borrego Health’s reliance on Mehdizadeh’s representations was a
            19 substantial factor in causing Borrego Health harm.
            20                      THIRTY-SECOND CAUSE OF ACTION
            21                             (Negligent Misrepresentation)
            22    Against Magaly Velasquez, D.D.S. and Magaly M. Velasquez DDS, Professional
            23                                      Dental Corp.
            24        737. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            25 145, 196 through 203, inclusive, as though fully set forth herein.
            26        738. As outlined above, Velasquez made several representations to Borrego
            27 Health regarding the scope and nature of the services they would provide to Borrego
            28

                                                          169
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3613 Page 170 of 734
                                            735



             1 Health patients. Velasquez also represented to Borrego Health that the claims
             2 submitted for reimbursement would be accurate.
             3        739. As set forth herein, Velasquez made various misrepresentations,
             4 including without limitation the misrepresentations made in connection with the
             5 Velasquez Agreement and the false and fraudulent bills submitted by Velasquez
             6 (and any related communication) to Borrego Health.
             7        740. Velasquez had no reasonable grounds for believing their
             8 representations were true at the time they were made.
             9        741. Velasquez intended for Borrego Health to rely on their representations
            10 to persuade Borrego Health to continue to contract with Velasquez.
            11        742. Borrego Health reasonably relied on Velasquez’s representations.
            12        743. As a result of relying on Velasquez’s representations, Borrego Health
            13 submitted claims to Medi-Cal that were not supportable and paid Velasquez for
            14 services that should not have been paid.
            15        744. Borrego Health’s reliance on Velasquez’s representations was a
            16 substantial factor in causing Borrego Health harm.
            17                       THIRTY-THIRD CAUSE OF ACTION
            18                             (Negligent Misrepresentation)
            19     Against Aram Arakelyan, D.D.S. and New millennium Dental Group of Aram
            20                                     Arakelyan, Inc.
            21        745. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            22 145, 204 through 213, inclusive, as though fully set forth herein.
            23        746. As outlined above, Arakelyan made several representations to Borrego
            24 Health regarding the scope and nature of the services he would provide to Borrego
            25 Health patients. Arakelyan also represented to Borrego Health that the claims
            26 submitted for reimbursement would be accurate.
            27        747. As set forth herein, Arakelyan made various misrepresentations,
            28 including without limitation the misrepresentations made in connection with the

                                                          170
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3614 Page 171 of 734
                                            735



             1 Arakelyan Agreements and the false and fraudulent bills submitted by Arakelyan
             2 (and any related communication) to Borrego Health.
             3        748. Arakelyan had no reasonable grounds for believing his representations
             4 were true at the time they were made.
             5        749. Arakelyan intended for Borrego Health to rely on his representations to
             6 persuade Borrego Health to continue to contract with Arakelyan.
             7        750. Borrego Health reasonably relied on Arakelyan’s representations.
             8        751. As a result of relying on Arakelyan’s representations, Borrego Health
             9 submitted claims to Medi-Cal that were not supportable and paid Arakelyan for
            10 services that should not have been paid.
            11        752. Borrego Health’s reliance on Arakelyan’s representations was a
            12 substantial factor in causing Borrego Health harm.
            13                      THIRTY-FOURTH CAUSE OF ACTION
            14                             (Negligent Misrepresentation)
            15                            Against Michael Hoang, D.M.D.
            16        753. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            17 145, 214 through 219, inclusive, as though fully set forth herein.
            18        754. As outlined above, Michael Hoang, D.M.D. made several
            19 representations to Borrego Health regarding the scope and nature of the services he
            20 would provide to Borrego Health patients. Hoang also represented to Borrego
            21 Health that the claims submitted for reimbursement would be accurate.
            22        755. As set forth herein, Hoang made various misrepresentations, including
            23 without limitation the misrepresentations made in connection with the Hoang
            24 Agreement and the false and fraudulent bills submitted by Hoang (and any related
            25 communication) to Borrego Health.
            26        756. Michael Hoang, D.M.D. had no reasonable grounds for believing their
            27 representations were true at the time they were made.
            28

                                                          171
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3615 Page 172 of 734
                                            735



             1        757. Michael Hoang, D.M.D. intended for Borrego Health to rely on his
             2 representations to persuade Borrego Health to continue to contract with Michael
             3 Hoang, D.M.D.
             4        758. Borrego Health reasonably relied on Michael Hoang, D.M.D.’s
             5 representations.
             6        759. As a result of relying on Michael Hoang, D.M.D.’s representations,
             7 Borrego Health submitted claims to Medi-Cal that were not supportable and paid
             8 Michael Hoang, D.M.D. for services that should not have been paid.
             9        760. Borrego Health’s reliance on Michael Hoang, D.M.D.’s representations
            10 was a substantial factor in causing Borrego Health harm.
            11                       THIRTY-FIFTH CAUSE OF ACTION
            12                             (Negligent Misrepresentation)
            13       Against Waleed Stephan, D.D.S. and W.A. Stephan, a Dental Corporation
            14        761. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            15 145, 220 through 225, inclusive, as though fully set forth herein.
            16        762. As outlined above, Stephan made several representations to Borrego
            17 Health regarding the scope and nature of the services they would provide to Borrego
            18 Health patients. Stephan also represented to Borrego Health that the claims
            19 submitted for reimbursement would be accurate.
            20        763. As set forth herein, Stephan made various misrepresentations, including
            21 without limitation the misrepresentations made in connection with the Stephan
            22 Agreement and the false and fraudulent bills submitted by Stephan (and any related
            23 communication) to Borrego Health.
            24        764. Stephan had no reasonable grounds for believing their representations
            25 were true at the time they were made.
            26        765. Stephan intended for Borrego Health to rely on their representations to
            27 persuade Borrego Health to continue to contract with Stephan.
            28        766. Borrego Health reasonably relied on Stephan’s representations.

                                                         172
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3616 Page 173 of 734
                                            735



             1        767. As a result of relying on Stephan’s representations, Borrego Health
             2 submitted claims to Medi-Cal that were not supportable and paid Stephan for
             3 services that should not have been paid.
             4        768. Borrego Health’s reliance on Stephan’s representations was a
             5 substantial factor in causing Borrego Health harm.
             6                       THIRTY-SIXTH CAUSE OF ACTION
             7                             (Negligent Misrepresentation)
             8             Against Santiago Rojo, D.D.S. and Santiago Rojo, D.D.S., Inc.
             9        769. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            10 145, 226 through 231, inclusive, as though fully set forth herein.
            11        770. As outlined above, Rojo made several representations to Borrego
            12 Health regarding the scope and nature of the services they would provide to Borrego
            13 Health patients. Rojo also represented to Borrego Health that the claims submitted
            14 for reimbursement would be accurate and for services performed by a dental
            15 provider eligible to serve Medi-Cal patients.
            16        771. As set forth herein, Rojo made various misrepresentations, including
            17 without limitation the misrepresentations made in connection with the Rojo
            18 Agreement and the false and fraudulent bills submitted by Rojo (and any related
            19 communication) to Borrego Health.
            20        772. Rojo had no reasonable grounds for believing their representations
            21 were true at the time they were made.
            22        773. Rojo intended for Borrego Health to rely on their representations to
            23 persuade Borrego Health to continue to contract with Rojo.
            24        774. Borrego Health reasonably relied on Rojo’s representations.
            25        775. As a result of relying on Santiago Rojo, D.D.S. and Santiago Rojo,
            26 D.D.S., Inc.’s representations, Borrego Health submitted claims to Medi-Cal that
            27 were not supportable and paid Rojo for services that should not have been paid.
            28

                                                          173
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3617 Page 174 of 734
                                            735



             1        776. Borrego Health’s reliance on Rojo’s representations was a substantial
             2 factor in causing Borrego Health harm.
             3                     THIRTY-SEVENTH CAUSE OF ACTION
             4                             (Negligent Misrepresentation)
             5           Against Marcelo Toledo, D.D.S. and Marcelo Toledo, D.D.S., Inc.
             6        777. Borrego Health reincorporates paragraphs 1 through 54, 132 through
             7 145, 246 through 258, inclusive, as though fully set forth herein.
             8        778. As outlined above, Toledo made several representations to Borrego
             9 Health regarding the scope and nature of the services they would provide to Borrego
            10 Health patients. Toledo also represented to Borrego Health that the claims submitted
            11 for reimbursement would be accurate.
            12        779. As set forth herein, Toledo made various misrepresentations, including
            13 without limitation the misrepresentations made in connection with the Toledo
            14 Agreement and the false and fraudulent bills submitted by Toledo (and any related
            15 communication) to Borrego Health.
            16        780. Toledo had no reasonable grounds for believing their representations
            17 were true at the time they were made.
            18        781. Toledo intended for Borrego Health to rely on their representations to
            19 persuade Borrego Health to continue to contract with Toledo.
            20        782. Borrego Health reasonably relied on Toledo’s representations.
            21        783. As a result of relying on Toledo’s representations, Borrego Health
            22 submitted claims to Medi-Cal that were not supportable and paid Toledo for services
            23 that should not have been paid.
            24        784. Borrego Health’s reliance on Toledo’s representations was a substantial
            25 factor in causing Borrego Health harm.
            26                      THIRTY-EIGHTH CAUSE OF ACTION
            27                             (Negligent Misrepresentation)
            28    Against Marlene M. Thompson, D.D.S. and Marlene M. Thompson, D.D.S., Inc.

                                                         174
7275860.1                                     FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3618 Page 175 of 734
                                            735



             1        785. Borrego Health reincorporates paragraphs 1 through 54, 132 through
             2 145, 259 through 264, inclusive, as though fully set forth herein.
             3        786. As outlined above, Thompson made several representations to Borrego
             4 Health regarding the scope and nature of the services they would provide to Borrego
             5 Health patients. Thompson also represented to Borrego Health that the claims
             6 submitted for reimbursement would be accurate and for services performed by a
             7 dental provider eligible to serve Medi-Cal patients.
             8        787. Thompson had no reasonable grounds for believing their
             9 representations were true at the time they were made.
            10        788. Thompson. intended for Borrego Health to rely on their representations
            11 to persuade Borrego Health to continue to contract with Thompson.
            12        789. Borrego Health reasonably relied on Thompson’s representations.
            13        790. As a result of relying on Thompson’s representations, Borrego Health
            14 submitted claims to Medi-Cal that were not supportable and paid Thompson for
            15 services that should not have been paid.
            16        791. Borrego Health’s reliance on Thompson’s representations was a
            17 substantial factor in causing Borrego Health harm.
            18                       THIRTY-NINTH CAUSE OF ACTION
            19                             (Negligent Misrepresentation)
            20              Against Douglas Ness, D.D.S. and Ness Dental Corporation
            21        792. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            22 145, 265 through 271, inclusive, as though fully set forth herein.
            23        793. As outlined above, Ness made several representations to Borrego
            24 Health regarding the scope and nature of the services they would provide to Borrego
            25 Health patients. Ness also represented to Borrego Health that the claims submitted
            26 for reimbursement would be accurate and for services performed by a dental
            27 provider eligible to serve Medi-Cal patients.
            28

                                                          175
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3619 Page 176 of 734
                                            735



             1        794. Ness had no reasonable grounds for believing their representations
             2 were true at the time they were made.
             3        795. Ness intended for Borrego Health to rely on their representations to
             4 persuade Borrego Health to continue to contract with Ness.
             5        796. Borrego Health reasonably relied on Ness’ representations.
             6        797. As a result of relying on Ness’ representations, Borrego Health
             7 submitted claims to Medi-Cal that were not supportable and paid Ness for services
             8 that should not have been paid.
             9        798. Borrego Health’s reliance on Ness’ representations was a substantial
            10 factor in causing Borrego Health harm.
            11                          FORTIETH CAUSE OF ACTION
            12                             (Negligent Misrepresentation)
            13           Against George C. Jared, D.D.S. and George C. Jared, D.D.S., Inc.
            14        799. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            15 145, 272 through 281, inclusive, as though fully set forth herein.
            16        800. As outlined above, Jared made several representations to Borrego
            17 Health regarding the scope and nature of the services they would provide to Borrego
            18 Health patients. Jared also represented to Borrego Health that the claims submitted
            19 for reimbursement would be accurate and for services performed by a dental
            20 provider eligible to serve Medi-Cal patients.
            21        801. Jared had no reasonable grounds for believing their representations
            22 were true at the time they were made.
            23        802. Jared intended for Borrego Health to rely on their representations to
            24 persuade Borrego Health to continue to contract with Jared.
            25        803. Borrego Health reasonably relied on Jared’s representations.
            26        804. As a result of relying on Jared’s representations, Borrego Health
            27 submitted claims to Medi-Cal that were not supportable and paid Jared for services
            28 that should not have been paid.

                                                         176
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3620 Page 177 of 734
                                            735



             1        805. Borrego Health’s reliance on Jared’s representations was a substantial
             2 factor in causing Borrego Health harm.
             3                        FORTY-FIRST CAUSE OF ACTION
             4                                    (Legal Malpractice)
             5                            Against Defendant Mikia Wallis
             6        806. Borrego Health reincorporates paragraphs 1 through 145, 282 through
             7 503, inclusive, as though fully set forth herein.
             8        807. Mikia Wallis was originally hired by Borrego Health to serve as its
             9 Chief Legal Officer. Mikia Wallis later served in a dual capacity as the President
            10 and interim CEO of Borrego Health. As Borrego Health’s attorney, agent and
            11 fiduciary, Mikia Wallis has a duty to act with reasonable care and to act for the
            12 benefit of Borrego Health.
            13        808. As outlined herein, Mikia Wallis breached her legal duties to Borrego
            14 Health.
            15        809. As a direct and proximate result of Mikia Wallis’ breaches, Borrego
            16 Health was damaged in an amount to be proven at trial.
            17                       FORTY-SECOND CAUSE OF ACTION
            18                                  (Fraudulent Concealment)
            19     Against Borrego Insiders, the Premier Defendants, Jim Hebets, and The Hebets
            20                                         Company
            21        810. Borrego Health reincorporates paragraphs 1 through 485, inclusive, as
            22 though fully set forth herein.
            23        811. The Borrego Insiders, the Premier Defendants, Jim Hebets, and The
            24 Hebets Company owed duties to Borrego Health.
            25        812. As outlined herein, the Borrego Insiders, the Premier Defendants, Jim
            26 Hebets, and The Hebets Company intentionally failed to disclose pertinent facts to
            27 Borrego Health regarding Borrego Health’s business operations and took actions to
            28 conceal such facts from Borrego Health.

                                                          177
7275860.1                                        FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3621 Page 178 of 734
                                            735



             1        813. Borrego Health was not aware of the facts Borrego Insiders, the
             2 Premier Defendants, Jim Hebets, and The Hebets Company concealed from Borrego
             3 Health.
             4        814. The Borrego Insiders, the Premier Defendants, Jim Hebets, and The
             5 Hebets Company intended to deceive Borrego Health by failing to
             6 disclose/concealing such facts.
             7        815. Had the Borrego Insiders, the Premier Defendants, Jim Hebets, and The
             8 Hebets Company disclosed the withheld and concealed information, Borrego Health
             9 would have taken different actions then it did.
            10        816. Borrego Health was harmed as a result of the Borrego Insiders, the
            11 Premier Defendants, Jim Hebets, and The Hebets Company’s conduct.
            12        817. The Borrego Insiders, the Premier Defendants, Jim Hebets, and The
            13 Hebets Company’s concealment was a substantial factor in causing Borrego
            14 Health’s harm.
            15                       FORTY-THIRD CAUSE OF ACTION
            16                                     (False Promise)
            17                                  Against All Defendants
            18        818. Borrego Health reincorporates paragraphs 1 through 485, inclusive, as
            19 though fully set forth herein.
            20        819. As outlined herein, each and every Defendant made promises to
            21 Borrego Health.
            22        820. Defendants did not intend to perform on the promises made at the time
            23 they made those promises to Borrego Health.
            24        821. Defendants intended for Borrego Health to rely on those promises.
            25        822. Borrego Health reasonably relied on Defendants’ promises.
            26        823. Defendants did not perform the actions they promised to perform.
            27        824. Borrego Health was harmed as a result of Defendants’ failures to
            28 perform the actions promised.

                                                         178
7275860.1                                       FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3622 Page 179 of 734
                                            735



             1         825. Borrego Health’s reliance on Defendants’ promises was a substantial
             2 factor in causing Borrego Health harm.
             3                       FORTY-FOURTH CAUSE OF ACTION
             4                                      (Conversion)
             5                                  Against All Defendants
             6         826. Borrego Health reincorporates paragraphs 1 through 485, inclusive, as
             7 though fully set forth herein.
             8         827. As set forth herein, Defendants substantially interfered with Borrego
             9 Health’s personal property by knowingly taking money from Borrego Health for
            10 which Defendants were not entitled to, or at least prevented Borrego Health from
            11 receiving the full funds to which it was entitled.
            12         828.   As set forth herein, Borrego Health did not consent to Defendants
            13 improper withholding of funds that were rightfully owned by Borrego Health.
            14         829. As set forth herein, Borrego Health was harmed.
            15         830. As set forth herein, Defendants’ conduct was a substantial factor in
            16 causing plaintiff’s harm.
            17                        FORTY-FIFTH CAUSE OF ACTION
            18                              (Inducing Breach of Contract)
            19                                  Against All Defendants
            20         831. Borrego Health reincorporates paragraphs 1 through 54, 66 through
            21 334, inclusive, as though fully set forth herein.
            22         832. Borrego Health had a contract with Medi-Cal.
            23         833. Borrego Health had contracts with its contract dental providers,
            24 including the corporate entities of the individually named Dentist Defendants.
            25         834. Defendants knew of Borrego Health’s contracts with Medi-Cal, the
            26 corporate Dentist Defendants, and Borrego Health’s contract dental providers.
            27
            28

                                                          179
7275860.1                                       FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3623 Page 180 of 734
                                            735



             1         835. Through the conduct alleged herein, Defendants intended to cause the
             2 contracted dental providers to breach the terms of their contract with Borrego
             3 Health.
             4         836. Defendants’ conduct did cause the contracted dental providers to
             5 breach their contracts with Borrego Health.
             6         837. As a result of Defendants’ conduct, Borrego Health was harmed.
             7         838. Defendants’ conduct was a substantial factor in causing Borrego
             8 Health’s harm.
             9                        FORTY-SIXTH CAUSE OF ACTION
            10                  (Intentional Interference with Contractual Relations)
            11                                 Against All Defendants
            12         839. Borrego Health reincorporates paragraphs 1 through 54, 66 through
            13 334, inclusive, as though fully set forth herein.
            14         840. Borrego Health had a contract with Medi-Cal.
            15         841. Borrego Health had contracts with its contract dental providers,
            16 including the corporate entities of the individually named Dentist Defendants.
            17         842. Defendants knew of Borrego Health’s contracts with Medi-Cal, the
            18 corporate Dentist Defendants, and Borrego Health’s contract dental providers.
            19         843. Through the conduct alleged herein, Defendants intended to cause the
            20 contracted dental providers to breach the terms of their contract with Borrego
            21 Health, which thereby impacted Borrego Health’s contract with Medi-Cal.
            22         844. Defendants’ conduct made Borrego Health’s performance under their
            23 contracts expensive and difficult.
            24         845. Defendants intended to disrupt performance of the contracts or at least
            25 knew that disruption of performance was substantially certain to occur by their
            26 conduct.
            27         846. As a result of Defendants’ conduct, Borrego Health was harmed.
            28

                                                          180
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3624 Page 181 of 734
                                            735



             1        847. Defendants’ conduct was a substantial factor in causing Borrego
             2 Health’s harm.
             3                       FORTY-SEVENTH CAUSE OF ACTION
             4              (Intentional Interference with Prospective Economic Relations)
             5                                 Against All Defendants
             6        848. Borrego Health reincorporates paragraphs 1 through 46, 66 through
             7 334, inclusive, as though fully set forth herein.
             8        849. Borrego Health was in an economic relationship with Medi-Cal, which
             9 provided an economic benefit to Borrego Health.
            10        850. Borrego Health was in economic relationships with its contract dental
            11 providers, including the corporate entities of the individually named Dentist
            12 Defendants, which provided an economic benefit to Borrego Health.
            13        851. Defendants knew of Borrego Health’s economic relationship with
            14 Medi-Cal.
            15        852. Defendants knew of Borrego Health’s economic relationships with the
            16 corporate Dentist Defendants, as well as the contracts with individual contract dental
            17 providers.
            18        853. As outlined herein, Defendants engaged in wrongful conduct that was
            19 intended to disrupt Borrego Health’s relationships with Medi-Cal, the corporate
            20 Dentist Defendants, and Borrego Health’s contract dental providers.
            21        854.     Borrego Health’s relationships with Medi-Cal, the corporate Dentist
            22 Defendants, and Borrego Health’s contract dental providers were disrupted.
            23        855. As a result of Defendants’ conduct, Borrego Health was harmed.
            24        856. Defendants’ conduct was a substantial factor in causing Borrego
            25 Health’s harm.
            26                        FORTY-EIGHTH CAUSE OF ACTION
            27               (Negligent Interference with Prospective Economic Relations)
            28                                 Against All Defendants

                                                          181
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3625 Page 182 of 734
                                            735



             1        857. Borrego Health reincorporates paragraphs 1 through 46, 66 through
             2 334, inclusive, as though fully set forth herein.
             3        858. Borrego Health was in an economic relationship with Medi-Cal, which
             4 provided an economic benefit to Borrego Health.
             5        859. Borrego Health was in economic relationships with its contract dental
             6 providers, including the corporate entities of the individually named Dentist
             7 Defendants, which provided an economic benefit to Borrego Health.
             8        860. Defendants knew or should have known of Borrego Health’s contract
             9 with Medi-Cal.
            10        861. Defendants knew or should have known of Borrego Health’s contracts
            11 with the corporate Dentist Defendants, as well as the contracts with individual
            12 contract dental providers.
            13        862. As outlined herein, Defendants knew or should have known Borrego
            14 Health’s relationships with Medi-Cal, the corporate Dentist Defendants, and
            15 Borrego Health’s contract dental providers would be disrupted if they failed to act
            16 with reasonable care.
            17        863. As outlined herein, Defendants failed to act with reasonable care when
            18 they engaged in wrongful conduct that was intended to disrupt Borrego Health’s
            19 relationships with Medi-Cal, the corporate Dentist Defendants, and Borrego
            20 Health’s contract dental providers.
            21        864.    Borrego Health’s relationships with Medi-Cal, the corporate Dentist
            22 Defendants, and Borrego Health’s contract dental providers were disrupted.
            23        865. As a result of Defendants’ conduct, Borrego Health was harmed.
            24        866. Defendants’ conduct was a substantial factor in causing Borrego
            25 Health’s harm.
            26                         FORTY-NINTH CAUSE OF ACTION
            27               (Violations of Business & Professions Code § 17200, et seq.)
            28                                 Against All Defendants

                                                          182
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3626 Page 183 of 734
                                            735



             1         867. Borrego Health reincorporates paragraphs 1 through 485, inclusive, as
             2 though fully set forth herein. This is due to the fact that Borrego Health believes
             3 that each and every one of the actions and omissions described above are part of the
             4 same, far-reaching and widespread unfair and/or fraudulent business activities
             5 designed and carried out to steal money from Borrego Health and funnel that
             6 money, directly or indirectly, to the Defendants. However, in the alternative, any
             7 one of or any combination of the above-listed Schemes would be sufficient to state a
             8 claim against the Defendants alleged to be involved in that Scheme or those
             9 Schemes.
            10         868. The UCL defines “unfair business competition” to include any
            11 “unlawful, unfair or fraudulent” act or practice, as well as any “unfair, deceptive,
            12 untrue or misleading” advertising. Cal. Bus. Prof. Code § 17200.
            13         869. The UCL imposes strict liability. Borrego Health need not prove that
            14 defendants intentionally or negligently engaged in unlawful, unfair, or fraudulent
            15 business practices – but only that such practices occurred.
            16         870. A business act or practice is “unfair” under the UCL if it offends an
            17 established public policy or is immoral, unethical, oppressive, unscrupulous or
            18 substantially injurious to consumers, and that unfairness is determined by weighing
            19 the reasons, justifications and motives of the practice against the gravity of the harm
            20 to the alleged victims.
            21         871. A business act or practice is “fraudulent” under the UCL if it is likely
            22 to deceive members of the consuming public.
            23         872. As outlined herein, Defendants’ actions were unfair.
            24         873. As outlined herein, Defendants’ acts and practices constitute fraudulent
            25 business acts or practices as they have deceived Borrego Health and are highly
            26 likely to deceive members of the consuming public, including members of the
            27 contract dental program and/or members of the relevant state agencies.
            28

                                                          183
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3627 Page 184 of 734
                                            735



             1                           FIFTIETH CAUSE OF ACTION
             2                                        (Conspiracy)
             3                                   Against All Defendants
             4        874. Borrego Health reincorporates paragraphs 1 through 485, inclusive, as
             5 though fully set forth herein. This is due to the fact that Borrego Health believes
             6 that each and every one of the actions and omissions described above are part of the
             7 same, far-reaching and widespread conspiracy designed and carried out to steal
             8 money from Borrego Health and funnel that money, directly or indirectly, to the
             9 Defendants. However, in the alternative, any one of or any combination of the
            10 above-listed Schemes would be sufficient to state a claim against the Defendants
            11 alleged to be involved in that Scheme or those Schemes.
            12        875. As set forth herein, the facts involving the multiple Schemes described
            13 above demonstrate the existence of a conspiracy between and among the Defendants
            14 to act in furtherance of those Schemes, all of whom acted as co-conspirators of
            15 another.
            16        876. Borrego Health was harmed by Defendants’ actions.
            17        877. Defendants were responsible for Borrego Health’s harm.
            18        878. Defendants were aware of each other’s plans and agreed/intended such
            19 wrongful acts to be committed.
            20                         FIFTY-FIRST CAUSE OF ACTION
            21                                  (Breach of Fiduciary Duty)
            22                                   Against Borrego Insiders
            23        879. Borrego Health reincorporates paragraphs 1 through 510, inclusive, as
            24 though fully set forth herein.
            25        880. The Borrego Insiders owed fiduciary duties to Borrego Health.
            26        881. As outlined herein, the Borrego Insiders breached their duties to
            27 Borrego Health.
            28        882. Borrego Health was damaged by the Borrego Insiders’ breaches.

                                                           184
7275860.1                                        FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3628 Page 185 of 734
                                            735



             1                       FIFTY-SECOND CAUSE OF ACTION
             2                                   (Constructive Fraud)
             3                   Against Borrego Insiders and Premier Defendants
             4        883. Borrego Health reincorporates paragraphs 1 through 562, inclusive, as
             5 though fully set forth herein.
             6        884. The Borrego Insiders and the Premier Defendants acted as Borrego
             7 Health’s agents, corporate officers and/or fiduciaries.
             8        885. The Borrego Insiders and the Premier Defendants acted on Borrego
             9 Health’s behalf in several transactions as outlined above.
            10        886. As outlined above, the Borrego Insiders and the Premier Defendants
            11 knew, or should have known, pertinent information to the transactions.
            12        887. The Borrego Insiders and the Premier Defendants misled Borrego
            13 Health by failing to disclose such pertinent information and/or omitting such
            14 pertinent information from Borrego Health.
            15        888. As a result of the Borrego Insiders’ and the Premier Defendants’ failure
            16 to disclose such information, Borrego Health was harmed.
            17        889. The Borrego Insiders’ and the Premier Defendants’ conduct was a
            18 substantial factor in causing Borrego Health’s harm.
            19                        FIFTY-THIRD CAUSE OF ACTION
            20                            (Unjust Enrichment/Restitution)
            21                                  Against all Defendants
            22        890. Borrego Health reincorporates paragraphs 1 through 562, inclusive, as
            23 though fully set forth herein.
            24        891. As outlined herein, Defendants unjustly received a benefit at the
            25 expense of Borrego Health.
            26                       FIFTY-FOURTH CAUSE OF ACTION
            27                             (Intentional Misrepresentation)
            28                     Against Jim Hebets and The Hebets Company

                                                         185
7275860.1                                       FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3629 Page 186 of 734
                                            735



             1         892. Borrego Health reincorporates paragraphs 1 through 46, 360 through
             2 422, inclusive, as though fully set forth herein.
             3         893. Jim Hebets and The Hebets Company represented to Borrego Health,
             4 among other things, that the 162B plans would not subject Borrego Health to tax
             5 penalties, and that the 162B plan provided a fair market benefit package that was
             6 superior to other options.
             7         894. Jim Hebets and The Hebets Company’s representations were false at
             8 the time they were made. For example, Borrego Health suffered a tax penalty from
             9 the IRS as a direct result of Bruce Hebets’ 162B plan.
            10         895. Borrego Health reasonably relied on Jim Hebets’ and The Hebets
            11 Company’s representations.
            12         896. As a result of relying on Jim Hebets’ and The Hebets Company’s
            13 representations, Borrego Health suffered harm.
            14         897. Borrego Health’s reliance on Jim Hebets’ and The Hebets Company’s
            15 representations was a substantial factor in causing Borrego Health’s harm.
            16                         FIFTY-FIFTH CAUSE OF ACTION
            17                              (Negligent Misrepresentation)
            18                      Against Jim Hebets and The Hebets Company
            19         898. Borrego Health reincorporates paragraphs 1 through 46, 360 through
            20 422, inclusive, as though fully set forth herein.
            21         899. As outlined above, Jim Hebets and The Hebets Company made several
            22 representations to Borrego Health regarding the scope and nature of the services
            23 they would provide and the benefits Borrego Health would receive from those
            24 services.
            25         900. Jim Hebets and The Hebets Company had no reasonable grounds for
            26 believing their representations were true at the time they were made.
            27
            28

                                                          186
7275860.1                                      FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3630 Page 187 of 734
                                            735



             1         901. Jim Hebets and The Hebets Company intended for Borrego Health to
             2 rely on their representations to persuade Borrego Health to continue to contract with
             3 Jim Hebets and The Hebets Company.
             4         902. Borrego Health reasonably relied on Jim Hebets’ and The Hebets
             5 Company’s representations.
             6         903. As a result of relying on Jim Hebets’ and The Hebets Company’s
             7 representations, Borrego Health was harmed.
             8         904. Borrego Health’s reliance on Jim Hebets and The Hebets Company’s
             9 representations were a substantial factor in causing Borrego Health harm.
            10                           FIFTY-SIXTH CAUSE OF ACTION
            11                               (Intentional Misrepresentation)
            12                           Against Mohammed Al Tekreeti, D.D.S.
            13         905. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            14 145, 232 through 237, inclusive, as though fully set forth herein.
            15         906. In part, Al Tekreeti misrepresented to Borrego Health that he would
            16 submit accurate claims information to Borrego Health for reimbursement.
            17         907. Al Tekreeti’s representations were false at the time they were made.
            18 Upon information and belief, Al Tekreeti knew the representations were false at the
            19 time they were made, or that the representations where made recklessly without
            20 regard for their truth.
            21         908. Borrego Health reasonably relied on Al Tekreeti’s representations.
            22         909. As a direct and proximate result, Borrego Health was harmed in an
            23 amount to be proven at trial.
            24                       FIFTY-SEVENTH CAUSE OF ACTION
            25                               (Intentional Misrepresentation)
            26                             Against Jilbert Bakramian, D.D.S.
            27         910. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            28 145, 238 through 245, inclusive, as though fully set forth herein.

                                                           187
7275860.1                                       FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3631 Page 188 of 734
                                            735



             1        911. In part, Bakramian misrepresented to Borrego Health that he would
             2 submit accurate claims information to Borrego Health for reimbursement.
             3        912. Bakramian’s representations were false at the time they were made.
             4 Upon information and belief, Bakramian knew the representations were false at the
             5 time they were made, or that the representations where made recklessly without
             6 regard for their truth.
             7        913. Borrego Health reasonably relied on Bakramian’s representations.
             8        914. As a direct and proximate result, Borrego Health was harmed in an
             9 amount to be proven at trial.
            10                           FIFTY-EIGHTH CAUSE OF ACTION
            11                               (Negligent Misrepresentation)
            12                           Against Mohammed Al Tekreeti, D.D.S.
            13        915. Borrego Health reincorporates paragraphs 1 through 54, 132 through
            14 145, 232 through 237, inclusive, as though fully set forth herein.
            15        916. As outlined above, Al Tekreeti made several representations to Borrego
            16 Health, including that the claims he submitted for reimbursement would be accurate
            17 and for the services performed by a dental provider eligible to serve Medi-Cal
            18 patients.
            19        917. Al Tekreeti had no reasonable grounds for believing his representations
            20 were true at the time they were made.
            21        918. Al Tekreeti intended for Borrego Health to rely on his representations.
            22        919. Borrego Health reasonably relied on Al Tekreeti’s representations.
            23        920. As a result of relying on Al Tekreeti’s representations, Borrego Health
            24 submitted claims to Medi-Cal that were not supportable and paid Al Tekreeti for
            25 services that should not have been paid.
            26        921. Borrego Health’s reliance on Al Tekreeti’s representations was a
            27 substantial factor in causing Borrego Health harm.
            28

                                                          188
7275860.1                                       FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3632 Page 189 of 734
                                            735



             1                          FIFTY-NINTH CAUSE OF ACTION
             2                             (Negligent Misrepresentation)
             3                           Against Jilbert Bakramian, D.D.S.
             4        922. Borrego Health reincorporates paragraphs 1 through 54, 132 through
             5 145, 238 through 245, inclusive, as though fully set forth herein.
             6        923. As outlined above, Bakramian made several representations to Borrego
             7 Health, including that the claims he submitted for reimbursement would be accurate
             8 and for services performed by a dental provider eligible to serve Medi-Cal patients.
             9        924. Bakramian had no reasonable grounds for believing their
            10 representations were true at the time they were made.
            11        925. Bakramian intended for Borrego Health to rely on their representations.
            12        926. Borrego Health reasonably relied on Bakramian’s representations.
            13        927. As a result of relying on Bakramian’s representations, Borrego Health
            14 submitted claims to Medi-Cal that were not supportable and paid Bakramian for
            15 services that should not have been paid.
            16        928. Borrego Health’s reliance on Bakramian’s representations was a
            17 substantial factor in causing Borrego Health harm.
            18                                       PRAYER
            19 With respect to the First Cause of Action—RICO (As to All Defendants)
            20        a.     For damages in an amount to be proven at trial, trebled pursuant to
            21               statute;
            22        b.     Pre-judgment and post-judgment interest; and
            23        c.     Reasonable attorney’s fees and costs.
            24
            25 With respect to the RICO, Intentional Misrepresentation, Negligent
            26 Misrepresentation, False Promise, Fraudulent Concealment, Constructive Fraud,
            27 Conspiracy, and Violations of the UCL Causes of Action (As to All Defendants):
            28

                                                          189
7275860.1                                     FIRST AMENDED COMPLAINT
      Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3633 Page 190 of 734
                                            735



             1        a.     For imposition of a constructive trust in an amount subject to be proven
             2               at trial and on any real or personal property purchased with a portion of
             3               that amount;
             4        b.     For punitive damages where allowed by law; and
             5        c.     Pre-judgment and post-judgment interest.
             6
             7 With respect to all other causes of action:
             8        a.     For damages in an amount to be proven at trial;
             9        b.     Reasonable attorney’s fees and costs as allowed by law;
            10        c.     For punitive damages where allowed by law; and
            11        d.     Such other and further relief the Court deems just and proper.
            12
            13 DATED: November 4, 2022              HOOPER, LUNDY & BOOKMAN, P.C.
            14
            15
                                                    By:
            16
                                                                DEVIN M. SENELICK
            17                                      Attorneys for Plaintiff Borrego Community
            18                                      Health Foundation

            19
            20
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            23
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            26
            27
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                                                          190
7275860.1                                      FIRST AMENDED COMPLAINT
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3634 Page 191 of 734
                                      735




                         EXHIBIT A
                                                                         EXHIBIT A
                                                                         PAGE 191
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3635 Page 192 of 734
                                      735



                                            MANAGEM ENT AGREEM
                                            MANAGEMENT         ENT
                                                        AGREEMENT

      This MANAGEM
      This  MANAGEMENT ENT AGREEME NT isis made
                           AGREEMENT                entered into
                                                and entered
                                           made and              as of
                                                             intoas ofthis        day of
                                                                              lst day
                                                                        this !E[         ofMarch.    2016, by
                                                                                            March, 2016,   by
      and between
      and          BORREGO COMMUMT
           between BORREGO   COMMUNITYY HEALTH
                                           HEALTH FOUNDATT
                                                     FOUNDATION  ON (,.BC}IF
                                                                       ("BCHF"),          CaliforniaNon-piofit
                                                                                   '), aa California  Non-Profit
      Corporation, and
      Corporation,     PREMIER HEALTH
                   and PREMIER         CARE MANAGEM
                               HEALTH CARE      MANAGEMENT,ENT, INC.      ("PHCM"), aa Califomia
                                                                   INC. ('.PHCM,,),         California
      Corporation.
      Corporation.

                                                          RECITALS
                                                          RECITALS


      WHEREAS, BCHF
      WHEREAS,       BCHF isis aa 501(c[3)    non-profit public
                                  501(c)(3) non-profit            benefit corporation,
                                                          public benefit                organized under
                                                                          corporation, organized    under the   laws ofthe
                                                                                                           the laws  of the
      State of
      State of Califomia   and is
                California and        licensed to
                                  is licensed      operate Federally
                                                to operate             Qualified Health
                                                            Federally Qualified     Health Conters
                                                                                            Centers C.FeHC.).
                                                                                                     ("FQHC"). BCHF BCI{F
      curently
      currently operates
                 operates FQHCS      throughout fuverside,
                          FQHCs tbroughout                    San Bemardino
                                                  Riverside, San   Bernardino andand san   Diego counties.
                                                                                      San Diego  Counties. TheThe FeHCs
                                                                                                                   FQHCs
      provide  comprehensi ve    primary   and  specialty care according
      provide comprehensive primary and specialty care according to the     to the scope
                                                                                   scope  ofservices
                                                                                          of             approved
                                                                                             services as approved by
                                                                                                      as             by the
                                                                                                                        the
      Bureau of
      Bureau   of Primary  Health care
                  Primary Health      Care C'BPHC)      within  the united    States Depanment    of Heahh
                                            ("BPHC") within the United States Department of Health and Human  and  Human
      Services ("DHHS").
      Services  ("DHHS"). TheThe approved      scope includes
                                   approved scope              performance of
                                                      includes performance     of primary
                                                                                  primary dental
                                                                                           dental services;
                                                                                                  services;

       WHEREAS, BCIIF
       WHEREAS,             desires to
                    BCHF desires        contract with
                                     to contract with PHCM
                                                       PHCM to to obtain
                                                                  obtain various
                                                                         various managemen     services relating
                                                                                  managementt services   relating to
                                                                                                                  to
       BCIIF's
       BCHF's contract   Dental Program,
               Contract Dental               whereby BCTIF
                                  Program, whereby                       with private
                                                              contracts wit]r
                                                       BCHF contracts         private dental practices to provide
                                                                                      dental practices to provide
       covered dental
       covered dental services
                      services to          patients ("Paxticipatin
                                   BCHF patients
                                to BCHF             ("Participatingg Patients");
                                                                     Patients"); and
                                                                                 and

       WHEREAS, PHCM
       WHEREAS,                 contract with
                             to conbact
                     desires to
                PHCM desires             with BCHF to provide
                                              BCHF to provide those managementt services.
                                                              those managemen   services.

              THEREFORE,
       NOW, THEREFOR
       NOW,                     in consideratio
                             E, in considerationn ofthe
                                                  of the recitats, covenants, conditions
                                                         recitals, covenants, conditions and promises herein
                                                                                         and promises herein
       contained, tfie
       contained, the  parties
                       parties agree
                               agree as
                                     as follows:
                                        follows:

            I.   DUTIES AND SNRVICFS
                 DUTIES AND SERVICES

                    A.
                    A.   BCI{F agrees and covenants:
                         BCHF agrees      covenants:

                              i,i.   To
                                     To take  actions as
                                         take actions    necessary to
                                                      as lrecessary           its obligations
                                                                        meet its
                                                                     to meet      obligations under   any existing
                                                                                               under any  existing and/or
                                                                                                                   and/or
                                     future agreements with
                                     future agreements         contract dentists
                                                         with contract   dentists or other professionals performing
                                                                                            professionals  performing
                                     contract         services for
                                               dental services
                                     contract dental                BCHF ("Dental
                                                               for BCHF    ("Dental Agreements     ").
                                                                                       Agreements").

                              ii.
                              ii.    BCHF
                                     BCHF shall maintain a Care Coordinator                   Dental Director
                                                                                          and Dental
                                                                   Coordinator Specialist and                  as set
                                                                                                      Director as set
                                     forth in the        Agreements and shall notiff
                                              the Dental Agreements                   PHCM ofthe
                                                                               notify PHCM    of the name and contact
                                                                                                     name and  contact
                                                  for each position.
                                     information for       position.

                             iii. Where
                             iii.        required under
                                  Where required              Dental Agreements
                                                   under the Dental                            Agreement, BCItr
                                                                       Agreements and this Agreement,        BCHF shall
                                  cooperate
                                  cooperate and  timely  provide  PHCM
                                                         provide PHCM      with  all required  information to allow
                                                                                               information
                                  PHCM to timely fulfill all ofof its obligations  under this Agreement. BC[{F
                                                                      obligations under  this  Agreement.           shall
                                                                                                             BCHF shall
                                  provide
                                  provide PHCM
                                           PHCM access           Electronic
                                                   access to its Electronic   Health  Records   (,.EHR
                                                                                      Records ("EHR")     to allow
                                                                                                        ) to allow
                                  PHCM to determine ifa      particular patient is
                                                        if a particular             a,,Participat
                                                                                 is a "Participating  patienf, as
                                                                                                  ing Patient" as that
                                                                                                                  that
                                  term is defined in the Dental A$eements
                                                                  Agreements.  ,

                              iv. BCHF
                              iv. BCHF shall timely and fully bill the appropriate payor             ofall
                                                                                             payment of
                                                                                   payor for payment        dental
                                                                                                        all dental
                                                                           Dentat Agreements.
                                  sorvices performed by dentists under the Dental
                                  services                                         Agreements.

                              v. BC11.17
                              v. BCIIF shall be responsible                      payall
                                                lesponsible for and shall timely pay all sums owing    dentists
                                                                                              owing to dentists
                                 under any Dental Agreements providing PHCMPHCM with a copy ofofall such
                                                                                                all such
                                 payments.
                                 payments.

                                                                                             govern transactions


                                                                                                                              fiNt
                                  Cornply with all guidelines, laws and regulations which govern
                              vt Comply
                              vi.                                                                                and
                                                                                                    transactions and

\9                                security of electronic health records
                                  security                                        patient information.
                                                                records and other patient information.

                                                                                                                    EXHIBIT A
                                                                                                                    PAGE 192
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3636 Page 193 of 734
                                      735



                      vii. Provide
                     vii.   Providefeedback
                                    feedbackon   PHCM'sproposed
                                              onPHCM's    proposedcontract   dentalservices
                                                                   contract dental  sewicesmanagement
                                                                                             management
                           plan
                            planand       diligentlywith
                                     workdiligently
                                 andwork             withPHCM      determinemutually
                                                          PHCMtotodetermine    mutuallyagreeable
                                                                                         agreeableterms
                                                                                                   termsfor
                                                                                                         for
                           any  suchmanagement
                            anysuch  managementplan.
                                                   plan.

                      viii. To
                     viii.   Tocoordinate
                                coordinatewith
                                           withPHCM     regal'ding quality
                                                 PHCMregarding      quality management/peer
                                                                            management/peer review
                                                                                             reviowand
                                                                                                    and
                            compliance
                             compliancewith
                                        withterms
                                              termsof  DentalAgreements.
                                                    ofDental   Agreements.

                        ix. To
                       ix.   Toprovide    copiesof
                                providecopies    ofall  DentalAgreements
                                                    allDental Agreements between
                                                                          betwesn BCHF
                                                                                   BCHF and
                                                                                         andcontract
                                                                                             contractdental
                                                                                                      dental
                            service
                             service providers
                                      providersto PHCM.
                                                to PHCM.

                       x.x To
                            Tobe
                               befinancially  responsible for
                                  financiallyresponsible   forthe
                                                               thefollowing:
                                                                   followirrg:

                                 1.l. All
                                       Allfees
                                           feesdue   andpayable
                                                 dueand  payable to
                                                                  tocontract
                                                                     contractdentists
                                                                              dentistsand
                                                                                       andother
                                                                                           other contract
                                                                                                  contractdental
                                                                                                           dental
                                       service providers
                                      service   providersfor
                                                          forservices
                                                              servicesprovided
                                                                       provided under   anyDental
                                                                                 underany   DentalAgreements.
                                                                                                    Agr€ements.

                                 2.2. Cost
                                       Costof      insurance policies
                                              all insurance
                                            ofall             policies ininthename
                                                                           the name of
                                                                                     ofBCHF,
                                                                                       BCHF, as
                                                                                              asrequired
                                                                                                 requiredby
                                                                                                          by this
                                                                                                              this
                                      agreement.
                                       agreement.

                                  3. All
                                 3.  All fees
                                          feesdue  PHCM under
                                               duePHCM   under the
                                                                theterms
                                                                    tenns of  thisAgreement.
                                                                           ofthis Agreement.

               B. PHCM
               B. PHCMagrees   and covenants:
                       agrees and   covenants:

                         i. To
                             To provide
                                 provide the
                                           dre managerial    andother
                                                managerial and    other related              toBCHF
                                                                                   services to
                                                                          related services     BCHFas   asdescribed
                                                                                                           described in
                                                                                                                      in
                            Exhibit
                             Exhibit"A",     attached hereto and incorporated herein by reference, in
                                       "A", attached  hereto   and  incorporated     herein by reference,    in
                            furtherance
                             furtheranceof    BCHF's contract
                                           ofBCHF'S       contract dental
                                                                    dental programs.
                                                                             programs. The
                                                                                         The duties
                                                                                              dutieslisted
                                                                                                     listedonon Exhibit
                                                                                                                Exhibit
                            "A"
                             "A" are    considered by
                                   are considered    by both
                                                         both parties
                                                               parties to
                                                                        to be  material components
                                                                           be material   components of    this
                                                                                                       ofthis
                            Agreement.
                             Agreement. Any Any breach
                                                  breach of  such duties
                                                           ofsuch   dutios will
                                                                             will be
                                                                                  be considered
                                                                                      considered aamaterial
                                                                                                    material breach
                                                                                                               breach of
                                                                                                                       of
                            this
                             this Agreement.
                                  Agreement.

                         ii. Comply
                        ii.   Comply with
                                        with all
                                              all guidelines,
                                                  guidelines, laws
                                                               laws and
                                                                     and regulations
                                                                          regulations which
                                                                                       which govern
                                                                                               govem transactions
                                                                                                      transactions and
                                                                                                                    and
                             security
                              security of
                                       of electronic
                                           electronic health
                                                       health records
                                                               records and  other
                                                                        and otlrer patient
                                                                                   pstient information.
                                                                                            infomation.

         2. COMPENSATION
         2. CONTPIT,NSATION AND IIII,I,ING
                            AND BILLING

               A. Compensation.
               A.  Cornpensation. Inln consideration
                                       consideration forfor the
                                                             the services
                                                                  services to
                                                                            to be
                                                                               be provided
                                                                                  pr.ovided by
                                                                                             by PHCM
                                                                                                 PHCM pursuant
                                                                                                           pursuaut to  to
                  this agreement   as             in Exhibit    "A"  and  as  reasonably
                   this agreement as desclibed in Exhibit "A" and as reasonsbly contemplated thereby,
                                      described                                           contemplated       thereby,
                  BCHF
                   BCI{F shall
                           shall compensate
                                 compensate PHCM
                                              PHCM the  the sum
                                                              surn of five dollars
                                                                   offive   dollars ($5.00)
                                                                                     ($5.00) per
                                                                                             per visit
                                                                                                  visit for
                                                                                                         for the
                                                                                                              the first
                                                                                                                   first
                  8,000
                   8,000 participating
                          participating patient
                                         patient visits
                                                 visits to  any contract
                                                         to any   contract dentist
                                                                            dentist pursuant   to any
                                                                                     pursuant to  any active
                                                                                                       active Dental
                                                                                                                DeDtal
                  Agreement.
                   Agreement.

                    BCHF
                    BCHF shall
                           shall compensate
                                 eompensate PHCM
                                               PI{CM the
                                                       the sum
                                                            sum of
                                                                of twenty-five
                                                                    twenty-five dollars
                                                                                dollars ($25.00)
                                                                                         ($25.00) per
                                                                                                  per visit
                                                                                                      visit in
                                                                                                             in
                    excess
                    excess of
                           of 8,000
                              8,000 visits
                                    visits for
                                            for any calendar month.
                                                any calendar  month.

                    For
                    For purposes
                        purposes of this section,
                                  ofthis  section, aa "patient
                                                      "patient visit"   shall be
                                                                 visit''shall  be aa visit
                                                                                     visit for
                                                                                            for which
                                                                                                which (i)
                                                                                                       (i) PHCM
                                                                                                           PHCM
                    provides
                    provides BCHF
                             BCI{F with
                                     with aa complete
                                              complete andand clean  claim,   including    all pertinent
                                                               clean claim, inchtding all pertinent treatment
                                                                                                          treatment and
                                                                                                                    and
                    demographic
                    demographic information;
                                  information; and
                                                 and (ii)
                                                       (ii) for which BCHF
                                                            for which    BCIIF receives
                                                                                 receives payment
                                                                                             payment from
                                                                                                      from the
                                                                                                             the
                    appropriate
                    appropriate payor
                                payor for
                                       for the  participating patient
                                            the participating    patient visit.
                                                                          visit.

                B. Billing.
                B. Billing. P1-1CM
                             PHCM shallshall bill
                                             bill BCHF
                                                  BCITIF monthly
                                                          rnonthly for
                                                                   for its
                                                                       its services
                                                                           sorvices and
                                                                                     anC remit
                                                                                          remit toto BCHF
                                                                                                     BCHF aa statement
                                                                                                               statenrent
                   during
                   during each
                           each month.
                                   month. Payments     contemplated    under   this agreement    shall
                                            Psymenls contemplated under this agreement shall reflect    reflect services
                                                                                                                services
                   performed in  in the
                                    the current
                                        current month,
                                                  month, not
                                                          not monthly inin arrears
                                                                            arcears unless
                                                                                    unless otherwise
                                                                                             otherwise mutually
                                                                                                         mutually
                   agreed
                   ageed to to in writing.
                                   writing. Payment
                                              Payment of   all monies
                                                        of all monies due
                                                                       due PHCM for      its fees
                                                                                     for its  fees shall
                                                                                                   shall be
                                                                                                         be paid
                                                                                                             paid on
                                                                                                                  on or
                                                                                                                      or
                   before the   10th  calendar    day of each
                   before the l0th calendal day ofeach month.  month.
\sI             C. PHCM,
                C. PI{CM, upon two (2)
                   and
                   and audit
                       audit if desired
                                       (2) days
                                desired the
                                           days written
                                         the billing and
                                                         notice to
                                                 written notice to BCHF,
                                                                   BC}IF, shall
                                                     and payment records
                                                                           shall have
                                                                                 have the
                                                                   records relating to
                                                                                       the right
                                                                                           right to
                                                                                    to dental
                                                                                                 to review,
                                                                                                    review, copy
                                                                                        dental services
                                                                                                            copy
                                                                                               services under
                                                                                                         rnder all
                                                                                                               a
                                                                                                                     EXHIBIT A
                                                                                                                     PAGE 193
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3637 Page 194 of 734
                                      735



                   Dental   Agreemsnts. This
                    Dental Agreements.     This right   to review,
                                                 right to   review, copy    and audit
                                                                      copy and             desired shall
                                                                                 sudit ififdesired   shall include
                                                                                                            inch.rde access
                                                                                                                      access
                    to all eleotronic and paper copies of (i) all bills generated related to dental services
                   to all electronic   and  paper  copies    of  (i) all bills generated     related  to dental    services
                   under
                    under any    Dental Agreement;
                            any Dental   Agroernent; (ii)          payments or
                                                              all payments
                                                         (iD all                   funds received
                                                                               or funds     re.ceived relating
                                                                                                       relating toto dental
                                                                                                                      dental
                   services
                    services under    any Dental
                              under any    Dental Agreement        including   but  not
                                                   A$eement including but not limited to  limited   to any
                                                                                                        any payments
                                                                                                              payments or or
                   funds
                    funds received
                           received from
                                     from patients
                                           patients or
                                                    or dentists.
                                                        dentists.

         3. TERMS
        3.  TERMS OF
                  O[' CONTRAC'(
                      COYTRACT

               A. Term.
               A. Term. The
                         The term
                               term of    this agreement
                                      of this   agreernent shall   be three
                                                            slrall be        (3) years
                                                                       thlee(3)  years commencing
                                                                                         commencing from
                                                                                                      from the
                                                                                                             the date
                                                                                                                 date of
                                                                                                                      of
                  execution
                   execution set
                              set forth    above unless
                                   fortlr above   unless terminated
                                                          temtinated pursuant      in accordance
                                                                         pursuant in   accordance with
                                                                                                  with this
                                                                                                        this agreement.
                                                                                                              agreement.

               B. Termination.
               B. Termination. This   Agreement may
                                 This Agreement   may bebe terminated
                                                            terminated by
                                                                       by either party, without
                                                                          either party, without cause,
                                                                                                cause, by
                                                                                                       by
                  either
                  eidrer party
                         party providing
                               providing the other
                                          the other party
                                                    party with  one-hundred   eighty (180) days written
                                                           with ono-hundred eighty (180) days written
                    notice.
                    notice.

               C.
               C Termination
                    erminstion forfor Cause.
                                      Cause. Either
                                               Either party    msy terminate
                                                       party may                  this agreement
                                                                     terminate this    agreement for  for cause.
                                                                                                           cause. Cause
                                                                                                                   Cause
                  shall
                   shall be
                         be considered   the failure
                             cousidered the   failure of
                                                      of either
                                                          either party       perfom, keep
                                                                         to perform,
                                                                  party to               keep oror fulfill
                                                                                                    fulfiI| any
                                                                                                            any material
                                                                                                                material
                   covenant, undertaking,
                  covenant,    undertBking, obligation,
                                              obligation, oror condition
                                                                oondition set
                                                                            set forth
                                                                                 forth in   this agreement
                                                                                        in this   agreemeut andand the
                                                                                                                    the
                  continuance
                   continuance of               default for
                                         such default
                                    any such
                                  ofany                  for aa period  of thirty
                                                                period of           (30) days
                                                                            thirty (30)   days after
                                                                                                  after written
                                                                                                        written notice
                                                                                                                 notice of
                                                                                                                        of
                  such
                   such failure.
                         failure.

                    Notwithstanding
                    Notwithstanding thethe foregoing,  BCHF shall
                                            foregoing, BCHF           be entitled
                                                                shall be           to terminate
                                                                         entitled to   terminate this
                                                                                                  this Agreement
                                                                                                       Agreement
                    immediately,   with or without notice, upon determination by the Health Resources
                     immediately, with  or  without notice, upon    determination    by  the  Health  Resources and
                                                                                                                 and
                    Services
                     Services Administration
                              Administration ("HRSA")
                                                ("HRSA") oror any    other federal
                                                                any other           or state
                                                                            federal or  state agency
                                                                                              agency with
                                                                                                       with regulatory
                                                                                                            regulatory
                    or  advisory authority
                     or advisory authority over
                                             over BCHF
                                                  BCHF that
                                                         that this  Agreement violates
                                                               lhis Agreement    violates any
                                                                                            any rule
                                                                                                 rule or
                                                                                                      or program
                                                                                                         program
                    requirement   pertaining  to a FQHC.
                     requir€ment pertaining to a FQHC.

                D. Renewal.
                D.            This agreement
                   Renewal, This     agreemont will
                                                will automatically  renew on
                                                     automatically renew   on the
                                                                              the third
                                                                                   third anniversary
                                                                                         anniversary forfor an
                                                                                                            an
                   additional
                   additional three  (3) years
                               three (3) years under
                                               under the  same terms
                                                      the same        and conditions
                                                                terms and conditions as as at
                                                                                           at the
                                                                                              tlre renewal
                                                                                                   renewal date.
                                                                                                            date.

         4. ASSIGNMENT
         4. ,{SSIGNMT.)NT

            Neither
            Neither PHCM
                    PHCM nor nor BCHF   may assign
                                 BCHF may    assign its
                                                    its rights
                                                        rights or obligations under
                                                               or obligations under this
                                                                                    this agreement
                                                                                         agreement without
                                                                                                   without the
                                                                                                           the
            prior
            prior written
                  writtol consent
                          consent of the other
                                  ofthe  other party.
                                               party.

         5. INDEPENDENT
         5. INDE,PENDENT CONTRACTORS
                         CONTRACTORS

            PHCM andand BCHF
                         BCIIF are
                               are independent
                                    independent contracting          and the
                                                contracting parties and   the relationship between
                                                                                             between them
                                                                                                       them is
                                                                                                            is that
                                                                                                               that
            of independent contractors.  Nothing  in this agreement   shall be construed   to create a
            of independent contractors. Nothing in this agreement slrall be construed to create a principal-
            agent,
            agent, employer-employee,    master-servant or
                   employer-employee, master-servant     or any relationship other
                                                            any relationship  other than
                                                                                     than that
                                                                                          that of
                                                                                                of independent
                                                                                                   indepe[dent
            contractors.
            contractors-

         6. INDEMNITY
         6. INDEIINITY
            PHCM shall
                    shall defend, indemnify
                                   indemni! and
                                              zurd hold BCHF          and harmless
                                                                free and
                                                         BCI{F free       harrnless from any
                                                                                         any obligations,
                                                                                             obligations, costs,
                                                                                                           costs,
            claims,
            claims, judgments, attorney's
                                 attolney's fees,
                                            fees, or attachments
                                                     attachments arising
                                                                   alising from
                                                                           frorn PHCM's
                                                                                 PLICM's negligence inin the
                                                                                                         the
            performance of   the services
                          ofdre  services contemplated
                                           contemplated under
                                                          undor this Agreement.
                                                                      Agreement.

          7. INSURANCE
          7.

                 A. Each Party, atat its sole
                 A.                                 and expense,
                                         solo cost and   expense, will obtain
                                                                       obtain and
                                                                              and maintain in full force and
                                                                                                          and effect
                    during   the term
                    during the             of this
                                                this Agreement,           all renewals

                                                                                                                               k
                                   term of                         and all
                                                      Agreeme[t, and          ronewals andand extensions
                                                                                                extensions thereof,

\a                  comprehensive general
                    servants, and
                                       general liability
                              and independent
                    interruption,
                                                 liability insurance
                                                           insurance covering the
                                    independent contractors,
                    interruption, general
                                                    conhaclors, against
                                   general liability,
                                                                 against loss
                                                                                 the Party,
                                                                                     Party, its
                                                                                            its employees,
                                                                                                 employees, agents,
                                                                                                             agents,
                                                                         loss in the nature of fire, theft, business
                                                         and negligence, with
                                              liability, and              with aa minimum
                                                                                                            business
                                                                                   mininrum liability limit of Two
                                                                                                                      EXHIBIT A
                                                                                                                      PAGE 194
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3638 Page 195 of 734
                                      735



                    Million
                     MillionDollars
                               Dollars($2,000,000)
                                       ($2,000,000) per
                                                      peroccurrence
                                                           occurcnc€andandTwo
                                                                            TwoMillion
                                                                                 MillionDollars
                                                                                          Dollars($2,000,000)
                                                                                                  ($2,000,000) inin
                    the annual   aggregate.  Each   Party  shall provide  the other Party with  written
                     the annusl sggr€gate. Each Party shall provide the other Parly with wriftennotice   noticeatat
                    least thirty (30) days prior to any  cancellation or amendment   of the Party's policy.
                     least thirty (30) days prior to arry cancellation or amendment ofthe Party's policy.

                B. Each
               B.   EachParty
                          Partyshall,
                                shall,atatits
                                           itssole
                                               solecost
                                                    costand
                                                         andexpense,    obtainand
                                                              expense, obtain   andmaintain
                                                                                    maifltain ininfull
                                                                                                   firllforce
                                                                                                         forceand
                                                                                                               and
                   effect  duringthe
                    effectduring  Ereterm
                                        termofofthis   Agreernen! and
                                                  thisAgreement,   andallallrenewals
                                                                             renewals and
                                                                                       andextensions
                                                                                            extensionsthereof,
                                                                                                           tlereo!
                   workers'
                    workers'compensation
                             compensation insurance     asrequired
                                              insuranceas  requiredby
                                                                    bythe  lawsof
                                                                       thelaws    the State
                                                                                 ofthe Stateof   California.
                                                                                             ofCalifornia.

         8.8, MISCELLANEOUS    PROVISIONS
              MISCEI,I,ANI,OTISPROVISIO\S

               A. This
               A.                shallbe
                       Agrcementshall
                   ThisAgreement       beupheld
                                          upheldininaccordance
                                                     accordansewith   thelaws
                                                                with the  lawsof
                                                                               ofthe
                                                                                  theState
                                                                                      Stateof
                                                                                            ofCalifornia.
                                                                                               Califomia.

                 B. Notices
                B.   Noticestotoeither    partyshall
                                 eitherparty     slrall be
                                                         beininwriting
                                                                writing and
                                                                         andsent
                                                                              sentbybyregistered
                                                                                       registered or
                                                                                                   orcertified
                                                                                                      certified mail,
                                                                                                                 mail,
                     addressed to the party at the addresses set forth at the conclusion ofthis
                    addressed   to the   party at the   addresses    set forth at the conclusion   of  thisagreement.
                                                                                                             agreement.
                    Any
                     Anynotice     given ininaccordance
                          noticegiven         accordancewith  withthis   Sectionshall
                                                                    thisSection    shallbe
                                                                                         beeffective
                                                                                            effective upon
                                                                                                       uponthethereceipt
                                                                                                                  receiptof
                                                                                                                          of
                    said
                     saidnotice
                          notice or
                                  orfive    (5)calendar
                                      five(5)   calendar daysdays following    havongiven
                                                                   following haven     givensaid  notice,
                                                                                              said notice, whichever
                                                                                                            whichever isis
                    earlier.
                     earlier.Notice
                             Notice shall
                                        shallbe
                                              begiven
                                                 givenas  asfollows:
                                                              follows:


            IfIf to BCHI:
                  toBCHF:               BorregoCommunity
                                        Borrego               Health Foundation
                                                  Community Health    Foundation
                                        P.O.
                                        P.O. Box
                                              Box2369
                                                   2369
                                         Borrego Springs,
                                        Borrego            CA 920004
                                                  Springs, CA  9200M
                                        Attn: Bruce  Hebets
                                        Attn: Bruce Hebets
                                         Fax: (760)
                                        Fax:   (760) 767-1135
                                                      767-1135
                                        Email: bnenets(gjnorregomedicai.org
                                        Email:   bhebets@borreeomedical.orc

            Copy
            Copy of notices to:
                  ofnotices  to:        Borrego
                                        Borrego Community
                                                 Community Health
                                                              Health Foundation
                                                                       Foundation
                                        P.O.
                                        P.O. Box
                                              Box 2369
                                                   2369
                                        Borrego
                                        Borrego Springs,  CA 920004
                                                 Springs, CA    920004
                                        Attn:
                                        Aftn: Mikia
                                               Mikia Wallis,
                                                     Wallis, Chief  l"egal Officer
                                                             Chief Legal   Oflicer
                                        Fax:
                                        Fax: (858)
                                               (858) 634-6989
                                                      634-6989
                                         Email mwallis@borregomedical.org
                                        Email:  mwallisfD.bo       medical.ors


            IfIf to
                  to PHCM:
                     PHCM:               Premier
                                         Premier Health
                                                  Health Care
                                                           Care Management,
                                                                 Management, Inc.
                                                                              Inc.
                                         124
                                          124 Main
                                              Main Street, Suite 240
                                                    Street, Suite  240
                                         El
                                         El Cajon,
                                             Cajon, CA
                                                    CA 92020
                                                         92020
                                         Fax:
                                         Fax: (619) 444-8597
                                              (619)  4,14-8597
                                         Attn: Daryl
                                         Attn:          R. Priest
                                                 Daryl R.   Priest
                                         Email:  daryl@priesthomes.com
                                         Email: darvl(fu riesthomes.com

             Copy
             Copy of
                  of notices
                     notices to:
                              to:        Fitch
                                         Fitch Law
                                               Law Firm,
                                                     Firm, APC
                                                            APC
                                         Stephen
                                         Stephen J.
                                                  J. Fitch,
                                                     Fitch, Esq.
                                                            Esq.
                                         3465
                                         3465 Camino
                                               Camino DelDel Rio
                                                             Rio South,
                                                                  South, Ste.
                                                                         Ste. 250
                                                                              250
                                         San
                                         San Diego,
                                              Diego, CA
                                                      CA 92108
                                                          92108
                                         Telephone
                                         Telephone No.
                                                     No. (619)
                                                          (619) 282-8100
                                                                 282-8100
                                         Email:
                                         Email: steve@fitchlawfirm.com
                                                 steve(@fi tchlawfi rm.com



                 C. This
                 C. This agreement
                          agreernent may
                                     may not
                                         not be
                                             be modified except
                                                         except by
                                                                by written
                                                                   written amendment
                                                                           amendment signed
                                                                                     signed by
                                                                                            by both
                                                                                               both
                    parties.



a                D. If
                 D. lfany
                       any provision
                            provision of
                    reason, the
                    illegality
                    illegality or
                                          this agreement
                                       ofthis
                             the remaining
                               or invalidity
                                               agcement shall
                                  rcmaining provisions shall
                                   invalidity prevents
                                                                 be determined
                                                           shall be detennined to
                                                         shall continue
                                                               continue in
                                                                         in full
                                                       the accomplishments
                                              prevents the
                                                                                 to be
                                                                                    be illegal
                                                                            full force
                                                            accomplishments of
                                                                                        illegal or
                                                                                 force and
                                                                               oflho
                                                                                                or invalid for
                                                                                             effect unless
                                                                                       objectives and
                                                                                                           for any
                                                                                                           the
                                                                                        and effect unless the
                                                                                  the objectives
                                                                                                               any

                                                                                                    and purposes
                                                                                                        purposes of
                                                                                                                  of           A
                                                                                                                      EXHIBIT A
                                                                                                                      PAGE 195
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3639 Page 196 of 734
                                      735



                      this agreement.
                           agreement.

                 E. This agreement will be binding
                 E.                         binding upon and inure to the benefit of the parties hereto and
                    their respective
                          rcspective successors
                                     successors and assigns.

                 F. The headings contained in this agreement are for reference purposes only and shall
                 F.                                                                              shall not
                    affect the meaning
                               meaning or interpretation of
                                                         ofthis
                                                            this agreement.

                 G. If any action at law or in equity is necessary
                 G.                                      necessary to enforce
                                                                      enforce or interpret
                                                                                  interpret the terms ofthis
                                                                                                terms of this
                    agreement, the prevailing
                                     prevailing party in any such action shall be
                                                                               b€ entitled to payment
                                                                                               payment of its
                    reasonable attorney's
                                attomey's fees and costs
                                                    costs from the other party.

                 H. Each party to this agreement
                 H.                               wanants, authorizes,
                                       ageement warrants,   auftorizes, and represents that the individual
                    executing
                    ex€cuting this agreement
                                   agreernent is acting within the course and scope
                                                                              scope of their employment,
                                                                                    oftheir  employment, is
                    authorized to enter this agreement,
                    authorized               agreernen! and has the authority to bind the business entity by
                    executing
                    executing this agreement.

                   I. All parties shall comply
                   I.                   comply with all applicable laws, ordinances,                       of
                                                                         ordinances, codes and regulations of
                      federal, state, and local govemments.
                                          looal governments.

                   J. No waiver
                   J.    waiver of any of   the provisions
                                         ofthe             ofthis
                                                provisions of this Agreement
                                                                   Agreement shall constitute
                                                                                    constitute a waiver of any
                                                                                                        ofany
                                      ofthis
                      other provision of this agreement.       waiver shall be considered
                                              agreement. No waiver             considered binding
                                                                                           binding unless
                      executed by the parties.

                   K. This is aa wholly integrated
                   K.                   integrated Agreement. This Agreement sets   sets forth the entire agreement
                      between all parties with regard to the subject
                                                              subjeot matter
                                                                       matter hereof.
                                                                              hereof. No other agreements,
                                                                                                  agreemet)ts,
                      covenants,
                      covenants, representations,
                                  representations, or warranties, express
                                                                   express or implied,
                                                                               implied, oral or written, have been
                      made by either party to the other with
                                                          widr respect to the subject
                                                                              subject matter of    this agreement.
                                                                                                ofthis
                      All prior and contemporaneous
                                     contemporaneous conversations,
                                                         conversations, negotiations, possible and alleged
                      agreements, and representations,    covenants, and warranties, with respect
                                         representations, covenants,                          respect to the subject
                                                                                                             subject
                      matter
                      matler hereof  are  lreleby waived, merged herein and superseded
                              hereof arc hereby                                sr.rperseded hereby.


                   L. In order to perform functions
                   L.                       furctions as identified
                                                         idertified in Exhibit "A",
                                                                               "A", and which are necessary
                                                                                                      necessary to
                      enable BCHF's
                              BCIIF's compliance with all relevant
                                                             relevant privacy,
                                                                      privacy, security
                                                                                security and other
                                                                                             otlrer legal
                      requirements,
                      requirements, the parties hereby agree that PHCM is a Business
                                                                                 Busirress Associate
                                                                                           Associate as defined in
                      the appropriate
                           appropriate regulations, as noted in Exhibit "B",
                                                                         "B", executed by both parties
                                                                                                  parties and
                      incorporated
                       incorporated herein.
                                     herein.

                  WIIEREOF, the Parties hereto have executed this agreement
       IN WITNESS WHEREOF,                                        ageement as
                                                                            as set
                                                                               set forth on the first page.

       For BCHF:
           BCHF:                                                   For PHCM:




       Bruse ebets,
       Bruce  bets, CEO                                            Daryl Priest,
                                                                         Priest, President

       Dated:
       Dated:        1L • ZIP/
                          t,l-t t                                   DaEd.Z-Zg- IlG'
                                                                   Dated: 2- —2' 11




  \D
                                                                                                              EXHIBIT A
                                                                                                              PAGE 196
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3640 Page 197 of 734
                                      735


                                                       Exhibit
                                                        Bxhibit"A"
                                                                "A"
                             Scope
                              Scooeof
                                    ofManagement
                                      Ma nacementand
                                                  andOther
                                                     OtherServices
                                                           Seryicesof
                                                                    ofPHCM
                                                                       PHCM

     The
       Thepurpose
             purposeofofthis
                         thislist
                               listof
                                    ofservices
                                       servicesisistotoidentify    anddelineate
                                                         identift and  delineateservices
                                                                                  servicestotobe
                                                                                               beprovided
                                                                                                  providedby    pHCM
                                                                                                            byPHCM
     ininfurtherance
          firtherance of   itsduties
                       ofits    duties under
                                        underthis
                                               thisagreement
                                                     agreement with     BCHFconcerning
                                                                   withBCHF     oonceming BCHF's
                                                                                              BCHF'scontract
                                                                                                       contract dental
                                                                                                                 dental
     program
       program andandcare
                      careof   BCHF's
                             ofBCHF's     participating
                                           participating    patients. PHCM    shall  provide   any and
                                                             patients. PHCM shall provide any andall    allnecessary
                                                                                                            necessary
     staff,
       staff,office
              offrcespace,
                     space,information
                              informatiousystems,
                                             systems, and      supportservices
                                                          andsupport   servicesset
                                                                                 setforth
                                                                                     forthbelow
                                                                                           belowandandall
                                                                                                       allservices
                                                                                                           services
     reasonably     contemplated as
       reasonably contemplated        asnecessary
                                         necessary to  toperform
                                                           performany
                                                                    anysuch
                                                                        suchservices.
                                                                              services.

       I.I. CONTRACT DENTAL MANAGEMENT
             CONTRACTDENTALMANAGEMENT

                  a.a. PROVIDER CONTRACTING
                        PROVIDERCONTRACTING

                            i. Market
                                 Market and
                                          andnegotiate      newDental
                                                negotiate new    DentalAgreements
                                                                          Ageements between
                                                                                          between BCHF
                                                                                                   BCIIFandand new
                                                                                                                new
                                Contract
                                 Contract Dentists
                                           Dentists throughout
                                                       throughout the    service areas   in which
                                                                     the service areas in which BCHFBCHF operates
                                                                                                           operates
                                FQHCs.
                                 FQHCs.Currently,
                                           Currently, BCHF        operates FQHCs
                                                         BCHF operates      FQHCs in   inRiverside,
                                                                                          fuverside, San
                                                                                                      San Diego
                                                                                                          Diego and
                                                                                                                 and
                                San  Bernardino      Counties.  Further,   PHCM     may   market  and
                                 San Bernardino Counties. Further, PHCM may market and negotiate new   negotiate  new
                                Dental
                                 Dental Agreements
                                         Agreements in            other service
                                                             any other
                                                         inany           sewice area
                                                                                 area ininwhich
                                                                                           which BCHF
                                                                                                  BCHF isisotherwise
                                                                                                            otherwise.
                                authorized
                                 authorized to to provide
                                                   provide dental
                                                            dental services.
                                                                    sorvices.
                            ll, Amend current Dental Agreements atatthe
                           ii.  Amend    current    Dental   Agreements             direction of
                                                                               the direction   ofBCHF
                                                                                                  BCHF
                          iii.
                           iii. Maintain
                                 Maintain files
                                            filescontaining
                                                    containing current
                                                                curcnt andandhistorical
                                                                              historical Dental
                                                                                           Dontal Agreements
                                                                                                   Agreements
                          iv.
                           lv. Track
                                 Track renewal
                                        renewal dates
                                                    dates of
                                                           ofDental
                                                              Dental Agreements.
                                                                       Agreements.

                   b. PROVIDER
                   b.          RELATIONS
                      PROVIDERRELATIONS

                             i. Maintain
                                  Maintain database
                                              database of    contract dental
                                                         of contract   dental service
                                                                                service providers
                                                                                         providers and and contract
                                                                                                            contract dental
                                                                                                                      dental
                                 service
                                  service provider
                                           provider demographics.
                                                      demographics.
                            ii.
                             11, Monitor
                                  Monitor contract              service providers'
                                                       dental service
                                             contract dental              providen' ability
                                                                                       ability to
                                                                                                to speak
                                                                                                    speak additional
                                                                                                           additional
                                 languages
                                  languages
                           iii.
                            lll. Provide
                                  Provide contract
                                            contract dental              provider roster
                                                                service provider
                                                      dental service                roster as
                                                                                            as necessary
                                                                                                necessary
                           iv.           with                         updates    of contract
                            tv. Assist with development and updates of contract dental service
                                 Assist         development      and                          dental    service provider
                                                                                                                 provider
                                 manuals
                                  manuals
                             v. Produce
                                  Produce andand distribute
                                                  distribute contract
                                                               contract dental
                                                                          dental service
                                                                                  service provider
                                                                                           provider manuals
                                                                                                        manuals
                           vi. Provide      ongoing                          education,
                                  Provide ongoing communication, education, and training
                                                      communication,                     and   training toto contract
                                                                                                              contract dental
                                                                                                                        dental
                                 service
                                  service provider
                                           provider and
                                                      and their
                                                            their staffs   legarding BCHF
                                                                   staffs regarding    BCTIF policies
                                                                                                policies and
                                                                                                           and procedures
                                                                                                                procedures
                          vii.
                           vll. Provide
                                  Provide ongoing      communication, education,
                                            ongoing communication,           education, and
                                                                                          and training
                                                                                               training toto contract
                                                                                                              conkact dental
                                                                                                                        dental
                                 service   provider         their staff  regarding   any
                                  service provider and their staff regarding any changes in scope of
                                                      and                                 changes     in scope   of services
                                                                                                                     services
                                  and
                                   and fee
                                       fee schedules.
                                            sohedules.
                          viii.
                          vin. Provide
                                   Provide telephone
                                            telephone line
                                                         line for
                                                               for contract
                                                                    contract dental
                                                                               dental service
                                                                                       service provider
                                                                                                 provider inquiries
                                                                                                            inquiries
                            ix.   Answer    contract
                             ix. Answer contract dental service provider eligibility inquiries
                                                      dental    service  provider   eligibility   inquiries
                              x.
                              x. Answer
                                   Answer contract
                                             contract dental
                                                       dental service
                                                                service provider
                                                                          provider claims
                                                                                     claims inquiries
                                                                                             inquiries
                             xi. Create
                            xi.    Create and
                                           and distribute
                                                distribute administrative       forms
                                                             administrative forms
                           xii.
                           xll. Develop
                                   Develop andand distribute    contract dental
                                                  distribute contract      dental service
                                                                                   service provider
                                                                                            provider newsletter
                                                                                                        newsletter

        II.
        II.    CLAIM MANAGEMENT
               CLAIM MANAGEMENT
                       i.i. PHCM
                            PHCM shall    obtain from contracted
                                    shall obtain      contracted dentists
                                                                 dentists such
                                                                            such information
                                                                                  information relating
                                                                                               relating to
                                                                                                         to
                            claims and submit
                            claims and submit the same
                                                    same to BCHF inin aa format
                                                                         format that
                                                                                 that enables
                                                                                       enables BCHF
                                                                                               BCFIF toto



   e                                                                                                                  EXHIBIT A
                                                                                                                      PAGE 197
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3641 Page 198 of 734
                                      735


                                  bill
                                   bill for  such claims.
                                         for such           As part
                                                   claims. As       ofthis
                                                               part of thisservice     based on
                                                                                   and based
                                                                           service and              receipt of
                                                                                              on aareceipt  of
                                  information
                                   information from     BCHF,    PHCM    shall monitor claims, billing
                                                   from BCHF, PHCM shall monitor claims, billing and   and
                                  payment
                                   payment to  to dentists.
                                                  dentists.

     IIL
     III.    MANAGEMENT
             MA-].JAGE MENTINFO RMATIONSYSTEM
                            INFORMATION SYSTEM

               a.
               a. Provide aa computerize
                  Provide    computerizedd manageme
                                            management nt infonnation  system to
                                                           information system               and storc
                                                                                  process and
                                                                               to process       store data
                                                                                                      data
                  pertaining               ics of
                                 demographics
                              to demograph
                  pertaining to                 of and          provided  to Participatin g Patients;
                                                       services provided to Participating Patients;
                                                   and services
               b.
               b. Provide
                  Provide appropriate
                           appropriate data           and, among
                                             security and,
                                       data security        among other  necessary functions:
                                                                   other necessary  functions:

                          i. Reshict   access to
                             Restrict access            security in
                                                   data security
                                               to data                 compliance with
                                                                    in compliance          applicable federal
                                                                                    with applicable    federal and
                                                                                                               and
                             state laws
                             state       and regulations
                                    laws and regulations
                         ii. Restrict
                        u.             access to
                             Restrict access   to data of participatin
                                                  data of participating g patients
                                                                          patients
                       lll.  Restrict access
                       iii. Restrict   access to  data by
                                               to data     user and
                                                       by user         security classificatio
                                                                  and security  classificationn
                             Compliancee with
                        iv. Complianc                 HIPAA and
                                             with HIPAA            and any
                                                                         any other       regulationss conceming
                                                                                other regulation        concerning
                             participatih g patient
                             participating patient data
                                                     data
                             Provide physical
                         v. Provide              security at
                                       physical security           buildings that
                                                              all buildings
                                                           at all                  house data
                                                                              that house   data

                c.
                c.   Provide BCHF-main
                     Provide              tained Web-based
                              BCHF-maintained     Web-based access   to data for
                                                              access to                    dental providers
                                                                                  contract dental
                                                                              for contract        providers
                     and their staff for its hardware,  Internet connectivit
                                             hardware, Intemet   connectivityy and web-brows    ing for
                                                                                     web-browsing    for the
                                                                                                         the
                     following,     not limited
                                but not
                     following, but     limited functions:
                                                functions:

                           l.i.    Claims inquiries
                                   Claims   inquiries
                         ll.
                          ii.      Claims submission
                                   Claims   submission
                        ll!.
                        iii.       Eligibility
                                   Eligibility inquiries
                                               inquiries
                        lv.
                         iv.       Authorizatio
                                   Authorization n inquiries
                                                   inquiries
                          v.       Authorizatio  n submission
                                   Authorization submission

                d.
                d.   Help Desk and
                     Help Desk and Support
                                   Support

                                 Provide, maintain
                            l.i. Provide,            and support
                                           maintain and           issues related
                                                         support issues  related to
                                                                                 to data
                                                                                    data access
                                                                                         access
                           ii.. Maintain                   network connections
                                           all servers and network
                                 Maintain all                                      for PI{CM
                                                                     connections for           systems
                                                                                       PHCM systems
                         llI.                   maintain all
                         iii. Provide and maintail           desktop  systemVha    rdware
                                                                      systems/hardware     at PHCM    opemtions
                                                                                                      operations
                                 center(s)
                                 center(s)
                                 Provide and
                          iv. Provide               maintain all
                                            and maintain        all software       (including licensing
                                                                      software (including        licensing and and
                                 troubleshoo  ting)
                                 troubleshooting) at PHCM operations
                                                              operations center(s)
                                                                           center(s)
                                                        support to contact
                                 Provide training and support
                           v. Provide                               contract dental service
                                                                                     service users and their
                                                                                             users and  their staff
                                 remotely
                          vl.                   maintain phone system for calls directed to PHCM operations
                          vi. Provide and maintain                                                     operations
                                 center(s)
                                 center(s)

                 e.
                 e  Remote System Access

                             i. Provide
                             i.                          management information system
                                               acc€ss to management
                                Provide remote access
                            ii. Support remote
                            ii.                       connectivit
                                        remorc access connectivityy

       rv.
       IV.    QUALTTY MANAGEMENT
              QUALITY            (,QM')
                      MANAGEMENT ("QM")

                                                                                                                     2

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                                                                                                                 EXHIBIT A
                                                                                                                 PAGE 198
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3642 Page 199 of 734
                                      735


              a.A.QM
                   QMPLAN, POLICIES AND
                      PLAN,POLICIES  ANDPROCEDURES
                                         PROCEDIJRES

                       i.i. Assist
                              Assistwith
                                     withthe
                                          theimplementation
                                               implementationof   ofaaQM
                                                                       QMplan  afterreviewing
                                                                          planafter  reviewing BCHF's
                                                                                                BCHF's
                             operation of its contract dental   services
                              operation of its contract dental services
                      ii.ii. Implement
                              Implementaastandard
                                            standardQMQMPolicy
                                                            Policyand
                                                                    andProcedure   Manualthat
                                                                        ProcedureManual    thatmeets
                                                                                                meets
                              appropriatestandards
                             appropriate  standardsandandregulations
                                                           regulations
                      iii. Resolve
                     iii.     Resolveparticipating    patient grievance
                                       participating patient   grievanceand
                                                                         andappeals
                                                                             appealsissues
                                                                                      issuesas
                                                                                             asoutlined
                                                                                                outlined inin
                             PHCM's
                              PHCM'sQM  QM  plan
                                              plan

               b.b. QM
                    QMMEETINGS
                       MEETINGS

                       i.i. Schedule        prepareagenda,
                                        andprepare
                              Scheduleand           agenda,meeting   minutes, and
                                                            meeting minutes,    andmaterial
                                                                                    materialfor
                                                                                             for monthly
                                                                                                 monthly
                              QMCommittee
                             QM   Commitiee meetings
                                              meetings
                      ii.ii. Attend
                              Attend QM
                                     QMCommittee
                                          Cornmittee meetings
                                                      meetings
                      iii. Coordimte and prepare forany
                     iii.    Coordinate  and prepare for any contract
                                                              contract dental
                                                                        dentalprogram
                                                                               programaudits
                                                                                       auditsfrom
                                                                                               fromany
                                                                                                    any
                             regulatory
                              regulatoryagencies
                                         agencies

               c. QM
                  QMREPORTING
                     REPORTING

                       i.i. Provide
                             Provide reports
                                      reports for
                                               for QM
                                                    QM Committee
                                                         Committee meetings
                                                                      meetings
                       ii. Provide
                      ii.    Provide reports as required for
                                     reports  as  required  for QM    delegation reporting
                                                                 QM delegation     reporting
                      iii. Track
                     iii.    Track and   report participating
                                    and report   participating patient
                                                                patient grievance    and appeals
                                                                         grievance and    appeals issues
                                                                                                   issues
                      iv. Perform contract dental service provider. surveys and report survey's
                     iv.    Perform   contract  dental  service  provider   surveys   and report  survey's
                            findings
                             findings
                      v.v. Perform
                             Perform participating
                                       participaling patient   zurveys and
                                                      patient surveys   and report    survey's findings
                                                                              report survey's   findings


       V. PARTICIPATING
       V.               PATIENT MANAGEMENT
          PARTICIPATINGPATIENTMANAGEMENT

               a.a. ELIGIBILITY
                    ELIGIBILITYVERIFICATION
                                VERIFICATION

                        i.i. Reconcile
                             Reconcile eligibility
                                          eligibility data  to load
                                                      data to         ilto management
                                                                load into  managemert information
                                                                                           information system
                                                                                                          system
                        ii. Maintain
                       ii.   Maintain participating
                                         participating patient
                                                         patient eligibility
                                                                  eligibility database
                                                                               database
                       iii. Identify
                      iii.   Identify each
                                        each participating
                                              participating patient
                                                              patient byby using
                                                                           using established
                                                                                  established identification
                                                                                                identification
                             number
                             number
                       iv. Assist
                      iv.    Assist with
                                      with determination
                                           determination of  of participating
                                                                 participating patient
                                                                                 patient eligibility
                                                                                         eligibility for
                                                                                                      for services
                                                                                                           setvices
                             prior
                             prior to  provision of
                                    to provision   of services
                                                       services
                        v. Maintain
                        v.   Maintain andand track
                                              track eligibility
                                                     eligibility of
                                                                  of services
                                                                     services for
                                                                                for each
                                                                                    each participating
                                                                                          participating patient
                                                                                                          patient


                b. PARTICIPATING
                b. PARTICIPATING PATIENT
                                 PATIENT SERVICES
                                         SERVICES

                        i.i. Provide
                             Provide telephone
                                     telephone line
                                                  line for
                                                       for participating
                                                           participating patient
                                                                           patient inquiries
                                                                                   inquiries
                        ii. Answer participating patient eligibility inquiries
                       ii.   Answer  participating    patient eligibility inquiries
                       iii. Answer
                      iii.   Answer participating
                                      participating patient
                                                      patient claims
                                                              claims inquiries
                                                                       inquiries
                       iv. Generate
                      iv.    Generate telephone
                                       telephone tracking
                                                    tracking reports
                                                              reports

       VI. REPORTING
       VI. REPORTING —- Data
                        Data is
                             is reported
                                reported on
                                         on aa per month
                                                   month basis
                                                         basis and
                                                               and compared
                                                                   compaled to
                                                                            to BCHF
                                                                               BCHF and
                                                                                    and
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                                                                                                              EXHIBIT A
                                                                                                                          4/
                                                                                                              PAGE 199
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3643 Page 200 of 734
                                      735


           industry  benchmarkswhen
            industrybenchmarks  whenavailable
                                     available

              a.a. Patient  andEncounter
                    Patientand  Encounter information
                                           irformation asasrequired      bereported
                                                            requiredtotobe  reportedininthe
                                                                                         theaggregate
                                                                                             aggregateon
                                                                                                       on
                   BCHF's    UniformData
                    BCIIF'sUniform   DataSystem     (UDS)Report
                                            System(UDS)      Report
              b.b, Claim   andPayment
                    Claimand   Paymentdata
                                        data


     VII. GENERAL
     VII.         ADMINISTRATION
          GENERALADMIN]STRATION

              a.a. Monitor
                    Monitor all
                             allcomponents
                                 components of   ofBCHF's
                                                   BCHF'sContract       DentalProgram
                                                             Contract Dental    Program
              b.b. Coordinate
                    Coordinate printing
                                 p:inting of all forms  and  letterhead
                                           of all forms and lettelhead   (as
                                                                          (asneeded)
                                                                              needed) on
                                                                                       onBCHF
                                                                                         BCHFstationery
                                                                                                 stationery
              c.c. Process  participating  patient
                    Process participating patientand     contract  dental  service provider-related
                                                     and contract dental service provider-related mail,
                                                                                                     mail,
                   both
                    bothincoming
                         incoming andandoutgoing
                                          outgoing
              d.d. Short
                    Short and  long-range financial
                           andlong-range     financial and  strategic planning
                                                        andstrategic   planning
              e.e. Contract   dentalservice
                    Contract dental   serviceprovider          regulatoryagency/agencies
                                                          and regulatory
                                                provider and               agency/agenciesrelationship
                                                                                            relationship
                   management
                    management




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                                                                                                       EXHIBIT A
                                                                                                       PAGE 200
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3644 Page 201 of 734
                                      735




                         EXHIBIT B
                                                                         EXHIBIT B
                                                                         PAGE 201
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3645 Page 202 of 734
                                      735




                                        AMENDMIl             NO.   I TO IIIANAG      trM ENT AGREEMENT

                     This AMENDMENT NO. 1 TO MANAGEMENT AGREEMENT (this ,,Amendment No. t',)
     is made as of this !3 day of December, 2016, by and between BORREGO CbUVf Untfy ffealTlf
     FOUNDATION., a Califomia Non-Profit Corporation C'BCHP), and PREMIER HEALTH CARE
     MANAGEMI'NT, INc., a califomia corporalion ('PHCM). BCHF and PHCM are sometimes hereinafler
     rcfered to     as the   "Parties" cotlectively or   a   "Party" individually.

                                                                    RECIIALS
                             A.
                           BCHF and PHCM entered into that certain Management Agreement dated March l,
     2016, ('Management Agreement") covering various management seryic€s relating to BCHPS Contract D€ntal
     Program, whereby BCFIF contracts with private dsntal practices to provide covered dental services to BCHF
     patients.

                             B.         All defined terms      used herein but not defined herein shall have the meaning ascribed to
     such tems in the Management Agreement.

                             C.
                              BCTIF and PHCM now wish to amend the Managemont Agreement to, among o*rer
     lhings, extend the Term of the Management Agreemem upon ttre terms, covenants, and conditions hereinafter set
     forth-

                             NOW THEREFORE, in consideration of the mutual covenants, promises and conditions
     hereinafter set forth,    tie receipl and sufficiency of which ue hereby acknowledged, as of the Effective Date the
     Parties agree as follows:


                                                                    AGREEMENT

                  l.          Section   3A.      Section 34 of the Management A$eement is hereby amended as follows:

                                        3A.    TERM. The term of this agreemenl shall be extended as follovs: The
                              extended term of this agreement shall be five (S) yeffs commencing Aom January l,
                              2017 uoless terminated pursuant in accordance with this agreement.

                  2.          Section   3B.    Section 38 ofthe Management Agteoment is hereby deleted in its entirety.

                  3.          Section   3D.      Seclion 3D ofthe Management Ag:eement is herby amended as follows;

                                        3D.      Renewal. This agreement will autromatically renew on Jatuary |,2OZZ       for
                              an additional five (5) years under the same terms and cnnditions as at the rcnewal date.

                  4.          Miscellaneous.

                              4.1       Capitalized Terms/Definitiors. Eacb capitalized     tem used in this Amendme No. I            and
     not   d   efined herein shall be deemed to have the same mean ing ascribed to it in the Management Agre€menl

                              4.2
                               Continuing EffecL Except as specifically provided in this Amendment No.         the               l,
     provisions of the Management Agreement shall remain unchanged and in full force and effect. In the event of a
     conflict between the Management Agreement and this Amendment No. 1, this Amendme[t No, I shall conhol.
                              4.3Authority. Each person executing this Amendment No. 1 ol behalf of a Party reprcsents
     and warrants that it has the full power', authority, and legal right to execfie and deliver this Amendment No. I on
     behalf of such Palty ard that this Amendmer No. I constitutes the legal, valid and binding obligations of such
     Paffy, its representatives, successots and assigns, enforceable against such Party or Parties in accordance with its




                                                                                                                  sL
     terms.




                                                                                                                              EXHIBIT B
                                                                                                                              PAGE 202
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3646 Page 203 of 734
                                      735



                     4.4        Aopmvals. BCHF wanants and represents to PHCM that BCHF has obtained any
    approvals fiom any third  parties,  that are nec€ssary to make this Amendment No. I enforceable against BCIIF and
    all such thld parties, their heirs, rcpresentatives, suocessors and assigns. BCHF shatl defend, indemnify and save
    harmless PHCM from and against all losses, claims, demands, damages, Iiabilities, costs and attomeys'fees resulting
    from a breach of, or inaccuracy in, any ofthe representations aod \yarranties set forth in this section.
                      4.5     Countemarts. To facilitate executio[ of this Amandment No. l, this Amendment No. I
    may be executed in one or more counterparts as may be conyenient or required, and an executed copy of this
    Amendment No. I delivered elechonically by facsimile or e-mail shall have the eflect of an o ginal, executed
                                                             I
    insbunrent. All counterparts of this Amendment No. shall collectively constitute a single instrumenu but, in
    making proof of this Amendment No- I it shall not be necessary to produce or account for more than one such
    counterpaft executed by each Party hercto. It shall not b€ necessary for the signature of, or on bebalf of, each Party
    hereto, or that the signatlre of all persons required to bind any such Party appear on each counterpad of this
    Amendment No.    l.
                      4.6     No Constmction Against DrE{tsman. No inference in favor ofor against any Parly shall
    be drawn from the fact th8t such Party has drafted any provision ofthis Amendmeot No. I or that such provisions
    have been drafted on behalf of said Party.



                      lN WTrNESS WHEREOF,          the Parties hercto have executed this agreement as set forth on the first
    page.




                       For BCIIF:                                            For PHCM:




                       Bruce Hebets,                                          Daryl Priest, President

                       Dated           ii:,;-"q                               oated:   \l-ZZ -ZrDl(a




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                                                                 2
                                                                                                                       EXHIBIT B
                                                                                                                       PAGE 203
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3647 Page 204 of 734
                                      735




                         EXHIBIT C
                                                                         EXHIBIT C
                                                                         PAGE 204
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3648 Page 205 of 734
                                      735



                            ,{MENDMENT NO.2 TO MANAGEMENT AGREEMENT

            This AMENDMENT NO. 2 TO MANAGEMENT AGREEMENT ("Amendment Ib_2") is
   made as   of July l, 2017, by and between BORREGO COMMUNIry HEALTH FOUNDATION., a
   Califomia Non-Profit Corporation C'BCIIF), and PREMIER HEALTH CARE MANAGEMENT, INC.,
   a Califomia Corporation ('PHCM'). BCHF and PHCM are sometimes hereinafter rcferred to as the
   "Parties" collectively or a "Party" individually.

                                                   REC ITALS

          A.       BCHF and PHCM entered into that certain Management Agreement dated March l, 2016
   as amended   by Amendment No.l ("Management Agrcement") covering various management services
   relating to BCHF'S Contract Dental Program, whereby BCTIF contracts with private dental practices to
   provide covered dental services to BCHF patients.

           B.     BCHF and PHCM now wish to amend the Management Agreement upon the terms,
   covenants, and conditions hereinafter set forth.

           NOW THEREFORE, in consideration of the mutual covenants, promises and conditions
   hereinafter set forth, the receipt and sufliciency of which are hereby acknowledged, as of the Effective
   Date the Parties agree as follows:

           l.        Article 2 of the Management Agreement is hereby deleted and the following Article 6 is
   added as   follows:


           A.        Comoensation. ln consideration for the services to be provided by PHCM pursuant to
   this age€ment as described in Exhibit "A" and as reasonably contemplated thereby, BCHF shall
   compensate PHCM the sum of twenty-five dollars ($25.00) per "patient visit" processed in any given
   month, less retumed claims for incompleteness, for participating patient visits to any contracted or sub-
   contracted dentist pursuant to any active Dental Agreement. For purposes of this section, a "patient
   visit" shatl be a visit for which (D PHCM provides BCHF wi$ a complete and clean claim, including all
   pertinent treatment and demographic information; and (ii) for which BCHF receives payment from the
   appropriate payor for the participating patient visit.

                    B.       Billine. PHCM shall bill BCHF monthly for its services and remit to BCIIF a
   statement by the l0th of each month for visits processed for the preceding month less any retumed visits
   as a credit against the total. Payment of all monies due PHCM for its fees shall be paid on or before the
   2Oth calendar day ofeach month.


                   C. Review. PHCM, upon two (2) days written notice to BCHF, shall have the right
   to review, copy and audit if desired the billing and payment records relating to dental services under all
   Dental Agreements. This right to review, copy and audit if desired shall include access to all electronic
   and paper copies of (i) all bills generated r€lated to dental services under any Dental Agreement; (ii) all
   payments or funds received relating to dental services under any Dental Agreement including but not
   limited to any payments or funds rec.eived from patients or dentists.

                    D.      No   Referral. It is specifically   agreed and understood between the parties that


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                                                                                                       EXHIBIT C
                                                                                                       PAGE 205
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3649 Page 206 of 734
                                      735



   nothing in this Agreement is intended to provide payment or benefit of any kind (directly or indirectly),
   for the referral ofpatients to BCHF but compensation hereunder is for management services provided.

         2. This Amendment No. 2 may be executed simultaneously or in counterparts, each of
   which shall be deemed an original, but all of which together shall constitute one and the same
   Amendment No. 2.

            3.         Any conflict between the terms of this Amendment No. 2 and the              Management
   Agreement the terms of this Amendment No. 2 shall control.

            4.         Except as specifically provided herein all terms shall have the same meaning as defined
   in the Management Agreement.

            5.         Except as specifically amended herein, the Management Agreement shall remain in full
   force and effect.

            IN WITNESS WHEREOF, the undersigned have executed this Amendment No. 2 effective                as   of
   the date first written above.


   PHCM:                                              BCHF:

   Premier Health Care Managemen! Inc.                Borrego Community Health Foundation
   a Califomia corporation                            a California non-profit public benefit corporation




   By                                                 By:
        Daryl R. Priest, President                    Name:      M\KrA      .^lS\,\15
                                                      lts:




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                                                                                            ^J\&           EXHIBIT C
                                                                                                           PAGE 206
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3650 Page 207 of 734
                                      735




                         EXHIBIT D
                                                                         EXHIBIT D
                                                                         PAGE 207
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3651 Page 208 of 734
                                      735




                                                                         EXHIBIT D
                                                                         PAGE 208
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3652 Page 209 of 734
                                      735




                                                                         EXHIBIT D
                                                                         PAGE 209
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3653 Page 210 of 734
                                      735




                                                                         EXHIBIT D
                                                                         PAGE 210
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3654 Page 211 of 734
                                      735




                                                                         EXHIBIT D
                                                                         PAGE 211
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3655 Page 212 of 734
                                      735




                                                                         EXHIBIT D
                                                                         PAGE 212
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3656 Page 213 of 734
                                      735




                                                                         EXHIBIT D
                                                                         PAGE 213
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3657 Page 214 of 734
                                      735




                                                                         EXHIBIT D
                                                                         PAGE 214
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3658 Page 215 of 734
                                      735




                                                                         EXHIBIT D
                                                                         PAGE 215
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3659 Page 216 of 734
                                      735




                                                                         EXHIBIT D
                                                                         PAGE 216
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3660 Page 217 of 734
                                      735




                                                                         EXHIBIT D
                                                                         PAGE 217
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3661 Page 218 of 734
                                      735




                                                                         EXHIBIT D
                                                                         PAGE 218
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3662 Page 219 of 734
                                      735




                                                                         EXHIBIT D
                                                                         PAGE 219
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3663 Page 220 of 734
                                      735




                                                                         EXHIBIT D
                                                                         PAGE 220
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3664 Page 221 of 734
                                      735




                                                                         EXHIBIT D
                                                                         PAGE 221
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3665 Page 222 of 734
                                      735




                                                                         EXHIBIT D
                                                                         PAGE 222
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3666 Page 223 of 734
                                      735




                                                                         EXHIBIT D
                                                                         PAGE 223
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3667 Page 224 of 734
                                      735




                         EXHIBIT E
                                                                         EXHIBIT E
                                                                         PAGE 224
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3668 Page 225 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 225
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3669 Page 226 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 226
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3670 Page 227 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 227
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3671 Page 228 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 228
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3672 Page 229 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 229
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3673 Page 230 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 230
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3674 Page 231 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 231
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3675 Page 232 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 232
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3676 Page 233 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 233
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3677 Page 234 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 234
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3678 Page 235 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 235
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3679 Page 236 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 236
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3680 Page 237 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 237
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3681 Page 238 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 238
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3682 Page 239 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 239
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3683 Page 240 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 240
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3684 Page 241 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 241
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3685 Page 242 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 242
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3686 Page 243 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 243
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3687 Page 244 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 244
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3688 Page 245 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 245
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3689 Page 246 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 246
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3690 Page 247 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 247
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3691 Page 248 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 248
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3692 Page 249 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 249
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3693 Page 250 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 250
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3694 Page 251 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 251
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3695 Page 252 of 734
                                      735




                                                                         EXHIBIT E
                                                                         PAGE 252
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3696 Page 253 of 734
                                      735




                         EXHIBIT F
                                                                         EXHIBIT F
                                                                         PAGE 253
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3697 Page 254 of 734
                                      735


                                 AGREEMENT BETWEEN
                                    ALDAIRI DDS INC
                                         AND
                         BORREGO COMMUNITY HEALTH FOUNDATION
                                         FOR
                                   DENTAL SERVICES

          THIS DENTAL SERVICES AGREEMENT ("Agreement") is entered into as of May 29,
   2018 between Borrego Community Health Foundation (“BCHF”) and Aldairi DDS Inc.
   ("Dentist"), collectively the “Parties”.

                                             RECITALS

          WHEREAS, BCHF is a 501 (c) (3) non-profit public benefit corporation, organized under
   the laws of the State of California and is licensed to operate Federally Qualified Community
   Health Centers (FQHC). BCHF operates clinics throughout San Diego, San Bernardino, and
   Riverside Counties. The clinics provide comprehensive primary and specialty care according to
   the scope of services as approved by the Bureau of Primary Health Care (“BPHC”) within the
   United States Department of Health and Human Services (“DHHS”). The approved scope
   includes performance of primary dental services; and

           WHEREAS, “BCHF” desires to increase access to dental services for pediatric,
   adolescent and adult patients of the FQHC by entering into agreements with qualified Dentists
   to provide primary dental services for the FQHC.

           WHEREAS, “Dentist” is duly licensed to provide dental services within the State of
   California and meets credentials required by “BCHF” to perform such services, and is not the
   subject of any Medicaid/Medicare related actions, suspensions, exclusions or debarments that
   would disqualify him or her from providing services under this Agreement. The “Dentist”
   provides the desired scope of services that meet the FQHC criteria; and

           WHEREAS, “Dentist” operates and administers a private practice in the El Cajon area of
   California within “BCHF’s” service area and agrees to provide primary dental services to
   patients on behalf of “BCHF” by entering into agreement to deliver such services in a
   professional manner to “BCHF” patients. (Refer to Addendum “C” for dental office address and
   contact information.)

                                           AGREEMENT

           NOW, THEREFORE, in consideration of the covenants and agreements herein
   contained, and other good and valuable consideration, the “Parties” hereto mutually agree as
   follows:
    I.     DEFINITIONS

       A.   PARTICIPATING PATIENTS. A "Participating Patient" who is eligible to receive
            dental services under this Agreement is defined as any individual residing in
            FQHC’s federally-approved service area and who is a patient of the FQHC
            operated by “BCHF”.

       B.   SCOPE OF SERVICES. Those services approved by the Health Resource and
            Service Administration (HRSA) as Required and Additional Services that are



                                                                                            EXHIBIT F
                                                                                            PAGE 254
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3698 Page 255 of 734
                                      735


                authorized to be rendered by BCHF to residents of the specified service area.

    II.        ACKNOWLEDGEMENT
               The “Dentist” agrees to be bound by the terms and conditions of this Agreement
               insofar as said Agreement relates to rights, responsibilities and duties as “Dentist”.
               This Agreement constitutes the entire understanding between the parties hereto
               and no changes, amendments or alterations shall be effective unless agreed to in
               writing by both parties and appended to this Agreement.

   III.        INDEPENDENT RELATIONSHIP
               None of the provisions of this Agreement are intended to create nor shall be
               deemed or construed to create any relationship between “BCHF” and “Dentist”
               other than that of independent entities contracting with each other solely for the
               purpose of effecting the provisions of this Agreement. Neither of the parties
               hereto nor any of their respective employees shall be construed to be the agent,
               employee or representative of the other. This Agreement is entered into at an
               arm’s length negotiated rate reflective of the fair market value.

   IV.         PROFESSIONAL SERVICES

          A.    COVERED SERVICES. Dentist agrees to provide primary care dental services
                described in Addendum “A” and Addendum “D” as “Covered Services”, as required,
                to Participating Patients, in accordance with the attached “Payment Schedule” and
                as further described in Section VIII. “BCHF” is responsible for contacting “Dentist” to
                make initial appointments for Participating Patients. Notwithstanding, “BCHF” is
                under no obligation to utilize “Dentist” to provide dental services to any or all
                Participating Patients who require such services.

          B.    SERVICE AVAILABILITY. “Dentist” shall provide primary dental services during
                hours of operations that are mutually agreed upon and outlined in “Addendum “C”.
                Any changes require prior notification to the “BCHF” Dental Director. “Dentist” will
                maintain adequate facilities within the Service Area to meet the responsibilities of
                this Agreement. Such facilities must meet standards of practice expected of a
                licensed facility. Adequate trained, certified or licensed personnel will be provided
                quality standard of care and not place the health and well being of the patients in
                jeopardy. “Dentist” will provide a plan of after hour access for phone consultation
                and triage for dental emergencies of established patients.

          C.    DOCUMENTATION AND DESCRIPTION OF SERVICES. “Dentist” agrees to
                establish and maintain dental records that will contain descriptions of any dental
                services provided to Participating Patients, as well as proposed follow-up treatment
                plans for subsequent visits (if any). The descriptions of the services will be made
                using American Dental Association CDT Standard Claims Codes. In the event that
                such records are housed in a location other than the dental office, “BCHF” shall have
                reasonable and timely access to such records. “Dentist” agrees to retain such
                records for a period of at least seven years or to the extent required by applicable
                laws or regulations.

          D.    PRIOR AUTHORIZATION. For dental services needing individual consideration
                or prior approval the “Dentist” must provide such documentation necessary prior




                                                                                                        EXHIBIT F
                                                                                                        PAGE 255
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3699 Page 256 of 734
                                      735


               to rendering such service. In addition to standard requirements of prior approval
               outlined by the Denti-Cal program or other third party payors, an additional list of
               services requiring prior approval may be provided by “BCHF”. As a satellite of
               an FQHC, Treatment Authorization Requests (TAR) must be fully documented in
               the dental record, but do not require submission to Denti-Cal for prior approval.
               This does not apply to treatment paid directly by Denti-Cal

         E.    AGREEMENT NOT TO CHARGE PATIENTS. The “Parties” agree that all
               Participating Patients receiving services from “Dentist” pursuant to this Agreement
               shall be considered patients of “BCHF”. Accordingly, “BCHF” shall be responsible for
               the billing of such patient services, as applicable, as well as the billing of Federal,
               State and private payors, and the collection and retention of any and all payments.
               “Dentist” agrees not to bill, charge or collect from Participating Patients or payors any
               amount for any dental services provided under this Agreement. If “Dentist” should
               receive any payment from Participating Patients or payors for services provided
               hereunder, “Dentist” agrees to remit such payment to FQHC within ten (10) days of
               receipt.

         F.    SLIDING FEE. Notwithstanding the aforementioned, “Dentist” recognizes that
               certain Participating Patients may be charged at the time of service, in accordance
               with a fee schedule and, as applicable, schedule of sliding fee discounts
               established by “BCHF” pursuant to 42 C.F.R.§51c.303(f). “Dentist” shall, on behalf
               of “BCHF” and consistent with “BCHF 's” guidelines, schedules and procedures,
               make every reasonable effort to collect fees from eligible Participating Patients at
               the time services are provided to such patients and to remit such payments to
               “BCHF” within ten (10) days of receipt. “BCHF” shall perform the follow-up activities
               necessary to collect patient fees not collected by “Dentist” at the time of service.

         G. NON-DISCRIMINATION. “Dentist” agrees to provide dental services to
            Participating Patients in the same professional manner and pursuant to the same
            professional standards as generally provided by “Dentist” to his or her patients,
            regardless of an individual's or family's ability to pay for services rendered. This
            section shall not be read to prevent “Dentist” from limiting the number of hours
            and/or days during which “Dentist” agrees to see Participating Patients, provided
            that such limitation shall not be based on a Participating Patient's payor source or
            insurance status. Dentist also agrees not to differentiate or discriminate in the
            provision of services provided to Participating Patients on the basis of race, color,
            religious creed, age, marital status, national origin, alienage, sex, blindness, mental
            or physical disability or sexual orientation pursuant to Title 45 of the Code of Federal
            Regulations, §§ 80.3-80.4, and Civil Rights Act of 2007.

    V.        QUALITY OVERSIGHT AND EVALUATION OF SERVICES BY FQHC
         A.    QUALITY OF CARE. “Dentist” shall provide care consistent with prevailing
               community standards for quality of care and in accordance with “BCHF” Section 330
               grant and applicable grant-related expectations and requirements. Services shall be
               within the scope of practice outlined in Addendum B for primary care dental services.
               The “Dentist” will be subject to standards of quality review as though the care was
               provided by an employed dentist or the organization. Such review will include facility
               and record review in keeping with “BCHF” standards and applicable regulations.
               “BCHF” will communicate in writing any corrective action that must be resolved in a




                                                                                                      EXHIBIT F
                                                                                                      PAGE 256
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3700 Page 257 of 734
                                      735


               timely manner.

          B.   POLICIES AND PROCEDURES. The “Dentist” will be subject to clinical policies and
               procedures established by “BCHF” regarding the provision of services pursuant to this
               agreement including but not limited to qualifications and credentials, clinical
               guidelines, standards of conduct, quality assurance standards, productivity standards,
               patient and provider grievance and complaint procedures. Such policies and
               procedures are consistent with “BCHF’s” requirements established by the Bureau of
               Primary Health Care (BPHC). “BCHF” will provide “Dentist with such requirements,
               policies, procedures and standards. Notwithstanding, nothing herein is intended to
               interfere with “Dentist’s” professional judgment in connection with the provision of
               clinical services.

          C.   PATIENT RELATIONSHIP. “Dentist” shall maintain a dentist/patient relationship with
               Participating Patients and shall be solely responsible for dental treatment and advice.
               Notwithstanding, nothing herein is intended to interfere with “Dentist’s” professional
               judgment in connection with the provision of such services.
          D.   AUTHORITY. “BCHF”, through its Executive Director and/or Dental Director or
               Medical Director, shall have and exercise ultimate authority and responsibility for the
               services provided to Participating Patients pursuant to this Agreement, consistent with
               the policies, procedures and standards set forth above. In particular, “BCHF” shall
               retain ultimate authority over the following:

               1. Determination as to whether “Dentist” meets “BCHF’s” qualifications and
                  credentials, consistent with BCHF standards.

               2. Interpretation of “BCHF’s” policies and procedures, clinical guidelines, quality
                  assurance standards, productivity standards, standards of conduct and
                  provider and patient grievance and complaint resolution procedures, and
                  their applicability to “Dentist”.
               3. Determination with respect to whether “Dentist” is performing satisfactorily and
                  consistent with “BCHF’s” policies, procedures and standards.

               4. The Executive Director and/or Medical Director have the authority to terminate
                  this agreement in accordance with Section XIV below.

      E.       NOTIFICATION. “Dentist” shall, as soon as reasonably practicable, notify “BCHF” of
               any action, event, claim, proceeding, or investigation (including, but not limited to, any
               report made to the National Practitioner Data Bank) that could result in the revocation,
               termination, suspension, limitation or restriction of “Dentist's” licensure, certification, or
               qualification to provide such services. “BCHF” may suspend this Agreement, until
               such time as a final determination has been made with respect to the applicable
               action, event, claim, proceeding, or investigation.

    VI.        NO OBLIGATION TO REFER AND NON-SOLICITATION OF PATIENTS

          A.   It is specifically agreed and understood between the parties that nothing in this
               Agreement is intended to require, nor requires, nor provides payment or benefit of
               any kind (directly or indirectly), for the referral of individuals or business to either
               party by the other party.



                                                                                                       EXHIBIT F
                                                                                                       PAGE 257
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3701 Page 258 of 734
                                      735




           B.    “Dentist” agrees that during the term of this Agreement, he or she shall not,
                 directly or indirectly, solicit or attempt to solicit or treat, for his or her own account
                 or for the account of any other person or entity, any patient of “BCHF.” This non-
                 solicitation clause shall survive termination of this Agreement for a period of two
                 (2) years following termination, however such termination is affected.

           C.    “Dentist” shall not cause any entity or individual he or she is employed by or with
                 whom he or she is professionally associated to, directly or indirectly, solicit or
                 attempt to solicit for his or her own account or for the account of any other person
                 or entity, any patient of “BCHF” for whom “Dentist” provided care during the term
                 of the Agreement. For purposes of this paragraph, a "patient of BCHF" shall
                 mean any patient seen or treated by “BCHF” (whether by its employees or
                 independent contractors) during the one (1) year period immediately preceding
                 the termination or expiration of this Agreement, including, but not limited to, those
                 patients treated by Dentist hereunder.

    VII.        CONTRACTS WITH OTHERS

                This contract is non-exclusive. “BCHF" retains the authority to contract with other
                dentists or dental practices, if, and to the extent that, “BCHF” reasonably determines
                that such contracts are necessary in order to implement “BCHF” policies and
                procedures, or as otherwise may be necessary to assure appropriate collaboration with
                other local providers (as required by Section 330 (k)(3) (B)), to enhance patient
                freedom of choice, and/or to enhance accessibility, availability, quality and
                comprehensiveness of care.

    VIII.       COMPENSATION

           A.    FEE SCHEDULE. “Dentist” will be compensated for providing dental services under
                  this Agreement in accordance with the attached Payment Schedule Addendum “B”.

           B.    ENCOUNTER SUBMISSION. Dentist will complete a superbill for every visit. The
                 superbills will be batched and submitted on a daily basis along with the patient
                 demographic information and a copy of the visit documentation. Adequate supporting
                 documentation must be made available to ensure that “BCHF” will be able to collect
                 for services rendered and not place the organization in jeopardy of false claims.

           C.    TIMING OF PAYMENT. Payment will be made on claims that are paid to “BCHF” by
                 third party payors. The payment will be processed and made on the 15th day of each
                 month to the “Dentist” with a detailed explanation of reimbursement. Both “Dentist”
                 and “BCHF” will be responsible for maintaining records of transactions to avoid
                 duplication of reimbursement and resolve outstanding balances.

    IX.         CASE MANAGEMENT
           A.    AGREEMENT TO PROVIDE DESIGNATED NUMBER OF SERVICES. “Dentist”
                 agrees to provide services for the “BCHF” patients for a minimum of ten (10) visits a
                 week and to be available at minimum three days a week during standard business
                 hours. “Dentist” will communicate with BCHF management as to appointment
                 availability so that adjustments can be made to accommodate the identified need.




                                                                                                              EXHIBIT F
                                                                                                              PAGE 258
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3702 Page 259 of 734
                                      735


               The “Dentist” reserves the right to fill these appointments if there are an insufficient
               number of referrals from “BCHF”. “Dentist” will provide occasional after hour
               sessions to provide expanded availability. These sessions may include weekend
               clinics or after 5:00 p.m. schedules. “Dentist” will accommodate dental emergencies
               as necessary. As an FQHC satellite, at no time will the contract exceed twenty (20)
               hours a week.

         B.    VERIFICATION OF PATIENT STATUS. “BCHF” will verify each Participating
               Patient's status as a “BCHF” patient on the day on which an appointment is made
               for such patient with Dentist. “Dentist” will verify information regarding the patient's
               status as a “BCHF” patient on the date of service or otherwise mutually agreed upon
               method verification presenting to the “Dentist”. If it is determined that the
               Participating Patient is not a “BCHF” patient on the date of service, “BCHF”, in
               consultation with Dentist, will decide whether or not to authorize “Dentist” to proceed
               with treatment. If “BCHF” authorizes “Dentist” to proceed with treatment, “BCHF”
               will be responsible for payment for the services provided by the “Dentist” according
               to the compensation provisions in this Agreement.

         C.    REPORTING AND INVESTIGATION OF PATIENT COMPLAINTS/GRIEVANCES.
               The “Dentist” will cooperate fully with “BCHF” in the investigation of Participating
               Patient complaints and grievances by providing information necessary for review
               and resolution of such. The information will be made available in a timely manner
               according to established policies and procedures. “Dentist” will collaborate in the
               resolution of identified opportunities for improvement without retaliation against the
               Participating Patient and in keeping with the wellbeing of such.

         D.    REFUSAL TO PROVIDE SERVICES. The “Dentist” has the right to request
               termination of services for Participating Patients who behave in a disruptive
               manner or are grossly discourteous towards “Dentist”, “Dentist’s” employees or
               other patients. “Dentist” must promptly report all such instances to “BCHF”, who
               will notify the Participating Patient that, unless the Participating Patient corrects
               such behavior immediately, he or she will no longer be eligible to receive dental
               services from the “Dentist”. In the event of non-resolution or if the circumstances
               are severe in nature, “Dentist” will have no obligation to provide further services for
               the Participating Patient.

         E.    REFERRAL FOR SPECIALTY SERVICES. “Dentist” will provide services within
               the approved scope for “BCHF” to Participating Patients and as outlined in
               Addendum “A” that are within the “Dentist's” knowledge, skill and training.
               “Dentist” will inform “BCHF” as soon as practical when Participating Patients
               require specialty referral and/or services beyond the “Dentist” and “BCHF” scope
               of services. Participating Patients will be provided information as to available
               specialists that are available in the community for such care. “BCHF” maintains
               Care Coordination Specialists that may assist with healthcare coverage
               information and application.

    X.        LEGAL

         A.    LICENSURE, CERTIFICATION AND OTHER QUALIFICATION. Dentist will provide
              “BCHF” with evidence of current licensure within the State of California as well as any
              other certification or qualification necessary to provide the services specified prior to




                                                                                                    EXHIBIT F
                                                                                                    PAGE 259
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3703 Page 260 of 734
                                      735


             entering into this Agreement, and annually upon request of “BCHF.” Dentist will
             maintain unrestricted licensure and/or certification and qualification as a Medi-Cal and,
             as applicable, Medicare participating provider during the term of this Agreement.
             “Dentist” agrees to have such additional qualifications and credentials as “BCHF” may
             reasonably require for “Dentist” to provide services, including but not limited to Basic
             Life Support (BLS), DEA number and others pursuant to this Agreement and shall
             maintain such qualifications and credentials during the term of this Agreement. The
             same requirements apply to “Dentist” employees and staff. No patients are to be
             treated by “Dentist” or other support staff who have not provided proper licensing and
             certification. Only the qualified of provider authorized by “BCHF” guidelines are allowed
             to render such services.

          B. COMPLIANCE WITH THE LAW. “Dentist” will practice in accordance with the
             all Federal, State and local laws, regulations, and generally accepted principles
             applicable to the practice of dentistry. Failure to comply with this provision is
             grounds for immediate termination under Section XIV of this Agreement.

          C. MISREPRESENTATION. “Dentist” acknowledges and agrees that willful
             misrepresentation of the type, frequency, reasonableness and/or necessity of dental
             services provided to Participating Patients may constitute a fraudulent act and may
             be referred by “BCHF” to the applicable Federal or State regulatory agency, and will
             be cause for immediate termination under XIV of this Agreement.
          D. COMPLIANCE WITH OTHER LAWS. In connection with the provision of services
             pursuant to this Agreement, “Dentist” agrees to the following requirements, to the
             extent that such requirements are applicable:

             1. To comply with the CiviI Rights Act of 1964 and all other Federal, State or local
                laws, rules and orders prohibiting discrimination, as well as Executive Order
                11246, entitled "Equal Employment Opportunity," as amended by Executive
                Order 11375, and as supplemented by U.S. Department of Labor regulations at
                41 C.F. R. Part 60;

             2. To make positive efforts to utilize small businesses, minority-owned firms
                and women's business enterprises in connection with the work performed
                hereunder, whenever possible;

             3. To comply with all applicable standards, orders, and regulations issued pursuant to
                the Clean Air Act of 1970 (42 U.S.C. §7401 et. seq.) and the Federal Water
                Pollution Control Act (33 U.S.C. § 1251 et seq.), as amended;

             4. To comply with the certification and disclosure requirements of the Byrd Anti-
                Lobbying Amendment (31 U.S.C. § 1352), and any applicable implementing
                regulations, as may be applicable; and

             5. To certify that neither it, nor any of its principal employees, has been debarred
                or suspended from participation in federally-funded contracts, in accordance
                with Executive Order 12549 and Executive Order 12689, entitled "Debarment
                and Suspension," and any applicable implementing regulations.

    XI.     RECORD KEEPING AND REPORTING




                                                                                                  EXHIBIT F
                                                                                                  PAGE 260
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3704 Page 261 of 734
                                      735




       A. PROGRAMMATIC RECORDS. “Dentist” agrees to prepare and maintain
          programmatic, administrative and other records and information that pertain to the
          services provided hereunder and that “BCHF” and/or DHHS may reasonably deem
          appropriate and necessary for the monitoring and auditing of this Agreement, and to
          provide them to “BCHF” as reasonably requested. In addition, “Dentist” will maintain
          such records and provide such information to “BCHF” or to regulatory agencies as
          may be necessary for “BCHF” to comply with State or Federal laws, regulations or
          accreditation requirements, as well as “BCHF’s” reporting obligations pursuant to its
          Section 330 grant.

       B. FINANCIAL RECORDS. “Dentist” shall prepare and maintain financial records and
          reports, supporting documents, statistical records, and all other books, documents,
          papers or other records related and pertinent to this Agreement for a period of five
          (5) years from the date this Agreement expires or is terminated. If an audit,
          litigation, or other action involving the records is started before the end of the five
          (5) year period, “Dentist” agrees to maintain the records until the end of the five (5)
          year period or until the audit, litigation, or other action is completed, whichever is
          later. “Dentist” shall make available to “BCHF”, DHHS and the Comptroller General
          of the United States, or any of their duly authorized representatives, upon
          appropriate notice, such financial systems, records, reports, books, documents, and
          papers as may be necessary for audit, examination, excerpt, transcription, and
          copy purposes, for as long as such systems, records, reports, books, documents,
          and papers are retained. This right also includes timely and reasonable access to
          “Dentist” personnel for the purpose of interview and discussion related to such
          documents. “Dentist” shall, upon request, transfer identified records to the custody
          of “BCHF” or DHHS when either “BCHF” or DHHS determine that such records
          possess long term retention value.

       C. PARTICIPATING PATIENT RECORDS. “Dentist” agrees to establish and maintain
          dental records relating to the diagnosis and treatment of Participating Patients served
          pursuant to this Agreement. All such records shall be prepared in a mutually agreed
          upon format that is consistent with the clinical guidelines and standards established
          by “BCHF”. “Dentist” and “BCHF” agree to maintain the privacy and confidentiality of
          such records, in compliance with all applicable Federal, State and local law including,
          but not limited to, the Health Insurance Portability and Accountability Act and
          consistent with “BCHF’s” policies and procedures regarding the privacy and
          confidentiality of patient records.

       D. RETENTION OF PATIENT RECORDS. Dentist will retain dental records for seven (7)
          years beyond the last date of delivery of the services or to the extent required by
          applicable law. In the event that Dentist retires or discontinues his or her practice,
          Dentist must comply with the public and private notice provisions set forth in California
          State law and transfer all Participating Patient records to “BCHF”. Record retention
          obligations survive the termination of this Agreement.

       E. OWNERSHIP OF PATIENT RECORDS. “Dentist” and “BCHF” agree that “BCHF” shall
          retain ownership of all dental records of this Agreement, regardless of the physical
          location in which such records are housed. “Dentist” and “BCHF” agree that “Dentist”,
          upon reasonable notice to “BCHF” and consistent with applicable Federal and State
          laws and regulations and “BCHF's” policies and procedures regarding the privacy and



                                                                                               EXHIBIT F
                                                                                               PAGE 261
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3705 Page 262 of 734
                                      735


                confidentiality of patient records, shall have timely and reasonable access to patient
                records to inspect and/or duplicate at “Dentist's” expense, any individual chart or record
                produced and/or maintained by “Dentist” to the extent necessary to: (i) meet
                responsibilities to patients for whom “Dentist” provides services pursuant to this
                Agreement; (ii) respond to any government or payor audits; (iii) assist in the defense of
                any malpractice or other claims to which such chart or record may be pertinent; and (iv)
                for any other legitimate business purpose, consistent with patient confidentiality and to
                the extent permitted by law. In the event that such records are housed in “Dentist's”
                practice location or any other location controlled by “Dentist”, “BCHF” shall have
                reasonable and timely access to such records.

    XII.        INSURANCE

           A.     PROOF OF COVERAGE. The “Dentist” , at his/her sole cost and expense, shall
                 procure and maintain such policies of professional liability, and other insurance as are
                 necessary to insure the “Dentist” and his/her employees, agents and affiliates against
                 any claim or claims for damages arising by reason of personal injuries or death
                 occasioned directly or indirectly in connection with the performance of any service by
                 the “Dentist” the use of any property and facilities provided by the “Dentist” or his/her
                 agents, and the activities performed by the “Dentist” in connection with this
                 Agreement, or any amendment entered into thereafter.

           B.     “Dentist” will provide “BCHF” with sufficient evidence of professional liability
                 coverage in the amount of at least:

                 1. General Liability (including broad form property damage and contractual liability)
                    insurance on a per occurrence basis with a single limit of not less than one
                    million dollars ($1,000,000) three million dollars ($3,000,000) in the aggregate;
                    Sexual Abuse Liability insurance on a per occurrence basis with a single limit of
                    not less than one million dollars ($1,000,000) three million dollars ($3,000,000)
                    in the aggregate; Employer's Liability insurance on a per occurrence basis with a
                    single limit of not less than one million dollars ($1,000,000) and three million
                    dollars ($3,000,000) in the aggregate; Professional Liability insurance on a per
                    occurrence basis with a single limit of not less than one million dollars
                    ($1,000,000) and three million dollars ($3,000,000) in the aggregate; and
                    automobile liability insurance for owned, hired and non-owned vehicles on a per
                    occurrence basis with a combined single limit of not less than one million dollars
                    ($1,000,000) and three million dollars ($3,000,000) in the aggregate.

                 2. Workers' Compensation, as required under California State law.

                 3. Such other insurance in such amounts which from time to time may be reasonably
                    required by the mutual consent of “Dentist” and “BCHF” against other insurable
                    risks relating to performance of this Agreement.

           C.    It should be expressly understood, however, that the coverages and limits required
                 under this Section shall not in any way limit the liability of either Party.

           D.    Additional insured endorsements are required for general, property damage,
                 sexual abuse and automobile liability policy coverage. Such a provision, however,
                 shall only apply in proportion to and to the extent of the negligent acts or



                                                                                                     EXHIBIT F
                                                                                                     PAGE 262
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3706 Page 263 of 734
                                      735


               omissions of the other “Party”, its officers, agents, or employees. Each “Party”,
               upon the execution of this Agreement, shall furnish the other “Party” with
               Certificates of Insurance evidencing compliance with all requirements. Certificates
               shall provide for thirty (30) days advance written notice to “BCHF” of any material
               modifications, change or cancellation of the above insurance coverages.

            E. INDEMNITY. “Dentist” shall defend, indemnify and hold ”BCHF”, its officers,
               employees and agents harmless from and against any and all liability, loss,
               expense (including reasonable attorney's fees) or claims for injury or damages
               arising out of the performance of this Agreement but only in proportion to and to the
               extent such liability, loss, expense, attorneys' fees, or claims for injury or damages
               are caused by or result from the negligent or intentional acts or omissions of
               Dentist, its officers, agents, or employees.

               “BCHF” shall defend, indemnify and hold “Dentist”, its officers, employees and
               agents harmless from and against any and all liability, loss, expense (including
               reasonable attorneys' fees) or claims for injury or damages arising out of the
               performance of this Agreement but only in proportion to and to the extent such
               liability, loss, expense, attorneys' fees, or claims for injury or damages are caused
               by or result from the negligent, intentional acts, omissions or misconduct of “BCHF”
               its officers, agents, or students.

    XIII.    CONFIDENTIALITY

        A.     Except as is necessary in the performance of this Agreement, or as authorized in
               writing by a party or by law, neither party (nor its directors, officers, employees, agents,
               and contractors) shall disclose to any person, institution, entity, company, or any other
               party, any information which is directly or indirectly related to the other party that it (or
               its directors, officers, employees, agents, and contractors) receives in any form
               (including, but not limited to, written, oral, or contained on video tapes, audio tapes or
               computer diskettes) as a result of performing obligations under this Agreement, or of
               which it is otherwise aware. The parties (and their directors, officers, employees,
               agents, and contractors) also agree not to disclose, except to each other, any
               proprietary information, professional secrets or other information obtained in any form
               (including, but not limited to, written, oral, or contained on video tapes, audio tapes or
               computer diskettes) during the course of carrying out the responsibilities under this
               Agreement, unless the disclosing party receives prior written authorization to do so
               from the other party or as authorized by law.
        B.     The parties agree that their obligations and representations regarding confidential and
               proprietary information (including the continued confidentiality of information
               transmitted orally), shall be in effect during the term of this Agreement and shall
               survive the expiration or termination (regardless of the cause of termination) of this
               Agreement.

    XIV. TERM AND TERMINATION

        A.     TERM. This Agreement begins on May 29, 2018 and shall be automatically and
               successively renewed and extended for one year periods from and after the
               expiration date unless either party provides written notice of termination to the other
               sixty (60) days in advance of termination. Renewal is subject to “BCHF’s”




                                                                                                     EXHIBIT F
                                                                                                     PAGE 263
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3707 Page 264 of 734
                                      735


                determination that “Dentist” performed satisfactorily and successful re-negotiation by
                the parties of key terms, as applicable.

          B.    TERMINATION WITHOUT CAUSE. Either “Dentist” or “BCHF” may terminate this
                agreement, for any reason, at any time upon sixty (60) days written notice.

          C.    TERMINATION FOR CONVENIENCE. This Agreement may be terminated at any
                time upon the mutual agreement of the parties.

          D.    TERMINATION FOR BREACH. This Agreement may be terminated by either party
                upon written notice to the other party of such other party's material breach of any
                term of this Agreement, subject to a sixty (60) day opportunity to cure and failure to
                cure by the end of the sixty (60) day period.

          E.    IMMEDIATE TERMINATION. In addition, “BCHF” may terminate this Agreement
                immediately upon written notice to “Dentist” of: (1) “Dentist's” violation of, or inability
                to comply with, his or her obligations set forth in this Agreement; or (2) the good faith
                determination of “BCHF” that the health, welfare and/or safety of Participating
                Patients receiving care from “Dentist” is or will be jeopardized by the continuation of
                this Agreement.
          F.    SURVIVAL. Upon termination, the rights and obligations of the “Dentist” and “BCHF”
                under this Agreement will terminate, except as otherwise noted in this Agreement.
                Termination, however, will not release “Dentist” from his or her obligation to complete
                any multi-step dental treatment which “Dentist” began prior to the effective date of the
                termination, provided that such termination did not result from a determination by
                “BCHF” that the health, welfare and/or safety of Participating Patients would be
                jeopardized by continuing this Agreement. “Dentist” is not obligated to provide any
                other services. Termination of this Agreement does not release “BCHF” from its
                obligation to reimburse “Dentist” for any dental services provided on or before the
                effective date of the termination.

    XV.        GENERAL PROVISIONS

          A.    AMENDMENT/MODIFICATION. This Agreement may be amended or modified
                from time to time upon the mutual written agreement of the parties. Any
                amendment or modification shall not affect the remaining provisions of the
                Agreement and, except for the specific provision amended or modified, this
                Agreement shall remain in full force and effect as originally executed. Amendments
                will take effect upon the date of execution of both parties.

          B.    ASSIGNMENT. This Agreement may not be assigned, delegated, or transferred by
                either party without the express written consent and authorization of the other party,
                provided prior to such action.

          C.    EFFECT OF WAIVER. A party to this Agreement may waive the other party's
                breach of a provision of this Agreement, but such a waiver does not constitute a
                waiver of any future breaches.

          D.    EFFECT OF INVALIDITY. The invalidity or unenforceability of any provision of this
               Agreement in no way affects the validly or enforceability of any other provision, unless




                                                                                                       EXHIBIT F
                                                                                                       PAGE 264
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3708 Page 265 of 734
                                      735




                                                                         EXHIBIT F
                                                                         PAGE 265
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3709 Page 266 of 734
                                      735



                                            Addendum “A”

                                           Scope of Services

   “Dentist” will provide services for Participating Patients with the following insurance:

   Medi-Cal Recipients
   Sliding Fee approved patients

   The “Dentist” must follow all Denti-Cal rules and regulations in regards to maximum allowances
   and procedure limitations for patients eligible for Medi-Cal. These are outlined in Section 5 of
   the Provider Manual under “Maximum Allowances”. Limitations of commercial contracts will be
   provided by “BCHF”

   Exams (New, recall and limited)
   X-rays
   Fluoride Application
   Prophylaxis
   Periodontal scaling and root planning
   Sealants
   Fillings
   Preventive Resin Restoration (PRR) for moderate to high risk caries risk patient permanent
   tooth.
   Extractions
   Stainless Steel Crowns
   Space Maintainers
   Root Canals (prior review required by the “BCHF” Dental Director)
   Crowns (prior review required by the “BCHF” Dental Director)




                                                                                              EXHIBIT F
                                                                                              PAGE 266
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3710 Page 267 of 734
                                      735




                                        Addendum “B”
                                 Compensation of Dental Services
                                      Pediatric Medi-Cal

   Services for Medi-Cal patients will be compensated on a per visit reimbursement rate as outlined
   below. Crowns and root canals are subject to prior review and authorization by the Dental
   Director. If the service is not within the scope of “BCHF” the “Dentist” may bill this service
   directly to the payor as a private patient.

    Description      Codes                     Number of      Special              Rate
                     (Denti-Cal rules          Visits         Consideration
                     apply)
    Routine Exam and D0120 in combo            1              Refer to Denti-Cal   $110 per
    X-rays           with                                     manual.
                     D0210, D0220,
                     D0230, D0272,
                     D0274, D0330
    Comprehensive    D0150 in combo            1              Refer to Denti-Cal   $130 per
    Exam and X-rays with                                      manual.
                     D0210, D0220,
                     D0230, D0272,
                     D0274, D0330
    Routine Exam     D0120 in                  1              Refer to Denti-Cal   $140 per
    and X-rays with  combo with                               manual.
    Prophy           D0210,D0220,
                     D0230,D0272,
                     D0274, D0330
                     - and D1120 -
                     D1206, D1208
    Comprehensive    D0150 in                  1              Refer to Denti-Cal   $150 per
    Exam and X-rays combo with                                manual.
    with Prophy      D0210,D0220,
                     D0230,D0272,
                     D0274, D0330
                     - and D1120 -
                     D1206, D1208
    Problem focused  D9430                     1              For relief of pain   $100
    oral evaluation  D0220, D0230,                            and medication
    only with X-ray  D0270


    Prophylaxis and     D1120 in combo         1              Must be in           $100 per visit
    Fluoride            with                                  combination.
    application         D1206, D1208
    Sealants or PRR     D1351, D1352           1 or 2         No less than per     $26 per tooth
                                                              quadrant.
    Fillings - Amalgam D2140, D2150,           1 or more      Per quadrant         $120 per visit




                                                                                              EXHIBIT F
                                                                                              PAGE 267
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3711 Page 268 of 734
                                      735



                         D2160, D2161

    Fillings – Resin     D2330, D2331,   1 or more   Per quadrant           $150 per visit
    Based Composite      D2332, D2335
    Anterior &           D2391, D2392,
    Posteriors           D2393, D2394
    Prefabricated        D2930, D2931,   1 or more   2 per visit            $200 per visit
    Crowns (Stainless    D2932
    Steel / Resin)
    Space Maintainer     D1510, D1515    2           Unilateral             $175 global
                                                     Bilateral              $280 global
    Extractions -        D7111, D7140    1           Per visit – multiple   $120 per visit
    simple                                           extractions under
                                                     anesthesia are not
                                                     in scope.
    Extractions -        D7210, D7220,   1 or more   Per visit – multiple   $185
    surgical             D7230, D7240                extractions under
                                                     anesthesia are not
                                                     in scope.
    Surgical Removal     D7250           1 or more   Per visit – multiple   $140
    of Roots                                         extractions under
                                                     anesthesia are not
                                                     in scope.
    Biopsy Soft Tissue D7286             1 or more   Per Visit              $45

    Alveoloplasty        D7310           1 or more   Per Visit              $70

    Removal of Torus     D7472           1 or more   Per Visit              $280
    Palatinus

    Removal of Torus     D7473           1 or more   Per Visit              $140
    Mandibulars

    Frenulectomy         D7960           1 or more   Per Visit              $280
    Excision of          D7971           1 or more   Per Visit              $70
    Pericoronal
    Gingiva
    Pulpotomy / Pulpal   D3220, D3221    1           Excludes final         $140 per visit
    Debridement                                      restoration
    Root Canal -         D3310           1 or more   Excludes final         $305 global
    Anterior                                         restoration
    Retreatment of a     D3346           1 or more   All treatments         $305 global
    Root Canal -                                     must be after 12
    Anterior                                         months of initial
                                                     visit
    Root Canal -         D3320           2 or more   Excludes final         $365 global
    Bicuspid                                         restoration. Open




                                                                                      EXHIBIT F
                                                                                      PAGE 268
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3712 Page 269 of 734
                                      735



                                                         & Med and
                                                         Finished RCT
                                                         included in global
                                                         fee.
    Retreatment of a    D3347                1 or more   All treatments       $365 global
    Root Canal -                                         must be after 12
    Bicuspid                                             months of initial
                                                         visit
    Root Canal - Molar D3330                 2 or more   Excludes final       $465 global
                                                         restoration
    Retreatment of a   D3348                 2 or more   All treatments       $465 global
    Root Canal - Molar                                   must be after 12
                                                         months of initial
                                                         visit
    Apicoectomy         D3410                1           None                 $140 per visit
    Anterior
    Crown               D2751, D2740,        2 or more   Prep and delivery    $475 global
                        D2791                            in global fee.
    Crown Post and      D2952,D2954          1           Payment included     $105
    Core (indirect or                                    in addition to
    pre-fabricated)                                      Crown Delivery
    Recement            D2920                1           None                 $75
    Permanent Crown
    Unspecified         D2999                1           None                 $100
    restorative
    procedure by
    report
    Periodontal         D4341, D4342         1           2 quadrants per      $70 per
    Scaling                                              visit                quadrant
    Periodontal         D4910                1           See Denti-Cal        $140
    Maintenance                                          Guidelines (only
                                                         once a calendar
                                                         quarter, must be
                                                         within 24 months
                                                         of SRP)
    Incision and        D7510, D7520         1           None                 $115
    Drainage of
    Abcess
    Palliative          D9110 in combo       1           None                 $100 per visit
    Treatment for       with D0220, D0230,
    Dental Pain with    D0270
    X-ray
    Inhalation of       D9230                1           Additional       $35
    Nitrous Oxide                                        payment in combo
                                                         with other
                                                         procedures




                                                                                         EXHIBIT F
                                                                                         PAGE 269
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3713 Page 270 of 734
                                      735



                                           Addendum "C"

                                         Location of Service

   All dental services under this agreement will be rendered at:

   Aldairi DDS Inc.

   40/30 Dental 2
   1166 East Main Street
   El Cajon, Ca. 92021




   Phone: (619) 478-4030


   During the hours of:

   Monday,     Tuesday,     Wednesday, Thursday,      Friday,
   9-6pm         9-6           9-6       9-6           9-6




   NPI Number - Organization ______________________________________________________


   NPI Number- Individual       1053301291




   Copies attached




                                                                              EXHIBIT F
                                                                              PAGE 270
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3714 Page 271 of 734
                                      735



                         CONFIDENTIALITY OF STUDENT INFORMATION /
                           PROTECTED HEALTH INFORMATION (PHI)

                           HIPAA BUSINESS ASSOCIATE ADDENDUM

   This Agreement is made effective the _____ day of May, 2018 by and between Borrego Health,
   hereinafter referred to as “Covered Entity”, and Aldairi DDS Inc. hereinafter referred to as
   “Business Associate”, (individually, a “Party” and collectively, the “Parties”).

                                             RECITALS:

           WHEREAS, Sections 261 through 264 of the federal Health Insurance Portability and
   Accountability Act of 1996, Public Law 104-191, known as “the Administrative Simplification
   provisions,” direct the Department of Health and Human Services to develop standards to
   protect the security, confidentiality and integrity of health information;

          WHEREAS, pursuant to the Administrative Simplification provisions, the Secretary of
   Health and Human Services issued regulations modifying 45 CFR Parts 160 and 164 (the
   “HIPAA Security and Privacy Rule”);

          WHEREAS, the American Recovery and Reinvestment Act of 2009 (Pub. L. 111-5),
   pursuant to Title XIII of Division A and Title IV of Division B, called the “Health Information
   Technology for Economic and Clinical Health” (“HITECH”) Act, provides modifications to the
   HIPAA Security and Privacy Rule (hereinafter, all references to the “HIPAA Security and Privacy
   Rule” are deemed to include all amendments to such rule contained in the HITECH Act and any
   accompanying regulations, and any other subsequently adopted amendments or regulations);

           WHEREAS, the Parties wish to enter into or have entered into an arrangement whereby
           Business Associate will provide certain services to Covered Entity, and, pursuant to such
           arrangement, Business Associate may be considered a “business associate” of Covered
           Entity as defined in the HIPAA Security and Privacy Rule (the agreement evidencing
           such arrangement is entitled Dentist Contract, dated May 29, 2018 and is hereby
           referred to as the “Arrangement Agreement”); and

          WHEREAS, Business Associate may have access to and/or use Protected Health
   Information (as defined below) in fulfilling its responsibilities under such arrangement;

           NOW, THEREFORE, in consideration of the Parties’ continuing obligations under the
   Arrangement Agreement, compliance with the HIPAA Security and Privacy Rule, and for other
   good and valuable consideration, the receipt and sufficiency of which is hereby acknowledged,
   and intending to be legally bound, the Parties agree to the provisions of this Agreement in order
   to address the requirements of the HIPAA Security and Privacy Rule and to protect the interests
   of both Parties.

   I.      DEFINITIONS

        A. Catch-all definition:
           The following terms used in this Agreement shall have the same meaning as those
           terms in the HIPAA Rules: Breach, Data Aggregation, Designated Record Set,
           Disclosure, Health Care Operations, Individual, Minimum Necessary, Notice of Privacy
           Practices, Protected Health Information, Required By Law, Secretary, Security Incident,




                                                                                              EXHIBIT F
                                                                                              PAGE 271
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3715 Page 272 of 734
                                      735


            Subcontractor, Unsecured Protected Health Information, and Use. In the event of an
            inconsistency between the provisions of this Agreement and mandatory provisions of the
            HIPAA Security and Privacy Rule, as amended, the HIPAA Security and Privacy Rule
            shall control. Where provisions of this Agreement are different than those mandated in
            the HIPAA Security and Privacy Rule, but are nonetheless permitted by the HIPAA
            Security and Privacy Rule, the provisions of this Agreement shall control.

         B. Specific definitions:

                1.      Business Associate. “Business Associate” shall generally have the same
                        meaning as the term “business associate” at 45 CFR 160.103, and in
                        reference to the party to this agreement, shall mean Aldairi DDS Inc.

                2.      Covered Entity. “Covered Entity” shall generally have the same meaning as
                        the term “covered entity” at 45 CFR 160.103, and in reference to the party to
                        this agreement, shall mean Borrego Health.

                3.      HIPAA Rules. “HIPAA Rules” shall mean the Privacy, Security, Breach
                        Notification, and Enforcement Rules at 45 CFR Part 160 and Part 164.

                4.      Protected Health Information. “Protected Health Information (PHI)” shall
                        mean individually identifiable health information including, without limitation,
                        all information, data, documentation, and materials, including without
                        limitation, demographic, medical and financial information, that relates to the
                        past, present, or future physical or mental health or condition of an individual;
                        the provision of health care to an individual; or the past, present, or future
                        payment for the provision of health care to an individual; and that identifies
                        the individual or with respect to which there is a reasonable basis to believe
                        the information can be used to identify the individual. “Protected Health
                        Information” includes without limitation “Electronic Protected Health
                        Information” as defined below.

                5.      Electronic Protected Health Information. “Electronic Protected Health
                        Information” shall mean Protected Health Information which is transmitted by
                        Electronic Media (as defined in the HIPAA Security and Privacy Rule) or
                        maintained in Electronic Media.

   II.       CONFIDENTIALITY AND SECURITY REQUIREMENTS

         A. Business Associate agrees:
               1. Not to use or disclose protected health information other than as permitted or
                  required by the Agreement or as required by law;

                2. To use appropriate safeguards, and comply with Subpart C of 45 CFR Part 164
                   with respect to electronic protected health information, to prevent use or
                   disclosure of protected health information other than as provided for by the
                   Agreement;

                3. To report to covered entity any use or disclosure of protected health information
                   not provided for by the Agreement of which it becomes aware, including
                   breaches of unsecured protected health information as required at 45 CFR



                                                                                                   EXHIBIT F
                                                                                                   PAGE 272
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3716 Page 273 of 734
                                      735


                164.410, and any security incident of which it becomes aware. Such report shall
                be made by Business Associate to Covered Entity within twenty-four hours of the
                time when Business Associate becomes aware of the breach;

             4. In accordance with 45 CFR 164.502(e)(1)(ii) and 164.308(b)(2), if applicable, to
                ensure that any subcontractors that create, receive, maintain, or transmit
                protected health information on behalf of the business associate agree to the
                same restrictions, conditions, and requirements that apply to the business
                associate with respect to such information;

             5. To make available protected health information in a designated record set to the
                individual or the individual’s designee” as necessary to satisfy covered entity’s
                obligations under 45 CFR 164.524;

             6. To make any amendment(s) to protected health information in a designated
                record set as directed or agreed to by the covered entity pursuant to 45 CFR
                164.526, or take other measures as necessary to satisfy covered entity’s
                obligations under 45 CFR 164.526;

             7. To maintain and make available the information required to provide an
                accounting of disclosures to the individual as necessary to satisfy covered
                entity’s obligations under 45 CFR 164.528;

             8. To the extent the business associate is to carry out one or more of covered
                entity's obligation(s) under Subpart E of 45 CFR Part 164, to comply with the
                requirements of Subpart E that apply to the covered entity in the performance of
                such obligation(s); and

             9. To make its internal practices, books, and records available to the Secretary for
                purposes of determining compliance with the HIPAA Rules.

             10. Business Associate acknowledges and agrees that all Protected Health
                 Information that is created or received by Covered Entity and disclosed or made
                 available in any form, including paper record, oral communication, audio
                 recording, and electronic display by Covered Entity or its operating units to
                 Business Associate or is created or received by Business Associate on Covered
                 Entity’s behalf shall be subject to this Agreement.

      B. Notwithstanding the prohibitions set forth in this Agreement, Business Associate may
         use and disclose Protected Health Information as follows:

             1. As necessary to perform the services set forth in the underlying Service
                Agreement; and/or

             2. As required by law.

             3. Business Associate agrees to make uses and disclosures and requests for
                protected health information consistent with Covered Entity’s minimum necessary
                policies and procedures.




                                                                                              EXHIBIT F
                                                                                              PAGE 273
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3717 Page 274 of 734
                                      735


             4. Business Associate may not use or disclose PHI in a manner that would violate
                Subpart E of 45 CFR Part 164 if done by covered entity.

             5. Business associate may not use or disclose protected health information in a
                manner that would violate Subpart E of 45 CFR Part 164 if done by covered
                entity.

             6. Business associate may use protected health information for the proper
                management and administration of the business associate or to carry out the
                legal responsibilities of the business associate.

             7. Business associate may disclose protected health information for the proper
                management and administration of business associate or to carry out the legal
                responsibilities of the business associate, provided the disclosures are required
                by law, or business associate obtains reasonable assurances from the person to
                whom the information is disclosed that the information will remain confidential
                and used or further disclosed only as required by law or for the purposes for
                which it was disclosed to the person, and the person notifies business associate
                of any instances of which it is aware in which the confidentiality of the information
                has been breached.

             8. Business associate may provide data aggregation services relating to the health
                care operations of the covered entity.

      C. Business Associate will implement appropriate safeguards to prevent use or disclosure
         of Protected Health Information other than as permitted in this Agreement. Business
         Associate will implement administrative, physical, and technical safeguards that
         reasonably and appropriately protect the confidentiality, integrity, and availability of any
         Electronic Protected Health Information that it creates, receives, maintains, or transmits
         on behalf of Covered Entity as required by the HIPAA Security and Privacy Rule.

      D. The Secretary of Health and Human Services shall have the right to audit Business
         Associate’s records and practices related to use and disclosure of Protected Health
         Information to ensure Covered Entity’s compliance with the terms of the HIPAA Security
         and Privacy Rule.

      E. Business Associate shall report to Covered Entity any use or disclosure of Protected
         Health Information which is not in compliance with the terms of this Agreement of which
         it becomes aware. Business Associate shall report to Covered Entity any Security
         Incident of which it becomes aware. Such report shall be made within twenty-four hours
         of the date and time upon which Business Associate becomes aware of the
         unauthorized use or disclosure and/or Security Incident.

         For purposes of this Agreement, “Security Incident” means the attempted or successful
         unauthorized access, use, disclosure, modification, or destruction of information or
         interference with system operations in an information system. In addition, Business
         Associate agrees to mitigate, to the extent practicable, any harmful effect that is known
         to Business Associate of a use or disclosure of Protected Health Information by
         Business Associate in violation of the requirements of this Agreement.




                                                                                                EXHIBIT F
                                                                                                PAGE 274
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3718 Page 275 of 734
                                      735


   III.      AVAILABILITY OF PHI
          A. Business Associate agrees to comply with any requests for restrictions on certain
             disclosures of Protected Health Information pursuant to Section 164.522 of the HIPAA
             Security and Privacy Rule to which Covered Entity has agreed and of which Business
             Associate is notified by Covered Entity. Business Associate agrees to make available
             Protected Health Information to the extent and in the manner required by Section
             164.524 of the HIPAA Security and Privacy Rule. If Business Associate maintains
             Protected Health Information electronically, it agrees to make such Protected Health
             Information electronically available to the applicable individual. Business Associate
             agrees to make Protected Health Information available for amendment and incorporate
             any amendments to Protected Health Information in accordance with the requirements of
             Section 164.526 of the HIPAA Security and Privacy Rule. In addition, Business
             Associate agrees to make Protected Health Information available for purposes of
             accounting of disclosures, as required by Section 164.528 of the HIPAA Security and
             Privacy Rule and Section 13405(c)(3) of the HITECH Act. Business Associate and
             Covered Entity shall cooperate in providing any accounting required on a timely basis.
   IV.       TERM/TERMINATION
          A. Term. The Term of this Agreement shall be effective as of the date first listed above and
             shall continue in effect concurrently with the term of the Arrangement Agreement.

          B. Termination. Notwithstanding anything in this Agreement to the contrary, Covered Entity
             shall have the right to terminate this Agreement and the Arrangement Agreement
             immediately if Covered Entity determines that Business Associate has violated any
             material term of this Agreement. If Covered Entity reasonably believes that Business
             Associate will violate a material term of this Agreement and, where practicable, Covered
             Entity gives written notice to Business Associate of such belief within a reasonable time
             after forming such belief, and Business Associate fails to provide adequate written
             assurances to Covered Entity that it will not breach the cited term of this Agreement
             within a reasonable period of time given the specific circumstances, but in any event,
             before the threatened breach is to occur, then Covered Entity shall have the right to
             terminate this Agreement and the Arrangement Agreement immediately. Covered Entity
             may seek injunctive relief and/or any other available remedy to prevent a breach of this
             Agreement.

          C. Obligations of Business Associate Upon Termination. Upon termination of this
             Agreement for any reason, business associate shall return to covered entity all protected
             health information received from covered entity, or created, maintained, or received by
             business associate on behalf of covered entity, that the business associate still
             maintains in any form. Business associate shall retain no copies of the protected health
             information.

          D. Survival. The obligations of business associate under this Section shall survive the
             termination of this Agreement.

   V.        MISCELLANEOUS
          A. Third Parties; Survival. Except as expressly stated herein or the HIPAA Security and
             Privacy Rule, the Parties to this Agreement do not intend to create any rights in any third
             parties. The obligations of Business Associate under this Section shall survive the
             expiration, termination, or cancellation of this Agreement, the Arrangement Agreement



                                                                                                  EXHIBIT F
                                                                                                  PAGE 275
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3719 Page 276 of 734
                                      735




                                                                         EXHIBIT F
                                                                         PAGE 276
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3720 Page 277 of 734
                                      735




                                                                         EXHIBIT F
                                                                         PAGE 277
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3721 Page 278 of 734
                                      735



                                            Addendum “E"
                             COMPENSATION OF DENTAL SERVICES
                                     ADULT MEDI-CAL

   Services for Adults with current full scope Medi-Cal eligibility will be compensated on a per visit
   reimbursement rate as outlined below. Crowns and root canals are subject to prior review and
   approval by the Dental Director. If the service is not within the scope of “BCHF” the “Dentist”
   may bill this service directly to the payer as a private patient.

    Description          Codes                   Number of       Special              Rate
                         (Denti-Cal rules        Visits          Consideration
                         apply)


    Routine Exam and D0120 in combo              1               Refer to Denti-Cal   $110 per visit
    X-rays           with                                        manual.
                     D0210, D0220,
                     D0230, D0272,
                     D0274, D0330
    Comprehensive    D0150 in combo              1               Refer to Denti-Cal   $130 per visit
    Exam and X-rays with                                         manual.
                     D0210, D0220,
                     D0230, D0272,
                     D0274, D0330
    Routine Exam     D0120 in                    1               Refer to Denti-Cal   $140 per visit
    and X-rays with  combo with                                  manual.
    Prophy           D0210,D0220,
                     D0230,D0272,
                     D0274, D0330
                     - and D1110
    Comprehensive    D0150 in                    1               Refer to Denti-Cal   $150 per visit
    Exam and X-rays combo with                                   manual.
    with Prophy      D0210,D0220,
                     D0230,D0272,
                     D0274, D0330
                     - and D1110
    Problem focused  D9430                       1               For relief of pain   $100
    oral evaluation  D0220, D0230,                               and medication
    only with X-ray  D0270

    Prophylaxis and    D1110 in combo            1               Must be in           $110 per visit
    Fluoride           with                                      combination.
    application        D1206, D1208
    Fillings - Amalgam D2140, D2150,             1 or more       Treatment to be      $120 per visit
                       D2160, D2161                              completed per
                                                                 quadrant, unless
                                                                 documented




                                                                                                 EXHIBIT F
                                                                                                 PAGE 278
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3722 Page 279 of 734
                                      735



    Fillings – Resin    D2330, D2331,   1 or more   Treatment to be        $150 per visit
    Based Composite     D2332, D2335                completed per
    Anterior &          D2391, D2392,               quadrant, unless
    Posteriors          D2393, D2394                documented
    Prefabricated       D2931, D2932    1 or more   2 per visit            $200 per visit
    Crowns (Stainless
    Steel / Resin)
    Extractions -       D7111, D7140    1 or more   Per visit – multiple   $120 per visit
    simple                                          extractions under
                                                    anesthesia are not
                                                    in scope.
    Extractions -       D7210, D7220,   1 or more   Per visit – multiple   $185
    surgical            D7230, D7240                extractions under
                                                    anesthesia are not
                                                    in scope.
    Surgical Removal    D7250           1 or more   Per visit – multiple   $140
    of Roots                                        extractions under
                                                    anesthesia are not
                                                    in scope.
    Biopsy Soft Tissue D7286            1 or more   Per Visit              $45

    Alveoloplasty       D7310           1 or more   Per Visit              $70

    Removal of Torus    D7472           1 or more   Per Visit              $280
    Palatinus

    Removal of Torus    D7473           1 or more   Per Visit              $140
    Mandibulars

    Frenulectomy        D7960           1 or more   Per Visit              $280

    Excision of         D7971           1 or more   Per Visit              $70
    Pericoronal
    Gingiva
    Pulpal              D3221           1           Excludes final         $140 per visit
    Debridement                                     restoration
    Root Canal -        D3310           1 or more   Excludes final         $305 global
    Anterior                                        restoration. Open
                                                    & Med and
                                                    Finished RCT
                                                    included in global
                                                    fee.
    Retreatment of a    D3346           1 or more   All treatments         $305 global
    Root Canal -                                    must be after 12
    Anterior                                        months of initial
                                                    visit
    Root Canal -        D3320           2 or more   Excludes final         $365 global




                                                                                     EXHIBIT F
                                                                                     PAGE 279
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3723 Page 280 of 734
                                      735



    Bicuspid                                        restoration. Open
                                                    & Med and
                                                    Finished RCT
                                                    included in global
                                                    fee.
    Retreatment of a    D3347           1 or more   All treatments       $365 global
    Root Canal -                                    must be after 12
    Bicuspid                                        months of initial
                                                    visit
    Root Canal - Molar D3330            2 or more   Excludes final       $465 global
                                                    restoration. Open
                                                    & Med and
                                                    Finished RCT
                                                    included in global
                                                    fee.
    Retreatment of a   D3348            2 or more   All treatments       $465 global
    Root Canal - Molar                              must be after 12
                                                    months of initial
                                                    visit
    Apicoectomy         D3410           1           None                 $140 per visit
    Anterior
    Crown               D2751, D2740,   2 or more   Prep and delivery    $475 global
                        D2791                       in global fee.
    Crown Post and      D2952,D2954     1           Payment included     $105
    Core (indirect or                               in addition to
    pre-fabricated)                                 Crown Delivery
    Recement            D2920           1           All treatments       $75
    Permanent Crown                                 must be after 12
                                                    months of initial
                                                    visit
    Unspecified         D2999           1           None                 $100
    restorative
    procedure by
    report
    Periodontal         D4341, D4342    1           2 quadrants per      $70 per
    Scaling                                         visit                quadrant
    Periodontal         D4910           1           See Denti-Cal        $140
    Maintenance                                     Guidelines (only
                                                    once a calendar
                                                    quarter, must be
                                                    within 24 months
                                                    of SRP)
    Gingivectomy or    D4211            1           1 to 3 teeth, per    $110
    Gingivoplasty                                   quadrant
    Incision and       D7510, D7520     1           None                 $115
    Drainage of
    Abscess
    Dentures (Includes D5110, D5120     6 or more   Maxillary and        $635 each




                                                                                    EXHIBIT F
                                                                                    PAGE 280
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3724 Page 281 of 734
                                      735



    first 2 adjustments)                                    Mandibular      denture –
                                                                            global
    Removable Partial D5213, D5214              6 or more   Maxillary and   $660 each
    – Cast Metal                                            Mandibular      partial – global
    (Includes first 2
    adjustments)
    Removable Partial D5211, D5212              3 or more   Maxillary and   $360 each
    – Resin Based                                           Mandibular      partial - global
    Repairs            D5510, D5520             1 or more   Maxillary and   $110 each visit
                       D5610, D5640                         Mandibular
                       D5650, D5660
    Repair Cast        D5620                    1           None            $325 per visit
    Framework
    Repair/Replace     D5630                    1           None            $140 per visit
    Broke Clasp
    Adjustments only D5410, D5411               1           Maxillary and   $70 per visit
    (not following     D5421, D5422                         Mandibular
    delivery)
    Reline (in office) D5730, D5731             1           Maxillary and   $120 per visit
                       D5740, D5741                         Mandibular

    Reline                 D5750, D5751         2 or more   Maxillary and   $225 - global
    (Laboratory)           D5760, D5761                     Mandibular
    Tissue                 D5850, D5851         1           Maxillary and   $120 per visit
    Conditioning                                            Mandibular

    Palliative             D9110 in combo       1           None            $100 per visit
    Treatment for          with D0220, D0230,
    Dental Pain with       D0270
    X-ray




                                                                                       EXHIBIT F
                                                                                       PAGE 281
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3725 Page 282 of 734
                                      735



                                            Addendum “F”


                                    DENTAL SLIDING FEE SCALE
                                      SUMMARY OF BENEFITS

   As a Federally Qualified Health Center (FQHC), Borrego Community Health Foundation (BCHF)
   is required to provide a sliding fee scale program for patients living at or below 200% of the
   Federal Poverty Level (FPL). Services must be provided despite a patient’s inability to pay.
   Ability to pay is determined through an eligibility process in which the applicant provides proof of
   income and family size.
   As a contract dental partner of BCHF, you are required to extend the sliding fee scale program
   to your practice.

   Benefits:

   The sliding fee scale is a limited benefit program that provides discounted rates for services
   rendered within the dental practice of the organization and contracted sites only. It does not
   extend to services rendered by specialists to whom the clinic may refer the patient for additional
   care. The scope of benefits is limited to services as outlined in the current Denti-Cal Provider
   Handbook - Manual of Criteria (Section 5).

   The program includes:

      Exam and X-rays
      Cleaning
      Fluoride Application
      Fillings
      Extractions (Limited to scope of General Dentistry)
      Root Canals (Limited to scope of General Dentistry)
      Crowns (Limited to non-precious metal)
      Dentures ($150 co-payment)
      Bridges (co-payment 50% of cost)

   Eligibility:

   The application process and eligibility determination is outlined in the BCHF Sliding Fee Policy
   and Procedure, which is amended from time to time to reflect current FPL (revised on an annual
   basis and published April 1.

   Information regarding the Sliding Fee program will be made available in your office for cash
   patients that may desire to apply. Application assistance and eligibility determination will be
   conducted by BCHF staff upon referral from your office. Your office may be required to provide
   limited assistance (e.g. emailing an application or referring the applicant to one of our local
   clinics for assistance). Uninsured applicants will receive information about other program
   eligibility including Medi-Cal and/or Covered California and assisted with applying for these




                                                                                                 EXHIBIT F
                                                                                                 PAGE 282
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3726 Page 283 of 734
                                      735




                                                                         EXHIBIT F
                                                                         PAGE 283
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3727 Page 284 of 734
                                      735




                         EXHIBIT G
                                                                         EXHIBIT G
                                                                         PAGE 284
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3728 Page 285 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 285
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3729 Page 286 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 286
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3730 Page 287 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 287
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3731 Page 288 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 288
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3732 Page 289 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 289
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3733 Page 290 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 290
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3734 Page 291 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 291
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3735 Page 292 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 292
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3736 Page 293 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 293
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3737 Page 294 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 294
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3738 Page 295 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 295
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3739 Page 296 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 296
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3740 Page 297 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 297
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3741 Page 298 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 298
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3742 Page 299 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 299
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3743 Page 300 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 300
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3744 Page 301 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 301
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3745 Page 302 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 302
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3746 Page 303 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 303
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3747 Page 304 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 304
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3748 Page 305 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 305
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3749 Page 306 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 306
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3750 Page 307 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 307
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3751 Page 308 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 308
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3752 Page 309 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 309
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3753 Page 310 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 310
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3754 Page 311 of 734
                                      735




                                                                         EXHIBIT G
                                                                         PAGE 311
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3755 Page 312 of 734
                                      735




                         EXHIBIT H
                                                                         EXHIBIT H
                                                                         PAGE 312
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3756 Page 313 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 313
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3757 Page 314 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 314
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3758 Page 315 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 315
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3759 Page 316 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 316
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3760 Page 317 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 317
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3761 Page 318 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 318
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3762 Page 319 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 319
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3763 Page 320 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 320
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3764 Page 321 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 321
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3765 Page 322 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 322
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3766 Page 323 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 323
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3767 Page 324 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 324
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3768 Page 325 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 325
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3769 Page 326 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 326
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3770 Page 327 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 327
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3771 Page 328 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 328
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3772 Page 329 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 329
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3773 Page 330 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 330
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3774 Page 331 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 331
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3775 Page 332 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 332
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3776 Page 333 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 333
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3777 Page 334 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 334
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3778 Page 335 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 335
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3779 Page 336 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 336
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3780 Page 337 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 337
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3781 Page 338 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 338
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3782 Page 339 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 339
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3783 Page 340 of 734
                                      735




                                                                         EXHIBIT H
                                                                         PAGE 340
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3784 Page 341 of 734
                                      735




                          EXHIBIT I
                                                                         EXHIBIT I
                                                                         PAGE 341
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3785 Page 342 of 734
                                      735


                                 AGREEMENT BETWEEN
                               Long Beach Care Dental Inc.
                                         AND
                         BORREGO COMMUNITY HEALTH FOUNDATION
                                         FOR
                                   DENTAL SERVICES

          THIS DENTAL SERVICES AGREEMENT ("Agreement") is entered into as of December
   11, 2018 between Borrego Community Health Foundation (“BCHF”) and Long Beach Care
   Dental Inc. ("Dentist"), collectively the “Parties”.

    RECITALS

           WHEREAS, BCHF is a 501 (c) (3) non-profit public benefit corporation, organized under
   the laws of the State of California and is licensed to operate Federally Qualified Community Health
   Centers (FQHC). BCHF operates clinics throughout San Diego, San Bernardino, and Riverside
   Counties. The clinics provide comprehensive primary and specialty care according to the scope
   of services as approved by the Bureau of Primary Health Care (“BPHC”) within the United States
   Department of Health and Human Services (“DHHS”). The approved scope includes performance
   of primary dental services; and

          WHEREAS, “BCHF” desires to increase access to dental services for pediatric,
   adolescent and adult patients of the FQHC by entering into agreements with qualified Dentists to
   provide primary dental services for the FQHC.

           WHEREAS, “Dentist” is duly licensed to provide dental services within the State of
   California and meets credentials required by “BCHF” to perform such services and is not the
   subject of any Medicaid/Medicare related actions, suspensions, exclusions or debarments that
   would disqualify him or her from providing services under this Agreement. The “Dentist” provides
   the desired scope of services that meet the FQHC criteria; and

           WHEREAS, “Dentist” operates and administers a private practice in Long Beach,
   California within “BCHF’s” service area and agrees to provide primary dental services to patients
   on behalf of “BCHF” by entering into agreement to deliver such services in a professional manner
   to “BCHF” patients. (Refer to Addendum “C” for dental office address and contact information.)

   AGREEMENT

          NOW, THEREFORE, in consideration of the covenants and agreements herein contained,
   and other good and valuable consideration, the “Parties” hereto mutually agree as follows:
    I.    DEFINITIONS

       A.   PARTICIPATING PATIENTS. A "Participating Patient" who is eligible to receive
            dental services under this Agreement is defined as any individual residing in
            FQHC’s federally-approved service area and who is a patient of the FQHC
            operated by “BCHF”.

       B.   SCOPE OF SERVICES. Those services approved by the Health Resource and
            Service Administration (HRSA) as Required and Additional Services that are
            authorized to be rendered by BCHF to residents of the specified service area.


                                                   1

                                                                                                EXHIBIT I
                                                                                                PAGE 342
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3786 Page 343 of 734
                                      735


    II.        ACKNOWLEDGEMENT
               The “Dentist” agrees to be bound by the terms and conditions of this Agreement
               insofar as said Agreement relates to rights, responsibilities and duties as “Dentist”.
               This Agreement constitutes the entire understanding between the parties hereto
               and no changes, amendments or alterations shall be effective unless agreed to in
               writing by both parties and appended to this Agreement.

   III.        INDEPENDENT RELATIONSHIP
               None of the provisions of this Agreement are intended to create nor shall be
               deemed or construed to create any relationship between “BCHF” and “Dentist” other
               than that of independent entities contracting with each other solely for the purpose
               of effecting the provisions of this Agreement. Neither of the parties hereto nor any
               of their respective employees shall be construed to be the agent, employee or
               representative of the other. This Agreement is entered into at an arm’s length
               negotiated rate reflective of the fair market value.

   IV.         PROFESSIONAL SERVICES

          A.    COVERED SERVICES. Dentist agrees to provide primary care dental services
                described in Addendum “A” and Addendum “D” as “Covered Services”, as required,
                to Participating Patients, in accordance with the attached “Payment Schedule” and as
                further described in Section VIII. “BCHF” is responsible for contacting “Dentist” to
                make initial appointments for Participating Patients. Notwithstanding, “BCHF” is under
                no obligation to utilize “Dentist” to provide dental services to any or all Participating
                Patients who require such services.

          B.    SERVICE AVAILABILITY. “Dentist” shall provide primary dental services during
                hours of operations that are mutually agreed upon and outlined in “Addendum “C”.
                Any changes require prior notification to the “BCHF” Dental Director. “Dentist” will
                maintain adequate facilities within the Service Area to meet the responsibilities of this
                Agreement. Such facilities must meet standards of practice expected of a licensed
                facility. Adequate trained, certified or licensed personnel will be provided quality
                standard of care and not place the health and well-being of the patients in jeopardy.
                “Dentist” will provide a plan of after hour access for phone consultation and triage for
                dental emergencies of established patients.

          C.    DOCUMENTATION AND DESCRIPTION OF SERVICES. “Dentist” agrees to
                establish and maintain dental records that will contain descriptions of any dental
                services provided to Participating Patients, as well as proposed follow-up treatment
                plans for subsequent visits (if any). The descriptions of the services will be made using
                American Dental Association CDT Standard Claims Codes. In the event that such
                records are housed in a location other than the dental office, “BCHF” shall have
                reasonable and timely access to such records. “Dentist” agrees to retain such records
                for a period of at least seven years or to the extent required by applicable laws or
                regulations.

          D.    PRIOR AUTHORIZATION. For dental services needing individual consideration
                or prior approval the “Dentist” must provide such documentation necessary prior
                to rendering such service. In addition to standard requirements of prior approval
                outlined by the Denti-Cal program or other third-party payors, an additional list of


                                                        2

                                                                                                        EXHIBIT I
                                                                                                        PAGE 343
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3787 Page 344 of 734
                                      735


              services requiring prior approval may be provided by “BCHF”. As a satellite of an
              FQHC, Treatment Authorization Requests (TAR) must be fully documented in the
              dental record, but do not require submission to Denti-Cal for prior approval. This
              does not apply to treatment paid directly by Denti-Cal

         E.   AGREEMENT NOT TO CHARGE PATIENTS. The “Parties” agree that all Participating
              Patients receiving services from “Dentist” pursuant to this Agreement shall be
              considered patients of “BCHF”. Accordingly, “BCHF” shall be responsible for the billing
              of such patient services, as applicable, as well as the billing of Federal, State and
              private payors, and the collection and retention of any and all payments. “Dentist”
              agrees not to bill, charge or collect from Participating Patients or payors any amount for
              any dental services provided under this Agreement. If “Dentist” should receive any
              payment from Participating Patients or payors for services provided hereunder,
              “Dentist” agrees to remit such payment to FQHC within ten (10) days of receipt.

         F.   SLIDING FEE. Notwithstanding the aforementioned, “Dentist” recognizes that
              certain Participating Patients may be charged at the time of service, in accordance
              with a fee schedule and, as applicable, schedule of sliding fee discounts established
              by “BCHF” pursuant to 42 C.F.R.§51c.303(f). “Dentist” shall, on behalf of “BCHF”
              and consistent with “BCHF 's” guidelines, schedules and procedures, make every
              reasonable effort to collect fees from eligible Participating Patients at the time
              services are provided to such patients and to remit such payments to “BCHF” within
              ten (10) days of receipt. “BCHF” shall perform the follow-up activities necessary to
              collect patient fees not collected by “Dentist” at the time of service.

         G. NON-DISCRIMINATION. “Dentist” agrees to provide dental services to Participating
            Patients in the same professional manner and pursuant to the same professional
            standards as generally provided by “Dentist” to his or her patients, regardless of an
            individual's or family's ability to pay for services rendered. This section shall not be
            read to prevent “Dentist” from limiting the number of hours and/or days during which
            “Dentist” agrees to see Participating Patients, provided that such limitation shall not
            be based on a Participating Patient's payor source or insurance status. Dentist also
            agrees not to differentiate or discriminate in the provision of services provided to
            Participating Patients on the basis of race, color, religious creed, age, marital status,
            national origin, alienage, sex, blindness, mental or physical disability or sexual
            orientation pursuant to Title 45 of the Code of Federal Regulations, §§ 80.3-80.4, and
            Civil Rights Act of 2007.

    V.        QUALITY OVERSIGHT AND EVALUATION OF SERVICES BY FQHC
         A.   QUALITY OF CARE. “Dentist” shall provide care consistent with prevailing community
              standards for quality of care and in accordance with “BCHF” Section 330 grant and
              applicable grant-related expectations and requirements. Services shall be within the
              scope of practice outlined in Addendum B for primary care dental services. The
              “Dentist” will be subject to standards of quality review as though the care was provided
              by an employed dentist or the organization. Such review will include facility and record
              review in keeping with “BCHF” standards and applicable regulations. “BCHF” will
              communicate in writing any corrective action that must be resolved in a timely manner.

         B.   POLICIES AND PROCEDURES. The “Dentist” will be subject to clinical policies and
              procedures established by “BCHF” regarding the provision of services pursuant to this


                                                     3

                                                                                                   EXHIBIT I
                                                                                                   PAGE 344
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3788 Page 345 of 734
                                      735


               agreement including but not limited to qualifications and credentials, clinical guidelines,
               standards of conduct, quality assurance standards, productivity standards, patient and
               provider grievance and complaint procedures. Such policies and procedures are
               consistent with “BCHF’s” requirements established by the Bureau of Primary Health
               Care (BPHC). “BCHF” will provide “Dentist with such requirements, policies,
               procedures and standards. Notwithstanding, nothing herein is intended to interfere with
               “Dentist’s” professional judgment in connection with the provision of clinical services.

          C.   PATIENT RELATIONSHIP. “Dentist” shall maintain a dentist/patient relationship with
               Participating Patients and shall be solely responsible for dental treatment and advice.
               Notwithstanding, nothing herein is intended to interfere with “Dentist’s” professional
               judgment in connection with the provision of such services.
          D.   AUTHORITY. “BCHF”, through its Executive Director and/or Dental Director or Medical
               Director, shall have and exercise ultimate authority and responsibility for the services
               provided to Participating Patients pursuant to this Agreement, consistent with the
               policies, procedures and standards set forth above. In particular, “BCHF” shall retain
               ultimate authority over the following:

               1. Determination as to whether “Dentist” meets “BCHF’s” qualifications and
                  credentials, consistent with BCHF standards.

               2. Interpretation of “BCHF’s” policies and procedures, clinical guidelines, quality
                  assurance standards, productivity standards, standards of conduct and
                  provider and patient grievance and complaint resolution procedures, and their
                  applicability to “Dentist”.
               3. Determination with respect to whether “Dentist” is performing satisfactorily and
                  consistent with “BCHF’s” policies, procedures and standards.

               4. The Executive Director and/or Medical Director have the authority to terminate
                  this agreement in accordance with Section XIV below.

      E.       NOTIFICATION. “Dentist” shall, as soon as reasonably practicable, notify “BCHF” of
               any action, event, claim, proceeding, or investigation (including, but not limited to, any
               report made to the National Practitioner Data Bank) that could result in the revocation,
               termination, suspension, limitation or restriction of “Dentist's” licensure, certification, or
               qualification to provide such services. “BCHF” may suspend this Agreement, until such
               time as a final determination has been made with respect to the applicable action, event,
               claim, proceeding, or investigation.

    VI.        NO OBLIGATION TO REFER AND NON-SOLICITATION OF PATIENTS

          A.   It is specifically agreed and understood between the parties that nothing in this
               Agreement is intended to require, nor requires, nor provides payment or benefit of any
               kind (directly or indirectly), for the referral of individuals or business to either party by
               the other party.

          B.   “Dentist” agrees that during the term of this Agreement, he or she shall not, directly
               or indirectly, solicit or attempt to solicit or treat, for his or her own account or for
               the account of any other person or entity, any patient of “BCHF.” This non-
               solicitation clause shall survive termination of this Agreement for a period of two

                                                        4

                                                                                                          EXHIBIT I
                                                                                                          PAGE 345
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3789 Page 346 of 734
                                      735


                 (2) years following termination, however such termination is affected.

           C.    “Dentist” shall not cause any entity or individual he or she is employed by or with
                 whom he or she is professionally associated to, directly or indirectly, solicit or
                 attempt to solicit for his or her own account or for the account of any other person
                 or entity, any patient of “BCHF” for whom “Dentist” provided care during the term of
                 the Agreement. For purposes of this paragraph, a "patient of BCHF" shall mean
                 any patient seen or treated by “BCHF” (whether by its employees or independent
                 contractors) during the one (1) year period immediately preceding the termination
                 or expiration of this Agreement, including, but not limited to, those patients treated
                 by Dentist hereunder.

    VII.        CONTRACTS WITH OTHERS

                This contract is non-exclusive. “BCHF" retains the authority to contract with other dentists
                or dental practices, if, and to the extent that, “BCHF” reasonably determines that such
                contracts are necessary in order to implement “BCHF” policies and procedures, or as
                otherwise may be necessary to assure appropriate collaboration with other local
                providers (as required by Section 330 (k)(3) (B)), to enhance patient freedom of choice,
                and/or to enhance accessibility, availability, quality and comprehensiveness of care.

    VIII.       COMPENSATION

           A.    FEE SCHEDULE. “Dentist” will be compensated for providing dental services under
                  this Agreement in accordance with the attached Payment Schedule Addendum “B”.

           B.    ENCOUNTER SUBMISSION. Dentist will complete a superbill for every visit. The
                 superbills will be batched and submitted on a daily basis along with the patient
                 demographic information and a copy of the visit documentation. Adequate supporting
                 documentation must be made available to ensure that “BCHF” will be able to collect for
                 services rendered and not place the organization in jeopardy of false claims.

           C.    TIMING OF PAYMENT. Payment will be made on claims that are paid to “BCHF” by
                 third party payors. The payment will be processed within 35 days of receipt of a
                 superbill and adequate supporting documentation for each visit. Payment will be made
                 on a weekly basis to the “Dentist” with a detailed explanation of reimbursement. Both
                 Dentist and BCHF will be responsible for maintaining records of transactions to avoid
                 duplication of reimbursement and resolve outstanding balances.

    IX.         CASE MANAGEMENT
           A.    AGREEMENT TO PROVIDE DESIGNATED NUMBER OF SERVICES. “Dentist”
                 agrees to provide services for the “BCHF” patients for a minimum of ten (10) visits a
                 week and to be available at minimum three days a week during standard business
                 hours. “Dentist” will communicate with BCHF management as to appointment
                 availability so that adjustments can be made to accommodate the identified need. The
                 “Dentist” reserves the right to fill these appointments if there are an insufficient number
                 of referrals from “BCHF”. “Dentist” will provide occasional after hour sessions to
                 provide expanded availability. These sessions may include weekend clinics or after
                 5:00 p.m. schedules. “Dentist” will accommodate dental emergencies as necessary.



                                                          5

                                                                                                       EXHIBIT I
                                                                                                       PAGE 346
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3790 Page 347 of 734
                                      735


         B.   VERIFICATION OF PATIENT STATUS.                 “BCHF” will verify each Participating
              Patient's status as a “BCHF” patient on the day on which an appointment is made for
              such patient with Dentist. “Dentist” will verify information regarding the patient's
              status as a “BCHF” patient on the date of service or otherwise mutually agreed upon
              method verification presenting to the “Dentist”. If it is determined that the Participating
              Patient is not a “BCHF” patient on the date of service, “BCHF”, in consultation with
              Dentist, will decide whether or not to authorize “Dentist” to proceed with treatment. If
              “BCHF” authorizes “Dentist” to proceed with treatment, “BCHF” will be responsible for
              payment for the services provided by the “Dentist” according to the compensation
              provisions in this Agreement.

         C.   REPORTING AND INVESTIGATION OF PATIENT COMPLAINTS/GRIEVANCES.
              The “Dentist” will cooperate fully with “BCHF” in the investigation of Participating
              Patient complaints and grievances by providing information necessary for review and
              resolution of such. The information will be made available in a timely manner
              according to established policies and procedures. “Dentist” will collaborate in the
              resolution of identified opportunities for improvement without retaliation against the
              Participating Patient and in keeping with the wellbeing of such.

         D.   REFUSAL TO PROVIDE SERVICES. The “Dentist” has the right to request
              termination of services for Participating Patients who behave in a disruptive manner
              or are grossly discourteous towards “Dentist”, “Dentist’s” employees or other
              patients. “Dentist” must promptly report all such instances to “BCHF”, who will notify
              the Participating Patient that, unless the Participating Patient corrects such behavior
              immediately, he or she will no longer be eligible to receive dental services from the
              “Dentist”. In the event of non-resolution or if the circumstances are severe in nature,
              “Dentist” will have no obligation to provide further services for the Participating
              Patient.

         E.   REFERRAL FOR SPECIALTY SERVICES. “Dentist” will provide services within
              the approved scope for “BCHF” to Participating Patients and as outlined in
              Addendum “A” that are within the “Dentist's” knowledge, skill and training. “Dentist”
              will inform “BCHF” as soon as practical when Participating Patients require specialty
              referral and/or services beyond the “Dentist” and “BCHF” scope of services.
              Participating Patients will be provided information as to available specialists that are
              available in the community for such care. “BCHF” maintains Care Coordination
              Specialists that may assist with healthcare coverage information and application.

    X.        LEGAL

         A. LICENSURE, CERTIFICATION AND OTHER QUALIFICATION. Dentist will provide
            “BCHF” with evidence of current licensure within the State of California as well as any
            other certification or qualification necessary to provide the services specified prior to
            entering into this Agreement, and annually upon request of “BCHF.” Dentist will maintain
            unrestricted licensure and/or certification and qualification as a Medi-Cal and, as
            applicable, Medicare participating provider during the term of this Agreement. “Dentist”
            agrees to have such additional qualifications and credentials as “BCHF” may reasonably
            require for “Dentist” to provide services, including but not limited to Basic Life Support
            (BLS), DEA number and others pursuant to this Agreement and shall maintain such
            qualifications and credentials during the term of this Agreement. The same requirements
            apply to “Dentist” employees and staff. No patients are to be treated by “Dentist” or other

                                                       6

                                                                                                     EXHIBIT I
                                                                                                     PAGE 347
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3791 Page 348 of 734
                                      735


             support staff who have not provided proper licensing and certification. Only the qualified
             of provider authorized by “BCHF” guidelines are allowed to render such services.

          B. COMPLIANCE WITH THE LAW. “Dentist” will practice in accordance with the all
             Federal, State and local laws, regulations, and generally accepted principles
             applicable to the practice of dentistry. Failure to comply with this provision is
             grounds for immediate termination under Section XIV of this Agreement.

          C. MISREPRESENTATION. “Dentist” acknowledges and agrees that willful
             misrepresentation of the type, frequency, reasonableness and/or necessity of dental
             services provided to Participating Patients may constitute a fraudulent act and may be
             referred by “BCHF” to the applicable Federal or State regulatory agency and will be
             cause for immediate termination under XIV of this Agreement.
          D. COMPLIANCE WITH OTHER LAWS. In connection with the provision of services
             pursuant to this Agreement, “Dentist” agrees to the following requirements, to the
             extent that such requirements are applicable:

             1. To comply with the Civil Rights Act of 1964 and all other Federal, State or local
                laws, rules and orders prohibiting discrimination, as well as Executive Order 11246,
                entitled "Equal Employment Opportunity," as amended by Executive Order 11375,
                and as supplemented by U.S. Department of Labor regulations at 41 C.F. R. Part
                60;

             2. To make positive efforts to utilize small businesses, minority-owned firms and
                women's business enterprises in connection with the work performed
                hereunder, whenever possible;

             3. To comply with all applicable standards, orders, and regulations issued pursuant to
                the Clean Air Act of 1970 (42 U.S.C. §7401 et. seq.) and the Federal Water Pollution
                Control Act (33 U.S.C. § 1251 et seq.), as amended;

             4. To comply with the certification and disclosure requirements of the Byrd Anti-
                Lobbying Amendment (31 U.S.C. § 1352), and any applicable implementing
                regulations, as may be applicable; and

             5. To certify that neither it, nor any of its principal employees, has been debarred or
                suspended from participation in federally-funded contracts, in accordance with
                Executive Order 12549 and Executive Order 12689, entitled "Debarment and
                Suspension," and any applicable implementing regulations.

    XI.      RECORD KEEPING AND REPORTING

          A. PROGRAMMATIC RECORDS.                “Dentist” agrees to prepare and maintain
             programmatic, administrative and other records and information that pertain to the
             services provided hereunder and that “BCHF” and/or DHHS may reasonably deem
             appropriate and necessary for the monitoring and auditing of this Agreement, and to
             provide them to “BCHF” as reasonably requested. In addition, “Dentist” will maintain
             such records and provide such information to “BCHF” or to regulatory agencies as may
             be necessary for “BCHF” to comply with State or Federal laws, regulations or
             accreditation requirements, as well as “BCHF’s” reporting obligations pursuant to its


                                                     7

                                                                                                 EXHIBIT I
                                                                                                 PAGE 348
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3792 Page 349 of 734
                                      735


            Section 330 grant.

       B. FINANCIAL RECORDS. “Dentist” shall prepare and maintain financial records and
          reports, supporting documents, statistical records, and all other books, documents,
          papers or other records related and pertinent to this Agreement for a period of five
          (5) years from the date this Agreement expires or is terminated. If an audit, litigation,
          or other action involving the records is started before the end of the five (5) year
          period, “Dentist” agrees to maintain the records until the end of the five (5) year period
          or until the audit, litigation, or other action is completed, whichever is later. “Dentist”
          shall make available to “BCHF”, DHHS and the Comptroller General of the United
          States, or any of their duly authorized representatives, upon appropriate notice, such
          financial systems, records, reports, books, documents, and papers as may be
          necessary for audit, examination, excerpt, transcription, and copy purposes, for as
          long as such systems, records, reports, books, documents, and papers are retained.
          This right also includes timely and reasonable access to “Dentist” personnel for the
          purpose of interview and discussion related to such documents. “Dentist” shall, upon
          request, transfer identified records to the custody of “BCHF” or DHHS when either
          “BCHF” or DHHS determine that such records possess long term retention value.

       C.     PARTICIPATING PATIENT RECORDS. “Dentist” agrees to establish and maintain
            dental records relating to the diagnosis and treatment of Participating Patients served
            pursuant to this Agreement. All such records shall be prepared in a mutually agreed
            upon format that is consistent with the clinical guidelines and standards established by
            “BCHF”. “Dentist” and “BCHF” agree to maintain the privacy and confidentiality of such
            records, in compliance with all applicable Federal, State and local law including, but not
            limited to, the Health Insurance Portability and Accountability Act and consistent with
            “BCHF’s” policies and procedures regarding the privacy and confidentiality of patient
            records.

       D. RETENTION OF PATIENT RECORDS. Dentist will retain dental records for seven (7)
          years beyond the last date of delivery of the services or to the extent required by
          applicable law. In the event that Dentist retires or discontinues his or her practice,
          Dentist must comply with the public and private notice provisions set forth in California
          State law and transfer all Participating Patient records to “BCHF”. Record retention
          obligations survive the termination of this Agreement.

       E. OWNERSHIP OF PATIENT RECORDS. “Dentist” and “BCHF” agree that “BCHF” shall
          retain ownership of all dental records of this Agreement, regardless of the physical
          location in which such records are housed. “Dentist” and “BCHF” agree that “Dentist”,
          upon reasonable notice to “BCHF” and consistent with applicable Federal and State
          laws and regulations and “BCHF's” policies and procedures regarding the privacy and
          confidentiality of patient records, shall have timely and reasonable access to patient
          records to inspect and/or duplicate at “Dentist's” expense, any individual chart or record
          produced and/or maintained by “Dentist” to the extent necessary to: (i) meet
          responsibilities to patients for whom “Dentist” provides services pursuant to this
          Agreement; (ii) respond to any government or payor audits; (iii) assist in the defense of
          any malpractice or other claims to which such chart or record may be pertinent; and (iv)
          for any other legitimate business purpose, consistent with patient confidentiality and to
          the extent permitted by law. In the event that such records are housed in “Dentist's”
          practice location or any other location controlled by “Dentist”, “BCHF” shall have
          reasonable and timely access to such records.

                                                     8

                                                                                                   EXHIBIT I
                                                                                                   PAGE 349
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3793 Page 350 of 734
                                      735



    XII.        INSURANCE

           A. PROOF OF COVERAGE. The “Dentist” , at his/her sole cost and expense, shall
              procure and maintain such policies of professional liability, and other insurance as are
              necessary to insure the “Dentist” and his/her employees, agents and affiliates against
              any claim or claims for damages arising by reason of personal injuries or death
              occasioned directly or indirectly in connection with the performance of any service by
              the “Dentist” the use of any property and facilities provided by the “Dentist” or his/her
              agents, and the activities performed by the “Dentist” in connection with this Agreement,
              or any amendment entered into thereafter.

           B. “Dentist” will provide “BCHF” with sufficient evidence of professional liability coverage
              in the amount of at least:

                1. General Liability (including broad form property damage and contractual liability)
                   insurance on a per occurrence basis with a single limit of not less than one million
                   dollars ($1,000,000) three million dollars ($3,000,000) in the aggregate; Sexual
                   Abuse Liability insurance on a per occurrence basis with a single limit of not less
                   than one million dollars ($1,000,000) three million dollars ($3,000,000) in the
                   aggregate; Employer's Liability insurance on a per occurrence basis with a single
                   limit of not less than one million dollars ($1,000,000) and three million dollars
                   ($3,000,000) in the aggregate; Professional Liability insurance on a per
                   occurrence basis with a single limit of not less than one million dollars
                   ($1,000,000) and three million dollars ($3,000,000) in the aggregate; and
                   automobile liability insurance for owned, hired and non-owned vehicles on a per
                   occurrence basis with a combined single limit of not less than one million dollars
                   ($1,000,000) and three million dollars ($3,000,000) in the aggregate.

                2. Workers' Compensation, as required under California State law.

                3. Such other insurance in such amounts which from time to time may be reasonably
                   required by the mutual consent of “Dentist” and “BCHF” against other insurable risks
                   relating to performance of this Agreement.

           C.   It should be expressly understood, however, that the coverages and limits required
                under this Section shall not in any way limit the liability of either Party.

           D.   Additional insured endorsements are required for general, property damage, sexual
                abuse and automobile liability policy coverage. Such a provision, however, shall
                only apply in proportion to and to the extent of the negligent acts or omissions of
                the other “Party”, its officers, agents, or employees. Each “Party”, upon the
                execution of this Agreement, shall furnish the other “Party” with Certificates of
                Insurance evidencing compliance with all requirements. Certificates shall provide
                for thirty (30) days advance written notice to “BCHF” of any material modifications,
                change or cancellation of the above insurance coverages.

           E. INDEMNITY. “Dentist” shall defend, indemnify and hold ”BCHF”, its officers,
              employees and agents harmless from and against any and all liability, loss, expense
              (including reasonable attorney's fees) or claims for injury or damages arising out of
              the performance of this Agreement but only in proportion to and to the extent such

                                                      9

                                                                                                  EXHIBIT I
                                                                                                  PAGE 350
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3794 Page 351 of 734
                                      735


             liability, loss, expense, attorneys' fees, or claims for injury or damages are caused
             by or result from the negligent or intentional acts or omissions of Dentist, its officers,
             agents, or employees.

             “BCHF” shall defend, indemnify and hold “Dentist”, its officers, employees and
             agents harmless from and against any and all liability, loss, expense (including
             reasonable attorneys' fees) or claims for injury or damages arising out of the
             performance of this Agreement but only in proportion to and to the extent such
             liability, loss, expense, attorneys' fees, or claims for injury or damages are caused
             by or result from the negligent, intentional acts, omissions or misconduct of “BCHF”
             its officers, agents, or students.

    XIII.    CONFIDENTIALITY

        A.   Except as is necessary in the performance of this Agreement, or as authorized in writing
             by a party or by law, neither party (nor its directors, officers, employees, agents, and
             contractors) shall disclose to any person, institution, entity, company, or any other party,
             any information which is directly or indirectly related to the other party that it (or its
             directors, officers, employees, agents, and contractors) receives in any form (including,
             but not limited to, written, oral, or contained on video tapes, audio tapes or computer
             diskettes) as a result of performing obligations under this Agreement, or of which it is
             otherwise aware. The parties (and their directors, officers, employees, agents, and
             contractors) also agree not to disclose, except to each other, any proprietary
             information, professional secrets or other information obtained in any form (including,
             but not limited to, written, oral, or contained on video tapes, audio tapes or computer
             diskettes) during the course of carrying out the responsibilities under this Agreement,
             unless the disclosing party receives prior written authorization to do so from the other
             party or as authorized by law.
        B.   The parties agree that their obligations and representations regarding confidential and
             proprietary information (including the continued confidentiality of information transmitted
             orally), shall be in effect during the term of this Agreement and shall survive the
             expiration or termination (regardless of the cause of termination) of this Agreement.

    XIV.     TERM AND TERMINATION

        A.   TERM. This Agreement begins on December 11, 2018 and shall be automatically and
             successively renewed and extended for one year periods from and after the expiration
             date unless either party provides written notice of termination to the other sixty (60)
             days in advance of termination. Renewal is subject to “BCHF’s” determination that
             “Dentist” performed satisfactorily and successful re-negotiation by the parties of key
             terms, as applicable.

        B.   TERMINATION WITHOUT CAUSE. Either “Dentist” or “BCHF” may terminate this
             agreement, for any reason, at any time upon sixty (60) days written notice.

        C.   TERMINATION FOR CONVENIENCE. This Agreement may be terminated at any
             time upon the mutual agreement of the parties.

        D.   TERMINATION FOR BREACH. This Agreement may be terminated by either party
             upon written notice to the other party of such other party's material breach of any


                                                    10

                                                                                                  EXHIBIT I
                                                                                                  PAGE 351
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3795 Page 352 of 734
                                      735


               term of this Agreement, subject to a sixty (60) day opportunity to cure and failure to
               cure by the end of the sixty (60) day period.

          E.   IMMEDIATE TERMINATION. In addition, “BCHF” may terminate this Agreement
               immediately upon written notice to “Dentist” of: (1) “Dentist's” violation of, or inability to
               comply with, his or her obligations set forth in this Agreement; or (2) the good faith
               determination of “BCHF” that the health, welfare and/or safety of Participating Patients
               receiving care from “Dentist” is or will be jeopardized by the continuation of this
               Agreement.
          F.   SURVIVAL. Upon termination, the rights and obligations of the “Dentist” and “BCHF”
               under this Agreement will terminate, except as otherwise noted in this Agreement.
               Termination, however, will not release “Dentist” from his or her obligation to complete
               any multi-step dental treatment which “Dentist” began prior to the effective date of the
               termination, provided that such termination did not result from a determination by
               “BCHF” that the health, welfare and/or safety of Participating Patients would be
               jeopardized by continuing this Agreement. “Dentist” is not obligated to provide any
               other services. Termination of this Agreement does not release “BCHF” from its
               obligation to reimburse “Dentist” for any dental services provided on or before the
               effective date of the termination.

    XV.        GENERAL PROVISIONS

          A.   AMENDMENT/MODIFICATION. This Agreement may be amended or modified from
               time to time upon the mutual written agreement of the parties. Any amendment or
               modification shall not affect the remaining provisions of the Agreement and, except
               for the specific provision amended or modified, this Agreement shall remain in full
               force and effect as originally executed. Amendments will take effect upon the date
               of execution of both parties.

          B.   ASSIGNMENT. This Agreement may not be assigned, delegated, or transferred by
               either party without the express written consent and authorization of the other party,
               provided prior to such action.

          C.   EFFECT OF WAIVER. A party to this Agreement may waive the other party's breach
               of a provision of this Agreement, but such a waiver does not constitute a waiver of
               any future breaches.

          D. EFFECT OF INVALIDITY. The invalidity or unenforceability of any provision of this
             Agreement in no way affects the validly or enforceability of any other provision, unless
             otherwise agreed.

          E.   NOTICE. Any notice required to be provided under this Agreement must be in writing
               and delivered in person or sent by registered or certified mail or by next business day
               delivery service to each party at the address set forth on the signature page.

          F.   DISPUTE RESOLUTION. Any dispute arising under this Agreement shall first be
               resolved by informal discussions between the parties, subject to good cause
               exceptions, including, but not limited to, disputes determined by either party to require
               immediate relief (i.e., circumstances under which an extended resolution procedure
               may endanger the health and safety of the Participating Patients). Any dispute that has


                                                        11

                                                                                                        EXHIBIT I
                                                                                                        PAGE 352
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3796 Page 353 of 734
                                      735




         12/19/2018




                                                                         EXHIBIT I
                                                                         PAGE 353
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3797 Page 354 of 734
                                      735




                                                                         EXHIBIT I
                                                                         PAGE 354
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3798 Page 355 of 734
                                      735



                                            Addendum “A”
                                           Scope of Services

   “Dentist” will provide services for Participating Patients with the following insurance:

   Medi-Cal Recipients
   Sliding Fee approved patients

   The “Dentist” must follow all Denti-Cal rules and regulations in regards to maximum allowances
   and procedure limitations for patients eligible for Medi-Cal. These are outlined in Section 5 of the
   Provider Manual under “Maximum Allowances”. Limitations of commercial contracts will be
   provided by “BCHF”

   Exams (New, recall and limited)
   X-rays
   Fluoride Application
   Prophylaxis
   Periodontal scaling and root planning
   Sealants
   Fillings
   Preventive Resin Restoration (PRR) for moderate to high risk caries risk patient permanent
   tooth.
   Extractions
   Stainless Steel Crowns
   Space Maintainers
   Root Canals (prior review required by the “BCHF” Dental Director)
   Crowns (prior review required by the “BCHF” Dental Director)




                                                    13

                                                                                                EXHIBIT I
                                                                                                PAGE 355
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3799 Page 356 of 734
                                      735


                                         Addendum “B”
                                  Compensation of Dental Services
                                       Pediatric Medi-Cal

   Services for Medi-Cal patients will be compensated on a per visit reimbursement rate as outlined
   below. Crowns and root canals are subject to prior review and authorization by the Dental Director.
   If the service is not within the scope of “BCHF” the “Dentist” may bill this service directly to the
   payor as a private patient.

    Description      CDT Codes                  Number of       Special              Rate
                     (Denti-Cal rules           Visits          Consideration
                     apply)
    Routine Exam and D0120 in combo             1               Refer to Denti-Cal   $110 per
    X-rays           with                                       manual.
                     D0210, D0220,
                     D0230, D0272,
                     D0274, D0330
    Comprehensive    D0150 in combo             1               Refer to Denti-Cal   $130 per
    Exam and X-rays with                                        manual.
                     D0210, D0220,
                     D0230, D0272,
                     D0274, D0330
    Routine Exam     D0120 in                   1               Refer to Denti-Cal   $140 per
    and X-rays with  combo with                                 manual.
    Prophy           D0210,D0220,
                     D0230,D0272,
                     D0274, D0330
                     - and D1120 -
                     D1206, D1208
    Comprehensive    D0150 in                   1               Refer to Denti-Cal   $150 per
    Exam and X-rays combo with                                  manual.
    with Prophy      D0210,D0220,
                     D0230,D0272,
                     D0274, D0330
                     - and D1120 -
                     D1206, D1208
    Problem focused  D9430                      1               For relief of pain   $100
    oral evaluation  D0220, D0230,                              and medication
    only with X-ray  D0270


    Prophylaxis and      D1120 in combo         1               Must be in           $100 per visit
    Fluoride             with                                   combination.
    application          D1206, D1208
    Sealants or PRR      D1351, D1352           1 or 2          No less than per     $26 per tooth
                                                                quadrant.
    Fillings - Amalgam D2140, D2150,            1 or more       Per quadrant         $120 per visit
                       D2160, D2161


                                                    14

                                                                                                EXHIBIT I
                                                                                                PAGE 356
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3800 Page 357 of 734
                                      735




    Fillings – Resin     D2330, D2331,   1 or more   Per quadrant           $150 per visit
    Based Composite      D2332, D2335
    Anterior &           D2391, D2392,
    Posteriors           D2393, D2394
    Prefabricated        D2930, D2931,   1 or more   2 per visit            $200 per visit
    Crowns (Stainless    D2932
    Steel / Resin)
    Space Maintainer     D1510, D1515    2           Unilateral             $175 global
                                                     Bilateral              $280 global
    Extractions -        D7111, D7140    1           Per visit – multiple   $120 per visit
    simple                                           extractions under
                                                     anesthesia are not
                                                     in scope.
    Extractions -        D7210, D7220,   1 or more   Per visit – multiple   $185
    surgical             D7230, D7240                extractions under
                                                     anesthesia are not
                                                     in scope.
    Surgical Removal     D7250           1 or more   Per visit – multiple   $140
    of Roots                                         extractions under
                                                     anesthesia are not
                                                     in scope.
    Biopsy Soft Tissue D7286             1 or more   Per Visit              $45

    Alveoloplasty        D7310           1 or more   Per Visit              $70

    Removal of Torus     D7472           1 or more   Per Visit              $280
    Palatinus

    Removal of Torus     D7473           1 or more   Per Visit              $140
    Mandibulars

    Frenulectomy         D7960           1 or more   Per Visit              $280
    Excision of          D7971           1 or more   Per Visit              $70
    Pericoronal
    Gingiva
    Pulpotomy / Pulpal   D3220, D3221    1           Excludes final         $140 per visit
    Debridement                                      restoration
    Root Canal -         D3310           1 or more   Excludes final         $305 global
    Anterior                                         restoration
    Retreatment of a     D3346           1 or more   All treatments         $305 global
    Root Canal -                                     must be after 12
    Anterior                                         months of initial
                                                     visit
    Root Canal -         D3320           2 or more   Excludes final         $365 global
    Bicuspid                                         restoration. Open
                                                     & Med and

                                             15

                                                                                      EXHIBIT I
                                                                                      PAGE 357
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3801 Page 358 of 734
                                      735



                                                         Finished RCT
                                                         included in global
                                                         fee.
    Retreatment of a    D3347                1 or more   All treatments       $365 global
    Root Canal -                                         must be after 12
    Bicuspid                                             months of initial
                                                         visit
    Root Canal - Molar D3330                 2 or more   Excludes final       $465 global
                                                         restoration
    Retreatment of a   D3348                 2 or more   All treatments       $465 global
    Root Canal - Molar                                   must be after 12
                                                         months of initial
                                                         visit
    Apicoectomy         D3410                1           None                 $140 per visit
    Anterior
    Crown               D2751, D2740,        2 or more   Prep and delivery    $475 global
                        D2791                            in global fee.
    Crown Post and      D2952,D2954          1           Payment included     $105
    Core (indirect or                                    in addition to
    pre-fabricated)                                      Crown Delivery
    Recement            D2920                1           None                 $75
    Permanent Crown
    Unspecified         D2999                1           None                 $100
    restorative
    procedure by
    report
    Periodontal         D4341, D4342         1           2 quadrants per      $70 per
    Scaling                                              visit                quadrant
    Periodontal         D4910                1           See Denti-Cal        $140
    Maintenance                                          Guidelines (only
                                                         once a calendar
                                                         quarter, must be
                                                         within 24 months
                                                         of SRP)
    Incision and        D7510, D7520         1           None                 $115
    Drainage of
    Abcess
    Palliative          D9110 in combo       1           None                 $100 per visit
    Treatment for       with D0220, D0230,
    Dental Pain with    D0270
    X-ray
    Inhalation of       D9230                1           Additional       $35
    Nitrous Oxide                                        payment in combo
                                                         with other
                                                         procedures




                                                 16

                                                                                         EXHIBIT I
                                                                                         PAGE 358
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3802 Page 359 of 734
                                      735




                                                                         EXHIBIT I
                                                                         PAGE 359
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3803 Page 360 of 734
                                      735


                         CONFIDENTIALITY OF STUDENT INFORMATION /
                           PROTECTED HEALTH INFORMATION (PHI)

                           HIPAA BUSINESS ASSOCIATE ADDENDUM

   This Agreement is made effective the 11th day of December, 2018 by and between Borrego
   Health, hereinafter referred to as “Covered Entity”, and Long Beach Care Dental Inc. hereinafter
   referred to as “Business Associate”, (individually, a “Party” and collectively, the “Parties”).

   RECITALS:

           WHEREAS, Sections 261 through 264 of the federal Health Insurance Portability and
   Accountability Act of 1996, Public Law 104-191, known as “the Administrative Simplification
   provisions,” direct the Department of Health and Human Services to develop standards to
   protect the security, confidentiality and integrity of health information;

          WHEREAS, pursuant to the Administrative Simplification provisions, the Secretary of
   Health and Human Services issued regulations modifying 45 CFR Parts 160 and 164 (the
   “HIPAA Security and Privacy Rule”);

          WHEREAS, the American Recovery and Reinvestment Act of 2009 (Pub. L. 111-5),
   pursuant to Title XIII of Division A and Title IV of Division B, called the “Health Information
   Technology for Economic and Clinical Health” (“HITECH”) Act, provides modifications to the
   HIPAA Security and Privacy Rule (hereinafter, all references to the “HIPAA Security and Privacy
   Rule” are deemed to include all amendments to such rule contained in the HITECH Act and any
   accompanying regulations, and any other subsequently adopted amendments or regulations);

           WHEREAS, the Parties wish to enter into or have entered into an arrangement whereby
           Business Associate will provide certain services to Covered Entity, and, pursuant to such
           arrangement, Business Associate may be considered a “business associate” of Covered
           Entity as defined in the HIPAA Security and Privacy Rule (the agreement evidencing
           such arrangement is entitled Dentist Contract, dated December 11, 2018 and is hereby
           referred to as the “Arrangement Agreement”); and

          WHEREAS, Business Associate may have access to and/or use Protected Health
   Information (as defined below) in fulfilling its responsibilities under such arrangement;

           NOW, THEREFORE, in consideration of the Parties’ continuing obligations under the
   Arrangement Agreement, compliance with the HIPAA Security and Privacy Rule, and for other
   good and valuable consideration, the receipt and sufficiency of which is hereby acknowledged,
   and intending to be legally bound, the Parties agree to the provisions of this Agreement in order
   to address the requirements of the HIPAA Security and Privacy Rule and to protect the interests
   of both Parties.

   I.      DEFINITIONS

        A. Catch-all definition:
           The following terms used in this Agreement shall have the same meaning as those
           terms in the HIPAA Rules: Breach, Data Aggregation, Designated Record Set,
           Disclosure, Health Care Operations, Individual, Minimum Necessary, Notice of Privacy
           Practices, Protected Health Information, Required By Law, Secretary, Security Incident,


                                                  18

                                                                                               EXHIBIT I
                                                                                               PAGE 360
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3804 Page 361 of 734
                                      735


            Subcontractor, Unsecured Protected Health Information, and Use. In the event of an
            inconsistency between the provisions of this Agreement and mandatory provisions of the
            HIPAA Security and Privacy Rule, as amended, the HIPAA Security and Privacy Rule
            shall control. Where provisions of this Agreement are different than those mandated in
            the HIPAA Security and Privacy Rule but are nonetheless permitted by the HIPAA
            Security and Privacy Rule, the provisions of this Agreement shall control.

         B. Specific definitions:

                1.      Business Associate. “Business Associate” shall generally have the same
                        meaning as the term “business associate” at 45 CFR 160.103, and in
                        reference to the party to this agreement, shall mean Long Beach Care Dental
                        Inc..

                2.      Covered Entity. “Covered Entity” shall generally have the same meaning as
                        the term “covered entity” at 45 CFR 160.103, and in reference to the party to
                        this agreement, shall mean Borrego Health.

                3.      HIPAA Rules. “HIPAA Rules” shall mean the Privacy, Security, Breach
                        Notification, and Enforcement Rules at 45 CFR Part 160 and Part 164.

                4.      Protected Health Information. “Protected Health Information (PHI)” shall
                        mean individually identifiable health information including, without limitation,
                        all information, data, documentation, and materials, including without
                        limitation, demographic, medical and financial information, that relates to the
                        past, present, or future physical or mental health or condition of an individual;
                        the provision of health care to an individual; or the past, present, or future
                        payment for the provision of health care to an individual; and that identifies
                        the individual or with respect to which there is a reasonable basis to believe
                        the information can be used to identify the individual. “Protected Health
                        Information” includes without limitation “Electronic Protected Health
                        Information” as defined below.

                5.      Electronic Protected Health Information. “Electronic Protected Health
                        Information” shall mean Protected Health Information which is transmitted by
                        Electronic Media (as defined in the HIPAA Security and Privacy Rule) or
                        maintained in Electronic Media.

   II.       CONFIDENTIALITY AND SECURITY REQUIREMENTS

         A. Business Associate agrees:
               1. Not to use or disclose protected health information other than as permitted or
                  required by the Agreement or as required by law;

                2. To use appropriate safeguards, and comply with Subpart C of 45 CFR Part 164
                   with respect to electronic protected health information, to prevent use or
                   disclosure of protected health information other than as provided for by the
                   Agreement;

                3. To report to covered entity any use or disclosure of protected health information
                   not provided for by the Agreement of which it becomes aware, including

                                                     19

                                                                                                   EXHIBIT I
                                                                                                   PAGE 361
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3805 Page 362 of 734
                                      735


                breaches of unsecured protected health information as required at 45 CFR
                164.410, and any security incident of which it becomes aware. Such report shall
                be made by Business Associate to Covered Entity within twenty-four hours of the
                time when Business Associate becomes aware of the breach;

             4. In accordance with 45 CFR 164.502(e)(1)(ii) and 164.308(b)(2), if applicable, to
                ensure that any subcontractors that create, receive, maintain, or transmit
                protected health information on behalf of the business associate agree to the
                same restrictions, conditions, and requirements that apply to the business
                associate with respect to such information;

             5. To make available protected health information in a designated record set to the
                individual or the individual’s designee” as necessary to satisfy covered entity’s
                obligations under 45 CFR 164.524;

             6. To make any amendment(s) to protected health information in a designated
                record set as directed or agreed to by the covered entity pursuant to 45 CFR
                164.526, or take other measures as necessary to satisfy covered entity’s
                obligations under 45 CFR 164.526;

             7. To maintain and make available the information required to provide an
                accounting of disclosures to the individual as necessary to satisfy covered
                entity’s obligations under 45 CFR 164.528;

             8. To the extent the business associate is to carry out one or more of covered
                entity's obligation(s) under Subpart E of 45 CFR Part 164, to comply with the
                requirements of Subpart E that apply to the covered entity in the performance of
                such obligation(s); and

             9. To make its internal practices, books, and records available to the Secretary for
                purposes of determining compliance with the HIPAA Rules.

             10. Business Associate acknowledges and agrees that all Protected Health
                 Information that is created or received by Covered Entity and disclosed or made
                 available in any form, including paper record, oral communication, audio
                 recording, and electronic display by Covered Entity or its operating units to
                 Business Associate or is created or received by Business Associate on Covered
                 Entity’s behalf shall be subject to this Agreement.

      B. Notwithstanding the prohibitions set forth in this Agreement, Business Associate may
         use and disclose Protected Health Information as follows:

             1. As necessary to perform the services set forth in the underlying Service
                Agreement; and/or

             2. As required by law.

             3. Business Associate agrees to make uses and disclosures and requests for
                protected health information consistent with Covered Entity’s minimum necessary
                policies and procedures.


                                                 20

                                                                                              EXHIBIT I
                                                                                              PAGE 362
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3806 Page 363 of 734
                                      735


             4. Business Associate may not use or disclose PHI in a manner that would violate
                Subpart E of 45 CFR Part 164 if done by covered entity.

             5. Business associate may not use or disclose protected health information in a
                manner that would violate Subpart E of 45 CFR Part 164 if done by covered
                entity.

             6. Business associate may use protected health information for the proper
                management and administration of the business associate or to carry out the
                legal responsibilities of the business associate.

             7. Business associate may disclose protected health information for the proper
                management and administration of business associate or to carry out the legal
                responsibilities of the business associate, provided the disclosures are required
                by law, or business associate obtains reasonable assurances from the person to
                whom the information is disclosed that the information will remain confidential
                and used or further disclosed only as required by law or for the purposes for
                which it was disclosed to the person, and the person notifies business associate
                of any instances of which it is aware in which the confidentiality of the information
                has been breached.

             8. Business associate may provide data aggregation services relating to the health
                care operations of the covered entity.

      C. Business Associate will implement appropriate safeguards to prevent use or disclosure
         of Protected Health Information other than as permitted in this Agreement. Business
         Associate will implement administrative, physical, and technical safeguards that
         reasonably and appropriately protect the confidentiality, integrity, and availability of any
         Electronic Protected Health Information that it creates, receives, maintains, or transmits
         on behalf of Covered Entity as required by the HIPAA Security and Privacy Rule.

      D. The Secretary of Health and Human Services shall have the right to audit Business
         Associate’s records and practices related to use and disclosure of Protected Health
         Information to ensure Covered Entity’s compliance with the terms of the HIPAA Security
         and Privacy Rule.

      E. Business Associate shall report to Covered Entity any use or disclosure of Protected
         Health Information which is not in compliance with the terms of this Agreement of which
         it becomes aware. Business Associate shall report to Covered Entity any Security
         Incident of which it becomes aware. Such report shall be made within twenty-four hours
         of the date and time upon which Business Associate becomes aware of the
         unauthorized use or disclosure and/or Security Incident.

         For purposes of this Agreement, “Security Incident” means the attempted or successful
         unauthorized access, use, disclosure, modification, or destruction of information or
         interference with system operations in an information system. In addition, Business
         Associate agrees to mitigate, to the extent practicable, any harmful effect that is known
         to Business Associate of a use or disclosure of Protected Health Information by
         Business Associate in violation of the requirements of this Agreement.




                                                   21

                                                                                                EXHIBIT I
                                                                                                PAGE 363
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3807 Page 364 of 734
                                      735


   III.      AVAILABILITY OF PHI
          A. Business Associate agrees to comply with any requests for restrictions on certain
             disclosures of Protected Health Information pursuant to Section 164.522 of the HIPAA
             Security and Privacy Rule to which Covered Entity has agreed and of which Business
             Associate is notified by Covered Entity. Business Associate agrees to make available
             Protected Health Information to the extent and in the manner required by Section
             164.524 of the HIPAA Security and Privacy Rule. If Business Associate maintains
             Protected Health Information electronically, it agrees to make such Protected Health
             Information electronically available to the applicable individual. Business Associate
             agrees to make Protected Health Information available for amendment and incorporate
             any amendments to Protected Health Information in accordance with the requirements of
             Section 164.526 of the HIPAA Security and Privacy Rule. In addition, Business
             Associate agrees to make Protected Health Information available for purposes of
             accounting of disclosures, as required by Section 164.528 of the HIPAA Security and
             Privacy Rule and Section 13405(c)(3) of the HITECH Act. Business Associate and
             Covered Entity shall cooperate in providing any accounting required on a timely basis.
   IV.       TERM/TERMINATION
          A. Term. The Term of this Agreement shall be effective as of the date first listed above and
             shall continue in effect concurrently with the term of the Arrangement Agreement.

          B. Termination. Notwithstanding anything in this Agreement to the contrary, Covered Entity
             shall have the right to terminate this Agreement and the Arrangement Agreement
             immediately if Covered Entity determines that Business Associate has violated any
             material term of this Agreement. If Covered Entity reasonably believes that Business
             Associate will violate a material term of this Agreement and, where practicable, Covered
             Entity gives written notice to Business Associate of such belief within a reasonable time
             after forming such belief, and Business Associate fails to provide adequate written
             assurances to Covered Entity that it will not breach the cited term of this Agreement
             within a reasonable period of time given the specific circumstances, but in any event,
             before the threatened breach is to occur, then Covered Entity shall have the right to
             terminate this Agreement and the Arrangement Agreement immediately. Covered Entity
             may seek injunctive relief and/or any other available remedy to prevent a breach of this
             Agreement.

          C. Obligations of Business Associate Upon Termination. Upon termination of this
             Agreement for any reason, business associate shall return to covered entity all protected
             health information received from covered entity, or created, maintained, or received by
             business associate on behalf of covered entity, that the business associate still
             maintains in any form. Business associate shall retain no copies of the protected health
             information.

          D. Survival. The obligations of business associate under this Section shall survive the
             termination of this Agreement.

   V.        MISCELLANEOUS
          A. Third Parties; Survival. Except as expressly stated herein or the HIPAA Security and
             Privacy Rule, the Parties to this Agreement do not intend to create any rights in any third
             parties. The obligations of Business Associate under this Section shall survive the
             expiration, termination, or cancellation of this Agreement, the Arrangement Agreement

                                                      22

                                                                                                    EXHIBIT I
                                                                                                    PAGE 364
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3808 Page 365 of 734
                                      735




                                                                         EXHIBIT I
                                                                         PAGE 365
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3809 Page 366 of 734
                                      735




    12/19/2018




                                                                         EXHIBIT I
                                                                         PAGE 366
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3810 Page 367 of 734
                                      735




    12/19/2018




                                                                         EXHIBIT I
                                                                         PAGE 367
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3811 Page 368 of 734
                                      735




                                            Addendum “E"
                             COMPENSATION OF DENTAL SERVICES
                                     ADULT MEDI-CAL

   Services for Adults with current full scope Medi-Cal eligibility will be compensated on a per visit
   reimbursement rate as outlined below. Crowns and root canals are subject to prior review and
   approval by the Dental Director. If the service is not within the scope of “BCHF” the “Dentist” may
   bill this service directly to the payer as a private patient.

    Description          Codes                  Number of       Special              Rate
                         (Denti-Cal rules       Visits          Consideration
                         apply)


    Routine Exam and D0120 in combo             1               Refer to Denti-Cal   $110 per visit
    X-rays           with                                       manual.
                     D0210, D0220,
                     D0230, D0272,
                     D0274, D0330
    Comprehensive    D0150 in combo             1               Refer to Denti-Cal   $130 per visit
    Exam and X-rays with                                        manual.
                     D0210, D0220,
                     D0230, D0272,
                     D0274, D0330
    Routine Exam     D0120 in                   1               Refer to Denti-Cal   $140 per visit
    and X-rays with  combo with                                 manual.
    Prophy           D0210,D0220,
                     D0230,D0272,
                     D0274, D0330
                     - and D1110
    Comprehensive    D0150 in                   1               Refer to Denti-Cal   $150 per visit
    Exam and X-rays combo with                                  manual.
    with Prophy      D0210,D0220,
                     D0230,D0272,
                     D0274, D0330
                     - and D1110
    Problem focused  D9430                      1               For relief of pain   $100
    oral evaluation  D0220, D0230,                              and medication
    only with X-ray  D0270

    Prophylaxis and    D1110 in combo           1               Must be in           $110 per visit
    Fluoride           with                                     combination.
    application        D1206, D1208
    Fillings - Amalgam D2140, D2150,            1 or more       Treatment to be      $120 per visit
                       D2160, D2161                             completed per
                                                                quadrant, unless
                                                                documented

                                                    25

                                                                                                EXHIBIT I
                                                                                                PAGE 368
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3812 Page 369 of 734
                                      735



    Fillings – Resin    D2330, D2331,   1 or more   Treatment to be        $150 per visit
    Based Composite     D2332, D2335                completed per
    Anterior &          D2391, D2392,               quadrant, unless
    Posteriors          D2393, D2394                documented
    Prefabricated       D2931, D2932    1 or more   2 per visit            $200 per visit
    Crowns (Stainless
    Steel / Resin)
    Extractions -       D7111, D7140    1 or more   Per visit – multiple   $120 per visit
    simple                                          extractions under
                                                    anesthesia are not
                                                    in scope.
    Extractions -       D7210, D7220,   1 or more   Per visit – multiple   $185
    surgical            D7230, D7240                extractions under
                                                    anesthesia are not
                                                    in scope.
    Surgical Removal    D7250           1 or more   Per visit – multiple   $140
    of Roots                                        extractions under
                                                    anesthesia are not
                                                    in scope.
    Biopsy Soft Tissue D7286            1 or more   Per Visit              $45

    Alveoloplasty       D7310           1 or more   Per Visit              $70

    Removal of Torus    D7472           1 or more   Per Visit              $280
    Palatinus

    Removal of Torus    D7473           1 or more   Per Visit              $140
    Mandibulars

    Frenulectomy        D7960           1 or more   Per Visit              $280

    Excision of         D7971           1 or more   Per Visit              $70
    Pericoronal
    Gingiva
    Pulpal              D3221           1           Excludes final         $140 per visit
    Debridement                                     restoration
    Root Canal -        D3310           1 or more   Excludes final         $305 global
    Anterior                                        restoration. Open
                                                    & Med and
                                                    Finished RCT
                                                    included in global
                                                    fee.
    Retreatment of a    D3346           1 or more   All treatments         $305 global
    Root Canal -                                    must be after 12
    Anterior                                        months of initial
                                                    visit



                                            26

                                                                                     EXHIBIT I
                                                                                     PAGE 369
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3813 Page 370 of 734
                                      735



    Root Canal -        D3320           2 or more   Excludes final       $365 global
    Bicuspid                                        restoration. Open
                                                    & Med and
                                                    Finished RCT
                                                    included in global
                                                    fee.
    Retreatment of a    D3347           1 or more   All treatments       $365 global
    Root Canal -                                    must be after 12
    Bicuspid                                        months of initial
                                                    visit
    Root Canal - Molar D3330            2 or more   Excludes final       $465 global
                                                    restoration. Open
                                                    & Med and
                                                    Finished RCT
                                                    included in global
                                                    fee.
    Retreatment of a   D3348            2 or more   All treatments       $465 global
    Root Canal - Molar                              must be after 12
                                                    months of initial
                                                    visit
    Apicoectomy         D3410           1           None                 $140 per visit
    Anterior
    Crown               D2751, D2740,   2 or more   Prep and delivery    $475 global
                        D2791                       in global fee.
    Crown Post and      D2952,D2954     1           Payment included     $105
    Core (indirect or                               in addition to
    pre-fabricated)                                 Crown Delivery
    Recement            D2920           1           All treatments       $75
    Permanent Crown                                 must be after 12
                                                    months of initial
                                                    visit
    Unspecified         D2999           1           None                 $100
    restorative
    procedure by
    report
    Periodontal         D4341, D4342    1           2 quadrants per      $70 per
    Scaling                                         visit                quadrant
    Periodontal         D4910           1           See Denti-Cal        $140
    Maintenance                                     Guidelines (only
                                                    once a calendar
                                                    quarter, must be
                                                    within 24 months
                                                    of SRP)
    Gingivectomy or     D4211           1           1 to 3 teeth, per    $110
    Gingivoplasty                                   quadrant
    Incision and        D7510, D7520    1           None                 $115
    Drainage of
    Abscess


                                            27

                                                                                    EXHIBIT I
                                                                                    PAGE 370
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3814 Page 371 of 734
                                      735



    Dentures (Includes D5110, D5120         6 or more   Maxillary and   $635 each
    first 2 adjustments)                                Mandibular      denture –
                                                                        global
    Removable Partial D5213, D5214          6 or more   Maxillary and   $660 each
    – Cast Metal                                        Mandibular      partial – global
    (Includes first 2
    adjustments)
    Removable Partial D5211, D5212          3 or more   Maxillary and   $360 each
    – Resin Based                                       Mandibular      partial - global
    Repairs            D5510, D5520         1 or more   Maxillary and   $110 each visit
                       D5610, D5640                     Mandibular
                       D5650, D5660
    Repair Cast        D5620                1           None            $325 per visit
    Framework
    Repair/Replace     D5630                1           None            $140 per visit
    Broke Clasp
    Adjustments only D5410, D5411           1           Maxillary and   $70 per visit
    (not following     D5421, D5422                     Mandibular
    delivery)
    Reline (in office) D5730, D5731         1           Maxillary and   $120 per visit
                       D5740, D5741                     Mandibular

    Reline             D5750, D5751         2 or more   Maxillary and   $225 - global
    (Laboratory)       D5760, D5761                     Mandibular
    Tissue             D5850, D5851         1           Maxillary and   $120 per visit
    Conditioning                                        Mandibular

    Palliative         D9110 in combo       1           None            $100 per visit
    Treatment for      with D0220, D0230,
    Dental Pain with   D0270
    X-ray




                                                28

                                                                                   EXHIBIT I
                                                                                   PAGE 371
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3815 Page 372 of 734
                                      735



                                             Addendum “F”
                                     DENTAL SLIDING FEE SCALE
                                       SUMMARY OF BENEFITS

   As a Federally Qualified Health Center (FQHC), Borrego Community Health Foundation (BCHF)
   is required to provide a sliding fee scale program for patients living at or below 200% of the
   Federal Poverty Level (FPL). Services must be provided despite a patient’s inability to pay. Ability
   to pay is determined through an eligibility process in which the applicant provides proof of income
   and family size.
   As a contract dental partner of BCHF, you are required to extend the sliding fee scale program to
   your practice.

   Benefits:

   The sliding fee scale is a limited benefit program that provides discounted rates for services
   rendered within the dental practice of the organization and contracted sites only. It does not
   extend to services rendered by specialists to whom the clinic may refer the patient for additional
   care. The scope of benefits is limited to services as outlined in the current Denti-Cal Provider
   Handbook - Manual of Criteria (Section 5).

   The program includes:

   ▪   Exam and X-rays
   ▪   Cleaning
   ▪   Fluoride Application
   ▪   Fillings
   ▪   Extractions (Limited to scope of General Dentistry)
   ▪   Root Canals (Limited to scope of General Dentistry)
   ▪   Crowns (Limited to non-precious metal)
   ▪   Dentures ($150 co-payment)
   ▪   Bridges (co-payment 50% of cost)

   Eligibility:

   The application process and eligibility determination is outlined in the BCHF Sliding Fee Policy
   and Procedure, which is amended from time to time to reflect current FPL (revised on an annual
   basis and published April 1.

   Information regarding the Sliding Fee program will be made available in your office for cash
   patients that may desire to apply. Application assistance and eligibility determination will be
   conducted by BCHF staff upon referral from your office. Your office may be required to provide
   limited assistance (e.g. emailing an application or referring the applicant to one of our local clinics
   for assistance). Uninsured applicants will receive information about other program eligibility
   including Medi-Cal and/or Covered California and assisted with applying for these programs if
   deemed eligible.



                                                     29

                                                                                                   EXHIBIT I
                                                                                                   PAGE 372
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3816 Page 373 of 734
                                      735




    12/19/2018




                                                                         EXHIBIT I
                                                                         PAGE 373
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3817 Page 374 of 734
                                      735




                          EXHIBIT J
                                                                         EXHIBIT J
                                                                         PAGE 374
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3818 Page 375 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 375
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3819 Page 376 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 376
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3820 Page 377 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 377
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3821 Page 378 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 378
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3822 Page 379 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 379
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3823 Page 380 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 380
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3824 Page 381 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 381
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3825 Page 382 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 382
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3826 Page 383 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 383
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3827 Page 384 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 384
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3828 Page 385 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 385
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3829 Page 386 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 386
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3830 Page 387 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 387
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3831 Page 388 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 388
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3832 Page 389 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 389
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3833 Page 390 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 390
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3834 Page 391 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 391
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3835 Page 392 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 392
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3836 Page 393 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 393
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3837 Page 394 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 394
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3838 Page 395 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 395
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3839 Page 396 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 396
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3840 Page 397 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 397
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3841 Page 398 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 398
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3842 Page 399 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 399
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3843 Page 400 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 400
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3844 Page 401 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 401
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3845 Page 402 of 734
                                      735




                                                                         EXHIBIT J
                                                                         PAGE 402
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3846 Page 403 of 734
                                      735




                         EXHIBIT K
                                                                         EXHIBIT K
                                                                         PAGE 403
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3847 Page 404 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 404
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3848 Page 405 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 405
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3849 Page 406 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 406
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3850 Page 407 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 407
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3851 Page 408 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 408
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3852 Page 409 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 409
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3853 Page 410 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 410
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3854 Page 411 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 411
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3855 Page 412 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 412
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3856 Page 413 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 413
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3857 Page 414 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 414
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3858 Page 415 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 415
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3859 Page 416 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 416
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3860 Page 417 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 417
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3861 Page 418 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 418
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3862 Page 419 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 419
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3863 Page 420 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 420
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3864 Page 421 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 421
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3865 Page 422 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 422
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3866 Page 423 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 423
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3867 Page 424 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 424
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3868 Page 425 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 425
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3869 Page 426 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 426
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3870 Page 427 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 427
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3871 Page 428 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 428
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3872 Page 429 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 429
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3873 Page 430 of 734
                                      735




                                                                         EXHIBIT K
                                                                         PAGE 430
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3874 Page 431 of 734
                                      735




                          EXHIBIT L
                                                                         EXHIBIT L
                                                                         PAGE 431
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3875 Page 432 of 734
                                      735


                                 AGREEMENT BETWEEN
                               ARAM ARAKELYAN DDS, INC.
                                        AND
                         BORREGO COMMUNITY HEALTH FOUNDATION
                                        FOR
                                   DENTAL SERVICES

           THIS DENTAL SERVICES AGREEMENT ("Agreement") is entered into as of November
   29, 2018 between Borrego Community Health Foundation (“BCHF”) and Aram Arakelyan DDS,
   Inc. ("Dentist"), collectively the “Parties”.

    RECITALS

           WHEREAS, BCHF is a 501 (c) (3) non-profit public benefit corporation, organized under
   the laws of the State of California and is licensed to operate Federally Qualified Community Health
   Centers (FQHC). BCHF operates clinics throughout San Diego, San Bernardino, and Riverside
   Counties. The clinics provide comprehensive primary and specialty care according to the scope
   of services as approved by the Bureau of Primary Health Care (“BPHC”) within the United States
   Department of Health and Human Services (“DHHS”). The approved scope includes performance
   of primary dental services; and

          WHEREAS, “BCHF” desires to increase access to dental services for pediatric,
   adolescent and adult patients of the FQHC by entering into agreements with qualified Dentists to
   provide primary dental services for the FQHC.

           WHEREAS, “Dentist” is duly licensed to provide dental services within the State of
   California and meets credentials required by “BCHF” to perform such services and is not the
   subject of any Medicaid/Medicare related actions, suspensions, exclusions or debarments that
   would disqualify him or her from providing services under this Agreement. The “Dentist” provides
   the desired scope of services that meet the FQHC criteria; and

           WHEREAS, “Dentist” operates and administers a private practice in Los Angeles,
   California within “BCHF’s” service area and agrees to provide primary dental services to patients
   on behalf of “BCHF” by entering into agreement to deliver such services in a professional manner
   to “BCHF” patients. (Refer to Addendum “C” for dental office address and contact information.)

   AGREEMENT

          NOW, THEREFORE, in consideration of the covenants and agreements herein contained,
   and other good and valuable consideration, the “Parties” hereto mutually agree as follows:
    I.    DEFINITIONS

       A.   PARTICIPATING PATIENTS. A "Participating Patient" who is eligible to receive
            dental services under this Agreement is defined as any individual residing in
            FQHC’s federally-approved service area and who is a patient of the FQHC
            operated by “BCHF”.

       B.   SCOPE OF SERVICES. Those services approved by the Health Resource and
            Service Administration (HRSA) as Required and Additional Services that are
            authorized to be rendered by BCHF to residents of the specified service area.


                                                   1

                                                                                                EXHIBIT L
                                                                                                PAGE 432
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3876 Page 433 of 734
                                      735


    II.        ACKNOWLEDGEMENT
               The “Dentist” agrees to be bound by the terms and conditions of this Agreement
               insofar as said Agreement relates to rights, responsibilities and duties as “Dentist”.
               This Agreement constitutes the entire understanding between the parties hereto
               and no changes, amendments or alterations shall be effective unless agreed to in
               writing by both parties and appended to this Agreement.

   III.        INDEPENDENT RELATIONSHIP
               None of the provisions of this Agreement are intended to create nor shall be
               deemed or construed to create any relationship between “BCHF” and “Dentist” other
               than that of independent entities contracting with each other solely for the purpose
               of effecting the provisions of this Agreement. Neither of the parties hereto nor any
               of their respective employees shall be construed to be the agent, employee or
               representative of the other. This Agreement is entered into at an arm’s length
               negotiated rate reflective of the fair market value.

   IV.         PROFESSIONAL SERVICES

          A.    COVERED SERVICES. Dentist agrees to provide primary care dental services
                described in Addendum “A” and Addendum “D” as “Covered Services”, as required,
                to Participating Patients, in accordance with the attached “Payment Schedule” and as
                further described in Section VIII. “BCHF” is responsible for contacting “Dentist” to
                make initial appointments for Participating Patients. Notwithstanding, “BCHF” is under
                no obligation to utilize “Dentist” to provide dental services to any or all Participating
                Patients who require such services.

          B.    SERVICE AVAILABILITY. “Dentist” shall provide primary dental services during
                hours of operations that are mutually agreed upon and outlined in “Addendum “C”.
                Any changes require prior notification to the “BCHF” Dental Director. “Dentist” will
                maintain adequate facilities within the Service Area to meet the responsibilities of this
                Agreement. Such facilities must meet standards of practice expected of a licensed
                facility. Adequate trained, certified or licensed personnel will be provided quality
                standard of care and not place the health and well-being of the patients in jeopardy.
                “Dentist” will provide a plan of after hour access for phone consultation and triage for
                dental emergencies of established patients.

          C.    DOCUMENTATION AND DESCRIPTION OF SERVICES. “Dentist” agrees to
                establish and maintain dental records that will contain descriptions of any dental
                services provided to Participating Patients, as well as proposed follow-up treatment
                plans for subsequent visits (if any). The descriptions of the services will be made using
                American Dental Association CDT Standard Claims Codes. In the event that such
                records are housed in a location other than the dental office, “BCHF” shall have
                reasonable and timely access to such records. “Dentist” agrees to retain such records
                for a period of at least seven years or to the extent required by applicable laws or
                regulations.

          D.    PRIOR AUTHORIZATION. For dental services needing individual consideration
                or prior approval the “Dentist” must provide such documentation necessary prior
                to rendering such service. In addition to standard requirements of prior approval
                outlined by the Denti-Cal program or other third-party payors, an additional list of


                                                        2

                                                                                                        EXHIBIT L
                                                                                                        PAGE 433
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3877 Page 434 of 734
                                      735


              services requiring prior approval may be provided by “BCHF”. As a satellite of an
              FQHC, Treatment Authorization Requests (TAR) must be fully documented in the
              dental record, but do not require submission to Denti-Cal for prior approval. This
              does not apply to treatment paid directly by Denti-Cal

         E.   AGREEMENT NOT TO CHARGE PATIENTS. The “Parties” agree that all Participating
              Patients receiving services from “Dentist” pursuant to this Agreement shall be
              considered patients of “BCHF”. Accordingly, “BCHF” shall be responsible for the billing
              of such patient services, as applicable, as well as the billing of Federal, State and
              private payors, and the collection and retention of any and all payments. “Dentist”
              agrees not to bill, charge or collect from Participating Patients or payors any amount for
              any dental services provided under this Agreement. If “Dentist” should receive any
              payment from Participating Patients or payors for services provided hereunder,
              “Dentist” agrees to remit such payment to FQHC within ten (10) days of receipt.

         F.   SLIDING FEE. Notwithstanding the aforementioned, “Dentist” recognizes that
              certain Participating Patients may be charged at the time of service, in accordance
              with a fee schedule and, as applicable, schedule of sliding fee discounts established
              by “BCHF” pursuant to 42 C.F.R.§51c.303(f). “Dentist” shall, on behalf of “BCHF”
              and consistent with “BCHF 's” guidelines, schedules and procedures, make every
              reasonable effort to collect fees from eligible Participating Patients at the time
              services are provided to such patients and to remit such payments to “BCHF” within
              ten (10) days of receipt. “BCHF” shall perform the follow-up activities necessary to
              collect patient fees not collected by “Dentist” at the time of service.

         G. NON-DISCRIMINATION. “Dentist” agrees to provide dental services to Participating
            Patients in the same professional manner and pursuant to the same professional
            standards as generally provided by “Dentist” to his or her patients, regardless of an
            individual's or family's ability to pay for services rendered. This section shall not be
            read to prevent “Dentist” from limiting the number of hours and/or days during which
            “Dentist” agrees to see Participating Patients, provided that such limitation shall not
            be based on a Participating Patient's payor source or insurance status. Dentist also
            agrees not to differentiate or discriminate in the provision of services provided to
            Participating Patients on the basis of race, color, religious creed, age, marital status,
            national origin, alienage, sex, blindness, mental or physical disability or sexual
            orientation pursuant to Title 45 of the Code of Federal Regulations, §§ 80.3-80.4, and
            Civil Rights Act of 2007.

    V.        QUALITY OVERSIGHT AND EVALUATION OF SERVICES BY FQHC
         A.   QUALITY OF CARE. “Dentist” shall provide care consistent with prevailing community
              standards for quality of care and in accordance with “BCHF” Section 330 grant and
              applicable grant-related expectations and requirements. Services shall be within the
              scope of practice outlined in Addendum B for primary care dental services. The
              “Dentist” will be subject to standards of quality review as though the care was provided
              by an employed dentist or the organization. Such review will include facility and record
              review in keeping with “BCHF” standards and applicable regulations. “BCHF” will
              communicate in writing any corrective action that must be resolved in a timely manner.

         B.   POLICIES AND PROCEDURES. The “Dentist” will be subject to clinical policies and
              procedures established by “BCHF” regarding the provision of services pursuant to this


                                                     3

                                                                                                   EXHIBIT L
                                                                                                   PAGE 434
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3878 Page 435 of 734
                                      735


               agreement including but not limited to qualifications and credentials, clinical guidelines,
               standards of conduct, quality assurance standards, productivity standards, patient and
               provider grievance and complaint procedures. Such policies and procedures are
               consistent with “BCHF’s” requirements established by the Bureau of Primary Health
               Care (BPHC). “BCHF” will provide “Dentist with such requirements, policies,
               procedures and standards. Notwithstanding, nothing herein is intended to interfere with
               “Dentist’s” professional judgment in connection with the provision of clinical services.

          C.   PATIENT RELATIONSHIP. “Dentist” shall maintain a dentist/patient relationship with
               Participating Patients and shall be solely responsible for dental treatment and advice.
               Notwithstanding, nothing herein is intended to interfere with “Dentist’s” professional
               judgment in connection with the provision of such services.
          D.   AUTHORITY. “BCHF”, through its Executive Director and/or Dental Director or Medical
               Director, shall have and exercise ultimate authority and responsibility for the services
               provided to Participating Patients pursuant to this Agreement, consistent with the
               policies, procedures and standards set forth above. In particular, “BCHF” shall retain
               ultimate authority over the following:

               1. Determination as to whether “Dentist” meets “BCHF’s” qualifications and
                  credentials, consistent with BCHF standards.

               2. Interpretation of “BCHF’s” policies and procedures, clinical guidelines, quality
                  assurance standards, productivity standards, standards of conduct and
                  provider and patient grievance and complaint resolution procedures, and their
                  applicability to “Dentist”.
               3. Determination with respect to whether “Dentist” is performing satisfactorily and
                  consistent with “BCHF’s” policies, procedures and standards.

               4. The Executive Director and/or Medical Director have the authority to terminate
                  this agreement in accordance with Section XIV below.

      E.       NOTIFICATION. “Dentist” shall, as soon as reasonably practicable, notify “BCHF” of
               any action, event, claim, proceeding, or investigation (including, but not limited to, any
               report made to the National Practitioner Data Bank) that could result in the revocation,
               termination, suspension, limitation or restriction of “Dentist's” licensure, certification, or
               qualification to provide such services. “BCHF” may suspend this Agreement, until such
               time as a final determination has been made with respect to the applicable action, event,
               claim, proceeding, or investigation.

    VI.        NO OBLIGATION TO REFER AND NON-SOLICITATION OF PATIENTS

          A.   It is specifically agreed and understood between the parties that nothing in this
               Agreement is intended to require, nor requires, nor provides payment or benefit of any
               kind (directly or indirectly), for the referral of individuals or business to either party by
               the other party.

          B.   “Dentist” agrees that during the term of this Agreement, he or she shall not, directly
               or indirectly, solicit or attempt to solicit or treat, for his or her own account or for
               the account of any other person or entity, any patient of “BCHF.” This non-
               solicitation clause shall survive termination of this Agreement for a period of two

                                                        4

                                                                                                          EXHIBIT L
                                                                                                          PAGE 435
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3879 Page 436 of 734
                                      735


                 (2) years following termination, however such termination is affected.

           C.    “Dentist” shall not cause any entity or individual he or she is employed by or with
                 whom he or she is professionally associated to, directly or indirectly, solicit or
                 attempt to solicit for his or her own account or for the account of any other person
                 or entity, any patient of “BCHF” for whom “Dentist” provided care during the term of
                 the Agreement. For purposes of this paragraph, a "patient of BCHF" shall mean
                 any patient seen or treated by “BCHF” (whether by its employees or independent
                 contractors) during the one (1) year period immediately preceding the termination
                 or expiration of this Agreement, including, but not limited to, those patients treated
                 by Dentist hereunder.

    VII.        CONTRACTS WITH OTHERS

                This contract is non-exclusive. “BCHF" retains the authority to contract with other dentists
                or dental practices, if, and to the extent that, “BCHF” reasonably determines that such
                contracts are necessary in order to implement “BCHF” policies and procedures, or as
                otherwise may be necessary to assure appropriate collaboration with other local
                providers (as required by Section 330 (k)(3) (B)), to enhance patient freedom of choice,
                and/or to enhance accessibility, availability, quality and comprehensiveness of care.

    VIII.       COMPENSATION

           A.    FEE SCHEDULE. “Dentist” will be compensated for providing dental services under
                  this Agreement in accordance with the attached Payment Schedule Addendum “B”.

           B.    ENCOUNTER SUBMISSION. Dentist will complete a superbill for every visit. The
                 superbills will be batched and submitted on a daily basis along with the patient
                 demographic information and a copy of the visit documentation. Adequate supporting
                 documentation must be made available to ensure that “BCHF” will be able to collect for
                 services rendered and not place the organization in jeopardy of false claims.

           C.    TIMING OF PAYMENT. Payment will be made on claims that are paid to “BCHF” by
                 third party payors. The payment will be processed within 35 days of receipt of a
                 superbill and adequate supporting documentation for each visit. Payment will be made
                 on a weekly basis to the “Dentist” with a detailed explanation of reimbursement. Both
                 Dentist and BCHF will be responsible for maintaining records of transactions to avoid
                 duplication of reimbursement and resolve outstanding balances.

    IX.         CASE MANAGEMENT
           A.    AGREEMENT TO PROVIDE DESIGNATED NUMBER OF SERVICES. “Dentist”
                 agrees to provide services for the “BCHF” patients for a minimum of ten (10) visits a
                 week and to be available at minimum three days a week during standard business
                 hours. “Dentist” will communicate with BCHF management as to appointment
                 availability so that adjustments can be made to accommodate the identified need. The
                 “Dentist” reserves the right to fill these appointments if there are an insufficient number
                 of referrals from “BCHF”. “Dentist” will provide occasional after hour sessions to
                 provide expanded availability. These sessions may include weekend clinics or after
                 5:00 p.m. schedules. “Dentist” will accommodate dental emergencies as necessary.



                                                          5

                                                                                                       EXHIBIT L
                                                                                                       PAGE 436
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3880 Page 437 of 734
                                      735


         B.   VERIFICATION OF PATIENT STATUS.                 “BCHF” will verify each Participating
              Patient's status as a “BCHF” patient on the day on which an appointment is made for
              such patient with Dentist. “Dentist” will verify information regarding the patient's
              status as a “BCHF” patient on the date of service or otherwise mutually agreed upon
              method verification presenting to the “Dentist”. If it is determined that the Participating
              Patient is not a “BCHF” patient on the date of service, “BCHF”, in consultation with
              Dentist, will decide whether or not to authorize “Dentist” to proceed with treatment. If
              “BCHF” authorizes “Dentist” to proceed with treatment, “BCHF” will be responsible for
              payment for the services provided by the “Dentist” according to the compensation
              provisions in this Agreement.

         C.   REPORTING AND INVESTIGATION OF PATIENT COMPLAINTS/GRIEVANCES.
              The “Dentist” will cooperate fully with “BCHF” in the investigation of Participating
              Patient complaints and grievances by providing information necessary for review and
              resolution of such. The information will be made available in a timely manner
              according to established policies and procedures. “Dentist” will collaborate in the
              resolution of identified opportunities for improvement without retaliation against the
              Participating Patient and in keeping with the wellbeing of such.

         D.   REFUSAL TO PROVIDE SERVICES. The “Dentist” has the right to request
              termination of services for Participating Patients who behave in a disruptive manner
              or are grossly discourteous towards “Dentist”, “Dentist’s” employees or other
              patients. “Dentist” must promptly report all such instances to “BCHF”, who will notify
              the Participating Patient that, unless the Participating Patient corrects such behavior
              immediately, he or she will no longer be eligible to receive dental services from the
              “Dentist”. In the event of non-resolution or if the circumstances are severe in nature,
              “Dentist” will have no obligation to provide further services for the Participating
              Patient.

         E.   REFERRAL FOR SPECIALTY SERVICES. “Dentist” will provide services within
              the approved scope for “BCHF” to Participating Patients and as outlined in
              Addendum “A” that are within the “Dentist's” knowledge, skill and training. “Dentist”
              will inform “BCHF” as soon as practical when Participating Patients require specialty
              referral and/or services beyond the “Dentist” and “BCHF” scope of services.
              Participating Patients will be provided information as to available specialists that are
              available in the community for such care. “BCHF” maintains Care Coordination
              Specialists that may assist with healthcare coverage information and application.

    X.        LEGAL

         A. LICENSURE, CERTIFICATION AND OTHER QUALIFICATION. Dentist will provide
            “BCHF” with evidence of current licensure within the State of California as well as any
            other certification or qualification necessary to provide the services specified prior to
            entering into this Agreement, and annually upon request of “BCHF.” Dentist will maintain
            unrestricted licensure and/or certification and qualification as a Medi-Cal and, as
            applicable, Medicare participating provider during the term of this Agreement. “Dentist”
            agrees to have such additional qualifications and credentials as “BCHF” may reasonably
            require for “Dentist” to provide services, including but not limited to Basic Life Support
            (BLS), DEA number and others pursuant to this Agreement and shall maintain such
            qualifications and credentials during the term of this Agreement. The same requirements
            apply to “Dentist” employees and staff. No patients are to be treated by “Dentist” or other

                                                       6

                                                                                                     EXHIBIT L
                                                                                                     PAGE 437
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3881 Page 438 of 734
                                      735


             support staff who have not provided proper licensing and certification. Only the qualified
             of provider authorized by “BCHF” guidelines are allowed to render such services.

          B. COMPLIANCE WITH THE LAW. “Dentist” will practice in accordance with the all
             Federal, State and local laws, regulations, and generally accepted principles
             applicable to the practice of dentistry. Failure to comply with this provision is
             grounds for immediate termination under Section XIV of this Agreement.

          C. MISREPRESENTATION. “Dentist” acknowledges and agrees that willful
             misrepresentation of the type, frequency, reasonableness and/or necessity of dental
             services provided to Participating Patients may constitute a fraudulent act and may be
             referred by “BCHF” to the applicable Federal or State regulatory agency and will be
             cause for immediate termination under XIV of this Agreement.
          D. COMPLIANCE WITH OTHER LAWS. In connection with the provision of services
             pursuant to this Agreement, “Dentist” agrees to the following requirements, to the
             extent that such requirements are applicable:

             1. To comply with the Civil Rights Act of 1964 and all other Federal, State or local
                laws, rules and orders prohibiting discrimination, as well as Executive Order 11246,
                entitled "Equal Employment Opportunity," as amended by Executive Order 11375,
                and as supplemented by U.S. Department of Labor regulations at 41 C.F. R. Part
                60;

             2. To make positive efforts to utilize small businesses, minority-owned firms and
                women's business enterprises in connection with the work performed
                hereunder, whenever possible;

             3. To comply with all applicable standards, orders, and regulations issued pursuant to
                the Clean Air Act of 1970 (42 U.S.C. §7401 et. seq.) and the Federal Water Pollution
                Control Act (33 U.S.C. § 1251 et seq.), as amended;

             4. To comply with the certification and disclosure requirements of the Byrd Anti-
                Lobbying Amendment (31 U.S.C. § 1352), and any applicable implementing
                regulations, as may be applicable; and

             5. To certify that neither it, nor any of its principal employees, has been debarred or
                suspended from participation in federally-funded contracts, in accordance with
                Executive Order 12549 and Executive Order 12689, entitled "Debarment and
                Suspension," and any applicable implementing regulations.

    XI.      RECORD KEEPING AND REPORTING

          A. PROGRAMMATIC RECORDS.                “Dentist” agrees to prepare and maintain
             programmatic, administrative and other records and information that pertain to the
             services provided hereunder and that “BCHF” and/or DHHS may reasonably deem
             appropriate and necessary for the monitoring and auditing of this Agreement, and to
             provide them to “BCHF” as reasonably requested. In addition, “Dentist” will maintain
             such records and provide such information to “BCHF” or to regulatory agencies as may
             be necessary for “BCHF” to comply with State or Federal laws, regulations or
             accreditation requirements, as well as “BCHF’s” reporting obligations pursuant to its


                                                     7

                                                                                                 EXHIBIT L
                                                                                                 PAGE 438
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3882 Page 439 of 734
                                      735


            Section 330 grant.

       B. FINANCIAL RECORDS. “Dentist” shall prepare and maintain financial records and
          reports, supporting documents, statistical records, and all other books, documents,
          papers or other records related and pertinent to this Agreement for a period of five
          (5) years from the date this Agreement expires or is terminated. If an audit, litigation,
          or other action involving the records is started before the end of the five (5) year
          period, “Dentist” agrees to maintain the records until the end of the five (5) year period
          or until the audit, litigation, or other action is completed, whichever is later. “Dentist”
          shall make available to “BCHF”, DHHS and the Comptroller General of the United
          States, or any of their duly authorized representatives, upon appropriate notice, such
          financial systems, records, reports, books, documents, and papers as may be
          necessary for audit, examination, excerpt, transcription, and copy purposes, for as
          long as such systems, records, reports, books, documents, and papers are retained.
          This right also includes timely and reasonable access to “Dentist” personnel for the
          purpose of interview and discussion related to such documents. “Dentist” shall, upon
          request, transfer identified records to the custody of “BCHF” or DHHS when either
          “BCHF” or DHHS determine that such records possess long term retention value.

       C.     PARTICIPATING PATIENT RECORDS. “Dentist” agrees to establish and maintain
            dental records relating to the diagnosis and treatment of Participating Patients served
            pursuant to this Agreement. All such records shall be prepared in a mutually agreed
            upon format that is consistent with the clinical guidelines and standards established by
            “BCHF”. “Dentist” and “BCHF” agree to maintain the privacy and confidentiality of such
            records, in compliance with all applicable Federal, State and local law including, but not
            limited to, the Health Insurance Portability and Accountability Act and consistent with
            “BCHF’s” policies and procedures regarding the privacy and confidentiality of patient
            records.

       D. RETENTION OF PATIENT RECORDS. Dentist will retain dental records for seven (7)
          years beyond the last date of delivery of the services or to the extent required by
          applicable law. In the event that Dentist retires or discontinues his or her practice,
          Dentist must comply with the public and private notice provisions set forth in California
          State law and transfer all Participating Patient records to “BCHF”. Record retention
          obligations survive the termination of this Agreement.

       E. OWNERSHIP OF PATIENT RECORDS. “Dentist” and “BCHF” agree that “BCHF” shall
          retain ownership of all dental records of this Agreement, regardless of the physical
          location in which such records are housed. “Dentist” and “BCHF” agree that “Dentist”,
          upon reasonable notice to “BCHF” and consistent with applicable Federal and State
          laws and regulations and “BCHF's” policies and procedures regarding the privacy and
          confidentiality of patient records, shall have timely and reasonable access to patient
          records to inspect and/or duplicate at “Dentist's” expense, any individual chart or record
          produced and/or maintained by “Dentist” to the extent necessary to: (i) meet
          responsibilities to patients for whom “Dentist” provides services pursuant to this
          Agreement; (ii) respond to any government or payor audits; (iii) assist in the defense of
          any malpractice or other claims to which such chart or record may be pertinent; and (iv)
          for any other legitimate business purpose, consistent with patient confidentiality and to
          the extent permitted by law. In the event that such records are housed in “Dentist's”
          practice location or any other location controlled by “Dentist”, “BCHF” shall have
          reasonable and timely access to such records.

                                                     8

                                                                                                   EXHIBIT L
                                                                                                   PAGE 439
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3883 Page 440 of 734
                                      735



    XII.        INSURANCE

           A. PROOF OF COVERAGE. The “Dentist” , at his/her sole cost and expense, shall
              procure and maintain such policies of professional liability, and other insurance as are
              necessary to insure the “Dentist” and his/her employees, agents and affiliates against
              any claim or claims for damages arising by reason of personal injuries or death
              occasioned directly or indirectly in connection with the performance of any service by
              the “Dentist” the use of any property and facilities provided by the “Dentist” or his/her
              agents, and the activities performed by the “Dentist” in connection with this Agreement,
              or any amendment entered into thereafter.

           B. “Dentist” will provide “BCHF” with sufficient evidence of professional liability coverage
              in the amount of at least:

                1. General Liability (including broad form property damage and contractual liability)
                   insurance on a per occurrence basis with a single limit of not less than one million
                   dollars ($1,000,000) three million dollars ($3,000,000) in the aggregate; Sexual
                   Abuse Liability insurance on a per occurrence basis with a single limit of not less
                   than one million dollars ($1,000,000) three million dollars ($3,000,000) in the
                   aggregate; Employer's Liability insurance on a per occurrence basis with a single
                   limit of not less than one million dollars ($1,000,000) and three million dollars
                   ($3,000,000) in the aggregate; Professional Liability insurance on a per
                   occurrence basis with a single limit of not less than one million dollars
                   ($1,000,000) and three million dollars ($3,000,000) in the aggregate; and
                   automobile liability insurance for owned, hired and non-owned vehicles on a per
                   occurrence basis with a combined single limit of not less than one million dollars
                   ($1,000,000) and three million dollars ($3,000,000) in the aggregate.

                2. Workers' Compensation, as required under California State law.

                3. Such other insurance in such amounts which from time to time may be reasonably
                   required by the mutual consent of “Dentist” and “BCHF” against other insurable risks
                   relating to performance of this Agreement.

           C.   It should be expressly understood, however, that the coverages and limits required
                under this Section shall not in any way limit the liability of either Party.

           D.   Additional insured endorsements are required for general, property damage, sexual
                abuse and automobile liability policy coverage. Such a provision, however, shall
                only apply in proportion to and to the extent of the negligent acts or omissions of
                the other “Party”, its officers, agents, or employees. Each “Party”, upon the
                execution of this Agreement, shall furnish the other “Party” with Certificates of
                Insurance evidencing compliance with all requirements. Certificates shall provide
                for thirty (30) days advance written notice to “BCHF” of any material modifications,
                change or cancellation of the above insurance coverages.

           E. INDEMNITY. “Dentist” shall defend, indemnify and hold ”BCHF”, its officers,
              employees and agents harmless from and against any and all liability, loss, expense
              (including reasonable attorney's fees) or claims for injury or damages arising out of
              the performance of this Agreement but only in proportion to and to the extent such

                                                      9

                                                                                                  EXHIBIT L
                                                                                                  PAGE 440
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3884 Page 441 of 734
                                      735


             liability, loss, expense, attorneys' fees, or claims for injury or damages are caused
             by or result from the negligent or intentional acts or omissions of Dentist, its officers,
             agents, or employees.

             “BCHF” shall defend, indemnify and hold “Dentist”, its officers, employees and
             agents harmless from and against any and all liability, loss, expense (including
             reasonable attorneys' fees) or claims for injury or damages arising out of the
             performance of this Agreement but only in proportion to and to the extent such
             liability, loss, expense, attorneys' fees, or claims for injury or damages are caused
             by or result from the negligent, intentional acts, omissions or misconduct of “BCHF”
             its officers, agents, or students.

    XIII.    CONFIDENTIALITY

        A.   Except as is necessary in the performance of this Agreement, or as authorized in writing
             by a party or by law, neither party (nor its directors, officers, employees, agents, and
             contractors) shall disclose to any person, institution, entity, company, or any other party,
             any information which is directly or indirectly related to the other party that it (or its
             directors, officers, employees, agents, and contractors) receives in any form (including,
             but not limited to, written, oral, or contained on video tapes, audio tapes or computer
             diskettes) as a result of performing obligations under this Agreement, or of which it is
             otherwise aware. The parties (and their directors, officers, employees, agents, and
             contractors) also agree not to disclose, except to each other, any proprietary
             information, professional secrets or other information obtained in any form (including,
             but not limited to, written, oral, or contained on video tapes, audio tapes or computer
             diskettes) during the course of carrying out the responsibilities under this Agreement,
             unless the disclosing party receives prior written authorization to do so from the other
             party or as authorized by law.
        B.   The parties agree that their obligations and representations regarding confidential and
             proprietary information (including the continued confidentiality of information transmitted
             orally), shall be in effect during the term of this Agreement and shall survive the
             expiration or termination (regardless of the cause of termination) of this Agreement.

    XIV.     TERM AND TERMINATION

        A.   TERM. This Agreement begins on November 29, 2018 and shall be automatically and
             successively renewed and extended for one year periods from and after the expiration
             date unless either party provides written notice of termination to the other sixty (60)
             days in advance of termination. Renewal is subject to “BCHF’s” determination that
             “Dentist” performed satisfactorily and successful re-negotiation by the parties of key
             terms, as applicable.

        B.   TERMINATION WITHOUT CAUSE. Either “Dentist” or “BCHF” may terminate this
             agreement, for any reason, at any time upon sixty (60) days written notice.

        C.   TERMINATION FOR CONVENIENCE. This Agreement may be terminated at any
             time upon the mutual agreement of the parties.

        D.   TERMINATION FOR BREACH. This Agreement may be terminated by either party
             upon written notice to the other party of such other party's material breach of any


                                                    10

                                                                                                  EXHIBIT L
                                                                                                  PAGE 441
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3885 Page 442 of 734
                                      735


               term of this Agreement, subject to a sixty (60) day opportunity to cure and failure to
               cure by the end of the sixty (60) day period.

          E.   IMMEDIATE TERMINATION. In addition, “BCHF” may terminate this Agreement
               immediately upon written notice to “Dentist” of: (1) “Dentist's” violation of, or inability to
               comply with, his or her obligations set forth in this Agreement; or (2) the good faith
               determination of “BCHF” that the health, welfare and/or safety of Participating Patients
               receiving care from “Dentist” is or will be jeopardized by the continuation of this
               Agreement.
          F.   SURVIVAL. Upon termination, the rights and obligations of the “Dentist” and “BCHF”
               under this Agreement will terminate, except as otherwise noted in this Agreement.
               Termination, however, will not release “Dentist” from his or her obligation to complete
               any multi-step dental treatment which “Dentist” began prior to the effective date of the
               termination, provided that such termination did not result from a determination by
               “BCHF” that the health, welfare and/or safety of Participating Patients would be
               jeopardized by continuing this Agreement. “Dentist” is not obligated to provide any
               other services. Termination of this Agreement does not release “BCHF” from its
               obligation to reimburse “Dentist” for any dental services provided on or before the
               effective date of the termination.

    XV.        GENERAL PROVISIONS

          A.   AMENDMENT/MODIFICATION. This Agreement may be amended or modified from
               time to time upon the mutual written agreement of the parties. Any amendment or
               modification shall not affect the remaining provisions of the Agreement and, except
               for the specific provision amended or modified, this Agreement shall remain in full
               force and effect as originally executed. Amendments will take effect upon the date
               of execution of both parties.

          B.   ASSIGNMENT. This Agreement may not be assigned, delegated, or transferred by
               either party without the express written consent and authorization of the other party,
               provided prior to such action.

          C.   EFFECT OF WAIVER. A party to this Agreement may waive the other party's breach
               of a provision of this Agreement, but such a waiver does not constitute a waiver of
               any future breaches.

          D. EFFECT OF INVALIDITY. The invalidity or unenforceability of any provision of this
             Agreement in no way affects the validly or enforceability of any other provision, unless
             otherwise agreed.

          E.   NOTICE. Any notice required to be provided under this Agreement must be in writing
               and delivered in person or sent by registered or certified mail or by next business day
               delivery service to each party at the address set forth on the signature page.

          F.   DISPUTE RESOLUTION. Any dispute arising under this Agreement shall first be
               resolved by informal discussions between the parties, subject to good cause
               exceptions, including, but not limited to, disputes determined by either party to require
               immediate relief (i.e., circumstances under which an extended resolution procedure
               may endanger the health and safety of the Participating Patients). Any dispute that has


                                                        11

                                                                                                        EXHIBIT L
                                                                                                        PAGE 442
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3886 Page 443 of 734
                                      735




         12/06/2018




                                                                        EXHIBIT L
                                                                        PAGE 443
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3887 Page 444 of 734
                                      735



                                            Addendum “A”
                                           Scope of Services

   “Dentist” will provide services for Participating Patients with the following insurance:

   Medi-Cal Recipients
   Sliding Fee approved patients

   The “Dentist” must follow all Denti-Cal rules and regulations in regards to maximum allowances
   and procedure limitations for patients eligible for Medi-Cal. These are outlined in Section 5 of the
   Provider Manual under “Maximum Allowances”. Limitations of commercial contracts will be
   provided by “BCHF”

   Exams (New, recall and limited)
   X-rays
   Fluoride Application
   Prophylaxis
   Periodontal scaling and root planning
   Sealants
   Fillings
   Preventive Resin Restoration (PRR) for moderate to high risk caries risk patient permanent
   tooth.
   Extractions
   Stainless Steel Crowns
   Space Maintainers
   Root Canals (prior review required by the “BCHF” Dental Director)
   Crowns (prior review required by the “BCHF” Dental Director)




                                                    13

                                                                                                EXHIBIT L
                                                                                                PAGE 444
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3888 Page 445 of 734
                                      735


                                         Addendum “B”
                                  Compensation of Dental Services
                                       Pediatric Medi-Cal

   Services for Medi-Cal patients will be compensated on a per visit reimbursement rate as outlined
   below. Crowns and root canals are subject to prior review and authorization by the Dental Director.
   If the service is not within the scope of “BCHF” the “Dentist” may bill this service directly to the
   payor as a private patient.

    Description      CDT Codes                  Number of       Special              Rate
                     (Denti-Cal rules           Visits          Consideration
                     apply)
    Routine Exam and D0120 in combo             1               Refer to Denti-Cal   $110 per
    X-rays           with                                       manual.
                     D0210, D0220,
                     D0230, D0272,
                     D0274, D0330
    Comprehensive    D0150 in combo             1               Refer to Denti-Cal   $130 per
    Exam and X-rays with                                        manual.
                     D0210, D0220,
                     D0230, D0272,
                     D0274, D0330
    Routine Exam     D0120 in                   1               Refer to Denti-Cal   $140 per
    and X-rays with  combo with                                 manual.
    Prophy           D0210,D0220,
                     D0230,D0272,
                     D0274, D0330
                     - and D1120 -
                     D1206, D1208
    Comprehensive    D0150 in                   1               Refer to Denti-Cal   $150 per
    Exam and X-rays combo with                                  manual.
    with Prophy      D0210,D0220,
                     D0230,D0272,
                     D0274, D0330
                     - and D1120 -
                     D1206, D1208
    Problem focused  D9430                      1               For relief of pain   $100
    oral evaluation  D0220, D0230,                              and medication
    only with X-ray  D0270


    Prophylaxis and      D1120 in combo         1               Must be in           $100 per visit
    Fluoride             with                                   combination.
    application          D1206, D1208
    Sealants or PRR      D1351, D1352           1 or 2          No less than per     $26 per tooth
                                                                quadrant.
    Fillings - Amalgam D2140, D2150,            1 or more       Per quadrant         $120 per visit
                       D2160, D2161


                                                    14

                                                                                                EXHIBIT L
                                                                                                PAGE 445
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3889 Page 446 of 734
                                      735




    Fillings – Resin     D2330, D2331,   1 or more   Per quadrant           $150 per visit
    Based Composite      D2332, D2335
    Anterior &           D2391, D2392,
    Posteriors           D2393, D2394
    Prefabricated        D2930, D2931,   1 or more   2 per visit            $200 per visit
    Crowns (Stainless    D2932
    Steel / Resin)
    Space Maintainer     D1510, D1515    2           Unilateral             $175 global
                                                     Bilateral              $280 global
    Extractions -        D7111, D7140    1           Per visit – multiple   $120 per visit
    simple                                           extractions under
                                                     anesthesia are not
                                                     in scope.
    Extractions -        D7210, D7220,   1 or more   Per visit – multiple   $185
    surgical             D7230, D7240                extractions under
                                                     anesthesia are not
                                                     in scope.
    Surgical Removal     D7250           1 or more   Per visit – multiple   $140
    of Roots                                         extractions under
                                                     anesthesia are not
                                                     in scope.
    Biopsy Soft Tissue D7286             1 or more   Per Visit              $45

    Alveoloplasty        D7310           1 or more   Per Visit              $70

    Removal of Torus     D7472           1 or more   Per Visit              $280
    Palatinus

    Removal of Torus     D7473           1 or more   Per Visit              $140
    Mandibulars

    Frenulectomy         D7960           1 or more   Per Visit              $280
    Excision of          D7971           1 or more   Per Visit              $70
    Pericoronal
    Gingiva
    Pulpotomy / Pulpal   D3220, D3221    1           Excludes final         $140 per visit
    Debridement                                      restoration
    Root Canal -         D3310           1 or more   Excludes final         $305 global
    Anterior                                         restoration
    Retreatment of a     D3346           1 or more   All treatments         $305 global
    Root Canal -                                     must be after 12
    Anterior                                         months of initial
                                                     visit
    Root Canal -         D3320           2 or more   Excludes final         $365 global
    Bicuspid                                         restoration. Open
                                                     & Med and

                                             15

                                                                                      EXHIBIT L
                                                                                      PAGE 446
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3890 Page 447 of 734
                                      735



                                                         Finished RCT
                                                         included in global
                                                         fee.
    Retreatment of a    D3347                1 or more   All treatments       $365 global
    Root Canal -                                         must be after 12
    Bicuspid                                             months of initial
                                                         visit
    Root Canal - Molar D3330                 2 or more   Excludes final       $465 global
                                                         restoration
    Retreatment of a   D3348                 2 or more   All treatments       $465 global
    Root Canal - Molar                                   must be after 12
                                                         months of initial
                                                         visit
    Apicoectomy         D3410                1           None                 $140 per visit
    Anterior
    Crown               D2751, D2740,        2 or more   Prep and delivery    $475 global
                        D2791                            in global fee.
    Crown Post and      D2952,D2954          1           Payment included     $105
    Core (indirect or                                    in addition to
    pre-fabricated)                                      Crown Delivery
    Recement            D2920                1           None                 $75
    Permanent Crown
    Unspecified         D2999                1           None                 $100
    restorative
    procedure by
    report
    Periodontal         D4341, D4342         1           2 quadrants per      $70 per
    Scaling                                              visit                quadrant
    Periodontal         D4910                1           See Denti-Cal        $140
    Maintenance                                          Guidelines (only
                                                         once a calendar
                                                         quarter, must be
                                                         within 24 months
                                                         of SRP)
    Incision and        D7510, D7520         1           None                 $115
    Drainage of
    Abcess
    Palliative          D9110 in combo       1           None                 $100 per visit
    Treatment for       with D0220, D0230,
    Dental Pain with    D0270
    X-ray
    Inhalation of       D9230                1           Additional       $35
    Nitrous Oxide                                        payment in combo
                                                         with other
                                                         procedures




                                                 16

                                                                                         EXHIBIT L
                                                                                         PAGE 447
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3891 Page 448 of 734
                                      735



                                          Addendum "C"
                                         Location of Service

   All dental services under this agreement will be rendered at:

   Aram Arakelyan DDS, Inc
   5165 Whittier Blvd.
   Los Angeles, Ca 90022




   Phone: (323) 981-7104


   During the hours of:

   Monday, Wednesday, Thursday, Saturday: 10:00 am – 7:00 pm




   NPI Number - Organization ______________________________________________________


   NPI Number- Individual: 1710036181




   Copies attached




                                                  17

                                                                              EXHIBIT L
                                                                              PAGE 448
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3892 Page 449 of 734
                                      735


                         CONFIDENTIALITY OF STUDENT INFORMATION /
                           PROTECTED HEALTH INFORMATION (PHI)

                           HIPAA BUSINESS ASSOCIATE ADDENDUM

   This Agreement is made effective the 29th day of November, 2018 by and between Borrego
   Health, hereinafter referred to as “Covered Entity”, and Aram Arakelyan DDS, Inc hereinafter
   referred to as “Business Associate”, (individually, a “Party” and collectively, the “Parties”).
   RECITALS:

           WHEREAS, Sections 261 through 264 of the federal Health Insurance Portability and
   Accountability Act of 1996, Public Law 104-191, known as “the Administrative Simplification
   provisions,” direct the Department of Health and Human Services to develop standards to
   protect the security, confidentiality and integrity of health information;

          WHEREAS, pursuant to the Administrative Simplification provisions, the Secretary of
   Health and Human Services issued regulations modifying 45 CFR Parts 160 and 164 (the
   “HIPAA Security and Privacy Rule”);

          WHEREAS, the American Recovery and Reinvestment Act of 2009 (Pub. L. 111-5),
   pursuant to Title XIII of Division A and Title IV of Division B, called the “Health Information
   Technology for Economic and Clinical Health” (“HITECH”) Act, provides modifications to the
   HIPAA Security and Privacy Rule (hereinafter, all references to the “HIPAA Security and Privacy
   Rule” are deemed to include all amendments to such rule contained in the HITECH Act and any
   accompanying regulations, and any other subsequently adopted amendments or regulations);

           WHEREAS, the Parties wish to enter into or have entered into an arrangement whereby
           Business Associate will provide certain services to Covered Entity, and, pursuant to such
           arrangement, Business Associate may be considered a “business associate” of Covered
           Entity as defined in the HIPAA Security and Privacy Rule (the agreement evidencing
           such arrangement is entitled Dentist Contract, dated November 29, 2018 and is hereby
           referred to as the “Arrangement Agreement”); and

          WHEREAS, Business Associate may have access to and/or use Protected Health
   Information (as defined below) in fulfilling its responsibilities under such arrangement;

           NOW, THEREFORE, in consideration of the Parties’ continuing obligations under the
   Arrangement Agreement, compliance with the HIPAA Security and Privacy Rule, and for other
   good and valuable consideration, the receipt and sufficiency of which is hereby acknowledged,
   and intending to be legally bound, the Parties agree to the provisions of this Agreement in order
   to address the requirements of the HIPAA Security and Privacy Rule and to protect the interests
   of both Parties.

   I.      DEFINITIONS

        A. Catch-all definition:
           The following terms used in this Agreement shall have the same meaning as those
           terms in the HIPAA Rules: Breach, Data Aggregation, Designated Record Set,
           Disclosure, Health Care Operations, Individual, Minimum Necessary, Notice of Privacy
           Practices, Protected Health Information, Required By Law, Secretary, Security Incident,
           Subcontractor, Unsecured Protected Health Information, and Use. In the event of an


                                                   18

                                                                                               EXHIBIT L
                                                                                               PAGE 449
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3893 Page 450 of 734
                                      735


            inconsistency between the provisions of this Agreement and mandatory provisions of the
            HIPAA Security and Privacy Rule, as amended, the HIPAA Security and Privacy Rule
            shall control. Where provisions of this Agreement are different than those mandated in
            the HIPAA Security and Privacy Rule but are nonetheless permitted by the HIPAA
            Security and Privacy Rule, the provisions of this Agreement shall control.

         B. Specific definitions:

                1.      Business Associate. “Business Associate” shall generally have the same
                        meaning as the term “business associate” at 45 CFR 160.103, and in
                        reference to the party to this agreement, shall mean Aram Arakelyan DDS,
                        Inc.

                2.      Covered Entity. “Covered Entity” shall generally have the same meaning as
                        the term “covered entity” at 45 CFR 160.103, and in reference to the party to
                        this agreement, shall mean Borrego Health.

                3.      HIPAA Rules. “HIPAA Rules” shall mean the Privacy, Security, Breach
                        Notification, and Enforcement Rules at 45 CFR Part 160 and Part 164.

                4.      Protected Health Information. “Protected Health Information (PHI)” shall
                        mean individually identifiable health information including, without limitation,
                        all information, data, documentation, and materials, including without
                        limitation, demographic, medical and financial information, that relates to the
                        past, present, or future physical or mental health or condition of an individual;
                        the provision of health care to an individual; or the past, present, or future
                        payment for the provision of health care to an individual; and that identifies
                        the individual or with respect to which there is a reasonable basis to believe
                        the information can be used to identify the individual. “Protected Health
                        Information” includes without limitation “Electronic Protected Health
                        Information” as defined below.

                5.      Electronic Protected Health Information. “Electronic Protected Health
                        Information” shall mean Protected Health Information which is transmitted by
                        Electronic Media (as defined in the HIPAA Security and Privacy Rule) or
                        maintained in Electronic Media.

   II.       CONFIDENTIALITY AND SECURITY REQUIREMENTS

         A. Business Associate agrees:
               1. Not to use or disclose protected health information other than as permitted or
                  required by the Agreement or as required by law;

                2. To use appropriate safeguards, and comply with Subpart C of 45 CFR Part 164
                   with respect to electronic protected health information, to prevent use or
                   disclosure of protected health information other than as provided for by the
                   Agreement;

                3. To report to covered entity any use or disclosure of protected health information
                   not provided for by the Agreement of which it becomes aware, including
                   breaches of unsecured protected health information as required at 45 CFR

                                                     19

                                                                                                   EXHIBIT L
                                                                                                   PAGE 450
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3894 Page 451 of 734
                                      735


                164.410, and any security incident of which it becomes aware. Such report shall
                be made by Business Associate to Covered Entity within twenty-four hours of the
                time when Business Associate becomes aware of the breach;

             4. In accordance with 45 CFR 164.502(e)(1)(ii) and 164.308(b)(2), if applicable, to
                ensure that any subcontractors that create, receive, maintain, or transmit
                protected health information on behalf of the business associate agree to the
                same restrictions, conditions, and requirements that apply to the business
                associate with respect to such information;

             5. To make available protected health information in a designated record set to the
                individual or the individual’s designee” as necessary to satisfy covered entity’s
                obligations under 45 CFR 164.524;

             6. To make any amendment(s) to protected health information in a designated
                record set as directed or agreed to by the covered entity pursuant to 45 CFR
                164.526, or take other measures as necessary to satisfy covered entity’s
                obligations under 45 CFR 164.526;

             7. To maintain and make available the information required to provide an
                accounting of disclosures to the individual as necessary to satisfy covered
                entity’s obligations under 45 CFR 164.528;

             8. To the extent the business associate is to carry out one or more of covered
                entity's obligation(s) under Subpart E of 45 CFR Part 164, to comply with the
                requirements of Subpart E that apply to the covered entity in the performance of
                such obligation(s); and

             9. To make its internal practices, books, and records available to the Secretary for
                purposes of determining compliance with the HIPAA Rules.

             10. Business Associate acknowledges and agrees that all Protected Health
                 Information that is created or received by Covered Entity and disclosed or made
                 available in any form, including paper record, oral communication, audio
                 recording, and electronic display by Covered Entity or its operating units to
                 Business Associate or is created or received by Business Associate on Covered
                 Entity’s behalf shall be subject to this Agreement.

      B. Notwithstanding the prohibitions set forth in this Agreement, Business Associate may
         use and disclose Protected Health Information as follows:

             1. As necessary to perform the services set forth in the underlying Service
                Agreement; and/or

             2. As required by law.

             3. Business Associate agrees to make uses and disclosures and requests for
                protected health information consistent with Covered Entity’s minimum necessary
                policies and procedures.




                                                 20

                                                                                              EXHIBIT L
                                                                                              PAGE 451
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3895 Page 452 of 734
                                      735


             4. Business Associate may not use or disclose PHI in a manner that would violate
                Subpart E of 45 CFR Part 164 if done by covered entity.

             5. Business associate may not use or disclose protected health information in a
                manner that would violate Subpart E of 45 CFR Part 164 if done by covered
                entity.

             6. Business associate may use protected health information for the proper
                management and administration of the business associate or to carry out the
                legal responsibilities of the business associate.

             7. Business associate may disclose protected health information for the proper
                management and administration of business associate or to carry out the legal
                responsibilities of the business associate, provided the disclosures are required
                by law, or business associate obtains reasonable assurances from the person to
                whom the information is disclosed that the information will remain confidential
                and used or further disclosed only as required by law or for the purposes for
                which it was disclosed to the person, and the person notifies business associate
                of any instances of which it is aware in which the confidentiality of the information
                has been breached.

             8. Business associate may provide data aggregation services relating to the health
                care operations of the covered entity.

      C. Business Associate will implement appropriate safeguards to prevent use or disclosure
         of Protected Health Information other than as permitted in this Agreement. Business
         Associate will implement administrative, physical, and technical safeguards that
         reasonably and appropriately protect the confidentiality, integrity, and availability of any
         Electronic Protected Health Information that it creates, receives, maintains, or transmits
         on behalf of Covered Entity as required by the HIPAA Security and Privacy Rule.

      D. The Secretary of Health and Human Services shall have the right to audit Business
         Associate’s records and practices related to use and disclosure of Protected Health
         Information to ensure Covered Entity’s compliance with the terms of the HIPAA Security
         and Privacy Rule.

      E. Business Associate shall report to Covered Entity any use or disclosure of Protected
         Health Information which is not in compliance with the terms of this Agreement of which
         it becomes aware. Business Associate shall report to Covered Entity any Security
         Incident of which it becomes aware. Such report shall be made within twenty-four hours
         of the date and time upon which Business Associate becomes aware of the
         unauthorized use or disclosure and/or Security Incident.

         For purposes of this Agreement, “Security Incident” means the attempted or successful
         unauthorized access, use, disclosure, modification, or destruction of information or
         interference with system operations in an information system. In addition, Business
         Associate agrees to mitigate, to the extent practicable, any harmful effect that is known
         to Business Associate of a use or disclosure of Protected Health Information by
         Business Associate in violation of the requirements of this Agreement.




                                                   21

                                                                                                EXHIBIT L
                                                                                                PAGE 452
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3896 Page 453 of 734
                                      735


   III.      AVAILABILITY OF PHI
          A. Business Associate agrees to comply with any requests for restrictions on certain
             disclosures of Protected Health Information pursuant to Section 164.522 of the HIPAA
             Security and Privacy Rule to which Covered Entity has agreed and of which Business
             Associate is notified by Covered Entity. Business Associate agrees to make available
             Protected Health Information to the extent and in the manner required by Section
             164.524 of the HIPAA Security and Privacy Rule. If Business Associate maintains
             Protected Health Information electronically, it agrees to make such Protected Health
             Information electronically available to the applicable individual. Business Associate
             agrees to make Protected Health Information available for amendment and incorporate
             any amendments to Protected Health Information in accordance with the requirements of
             Section 164.526 of the HIPAA Security and Privacy Rule. In addition, Business
             Associate agrees to make Protected Health Information available for purposes of
             accounting of disclosures, as required by Section 164.528 of the HIPAA Security and
             Privacy Rule and Section 13405(c)(3) of the HITECH Act. Business Associate and
             Covered Entity shall cooperate in providing any accounting required on a timely basis.
   IV.       TERM/TERMINATION
          A. Term. The Term of this Agreement shall be effective as of the date first listed above and
             shall continue in effect concurrently with the term of the Arrangement Agreement.

          B. Termination. Notwithstanding anything in this Agreement to the contrary, Covered Entity
             shall have the right to terminate this Agreement and the Arrangement Agreement
             immediately if Covered Entity determines that Business Associate has violated any
             material term of this Agreement. If Covered Entity reasonably believes that Business
             Associate will violate a material term of this Agreement and, where practicable, Covered
             Entity gives written notice to Business Associate of such belief within a reasonable time
             after forming such belief, and Business Associate fails to provide adequate written
             assurances to Covered Entity that it will not breach the cited term of this Agreement
             within a reasonable period of time given the specific circumstances, but in any event,
             before the threatened breach is to occur, then Covered Entity shall have the right to
             terminate this Agreement and the Arrangement Agreement immediately. Covered Entity
             may seek injunctive relief and/or any other available remedy to prevent a breach of this
             Agreement.

          C. Obligations of Business Associate Upon Termination. Upon termination of this
             Agreement for any reason, business associate shall return to covered entity all protected
             health information received from covered entity, or created, maintained, or received by
             business associate on behalf of covered entity, that the business associate still
             maintains in any form. Business associate shall retain no copies of the protected health
             information.

          D. Survival. The obligations of business associate under this Section shall survive the
             termination of this Agreement.

   V.        MISCELLANEOUS
          A. Third Parties; Survival. Except as expressly stated herein or the HIPAA Security and
             Privacy Rule, the Parties to this Agreement do not intend to create any rights in any third
             parties. The obligations of Business Associate under this Section shall survive the
             expiration, termination, or cancellation of this Agreement, the Arrangement Agreement

                                                      22

                                                                                                    EXHIBIT L
                                                                                                    PAGE 453
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3897 Page 454 of 734
                                      735




     12/06/2018




                                                                        EXHIBIT L
                                                                        PAGE 454
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3898 Page 455 of 734
                                      735




    12/06/2018




                                                                        EXHIBIT L
                                                                        PAGE 455
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3899 Page 456 of 734
                                      735




                                            Addendum “E"
                             COMPENSATION OF DENTAL SERVICES
                                     ADULT MEDI-CAL

   Services for Adults with current full scope Medi-Cal eligibility will be compensated on a per visit
   reimbursement rate as outlined below. Crowns and root canals are subject to prior review and
   approval by the Dental Director. If the service is not within the scope of “BCHF” the “Dentist” may
   bill this service directly to the payer as a private patient.

    Description          Codes                  Number of       Special              Rate
                         (Denti-Cal rules       Visits          Consideration
                         apply)


    Routine Exam and D0120 in combo             1               Refer to Denti-Cal   $110 per visit
    X-rays           with                                       manual.
                     D0210, D0220,
                     D0230, D0272,
                     D0274, D0330
    Comprehensive    D0150 in combo             1               Refer to Denti-Cal   $130 per visit
    Exam and X-rays with                                        manual.
                     D0210, D0220,
                     D0230, D0272,
                     D0274, D0330
    Routine Exam     D0120 in                   1               Refer to Denti-Cal   $140 per visit
    and X-rays with  combo with                                 manual.
    Prophy           D0210,D0220,
                     D0230,D0272,
                     D0274, D0330
                     - and D1110
    Comprehensive    D0150 in                   1               Refer to Denti-Cal   $150 per visit
    Exam and X-rays combo with                                  manual.
    with Prophy      D0210,D0220,
                     D0230,D0272,
                     D0274, D0330
                     - and D1110
    Problem focused  D9430                      1               For relief of pain   $100
    oral evaluation  D0220, D0230,                              and medication
    only with X-ray  D0270

    Prophylaxis and    D1110 in combo           1               Must be in           $110 per visit
    Fluoride           with                                     combination.
    application        D1206, D1208
    Fillings - Amalgam D2140, D2150,            1 or more       Treatment to be      $120 per visit
                       D2160, D2161                             completed per
                                                                quadrant, unless
                                                                documented

                                                    25

                                                                                                EXHIBIT L
                                                                                                PAGE 456
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3900 Page 457 of 734
                                      735



    Fillings – Resin    D2330, D2331,   1 or more   Treatment to be        $150 per visit
    Based Composite     D2332, D2335                completed per
    Anterior &          D2391, D2392,               quadrant, unless
    Posteriors          D2393, D2394                documented
    Prefabricated       D2931, D2932    1 or more   2 per visit            $200 per visit
    Crowns (Stainless
    Steel / Resin)
    Extractions -       D7111, D7140    1 or more   Per visit – multiple   $120 per visit
    simple                                          extractions under
                                                    anesthesia are not
                                                    in scope.
    Extractions -       D7210, D7220,   1 or more   Per visit – multiple   $185
    surgical            D7230, D7240                extractions under
                                                    anesthesia are not
                                                    in scope.
    Surgical Removal    D7250           1 or more   Per visit – multiple   $140
    of Roots                                        extractions under
                                                    anesthesia are not
                                                    in scope.
    Biopsy Soft Tissue D7286            1 or more   Per Visit              $45

    Alveoloplasty       D7310           1 or more   Per Visit              $70

    Removal of Torus    D7472           1 or more   Per Visit              $280
    Palatinus

    Removal of Torus    D7473           1 or more   Per Visit              $140
    Mandibulars

    Frenulectomy        D7960           1 or more   Per Visit              $280

    Excision of         D7971           1 or more   Per Visit              $70
    Pericoronal
    Gingiva
    Pulpal              D3221           1           Excludes final         $140 per visit
    Debridement                                     restoration
    Root Canal -        D3310           1 or more   Excludes final         $305 global
    Anterior                                        restoration. Open
                                                    & Med and
                                                    Finished RCT
                                                    included in global
                                                    fee.
    Retreatment of a    D3346           1 or more   All treatments         $305 global
    Root Canal -                                    must be after 12
    Anterior                                        months of initial
                                                    visit



                                            26

                                                                                     EXHIBIT L
                                                                                     PAGE 457
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3901 Page 458 of 734
                                      735



    Root Canal -        D3320           2 or more   Excludes final       $365 global
    Bicuspid                                        restoration. Open
                                                    & Med and
                                                    Finished RCT
                                                    included in global
                                                    fee.
    Retreatment of a    D3347           1 or more   All treatments       $365 global
    Root Canal -                                    must be after 12
    Bicuspid                                        months of initial
                                                    visit
    Root Canal - Molar D3330            2 or more   Excludes final       $465 global
                                                    restoration. Open
                                                    & Med and
                                                    Finished RCT
                                                    included in global
                                                    fee.
    Retreatment of a   D3348            2 or more   All treatments       $465 global
    Root Canal - Molar                              must be after 12
                                                    months of initial
                                                    visit
    Apicoectomy         D3410           1           None                 $140 per visit
    Anterior
    Crown               D2751, D2740,   2 or more   Prep and delivery    $475 global
                        D2791                       in global fee.
    Crown Post and      D2952,D2954     1           Payment included     $105
    Core (indirect or                               in addition to
    pre-fabricated)                                 Crown Delivery
    Recement            D2920           1           All treatments       $75
    Permanent Crown                                 must be after 12
                                                    months of initial
                                                    visit
    Unspecified         D2999           1           None                 $100
    restorative
    procedure by
    report
    Periodontal         D4341, D4342    1           2 quadrants per      $70 per
    Scaling                                         visit                quadrant
    Periodontal         D4910           1           See Denti-Cal        $140
    Maintenance                                     Guidelines (only
                                                    once a calendar
                                                    quarter, must be
                                                    within 24 months
                                                    of SRP)
    Gingivectomy or     D4211           1           1 to 3 teeth, per    $110
    Gingivoplasty                                   quadrant
    Incision and        D7510, D7520    1           None                 $115
    Drainage of
    Abscess


                                            27

                                                                                    EXHIBIT L
                                                                                    PAGE 458
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3902 Page 459 of 734
                                      735



    Dentures (Includes D5110, D5120         6 or more   Maxillary and   $635 each
    first 2 adjustments)                                Mandibular      denture –
                                                                        global
    Removable Partial D5213, D5214          6 or more   Maxillary and   $660 each
    – Cast Metal                                        Mandibular      partial – global
    (Includes first 2
    adjustments)
    Removable Partial D5211, D5212          3 or more   Maxillary and   $360 each
    – Resin Based                                       Mandibular      partial - global
    Repairs            D5510, D5520         1 or more   Maxillary and   $110 each visit
                       D5610, D5640                     Mandibular
                       D5650, D5660
    Repair Cast        D5620                1           None            $325 per visit
    Framework
    Repair/Replace     D5630                1           None            $140 per visit
    Broke Clasp
    Adjustments only D5410, D5411           1           Maxillary and   $70 per visit
    (not following     D5421, D5422                     Mandibular
    delivery)
    Reline (in office) D5730, D5731         1           Maxillary and   $120 per visit
                       D5740, D5741                     Mandibular

    Reline             D5750, D5751         2 or more   Maxillary and   $225 - global
    (Laboratory)       D5760, D5761                     Mandibular
    Tissue             D5850, D5851         1           Maxillary and   $120 per visit
    Conditioning                                        Mandibular

    Palliative         D9110 in combo       1           None            $100 per visit
    Treatment for      with D0220, D0230,
    Dental Pain with   D0270
    X-ray




                                                28

                                                                                   EXHIBIT L
                                                                                   PAGE 459
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3903 Page 460 of 734
                                      735



                                             Addendum “F”
                                     DENTAL SLIDING FEE SCALE
                                       SUMMARY OF BENEFITS

   As a Federally Qualified Health Center (FQHC), Borrego Community Health Foundation (BCHF)
   is required to provide a sliding fee scale program for patients living at or below 200% of the
   Federal Poverty Level (FPL). Services must be provided despite a patient’s inability to pay. Ability
   to pay is determined through an eligibility process in which the applicant provides proof of income
   and family size.
   As a contract dental partner of BCHF, you are required to extend the sliding fee scale program to
   your practice.

   Benefits:

   The sliding fee scale is a limited benefit program that provides discounted rates for services
   rendered within the dental practice of the organization and contracted sites only. It does not
   extend to services rendered by specialists to whom the clinic may refer the patient for additional
   care. The scope of benefits is limited to services as outlined in the current Denti-Cal Provider
   Handbook - Manual of Criteria (Section 5).

   The program includes:

   ▪   Exam and X-rays
   ▪   Cleaning
   ▪   Fluoride Application
   ▪   Fillings
   ▪   Extractions (Limited to scope of General Dentistry)
   ▪   Root Canals (Limited to scope of General Dentistry)
   ▪   Crowns (Limited to non-precious metal)
   ▪   Dentures ($150 co-payment)
   ▪   Bridges (co-payment 50% of cost)

   Eligibility:

   The application process and eligibility determination is outlined in the BCHF Sliding Fee Policy
   and Procedure, which is amended from time to time to reflect current FPL (revised on an annual
   basis and published April 1.

   Information regarding the Sliding Fee program will be made available in your office for cash
   patients that may desire to apply. Application assistance and eligibility determination will be
   conducted by BCHF staff upon referral from your office. Your office may be required to provide
   limited assistance (e.g. emailing an application or referring the applicant to one of our local clinics
   for assistance). Uninsured applicants will receive information about other program eligibility
   including Medi-Cal and/or Covered California and assisted with applying for these programs if
   deemed eligible.



                                                     29

                                                                                                   EXHIBIT L
                                                                                                   PAGE 460
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3904 Page 461 of 734
                                      735




    12/06/2018




                                                                        EXHIBIT L
                                                                        PAGE 461
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3905 Page 462 of 734
                                      735




                        EXHIBIT M
                                                                         EXHIBIT M
                                                                         PAGE 462
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3906 Page 463 of 734
                                      735


                                AGREEMENT BETWEEN
                                ARAM ARAKELYAN, DDS
                                       AND
                        BORREGO COMMUNITY HEALTH FOUNDATION
                                       FOR
                                  DENTAL SERVICES

           THIS DENTAL SERVICES AGREEMENT ("Agreement") is entered into as of November
   29, 2018 between Borrego Community Health Foundation (“BCHF”) and Aram Arakelyan, DDS
   ("Dentist"), collectively the “Parties”.

    RECITALS

          WHEREAS, BCHF is a 501 (c) (3) non-profit public benefit corporation, organized under
   the laws of the State of California and is licensed to operate Federally Qualified Community
   Health Centers (FQHC). BCHF operates clinics throughout San Diego, San Bernardino, and
   Riverside Counties. The clinics provide comprehensive primary and specialty care according to
   the scope of services as approved by the Bureau of Primary Health Care (“BPHC”) within the
   United States Department of Health and Human Services (“DHHS”). The approved scope
   includes performance of primary dental services; and

           WHEREAS, “BCHF” desires to increase access to dental services for pediatric,
   adolescent and adult patients of the FQHC by entering into agreements with qualified Dentists
   to provide primary dental services for the FQHC.

           WHEREAS, “Dentist” is duly licensed to provide dental services within the State of
   California and meets credentials required by “BCHF” to perform such services and is not the
   subject of any Medicaid/Medicare related actions, suspensions, exclusions or debarments that
   would disqualify him or her from providing services under this Agreement. The “Dentist”
   provides the desired scope of services that meet the FQHC criteria; and

          WHEREAS, “Dentist” operates and administers a private practice in Covina and
   Downey, California within “BCHF’s” service area and agrees to provide primary dental services
   to patients on behalf of “BCHF” by entering into agreement to deliver such services in a
   professional manner to “BCHF” patients. (Refer to Addendum “C” for dental office address and
   contact information.)

   AGREEMENT

           NOW, THEREFORE, in consideration of the covenants and agreements herein
   contained, and other good and valuable consideration, the “Parties” hereto mutually agree as
   follows:
    I.     DEFINITIONS

       A.   PARTICIPATING PATIENTS. A "Participating Patient" who is eligible to receive
            dental services under this Agreement is defined as any individual residing in
            FQHC’s federally-approved service area and who is a patient of the FQHC
            operated by “BCHF”.

       B.   SCOPE OF SERVICES. Those services approved by the Health Resource and

   1


                                                                                            EXHIBIT M
                                                                                            PAGE 463
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3907 Page 464 of 734
                                      735


                Service Administration (HRSA) as Required and Additional Services that are
                authorized to be rendered by BCHF to residents of the specified service area.

    II.        ACKNOWLEDGEMENT
                The “Dentist” agrees to be bound by the terms and conditions of this Agreement
               insofar as said Agreement relates to rights, responsibilities and duties as “Dentist”.
               This Agreement constitutes the entire understanding between the parties hereto
               and no changes, amendments or alterations shall be effective unless agreed to in
               writing by both parties and appended to this Agreement.

   III.        INDEPENDENT RELATIONSHIP
               None of the provisions of this Agreement are intended to create nor shall be
               deemed or construed to create any relationship between “BCHF” and “Dentist”
               other than that of independent entities contracting with each other solely for the
               purpose of effecting the provisions of this Agreement. Neither of the parties
               hereto nor any of their respective employees shall be construed to be the agent,
               employee or representative of the other. This Agreement is entered into at an
               arm’s length negotiated rate reflective of the fair market value.

   IV.         PROFESSIONAL SERVICES

          A.    COVERED SERVICES. Dentist agrees to provide primary care dental services
                described in Addendum “A” and Addendum “D” as “Covered Services”, as required,
                to Participating Patients, in accordance with the attached “Payment Schedule” and
                as further described in Section VIII. “BCHF” is responsible for contacting “Dentist” to
                make initial appointments for Participating Patients. Notwithstanding, “BCHF” is
                under no obligation to utilize “Dentist” to provide dental services to any or all
                Participating Patients who require such services.

          B.    SERVICE AVAILABILITY. “Dentist” shall provide primary dental services during
                hours of operations that are mutually agreed upon and outlined in “Addendum “C”.
                Any changes require prior notification to the “BCHF” Dental Director. “Dentist” will
                maintain adequate facilities within the Service Area to meet the responsibilities of
                this Agreement. Such facilities must meet standards of practice expected of a
                licensed facility. Adequate trained, certified or licensed personnel will be provided
                quality standard of care and not place the health and well-being of the patients in
                jeopardy. “Dentist” will provide a plan of after hour access for phone consultation and
                triage for dental emergencies of established patients.

          C.    DOCUMENTATION AND DESCRIPTION OF SERVICES. “Dentist” agrees to
                establish and maintain dental records that will contain descriptions of any dental
                services provided to Participating Patients, as well as proposed follow-up treatment
                plans for subsequent visits (if any). The descriptions of the services will be made
                using American Dental Association CDT Standard Claims Codes. In the event that
                such records are housed in a location other than the dental office, “BCHF” shall have
                reasonable and timely access to such records. “Dentist” agrees to retain such
                records for a period of at least seven years or to the extent required by applicable
                laws or regulations.

          D.    PRIOR AUTHORIZATION. For dental services needing individual consideration

   2


                                                                                                        EXHIBIT M
                                                                                                        PAGE 464
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3908 Page 465 of 734
                                      735


              or prior approval the “Dentist” must provide such documentation necessary prior
              to rendering such service. In addition to standard requirements of prior approval
              outlined by the Denti-Cal program or other third-party payors, an additional list of
              services requiring prior approval may be provided by “BCHF”. As a satellite of an
              FQHC, Treatment Authorization Requests (TAR) must be fully documented in the
              dental record, but do not require submission to Denti-Cal for prior approval. This
              does not apply to treatment paid directly by Denti-Cal

         E.   AGREEMENT NOT TO CHARGE PATIENTS. The “Parties” agree that all
              Participating Patients receiving services from “Dentist” pursuant to this Agreement
              shall be considered patients of “BCHF”. Accordingly, “BCHF” shall be responsible for
              the billing of such patient services, as applicable, as well as the billing of Federal,
              State and private payors, and the collection and retention of any and all payments.
              “Dentist” agrees not to bill, charge or collect from Participating Patients or payors any
              amount for any dental services provided under this Agreement. If “Dentist” should
              receive any payment from Participating Patients or payors for services provided
              hereunder, “Dentist” agrees to remit such payment to FQHC within ten (10) days of
              receipt.

         F.   SLIDING FEE. Notwithstanding the aforementioned, “Dentist” recognizes that
              certain Participating Patients may be charged at the time of service, in accordance
              with a fee schedule and, as applicable, schedule of sliding fee discounts
              established by “BCHF” pursuant to 42 C.F.R.§51c.303(f). “Dentist” shall, on behalf
              of “BCHF” and consistent with “BCHF 's” guidelines, schedules and procedures,
              make every reasonable effort to collect fees from eligible Participating Patients at
              the time services are provided to such patients and to remit such payments to
              “BCHF” within ten (10) days of receipt. “BCHF” shall perform the follow-up activities
              necessary to collect patient fees not collected by “Dentist” at the time of service.

         G.   NON-DISCRIMINATION. “Dentist” agrees to provide dental services to Participating
              Patients in the same professional manner and pursuant to the same professional
              standards as generally provided by “Dentist” to his or her patients, regardless of an
              individual's or family's ability to pay for services rendered. This section shall not be
              read to prevent “Dentist” from limiting the number of hours and/or days during which
              “Dentist” agrees to see Participating Patients, provided that such limitation shall not
              be based on a Participating Patient's payor source or insurance status. Dentist also
              agrees not to differentiate or discriminate in the provision of services provided to
              Participating Patients on the basis of race, color, religious creed, age, marital status,
              national origin, alienage, sex, blindness, mental or physical disability or sexual
              orientation pursuant to Title 45 of the Code of Federal Regulations, §§ 80.3-80.4,
              and Civil Rights Act of 2007.

    V.        QUALITY OVERSIGHT AND EVALUATION OF SERVICES BY FQHC
         A.   QUALITY OF CARE.           “Dentist” shall provide care consistent with prevailing
              community standards for quality of care and in accordance with “BCHF” Section 330
              grant and applicable grant-related expectations and requirements. Services shall be
              within the scope of practice outlined in Addendum B for primary care dental services.
              The “Dentist” will be subject to standards of quality review as though the care was
              provided by an employed dentist or the organization. Such review will include facility
              and record review in keeping with “BCHF” standards and applicable regulations.

   3


                                                                                                  EXHIBIT M
                                                                                                  PAGE 465
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3909 Page 466 of 734
                                      735


                  “BCHF” will communicate in writing any corrective action that must be resolved in a
                  timely manner.

             B.   POLICIES AND PROCEDURES. The “Dentist” will be subject to clinical policies and
                  procedures established by “BCHF” regarding the provision of services pursuant to this
                  agreement including but not limited to qualifications and credentials, clinical
                  guidelines, standards of conduct, quality assurance standards, productivity standards,
                  patient and provider grievance and complaint procedures. Such policies and
                  procedures are consistent with “BCHF’s” requirements established by the Bureau of
                  Primary Health Care (BPHC). “BCHF” will provide “Dentist with such requirements,
                  policies, procedures and standards. Notwithstanding, nothing herein is intended to
                  interfere with “Dentist’s” professional judgment in connection with the provision of
                  clinical services.

             C.   PATIENT RELATIONSHIP. “Dentist” shall maintain a dentist/patient relationship with
                  Participating Patients and shall be solely responsible for dental treatment and advice.
                  Notwithstanding, nothing herein is intended to interfere with “Dentist’s” professional
                  judgment in connection with the provision of such services.
             D.   AUTHORITY. “BCHF”, through its Executive Director and/or Dental Director or
                  Medical Director, shall have and exercise ultimate authority and responsibility for the
                  services provided to Participating Patients pursuant to this Agreement, consistent with
                  the policies, procedures and standards set forth above. In particular, “BCHF” shall
                  retain ultimate authority over the following:

                  1. Determination as to whether “Dentist” meets “BCHF’s” qualifications and
                     credentials, consistent with BCHF standards.

                  2. Interpretation of “BCHF’s” policies and procedures, clinical guidelines, quality
                     assurance standards, productivity standards, standards of conduct and
                     provider and patient grievance and complaint resolution procedures, and
                     their applicability to “Dentist”.
                  3. Determination with respect to whether “Dentist” is performing satisfactorily and
                     consistent with “BCHF’s” policies, procedures and standards.

                  4. The Executive Director and/or Medical Director have the authority to terminate
                     this agreement in accordance with Section XIV below.

         E.       NOTIFICATION. “Dentist” shall, as soon as reasonably practicable, notify “BCHF” of
                  any action, event, claim, proceeding, or investigation (including, but not limited to, any
                  report made to the National Practitioner Data Bank) that could result in the revocation,
                  termination, suspension, limitation or restriction of “Dentist's” licensure, certification, or
                  qualification to provide such services. “BCHF” may suspend this Agreement, until
                  such time as a final determination has been made with respect to the applicable
                  action, event, claim, proceeding, or investigation.

       VI.        NO OBLIGATION TO REFER AND NON-SOLICITATION OF PATIENTS

             A.   It is specifically agreed and understood between the parties that nothing in this
                  Agreement is intended to require, nor requires, nor provides payment or benefit of
                  any kind (directly or indirectly), for the referral of individuals or business to either
   4


                                                                                                         EXHIBIT M
                                                                                                         PAGE 466
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3910 Page 467 of 734
                                      735


                 party by the other party.

           B.    “Dentist” agrees that during the term of this Agreement, he or she shall not,
                 directly or indirectly, solicit or attempt to solicit or treat, for his or her own account
                 or for the account of any other person or entity, any patient of “BCHF.” This
                 non-solicitation clause shall survive termination of this Agreement for a period of
                 two (2) years following termination, however such termination is affected.

           C.    “Dentist” shall not cause any entity or individual he or she is employed by or with
                 whom he or she is professionally associated to, directly or indirectly, solicit or
                 attempt to solicit for his or her own account or for the account of any other person
                 or entity, any patient of “BCHF” for whom “Dentist” provided care during the term
                 of the Agreement. For purposes of this paragraph, a "patient of BCHF" shall mean
                 any patient seen or treated by “BCHF” (whether by its employees or independent
                 contractors) during the one (1) year period immediately preceding the termination
                 or expiration of this Agreement, including, but not limited to, those patients treated
                 by Dentist hereunder.

    VII.        CONTRACTS WITH OTHERS

                This contract is non-exclusive. “BCHF" retains the authority to contract with other
                dentists or dental practices, if, and to the extent that, “BCHF” reasonably determines
                that such contracts are necessary in order to implement “BCHF” policies and
                procedures, or as otherwise may be necessary to assure appropriate collaboration with
                other local providers (as required by Section 330 (k)(3) (B)), to enhance patient
                freedom of choice, and/or to enhance accessibility, availability, quality and
                comprehensiveness of care.

    VIII.       COMPENSATION

           A.    FEE SCHEDULE. “Dentist” will be compensated for providing dental services under
                  this Agreement in accordance with the attached Payment Schedule Addendum “B”.

           B.    ENCOUNTER SUBMISSION. Dentist will complete a superbill for every visit. The
                 superbills will be batched and submitted on a daily basis along with the patient
                 demographic information and a copy of the visit documentation. Adequate supporting
                 documentation must be made available to ensure that “BCHF” will be able to collect
                 for services rendered and not place the organization in jeopardy of false claims.

           C.    TIMING OF PAYMENT. Payment will be made on claims that are paid to “BCHF” by
                 third party payors. The payment will be processed within 35 days of receipt of a
                 superbill and adequate supporting documentation for each visit. Payment will be
                 made on a weekly basis to the “Dentist” with a detailed explanation of reimbursement.
                 Both Dentist and BCHF will be responsible for maintaining records of transactions to
                 avoid duplication of reimbursement and resolve outstanding balances.

    IX.         CASE MANAGEMENT
           A.    AGREEMENT TO PROVIDE DESIGNATED NUMBER OF SERVICES. “Dentist”
                 agrees to provide services for the “BCHF” patients for a minimum of ten (10) visits a
                 week and to be available at minimum three days a week during standard business

   5


                                                                                                          EXHIBIT M
                                                                                                          PAGE 467
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3911 Page 468 of 734
                                      735


              hours. “Dentist” will communicate with BCHF management as to appointment
              availability so that adjustments can be made to accommodate the identified need.
              The “Dentist” reserves the right to fill these appointments if there are an insufficient
              number of referrals from “BCHF”. “Dentist” will provide occasional after hour
              sessions to provide expanded availability. These sessions may include weekend
              clinics or after 5:00 p.m. schedules. “Dentist” will accommodate dental emergencies
              as necessary.

         B.   VERIFICATION OF PATIENT STATUS.                “BCHF” will verify each Participating
              Patient's status as a “BCHF” patient on the day on which an appointment is made
              for such patient with Dentist. “Dentist” will verify information regarding the patient's
              status as a “BCHF” patient on the date of service or otherwise mutually agreed upon
              method verification presenting to the “Dentist”. If it is determined that the
              Participating Patient is not a “BCHF” patient on the date of service, “BCHF”, in
              consultation with Dentist, will decide whether or not to authorize “Dentist” to proceed
              with treatment. If “BCHF” authorizes “Dentist” to proceed with treatment, “BCHF”
              will be responsible for payment for the services provided by the “Dentist” according
              to the compensation provisions in this Agreement.

         C.   REPORTING AND INVESTIGATION OF PATIENT COMPLAINTS/GRIEVANCES.
              The “Dentist” will cooperate fully with “BCHF” in the investigation of Participating
              Patient complaints and grievances by providing information necessary for review
              and resolution of such. The information will be made available in a timely manner
              according to established policies and procedures. “Dentist” will collaborate in the
              resolution of identified opportunities for improvement without retaliation against the
              Participating Patient and in keeping with the wellbeing of such.

         D.   REFUSAL TO PROVIDE SERVICES. The “Dentist” has the right to request
              termination of services for Participating Patients who behave in a disruptive
              manner or are grossly discourteous towards “Dentist”, “Dentist’s” employees or
              other patients. “Dentist” must promptly report all such instances to “BCHF”, who
              will notify the Participating Patient that, unless the Participating Patient corrects
              such behavior immediately, he or she will no longer be eligible to receive dental
              services from the “Dentist”. In the event of non-resolution or if the circumstances
              are severe in nature, “Dentist” will have no obligation to provide further services for
              the Participating Patient.

         E.   REFERRAL FOR SPECIALTY SERVICES. “Dentist” will provide services within
              the approved scope for “BCHF” to Participating Patients and as outlined in
              Addendum “A” that are within the “Dentist's” knowledge, skill and training.
              “Dentist” will inform “BCHF” as soon as practical when Participating Patients
              require specialty referral and/or services beyond the “Dentist” and “BCHF” scope
              of services. Participating Patients will be provided information as to available
              specialists that are available in the community for such care. “BCHF” maintains
              Care Coordination Specialists that may assist with healthcare coverage
              information and application.

    X.        LEGAL

         A. LICENSURE, CERTIFICATION AND OTHER QUALIFICATION. Dentist will provide
            “BCHF” with evidence of current licensure within the State of California as well as any
   6


                                                                                                  EXHIBIT M
                                                                                                  PAGE 468
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3912 Page 469 of 734
                                      735


          other certification or qualification necessary to provide the services specified prior to
          entering into this Agreement, and annually upon request of “BCHF.” Dentist will maintain
          unrestricted licensure and/or certification and qualification as a Medi-Cal and, as
          applicable, Medicare participating provider during the term of this Agreement. “Dentist”
          agrees to have such additional qualifications and credentials as “BCHF” may
          reasonably require for “Dentist” to provide services, including but not limited to Basic
          Life Support (BLS), DEA number and others pursuant to this Agreement and shall
          maintain such qualifications and credentials during the term of this Agreement. The
          same requirements apply to “Dentist” employees and staff. No patients are to be
          treated by “Dentist” or other support staff who have not provided proper licensing and
          certification. Only the qualified of provider authorized by “BCHF” guidelines are allowed
          to render such services.

       B. COMPLIANCE WITH THE LAW. “Dentist” will practice in accordance with the all
          Federal, State and local laws, regulations, and generally accepted principles
          applicable to the practice of dentistry. Failure to comply with this provision is
          grounds for immediate termination under Section XIV of this Agreement.

       C. MISREPRESENTATION. “Dentist” acknowledges and agrees that willful
          misrepresentation of the type, frequency, reasonableness and/or necessity of dental
          services provided to Participating Patients may constitute a fraudulent act and may
          be referred by “BCHF” to the applicable Federal or State regulatory agency and will
          be cause for immediate termination under XIV of this Agreement.
       D. COMPLIANCE WITH OTHER LAWS. In connection with the provision of services
          pursuant to this Agreement, “Dentist” agrees to the following requirements, to the
          extent that such requirements are applicable:

          1. To comply with the Civil Rights Act of 1964 and all other Federal, State or local
             laws, rules and orders prohibiting discrimination, as well as Executive Order
             11246, entitled "Equal Employment Opportunity," as amended by Executive
             Order 11375, and as supplemented by U.S. Department of Labor regulations at
             41 C.F. R. Part 60;

          2. To make positive efforts to utilize small businesses, minority-owned firms
             and women's business enterprises in connection with the work performed
             hereunder, whenever possible;

          3. To comply with all applicable standards, orders, and regulations issued pursuant to
             the Clean Air Act of 1970 (42 U.S.C. §7401 et. seq.) and the Federal Water Pollution
             Control Act (33 U.S.C. § 1251 et seq.), as amended;

          4. To comply with the certification and disclosure requirements of the Byrd
             Anti-Lobbying Amendment (31 U.S.C. § 1352), and any applicable implementing
             regulations, as may be applicable; and

          5. To certify that neither it, nor any of its principal employees, has been debarred or
             suspended from participation in federally-funded contracts, in accordance with
             Executive Order 12549 and Executive Order 12689, entitled "Debarment and
             Suspension," and any applicable implementing regulations.


   7


                                                                                              EXHIBIT M
                                                                                              PAGE 469
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3913 Page 470 of 734
                                      735


    XI.        RECORD KEEPING AND REPORTING

          A. PROGRAMMATIC RECORDS.                “Dentist” agrees to prepare and maintain
             programmatic, administrative and other records and information that pertain to the
             services provided hereunder and that “BCHF” and/or DHHS may reasonably deem
             appropriate and necessary for the monitoring and auditing of this Agreement, and to
             provide them to “BCHF” as reasonably requested. In addition, “Dentist” will maintain
             such records and provide such information to “BCHF” or to regulatory agencies as
             may be necessary for “BCHF” to comply with State or Federal laws, regulations or
             accreditation requirements, as well as “BCHF’s” reporting obligations pursuant to its
             Section 330 grant.

          B. FINANCIAL RECORDS. “Dentist” shall prepare and maintain financial records and
             reports, supporting documents, statistical records, and all other books, documents,
             papers or other records related and pertinent to this Agreement for a period of five
             (5) years from the date this Agreement expires or is terminated. If an audit,
             litigation, or other action involving the records is started before the end of the five
             (5) year period, “Dentist” agrees to maintain the records until the end of the five (5)
             year period or until the audit, litigation, or other action is completed, whichever is
             later. “Dentist” shall make available to “BCHF”, DHHS and the Comptroller General
             of the United States, or any of their duly authorized representatives, upon
             appropriate notice, such financial systems, records, reports, books, documents, and
             papers as may be necessary for audit, examination, excerpt, transcription, and
             copy purposes, for as long as such systems, records, reports, books, documents,
             and papers are retained. This right also includes timely and reasonable access to
             “Dentist” personnel for the purpose of interview and discussion related to such
             documents. “Dentist” shall, upon request, transfer identified records to the custody
             of “BCHF” or DHHS when either “BCHF” or DHHS determine that such records
             possess long term retention value.

          C.    PARTICIPATING PATIENT RECORDS. “Dentist” agrees to establish and maintain
               dental records relating to the diagnosis and treatment of Participating Patients served
               pursuant to this Agreement. All such records shall be prepared in a mutually agreed
               upon format that is consistent with the clinical guidelines and standards established
               by “BCHF”. “Dentist” and “BCHF” agree to maintain the privacy and confidentiality of
               such records, in compliance with all applicable Federal, State and local law including,
               but not limited to, the Health Insurance Portability and Accountability Act and
               consistent with “BCHF’s” policies and procedures regarding the privacy and
               confidentiality of patient records.

          D. RETENTION OF PATIENT RECORDS. Dentist will retain dental records for seven (7)
             years beyond the last date of delivery of the services or to the extent required by
             applicable law. In the event that Dentist retires or discontinues his or her practice,
             Dentist must comply with the public and private notice provisions set forth in California
             State law and transfer all Participating Patient records to “BCHF”. Record retention
             obligations survive the termination of this Agreement.

          E. OWNERSHIP OF PATIENT RECORDS. “Dentist” and “BCHF” agree that “BCHF” shall
             retain ownership of all dental records of this Agreement, regardless of the physical
             location in which such records are housed. “Dentist” and “BCHF” agree that “Dentist”,
             upon reasonable notice to “BCHF” and consistent with applicable Federal and State
   8


                                                                                                 EXHIBIT M
                                                                                                 PAGE 470
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3914 Page 471 of 734
                                      735


                laws and regulations and “BCHF's” policies and procedures regarding the privacy and
                confidentiality of patient records, shall have timely and reasonable access to patient
                records to inspect and/or duplicate at “Dentist's” expense, any individual chart or record
                produced and/or maintained by “Dentist” to the extent necessary to: (i) meet
                responsibilities to patients for whom “Dentist” provides services pursuant to this
                Agreement; (ii) respond to any government or payor audits; (iii) assist in the defense of
                any malpractice or other claims to which such chart or record may be pertinent; and (iv)
                for any other legitimate business purpose, consistent with patient confidentiality and to
                the extent permitted by law. In the event that such records are housed in “Dentist's”
                practice location or any other location controlled by “Dentist”, “BCHF” shall have
                reasonable and timely access to such records.

    XII.        INSURANCE

           A. PROOF OF COVERAGE. The “Dentist” , at his/her sole cost and expense, shall
              procure and maintain such policies of professional liability, and other insurance as are
              necessary to insure the “Dentist” and his/her employees, agents and affiliates against
              any claim or claims for damages arising by reason of personal injuries or death
              occasioned directly or indirectly in connection with the performance of any service by
              the “Dentist” the use of any property and facilities provided by the “Dentist” or his/her
              agents, and the activities performed by the “Dentist” in connection with this
              Agreement, or any amendment entered into thereafter.

           B. “Dentist” will provide “BCHF” with sufficient evidence of professional liability coverage
              in the amount of at least:

                1. General Liability (including broad form property damage and contractual liability)
                   insurance on a per occurrence basis with a single limit of not less than one
                   million dollars ($1,000,000) three million dollars ($3,000,000) in the aggregate;
                   Sexual Abuse Liability insurance on a per occurrence basis with a single limit of
                   not less than one million dollars ($1,000,000) three million dollars ($3,000,000)
                   in the aggregate; Employer's Liability insurance on a per occurrence basis with a
                   single limit of not less than one million dollars ($1,000,000) and three million
                   dollars ($3,000,000) in the aggregate; Professional Liability insurance on a per
                   occurrence basis with a single limit of not less than one million dollars
                   ($1,000,000) and three million dollars ($3,000,000) in the aggregate; and
                   automobile liability insurance for owned, hired and non-owned vehicles on a per
                   occurrence basis with a combined single limit of not less than one million dollars
                   ($1,000,000) and three million dollars ($3,000,000) in the aggregate.

                2. Workers' Compensation, as required under California State law.

                3. Such other insurance in such amounts which from time to time may be reasonably
                   required by the mutual consent of “Dentist” and “BCHF” against other insurable
                   risks relating to performance of this Agreement.

           C.   It should be expressly understood, however, that the coverages and limits required
                under this Section shall not in any way limit the liability of either Party.

           D.   Additional insured endorsements are required for general, property damage,
                sexual abuse and automobile liability policy coverage. Such a provision, however,
   9


                                                                                                   EXHIBIT M
                                                                                                   PAGE 471
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3915 Page 472 of 734
                                      735


               shall only apply in proportion to and to the extent of the negligent acts or
               omissions of the other “Party”, its officers, agents, or employees. Each “Party”,
               upon the execution of this Agreement, shall furnish the other “Party” with
               Certificates of Insurance evidencing compliance with all requirements. Certificates
               shall provide for thirty (30) days advance written notice to “BCHF” of any material
               modifications, change or cancellation of the above insurance coverages.

            E. INDEMNITY. “Dentist” shall defend, indemnify and hold ”BCHF”, its officers,
               employees and agents harmless from and against any and all liability, loss,
               expense (including reasonable attorney's fees) or claims for injury or damages
               arising out of the performance of this Agreement but only in proportion to and to the
               extent such liability, loss, expense, attorneys' fees, or claims for injury or damages
               are caused by or result from the negligent or intentional acts or omissions of
               Dentist, its officers, agents, or employees.

               “BCHF” shall defend, indemnify and hold “Dentist”, its officers, employees and
               agents harmless from and against any and all liability, loss, expense (including
               reasonable attorneys' fees) or claims for injury or damages arising out of the
               performance of this Agreement but only in proportion to and to the extent such
               liability, loss, expense, attorneys' fees, or claims for injury or damages are caused
               by or result from the negligent, intentional acts, omissions or misconduct of “BCHF”
               its officers, agents, or students.

    XIII.     CONFIDENTIALITY

        A.     Except as is necessary in the performance of this Agreement, or as authorized in
               writing by a party or by law, neither party (nor its directors, officers, employees, agents,
               and contractors) shall disclose to any person, institution, entity, company, or any other
               party, any information which is directly or indirectly related to the other party that it (or
               its directors, officers, employees, agents, and contractors) receives in any form
               (including, but not limited to, written, oral, or contained on video tapes, audio tapes or
               computer diskettes) as a result of performing obligations under this Agreement, or of
               which it is otherwise aware. The parties (and their directors, officers, employees,
               agents, and contractors) also agree not to disclose, except to each other, any
               proprietary information, professional secrets or other information obtained in any form
               (including, but not limited to, written, oral, or contained on video tapes, audio tapes or
               computer diskettes) during the course of carrying out the responsibilities under this
               Agreement, unless the disclosing party receives prior written authorization to do so
               from the other party or as authorized by law.
        B.     The parties agree that their obligations and representations regarding confidential and
               proprietary information (including the continued confidentiality of information
               transmitted orally), shall be in effect during the term of this Agreement and shall survive
               the expiration or termination (regardless of the cause of termination) of this Agreement.

    XIV.      TERM AND TERMINATION

        A.     TERM. This Agreement begins on November 29, 2018 and shall be automatically
               and successively renewed and extended for one year periods from and after the
               expiration date unless either party provides written notice of termination to the other
               sixty (60) days in advance of termination. Renewal is subject to “BCHF’s”
   10


                                                                                                    EXHIBIT M
                                                                                                    PAGE 472
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3916 Page 473 of 734
                                      735


               determination that “Dentist” performed satisfactorily and successful re-negotiation by
               the parties of key terms, as applicable.

          B.   TERMINATION WITHOUT CAUSE. Either “Dentist” or “BCHF” may terminate this
               agreement, for any reason, at any time upon sixty (60) days written notice.

          C.   TERMINATION FOR CONVENIENCE. This Agreement may be terminated at any
               time upon the mutual agreement of the parties.

          D.   TERMINATION FOR BREACH. This Agreement may be terminated by either party
               upon written notice to the other party of such other party's material breach of any
               term of this Agreement, subject to a sixty (60) day opportunity to cure and failure to
               cure by the end of the sixty (60) day period.

          E.   IMMEDIATE TERMINATION. In addition, “BCHF” may terminate this Agreement
               immediately upon written notice to “Dentist” of: (1) “Dentist's” violation of, or inability
               to comply with, his or her obligations set forth in this Agreement; or (2) the good faith
               determination of “BCHF” that the health, welfare and/or safety of Participating
               Patients receiving care from “Dentist” is or will be jeopardized by the continuation of
               this Agreement.
          F.   SURVIVAL. Upon termination, the rights and obligations of the “Dentist” and “BCHF”
               under this Agreement will terminate, except as otherwise noted in this Agreement.
               Termination, however, will not release “Dentist” from his or her obligation to complete
               any multi-step dental treatment which “Dentist” began prior to the effective date of the
               termination, provided that such termination did not result from a determination by
               “BCHF” that the health, welfare and/or safety of Participating Patients would be
               jeopardized by continuing this Agreement. “Dentist” is not obligated to provide any
               other services. Termination of this Agreement does not release “BCHF” from its
               obligation to reimburse “Dentist” for any dental services provided on or before the
               effective date of the termination.

    XV.        GENERAL PROVISIONS

          A.   AMENDMENT/MODIFICATION. This Agreement may be amended or modified
               from time to time upon the mutual written agreement of the parties. Any amendment
               or modification shall not affect the remaining provisions of the Agreement and,
               except for the specific provision amended or modified, this Agreement shall remain
               in full force and effect as originally executed. Amendments will take effect upon the
               date of execution of both parties.

          B.   ASSIGNMENT. This Agreement may not be assigned, delegated, or transferred by
               either party without the express written consent and authorization of the other party,
               provided prior to such action.

          C.   EFFECT OF WAIVER. A party to this Agreement may waive the other party's
               breach of a provision of this Agreement, but such a waiver does not constitute a
               waiver of any future breaches.

          D. EFFECT OF INVALIDITY. The invalidity or unenforceability of any provision of this
             Agreement in no way affects the validly or enforceability of any other provision, unless

   11


                                                                                                    EXHIBIT M
                                                                                                    PAGE 473
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3917 Page 474 of 734
                                      735




        12/06/2018




                                                                       EXHIBIT M
                                                                       PAGE 474
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3918 Page 475 of 734
                                      735



                                            Addendum “A”
                                           Scope of Services

   “Dentist” will provide services for Participating Patients with the following insurance:

   Medi-Cal Recipients
   Sliding Fee approved patients

   The “Dentist” must follow all Denti-Cal rules and regulations in regards to maximum allowances
   and procedure limitations for patients eligible for Medi-Cal. These are outlined in Section 5 of
   the Provider Manual under “Maximum Allowances”. Limitations of commercial contracts will be
   provided by “BCHF”

   Exams (New, recall and limited)
   X-rays
   Fluoride Application
   Prophylaxis
   Periodontal scaling and root planning
   Sealants
   Fillings
   Preventive Resin Restoration (PRR) for moderate to high risk caries risk patient permanent
   tooth.
   Extractions
   Stainless Steel Crowns
   Space Maintainers
   Root Canals (prior review required by the “BCHF” Dental Director)
   Crowns (prior review required by the “BCHF” Dental Director)




   13


                                                                                              EXHIBIT M
                                                                                              PAGE 475
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3919 Page 476 of 734
                                      735



                                        Addendum “B”
                                 Compensation of Dental Services
                                      Pediatric Medi-Cal

   Services for Medi-Cal patients will be compensated on a per visit reimbursement rate as outlined
   below. Crowns and root canals are subject to prior review and authorization by the Dental
   Director. If the service is not within the scope of “BCHF” the “Dentist” may bill this service
   directly to the payor as a private patient.

   Description      CDT Codes                Number of      Special              Rate
                    (Denti-Cal rules         Visits         Consideration
                    apply)
   Routine Exam and D0120 in combo           1              Refer to Denti-Cal   $110 per
   X-rays           with                                    manual.
                    D0210, D0220,
                    D0230, D0272,
                    D0274, D0330
   Comprehensive    D0150 in combo           1              Refer to Denti-Cal   $130 per
   Exam and X-rays with                                     manual.
                    D0210, D0220,
                    D0230, D0272,
                    D0274, D0330
   Routine Exam     D0120 in                 1              Refer to Denti-Cal   $140 per
   and X-rays with  combo with                              manual.
   Prophy           D0210,D0220
                    ,
                    D0230,D0272
                    , D0274,
                    D0330 - and
                    D1120 -
                    D1206,
                    D1208
   Comprehensive    D0150 in                 1              Refer to Denti-Cal   $150 per
   Exam and X-rays combo with                               manual.
   with Prophy      D0210,D0220
                    ,
                    D0230,D0272
                    , D0274,
                    D0330 - and
                    D1120 -
                    D1206,
                    D1208
   Problem focused  D9430                    1              For relief of pain   $100
   oral evaluation  D0220, D0230,                           and medication
   only with X-ray  D0270


   Prophylaxis and     D1120 in combo with 1                Must be in           $100 per visit

   14


                                                                                            EXHIBIT M
                                                                                            PAGE 476
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3920 Page 477 of 734
                                      735



   Fluoride             D1206, D1208                combination.
   application
   Sealants or PRR      D1351, D1352    1 or 2      No less than per       $26 per tooth
                                                    quadrant.
   Fillings - Amalgam D2140, D2150,     1 or more   Per quadrant           $120 per visit
                      D2160, D2161

   Fillings – Resin     D2330, D2331,   1 or more   Per quadrant           $150 per visit
   Based Composite      D2332, D2335
   Anterior &           D2391, D2392,
   Posteriors           D2393, D2394
   Prefabricated        D2930, D2931,   1 or more   2 per visit            $200 per visit
   Crowns (Stainless    D2932
   Steel / Resin)
   Space Maintainer     D1510, D1515    2           Unilateral             $175 global
                                                    Bilateral              $280 global
   Extractions -        D7111, D7140    1           Per visit – multiple   $120 per visit
   simple                                           extractions under
                                                    anesthesia are not
                                                    in scope.
   Extractions -        D7210, D7220,   1 or more   Per visit – multiple   $185
   surgical             D7230, D7240                extractions under
                                                    anesthesia are not
                                                    in scope.
   Surgical Removal     D7250           1 or more   Per visit – multiple   $140
   of Roots                                         extractions under
                                                    anesthesia are not
                                                    in scope.
   Biopsy Soft Tissue D7286             1 or more   Per Visit              $45

   Alveoloplasty        D7310           1 or more   Per Visit              $70

   Removal of Torus     D7472           1 or more   Per Visit              $280
   Palatinus

   Removal of Torus     D7473           1 or more   Per Visit              $140
   Mandibulars

   Frenulectomy         D7960           1 or more   Per Visit              $280
   Excision of          D7971           1 or more   Per Visit              $70
   Pericoronal
   Gingiva
   Pulpotomy / Pulpal   D3220, D3221    1           Excludes final         $140 per visit
   Debridement                                      restoration
   Root Canal -         D3310           1 or more   Excludes final         $305 global
   Anterior                                         restoration
   Retreatment of a     D3346           1 or more   All treatments         $305 global
   15


                                                                                      EXHIBIT M
                                                                                      PAGE 477
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3921 Page 478 of 734
                                      735



   Root Canal -                                       must be after 12
   Anterior                                           months of initial
                                                      visit
   Root Canal -        D3320              2 or more   Excludes final       $365 global
   Bicuspid                                           restoration. Open
                                                      & Med and
                                                      Finished RCT
                                                      included in global
                                                      fee.
   Retreatment of a    D3347              1 or more   All treatments       $365 global
   Root Canal -                                       must be after 12
   Bicuspid                                           months of initial
                                                      visit
   Root Canal - Molar D3330               2 or more   Excludes final       $465 global
                                                      restoration
   Retreatment of a   D3348               2 or more   All treatments       $465 global
   Root Canal - Molar                                 must be after 12
                                                      months of initial
                                                      visit
   Apicoectomy         D3410              1           None                 $140 per visit
   Anterior
   Crown               D2751, D2740,      2 or more   Prep and delivery    $475 global
                       D2791                          in global fee.
   Crown Post and      D2952,D2954        1           Payment included     $105
   Core (indirect or                                  in addition to
   pre-fabricated)                                    Crown Delivery
   Recement            D2920              1           None                 $75
   Permanent Crown
   Unspecified         D2999              1           None                 $100
   restorative
   procedure by
   report
   Periodontal         D4341, D4342       1           2 quadrants per      $70 per
   Scaling                                            visit                quadrant
   Periodontal         D4910              1           See Denti-Cal        $140
   Maintenance                                        Guidelines (only
                                                      once a calendar
                                                      quarter, must be
                                                      within 24 months
                                                      of SRP)
   Incision and        D7510, D7520       1           None                 $115
   Drainage of
   Abcess
   Palliative          D9110 in combo with 1          None                 $100 per visit
   Treatment for       D0220, D0230,
   Dental Pain with    D0270
   X-ray
   Inhalation of       D9230              1           Additional           $35
   16


                                                                                      EXHIBIT M
                                                                                      PAGE 478
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3922 Page 479 of 734
                                      735



   Nitrous Oxide                                payment in combo
                                                with other
                                                procedures




   17


                                                                         EXHIBIT M
                                                                         PAGE 479
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3923 Page 480 of 734
                                      735



                                          Addendum "C"
                                         Location of Service

   All dental services under this agreement will be rendered at:

   Aram Arakelyan, DDS

   NPI Number- Individual 1710036181

   Address: 19523 E. Cypress Street                        NPI Number – Organization __________
            Covina, CA 91724
   Phone: (626) 331-4538
   Hours: Tue 10am-7pm
         Thur 10am-7pm
         Fri 10am-7pm

   Address: 10917 Paramount Blvd.                          NPI Number – Organization __________
            Downey, CA 90241
   Phone: (562) 659-7246
   Hours: Mon 10am-7pm
         Wed 10am-7pm
         Fri 10am-7pm
         Sat 10am-7pm

   Copies attached




   18


                                                                                         EXHIBIT M
                                                                                         PAGE 480
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3924 Page 481 of 734
                                      735



                         CONFIDENTIALITY OF STUDENT INFORMATION /
                           PROTECTED HEALTH INFORMATION (PHI)

                           HIPAA BUSINESS ASSOCIATE ADDENDUM

   This Agreement is made effective November 29, 2018 by and between Borrego Health,
   hereinafter referred to as “Covered Entity”, and Aram Arakelyan, DDS hereinafter referred to as
   “Business Associate”, (individually, a “Party” and collectively, the “Parties”).

   RECITALS:

           WHEREAS, Sections 261 through 264 of the federal Health Insurance Portability and
   Accountability Act of 1996, Public Law 104-191, known as “the Administrative Simplification
   provisions,” direct the Department of Health and Human Services to develop standards to
   protect the security, confidentiality and integrity of health information;

          WHEREAS, pursuant to the Administrative Simplification provisions, the Secretary of
   Health and Human Services issued regulations modifying 45 CFR Parts 160 and 164 (the
   “HIPAA Security and Privacy Rule”);

          WHEREAS, the American Recovery and Reinvestment Act of 2009 (Pub. L. 111-5),
   pursuant to Title XIII of Division A and Title IV of Division B, called the “Health Information
   Technology for Economic and Clinical Health” (“HITECH”) Act, provides modifications to the
   HIPAA Security and Privacy Rule (hereinafter, all references to the “HIPAA Security and Privacy
   Rule” are deemed to include all amendments to such rule contained in the HITECH Act and any
   accompanying regulations, and any other subsequently adopted amendments or regulations);

           WHEREAS, the Parties wish to enter into or have entered into an arrangement whereby
           Business Associate will provide certain services to Covered Entity, and, pursuant to such
           arrangement, Business Associate may be considered a “business associate” of Covered
           Entity as defined in the HIPAA Security and Privacy Rule (the agreement evidencing
           such arrangement is entitled Dentist Contract, dated November 29, 2018 and is hereby
           referred to as the “Arrangement Agreement”); and

          WHEREAS, Business Associate may have access to and/or use Protected Health
   Information (as defined below) in fulfilling its responsibilities under such arrangement;

           NOW, THEREFORE, in consideration of the Parties’ continuing obligations under the
   Arrangement Agreement, compliance with the HIPAA Security and Privacy Rule, and for other
   good and valuable consideration, the receipt and sufficiency of which is hereby acknowledged,
   and intending to be legally bound, the Parties agree to the provisions of this Agreement in order
   to address the requirements of the HIPAA Security and Privacy Rule and to protect the interests
   of both Parties.

   I.      DEFINITIONS

        A. Catch-all definition:
           The following terms used in this Agreement shall have the same meaning as those terms
           in the HIPAA Rules: Breach, Data Aggregation, Designated Record Set, Disclosure,
           Health Care Operations, Individual, Minimum Necessary, Notice of Privacy Practices,
           Protected Health Information, Required By Law, Secretary, Security Incident,
   19


                                                                                               EXHIBIT M
                                                                                               PAGE 481
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3925 Page 482 of 734
                                      735


            Subcontractor, Unsecured Protected Health Information, and Use. In the event of an
            inconsistency between the provisions of this Agreement and mandatory provisions of the
            HIPAA Security and Privacy Rule, as amended, the HIPAA Security and Privacy Rule
            shall control. Where provisions of this Agreement are different than those mandated in
            the HIPAA Security and Privacy Rule but are nonetheless permitted by the HIPAA
            Security and Privacy Rule, the provisions of this Agreement shall control.


         B. Specific definitions:


                1.      Business Associate. “Business Associate” shall generally have the same
                        meaning as the term “business associate” at 45 CFR 160.103, and in
                        reference to the party to this agreement, shall mean Aram Arakelyan, DDS.


                2.      Covered Entity. “Covered Entity” shall generally have the same meaning as
                        the term “covered entity” at 45 CFR 160.103, and in reference to the party to
                        this agreement, shall mean Borrego Health.


                3.      HIPAA Rules. “HIPAA Rules” shall mean the Privacy, Security, Breach
                        Notification, and Enforcement Rules at 45 CFR Part 160 and Part 164.


                4.      Protected Health Information. “Protected Health Information (PHI)” shall
                        mean individually identifiable health information including, without limitation,
                        all information, data, documentation, and materials, including without
                        limitation, demographic, medical and financial information, that relates to the
                        past, present, or future physical or mental health or condition of an individual;
                        the provision of health care to an individual; or the past, present, or future
                        payment for the provision of health care to an individual; and that identifies
                        the individual or with respect to which there is a reasonable basis to believe
                        the information can be used to identify the individual. “Protected Health
                        Information” includes without limitation “Electronic Protected Health
                        Information” as defined below.


                5.      Electronic Protected Health Information. “Electronic Protected Health
                        Information” shall mean Protected Health Information which is transmitted by
                        Electronic Media (as defined in the HIPAA Security and Privacy Rule) or
                        maintained in Electronic Media.

   II.       CONFIDENTIALITY AND SECURITY REQUIREMENTS

         A. Business Associate agrees:
               1. Not to use or disclose protected health information other than as permitted or
                  required by the Agreement or as required by law;


   20


                                                                                                  EXHIBIT M
                                                                                                  PAGE 482
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3926 Page 483 of 734
                                      735


               2. To use appropriate safeguards, and comply with Subpart C of 45 CFR Part 164
                  with respect to electronic protected health information, to prevent use or
                  disclosure of protected health information other than as provided for by the
                  Agreement;

               3. To report to covered entity any use or disclosure of protected health information
                  not provided for by the Agreement of which it becomes aware, including
                  breaches of unsecured protected health information as required at 45 CFR
                  164.410, and any security incident of which it becomes aware. Such report shall
                  be made by Business Associate to Covered Entity within twenty-four hours of the
                  time when Business Associate becomes aware of the breach;

               4. In accordance with 45 CFR 164.502(e)(1)(ii) and 164.308(b)(2), if applicable, to
                  ensure that any subcontractors that create, receive, maintain, or transmit
                  protected health information on behalf of the business associate agree to the
                  same restrictions, conditions, and requirements that apply to the business
                  associate with respect to such information;

               5. To make available protected health information in a designated record set to the
                  individual or the individual’s designee” as necessary to satisfy covered entity’s
                  obligations under 45 CFR 164.524;

               6. To make any amendment(s) to protected health information in a designated
                  record set as directed or agreed to by the covered entity pursuant to 45 CFR
                  164.526, or take other measures as necessary to satisfy covered entity’s
                  obligations under 45 CFR 164.526;

               7. To maintain and make available the information required to provide an
                  accounting of disclosures to the individual as necessary to satisfy covered
                  entity’s obligations under 45 CFR 164.528;

               8. To the extent the business associate is to carry out one or more of covered
                  entity's obligation(s) under Subpart E of 45 CFR Part 164, to comply with the
                  requirements of Subpart E that apply to the covered entity in the performance of
                  such obligation(s); and

               9. To make its internal practices, books, and records available to the Secretary for
                  purposes of determining compliance with the HIPAA Rules.

               10. Business Associate acknowledges and agrees that all Protected Health
                   Information that is created or received by Covered Entity and disclosed or made
                   available in any form, including paper record, oral communication, audio
                   recording, and electronic display by Covered Entity or its operating units to
                   Business Associate or is created or received by Business Associate on Covered
                   Entity’s behalf shall be subject to this Agreement.

        B. Notwithstanding the prohibitions set forth in this Agreement, Business Associate may
           use and disclose Protected Health Information as follows:



   21


                                                                                                EXHIBIT M
                                                                                                PAGE 483
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3927 Page 484 of 734
                                      735


               1. As necessary to perform the services set forth in the underlying Service
                  Agreement; and/or

               2. As required by law.

               3. Business Associate agrees to make uses and disclosures and requests for
                  protected health information consistent with Covered Entity’s minimum necessary
                  policies and procedures.

               4. Business Associate may not use or disclose PHI in a manner that would violate
                  Subpart E of 45 CFR Part 164 if done by covered entity.


               5. Business associate may not use or disclose protected health information in a
                  manner that would violate Subpart E of 45 CFR Part 164 if done by covered
                  entity.


               6. Business associate may use protected health information for the proper
                  management and administration of the business associate or to carry out the
                  legal responsibilities of the business associate.


               7. Business associate may disclose protected health information for the proper
                  management and administration of business associate or to carry out the legal
                  responsibilities of the business associate, provided the disclosures are required
                  by law, or business associate obtains reasonable assurances from the person to
                  whom the information is disclosed that the information will remain confidential
                  and used or further disclosed only as required by law or for the purposes for
                  which it was disclosed to the person, and the person notifies business associate
                  of any instances of which it is aware in which the confidentiality of the information
                  has been breached.


               8. Business associate may provide data aggregation services relating to the health
                  care operations of the covered entity.


        C. Business Associate will implement appropriate safeguards to prevent use or disclosure
           of Protected Health Information other than as permitted in this Agreement. Business
           Associate will implement administrative, physical, and technical safeguards that
           reasonably and appropriately protect the confidentiality, integrity, and availability of any
           Electronic Protected Health Information that it creates, receives, maintains, or transmits
           on behalf of Covered Entity as required by the HIPAA Security and Privacy Rule.

        D. The Secretary of Health and Human Services shall have the right to audit Business
           Associate’s records and practices related to use and disclosure of Protected Health
           Information to ensure Covered Entity’s compliance with the terms of the HIPAA Security
           and Privacy Rule.

   22


                                                                                                 EXHIBIT M
                                                                                                 PAGE 484
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3928 Page 485 of 734
                                      735


          E. Business Associate shall report to Covered Entity any use or disclosure of Protected
             Health Information which is not in compliance with the terms of this Agreement of which
             it becomes aware. Business Associate shall report to Covered Entity any Security
             Incident of which it becomes aware. Such report shall be made within twenty-four hours
             of the date and time upon which Business Associate becomes aware of the unauthorized
             use or disclosure and/or Security Incident.

             For purposes of this Agreement, “Security Incident” means the attempted or successful
             unauthorized access, use, disclosure, modification, or destruction of information or
             interference with system operations in an information system. In addition, Business
             Associate agrees to mitigate, to the extent practicable, any harmful effect that is known
             to Business Associate of a use or disclosure of Protected Health Information by
             Business Associate in violation of the requirements of this Agreement.


   III.      AVAILABILITY OF PHI
          A. Business Associate agrees to comply with any requests for restrictions on certain
             disclosures of Protected Health Information pursuant to Section 164.522 of the HIPAA
             Security and Privacy Rule to which Covered Entity has agreed and of which Business
             Associate is notified by Covered Entity. Business Associate agrees to make available
             Protected Health Information to the extent and in the manner required by Section
             164.524 of the HIPAA Security and Privacy Rule. If Business Associate maintains
             Protected Health Information electronically, it agrees to make such Protected Health
             Information electronically available to the applicable individual. Business Associate
             agrees to make Protected Health Information available for amendment and incorporate
             any amendments to Protected Health Information in accordance with the requirements of
             Section 164.526 of the HIPAA Security and Privacy Rule. In addition, Business
             Associate agrees to make Protected Health Information available for purposes of
             accounting of disclosures, as required by Section 164.528 of the HIPAA Security and
             Privacy Rule and Section 13405(c)(3) of the HITECH Act. Business Associate and
             Covered Entity shall cooperate in providing any accounting required on a timely basis.
   IV.       TERM/TERMINATION
          A. Term. The Term of this Agreement shall be effective as of the date first listed above and
             shall continue in effect concurrently with the term of the Arrangement Agreement.

          B. Termination. Notwithstanding anything in this Agreement to the contrary, Covered Entity
             shall have the right to terminate this Agreement and the Arrangement Agreement
             immediately if Covered Entity determines that Business Associate has violated any
             material term of this Agreement. If Covered Entity reasonably believes that Business
             Associate will violate a material term of this Agreement and, where practicable, Covered
             Entity gives written notice to Business Associate of such belief within a reasonable time
             after forming such belief, and Business Associate fails to provide adequate written
             assurances to Covered Entity that it will not breach the cited term of this Agreement
             within a reasonable period of time given the specific circumstances, but in any event,
             before the threatened breach is to occur, then Covered Entity shall have the right to
             terminate this Agreement and the Arrangement Agreement immediately. Covered Entity
             may seek injunctive relief and/or any other available remedy to prevent a breach of this


   23


                                                                                                 EXHIBIT M
                                                                                                 PAGE 485
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3929 Page 486 of 734
                                      735


           Agreement.

        C. Obligations of Business Associate Upon Termination. Upon termination of this
           Agreement for any reason, business associate shall return to covered entity all protected
           health information received from covered entity, or created, maintained, or received by
           business associate on behalf of covered entity, that the business associate still
           maintains in any form. Business associate shall retain no copies of the protected health
           information.


        D. Survival. The obligations of business associate under this Section shall survive the
           termination of this Agreement.

   V.      MISCELLANEOUS
        A. Third Parties; Survival. Except as expressly stated herein or the HIPAA Security and
           Privacy Rule, the Parties to this Agreement do not intend to create any rights in any third
           parties. The obligations of Business Associate under this Section shall survive the
           expiration, termination, or cancellation of this Agreement, the Arrangement Agreement
           and/or the business relationship of the Parties, and shall continue to bind Business
           Associate, its agents, employees, contractors, successors, and assigns as set forth
           herein.

        B. Amendment; Independent Parties. This Agreement may be amended or modified only in
           a writing signed by the Parties. No Party may assign its respective rights and obligations
           under this Agreement without the prior written consent of the other Party. None of the
           provisions of this Agreement are intended to create, nor will they be deemed to create
           any relationship between the Parties other than that of independent parties contracting
           with each other solely for the purposes of effecting the provisions of this Agreement and
           any other agreements between the Parties evidencing their business relationship. This
           Agreement will be governed by the laws of the State of California. No change, waiver or
           discharge of any liability or obligation hereunder on any one or more occasions shall be
           deemed a waiver of performance of any continuing or other obligation, or shall prohibit
           enforcement of any obligation, on any other occasion.
        C. Minimum Requirements. The Parties agree that, in the event that any documentation of
           the arrangement pursuant to which Business Associate provides services to Covered
           Entity contains provisions relating to the use or disclosure of Protected Health
           Information which are more restrictive than the provisions of this Agreement, the
           provisions of the more restrictive documentation will control. The provisions of this
           Agreement are intended to establish the minimum requirements regarding Business
           Associate’s use and disclosure of Protected Health Information.
        D. Severability. In the event that any provision of this Agreement is held by a court of
           competent jurisdiction to be invalid or unenforceable, the remainder of the provisions of
           this Agreement will remain in full force and effect. In addition, in the event a Party
           believes in good faith that any provision of this Agreement fails to comply with the
           then-current requirements of the HIPAA Security and Privacy Rule, including any
           then-current requirements of the HITECH Act or its regulations, such Party shall notify
           the other Party in writing. For a period of up to thirty days, the Parties shall address in
           good faith such concern and amend the terms of this Agreement, if necessary to bring it
           into compliance. If, after such thirty-day period, the Agreement fails to comply with the
   24


                                                                                                EXHIBIT M
                                                                                                PAGE 486
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3930 Page 487 of 734
                                      735




     12/06/2018




                                                                       EXHIBIT M
                                                                       PAGE 487
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3931 Page 488 of 734
                                      735




   12/06/2018




                                                                       EXHIBIT M
                                                                       PAGE 488
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3932 Page 489 of 734
                                      735




                                           Addendum “E"
                             COMPENSATION OF DENTAL SERVICES
                                     ADULT MEDI-CAL

   Services for Adults with current full scope Medi-Cal eligibility will be compensated on a per visit
   reimbursement rate as outlined below. Crowns and root canals are subject to prior review and
   approval by the Dental Director. If the service is not within the scope of “BCHF” the “Dentist”
   may bill this service directly to the payer as a private patient.

   Description          Codes                  Number of       Special              Rate
                        (Denti-Cal rules       Visits          Consideration
                        apply)


   Routine Exam and D0120 in combo             1               Refer to Denti-Cal   $110 per visit
   X-rays           with                                       manual.
                    D0210, D0220,
                    D0230, D0272,
                    D0274, D0330
   Comprehensive    D0150 in combo             1               Refer to Denti-Cal   $130 per visit
   Exam and X-rays with                                        manual.
                    D0210, D0220,
                    D0230, D0272,
                    D0274, D0330
   Routine Exam     D0120 in                   1               Refer to Denti-Cal   $140 per visit
   and X-rays with  combo with                                 manual.
   Prophy           D0210,D0220
                    ,
                    D0230,D0272
                    , D0274,
                    D0330 - and
                    D1110
   Comprehensive    D0150 in                   1               Refer to Denti-Cal   $150 per visit
   Exam and X-rays combo with                                  manual.
   with Prophy      D0210,D0220
                    ,
                    D0230,D0272
                    , D0274,
                    D0330 - and
                    D1110
   Problem focused  D9430                      1               For relief of pain   $100
   oral evaluation  D0220, D0230,                              and medication
   only with X-ray  D0270

   Prophylaxis and      D1110 in combo with 1                  Must be in           $110 per visit
   Fluoride             D1206, D1208                           combination.
   27


                                                                                               EXHIBIT M
                                                                                               PAGE 489
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3933 Page 490 of 734
                                      735



   application
   Fillings - Amalgam D2140, D2150,    1 or more   Treatment to be        $120 per visit
                      D2160, D2161                 completed per
                                                   quadrant, unless
                                                   documented
   Fillings – Resin    D2330, D2331,   1 or more   Treatment to be        $150 per visit
   Based Composite     D2332, D2335                completed per
   Anterior &          D2391, D2392,               quadrant, unless
   Posteriors          D2393, D2394                documented
   Prefabricated       D2931, D2932    1 or more   2 per visit            $200 per visit
   Crowns (Stainless
   Steel / Resin)
   Extractions -       D7111, D7140    1 or more   Per visit – multiple   $120 per visit
   simple                                          extractions under
                                                   anesthesia are not
                                                   in scope.
   Extractions -       D7210, D7220,   1 or more   Per visit – multiple   $185
   surgical            D7230, D7240                extractions under
                                                   anesthesia are not
                                                   in scope.
   Surgical Removal    D7250           1 or more   Per visit – multiple   $140
   of Roots                                        extractions under
                                                   anesthesia are not
                                                   in scope.
   Biopsy Soft Tissue D7286            1 or more   Per Visit              $45

   Alveoloplasty       D7310           1 or more   Per Visit              $70

   Removal of Torus    D7472           1 or more   Per Visit              $280
   Palatinus

   Removal of Torus    D7473           1 or more   Per Visit              $140
   Mandibulars

   Frenulectomy        D7960           1 or more   Per Visit              $280

   Excision of         D7971           1 or more   Per Visit              $70
   Pericoronal
   Gingiva
   Pulpal              D3221           1           Excludes final         $140 per visit
   Debridement                                     restoration
   Root Canal -        D3310           1 or more   Excludes final         $305 global
   Anterior                                        restoration. Open
                                                   & Med and
                                                   Finished RCT
                                                   included in global
                                                   fee.

   28


                                                                                     EXHIBIT M
                                                                                     PAGE 490
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3934 Page 491 of 734
                                      735



   Retreatment of a    D3346           1 or more   All treatments       $305 global
   Root Canal -                                    must be after 12
   Anterior                                        months of initial
                                                   visit

   Root Canal -        D3320           2 or more   Excludes final       $365 global
   Bicuspid                                        restoration. Open
                                                   & Med and
                                                   Finished RCT
                                                   included in global
                                                   fee.
   Retreatment of a    D3347           1 or more   All treatments       $365 global
   Root Canal -                                    must be after 12
   Bicuspid                                        months of initial
                                                   visit
   Root Canal - Molar D3330            2 or more   Excludes final       $465 global
                                                   restoration. Open
                                                   & Med and
                                                   Finished RCT
                                                   included in global
                                                   fee.
   Retreatment of a   D3348            2 or more   All treatments       $465 global
   Root Canal - Molar                              must be after 12
                                                   months of initial
                                                   visit
   Apicoectomy         D3410           1           None                 $140 per visit
   Anterior
   Crown               D2751, D2740,   2 or more   Prep and delivery    $475 global
                       D2791                       in global fee.
   Crown Post and      D2952,D2954     1           Payment included     $105
   Core (indirect or                               in addition to
   pre-fabricated)                                 Crown Delivery
   Recement            D2920           1           All treatments       $75
   Permanent Crown                                 must be after 12
                                                   months of initial
                                                   visit
   Unspecified         D2999           1           None                 $100
   restorative
   procedure by
   report
   Periodontal         D4341, D4342    1           2 quadrants per      $70 per
   Scaling                                         visit                quadrant
   Periodontal         D4910           1           See Denti-Cal        $140
   Maintenance                                     Guidelines (only
                                                   once a calendar
                                                   quarter, must be
                                                   within 24 months
                                                   of SRP)

   29


                                                                                   EXHIBIT M
                                                                                   PAGE 491
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3935 Page 492 of 734
                                      735



   Gingivectomy or      D4211              1           1 to 3 teeth, per   $110
   Gingivoplasty                                       quadrant
   Incision and         D7510, D7520       1           None                $115
   Drainage of
   Abscess
   Dentures (Includes   D5110, D5120       6 or more   Maxillary and       $635 each
   first 2                                             Mandibular          denture –
   adjustments)                                                            global
   Removable Partial    D5213, D5214       6 or more   Maxillary and       $660 each
   – Cast Metal                                        Mandibular          partial – global
   (Includes first 2
   adjustments)
   Removable Partial    D5211, D5212       3 or more   Maxillary and       $360 each
   – Resin Based                                       Mandibular          partial - global
   Repairs              D5510, D5520       1 or more   Maxillary and       $110 each visit
                        D5610, D5640                   Mandibular
                        D5650, D5660
   Repair Cast          D5620              1           None                $325 per visit
   Framework
   Repair/Replace       D5630              1           None                $140 per visit
   Broke Clasp
   Adjustments only     D5410, D5411       1           Maxillary and       $70 per visit
   (not following       D5421, D5422                   Mandibular
   delivery)
   Reline (in office)   D5730, D5731       1           Maxillary and       $120 per visit
                        D5740, D5741                   Mandibular

   Reline               D5750, D5751       2 or more   Maxillary and       $225 - global
   (Laboratory)         D5760, D5761                   Mandibular
   Tissue               D5850, D5851       1           Maxillary and       $120 per visit
   Conditioning                                        Mandibular

   Palliative           D9110 in combo with 1          None                $100 per visit
   Treatment for        D0220, D0230,
   Dental Pain with     D0270
   X-ray




   30


                                                                                      EXHIBIT M
                                                                                      PAGE 492
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3936 Page 493 of 734
                                      735



                                           Addendum “F”
                                    DENTAL SLIDING FEE SCALE
                                      SUMMARY OF BENEFITS

   As a Federally Qualified Health Center (FQHC), Borrego Community Health Foundation (BCHF)
   is required to provide a sliding fee scale program for patients living at or below 200% of the
   Federal Poverty Level (FPL). Services must be provided despite a patient’s inability to pay.
   Ability to pay is determined through an eligibility process in which the applicant provides proof of
   income and family size.
   As a contract dental partner of BCHF, you are required to extend the sliding fee scale program
   to your practice.

   Benefits:

   The sliding fee scale is a limited benefit program that provides discounted rates for services
   rendered within the dental practice of the organization and contracted sites only. It does not
   extend to services rendered by specialists to whom the clinic may refer the patient for additional
   care. The scope of benefits is limited to services as outlined in the current Denti-Cal Provider
   Handbook - Manual of Criteria (Section 5).

   The program includes:

       Exam and X-rays
       Cleaning
       Fluoride Application
       Fillings
       Extractions (Limited to scope of General Dentistry)
       Root Canals (Limited to scope of General Dentistry)
       Crowns (Limited to non-precious metal)
       Dentures ($150 co-payment)
       Bridges (co-payment 50% of cost)

   Eligibility:

   The application process and eligibility determination is outlined in the BCHF Sliding Fee Policy
   and Procedure, which is amended from time to time to reflect current FPL (revised on an annual
   basis and published April 1.

   Information regarding the Sliding Fee program will be made available in your office for cash
   patients that may desire to apply. Application assistance and eligibility determination will be
   conducted by BCHF staff upon referral from your office. Your office may be required to provide
   limited assistance (e.g. emailing an application or referring the applicant to one of our local
   clinics for assistance). Uninsured applicants will receive information about other program
   eligibility including Medi-Cal and/or Covered California and assisted with applying for these
   programs if deemed eligible.

   Patients with family income at or below 100% of Federal Poverty Level (FPL) will pay a nominal
   31


                                                                                                EXHIBIT M
                                                                                                PAGE 493
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3937 Page 494 of 734
                                      735




    12/06/2018




                                                                       EXHIBIT M
                                                                       PAGE 494
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3938 Page 495 of 734
                                      735


                              AGREEMENT BETWEEN
        RESEDA DENTAL OFFICE OF ARAM YELIAZYAN AND ARAM ARAKELYAN, INC.
                                      AND
                    BORREGO COMMUNITY HEALTH FOUNDATION
                                      FOR
                                DENTAL SERVICES

          THIS DENTAL SERVICES AGREEMENT ("Agreement") is entered into as of November
   29, 2018 between Borrego Community Health Foundation (“BCHF”) and Reseda Dental Office
   of Aram Yeliazyan and Aram Arakelyan, Inc. ("Dentist"), collectively the “Parties”.

    RECITALS

           WHEREAS, BCHF is a 501 (c) (3) non-profit public benefit corporation, organized under
   the laws of the State of California and is licensed to operate Federally Qualified Community Health
   Centers (FQHC). BCHF operates clinics throughout San Diego, San Bernardino, and Riverside
   Counties. The clinics provide comprehensive primary and specialty care according to the scope
   of services as approved by the Bureau of Primary Health Care (“BPHC”) within the United States
   Department of Health and Human Services (“DHHS”). The approved scope includes performance
   of primary dental services; and

          WHEREAS, “BCHF” desires to increase access to dental services for pediatric,
   adolescent and adult patients of the FQHC by entering into agreements with qualified Dentists to
   provide primary dental services for the FQHC.

           WHEREAS, “Dentist” is duly licensed to provide dental services within the State of
   California and meets credentials required by “BCHF” to perform such services and is not the
   subject of any Medicaid/Medicare related actions, suspensions, exclusions or debarments that
   would disqualify him or her from providing services under this Agreement. The “Dentist” provides
   the desired scope of services that meet the FQHC criteria; and

           WHEREAS, “Dentist” operates and administers a private practice in Reseda, California
   within “BCHF’s” service area and agrees to provide primary dental services to patients on behalf
   of “BCHF” by entering into agreement to deliver such services in a professional manner to “BCHF”
   patients. (Refer to Addendum “C” for dental office address and contact information.)

   AGREEMENT

          NOW, THEREFORE, in consideration of the covenants and agreements herein contained,
   and other good and valuable consideration, the “Parties” hereto mutually agree as follows:
    I.    DEFINITIONS

       A.   PARTICIPATING PATIENTS. A "Participating Patient" who is eligible to receive
            dental services under this Agreement is defined as any individual residing in
            FQHC’s federally-approved service area and who is a patient of the FQHC
            operated by “BCHF”.

       B.   SCOPE OF SERVICES. Those services approved by the Health Resource and
            Service Administration (HRSA) as Required and Additional Services that are
            authorized to be rendered by BCHF to residents of the specified service area.


                                                   1

                                                                                               EXHIBIT M
                                                                                               PAGE 495
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3939 Page 496 of 734
                                      735


    II.        ACKNOWLEDGEMENT
               The “Dentist” agrees to be bound by the terms and conditions of this Agreement
               insofar as said Agreement relates to rights, responsibilities and duties as “Dentist”.
               This Agreement constitutes the entire understanding between the parties hereto
               and no changes, amendments or alterations shall be effective unless agreed to in
               writing by both parties and appended to this Agreement.

   III.        INDEPENDENT RELATIONSHIP
               None of the provisions of this Agreement are intended to create nor shall be
               deemed or construed to create any relationship between “BCHF” and “Dentist” other
               than that of independent entities contracting with each other solely for the purpose
               of effecting the provisions of this Agreement. Neither of the parties hereto nor any
               of their respective employees shall be construed to be the agent, employee or
               representative of the other. This Agreement is entered into at an arm’s length
               negotiated rate reflective of the fair market value.

   IV.         PROFESSIONAL SERVICES

          A.    COVERED SERVICES. Dentist agrees to provide primary care dental services
                described in Addendum “A” and Addendum “D” as “Covered Services”, as required,
                to Participating Patients, in accordance with the attached “Payment Schedule” and as
                further described in Section VIII. “BCHF” is responsible for contacting “Dentist” to
                make initial appointments for Participating Patients. Notwithstanding, “BCHF” is under
                no obligation to utilize “Dentist” to provide dental services to any or all Participating
                Patients who require such services.

          B.    SERVICE AVAILABILITY. “Dentist” shall provide primary dental services during
                hours of operations that are mutually agreed upon and outlined in “Addendum “C”.
                Any changes require prior notification to the “BCHF” Dental Director. “Dentist” will
                maintain adequate facilities within the Service Area to meet the responsibilities of this
                Agreement. Such facilities must meet standards of practice expected of a licensed
                facility. Adequate trained, certified or licensed personnel will be provided quality
                standard of care and not place the health and well-being of the patients in jeopardy.
                “Dentist” will provide a plan of after hour access for phone consultation and triage for
                dental emergencies of established patients.

          C.    DOCUMENTATION AND DESCRIPTION OF SERVICES. “Dentist” agrees to
                establish and maintain dental records that will contain descriptions of any dental
                services provided to Participating Patients, as well as proposed follow-up treatment
                plans for subsequent visits (if any). The descriptions of the services will be made using
                American Dental Association CDT Standard Claims Codes. In the event that such
                records are housed in a location other than the dental office, “BCHF” shall have
                reasonable and timely access to such records. “Dentist” agrees to retain such records
                for a period of at least seven years or to the extent required by applicable laws or
                regulations.

          D.    PRIOR AUTHORIZATION. For dental services needing individual consideration
                or prior approval the “Dentist” must provide such documentation necessary prior
                to rendering such service. In addition to standard requirements of prior approval
                outlined by the Denti-Cal program or other third-party payors, an additional list of


                                                        2

                                                                                                    EXHIBIT M
                                                                                                    PAGE 496
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3940 Page 497 of 734
                                      735


              services requiring prior approval may be provided by “BCHF”. As a satellite of an
              FQHC, Treatment Authorization Requests (TAR) must be fully documented in the
              dental record, but do not require submission to Denti-Cal for prior approval. This
              does not apply to treatment paid directly by Denti-Cal

         E.   AGREEMENT NOT TO CHARGE PATIENTS. The “Parties” agree that all Participating
              Patients receiving services from “Dentist” pursuant to this Agreement shall be
              considered patients of “BCHF”. Accordingly, “BCHF” shall be responsible for the billing
              of such patient services, as applicable, as well as the billing of Federal, State and
              private payors, and the collection and retention of any and all payments. “Dentist”
              agrees not to bill, charge or collect from Participating Patients or payors any amount for
              any dental services provided under this Agreement. If “Dentist” should receive any
              payment from Participating Patients or payors for services provided hereunder,
              “Dentist” agrees to remit such payment to FQHC within ten (10) days of receipt.

         F.   SLIDING FEE. Notwithstanding the aforementioned, “Dentist” recognizes that
              certain Participating Patients may be charged at the time of service, in accordance
              with a fee schedule and, as applicable, schedule of sliding fee discounts established
              by “BCHF” pursuant to 42 C.F.R.§51c.303(f). “Dentist” shall, on behalf of “BCHF”
              and consistent with “BCHF 's” guidelines, schedules and procedures, make every
              reasonable effort to collect fees from eligible Participating Patients at the time
              services are provided to such patients and to remit such payments to “BCHF” within
              ten (10) days of receipt. “BCHF” shall perform the follow-up activities necessary to
              collect patient fees not collected by “Dentist” at the time of service.

         G. NON-DISCRIMINATION. “Dentist” agrees to provide dental services to Participating
            Patients in the same professional manner and pursuant to the same professional
            standards as generally provided by “Dentist” to his or her patients, regardless of an
            individual's or family's ability to pay for services rendered. This section shall not be
            read to prevent “Dentist” from limiting the number of hours and/or days during which
            “Dentist” agrees to see Participating Patients, provided that such limitation shall not
            be based on a Participating Patient's payor source or insurance status. Dentist also
            agrees not to differentiate or discriminate in the provision of services provided to
            Participating Patients on the basis of race, color, religious creed, age, marital status,
            national origin, alienage, sex, blindness, mental or physical disability or sexual
            orientation pursuant to Title 45 of the Code of Federal Regulations, §§ 80.3-80.4, and
            Civil Rights Act of 2007.

    V.        QUALITY OVERSIGHT AND EVALUATION OF SERVICES BY FQHC
         A.   QUALITY OF CARE. “Dentist” shall provide care consistent with prevailing community
              standards for quality of care and in accordance with “BCHF” Section 330 grant and
              applicable grant-related expectations and requirements. Services shall be within the
              scope of practice outlined in Addendum B for primary care dental services. The
              “Dentist” will be subject to standards of quality review as though the care was provided
              by an employed dentist or the organization. Such review will include facility and record
              review in keeping with “BCHF” standards and applicable regulations. “BCHF” will
              communicate in writing any corrective action that must be resolved in a timely manner.

         B.   POLICIES AND PROCEDURES. The “Dentist” will be subject to clinical policies and
              procedures established by “BCHF” regarding the provision of services pursuant to this


                                                     3

                                                                                                  EXHIBIT M
                                                                                                  PAGE 497
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3941 Page 498 of 734
                                      735


               agreement including but not limited to qualifications and credentials, clinical guidelines,
               standards of conduct, quality assurance standards, productivity standards, patient and
               provider grievance and complaint procedures. Such policies and procedures are
               consistent with “BCHF’s” requirements established by the Bureau of Primary Health
               Care (BPHC). “BCHF” will provide “Dentist with such requirements, policies,
               procedures and standards. Notwithstanding, nothing herein is intended to interfere with
               “Dentist’s” professional judgment in connection with the provision of clinical services.

          C.   PATIENT RELATIONSHIP. “Dentist” shall maintain a dentist/patient relationship with
               Participating Patients and shall be solely responsible for dental treatment and advice.
               Notwithstanding, nothing herein is intended to interfere with “Dentist’s” professional
               judgment in connection with the provision of such services.
          D.   AUTHORITY. “BCHF”, through its Executive Director and/or Dental Director or Medical
               Director, shall have and exercise ultimate authority and responsibility for the services
               provided to Participating Patients pursuant to this Agreement, consistent with the
               policies, procedures and standards set forth above. In particular, “BCHF” shall retain
               ultimate authority over the following:

               1. Determination as to whether “Dentist” meets “BCHF’s” qualifications and
                  credentials, consistent with BCHF standards.

               2. Interpretation of “BCHF’s” policies and procedures, clinical guidelines, quality
                  assurance standards, productivity standards, standards of conduct and
                  provider and patient grievance and complaint resolution procedures, and their
                  applicability to “Dentist”.
               3. Determination with respect to whether “Dentist” is performing satisfactorily and
                  consistent with “BCHF’s” policies, procedures and standards.

               4. The Executive Director and/or Medical Director have the authority to terminate
                  this agreement in accordance with Section XIV below.

      E.       NOTIFICATION. “Dentist” shall, as soon as reasonably practicable, notify “BCHF” of
               any action, event, claim, proceeding, or investigation (including, but not limited to, any
               report made to the National Practitioner Data Bank) that could result in the revocation,
               termination, suspension, limitation or restriction of “Dentist's” licensure, certification, or
               qualification to provide such services. “BCHF” may suspend this Agreement, until such
               time as a final determination has been made with respect to the applicable action, event,
               claim, proceeding, or investigation.

    VI.        NO OBLIGATION TO REFER AND NON-SOLICITATION OF PATIENTS

          A.   It is specifically agreed and understood between the parties that nothing in this
               Agreement is intended to require, nor requires, nor provides payment or benefit of any
               kind (directly or indirectly), for the referral of individuals or business to either party by
               the other party.

          B.   “Dentist” agrees that during the term of this Agreement, he or she shall not, directly
               or indirectly, solicit or attempt to solicit or treat, for his or her own account or for
               the account of any other person or entity, any patient of “BCHF.” This non-
               solicitation clause shall survive termination of this Agreement for a period of two

                                                        4

                                                                                                      EXHIBIT M
                                                                                                      PAGE 498
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3942 Page 499 of 734
                                      735


                 (2) years following termination, however such termination is affected.

           C.    “Dentist” shall not cause any entity or individual he or she is employed by or with
                 whom he or she is professionally associated to, directly or indirectly, solicit or
                 attempt to solicit for his or her own account or for the account of any other person
                 or entity, any patient of “BCHF” for whom “Dentist” provided care during the term of
                 the Agreement. For purposes of this paragraph, a "patient of BCHF" shall mean
                 any patient seen or treated by “BCHF” (whether by its employees or independent
                 contractors) during the one (1) year period immediately preceding the termination
                 or expiration of this Agreement, including, but not limited to, those patients treated
                 by Dentist hereunder.

    VII.        CONTRACTS WITH OTHERS

                This contract is non-exclusive. “BCHF" retains the authority to contract with other dentists
                or dental practices, if, and to the extent that, “BCHF” reasonably determines that such
                contracts are necessary in order to implement “BCHF” policies and procedures, or as
                otherwise may be necessary to assure appropriate collaboration with other local
                providers (as required by Section 330 (k)(3) (B)), to enhance patient freedom of choice,
                and/or to enhance accessibility, availability, quality and comprehensiveness of care.

    VIII.       COMPENSATION

           A.    FEE SCHEDULE. “Dentist” will be compensated for providing dental services under
                  this Agreement in accordance with the attached Payment Schedule Addendum “B”.

           B.    ENCOUNTER SUBMISSION. Dentist will complete a superbill for every visit. The
                 superbills will be batched and submitted on a daily basis along with the patient
                 demographic information and a copy of the visit documentation. Adequate supporting
                 documentation must be made available to ensure that “BCHF” will be able to collect for
                 services rendered and not place the organization in jeopardy of false claims.

           C.    TIMING OF PAYMENT. Payment will be made on claims that are paid to “BCHF” by
                 third party payors. The payment will be processed within 35 days of receipt of a
                 superbill and adequate supporting documentation for each visit. Payment will be made
                 on a weekly basis to the “Dentist” with a detailed explanation of reimbursement. Both
                 Dentist and BCHF will be responsible for maintaining records of transactions to avoid
                 duplication of reimbursement and resolve outstanding balances.

    IX.         CASE MANAGEMENT
           A.    AGREEMENT TO PROVIDE DESIGNATED NUMBER OF SERVICES. “Dentist”
                 agrees to provide services for the “BCHF” patients for a minimum of ten (10) visits a
                 week and to be available at minimum three days a week during standard business
                 hours. “Dentist” will communicate with BCHF management as to appointment
                 availability so that adjustments can be made to accommodate the identified need. The
                 “Dentist” reserves the right to fill these appointments if there are an insufficient number
                 of referrals from “BCHF”. “Dentist” will provide occasional after hour sessions to
                 provide expanded availability. These sessions may include weekend clinics or after
                 5:00 p.m. schedules. “Dentist” will accommodate dental emergencies as necessary.



                                                          5

                                                                                                      EXHIBIT M
                                                                                                      PAGE 499
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3943 Page 500 of 734
                                      735


         B.   VERIFICATION OF PATIENT STATUS.                 “BCHF” will verify each Participating
              Patient's status as a “BCHF” patient on the day on which an appointment is made for
              such patient with Dentist. “Dentist” will verify information regarding the patient's
              status as a “BCHF” patient on the date of service or otherwise mutually agreed upon
              method verification presenting to the “Dentist”. If it is determined that the Participating
              Patient is not a “BCHF” patient on the date of service, “BCHF”, in consultation with
              Dentist, will decide whether or not to authorize “Dentist” to proceed with treatment. If
              “BCHF” authorizes “Dentist” to proceed with treatment, “BCHF” will be responsible for
              payment for the services provided by the “Dentist” according to the compensation
              provisions in this Agreement.

         C.   REPORTING AND INVESTIGATION OF PATIENT COMPLAINTS/GRIEVANCES.
              The “Dentist” will cooperate fully with “BCHF” in the investigation of Participating
              Patient complaints and grievances by providing information necessary for review and
              resolution of such. The information will be made available in a timely manner
              according to established policies and procedures. “Dentist” will collaborate in the
              resolution of identified opportunities for improvement without retaliation against the
              Participating Patient and in keeping with the wellbeing of such.

         D.   REFUSAL TO PROVIDE SERVICES. The “Dentist” has the right to request
              termination of services for Participating Patients who behave in a disruptive manner
              or are grossly discourteous towards “Dentist”, “Dentist’s” employees or other
              patients. “Dentist” must promptly report all such instances to “BCHF”, who will notify
              the Participating Patient that, unless the Participating Patient corrects such behavior
              immediately, he or she will no longer be eligible to receive dental services from the
              “Dentist”. In the event of non-resolution or if the circumstances are severe in nature,
              “Dentist” will have no obligation to provide further services for the Participating
              Patient.

         E.   REFERRAL FOR SPECIALTY SERVICES. “Dentist” will provide services within
              the approved scope for “BCHF” to Participating Patients and as outlined in
              Addendum “A” that are within the “Dentist's” knowledge, skill and training. “Dentist”
              will inform “BCHF” as soon as practical when Participating Patients require specialty
              referral and/or services beyond the “Dentist” and “BCHF” scope of services.
              Participating Patients will be provided information as to available specialists that are
              available in the community for such care. “BCHF” maintains Care Coordination
              Specialists that may assist with healthcare coverage information and application.

    X.        LEGAL

         A. LICENSURE, CERTIFICATION AND OTHER QUALIFICATION. Dentist will provide
            “BCHF” with evidence of current licensure within the State of California as well as any
            other certification or qualification necessary to provide the services specified prior to
            entering into this Agreement, and annually upon request of “BCHF.” Dentist will maintain
            unrestricted licensure and/or certification and qualification as a Medi-Cal and, as
            applicable, Medicare participating provider during the term of this Agreement. “Dentist”
            agrees to have such additional qualifications and credentials as “BCHF” may reasonably
            require for “Dentist” to provide services, including but not limited to Basic Life Support
            (BLS), DEA number and others pursuant to this Agreement and shall maintain such
            qualifications and credentials during the term of this Agreement. The same requirements
            apply to “Dentist” employees and staff. No patients are to be treated by “Dentist” or other

                                                       6

                                                                                                    EXHIBIT M
                                                                                                    PAGE 500
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3944 Page 501 of 734
                                      735


             support staff who have not provided proper licensing and certification. Only the qualified
             of provider authorized by “BCHF” guidelines are allowed to render such services.

          B. COMPLIANCE WITH THE LAW. “Dentist” will practice in accordance with the all
             Federal, State and local laws, regulations, and generally accepted principles
             applicable to the practice of dentistry. Failure to comply with this provision is
             grounds for immediate termination under Section XIV of this Agreement.

          C. MISREPRESENTATION. “Dentist” acknowledges and agrees that willful
             misrepresentation of the type, frequency, reasonableness and/or necessity of dental
             services provided to Participating Patients may constitute a fraudulent act and may be
             referred by “BCHF” to the applicable Federal or State regulatory agency and will be
             cause for immediate termination under XIV of this Agreement.
          D. COMPLIANCE WITH OTHER LAWS. In connection with the provision of services
             pursuant to this Agreement, “Dentist” agrees to the following requirements, to the
             extent that such requirements are applicable:

             1. To comply with the Civil Rights Act of 1964 and all other Federal, State or local
                laws, rules and orders prohibiting discrimination, as well as Executive Order 11246,
                entitled "Equal Employment Opportunity," as amended by Executive Order 11375,
                and as supplemented by U.S. Department of Labor regulations at 41 C.F. R. Part
                60;

             2. To make positive efforts to utilize small businesses, minority-owned firms and
                women's business enterprises in connection with the work performed
                hereunder, whenever possible;

             3. To comply with all applicable standards, orders, and regulations issued pursuant to
                the Clean Air Act of 1970 (42 U.S.C. §7401 et. seq.) and the Federal Water Pollution
                Control Act (33 U.S.C. § 1251 et seq.), as amended;

             4. To comply with the certification and disclosure requirements of the Byrd Anti-
                Lobbying Amendment (31 U.S.C. § 1352), and any applicable implementing
                regulations, as may be applicable; and

             5. To certify that neither it, nor any of its principal employees, has been debarred or
                suspended from participation in federally-funded contracts, in accordance with
                Executive Order 12549 and Executive Order 12689, entitled "Debarment and
                Suspension," and any applicable implementing regulations.

    XI.      RECORD KEEPING AND REPORTING

          A. PROGRAMMATIC RECORDS.                “Dentist” agrees to prepare and maintain
             programmatic, administrative and other records and information that pertain to the
             services provided hereunder and that “BCHF” and/or DHHS may reasonably deem
             appropriate and necessary for the monitoring and auditing of this Agreement, and to
             provide them to “BCHF” as reasonably requested. In addition, “Dentist” will maintain
             such records and provide such information to “BCHF” or to regulatory agencies as may
             be necessary for “BCHF” to comply with State or Federal laws, regulations or
             accreditation requirements, as well as “BCHF’s” reporting obligations pursuant to its


                                                     7

                                                                                                 EXHIBIT M
                                                                                                 PAGE 501
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3945 Page 502 of 734
                                      735


            Section 330 grant.

       B. FINANCIAL RECORDS. “Dentist” shall prepare and maintain financial records and
          reports, supporting documents, statistical records, and all other books, documents,
          papers or other records related and pertinent to this Agreement for a period of five
          (5) years from the date this Agreement expires or is terminated. If an audit, litigation,
          or other action involving the records is started before the end of the five (5) year
          period, “Dentist” agrees to maintain the records until the end of the five (5) year period
          or until the audit, litigation, or other action is completed, whichever is later. “Dentist”
          shall make available to “BCHF”, DHHS and the Comptroller General of the United
          States, or any of their duly authorized representatives, upon appropriate notice, such
          financial systems, records, reports, books, documents, and papers as may be
          necessary for audit, examination, excerpt, transcription, and copy purposes, for as
          long as such systems, records, reports, books, documents, and papers are retained.
          This right also includes timely and reasonable access to “Dentist” personnel for the
          purpose of interview and discussion related to such documents. “Dentist” shall, upon
          request, transfer identified records to the custody of “BCHF” or DHHS when either
          “BCHF” or DHHS determine that such records possess long term retention value.

       C.     PARTICIPATING PATIENT RECORDS. “Dentist” agrees to establish and maintain
            dental records relating to the diagnosis and treatment of Participating Patients served
            pursuant to this Agreement. All such records shall be prepared in a mutually agreed
            upon format that is consistent with the clinical guidelines and standards established by
            “BCHF”. “Dentist” and “BCHF” agree to maintain the privacy and confidentiality of such
            records, in compliance with all applicable Federal, State and local law including, but not
            limited to, the Health Insurance Portability and Accountability Act and consistent with
            “BCHF’s” policies and procedures regarding the privacy and confidentiality of patient
            records.

       D. RETENTION OF PATIENT RECORDS. Dentist will retain dental records for seven (7)
          years beyond the last date of delivery of the services or to the extent required by
          applicable law. In the event that Dentist retires or discontinues his or her practice,
          Dentist must comply with the public and private notice provisions set forth in California
          State law and transfer all Participating Patient records to “BCHF”. Record retention
          obligations survive the termination of this Agreement.

       E. OWNERSHIP OF PATIENT RECORDS. “Dentist” and “BCHF” agree that “BCHF” shall
          retain ownership of all dental records of this Agreement, regardless of the physical
          location in which such records are housed. “Dentist” and “BCHF” agree that “Dentist”,
          upon reasonable notice to “BCHF” and consistent with applicable Federal and State
          laws and regulations and “BCHF's” policies and procedures regarding the privacy and
          confidentiality of patient records, shall have timely and reasonable access to patient
          records to inspect and/or duplicate at “Dentist's” expense, any individual chart or record
          produced and/or maintained by “Dentist” to the extent necessary to: (i) meet
          responsibilities to patients for whom “Dentist” provides services pursuant to this
          Agreement; (ii) respond to any government or payor audits; (iii) assist in the defense of
          any malpractice or other claims to which such chart or record may be pertinent; and (iv)
          for any other legitimate business purpose, consistent with patient confidentiality and to
          the extent permitted by law. In the event that such records are housed in “Dentist's”
          practice location or any other location controlled by “Dentist”, “BCHF” shall have
          reasonable and timely access to such records.

                                                     8

                                                                                                  EXHIBIT M
                                                                                                  PAGE 502
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3946 Page 503 of 734
                                      735



    XII.        INSURANCE

           A. PROOF OF COVERAGE. The “Dentist” , at his/her sole cost and expense, shall
              procure and maintain such policies of professional liability, and other insurance as are
              necessary to insure the “Dentist” and his/her employees, agents and affiliates against
              any claim or claims for damages arising by reason of personal injuries or death
              occasioned directly or indirectly in connection with the performance of any service by
              the “Dentist” the use of any property and facilities provided by the “Dentist” or his/her
              agents, and the activities performed by the “Dentist” in connection with this Agreement,
              or any amendment entered into thereafter.

           B. “Dentist” will provide “BCHF” with sufficient evidence of professional liability coverage
              in the amount of at least:

                1. General Liability (including broad form property damage and contractual liability)
                   insurance on a per occurrence basis with a single limit of not less than one million
                   dollars ($1,000,000) three million dollars ($3,000,000) in the aggregate; Sexual
                   Abuse Liability insurance on a per occurrence basis with a single limit of not less
                   than one million dollars ($1,000,000) three million dollars ($3,000,000) in the
                   aggregate; Employer's Liability insurance on a per occurrence basis with a single
                   limit of not less than one million dollars ($1,000,000) and three million dollars
                   ($3,000,000) in the aggregate; Professional Liability insurance on a per
                   occurrence basis with a single limit of not less than one million dollars
                   ($1,000,000) and three million dollars ($3,000,000) in the aggregate; and
                   automobile liability insurance for owned, hired and non-owned vehicles on a per
                   occurrence basis with a combined single limit of not less than one million dollars
                   ($1,000,000) and three million dollars ($3,000,000) in the aggregate.

                2. Workers' Compensation, as required under California State law.

                3. Such other insurance in such amounts which from time to time may be reasonably
                   required by the mutual consent of “Dentist” and “BCHF” against other insurable risks
                   relating to performance of this Agreement.

           C.   It should be expressly understood, however, that the coverages and limits required
                under this Section shall not in any way limit the liability of either Party.

           D.   Additional insured endorsements are required for general, property damage, sexual
                abuse and automobile liability policy coverage. Such a provision, however, shall
                only apply in proportion to and to the extent of the negligent acts or omissions of
                the other “Party”, its officers, agents, or employees. Each “Party”, upon the
                execution of this Agreement, shall furnish the other “Party” with Certificates of
                Insurance evidencing compliance with all requirements. Certificates shall provide
                for thirty (30) days advance written notice to “BCHF” of any material modifications,
                change or cancellation of the above insurance coverages.

           E. INDEMNITY. “Dentist” shall defend, indemnify and hold ”BCHF”, its officers,
              employees and agents harmless from and against any and all liability, loss, expense
              (including reasonable attorney's fees) or claims for injury or damages arising out of
              the performance of this Agreement but only in proportion to and to the extent such

                                                      9

                                                                                                 EXHIBIT M
                                                                                                 PAGE 503
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3947 Page 504 of 734
                                      735


             liability, loss, expense, attorneys' fees, or claims for injury or damages are caused
             by or result from the negligent or intentional acts or omissions of Dentist, its officers,
             agents, or employees.

             “BCHF” shall defend, indemnify and hold “Dentist”, its officers, employees and
             agents harmless from and against any and all liability, loss, expense (including
             reasonable attorneys' fees) or claims for injury or damages arising out of the
             performance of this Agreement but only in proportion to and to the extent such
             liability, loss, expense, attorneys' fees, or claims for injury or damages are caused
             by or result from the negligent, intentional acts, omissions or misconduct of “BCHF”
             its officers, agents, or students.

    XIII.    CONFIDENTIALITY

        A.   Except as is necessary in the performance of this Agreement, or as authorized in writing
             by a party or by law, neither party (nor its directors, officers, employees, agents, and
             contractors) shall disclose to any person, institution, entity, company, or any other party,
             any information which is directly or indirectly related to the other party that it (or its
             directors, officers, employees, agents, and contractors) receives in any form (including,
             but not limited to, written, oral, or contained on video tapes, audio tapes or computer
             diskettes) as a result of performing obligations under this Agreement, or of which it is
             otherwise aware. The parties (and their directors, officers, employees, agents, and
             contractors) also agree not to disclose, except to each other, any proprietary
             information, professional secrets or other information obtained in any form (including,
             but not limited to, written, oral, or contained on video tapes, audio tapes or computer
             diskettes) during the course of carrying out the responsibilities under this Agreement,
             unless the disclosing party receives prior written authorization to do so from the other
             party or as authorized by law.
        B.   The parties agree that their obligations and representations regarding confidential and
             proprietary information (including the continued confidentiality of information transmitted
             orally), shall be in effect during the term of this Agreement and shall survive the
             expiration or termination (regardless of the cause of termination) of this Agreement.

    XIV.     TERM AND TERMINATION

        A.   TERM. This Agreement begins on November 29, 2018 and shall be automatically and
             successively renewed and extended for one year periods from and after the expiration
             date unless either party provides written notice of termination to the other sixty (60)
             days in advance of termination. Renewal is subject to “BCHF’s” determination that
             “Dentist” performed satisfactorily and successful re-negotiation by the parties of key
             terms, as applicable.

        B.   TERMINATION WITHOUT CAUSE. Either “Dentist” or “BCHF” may terminate this
             agreement, for any reason, at any time upon sixty (60) days written notice.

        C.   TERMINATION FOR CONVENIENCE. This Agreement may be terminated at any
             time upon the mutual agreement of the parties.

        D.   TERMINATION FOR BREACH. This Agreement may be terminated by either party
             upon written notice to the other party of such other party's material breach of any


                                                    10

                                                                                                  EXHIBIT M
                                                                                                  PAGE 504
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3948 Page 505 of 734
                                      735


               term of this Agreement, subject to a sixty (60) day opportunity to cure and failure to
               cure by the end of the sixty (60) day period.

          E.   IMMEDIATE TERMINATION. In addition, “BCHF” may terminate this Agreement
               immediately upon written notice to “Dentist” of: (1) “Dentist's” violation of, or inability to
               comply with, his or her obligations set forth in this Agreement; or (2) the good faith
               determination of “BCHF” that the health, welfare and/or safety of Participating Patients
               receiving care from “Dentist” is or will be jeopardized by the continuation of this
               Agreement.
          F.   SURVIVAL. Upon termination, the rights and obligations of the “Dentist” and “BCHF”
               under this Agreement will terminate, except as otherwise noted in this Agreement.
               Termination, however, will not release “Dentist” from his or her obligation to complete
               any multi-step dental treatment which “Dentist” began prior to the effective date of the
               termination, provided that such termination did not result from a determination by
               “BCHF” that the health, welfare and/or safety of Participating Patients would be
               jeopardized by continuing this Agreement. “Dentist” is not obligated to provide any
               other services. Termination of this Agreement does not release “BCHF” from its
               obligation to reimburse “Dentist” for any dental services provided on or before the
               effective date of the termination.

    XV.        GENERAL PROVISIONS

          A.   AMENDMENT/MODIFICATION. This Agreement may be amended or modified from
               time to time upon the mutual written agreement of the parties. Any amendment or
               modification shall not affect the remaining provisions of the Agreement and, except
               for the specific provision amended or modified, this Agreement shall remain in full
               force and effect as originally executed. Amendments will take effect upon the date
               of execution of both parties.

          B.   ASSIGNMENT. This Agreement may not be assigned, delegated, or transferred by
               either party without the express written consent and authorization of the other party,
               provided prior to such action.

          C.   EFFECT OF WAIVER. A party to this Agreement may waive the other party's breach
               of a provision of this Agreement, but such a waiver does not constitute a waiver of
               any future breaches.

          D. EFFECT OF INVALIDITY. The invalidity or unenforceability of any provision of this
             Agreement in no way affects the validly or enforceability of any other provision, unless
             otherwise agreed.

          E.   NOTICE. Any notice required to be provided under this Agreement must be in writing
               and delivered in person or sent by registered or certified mail or by next business day
               delivery service to each party at the address set forth on the signature page.

          F.   DISPUTE RESOLUTION. Any dispute arising under this Agreement shall first be
               resolved by informal discussions between the parties, subject to good cause
               exceptions, including, but not limited to, disputes determined by either party to require
               immediate relief (i.e., circumstances under which an extended resolution procedure
               may endanger the health and safety of the Participating Patients). Any dispute that has


                                                        11

                                                                                                       EXHIBIT M
                                                                                                       PAGE 505
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3949 Page 506 of 734
                                      735




           12/06/2018




                                                                       EXHIBIT M
                                                                       PAGE 506
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3950 Page 507 of 734
                                      735



                                            Addendum “A”
                                           Scope of Services

   “Dentist” will provide services for Participating Patients with the following insurance:

   Medi-Cal Recipients
   Sliding Fee approved patients

   The “Dentist” must follow all Denti-Cal rules and regulations in regards to maximum allowances
   and procedure limitations for patients eligible for Medi-Cal. These are outlined in Section 5 of the
   Provider Manual under “Maximum Allowances”. Limitations of commercial contracts will be
   provided by “BCHF”

   Exams (New, recall and limited)
   X-rays
   Fluoride Application
   Prophylaxis
   Periodontal scaling and root planning
   Sealants
   Fillings
   Preventive Resin Restoration (PRR) for moderate to high risk caries risk patient permanent
   tooth.
   Extractions
   Stainless Steel Crowns
   Space Maintainers
   Root Canals (prior review required by the “BCHF” Dental Director)
   Crowns (prior review required by the “BCHF” Dental Director)




                                                    13

                                                                                               EXHIBIT M
                                                                                               PAGE 507
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3951 Page 508 of 734
                                      735


                                         Addendum “B”
                                  Compensation of Dental Services
                                       Pediatric Medi-Cal

   Services for Medi-Cal patients will be compensated on a per visit reimbursement rate as outlined
   below. Crowns and root canals are subject to prior review and authorization by the Dental Director.
   If the service is not within the scope of “BCHF” the “Dentist” may bill this service directly to the
   payor as a private patient.

    Description      CDT Codes                  Number of       Special              Rate
                     (Denti-Cal rules           Visits          Consideration
                     apply)
    Routine Exam and D0120 in combo             1               Refer to Denti-Cal   $110 per
    X-rays           with                                       manual.
                     D0210, D0220,
                     D0230, D0272,
                     D0274, D0330
    Comprehensive    D0150 in combo             1               Refer to Denti-Cal   $130 per
    Exam and X-rays with                                        manual.
                     D0210, D0220,
                     D0230, D0272,
                     D0274, D0330
    Routine Exam     D0120 in                   1               Refer to Denti-Cal   $140 per
    and X-rays with  combo with                                 manual.
    Prophy           D0210,D0220,
                     D0230,D0272,
                     D0274, D0330
                     - and D1120 -
                     D1206, D1208
    Comprehensive    D0150 in                   1               Refer to Denti-Cal   $150 per
    Exam and X-rays combo with                                  manual.
    with Prophy      D0210,D0220,
                     D0230,D0272,
                     D0274, D0330
                     - and D1120 -
                     D1206, D1208
    Problem focused  D9430                      1               For relief of pain   $100
    oral evaluation  D0220, D0230,                              and medication
    only with X-ray  D0270


    Prophylaxis and      D1120 in combo         1               Must be in           $100 per visit
    Fluoride             with                                   combination.
    application          D1206, D1208
    Sealants or PRR      D1351, D1352           1 or 2          No less than per     $26 per tooth
                                                                quadrant.
    Fillings - Amalgam D2140, D2150,            1 or more       Per quadrant         $120 per visit
                       D2160, D2161


                                                    14

                                                                                                EXHIBIT M
                                                                                                PAGE 508
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3952 Page 509 of 734
                                      735




    Fillings – Resin     D2330, D2331,   1 or more   Per quadrant           $150 per visit
    Based Composite      D2332, D2335
    Anterior &           D2391, D2392,
    Posteriors           D2393, D2394
    Prefabricated        D2930, D2931,   1 or more   2 per visit            $200 per visit
    Crowns (Stainless    D2932
    Steel / Resin)
    Space Maintainer     D1510, D1515    2           Unilateral             $175 global
                                                     Bilateral              $280 global
    Extractions -        D7111, D7140    1           Per visit – multiple   $120 per visit
    simple                                           extractions under
                                                     anesthesia are not
                                                     in scope.
    Extractions -        D7210, D7220,   1 or more   Per visit – multiple   $185
    surgical             D7230, D7240                extractions under
                                                     anesthesia are not
                                                     in scope.
    Surgical Removal     D7250           1 or more   Per visit – multiple   $140
    of Roots                                         extractions under
                                                     anesthesia are not
                                                     in scope.
    Biopsy Soft Tissue D7286             1 or more   Per Visit              $45

    Alveoloplasty        D7310           1 or more   Per Visit              $70

    Removal of Torus     D7472           1 or more   Per Visit              $280
    Palatinus

    Removal of Torus     D7473           1 or more   Per Visit              $140
    Mandibulars

    Frenulectomy         D7960           1 or more   Per Visit              $280
    Excision of          D7971           1 or more   Per Visit              $70
    Pericoronal
    Gingiva
    Pulpotomy / Pulpal   D3220, D3221    1           Excludes final         $140 per visit
    Debridement                                      restoration
    Root Canal -         D3310           1 or more   Excludes final         $305 global
    Anterior                                         restoration
    Retreatment of a     D3346           1 or more   All treatments         $305 global
    Root Canal -                                     must be after 12
    Anterior                                         months of initial
                                                     visit
    Root Canal -         D3320           2 or more   Excludes final         $365 global
    Bicuspid                                         restoration. Open
                                                     & Med and

                                             15

                                                                                      EXHIBIT M
                                                                                      PAGE 509
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3953 Page 510 of 734
                                      735



                                                         Finished RCT
                                                         included in global
                                                         fee.
    Retreatment of a    D3347                1 or more   All treatments       $365 global
    Root Canal -                                         must be after 12
    Bicuspid                                             months of initial
                                                         visit
    Root Canal - Molar D3330                 2 or more   Excludes final       $465 global
                                                         restoration
    Retreatment of a   D3348                 2 or more   All treatments       $465 global
    Root Canal - Molar                                   must be after 12
                                                         months of initial
                                                         visit
    Apicoectomy         D3410                1           None                 $140 per visit
    Anterior
    Crown               D2751, D2740,        2 or more   Prep and delivery    $475 global
                        D2791                            in global fee.
    Crown Post and      D2952,D2954          1           Payment included     $105
    Core (indirect or                                    in addition to
    pre-fabricated)                                      Crown Delivery
    Recement            D2920                1           None                 $75
    Permanent Crown
    Unspecified         D2999                1           None                 $100
    restorative
    procedure by
    report
    Periodontal         D4341, D4342         1           2 quadrants per      $70 per
    Scaling                                              visit                quadrant
    Periodontal         D4910                1           See Denti-Cal        $140
    Maintenance                                          Guidelines (only
                                                         once a calendar
                                                         quarter, must be
                                                         within 24 months
                                                         of SRP)
    Incision and        D7510, D7520         1           None                 $115
    Drainage of
    Abcess
    Palliative          D9110 in combo       1           None                 $100 per visit
    Treatment for       with D0220, D0230,
    Dental Pain with    D0270
    X-ray
    Inhalation of       D9230                1           Additional       $35
    Nitrous Oxide                                        payment in combo
                                                         with other
                                                         procedures




                                                 16

                                                                                         EXHIBIT M
                                                                                         PAGE 510
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3954 Page 511 of 734
                                      735



                                          Addendum "C"
                                         Location of Service

   All dental services under this agreement will be rendered at:

   Reseda Dental Office of Aram Yeliazyan and Aram Arakelyan, Inc.

   18554 Sherman Way
   Reseda, Ca 91335




   Phone: (818) 708-9919


   During the hours of:

   Tuesday, Thursday and Saturday: 10:00 am – 7:00 pm




   NPI Number - Organization ______________________________________________________


   NPI Number- Individual: 1710036181




   Copies attached




                                                  17

                                                                             EXHIBIT M
                                                                             PAGE 511
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3955 Page 512 of 734
                                      735


                         CONFIDENTIALITY OF STUDENT INFORMATION /
                           PROTECTED HEALTH INFORMATION (PHI)

                          HIPAA BUSINESS ASSOCIATE ADDENDUM

   This Agreement is made effective the 29th day of November, 2018 by and between Borrego
   Health, hereinafter referred to as “Covered Entity”, and Reseda Dental Office of Aram Yeliazyan
   and Aram Arakelyan, Inc. hereinafter referred to as “Business Associate”, (individually, a “Party”
   and collectively, the “Parties”).

   RECITALS:

           WHEREAS, Sections 261 through 264 of the federal Health Insurance Portability and
   Accountability Act of 1996, Public Law 104-191, known as “the Administrative Simplification
   provisions,” direct the Department of Health and Human Services to develop standards to
   protect the security, confidentiality and integrity of health information;

          WHEREAS, pursuant to the Administrative Simplification provisions, the Secretary of
   Health and Human Services issued regulations modifying 45 CFR Parts 160 and 164 (the
   “HIPAA Security and Privacy Rule”);

          WHEREAS, the American Recovery and Reinvestment Act of 2009 (Pub. L. 111-5),
   pursuant to Title XIII of Division A and Title IV of Division B, called the “Health Information
   Technology for Economic and Clinical Health” (“HITECH”) Act, provides modifications to the
   HIPAA Security and Privacy Rule (hereinafter, all references to the “HIPAA Security and Privacy
   Rule” are deemed to include all amendments to such rule contained in the HITECH Act and any
   accompanying regulations, and any other subsequently adopted amendments or regulations);

           WHEREAS, the Parties wish to enter into or have entered into an arrangement whereby
           Business Associate will provide certain services to Covered Entity, and, pursuant to such
           arrangement, Business Associate may be considered a “business associate” of Covered
           Entity as defined in the HIPAA Security and Privacy Rule (the agreement evidencing
           such arrangement is entitled Dentist Contract, dated November 29, 2018 and is hereby
           referred to as the “Arrangement Agreement”); and

          WHEREAS, Business Associate may have access to and/or use Protected Health
   Information (as defined below) in fulfilling its responsibilities under such arrangement;

           NOW, THEREFORE, in consideration of the Parties’ continuing obligations under the
   Arrangement Agreement, compliance with the HIPAA Security and Privacy Rule, and for other
   good and valuable consideration, the receipt and sufficiency of which is hereby acknowledged,
   and intending to be legally bound, the Parties agree to the provisions of this Agreement in order
   to address the requirements of the HIPAA Security and Privacy Rule and to protect the interests
   of both Parties.

   I.      DEFINITIONS

        A. Catch-all definition:
           The following terms used in this Agreement shall have the same meaning as those
           terms in the HIPAA Rules: Breach, Data Aggregation, Designated Record Set,
           Disclosure, Health Care Operations, Individual, Minimum Necessary, Notice of Privacy


                                                   18

                                                                                               EXHIBIT M
                                                                                               PAGE 512
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3956 Page 513 of 734
                                      735


            Practices, Protected Health Information, Required By Law, Secretary, Security Incident,
            Subcontractor, Unsecured Protected Health Information, and Use. In the event of an
            inconsistency between the provisions of this Agreement and mandatory provisions of the
            HIPAA Security and Privacy Rule, as amended, the HIPAA Security and Privacy Rule
            shall control. Where provisions of this Agreement are different than those mandated in
            the HIPAA Security and Privacy Rule but are nonetheless permitted by the HIPAA
            Security and Privacy Rule, the provisions of this Agreement shall control.

         B. Specific definitions:

                1.      Business Associate. “Business Associate” shall generally have the same
                        meaning as the term “business associate” at 45 CFR 160.103, and in
                        reference to the party to this agreement, shall mean Reseda Dental Office of
                        Aram Yeliazyan and Aram Arakelyan, Inc..

                2.      Covered Entity. “Covered Entity” shall generally have the same meaning as
                        the term “covered entity” at 45 CFR 160.103, and in reference to the party to
                        this agreement, shall mean Borrego Health.

                3.      HIPAA Rules. “HIPAA Rules” shall mean the Privacy, Security, Breach
                        Notification, and Enforcement Rules at 45 CFR Part 160 and Part 164.

                4.      Protected Health Information. “Protected Health Information (PHI)” shall
                        mean individually identifiable health information including, without limitation,
                        all information, data, documentation, and materials, including without
                        limitation, demographic, medical and financial information, that relates to the
                        past, present, or future physical or mental health or condition of an individual;
                        the provision of health care to an individual; or the past, present, or future
                        payment for the provision of health care to an individual; and that identifies
                        the individual or with respect to which there is a reasonable basis to believe
                        the information can be used to identify the individual. “Protected Health
                        Information” includes without limitation “Electronic Protected Health
                        Information” as defined below.

                5.      Electronic Protected Health Information. “Electronic Protected Health
                        Information” shall mean Protected Health Information which is transmitted by
                        Electronic Media (as defined in the HIPAA Security and Privacy Rule) or
                        maintained in Electronic Media.

   II.       CONFIDENTIALITY AND SECURITY REQUIREMENTS

         A. Business Associate agrees:
               1. Not to use or disclose protected health information other than as permitted or
                  required by the Agreement or as required by law;

                2. To use appropriate safeguards, and comply with Subpart C of 45 CFR Part 164
                   with respect to electronic protected health information, to prevent use or
                   disclosure of protected health information other than as provided for by the
                   Agreement;




                                                     19

                                                                                                  EXHIBIT M
                                                                                                  PAGE 513
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3957 Page 514 of 734
                                      735


             3. To report to covered entity any use or disclosure of protected health information
                not provided for by the Agreement of which it becomes aware, including
                breaches of unsecured protected health information as required at 45 CFR
                164.410, and any security incident of which it becomes aware. Such report shall
                be made by Business Associate to Covered Entity within twenty-four hours of the
                time when Business Associate becomes aware of the breach;

             4. In accordance with 45 CFR 164.502(e)(1)(ii) and 164.308(b)(2), if applicable, to
                ensure that any subcontractors that create, receive, maintain, or transmit
                protected health information on behalf of the business associate agree to the
                same restrictions, conditions, and requirements that apply to the business
                associate with respect to such information;

             5. To make available protected health information in a designated record set to the
                individual or the individual’s designee” as necessary to satisfy covered entity’s
                obligations under 45 CFR 164.524;

             6. To make any amendment(s) to protected health information in a designated
                record set as directed or agreed to by the covered entity pursuant to 45 CFR
                164.526, or take other measures as necessary to satisfy covered entity’s
                obligations under 45 CFR 164.526;

             7. To maintain and make available the information required to provide an
                accounting of disclosures to the individual as necessary to satisfy covered
                entity’s obligations under 45 CFR 164.528;

             8. To the extent the business associate is to carry out one or more of covered
                entity's obligation(s) under Subpart E of 45 CFR Part 164, to comply with the
                requirements of Subpart E that apply to the covered entity in the performance of
                such obligation(s); and

             9. To make its internal practices, books, and records available to the Secretary for
                purposes of determining compliance with the HIPAA Rules.

             10. Business Associate acknowledges and agrees that all Protected Health
                 Information that is created or received by Covered Entity and disclosed or made
                 available in any form, including paper record, oral communication, audio
                 recording, and electronic display by Covered Entity or its operating units to
                 Business Associate or is created or received by Business Associate on Covered
                 Entity’s behalf shall be subject to this Agreement.

      B. Notwithstanding the prohibitions set forth in this Agreement, Business Associate may
         use and disclose Protected Health Information as follows:

             1. As necessary to perform the services set forth in the underlying Service
                Agreement; and/or

             2. As required by law.

             3. Business Associate agrees to make uses and disclosures and requests for
                protected health information consistent with Covered Entity’s minimum necessary

                                                 20

                                                                                              EXHIBIT M
                                                                                              PAGE 514
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3958 Page 515 of 734
                                      735


                 policies and procedures.

             4. Business Associate may not use or disclose PHI in a manner that would violate
                Subpart E of 45 CFR Part 164 if done by covered entity.

             5. Business associate may not use or disclose protected health information in a
                manner that would violate Subpart E of 45 CFR Part 164 if done by covered
                entity.

             6. Business associate may use protected health information for the proper
                management and administration of the business associate or to carry out the
                legal responsibilities of the business associate.

             7. Business associate may disclose protected health information for the proper
                management and administration of business associate or to carry out the legal
                responsibilities of the business associate, provided the disclosures are required
                by law, or business associate obtains reasonable assurances from the person to
                whom the information is disclosed that the information will remain confidential
                and used or further disclosed only as required by law or for the purposes for
                which it was disclosed to the person, and the person notifies business associate
                of any instances of which it is aware in which the confidentiality of the information
                has been breached.

             8. Business associate may provide data aggregation services relating to the health
                care operations of the covered entity.

      C. Business Associate will implement appropriate safeguards to prevent use or disclosure
         of Protected Health Information other than as permitted in this Agreement. Business
         Associate will implement administrative, physical, and technical safeguards that
         reasonably and appropriately protect the confidentiality, integrity, and availability of any
         Electronic Protected Health Information that it creates, receives, maintains, or transmits
         on behalf of Covered Entity as required by the HIPAA Security and Privacy Rule.

      D. The Secretary of Health and Human Services shall have the right to audit Business
         Associate’s records and practices related to use and disclosure of Protected Health
         Information to ensure Covered Entity’s compliance with the terms of the HIPAA Security
         and Privacy Rule.

      E. Business Associate shall report to Covered Entity any use or disclosure of Protected
         Health Information which is not in compliance with the terms of this Agreement of which
         it becomes aware. Business Associate shall report to Covered Entity any Security
         Incident of which it becomes aware. Such report shall be made within twenty-four hours
         of the date and time upon which Business Associate becomes aware of the
         unauthorized use or disclosure and/or Security Incident.

         For purposes of this Agreement, “Security Incident” means the attempted or successful
         unauthorized access, use, disclosure, modification, or destruction of information or
         interference with system operations in an information system. In addition, Business
         Associate agrees to mitigate, to the extent practicable, any harmful effect that is known
         to Business Associate of a use or disclosure of Protected Health Information by
         Business Associate in violation of the requirements of this Agreement.

                                                   21

                                                                                               EXHIBIT M
                                                                                               PAGE 515
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3959 Page 516 of 734
                                      735




   III.      AVAILABILITY OF PHI
          A. Business Associate agrees to comply with any requests for restrictions on certain
             disclosures of Protected Health Information pursuant to Section 164.522 of the HIPAA
             Security and Privacy Rule to which Covered Entity has agreed and of which Business
             Associate is notified by Covered Entity. Business Associate agrees to make available
             Protected Health Information to the extent and in the manner required by Section
             164.524 of the HIPAA Security and Privacy Rule. If Business Associate maintains
             Protected Health Information electronically, it agrees to make such Protected Health
             Information electronically available to the applicable individual. Business Associate
             agrees to make Protected Health Information available for amendment and incorporate
             any amendments to Protected Health Information in accordance with the requirements of
             Section 164.526 of the HIPAA Security and Privacy Rule. In addition, Business
             Associate agrees to make Protected Health Information available for purposes of
             accounting of disclosures, as required by Section 164.528 of the HIPAA Security and
             Privacy Rule and Section 13405(c)(3) of the HITECH Act. Business Associate and
             Covered Entity shall cooperate in providing any accounting required on a timely basis.
   IV.       TERM/TERMINATION
          A. Term. The Term of this Agreement shall be effective as of the date first listed above and
             shall continue in effect concurrently with the term of the Arrangement Agreement.

          B. Termination. Notwithstanding anything in this Agreement to the contrary, Covered Entity
             shall have the right to terminate this Agreement and the Arrangement Agreement
             immediately if Covered Entity determines that Business Associate has violated any
             material term of this Agreement. If Covered Entity reasonably believes that Business
             Associate will violate a material term of this Agreement and, where practicable, Covered
             Entity gives written notice to Business Associate of such belief within a reasonable time
             after forming such belief, and Business Associate fails to provide adequate written
             assurances to Covered Entity that it will not breach the cited term of this Agreement
             within a reasonable period of time given the specific circumstances, but in any event,
             before the threatened breach is to occur, then Covered Entity shall have the right to
             terminate this Agreement and the Arrangement Agreement immediately. Covered Entity
             may seek injunctive relief and/or any other available remedy to prevent a breach of this
             Agreement.

          C. Obligations of Business Associate Upon Termination. Upon termination of this
             Agreement for any reason, business associate shall return to covered entity all protected
             health information received from covered entity, or created, maintained, or received by
             business associate on behalf of covered entity, that the business associate still
             maintains in any form. Business associate shall retain no copies of the protected health
             information.

          D. Survival. The obligations of business associate under this Section shall survive the
             termination of this Agreement.

   V.        MISCELLANEOUS
          A. Third Parties; Survival. Except as expressly stated herein or the HIPAA Security and
             Privacy Rule, the Parties to this Agreement do not intend to create any rights in any third

                                                      22

                                                                                                 EXHIBIT M
                                                                                                 PAGE 516
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3960 Page 517 of 734
                                      735




    12/06/2018




                                                                       EXHIBIT M
                                                                       PAGE 517
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3961 Page 518 of 734
                                      735




     12/06/2018




                                                                       EXHIBIT M
                                                                       PAGE 518
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3962 Page 519 of 734
                                      735




                                            Addendum “E"
                             COMPENSATION OF DENTAL SERVICES
                                     ADULT MEDI-CAL

   Services for Adults with current full scope Medi-Cal eligibility will be compensated on a per visit
   reimbursement rate as outlined below. Crowns and root canals are subject to prior review and
   approval by the Dental Director. If the service is not within the scope of “BCHF” the “Dentist” may
   bill this service directly to the payer as a private patient.

    Description          Codes                  Number of       Special              Rate
                         (Denti-Cal rules       Visits          Consideration
                         apply)


    Routine Exam and D0120 in combo             1               Refer to Denti-Cal   $110 per visit
    X-rays           with                                       manual.
                     D0210, D0220,
                     D0230, D0272,
                     D0274, D0330
    Comprehensive    D0150 in combo             1               Refer to Denti-Cal   $130 per visit
    Exam and X-rays with                                        manual.
                     D0210, D0220,
                     D0230, D0272,
                     D0274, D0330
    Routine Exam     D0120 in                   1               Refer to Denti-Cal   $140 per visit
    and X-rays with  combo with                                 manual.
    Prophy           D0210,D0220,
                     D0230,D0272,
                     D0274, D0330
                     - and D1110
    Comprehensive    D0150 in                   1               Refer to Denti-Cal   $150 per visit
    Exam and X-rays combo with                                  manual.
    with Prophy      D0210,D0220,
                     D0230,D0272,
                     D0274, D0330
                     - and D1110
    Problem focused  D9430                      1               For relief of pain   $100
    oral evaluation  D0220, D0230,                              and medication
    only with X-ray  D0270

    Prophylaxis and    D1110 in combo           1               Must be in           $110 per visit
    Fluoride           with                                     combination.
    application        D1206, D1208
    Fillings - Amalgam D2140, D2150,            1 or more       Treatment to be      $120 per visit
                       D2160, D2161                             completed per
                                                                quadrant, unless
                                                                documented

                                                    25

                                                                                               EXHIBIT M
                                                                                               PAGE 519
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3963 Page 520 of 734
                                      735



    Fillings – Resin    D2330, D2331,   1 or more   Treatment to be        $150 per visit
    Based Composite     D2332, D2335                completed per
    Anterior &          D2391, D2392,               quadrant, unless
    Posteriors          D2393, D2394                documented
    Prefabricated       D2931, D2932    1 or more   2 per visit            $200 per visit
    Crowns (Stainless
    Steel / Resin)
    Extractions -       D7111, D7140    1 or more   Per visit – multiple   $120 per visit
    simple                                          extractions under
                                                    anesthesia are not
                                                    in scope.
    Extractions -       D7210, D7220,   1 or more   Per visit – multiple   $185
    surgical            D7230, D7240                extractions under
                                                    anesthesia are not
                                                    in scope.
    Surgical Removal    D7250           1 or more   Per visit – multiple   $140
    of Roots                                        extractions under
                                                    anesthesia are not
                                                    in scope.
    Biopsy Soft Tissue D7286            1 or more   Per Visit              $45

    Alveoloplasty       D7310           1 or more   Per Visit              $70

    Removal of Torus    D7472           1 or more   Per Visit              $280
    Palatinus

    Removal of Torus    D7473           1 or more   Per Visit              $140
    Mandibulars

    Frenulectomy        D7960           1 or more   Per Visit              $280

    Excision of         D7971           1 or more   Per Visit              $70
    Pericoronal
    Gingiva
    Pulpal              D3221           1           Excludes final         $140 per visit
    Debridement                                     restoration
    Root Canal -        D3310           1 or more   Excludes final         $305 global
    Anterior                                        restoration. Open
                                                    & Med and
                                                    Finished RCT
                                                    included in global
                                                    fee.
    Retreatment of a    D3346           1 or more   All treatments         $305 global
    Root Canal -                                    must be after 12
    Anterior                                        months of initial
                                                    visit



                                            26

                                                                                     EXHIBIT M
                                                                                     PAGE 520
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3964 Page 521 of 734
                                      735



    Root Canal -        D3320           2 or more   Excludes final       $365 global
    Bicuspid                                        restoration. Open
                                                    & Med and
                                                    Finished RCT
                                                    included in global
                                                    fee.
    Retreatment of a    D3347           1 or more   All treatments       $365 global
    Root Canal -                                    must be after 12
    Bicuspid                                        months of initial
                                                    visit
    Root Canal - Molar D3330            2 or more   Excludes final       $465 global
                                                    restoration. Open
                                                    & Med and
                                                    Finished RCT
                                                    included in global
                                                    fee.
    Retreatment of a   D3348            2 or more   All treatments       $465 global
    Root Canal - Molar                              must be after 12
                                                    months of initial
                                                    visit
    Apicoectomy         D3410           1           None                 $140 per visit
    Anterior
    Crown               D2751, D2740,   2 or more   Prep and delivery    $475 global
                        D2791                       in global fee.
    Crown Post and      D2952,D2954     1           Payment included     $105
    Core (indirect or                               in addition to
    pre-fabricated)                                 Crown Delivery
    Recement            D2920           1           All treatments       $75
    Permanent Crown                                 must be after 12
                                                    months of initial
                                                    visit
    Unspecified         D2999           1           None                 $100
    restorative
    procedure by
    report
    Periodontal         D4341, D4342    1           2 quadrants per      $70 per
    Scaling                                         visit                quadrant
    Periodontal         D4910           1           See Denti-Cal        $140
    Maintenance                                     Guidelines (only
                                                    once a calendar
                                                    quarter, must be
                                                    within 24 months
                                                    of SRP)
    Gingivectomy or     D4211           1           1 to 3 teeth, per    $110
    Gingivoplasty                                   quadrant
    Incision and        D7510, D7520    1           None                 $115
    Drainage of
    Abscess


                                            27

                                                                                    EXHIBIT M
                                                                                    PAGE 521
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3965 Page 522 of 734
                                      735



    Dentures (Includes D5110, D5120         6 or more   Maxillary and   $635 each
    first 2 adjustments)                                Mandibular      denture –
                                                                        global
    Removable Partial D5213, D5214          6 or more   Maxillary and   $660 each
    – Cast Metal                                        Mandibular      partial – global
    (Includes first 2
    adjustments)
    Removable Partial D5211, D5212          3 or more   Maxillary and   $360 each
    – Resin Based                                       Mandibular      partial - global
    Repairs            D5510, D5520         1 or more   Maxillary and   $110 each visit
                       D5610, D5640                     Mandibular
                       D5650, D5660
    Repair Cast        D5620                1           None            $325 per visit
    Framework
    Repair/Replace     D5630                1           None            $140 per visit
    Broke Clasp
    Adjustments only D5410, D5411           1           Maxillary and   $70 per visit
    (not following     D5421, D5422                     Mandibular
    delivery)
    Reline (in office) D5730, D5731         1           Maxillary and   $120 per visit
                       D5740, D5741                     Mandibular

    Reline             D5750, D5751         2 or more   Maxillary and   $225 - global
    (Laboratory)       D5760, D5761                     Mandibular
    Tissue             D5850, D5851         1           Maxillary and   $120 per visit
    Conditioning                                        Mandibular

    Palliative         D9110 in combo       1           None            $100 per visit
    Treatment for      with D0220, D0230,
    Dental Pain with   D0270
    X-ray




                                                28

                                                                                  EXHIBIT M
                                                                                  PAGE 522
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3966 Page 523 of 734
                                      735



                                             Addendum “F”
                                     DENTAL SLIDING FEE SCALE
                                       SUMMARY OF BENEFITS

   As a Federally Qualified Health Center (FQHC), Borrego Community Health Foundation (BCHF)
   is required to provide a sliding fee scale program for patients living at or below 200% of the
   Federal Poverty Level (FPL). Services must be provided despite a patient’s inability to pay. Ability
   to pay is determined through an eligibility process in which the applicant provides proof of income
   and family size.
   As a contract dental partner of BCHF, you are required to extend the sliding fee scale program to
   your practice.

   Benefits:

   The sliding fee scale is a limited benefit program that provides discounted rates for services
   rendered within the dental practice of the organization and contracted sites only. It does not
   extend to services rendered by specialists to whom the clinic may refer the patient for additional
   care. The scope of benefits is limited to services as outlined in the current Denti-Cal Provider
   Handbook - Manual of Criteria (Section 5).

   The program includes:

   ▪   Exam and X-rays
   ▪   Cleaning
   ▪   Fluoride Application
   ▪   Fillings
   ▪   Extractions (Limited to scope of General Dentistry)
   ▪   Root Canals (Limited to scope of General Dentistry)
   ▪   Crowns (Limited to non-precious metal)
   ▪   Dentures ($150 co-payment)
   ▪   Bridges (co-payment 50% of cost)

   Eligibility:

   The application process and eligibility determination is outlined in the BCHF Sliding Fee Policy
   and Procedure, which is amended from time to time to reflect current FPL (revised on an annual
   basis and published April 1.

   Information regarding the Sliding Fee program will be made available in your office for cash
   patients that may desire to apply. Application assistance and eligibility determination will be
   conducted by BCHF staff upon referral from your office. Your office may be required to provide
   limited assistance (e.g. emailing an application or referring the applicant to one of our local clinics
   for assistance). Uninsured applicants will receive information about other program eligibility
   including Medi-Cal and/or Covered California and assisted with applying for these programs if
   deemed eligible.



                                                     29

                                                                                                   EXHIBIT M
                                                                                                   PAGE 523
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3967 Page 524 of 734
                                      735




   12/06/2018




                                                                       EXHIBIT M
                                                                       PAGE 524
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3968 Page 525 of 734
                                      735




                         EXHIBIT N
                                                                         EXHIBIT N
                                                                         PAGE 525
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3969 Page 526 of 734
                                      735


                                 AGREEMENT BETWEEN
                                 MICHAEL HOANG, DMD
                                        AND
                         BORREGO COMMUNITY HEALTH FOUNDATION
                                        FOR
                                   DENTAL SERVICES

          THIS DENTAL SERVICES AGREEMENT ("Agreement") is entered into as of November
   28 2018 between Borrego Community Health Foundation (“BCHF”) and Michael Hoang, DMD
   ("Dentist"), collectively the “Parties”.

    RECITALS

           WHEREAS, BCHF is a 501 (c) (3) non-profit public benefit corporation, organized under
   the laws of the State of California and is licensed to operate Federally Qualified Community Health
   Centers (FQHC). BCHF operates clinics throughout San Diego, San Bernardino, and Riverside
   Counties. The clinics provide comprehensive primary and specialty care according to the scope
   of services as approved by the Bureau of Primary Health Care (“BPHC”) within the United States
   Department of Health and Human Services (“DHHS”). The approved scope includes performance
   of primary dental services; and

          WHEREAS, “BCHF” desires to increase access to dental services for pediatric,
   adolescent and adult patients of the FQHC by entering into agreements with qualified Dentists to
   provide primary dental services for the FQHC.

           WHEREAS, “Dentist” is duly licensed to provide dental services within the State of
   California and meets credentials required by “BCHF” to perform such services and is not the
   subject of any Medicaid/Medicare related actions, suspensions, exclusions or debarments that
   would disqualify him or her from providing services under this Agreement. The “Dentist” provides
   the desired scope of services that meet the FQHC criteria; and

           WHEREAS, “Dentist” operates and administers a private practice in Hawthorne, California
   within “BCHF’s” service area and agrees to provide primary dental services to patients on behalf
   of “BCHF” by entering into agreement to deliver such services in a professional manner to “BCHF”
   patients. (Refer to Addendum “C” for dental office address and contact information.)

   AGREEMENT

          NOW, THEREFORE, in consideration of the covenants and agreements herein contained,
   and other good and valuable consideration, the “Parties” hereto mutually agree as follows:
    I.    DEFINITIONS

       A.   PARTICIPATING PATIENTS. A "Participating Patient" who is eligible to receive
            dental services under this Agreement is defined as any individual residing in
            FQHC’s federally-approved service area and who is a patient of the FQHC
            operated by “BCHF”.

       B.   SCOPE OF SERVICES. Those services approved by the Health Resource and
            Service Administration (HRSA) as Required and Additional Services that are
            authorized to be rendered by BCHF to residents of the specified service area.


                                                   1

                                                                                               EXHIBIT N
                                                                                               PAGE 526
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3970 Page 527 of 734
                                      735


    II.        ACKNOWLEDGEMENT
               The “Dentist” agrees to be bound by the terms and conditions of this Agreement
               insofar as said Agreement relates to rights, responsibilities and duties as “Dentist”.
               This Agreement constitutes the entire understanding between the parties hereto
               and no changes, amendments or alterations shall be effective unless agreed to in
               writing by both parties and appended to this Agreement.

   III.        INDEPENDENT RELATIONSHIP
               None of the provisions of this Agreement are intended to create nor shall be
               deemed or construed to create any relationship between “BCHF” and “Dentist” other
               than that of independent entities contracting with each other solely for the purpose
               of effecting the provisions of this Agreement. Neither of the parties hereto nor any
               of their respective employees shall be construed to be the agent, employee or
               representative of the other. This Agreement is entered into at an arm’s length
               negotiated rate reflective of the fair market value.

   IV.         PROFESSIONAL SERVICES

          A.    COVERED SERVICES. Dentist agrees to provide primary care dental services
                described in Addendum “A” and Addendum “D” as “Covered Services”, as required,
                to Participating Patients, in accordance with the attached “Payment Schedule” and as
                further described in Section VIII. “BCHF” is responsible for contacting “Dentist” to
                make initial appointments for Participating Patients. Notwithstanding, “BCHF” is under
                no obligation to utilize “Dentist” to provide dental services to any or all Participating
                Patients who require such services.

          B.    SERVICE AVAILABILITY. “Dentist” shall provide primary dental services during
                hours of operations that are mutually agreed upon and outlined in “Addendum “C”.
                Any changes require prior notification to the “BCHF” Dental Director. “Dentist” will
                maintain adequate facilities within the Service Area to meet the responsibilities of this
                Agreement. Such facilities must meet standards of practice expected of a licensed
                facility. Adequate trained, certified or licensed personnel will be provided quality
                standard of care and not place the health and well-being of the patients in jeopardy.
                “Dentist” will provide a plan of after hour access for phone consultation and triage for
                dental emergencies of established patients.

          C.    DOCUMENTATION AND DESCRIPTION OF SERVICES. “Dentist” agrees to
                establish and maintain dental records that will contain descriptions of any dental
                services provided to Participating Patients, as well as proposed follow-up treatment
                plans for subsequent visits (if any). The descriptions of the services will be made using
                American Dental Association CDT Standard Claims Codes. In the event that such
                records are housed in a location other than the dental office, “BCHF” shall have
                reasonable and timely access to such records. “Dentist” agrees to retain such records
                for a period of at least seven years or to the extent required by applicable laws or
                regulations.

          D.    PRIOR AUTHORIZATION. For dental services needing individual consideration
                or prior approval the “Dentist” must provide such documentation necessary prior
                to rendering such service. In addition to standard requirements of prior approval
                outlined by the Denti-Cal program or other third-party payors, an additional list of


                                                        2

                                                                                                        EXHIBIT N
                                                                                                        PAGE 527
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3971 Page 528 of 734
                                      735


              services requiring prior approval may be provided by “BCHF”. As a satellite of an
              FQHC, Treatment Authorization Requests (TAR) must be fully documented in the
              dental record, but do not require submission to Denti-Cal for prior approval. This
              does not apply to treatment paid directly by Denti-Cal

         E.   AGREEMENT NOT TO CHARGE PATIENTS. The “Parties” agree that all Participating
              Patients receiving services from “Dentist” pursuant to this Agreement shall be
              considered patients of “BCHF”. Accordingly, “BCHF” shall be responsible for the billing
              of such patient services, as applicable, as well as the billing of Federal, State and
              private payors, and the collection and retention of any and all payments. “Dentist”
              agrees not to bill, charge or collect from Participating Patients or payors any amount for
              any dental services provided under this Agreement. If “Dentist” should receive any
              payment from Participating Patients or payors for services provided hereunder,
              “Dentist” agrees to remit such payment to FQHC within ten (10) days of receipt.

         F.   SLIDING FEE. Notwithstanding the aforementioned, “Dentist” recognizes that
              certain Participating Patients may be charged at the time of service, in accordance
              with a fee schedule and, as applicable, schedule of sliding fee discounts established
              by “BCHF” pursuant to 42 C.F.R.§51c.303(f). “Dentist” shall, on behalf of “BCHF”
              and consistent with “BCHF 's” guidelines, schedules and procedures, make every
              reasonable effort to collect fees from eligible Participating Patients at the time
              services are provided to such patients and to remit such payments to “BCHF” within
              ten (10) days of receipt. “BCHF” shall perform the follow-up activities necessary to
              collect patient fees not collected by “Dentist” at the time of service.

         G. NON-DISCRIMINATION. “Dentist” agrees to provide dental services to Participating
            Patients in the same professional manner and pursuant to the same professional
            standards as generally provided by “Dentist” to his or her patients, regardless of an
            individual's or family's ability to pay for services rendered. This section shall not be
            read to prevent “Dentist” from limiting the number of hours and/or days during which
            “Dentist” agrees to see Participating Patients, provided that such limitation shall not
            be based on a Participating Patient's payor source or insurance status. Dentist also
            agrees not to differentiate or discriminate in the provision of services provided to
            Participating Patients on the basis of race, color, religious creed, age, marital status,
            national origin, alienage, sex, blindness, mental or physical disability or sexual
            orientation pursuant to Title 45 of the Code of Federal Regulations, §§ 80.3-80.4, and
            Civil Rights Act of 2007.

    V.        QUALITY OVERSIGHT AND EVALUATION OF SERVICES BY FQHC
         A.   QUALITY OF CARE. “Dentist” shall provide care consistent with prevailing community
              standards for quality of care and in accordance with “BCHF” Section 330 grant and
              applicable grant-related expectations and requirements. Services shall be within the
              scope of practice outlined in Addendum B for primary care dental services. The
              “Dentist” will be subject to standards of quality review as though the care was provided
              by an employed dentist or the organization. Such review will include facility and record
              review in keeping with “BCHF” standards and applicable regulations. “BCHF” will
              communicate in writing any corrective action that must be resolved in a timely manner.

         B.   POLICIES AND PROCEDURES. The “Dentist” will be subject to clinical policies and
              procedures established by “BCHF” regarding the provision of services pursuant to this


                                                     3

                                                                                                  EXHIBIT N
                                                                                                  PAGE 528
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3972 Page 529 of 734
                                      735


               agreement including but not limited to qualifications and credentials, clinical guidelines,
               standards of conduct, quality assurance standards, productivity standards, patient and
               provider grievance and complaint procedures. Such policies and procedures are
               consistent with “BCHF’s” requirements established by the Bureau of Primary Health
               Care (BPHC). “BCHF” will provide “Dentist with such requirements, policies,
               procedures and standards. Notwithstanding, nothing herein is intended to interfere with
               “Dentist’s” professional judgment in connection with the provision of clinical services.

          C.   PATIENT RELATIONSHIP. “Dentist” shall maintain a dentist/patient relationship with
               Participating Patients and shall be solely responsible for dental treatment and advice.
               Notwithstanding, nothing herein is intended to interfere with “Dentist’s” professional
               judgment in connection with the provision of such services.
          D.   AUTHORITY. “BCHF”, through its Executive Director and/or Dental Director or Medical
               Director, shall have and exercise ultimate authority and responsibility for the services
               provided to Participating Patients pursuant to this Agreement, consistent with the
               policies, procedures and standards set forth above. In particular, “BCHF” shall retain
               ultimate authority over the following:

               1. Determination as to whether “Dentist” meets “BCHF’s” qualifications and
                  credentials, consistent with BCHF standards.

               2. Interpretation of “BCHF’s” policies and procedures, clinical guidelines, quality
                  assurance standards, productivity standards, standards of conduct and
                  provider and patient grievance and complaint resolution procedures, and their
                  applicability to “Dentist”.
               3. Determination with respect to whether “Dentist” is performing satisfactorily and
                  consistent with “BCHF’s” policies, procedures and standards.

               4. The Executive Director and/or Medical Director have the authority to terminate
                  this agreement in accordance with Section XIV below.

      E.       NOTIFICATION. “Dentist” shall, as soon as reasonably practicable, notify “BCHF” of
               any action, event, claim, proceeding, or investigation (including, but not limited to, any
               report made to the National Practitioner Data Bank) that could result in the revocation,
               termination, suspension, limitation or restriction of “Dentist's” licensure, certification, or
               qualification to provide such services. “BCHF” may suspend this Agreement, until such
               time as a final determination has been made with respect to the applicable action, event,
               claim, proceeding, or investigation.

    VI.        NO OBLIGATION TO REFER AND NON-SOLICITATION OF PATIENTS

          A.   It is specifically agreed and understood between the parties that nothing in this
               Agreement is intended to require, nor requires, nor provides payment or benefit of any
               kind (directly or indirectly), for the referral of individuals or business to either party by
               the other party.

          B.   “Dentist” agrees that during the term of this Agreement, he or she shall not, directly
               or indirectly, solicit or attempt to solicit or treat, for his or her own account or for
               the account of any other person or entity, any patient of “BCHF.” This non-
               solicitation clause shall survive termination of this Agreement for a period of two

                                                        4

                                                                                                       EXHIBIT N
                                                                                                       PAGE 529
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3973 Page 530 of 734
                                      735


                 (2) years following termination, however such termination is affected.

           C.    “Dentist” shall not cause any entity or individual he or she is employed by or with
                 whom he or she is professionally associated to, directly or indirectly, solicit or
                 attempt to solicit for his or her own account or for the account of any other person
                 or entity, any patient of “BCHF” for whom “Dentist” provided care during the term of
                 the Agreement. For purposes of this paragraph, a "patient of BCHF" shall mean
                 any patient seen or treated by “BCHF” (whether by its employees or independent
                 contractors) during the one (1) year period immediately preceding the termination
                 or expiration of this Agreement, including, but not limited to, those patients treated
                 by Dentist hereunder.

    VII.        CONTRACTS WITH OTHERS

                This contract is non-exclusive. “BCHF" retains the authority to contract with other dentists
                or dental practices, if, and to the extent that, “BCHF” reasonably determines that such
                contracts are necessary in order to implement “BCHF” policies and procedures, or as
                otherwise may be necessary to assure appropriate collaboration with other local
                providers (as required by Section 330 (k)(3) (B)), to enhance patient freedom of choice,
                and/or to enhance accessibility, availability, quality and comprehensiveness of care.

    VIII.       COMPENSATION

           A.    FEE SCHEDULE. “Dentist” will be compensated for providing dental services under
                  this Agreement in accordance with the attached Payment Schedule Addendum “B”.

           B.    ENCOUNTER SUBMISSION. Dentist will complete a superbill for every visit. The
                 superbills will be batched and submitted on a daily basis along with the patient
                 demographic information and a copy of the visit documentation. Adequate supporting
                 documentation must be made available to ensure that “BCHF” will be able to collect for
                 services rendered and not place the organization in jeopardy of false claims.

           C.    TIMING OF PAYMENT. Payment will be made on claims that are paid to “BCHF” by
                 third party payors. The payment will be processed within 35 days of receipt of a
                 superbill and adequate supporting documentation for each visit. Payment will be made
                 on a weekly basis to the “Dentist” with a detailed explanation of reimbursement. Both
                 Dentist and BCHF will be responsible for maintaining records of transactions to avoid
                 duplication of reimbursement and resolve outstanding balances.

    IX.         CASE MANAGEMENT
           A.    AGREEMENT TO PROVIDE DESIGNATED NUMBER OF SERVICES. “Dentist”
                 agrees to provide services for the “BCHF” patients for a minimum of ten (10) visits a
                 week and to be available at minimum three days a week during standard business
                 hours. “Dentist” will communicate with BCHF management as to appointment
                 availability so that adjustments can be made to accommodate the identified need. The
                 “Dentist” reserves the right to fill these appointments if there are an insufficient number
                 of referrals from “BCHF”. “Dentist” will provide occasional after hour sessions to
                 provide expanded availability. These sessions may include weekend clinics or after
                 5:00 p.m. schedules. “Dentist” will accommodate dental emergencies as necessary.



                                                          5

                                                                                                       EXHIBIT N
                                                                                                       PAGE 530
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3974 Page 531 of 734
                                      735


         B.   VERIFICATION OF PATIENT STATUS.                 “BCHF” will verify each Participating
              Patient's status as a “BCHF” patient on the day on which an appointment is made for
              such patient with Dentist. “Dentist” will verify information regarding the patient's
              status as a “BCHF” patient on the date of service or otherwise mutually agreed upon
              method verification presenting to the “Dentist”. If it is determined that the Participating
              Patient is not a “BCHF” patient on the date of service, “BCHF”, in consultation with
              Dentist, will decide whether or not to authorize “Dentist” to proceed with treatment. If
              “BCHF” authorizes “Dentist” to proceed with treatment, “BCHF” will be responsible for
              payment for the services provided by the “Dentist” according to the compensation
              provisions in this Agreement.

         C.   REPORTING AND INVESTIGATION OF PATIENT COMPLAINTS/GRIEVANCES.
              The “Dentist” will cooperate fully with “BCHF” in the investigation of Participating
              Patient complaints and grievances by providing information necessary for review and
              resolution of such. The information will be made available in a timely manner
              according to established policies and procedures. “Dentist” will collaborate in the
              resolution of identified opportunities for improvement without retaliation against the
              Participating Patient and in keeping with the wellbeing of such.

         D.   REFUSAL TO PROVIDE SERVICES. The “Dentist” has the right to request
              termination of services for Participating Patients who behave in a disruptive manner
              or are grossly discourteous towards “Dentist”, “Dentist’s” employees or other
              patients. “Dentist” must promptly report all such instances to “BCHF”, who will notify
              the Participating Patient that, unless the Participating Patient corrects such behavior
              immediately, he or she will no longer be eligible to receive dental services from the
              “Dentist”. In the event of non-resolution or if the circumstances are severe in nature,
              “Dentist” will have no obligation to provide further services for the Participating
              Patient.

         E.   REFERRAL FOR SPECIALTY SERVICES. “Dentist” will provide services within
              the approved scope for “BCHF” to Participating Patients and as outlined in
              Addendum “A” that are within the “Dentist's” knowledge, skill and training. “Dentist”
              will inform “BCHF” as soon as practical when Participating Patients require specialty
              referral and/or services beyond the “Dentist” and “BCHF” scope of services.
              Participating Patients will be provided information as to available specialists that are
              available in the community for such care. “BCHF” maintains Care Coordination
              Specialists that may assist with healthcare coverage information and application.

    X.        LEGAL

         A. LICENSURE, CERTIFICATION AND OTHER QUALIFICATION. Dentist will provide
            “BCHF” with evidence of current licensure within the State of California as well as any
            other certification or qualification necessary to provide the services specified prior to
            entering into this Agreement, and annually upon request of “BCHF.” Dentist will maintain
            unrestricted licensure and/or certification and qualification as a Medi-Cal and, as
            applicable, Medicare participating provider during the term of this Agreement. “Dentist”
            agrees to have such additional qualifications and credentials as “BCHF” may reasonably
            require for “Dentist” to provide services, including but not limited to Basic Life Support
            (BLS), DEA number and others pursuant to this Agreement and shall maintain such
            qualifications and credentials during the term of this Agreement. The same requirements
            apply to “Dentist” employees and staff. No patients are to be treated by “Dentist” or other

                                                       6

                                                                                                    EXHIBIT N
                                                                                                    PAGE 531
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3975 Page 532 of 734
                                      735


             support staff who have not provided proper licensing and certification. Only the qualified
             of provider authorized by “BCHF” guidelines are allowed to render such services.

          B. COMPLIANCE WITH THE LAW. “Dentist” will practice in accordance with the all
             Federal, State and local laws, regulations, and generally accepted principles
             applicable to the practice of dentistry. Failure to comply with this provision is
             grounds for immediate termination under Section XIV of this Agreement.

          C. MISREPRESENTATION. “Dentist” acknowledges and agrees that willful
             misrepresentation of the type, frequency, reasonableness and/or necessity of dental
             services provided to Participating Patients may constitute a fraudulent act and may be
             referred by “BCHF” to the applicable Federal or State regulatory agency and will be
             cause for immediate termination under XIV of this Agreement.
          D. COMPLIANCE WITH OTHER LAWS. In connection with the provision of services
             pursuant to this Agreement, “Dentist” agrees to the following requirements, to the
             extent that such requirements are applicable:

             1. To comply with the Civil Rights Act of 1964 and all other Federal, State or local
                laws, rules and orders prohibiting discrimination, as well as Executive Order 11246,
                entitled "Equal Employment Opportunity," as amended by Executive Order 11375,
                and as supplemented by U.S. Department of Labor regulations at 41 C.F. R. Part
                60;

             2. To make positive efforts to utilize small businesses, minority-owned firms and
                women's business enterprises in connection with the work performed
                hereunder, whenever possible;

             3. To comply with all applicable standards, orders, and regulations issued pursuant to
                the Clean Air Act of 1970 (42 U.S.C. §7401 et. seq.) and the Federal Water Pollution
                Control Act (33 U.S.C. § 1251 et seq.), as amended;

             4. To comply with the certification and disclosure requirements of the Byrd Anti-
                Lobbying Amendment (31 U.S.C. § 1352), and any applicable implementing
                regulations, as may be applicable; and

             5. To certify that neither it, nor any of its principal employees, has been debarred or
                suspended from participation in federally-funded contracts, in accordance with
                Executive Order 12549 and Executive Order 12689, entitled "Debarment and
                Suspension," and any applicable implementing regulations.

    XI.      RECORD KEEPING AND REPORTING

          A. PROGRAMMATIC RECORDS.                “Dentist” agrees to prepare and maintain
             programmatic, administrative and other records and information that pertain to the
             services provided hereunder and that “BCHF” and/or DHHS may reasonably deem
             appropriate and necessary for the monitoring and auditing of this Agreement, and to
             provide them to “BCHF” as reasonably requested. In addition, “Dentist” will maintain
             such records and provide such information to “BCHF” or to regulatory agencies as may
             be necessary for “BCHF” to comply with State or Federal laws, regulations or
             accreditation requirements, as well as “BCHF’s” reporting obligations pursuant to its


                                                     7

                                                                                                 EXHIBIT N
                                                                                                 PAGE 532
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3976 Page 533 of 734
                                      735


            Section 330 grant.

       B. FINANCIAL RECORDS. “Dentist” shall prepare and maintain financial records and
          reports, supporting documents, statistical records, and all other books, documents,
          papers or other records related and pertinent to this Agreement for a period of five
          (5) years from the date this Agreement expires or is terminated. If an audit, litigation,
          or other action involving the records is started before the end of the five (5) year
          period, “Dentist” agrees to maintain the records until the end of the five (5) year period
          or until the audit, litigation, or other action is completed, whichever is later. “Dentist”
          shall make available to “BCHF”, DHHS and the Comptroller General of the United
          States, or any of their duly authorized representatives, upon appropriate notice, such
          financial systems, records, reports, books, documents, and papers as may be
          necessary for audit, examination, excerpt, transcription, and copy purposes, for as
          long as such systems, records, reports, books, documents, and papers are retained.
          This right also includes timely and reasonable access to “Dentist” personnel for the
          purpose of interview and discussion related to such documents. “Dentist” shall, upon
          request, transfer identified records to the custody of “BCHF” or DHHS when either
          “BCHF” or DHHS determine that such records possess long term retention value.

       C.     PARTICIPATING PATIENT RECORDS. “Dentist” agrees to establish and maintain
            dental records relating to the diagnosis and treatment of Participating Patients served
            pursuant to this Agreement. All such records shall be prepared in a mutually agreed
            upon format that is consistent with the clinical guidelines and standards established by
            “BCHF”. “Dentist” and “BCHF” agree to maintain the privacy and confidentiality of such
            records, in compliance with all applicable Federal, State and local law including, but not
            limited to, the Health Insurance Portability and Accountability Act and consistent with
            “BCHF’s” policies and procedures regarding the privacy and confidentiality of patient
            records.

       D. RETENTION OF PATIENT RECORDS. Dentist will retain dental records for seven (7)
          years beyond the last date of delivery of the services or to the extent required by
          applicable law. In the event that Dentist retires or discontinues his or her practice,
          Dentist must comply with the public and private notice provisions set forth in California
          State law and transfer all Participating Patient records to “BCHF”. Record retention
          obligations survive the termination of this Agreement.

       E. OWNERSHIP OF PATIENT RECORDS. “Dentist” and “BCHF” agree that “BCHF” shall
          retain ownership of all dental records of this Agreement, regardless of the physical
          location in which such records are housed. “Dentist” and “BCHF” agree that “Dentist”,
          upon reasonable notice to “BCHF” and consistent with applicable Federal and State
          laws and regulations and “BCHF's” policies and procedures regarding the privacy and
          confidentiality of patient records, shall have timely and reasonable access to patient
          records to inspect and/or duplicate at “Dentist's” expense, any individual chart or record
          produced and/or maintained by “Dentist” to the extent necessary to: (i) meet
          responsibilities to patients for whom “Dentist” provides services pursuant to this
          Agreement; (ii) respond to any government or payor audits; (iii) assist in the defense of
          any malpractice or other claims to which such chart or record may be pertinent; and (iv)
          for any other legitimate business purpose, consistent with patient confidentiality and to
          the extent permitted by law. In the event that such records are housed in “Dentist's”
          practice location or any other location controlled by “Dentist”, “BCHF” shall have
          reasonable and timely access to such records.

                                                     8

                                                                                                  EXHIBIT N
                                                                                                  PAGE 533
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3977 Page 534 of 734
                                      735



    XII.        INSURANCE

           A. PROOF OF COVERAGE. The “Dentist” , at his/her sole cost and expense, shall
              procure and maintain such policies of professional liability, and other insurance as are
              necessary to insure the “Dentist” and his/her employees, agents and affiliates against
              any claim or claims for damages arising by reason of personal injuries or death
              occasioned directly or indirectly in connection with the performance of any service by
              the “Dentist” the use of any property and facilities provided by the “Dentist” or his/her
              agents, and the activities performed by the “Dentist” in connection with this Agreement,
              or any amendment entered into thereafter.

           B. “Dentist” will provide “BCHF” with sufficient evidence of professional liability coverage
              in the amount of at least:

                1. General Liability (including broad form property damage and contractual liability)
                   insurance on a per occurrence basis with a single limit of not less than one million
                   dollars ($1,000,000) three million dollars ($3,000,000) in the aggregate; Sexual
                   Abuse Liability insurance on a per occurrence basis with a single limit of not less
                   than one million dollars ($1,000,000) three million dollars ($3,000,000) in the
                   aggregate; Employer's Liability insurance on a per occurrence basis with a single
                   limit of not less than one million dollars ($1,000,000) and three million dollars
                   ($3,000,000) in the aggregate; Professional Liability insurance on a per
                   occurrence basis with a single limit of not less than one million dollars
                   ($1,000,000) and three million dollars ($3,000,000) in the aggregate; and
                   automobile liability insurance for owned, hired and non-owned vehicles on a per
                   occurrence basis with a combined single limit of not less than one million dollars
                   ($1,000,000) and three million dollars ($3,000,000) in the aggregate.

                2. Workers' Compensation, as required under California State law.

                3. Such other insurance in such amounts which from time to time may be reasonably
                   required by the mutual consent of “Dentist” and “BCHF” against other insurable risks
                   relating to performance of this Agreement.

           C.   It should be expressly understood, however, that the coverages and limits required
                under this Section shall not in any way limit the liability of either Party.

           D.   Additional insured endorsements are required for general, property damage, sexual
                abuse and automobile liability policy coverage. Such a provision, however, shall
                only apply in proportion to and to the extent of the negligent acts or omissions of
                the other “Party”, its officers, agents, or employees. Each “Party”, upon the
                execution of this Agreement, shall furnish the other “Party” with Certificates of
                Insurance evidencing compliance with all requirements. Certificates shall provide
                for thirty (30) days advance written notice to “BCHF” of any material modifications,
                change or cancellation of the above insurance coverages.

           E. INDEMNITY. “Dentist” shall defend, indemnify and hold ”BCHF”, its officers,
              employees and agents harmless from and against any and all liability, loss, expense
              (including reasonable attorney's fees) or claims for injury or damages arising out of
              the performance of this Agreement but only in proportion to and to the extent such

                                                      9

                                                                                                 EXHIBIT N
                                                                                                 PAGE 534
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3978 Page 535 of 734
                                      735


             liability, loss, expense, attorneys' fees, or claims for injury or damages are caused
             by or result from the negligent or intentional acts or omissions of Dentist, its officers,
             agents, or employees.

             “BCHF” shall defend, indemnify and hold “Dentist”, its officers, employees and
             agents harmless from and against any and all liability, loss, expense (including
             reasonable attorneys' fees) or claims for injury or damages arising out of the
             performance of this Agreement but only in proportion to and to the extent such
             liability, loss, expense, attorneys' fees, or claims for injury or damages are caused
             by or result from the negligent, intentional acts, omissions or misconduct of “BCHF”
             its officers, agents, or students.

    XIII.    CONFIDENTIALITY

        A.   Except as is necessary in the performance of this Agreement, or as authorized in writing
             by a party or by law, neither party (nor its directors, officers, employees, agents, and
             contractors) shall disclose to any person, institution, entity, company, or any other party,
             any information which is directly or indirectly related to the other party that it (or its
             directors, officers, employees, agents, and contractors) receives in any form (including,
             but not limited to, written, oral, or contained on video tapes, audio tapes or computer
             diskettes) as a result of performing obligations under this Agreement, or of which it is
             otherwise aware. The parties (and their directors, officers, employees, agents, and
             contractors) also agree not to disclose, except to each other, any proprietary
             information, professional secrets or other information obtained in any form (including,
             but not limited to, written, oral, or contained on video tapes, audio tapes or computer
             diskettes) during the course of carrying out the responsibilities under this Agreement,
             unless the disclosing party receives prior written authorization to do so from the other
             party or as authorized by law.
        B.   The parties agree that their obligations and representations regarding confidential and
             proprietary information (including the continued confidentiality of information transmitted
             orally), shall be in effect during the term of this Agreement and shall survive the
             expiration or termination (regardless of the cause of termination) of this Agreement.

    XIV.     TERM AND TERMINATION

        A.   TERM. This Agreement begins on November 28, 2018 and shall be automatically and
             successively renewed and extended for one year periods from and after the expiration
             date unless either party provides written notice of termination to the other sixty (60)
             days in advance of termination. Renewal is subject to “BCHF’s” determination that
             “Dentist” performed satisfactorily and successful re-negotiation by the parties of key
             terms, as applicable.

        B.   TERMINATION WITHOUT CAUSE. Either “Dentist” or “BCHF” may terminate this
             agreement, for any reason, at any time upon sixty (60) days written notice.

        C.   TERMINATION FOR CONVENIENCE. This Agreement may be terminated at any
             time upon the mutual agreement of the parties.

        D.   TERMINATION FOR BREACH. This Agreement may be terminated by either party
             upon written notice to the other party of such other party's material breach of any


                                                    10

                                                                                                  EXHIBIT N
                                                                                                  PAGE 535
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3979 Page 536 of 734
                                      735


               term of this Agreement, subject to a sixty (60) day opportunity to cure and failure to
               cure by the end of the sixty (60) day period.

          E.   IMMEDIATE TERMINATION. In addition, “BCHF” may terminate this Agreement
               immediately upon written notice to “Dentist” of: (1) “Dentist's” violation of, or inability to
               comply with, his or her obligations set forth in this Agreement; or (2) the good faith
               determination of “BCHF” that the health, welfare and/or safety of Participating Patients
               receiving care from “Dentist” is or will be jeopardized by the continuation of this
               Agreement.
          F.   SURVIVAL. Upon termination, the rights and obligations of the “Dentist” and “BCHF”
               under this Agreement will terminate, except as otherwise noted in this Agreement.
               Termination, however, will not release “Dentist” from his or her obligation to complete
               any multi-step dental treatment which “Dentist” began prior to the effective date of the
               termination, provided that such termination did not result from a determination by
               “BCHF” that the health, welfare and/or safety of Participating Patients would be
               jeopardized by continuing this Agreement. “Dentist” is not obligated to provide any
               other services. Termination of this Agreement does not release “BCHF” from its
               obligation to reimburse “Dentist” for any dental services provided on or before the
               effective date of the termination.

    XV.        GENERAL PROVISIONS

          A.   AMENDMENT/MODIFICATION. This Agreement may be amended or modified from
               time to time upon the mutual written agreement of the parties. Any amendment or
               modification shall not affect the remaining provisions of the Agreement and, except
               for the specific provision amended or modified, this Agreement shall remain in full
               force and effect as originally executed. Amendments will take effect upon the date
               of execution of both parties.

          B.   ASSIGNMENT. This Agreement may not be assigned, delegated, or transferred by
               either party without the express written consent and authorization of the other party,
               provided prior to such action.

          C.   EFFECT OF WAIVER. A party to this Agreement may waive the other party's breach
               of a provision of this Agreement, but such a waiver does not constitute a waiver of
               any future breaches.

          D. EFFECT OF INVALIDITY. The invalidity or unenforceability of any provision of this
             Agreement in no way affects the validly or enforceability of any other provision, unless
             otherwise agreed.

          E.   NOTICE. Any notice required to be provided under this Agreement must be in writing
               and delivered in person or sent by registered or certified mail or by next business day
               delivery service to each party at the address set forth on the signature page.

          F.   DISPUTE RESOLUTION. Any dispute arising under this Agreement shall first be
               resolved by informal discussions between the parties, subject to good cause
               exceptions, including, but not limited to, disputes determined by either party to require
               immediate relief (i.e., circumstances under which an extended resolution procedure
               may endanger the health and safety of the Participating Patients). Any dispute that has


                                                        11

                                                                                                       EXHIBIT N
                                                                                                       PAGE 536
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3980 Page 537 of 734
                                      735




        12/06/2018




                                                                        EXHIBIT N
                                                                        PAGE 537
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3981 Page 538 of 734
                                      735



                                            Addendum “A”
                                           Scope of Services

   “Dentist” will provide services for Participating Patients with the following insurance:

   Medi-Cal Recipients
   Sliding Fee approved patients

   The “Dentist” must follow all Denti-Cal rules and regulations in regards to maximum allowances
   and procedure limitations for patients eligible for Medi-Cal. These are outlined in Section 5 of the
   Provider Manual under “Maximum Allowances”. Limitations of commercial contracts will be
   provided by “BCHF”

   Exams (New, recall and limited)
   X-rays
   Fluoride Application
   Prophylaxis
   Periodontal scaling and root planning
   Sealants
   Fillings
   Preventive Resin Restoration (PRR) for moderate to high risk caries risk patient permanent
   tooth.
   Extractions
   Stainless Steel Crowns
   Space Maintainers
   Root Canals (prior review required by the “BCHF” Dental Director)
   Crowns (prior review required by the “BCHF” Dental Director)




                                                    13

                                                                                               EXHIBIT N
                                                                                               PAGE 538
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3982 Page 539 of 734
                                      735


                                         Addendum “B”
                                  Compensation of Dental Services
                                       Pediatric Medi-Cal

   Services for Medi-Cal patients will be compensated on a per visit reimbursement rate as outlined
   below. Crowns and root canals are subject to prior review and authorization by the Dental Director.
   If the service is not within the scope of “BCHF” the “Dentist” may bill this service directly to the
   payor as a private patient.

    Description      CDT Codes                  Number of       Special              Rate
                     (Denti-Cal rules           Visits          Consideration
                     apply)
    Routine Exam and D0120 in combo             1               Refer to Denti-Cal   $110 per
    X-rays           with                                       manual.
                     D0210, D0220,
                     D0230, D0272,
                     D0274, D0330
    Comprehensive    D0150 in combo             1               Refer to Denti-Cal   $130 per
    Exam and X-rays with                                        manual.
                     D0210, D0220,
                     D0230, D0272,
                     D0274, D0330
    Routine Exam     D0120 in                   1               Refer to Denti-Cal   $140 per
    and X-rays with  combo with                                 manual.
    Prophy           D0210,D0220,
                     D0230,D0272,
                     D0274, D0330
                     - and D1120 -
                     D1206, D1208
    Comprehensive    D0150 in                   1               Refer to Denti-Cal   $150 per
    Exam and X-rays combo with                                  manual.
    with Prophy      D0210,D0220,
                     D0230,D0272,
                     D0274, D0330
                     - and D1120 -
                     D1206, D1208
    Problem focused  D9430                      1               For relief of pain   $100
    oral evaluation  D0220, D0230,                              and medication
    only with X-ray  D0270


    Prophylaxis and      D1120 in combo         1               Must be in           $100 per visit
    Fluoride             with                                   combination.
    application          D1206, D1208
    Sealants or PRR      D1351, D1352           1 or 2          No less than per     $26 per tooth
                                                                quadrant.
    Fillings - Amalgam D2140, D2150,            1 or more       Per quadrant         $120 per visit
                       D2160, D2161


                                                    14

                                                                                                EXHIBIT N
                                                                                                PAGE 539
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3983 Page 540 of 734
                                      735




    Fillings – Resin     D2330, D2331,   1 or more   Per quadrant           $150 per visit
    Based Composite      D2332, D2335
    Anterior &           D2391, D2392,
    Posteriors           D2393, D2394
    Prefabricated        D2930, D2931,   1 or more   2 per visit            $200 per visit
    Crowns (Stainless    D2932
    Steel / Resin)
    Space Maintainer     D1510, D1515    2           Unilateral             $175 global
                                                     Bilateral              $280 global
    Extractions -        D7111, D7140    1           Per visit – multiple   $120 per visit
    simple                                           extractions under
                                                     anesthesia are not
                                                     in scope.
    Extractions -        D7210, D7220,   1 or more   Per visit – multiple   $185
    surgical             D7230, D7240                extractions under
                                                     anesthesia are not
                                                     in scope.
    Surgical Removal     D7250           1 or more   Per visit – multiple   $140
    of Roots                                         extractions under
                                                     anesthesia are not
                                                     in scope.
    Biopsy Soft Tissue D7286             1 or more   Per Visit              $45

    Alveoloplasty        D7310           1 or more   Per Visit              $70

    Removal of Torus     D7472           1 or more   Per Visit              $280
    Palatinus

    Removal of Torus     D7473           1 or more   Per Visit              $140
    Mandibulars

    Frenulectomy         D7960           1 or more   Per Visit              $280
    Excision of          D7971           1 or more   Per Visit              $70
    Pericoronal
    Gingiva
    Pulpotomy / Pulpal   D3220, D3221    1           Excludes final         $140 per visit
    Debridement                                      restoration
    Root Canal -         D3310           1 or more   Excludes final         $305 global
    Anterior                                         restoration
    Retreatment of a     D3346           1 or more   All treatments         $305 global
    Root Canal -                                     must be after 12
    Anterior                                         months of initial
                                                     visit
    Root Canal -         D3320           2 or more   Excludes final         $365 global
    Bicuspid                                         restoration. Open
                                                     & Med and

                                             15

                                                                                      EXHIBIT N
                                                                                      PAGE 540
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3984 Page 541 of 734
                                      735



                                                         Finished RCT
                                                         included in global
                                                         fee.
    Retreatment of a    D3347                1 or more   All treatments       $365 global
    Root Canal -                                         must be after 12
    Bicuspid                                             months of initial
                                                         visit
    Root Canal - Molar D3330                 2 or more   Excludes final       $465 global
                                                         restoration
    Retreatment of a   D3348                 2 or more   All treatments       $465 global
    Root Canal - Molar                                   must be after 12
                                                         months of initial
                                                         visit
    Apicoectomy         D3410                1           None                 $140 per visit
    Anterior
    Crown               D2751, D2740,        2 or more   Prep and delivery    $475 global
                        D2791                            in global fee.
    Crown Post and      D2952,D2954          1           Payment included     $105
    Core (indirect or                                    in addition to
    pre-fabricated)                                      Crown Delivery
    Recement            D2920                1           None                 $75
    Permanent Crown
    Unspecified         D2999                1           None                 $100
    restorative
    procedure by
    report
    Periodontal         D4341, D4342         1           2 quadrants per      $70 per
    Scaling                                              visit                quadrant
    Periodontal         D4910                1           See Denti-Cal        $140
    Maintenance                                          Guidelines (only
                                                         once a calendar
                                                         quarter, must be
                                                         within 24 months
                                                         of SRP)
    Incision and        D7510, D7520         1           None                 $115
    Drainage of
    Abcess
    Palliative          D9110 in combo       1           None                 $100 per visit
    Treatment for       with D0220, D0230,
    Dental Pain with    D0270
    X-ray
    Inhalation of       D9230                1           Additional       $35
    Nitrous Oxide                                        payment in combo
                                                         with other
                                                         procedures




                                                 16

                                                                                         EXHIBIT N
                                                                                         PAGE 541
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3985 Page 542 of 734
                                      735



                                          Addendum "C"
                                         Location of Service

   All dental services under this agreement will be rendered at:

   Michael Hoang, DMD

   Address: 13672 Hawthorne Blvd., Hawthorne, CA 90250-5810




   Phone: 310-644-5097


   During the hours of:

   Monday – Friday, 9a-5p




   NPI Number - Organization 1407232507


   NPI Number- Individual 1407232507




   Copies attached




                                                  17

                                                                         EXHIBIT N
                                                                         PAGE 542
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3986 Page 543 of 734
                                      735


                          CONFIDENTIALITY OF STUDENT INFORMATION /
                            PROTECTED HEALTH INFORMATION (PHI)

                           HIPAA BUSINESS ASSOCIATE ADDENDUM

   This Agreement is made effective the 28 day of November, 2018 by and between Borrego
   Health, hereinafter referred to as “Covered Entity”, and Michael Hoang, DMD. hereinafter
   referred to as “Business Associate”, (individually, a “Party” and collectively, the “Parties”).

   RECITALS:

           WHEREAS, Sections 261 through 264 of the federal Health Insurance Portability and
   Accountability Act of 1996, Public Law 104-191, known as “the Administrative Simplification
   provisions,” direct the Department of Health and Human Services to develop standards to
   protect the security, confidentiality and integrity of health information;

          WHEREAS, pursuant to the Administrative Simplification provisions, the Secretary of
   Health and Human Services issued regulations modifying 45 CFR Parts 160 and 164 (the
   “HIPAA Security and Privacy Rule”);

          WHEREAS, the American Recovery and Reinvestment Act of 2009 (Pub. L. 111-5),
   pursuant to Title XIII of Division A and Title IV of Division B, called the “Health Information
   Technology for Economic and Clinical Health” (“HITECH”) Act, provides modifications to the
   HIPAA Security and Privacy Rule (hereinafter, all references to the “HIPAA Security and Privacy
   Rule” are deemed to include all amendments to such rule contained in the HITECH Act and any
   accompanying regulations, and any other subsequently adopted amendments or regulations);

           WHEREAS, the Parties wish to enter into or have entered into an arrangement whereby
           Business Associate will provide certain services to Covered Entity, and, pursuant to such
           arrangement, Business Associate may be considered a “business associate” of Covered
           Entity as defined in the HIPAA Security and Privacy Rule (the agreement evidencing
           such arrangement is entitled Dentist Contract, dated November 28, 2018 and is hereby
           referred to as the “Arrangement Agreement”); and

          WHEREAS, Business Associate may have access to and/or use Protected Health
   Information (as defined below) in fulfilling its responsibilities under such arrangement;

           NOW, THEREFORE, in consideration of the Parties’ continuing obligations under the
   Arrangement Agreement, compliance with the HIPAA Security and Privacy Rule, and for other
   good and valuable consideration, the receipt and sufficiency of which is hereby acknowledged,
   and intending to be legally bound, the Parties agree to the provisions of this Agreement in order
   to address the requirements of the HIPAA Security and Privacy Rule and to protect the interests
   of both Parties.

   I.      DEFINITIONS

        A. Catch-all definition:
           The following terms used in this Agreement shall have the same meaning as those
           terms in the HIPAA Rules: Breach, Data Aggregation, Designated Record Set,
           Disclosure, Health Care Operations, Individual, Minimum Necessary, Notice of Privacy
           Practices, Protected Health Information, Required By Law, Secretary, Security Incident,


                                                    18

                                                                                                     EXHIBIT N
                                                                                                     PAGE 543
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3987 Page 544 of 734
                                      735


            Subcontractor, Unsecured Protected Health Information, and Use. In the event of an
            inconsistency between the provisions of this Agreement and mandatory provisions of the
            HIPAA Security and Privacy Rule, as amended, the HIPAA Security and Privacy Rule
            shall control. Where provisions of this Agreement are different than those mandated in
            the HIPAA Security and Privacy Rule but are nonetheless permitted by the HIPAA
            Security and Privacy Rule, the provisions of this Agreement shall control.

         B. Specific definitions:

                1.      Business Associate. “Business Associate” shall generally have the same
                        meaning as the term “business associate” at 45 CFR 160.103, and in
                        reference to the party to this agreement, shall mean Michael Hoang, DMD.

                2.      Covered Entity. “Covered Entity” shall generally have the same meaning as
                        the term “covered entity” at 45 CFR 160.103, and in reference to the party to
                        this agreement, shall mean Borrego Health.

                3.      HIPAA Rules. “HIPAA Rules” shall mean the Privacy, Security, Breach
                        Notification, and Enforcement Rules at 45 CFR Part 160 and Part 164.

                4.      Protected Health Information. “Protected Health Information (PHI)” shall
                        mean individually identifiable health information including, without limitation,
                        all information, data, documentation, and materials, including without
                        limitation, demographic, medical and financial information, that relates to the
                        past, present, or future physical or mental health or condition of an individual;
                        the provision of health care to an individual; or the past, present, or future
                        payment for the provision of health care to an individual; and that identifies
                        the individual or with respect to which there is a reasonable basis to believe
                        the information can be used to identify the individual. “Protected Health
                        Information” includes without limitation “Electronic Protected Health
                        Information” as defined below.

                5.      Electronic Protected Health Information. “Electronic Protected Health
                        Information” shall mean Protected Health Information which is transmitted by
                        Electronic Media (as defined in the HIPAA Security and Privacy Rule) or
                        maintained in Electronic Media.

   II.       CONFIDENTIALITY AND SECURITY REQUIREMENTS

         A. Business Associate agrees:
               1. Not to use or disclose protected health information other than as permitted or
                  required by the Agreement or as required by law;

                2. To use appropriate safeguards, and comply with Subpart C of 45 CFR Part 164
                   with respect to electronic protected health information, to prevent use or
                   disclosure of protected health information other than as provided for by the
                   Agreement;

                3. To report to covered entity any use or disclosure of protected health information
                   not provided for by the Agreement of which it becomes aware, including
                   breaches of unsecured protected health information as required at 45 CFR

                                                     19

                                                                                                   EXHIBIT N
                                                                                                   PAGE 544
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3988 Page 545 of 734
                                      735


                164.410, and any security incident of which it becomes aware. Such report shall
                be made by Business Associate to Covered Entity within twenty-four hours of the
                time when Business Associate becomes aware of the breach;

             4. In accordance with 45 CFR 164.502(e)(1)(ii) and 164.308(b)(2), if applicable, to
                ensure that any subcontractors that create, receive, maintain, or transmit
                protected health information on behalf of the business associate agree to the
                same restrictions, conditions, and requirements that apply to the business
                associate with respect to such information;

             5. To make available protected health information in a designated record set to the
                individual or the individual’s designee” as necessary to satisfy covered entity’s
                obligations under 45 CFR 164.524;

             6. To make any amendment(s) to protected health information in a designated
                record set as directed or agreed to by the covered entity pursuant to 45 CFR
                164.526, or take other measures as necessary to satisfy covered entity’s
                obligations under 45 CFR 164.526;

             7. To maintain and make available the information required to provide an
                accounting of disclosures to the individual as necessary to satisfy covered
                entity’s obligations under 45 CFR 164.528;

             8. To the extent the business associate is to carry out one or more of covered
                entity's obligation(s) under Subpart E of 45 CFR Part 164, to comply with the
                requirements of Subpart E that apply to the covered entity in the performance of
                such obligation(s); and

             9. To make its internal practices, books, and records available to the Secretary for
                purposes of determining compliance with the HIPAA Rules.

             10. Business Associate acknowledges and agrees that all Protected Health
                 Information that is created or received by Covered Entity and disclosed or made
                 available in any form, including paper record, oral communication, audio
                 recording, and electronic display by Covered Entity or its operating units to
                 Business Associate or is created or received by Business Associate on Covered
                 Entity’s behalf shall be subject to this Agreement.

      B. Notwithstanding the prohibitions set forth in this Agreement, Business Associate may
         use and disclose Protected Health Information as follows:

             1. As necessary to perform the services set forth in the underlying Service
                Agreement; and/or

             2. As required by law.

             3. Business Associate agrees to make uses and disclosures and requests for
                protected health information consistent with Covered Entity’s minimum necessary
                policies and procedures.




                                                 20

                                                                                              EXHIBIT N
                                                                                              PAGE 545
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3989 Page 546 of 734
                                      735


             4. Business Associate may not use or disclose PHI in a manner that would violate
                Subpart E of 45 CFR Part 164 if done by covered entity.

             5. Business associate may not use or disclose protected health information in a
                manner that would violate Subpart E of 45 CFR Part 164 if done by covered
                entity.

             6. Business associate may use protected health information for the proper
                management and administration of the business associate or to carry out the
                legal responsibilities of the business associate.

             7. Business associate may disclose protected health information for the proper
                management and administration of business associate or to carry out the legal
                responsibilities of the business associate, provided the disclosures are required
                by law, or business associate obtains reasonable assurances from the person to
                whom the information is disclosed that the information will remain confidential
                and used or further disclosed only as required by law or for the purposes for
                which it was disclosed to the person, and the person notifies business associate
                of any instances of which it is aware in which the confidentiality of the information
                has been breached.

             8. Business associate may provide data aggregation services relating to the health
                care operations of the covered entity.

      C. Business Associate will implement appropriate safeguards to prevent use or disclosure
         of Protected Health Information other than as permitted in this Agreement. Business
         Associate will implement administrative, physical, and technical safeguards that
         reasonably and appropriately protect the confidentiality, integrity, and availability of any
         Electronic Protected Health Information that it creates, receives, maintains, or transmits
         on behalf of Covered Entity as required by the HIPAA Security and Privacy Rule.

      D. The Secretary of Health and Human Services shall have the right to audit Business
         Associate’s records and practices related to use and disclosure of Protected Health
         Information to ensure Covered Entity’s compliance with the terms of the HIPAA Security
         and Privacy Rule.

      E. Business Associate shall report to Covered Entity any use or disclosure of Protected
         Health Information which is not in compliance with the terms of this Agreement of which
         it becomes aware. Business Associate shall report to Covered Entity any Security
         Incident of which it becomes aware. Such report shall be made within twenty-four hours
         of the date and time upon which Business Associate becomes aware of the
         unauthorized use or disclosure and/or Security Incident.

         For purposes of this Agreement, “Security Incident” means the attempted or successful
         unauthorized access, use, disclosure, modification, or destruction of information or
         interference with system operations in an information system. In addition, Business
         Associate agrees to mitigate, to the extent practicable, any harmful effect that is known
         to Business Associate of a use or disclosure of Protected Health Information by
         Business Associate in violation of the requirements of this Agreement.




                                                   21

                                                                                                EXHIBIT N
                                                                                                PAGE 546
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3990 Page 547 of 734
                                      735


   III.      AVAILABILITY OF PHI
          A. Business Associate agrees to comply with any requests for restrictions on certain
             disclosures of Protected Health Information pursuant to Section 164.522 of the HIPAA
             Security and Privacy Rule to which Covered Entity has agreed and of which Business
             Associate is notified by Covered Entity. Business Associate agrees to make available
             Protected Health Information to the extent and in the manner required by Section
             164.524 of the HIPAA Security and Privacy Rule. If Business Associate maintains
             Protected Health Information electronically, it agrees to make such Protected Health
             Information electronically available to the applicable individual. Business Associate
             agrees to make Protected Health Information available for amendment and incorporate
             any amendments to Protected Health Information in accordance with the requirements of
             Section 164.526 of the HIPAA Security and Privacy Rule. In addition, Business
             Associate agrees to make Protected Health Information available for purposes of
             accounting of disclosures, as required by Section 164.528 of the HIPAA Security and
             Privacy Rule and Section 13405(c)(3) of the HITECH Act. Business Associate and
             Covered Entity shall cooperate in providing any accounting required on a timely basis.
   IV.       TERM/TERMINATION
          A. Term. The Term of this Agreement shall be effective as of the date first listed above and
             shall continue in effect concurrently with the term of the Arrangement Agreement.

          B. Termination. Notwithstanding anything in this Agreement to the contrary, Covered Entity
             shall have the right to terminate this Agreement and the Arrangement Agreement
             immediately if Covered Entity determines that Business Associate has violated any
             material term of this Agreement. If Covered Entity reasonably believes that Business
             Associate will violate a material term of this Agreement and, where practicable, Covered
             Entity gives written notice to Business Associate of such belief within a reasonable time
             after forming such belief, and Business Associate fails to provide adequate written
             assurances to Covered Entity that it will not breach the cited term of this Agreement
             within a reasonable period of time given the specific circumstances, but in any event,
             before the threatened breach is to occur, then Covered Entity shall have the right to
             terminate this Agreement and the Arrangement Agreement immediately. Covered Entity
             may seek injunctive relief and/or any other available remedy to prevent a breach of this
             Agreement.

          C. Obligations of Business Associate Upon Termination. Upon termination of this
             Agreement for any reason, business associate shall return to covered entity all protected
             health information received from covered entity, or created, maintained, or received by
             business associate on behalf of covered entity, that the business associate still
             maintains in any form. Business associate shall retain no copies of the protected health
             information.

          D. Survival. The obligations of business associate under this Section shall survive the
             termination of this Agreement.

   V.        MISCELLANEOUS
          A. Third Parties; Survival. Except as expressly stated herein or the HIPAA Security and
             Privacy Rule, the Parties to this Agreement do not intend to create any rights in any third
             parties. The obligations of Business Associate under this Section shall survive the
             expiration, termination, or cancellation of this Agreement, the Arrangement Agreement

                                                      22

                                                                                                  EXHIBIT N
                                                                                                  PAGE 547
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3991 Page 548 of 734
                                      735




        12/06/2018




                                                                       EXHIBIT N
                                                                       PAGE 548
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3992 Page 549 of 734
                                      735




       12/06/2018




                                                                        EXHIBIT N
                                                                        PAGE 549
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3993 Page 550 of 734
                                      735




                                            Addendum “E"
                             COMPENSATION OF DENTAL SERVICES
                                     ADULT MEDI-CAL

   Services for Adults with current full scope Medi-Cal eligibility will be compensated on a per visit
   reimbursement rate as outlined below. Crowns and root canals are subject to prior review and
   approval by the Dental Director. If the service is not within the scope of “BCHF” the “Dentist” may
   bill this service directly to the payer as a private patient.

    Description          Codes                  Number of       Special              Rate
                         (Denti-Cal rules       Visits          Consideration
                         apply)


    Routine Exam and D0120 in combo             1               Refer to Denti-Cal   $110 per visit
    X-rays           with                                       manual.
                     D0210, D0220,
                     D0230, D0272,
                     D0274, D0330
    Comprehensive    D0150 in combo             1               Refer to Denti-Cal   $130 per visit
    Exam and X-rays with                                        manual.
                     D0210, D0220,
                     D0230, D0272,
                     D0274, D0330
    Routine Exam     D0120 in                   1               Refer to Denti-Cal   $140 per visit
    and X-rays with  combo with                                 manual.
    Prophy           D0210,D0220,
                     D0230,D0272,
                     D0274, D0330
                     - and D1110
    Comprehensive    D0150 in                   1               Refer to Denti-Cal   $150 per visit
    Exam and X-rays combo with                                  manual.
    with Prophy      D0210,D0220,
                     D0230,D0272,
                     D0274, D0330
                     - and D1110
    Problem focused  D9430                      1               For relief of pain   $100
    oral evaluation  D0220, D0230,                              and medication
    only with X-ray  D0270

    Prophylaxis and    D1110 in combo           1               Must be in           $110 per visit
    Fluoride           with                                     combination.
    application        D1206, D1208
    Fillings - Amalgam D2140, D2150,            1 or more       Treatment to be      $120 per visit
                       D2160, D2161                             completed per
                                                                quadrant, unless
                                                                documented

                                                    25

                                                                                                EXHIBIT N
                                                                                                PAGE 550
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3994 Page 551 of 734
                                      735



    Fillings – Resin    D2330, D2331,   1 or more   Treatment to be        $150 per visit
    Based Composite     D2332, D2335                completed per
    Anterior &          D2391, D2392,               quadrant, unless
    Posteriors          D2393, D2394                documented
    Prefabricated       D2931, D2932    1 or more   2 per visit            $200 per visit
    Crowns (Stainless
    Steel / Resin)
    Extractions -       D7111, D7140    1 or more   Per visit – multiple   $120 per visit
    simple                                          extractions under
                                                    anesthesia are not
                                                    in scope.
    Extractions -       D7210, D7220,   1 or more   Per visit – multiple   $185
    surgical            D7230, D7240                extractions under
                                                    anesthesia are not
                                                    in scope.
    Surgical Removal    D7250           1 or more   Per visit – multiple   $140
    of Roots                                        extractions under
                                                    anesthesia are not
                                                    in scope.
    Biopsy Soft Tissue D7286            1 or more   Per Visit              $45

    Alveoloplasty       D7310           1 or more   Per Visit              $70

    Removal of Torus    D7472           1 or more   Per Visit              $280
    Palatinus

    Removal of Torus    D7473           1 or more   Per Visit              $140
    Mandibulars

    Frenulectomy        D7960           1 or more   Per Visit              $280

    Excision of         D7971           1 or more   Per Visit              $70
    Pericoronal
    Gingiva
    Pulpal              D3221           1           Excludes final         $140 per visit
    Debridement                                     restoration
    Root Canal -        D3310           1 or more   Excludes final         $305 global
    Anterior                                        restoration. Open
                                                    & Med and
                                                    Finished RCT
                                                    included in global
                                                    fee.
    Retreatment of a    D3346           1 or more   All treatments         $305 global
    Root Canal -                                    must be after 12
    Anterior                                        months of initial
                                                    visit



                                            26

                                                                                     EXHIBIT N
                                                                                     PAGE 551
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3995 Page 552 of 734
                                      735



    Root Canal -        D3320           2 or more   Excludes final       $365 global
    Bicuspid                                        restoration. Open
                                                    & Med and
                                                    Finished RCT
                                                    included in global
                                                    fee.
    Retreatment of a    D3347           1 or more   All treatments       $365 global
    Root Canal -                                    must be after 12
    Bicuspid                                        months of initial
                                                    visit
    Root Canal - Molar D3330            2 or more   Excludes final       $465 global
                                                    restoration. Open
                                                    & Med and
                                                    Finished RCT
                                                    included in global
                                                    fee.
    Retreatment of a   D3348            2 or more   All treatments       $465 global
    Root Canal - Molar                              must be after 12
                                                    months of initial
                                                    visit
    Apicoectomy         D3410           1           None                 $140 per visit
    Anterior
    Crown               D2751, D2740,   2 or more   Prep and delivery    $475 global
                        D2791                       in global fee.
    Crown Post and      D2952,D2954     1           Payment included     $105
    Core (indirect or                               in addition to
    pre-fabricated)                                 Crown Delivery
    Recement            D2920           1           All treatments       $75
    Permanent Crown                                 must be after 12
                                                    months of initial
                                                    visit
    Unspecified         D2999           1           None                 $100
    restorative
    procedure by
    report
    Periodontal         D4341, D4342    1           2 quadrants per      $70 per
    Scaling                                         visit                quadrant
    Periodontal         D4910           1           See Denti-Cal        $140
    Maintenance                                     Guidelines (only
                                                    once a calendar
                                                    quarter, must be
                                                    within 24 months
                                                    of SRP)
    Gingivectomy or     D4211           1           1 to 3 teeth, per    $110
    Gingivoplasty                                   quadrant
    Incision and        D7510, D7520    1           None                 $115
    Drainage of
    Abscess


                                            27

                                                                                    EXHIBIT N
                                                                                    PAGE 552
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3996 Page 553 of 734
                                      735



    Dentures (Includes D5110, D5120         6 or more   Maxillary and   $635 each
    first 2 adjustments)                                Mandibular      denture –
                                                                        global
    Removable Partial D5213, D5214          6 or more   Maxillary and   $660 each
    – Cast Metal                                        Mandibular      partial – global
    (Includes first 2
    adjustments)
    Removable Partial D5211, D5212          3 or more   Maxillary and   $360 each
    – Resin Based                                       Mandibular      partial - global
    Repairs            D5510, D5520         1 or more   Maxillary and   $110 each visit
                       D5610, D5640                     Mandibular
                       D5650, D5660
    Repair Cast        D5620                1           None            $325 per visit
    Framework
    Repair/Replace     D5630                1           None            $140 per visit
    Broke Clasp
    Adjustments only D5410, D5411           1           Maxillary and   $70 per visit
    (not following     D5421, D5422                     Mandibular
    delivery)
    Reline (in office) D5730, D5731         1           Maxillary and   $120 per visit
                       D5740, D5741                     Mandibular

    Reline             D5750, D5751         2 or more   Maxillary and   $225 - global
    (Laboratory)       D5760, D5761                     Mandibular
    Tissue             D5850, D5851         1           Maxillary and   $120 per visit
    Conditioning                                        Mandibular

    Palliative         D9110 in combo       1           None            $100 per visit
    Treatment for      with D0220, D0230,
    Dental Pain with   D0270
    X-ray




                                                28

                                                                                  EXHIBIT N
                                                                                  PAGE 553
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3997 Page 554 of 734
                                      735



                                             Addendum “F”
                                     DENTAL SLIDING FEE SCALE
                                       SUMMARY OF BENEFITS

   As a Federally Qualified Health Center (FQHC), Borrego Community Health Foundation (BCHF)
   is required to provide a sliding fee scale program for patients living at or below 200% of the
   Federal Poverty Level (FPL). Services must be provided despite a patient’s inability to pay. Ability
   to pay is determined through an eligibility process in which the applicant provides proof of income
   and family size.
   As a contract dental partner of BCHF, you are required to extend the sliding fee scale program to
   your practice.

   Benefits:

   The sliding fee scale is a limited benefit program that provides discounted rates for services
   rendered within the dental practice of the organization and contracted sites only. It does not
   extend to services rendered by specialists to whom the clinic may refer the patient for additional
   care. The scope of benefits is limited to services as outlined in the current Denti-Cal Provider
   Handbook - Manual of Criteria (Section 5).

   The program includes:

   ▪   Exam and X-rays
   ▪   Cleaning
   ▪   Fluoride Application
   ▪   Fillings
   ▪   Extractions (Limited to scope of General Dentistry)
   ▪   Root Canals (Limited to scope of General Dentistry)
   ▪   Crowns (Limited to non-precious metal)
   ▪   Dentures ($150 co-payment)
   ▪   Bridges (co-payment 50% of cost)

   Eligibility:

   The application process and eligibility determination is outlined in the BCHF Sliding Fee Policy
   and Procedure, which is amended from time to time to reflect current FPL (revised on an annual
   basis and published April 1.

   Information regarding the Sliding Fee program will be made available in your office for cash
   patients that may desire to apply. Application assistance and eligibility determination will be
   conducted by BCHF staff upon referral from your office. Your office may be required to provide
   limited assistance (e.g. emailing an application or referring the applicant to one of our local clinics
   for assistance). Uninsured applicants will receive information about other program eligibility
   including Medi-Cal and/or Covered California and assisted with applying for these programs if
   deemed eligible.



                                                     29

                                                                                                   EXHIBIT N
                                                                                                   PAGE 554
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3998 Page 555 of 734
                                      735




      12/06/2018




                                                                        EXHIBIT N
                                                                        PAGE 555
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.3999 Page 556 of 734
                                      735




                         EXHIBIT O
                                                                         EXHIBIT O
                                                                         PAGE 556
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4000 Page 557 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 557
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4001 Page 558 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 558
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4002 Page 559 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 559
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4003 Page 560 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 560
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4004 Page 561 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 561
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4005 Page 562 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 562
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4006 Page 563 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 563
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4007 Page 564 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 564
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4008 Page 565 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 565
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4009 Page 566 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 566
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4010 Page 567 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 567
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4011 Page 568 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 568
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4012 Page 569 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 569
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4013 Page 570 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 570
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4014 Page 571 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 571
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4015 Page 572 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 572
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4016 Page 573 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 573
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4017 Page 574 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 574
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4018 Page 575 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 575
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4019 Page 576 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 576
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4020 Page 577 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 577
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4021 Page 578 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 578
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4022 Page 579 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 579
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4023 Page 580 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 580
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4024 Page 581 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 581
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4025 Page 582 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 582
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4026 Page 583 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 583
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4027 Page 584 of 734
                                      735




                                                                         EXHIBIT O
                                                                         PAGE 584
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4028 Page 585 of 734
                                      735




                         EXHIBIT P
                                                                         EXHIBIT P
                                                                         PAGE 585
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4029 Page 586 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 586
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4030 Page 587 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 587
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4031 Page 588 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 588
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4032 Page 589 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 589
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4033 Page 590 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 590
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4034 Page 591 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 591
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4035 Page 592 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 592
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4036 Page 593 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 593
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4037 Page 594 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 594
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4038 Page 595 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 595
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4039 Page 596 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 596
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4040 Page 597 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 597
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4041 Page 598 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 598
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4042 Page 599 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 599
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4043 Page 600 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 600
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4044 Page 601 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 601
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4045 Page 602 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 602
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4046 Page 603 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 603
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4047 Page 604 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 604
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4048 Page 605 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 605
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4049 Page 606 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 606
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4050 Page 607 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 607
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4051 Page 608 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 608
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4052 Page 609 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 609
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4053 Page 610 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 610
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4054 Page 611 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 611
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4055 Page 612 of 734
                                      735




                                                                         EXHIBIT P
                                                                         PAGE 612
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4056 Page 613 of 734
                                      735




                         EXHIBIT Q
                                                                         EXHIBIT Q
                                                                         PAGE 613
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4057 Page 614 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 614
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4058 Page 615 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 615
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4059 Page 616 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 616
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4060 Page 617 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 617
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4061 Page 618 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 618
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4062 Page 619 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 619
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4063 Page 620 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 620
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4064 Page 621 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 621
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4065 Page 622 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 622
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4066 Page 623 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 623
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4067 Page 624 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 624
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4068 Page 625 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 625
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4069 Page 626 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 626
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4070 Page 627 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 627
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4071 Page 628 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 628
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4072 Page 629 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 629
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4073 Page 630 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 630
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4074 Page 631 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 631
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4075 Page 632 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 632
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4076 Page 633 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 633
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4077 Page 634 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 634
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4078 Page 635 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 635
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4079 Page 636 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 636
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4080 Page 637 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 637
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4081 Page 638 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 638
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4082 Page 639 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 639
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4083 Page 640 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 640
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4084 Page 641 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 641
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4085 Page 642 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 642
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4086 Page 643 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 643
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4087 Page 644 of 734
                                      735




                                                                         EXHIBIT Q
                                                                         PAGE 644
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4088 Page 645 of 734
                                      735




                         EXHIBIT R
                                                                         EXHIBIT R
                                                                         PAGE 645
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4089 Page 646 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 646
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4090 Page 647 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 647
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4091 Page 648 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 648
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4092 Page 649 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 649
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4093 Page 650 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 650
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4094 Page 651 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 651
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4095 Page 652 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 652
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4096 Page 653 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 653
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4097 Page 654 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 654
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4098 Page 655 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 655
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4099 Page 656 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 656
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4100 Page 657 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 657
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4101 Page 658 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 658
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4102 Page 659 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 659
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4103 Page 660 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 660
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4104 Page 661 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 661
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4105 Page 662 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 662
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4106 Page 663 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 663
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4107 Page 664 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 664
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4108 Page 665 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 665
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4109 Page 666 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 666
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4110 Page 667 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 667
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4111 Page 668 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 668
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4112 Page 669 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 669
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4113 Page 670 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 670
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4114 Page 671 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 671
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4115 Page 672 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 672
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4116 Page 673 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 673
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4117 Page 674 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 674
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4118 Page 675 of 734
                                      735




                                                                         EXHIBIT R
                                                                         PAGE 675
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4119 Page 676 of 734
                                      735




                         EXHIBIT S
                                                                         EXHIBIT S
                                                                         PAGE 676
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4120 Page 677 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 677
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4121 Page 678 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 678
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4122 Page 679 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 679
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4123 Page 680 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 680
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4124 Page 681 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 681
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4125 Page 682 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 682
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4126 Page 683 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 683
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4127 Page 684 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 684
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4128 Page 685 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 685
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4129 Page 686 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 686
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4130 Page 687 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 687
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4131 Page 688 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 688
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4132 Page 689 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 689
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4133 Page 690 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 690
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4134 Page 691 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 691
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4135 Page 692 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 692
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4136 Page 693 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 693
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4137 Page 694 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 694
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4138 Page 695 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 695
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4139 Page 696 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 696
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4140 Page 697 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 697
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4141 Page 698 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 698
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4142 Page 699 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 699
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4143 Page 700 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 700
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4144 Page 701 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 701
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4145 Page 702 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 702
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4146 Page 703 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 703
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4147 Page 704 of 734
                                      735




                                                                         EXHIBIT S
                                                                         PAGE 704
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4148 Page 705 of 734
                                      735




                         EXHIBIT T
                                                                         EXHIBIT T
                                                                         PAGE 705
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4149 Page 706 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 706
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4150 Page 707 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 707
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4151 Page 708 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 708
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4152 Page 709 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 709
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4153 Page 710 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 710
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4154 Page 711 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 711
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4155 Page 712 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 712
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4156 Page 713 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 713
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4157 Page 714 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 714
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4158 Page 715 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 715
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4159 Page 716 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 716
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4160 Page 717 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 717
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4161 Page 718 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 718
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4162 Page 719 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 719
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4163 Page 720 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 720
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4164 Page 721 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 721
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4165 Page 722 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 722
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4166 Page 723 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 723
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4167 Page 724 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 724
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4168 Page 725 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 725
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4169 Page 726 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 726
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4170 Page 727 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 727
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4171 Page 728 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 728
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4172 Page 729 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 729
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4173 Page 730 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 730
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4174 Page 731 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 731
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4175 Page 732 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 732
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4176 Page 733 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 733
Case 3:22-cv-01056-BEN-KSC Document 159 Filed 04/04/23 PageID.4177 Page 734 of 734
                                      735




                                                                         EXHIBIT T
                                                                         PAGE 734
